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15   a corporation organized and existing under the laws
     of the Republic of Germany (“EDAG”)
16

17                                UNITED STATES DISTRICT COURT

18               NORTHERN DISTRICT OF CALIFORNIA – SAN FRANCISCO DIVISION

19
       EDAG Engineering GmbH,                              CASE NO: 3:21-cv-04736-EMC
20

21                  Petitioner,                            DECLARATION OF KENNETH M.
                                                           WALCZAK IN SUPPORT OF EDAG’S
22          v.                                             REPLY IN SUPPORT OF MOTION TO
                                                           CONFIRM THE ARBITRATOR’S
23     BYTON North America Corporation,                    NOVEMBER 8, 2021 ORDER
24                  Respondent.                            Date:       June 30, 2022
25                                                         Time:       1:30 p.m.
                                                           Location:   via Judge Chen’s
26                                                                     Videoconference – Link
                                                           Judge:      Hon. Edward M. Chen
27

28


                 WALCZAK DECL. ISO REPLY ISO MOT. TO CONFIRM 11/8/21 ORDER
                                CASE NO: 3:21-CV-04736-EMC
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 1            I, Kenneth M. Walczak, declare as follows:
 2            1.     I am over 18 years of age. I am an attorney at the law firm Lewis & Llewellyn LLP
 3   and counsel for Petitioner EDAG Engineering GmbH (“EDAG”). I submit this declaration in
 4   support of EDAG’S Reply in Support of Motion to Confirm the Arbitrator’s November 8, 2021
 5   Order.
 6            2.     I participated in the request for, argument related to, and hearing before Judge
 7   William Cahill (Ret.) regarding BYTON North America Corporation’s (“BYTON NA”) attempts
 8   to move intellectual property to China during and following the Arbitrator’s award of
 9   $28.6 million to EDAG Engineering GmbH (“EDAG”) on June 2, 2021 for BYTON NA’s breach
10   of contract. These events resulted in the issuance of the November 8, 2021 order (“11/8/21
11   Order”) that is the subject of the current motions. I have personal knowledge of the facts set forth
12   herein. If called upon to testify, I could and would do so competently.
13            3.     On June 2, 2021, the Arbitrator issued an award in favor of EDAG, awarding it over
14   $28.6 million dollars in damages, plus costs and interest, as a result of BYTON NA’s breach of
15   contract. That award was confirmed by this Court. A copy of this Court’s order can be found at
16   Docket No. 49.
17            4.     In mid-September 2021, counsel for EDAG learned that BYTON NA had been
18   attempting to move the intellectual property that EDAG had helped create under the contract—and
19   one of the only things of value in BYTON NA’s possession—overseas to China, where it would
20   have been inaccessible. Shortly thereafter, on September 17, 2021, counsel for EDAG submitted
21   a letter to Judge Cahill, cc’ing counsel for BYTON NA, requesting the ability to seek a restraining
22   order and outlining the reasons for this request. Attached as Exhibit A is a true and correct copy
23   of this correspondence.
24            5.     On September 19, 2021, Judge Cahill responded and asked both EDAG and
25   BYTON NA to brief certain issues for him and to stipulate to a schedule. Attached as Exhibit B is
26   a true and correct copy of this correspondence.
27            6.     On September 21, 2021, Judge Cahill signed a stipulation and order, agreed to and
28   signed by counsel for EDAG and BYTON NA, regarding the briefing schedule related to the
                                               1
                   WALCZAK DECL. ISO REPLY ISO MOT. TO CONFIRM 11/8/21 ORDER
                                  CASE NO: 3:21-CV-04736-EMC
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 3 of 611



 1   restraining order request. Attached as Exhibit C is a true and correct copy of this stipulation and
 2   order.
 3            7.      On September 24, 2021, EDAG submitted its Memorandum of Points and
 4   Authorities in Support of its Motion for a Temporary Restraining Order to the Arbitrator Judge
 5   Cahill, copying counsel for BYTON NA. This submission included two declarations and
 6   approximately 300 pages of supporting materials. Attached as Exhibit D is a true and correct copy
 7   of EDAG’s Memorandum of Points and Authorities and the supporting materials.
 8            8.      On October 4, 2021, in response, BYTON NA submitted its Memorandum of
 9   Points and Authorities in Opposition to EDAG’s Motion for a Temporary Restraining Order to
10   Judge Cahill, copying EDAG’s counsel, along with its own supporting declaration. Attached as
11   Exhibit E is a true and correct copy of BYTON NA’s Opposition and supporting materials.
12            9.      On October 6, 2021, EDAG submitted its Reply in Support of its Motion to Judge
13   Cahill, along with supporting material, copying BYTON NA’s counsel. Attached as Exhibit F is a
14   true and correct copy of EDAG’s Reply and supporting materials.
15            10.     On October 14, 2021, Judge Cahill held a hearing for approximately two hours
16   regarding the materials submitted by both parties. Evangeline A.Z. Burbidge and I, from Lewis &
17   Llewellyn LLP, appeared on behalf of EDAG; Keith Sipprelle of Van Etten Sipprelle LLP
18   appeared on behalf of BYTON NA.
19            11.     Following the hearing, on November 8, 2021, the parties were served with Judge
20   Cahill’s order regarding the issues briefed, which granted EDAG’s request. A copy of this order
21   was filed with the Court at Docket No. 25.
22            12.     On December 9, 2021, this Court heard EDAG’s Motion to Confirm Arbitration
23   Award and Issue Judgment, regarding the June 2, 2021 award of over $28.6 million to EDAG
24   issued by Judge Cahill. Attached as Exhibit G is a true and correct copy of the transcript for that
25   proceeding.
26   ///
27   ///
28   ///
                                                2
                    WALCZAK DECL. ISO REPLY ISO MOT. TO CONFIRM 11/8/21 ORDER
                                   CASE NO: 3:21-CV-04736-EMC
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 1          I declare under penalty of perjury under the laws of the United States that the foregoing is
 2   true and correct. Executed on this 21st day of March, 2022 at San Francisco, California.
 3

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 5                                                             Kenneth M. Walczak

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               WALCZAK DECL. ISO REPLY ISO MOT. TO CONFIRM 11/8/21 ORDER
                              CASE NO: 3:21-CV-04736-EMC
Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 5 of 611




                 EXHIBIT A
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 6 of 611


From:                Kristin Orrantia
To:                  Scott Schreiber; Jayli Miller; ksipprelle@vstriallaw.com; dvanetten@vstriallaw.com
Cc:                  Evangeline A.Z. Burbidge; Marc R. Lewis; Brad Estes; Kenneth M. Walczak; Diana DeFrancesco
Subject:             EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291
Date:                Friday, September 17, 2021 1:28:48 PM
Attachments:         2021_09-17 - Letter to Judge Cahill re Leave to Request TRO-Injunction.pdf


Good afternoon Scott:

Attached please find Petitioner EDAG Engineering GmbH’s Request for Leave to File a TRO or
Injunction for submission to Judge Cahill.

Respectfully submitted,
Kristin Orrantia

Kristin Orrantia
Lewis & Llewellyn LLP   | Senior Paralegal
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This email may contain confidential and/or privileged information. If you received this email in error please delete and notify
sender.
       Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 7 of 611
                                                                          601 Montgomery Street, Suite 2000
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LEWIS +                                                                                Direct 415-762-0908
LLEWELLYN                                                                     eburbidge@lewisllewellyn.com
                 LLP                                                                www.lewisllewellyn.com




  VIA EMAIL

  September 17, 2021

  Hon. William Cahill (Ret.)
  JAMS
  Two Embarcadero Center, Suite 1500
  San Francisco, CA 94111

          Re:   EDAG v. BYTON – REF# 1100107291

  Dear Judge Cahill,
          EDAG Engineering GmbH (“EDAG”) has learned of a fraudulent scheme by BYTON
  North America (“BYTON”) to transfer assets—including EDAG’s intellectual property—
  overseas to BYTON’s Chinese parent company (or a Chinese affiliate) and out of reach of U.S.
  authorities. Because this scheme imperils EDAG’s ability to obtain the relief ordered by Your
  Honor, EDAG must seek a temporary restraining order (“TRO”) or preliminary injunction
  enjoining BYTON’s conduct.
          EDAG believes Your Honor has full authority to grant the relief sought, under the terms
  of the contract between EDAG and BYTON and the relevant case law. EDAG is prepared to
  submit formal briefing within one calendar week from the date of this letter.
         If Your Honor disagrees, and determines that JAMS no longer has jurisdiction over the
  matter or that JAMS specifically lacks authority to issue a TRO or a preliminary injunction,
  EDAG respectfully requests written confirmation of that determination within the next five (5)
  calendar days, by or before Wednesday, September 22, so that EDAG can swiftly seek relief
  from the Court.

  I.      Procedural History.
          Your Honor conducted the arbitration between EDAG and BYTON between February 8-
  12 and 16-19, 2021. On June 10, 2021, after closing arguments and the issuance of two
  preliminary rulings, Your Honor issued a 29-page Final Award finding in favor of EDAG’s
  breach of contract claim and awarding EDAG the sum of €23,446,649, plus 10% statutory
  interest and costs.
           On June 23, 2021, EDAG filed a Petition to Confirm the Final Award and enter judgment
  in its favor in the Northern District of California. On July 16, 2021, BYTON filed a reply
  indicating that it intends to challenge the Final Award.


  ///
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               LL P




       II.   New Evidence of BYTON’s Improper Attempt to Transfer Assets Overseas,
             Misappropriate EDAG’s Intellectual Property, and Avoid Payment of the Final
             Award.
          EDAG has just learned that BYTON—who has not paid one cent of the over €23.4
   million Final Award—has paid other vendors so that it and a related Chinese entity (which
   BYTON has referred to as “BYTON China”) can access EDAG’s intellectual property and spend
   resources building its M-BYTE vehicle in China. See, e.g., Ex. A (“Byton is alive! M-Byte EV
   was spotted in the wild for the first time,” CAR NEWS CHINA, Aug. 20, 2021).
            A few days ago, EDAG also learned that from August 2020 to May 2021, BYTON was
   attempting to transfer EDAG’s intellectual property from a cloud-based system held by Jama
   Software in the United States to a local Chinese server that would render the information
   inaccessible from the United States. Under the terms of the contract between EDAG and
   BYTON, BYTON has no right to access or make use of EDAG’s intellectual property because it
   has not paid the money it owes EDAG for EDAG’s work. 1 Such a transfer threatens EDAG’s
   ability to recover its intellectual property or the money it is owed. And it remains a very real
   possibility in the absence of a TRO or injunction.
   III.      This Arbitrator Has Authority to Issue Injunctive Relief.
            Federal law protects the right of a party to seek injunctive relief to preserve the status quo
   and protect its ability to receive the benefit of an arbitrator’s award. See . Toyo Tire Holdings of
   Americas Inc. v. Cont’l Tire N. Am., Inc., 609 F.3d 975, 981 (9th Cir. 2010) (“Toyo”) (Interim
   relief is available to parties where “necessary to preserve the status quo and the meaningfulness
   of the arbitration process—provided, of course, that the requirements for granting injunctive
   relief are otherwise satisfied.”) (copious citations omitted).
           That protection extends to proceedings like this one, in which EDAG has obtained an
   arbitration award but requires an injunction “to ensure [its] arbitration award is not rendered
   ineffectual.” Smagin v. Yegiazaryan, No. CV 14-9764-R, 2015 WL 13757706, *2 (C.D. Cal.
   Sept. 28, 2015) (“Smagin”) (affirming injunction freezing assets of Respondent who “regularly
   conceals the true ownership of his assets through the use of shell corporations in offshore
   jurisdictions and through the use of nominees who hold assets on his behalf and act according to
   his discretion” in action where Petitioner had received an arbitration award). “This is not the
   beginning stage of a breach of contract claim, but instead the end stages of a protracted
   arbitration in which the merits of all claims and defenses have been fully presented and
   adjudicated.” Smagin, 2015 WL 13757706 at *1, citing Toyo (additional citation omitted).
           While a United States District Court ordered the injunctive relief in Smagin, the Ninth
   Circuit has specifically affirmed the rights of parties to confer that same authority on an

   1Under the “Assignment of Rights” contained Section 6.2(b) of the Technology Development and License
   Agreement it states: “Subject to [EDAG’s] underlying Intellectual Property Rights in the Background Technology
   and in exchange for the fees set forth in section 4 of SOW, [EDAG] shall and does hereby assign to BYTON,
   [EDAG’s] entire right, title and interest in and to the Deliverables created for BYTON, the Foreground Technology,
   and all associated Intellectual Property Rights therein. […]” (emphasis added). Ex. B (Tr. Ex. 2, Technology
   Development and License Agreement, without schedules, by and among BYTON North America Corporation and
   EDAG Engineering GmbH, effective June 1, 2017).

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     arbitrator. “[A]n arbitrator generally has the authority to enter injunctive relief against a party
     that has entered into an arbitration agreement [with the] caveat, however, is that an arbitrator
     may do so only if the arbitration agreement at issue permits it.” Ferguson v. Corinthian
     Colleges, Inc., 733 F.3d 928, 937 (9th Cir. 2013) See also Alzheimer's Disease & Related
     Disorders Ass'n, Inc. v. Alzheimer's Disease & Related Disorders Ass'n of San Diego, Inc., No.
     17-CV-1690-BTM-JLB, 2018 WL 1562012, at *4 (S.D. Cal. Mar. 29, 2018) (collecting cases
     demonstrating “courts have recognized an arbitrator’s power to award equitable relief, including
     injunctive relief against a party to an arbitration agreement.”; Toyo, 609 F.3d at 981 (ICC Rules,
     which Toyo parties agreed would govern, allowed parties to seek “interim or conservatory relief”
     from a court of competent jurisdiction, both before and after arbitration).
           EDAG and BYTON did just that, in the Technology and Development Licensing
     Agreement (“TDLA”) that binds the parties. TDLA Section 14.4b specifically grants Your
     Honor “full power and authority … to interpret or construe the provisions of the agreement
     documents and to fashion appropriate remedies (including temporary, preliminary, interim, or
     permanent injunctive relief).” See Ex. B (Tr. Ex. 2, Technology Development and License
     Agreement, without schedules, by and among BYTON North America Corporation and EDAG
     Engineering GmbH, effective June 1, 2017).

     IV.    Conclusion.

             EDAG respectfully requests that Your Honor respond within five (5) calendar days, by or
     before September 22. If Your Honor agrees that JAMS has authority to hear this matter and
     grant relief, EDAG requests permission to submit its papers in support of a TRO or injunctive
     relief two (2) calendar days thereafter.

                                                          Respectfully submitted,

                                                          LEWIS & LLEWELLYN LLP

                                                          By:___________________________
                                                             Evangeline A.Z. Burbidge
                                                             Marc R. Lewis
                                                             Brad Estes
                                                             Kenneth M. Walczak

                                                          Attorneys for EDAG Engineering GMBH

     Enclosures

     cc: Keith Sipprelle, Esq. (via email)
         David Van Etten, Esq. (via email)




                                                                                                           3
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                  EXHIBIT A
9/14/21, 12:41 PM                Byton is alive! M-Byte
                    Case 3:21-cv-04736-EMC              EV was spotted
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                                                                                          03/22/22         Page- CarNewsChina.com
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     ARTICLE   EV    INDUSTRY




    Byton is alive! M-Byte EV was spotted in the wild for the
    first time [Spy Photos]
    Jiri Opletal August 20, 2021




                                                     Byton M-Byte spy photos




    If you are among those who thought Byton would never produce a car, you are not alone.
    Byton is a Chinese automotive soap opera – 5 years of bankruptcies, reorganizations, politics,
    8.4 billion yuan burned ($1.3 billion), and still no car in mass production.


    Today CNC received the set of spy photos taken in Hainan by our friend Bob. Despite the
    heavy camouflage, we can tell it is the Byton M-Byte concept. Bob almost got in a fight with
    the Byton test crew while making the pictures. Thanks to his bravery, we can now see electric
    SUV M-Byte is not dead and undergoing road tests.




https://carnewschina.com/2021/08/20/byton-is-alive-m-byte-ev-was-spotted-in-the-wild-for-the-first-time-spy-photos/                 1/4
9/14/21, 12:41 PM                Byton is alive! M-Byte
                    Case 3:21-cv-04736-EMC              EV was spotted
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    Byton was founded in 2016 by a team of mostly German [edit – they deleted the webpage
    with team members] executives who mostly used to work for BMW. M-Byte was introduced in
    2018 at CES in Las Vegas. Mass production was supposed to start in 2019, but Byton has kept
    silent since then. Upon launch, Byton claimed it is SUV and SIV, which stands for Smart
    Intuitive Vehicle. We assumed it was because of lots of technology Byton planned to stuff
    inside.




    The company was headquartered in Nanjing with offices in Beijing, Shanghai, Hong Kong, San
    Jose (US), and Munich (Germany). The Byton’s subsidiary operating Munich branch was sent
    into insolvency on April 2021 after not paying salaries to its employees for several months.
    Both co-founders, together with most of the German team located in China, also left the
    company. First was Carsten Breitfeld in 2019, who later claimed he quit because of Chinese

https://carnewschina.com/2021/08/20/byton-is-alive-m-byte-ev-was-spotted-in-the-wild-for-the-first-time-spy-photos/                 2/4
9/14/21, 12:41 PM                Byton is alive! M-Byte
                    Case 3:21-cv-04736-EMC              EV was spotted
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    government interferences. The largest Byton investor was state-owned automaker First Auto
    Works (FAW).


    Exodus
    Exodus of
           of founders
              founders

    According to The Verge, Breitfeld said he didn’t realize enough what it meant to take
    investment from a state-owned automaker like FAW. He also claimed FAW took away his
    responsibilities.

    A year later, in 2020, the second co-founder Daniel Kirchert left Byton. His new destination
    was Evergrande Auto, where he worked as Vice Executive President. For Mr. Kirchert, it was
    the second job for the automaker that didn’t produce a car. And while Byton might yet
    succeed, Evergrande’s fate seems a bit darker.


    In 2019 Evergrande announced it plans to invest $6.4 billion over the next three years into its
    EV unit. In August 2020, they announced six new cars under the Hengchi brand (Hengchi 1-6).
    Backstage, we heard many rumors about their struggle to put cars into production. Finally,
    Reuters reported that Evergrande is in talks with Xiaomi to sell their EV unit this week. The
    original business of Evergrande is real estate.


    FAW taking control
    FAW taking control of
                       of Byton,
                          Byton, pushing
                                 pushing Foxconn
                                         Foxconn away
                                                 away

    Back to Byton. Despite the ups and downs, it got some powerful backers, including FAW,
    Tencent, and Foxconn, which signed a strategic partnership in January 2021. Foxconn bet a
    lot on EV, aiming to copy-paste its business model with smartphone vendors and provide
    manufacturing services to EV startups. However, FAW, the biggest Byton creditor, started
    taking management control of Byton and installing its people into high management
    positions, Bloomberg reported in July this year.


    The reorganization resulted in Chinese state-owned automaker FAW being heavily involved in
    the project, reportedly leading to conflicts with Foxconn. According to TechTaiwan, Foxconn
    confirmed that its team had left Byton plants, and further cooperation would depend on the
    outcome of Byton’s reorganization.

    M-Byte
    M-Byte EV
           EV


    According to previous information, the SIV SUV will be 4800 mm long and have a wheelbase of
    2950 mm. Upon launch, the Byton SIV will be equipped for level 3 (L3) autonomous driving,
    including Lidar and millimeter-wave radar. There will be two battery packs available: 60 kWh
    for a 350 km range and 90 kWh for a 500-kilometer range. 0-100 will take “5 to 6” seconds.




https://carnewschina.com/2021/08/20/byton-is-alive-m-byte-ev-was-spotted-in-the-wild-for-the-first-time-spy-photos/                 3/4
9/14/21, 12:41 PM                 Byton is alive! M-Byte
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                                                       Document         in the wildFiled
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    Byton M-Byte Concept from 2018



    It’s nice to see M-Byte is still alive, and chances we might see it in mass production are getting
    higher. We will keep an eye on that.




https://carnewschina.com/2021/08/20/byton-is-alive-m-byte-ev-was-spotted-in-the-wild-for-the-first-time-spy-photos/                  4/4
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                  EXHIBIT B
                Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 16 of 611




                                                  TECFINOLOG'Y DE VELOPMENT ANH
                                                           LICENSE AGRF,.F.MF,NT

          This Technology Dovelopmenl and License Agreement (tho "Agreement") is effectiveM ol'thc 1st clay of June, 2017
          (the "effcc.live Date") ancl is macle this 20th day ofOctober-, 2018 by nod nmont: BYTON Nonh America Corpo1-alion,
          11 Oelownre corporation with offices Rt 4201 tl11l'ton D1·ive, Santa Clara, Colifofllio, 95054, 011 t,ehalfof ,tselfand 11s
          Affilfatcs (collectively, ''BYTON'') ond IlDAQ llug.i,neering GmbH ("Supplier"), located al Kreuzbecger Ring 40)
          6S20S Gcnnany (BYTON and Supplier arc individually o "Party" and collectively, "Pm1ies")..

                                                                 W li'NE8SBTH

                    WllEREAS, BYTON is in the business of designing, developing, manufllcturit1g. and delivering cloctrlc
          vehicle.,, which will be Initially n,an11factu1-ed snd !lOld in China, onc,J llJCteafter in the United Stales, Europe ond other
          counl1'ie.s, an<l rcqt1trcs ccr1~1n servli;es and suppo11; 1111d

                 WHBRHAS, Supplier is able 10 provide sucb services ond suppo1·t, and boU1 BYTON and SupplflV now das[re
          lo memoJializc the terms and conditions relating thereto;

                  NOW, THERBJ:oRE, In consideration of the mutual promises set fortb ha·cin, und for such olher good und
          valuable consideration, the receipt ,md sufficiency ofwhkh is hereby ncknowleclged, the Parties agree ns follows:

          1,0 n EFINlTlONS

          When used herein, the follawmg te,m:; shill} be defined PS foUows;

          I.I "Aeecptance Requirements" means tJ1e Specifications, the.acceptance crill:na ,~!alive lo the Deliverables, n~ the
          pl;iu ond ossocl11tecl test e,wironmenl agrum;t which lWTON wi ll test conformance of the Deliverables in accordunce
          with the documents set forth in a Statement of Work or as otherwise agreed by the parties in writing.

          1.2 "Affiliates" shnll me.in with respect lo nn entity. any other entiry or pen;on controlllng. controllecl by, or 1111der
          common control witlt, S\IC11 e:1ti1y. For purpo.5es of the Agn:ement, •control'' means possessing, directly or inclircclly,
          the power to direct or cause the direction of lh~ mRnageinent, policies or operations oran entity, whethc,• tlu'Ongh
          ownership of voting securitie.s, by cootroct or oth~wise.

         1.3 ".Background Technology" means all Teehi,ofogy that (i) is owned or otherwise controlled by Supplicl' nnd {ii) is
         either (1) in existence on or p1ior to lilt! Effective Date or (2} conceived, created, developed, reduced to p,·acticc or
         made by or 011 behalf of ~\!pp lier after the Effective Date independently of the octivitlcs con1omplated by this
         Agreement.

         l.◄ •a Y'I'ON Product(sl'' meons any produc1(s) made by or fvr DYTON that incorporatc.q or is disllibuted for use in
         conjw1clion wilh t11c Dclivel'abfos 01· a portio1l thereof.

          I .S "Confidentinl lnfo1·maLion• n1eitns info1m0tion wh.ich if ctiscl0,5ed (i) ir1 tangible form, is clearly marked as
         ''contidentinl" or "prop1ietnry" at the time of disclosure, or (ii} io i111engjblc form (such n.s or-,!lly or visually), lhe
         disclosing Porty cleui·ly identifies as •confidential" or "pt·oprietai"y" al the time ofdisclosure at1d summnri:zes fn writing
         and delivers to lhe receiving Party within thirty (30) dnys of dlsclosu1-e.

         1 6 "Deliytlrables" means 1hc specific deliver11bles Which Supplier is tci provide to BVTON undei· n Statement of Work
                                                                      111 S




                                                                                              ,     EXHIBIT                \.JJ
CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                3                                   EDG-0035531



                                                                                                                                                 3-001
                Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 17 of 611




          and such other 8ucl(grou11<1 Tech11ology whioh Su1>plier provides to or mnkcs uvallnble to J3YTON in com,eclion with
          a Statement orwo,lt.

           1.7 "~~ma-" means nny work or iriven1ion, new 1na1erlal, informolion or data which is based in wholo or io
          pnrl upon the Background Technology nnd rorcg1'0und Technology, (includiun, if applicable, a11y D Y'T'ON P1'0Clucts)
          11nd r111y Tntellectual Pt'Op.;t'l)' R.Jghis :.issoci!lle<f therewith, including any dcrfvativo worl<, lmp1'0\/ement, extension,
          revision, 111txli6catio11, l111n.sfation, abridgment, co11dc11sation, oxpa11sion. col1cct1on, complJalion. &1Tor Corroclion, or
          1111y other form in which lhe Background Technology and roreground Technology Ill!\)' be recast, n11nsfom1ed or
          adapted. including any changes thercl<> or lJust I:. .111 i111plemt.:nt11tio11 of the limclionslity described in any Specilicutlons
          Ol' similar documcnlallon dovclopr.d by or for J.3Y'l'ON pursuant to this Agrcernenl.


          1.8 "DOC1m1cn1-a1ion" means collectively the technical documenfarlon. traming mntcrials, suppor1 materials, nnd end-
          use1· docrnnentalion associated with tht> Deliveruules.

          1.9 "En:or~ means with rcspeel to lhe Deliverables, s fallur~ to meet tho Atcepllltice Requirements, including any
          defoct or defioicnoy or failure to confoml to the then-curl'ent futtctlonal, operational and perfomurnce Specifications
          and Documentalion. II is not an Er1•or when lht: ftmctionoJ. operational and performance Spccificntio1\S and
          DocumentaLion aJ'e met but lhe Specificmio~ prove lo be etroneous or dyslhnctional or when target ocljustments lui.v(;
          to be made dut·it1g the dcvclopmcut process.

          1.10 "EtTor Correction• means a modification, addition or procedure lo correct nn J.!nor.

          1.11 "Forcgrouncl Te~litiologyu means ell Technology which Is crearcd, developed, or otherwise geucrntcd by Supplier
          under Ibis Agreement.

          1.12 •t11Lellectual Pl·ope,•ly Right§" means worldwide common law a11d slaluto1•y dgltts associated with (i) pare1lts :md
         patent ;ipplicalions; (i1) works of authorship, including mask work rights, copyrjghts, copyl'ight appllcatltms, copyright
         reg1strs1ions 1111d 1'1nornt1' rights; (iii) the protection of tn,ctc ,md induslJ'lal secrets and confidential info rm11tion; (iv)
         other propriet~ry 11g!lts relatlng to intangible Intellectual property (spccificaJly excluding rrademarks, trade.names and
         service marks); (v) annlogous rights to thooe i.-et for1h above; a11d (vi) divisions, continuatio11s, rcuewols, reii;suonces
         and extensions of 1he foregoing (.is applic.1bl~) now existing Cl' hereafter filed. issued or acquired.

         1.13 "Scryjcc;Ji" mcallS any ta.'lk performed, soch 11s consultancy services, to colltplele the project i1t aOOQrdam;e with
         lhe ngreed rcspoMibilides pursuanL lo a Slatement of'Wo rk.

          I, t4 "Source Q9.clc" means program code in high-le\lCI COtf\pllter lnnguage read(lble by humaus skilled rn U1c language.
         .ind include~ avnilablc related Oocurncntnlion and tools, including comments, internal development tools and build
         envil'onments.

          1.1S •Speci ffcalions" means Uie functional, operational and pel'formance requirements for Che Delivernbles.

         I .16 "Slatgment of Work" means the development plan. including delivembles and flssoclnled mi lcsto11~, 11110 the
         developme11l schL'<lule seL forth in a written document. The Parties may entel' into 111ulliple Individual Suit-emcius of
         Work under this AgreemenL Each Shdement of WoJic entered into by the Parties shall be part of the Agreeme111, os
         defined,

         1.1'/ '"J'echnolo~" means lnvenlions, business, marketing. eng)llcering. leclmical and maounctudog informntion,
         k11ow-how and materials, including technology, sofhvarc; i11s1rumentotion, specificutio11s., desig11s, devices, dn1a,
         compositions, formulas, • assays, rcagcnrs. co11s1tuc1s, com11cmnds, cliseoveries, procedures. p1·oocsses, pnictices,
                                                                      2/ 15                                      C_BVTI.lN_ nT>AG_V I O.)O_ lft




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                                                                                                                                                       3-002
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          protocols, methods, techniques, 1'C.!lulls ofexpeiinltlnt11tion or testing. knowledge, u·ode secrets, skill end expcrie11cc, in
          etich ciisc whether or not 1>ntc11tt1bfc or copyrighrobte; lhe fotegoing 11111y be in bo1J1 tangible and inlonglble rol'rn,

          2.0 DEVELO PMENT

          2.1 Pevelopment Undertaking. Supplier will design, d~velop and ct'eate the Delivernbles s ncl perform all Se1'Vices,
          conforming to the Acceptance Reqi1ircmonts ond ill occordrmce with the 11pplicabtc Srnttimcot of Work cri:at~d under
          lhls Agreeo1ent. Por the 1ivoidanoo ol' doubt, Supplier will uot be Ill) cxcluslvo supplie1'oCthe setvic;es regarding the
          pr•oject as a whole, but only with respect to the agreed l.>clivcrablcs ont.l Sorviet:S prn-i;unnt lo this contract. BYTON
          carries tJ1e oYerall respo1\~ibilily for !he l' ro.ii:ct 11s a whole.
          Should (he developmcnl process show lhal 111rget adjustments nre necessary in order lo achieve the overaH targel of a
          1hnc,ional vehicle fit fM hotuologalion in U1e jurisdiction of the European Union, the l lnlled Scates of Americn nnd
          Chinn, these Im-gel adjwlmenls are not considered erroneous.

          2.2 Ob!ig;;il,jQ!lS ip Suppm1 ofOeyelopmenl. To emure lhc timely and satisfactory completion ofSupplier's
          dovclopme11t wo,it under the Statement of Work, Supplier will ,ieploy throughout the development t1ufficicnl ond
          qunlllied personnel, e.quip1ucnt and oilier nccessaiy resources to complete Supplier's development work BYTON will
          provide all necessary data and perform all durles in accordanco with 'FPDP Gate Deliverables Full Chccldist t.o enable
          Supplier's performance. For 11II ofSup1}lier's development work and provision of Services, Supplier will manage,
          suporvise ~nd provide rlii'eciiOI\ !o Its Persontiel 11110 enuse them to comply wilh the obliga!lons ~nd restrictions
          appllcuble to Supplier under the Agreeme1n. SopJ1lic1· is r'l'.'lponsible for the nets and omlssiolls of Per~:umel under or
          relating to each Agreement. Stipplier may employ individual independent contracu.in; as p111t of its workforce but !.hAII
          nol be pemtiued ro delegate or subco11trnct lhe performance of its duties :md oblig:1lions lo any thinJ pnrty without the
          prior written consem ofBYTON. Supplier remains respollsible for compliance with the term:i noel r,ondicions oflhc
          Agreemem whether perfotnu.:d by Supplier or an authorized third p11.rty.

          For Supplier personnel who are viiritirig and oosite at .BYTON fucitities, U,e additional obligntions set foith in SecLinn
          13 below llhllll apply,

          2.3 Scatus Reports. S\lpplie,· wlll provide to 8 YTON written eugiueering status reports, on an every-other-week basis
          (or as 1<equested basis) detailing the status of the developincnl work described in lhe Strtleinenl of Work . Supplier shall
          ptovlde more frequellt updates and status reports upOll 8YTON's request.

         2.4 £:;bonge Regy!;l,(1. Some evoluJion of the Specifications and the Stncemenl of Work based upon intel'actlon
         between the -Parties is expected and minor modificalions which will 11ot impact full compliance with the Stotemenl of
         Wo1'k (including ml les(ones) or fCC$ due undel' this Agreement may be rnutually agi'Oecl to by ll1e PHrtles and ueed not
         be achieved by a fom,a l change mechnnism. However, changes impacting ful l compliance with the S1atcmc111 of Work
         o r fees payable are only valid if implemented in acco,·d:mce wilb the followrng change refJuest pl'occdurc. BYTON
         111~ l'C{JUCSt any change to the Specl ncations or the Sfat('ment of Work by l.-etling forth tJ1e proposed clumge in
         reasonable detail ill i writing (Including email) submitted co Supplier ("Change Request"). Supplier shall 1-cspond in
         writing t-0 ChRnge Req11ests within three (3) workdays of receipt, iu ench cnse, setting forth lhe expected effe(:t of
         lncorporaling tho requested chon~ including, ns apptop1·iate, the impact 011 tho Staternen1 of Work nod any additio11al
         rees which Supplier would require in order to inoke the requested changl$ ("Change Response"). BYTON shall
         respond promptly infonning Supplier wl1etl1cr It agt'ees witi1 Supplier's desc1iption of the antielpated irnpac1 and
         additional ter111s, ifnny, proposed in tbe ('.henge Response. Once ao anlhorlz.ed 1•epc-esenMivc of BYTON ogl"ees in
         writiug lo lhc te1ms and conditions outlined in the Change Response, Supplier shall promptly begin to i.mplc1ne.r11 the
         agreed changes. In the light of the tighl schedtllo, B YTON agrees to commit to the new terms after !he Change
         ResJ>onse withfn 48 holil'S. Should BY'rON t10l ag,•eo within rl111t timerrainc, Supplier is cnlitlod to perform service or
         deliver/ ec"1due1 lllsk As previo11sly agl'e ed. For the 11voidancc of doubt: Supplier may continue to work in accordance
                                                                    3/15                                      C.,ISY'ION l!OMi VIO 20_ 18




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                    EDG-0035533



                                                                                                                                                 3-003
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           with previous 1\81'Ced 1c1·111s dw'ing these ihl ho\u'S ~s time ls of essence.

          2.5 gnhpnceinenJS, BYTON, al its option, may rt".quest e11b1mccme11til to Ille Deliverable.~ by selling lonh U1e proposed
          change i11re1.1som1ble detai l (including email) sub111l!tc:.d to Suppl ier ("Etthanceme111 Request~). Supplier shall respond
          ii\ writing lo Enl1S11cemen1 Requests wllhin ten ( I0) tlay11 of ter..eipf, In e.ich case, setting for1h the expected ef'fucl of
          l11corpMatlng lhe requesled chnnge, including. ru, nppropriute, any additional lees which Supplier would require in
          ol'der 10 mal.e the req11e.\lted change ("Tinhanccment Request Response"). BYTON s hnll respond promptly will1i11 48
          bo1u-:;, in.forming Supplier whed1cr it agrees with Supplier's additional terms, ifony, proposed ill ihe Enhancement
          Rcquc.-st Response. Once 01111uthoriz.cd representative of BYTON ngrees in wl'ltrng lo 1.he 8nhanec111c11l Request
          Response, Supplier shnll promplly begin to implement the agreed cha1tges. 111 the light of the tight schedule, 0YTON
          agrees io comrnl1 lo the new teims after the Enhancement Response within 48 hours. Should BYTON 1101 ag,•ee within
          that Lilllcfnimc, Supplier is entitled to pcrfutm service 01· deliver/ conduct task as pl'Cviously agreed. f.or tt11?avo1da11ce
          of doubr: Supplier may co111inuc 10 work in occordancc willt previous ugreed lerms during these 48 hours llS ti.me is of
          essence..

          2.6 BYTON's t.11\d Supplier's Obligation.~. 1n furthernnco of this Agrecmeot, BYTON and Supplier shall (a) coopcr.itc
          :ind woit Cogethcr in nll mal!tl's rehiring to U1c services provided hcreunc.ler; (b) rcspo11d prom plly to a Party's requc.s1
          to p1'0vidodirecrion, inf-onnotion, opprov11ls, nulhorizolions or riccisions that are reasonably 11ece.ss1U)' for or related to
          r. Stafcmenl of Wor k inn limely 111m111cr,

          3.0 TRANSFER ANP O~IVER Y

          3.1 Buckground Toohnology. lfrequiicd undero Statcincnt ol' Wo,·k in occordnnce will1 J.5, Supplier will deliver to
          BYTON the Uackgl'Ou11d Technology (i11dudl11g without l11nltalio11 Documentation there.to) within five (5) days if
          fC11Siblc, 01' a~ olhel'wise :ig,-eed to by the piirHes i f not feasible.. after payment pursuant lo the agreed µaymenl
          schcd11le.

          3.2 Dclivembles and the De.>:eloped Teohnolo{!Y. S1m1>He1· will delivel' to BYTON es.ct, Deliverable (iod uding U1c
          Foreground Technology therein and related Documentation), in U,e form(s}scl forth in a Slal~ioent of Wol'k, not later
          than the dote set forth tberehi for Jesting in acoordnnce wilh Ute Accepumce Requiremen1s. In 11ddllio11, Supplier will
          provide to BYTON such toclu1ical documcntnlioo as may be roasonnbly required 10 enable 13YTON to lnstull and test
          each Deliverable as a11ticipatoo by Lile Acceptance Re'4uh-e11,e.nts

          3.'.l Delays. TrMB IS Of7Tt-IE BSSENCe. Suppliets delivery ro BYTON of the Deliverables in accordance wid1 llus
          Srotion J.O (''Transfer and Delivery") 11nd Supplie1's complellon ofall l)clivctablcs, foreground Tccluiology nnd
          Documen101ion thereto in acco,-dnnce with the schedule se1 forth lt1 the Sl11tcme11Lc,f Work are key lo the success of the
          BYTON Prodnct(s). BYTON will provide all necessary ii1formntio11 and perfoiru all duties i11 a timely ftisbion to
          cnl\blo S11pplier performing in l\ccordnnce wilh the master timing.

          3.4 Means of Delivery. AJI delivc,•ies lo BYTON slmll be 0111do DDP Destiuation (INCO Terms, 2010) and p111~uant
          lo BYTO'N':: wriucn inslruc\ions with respect to fom1 (physical or electronic) and location. For lhe delivery Many
          physical items, taxes or duties, fees, charges, stamp caxes, etc. of any kind are l>ome by BYTON. Supplle1· agw~es to
          support J3 Y'l'ON where possible and iR entitled t.o charge Llle$e ~rvices ln accol'daJ1ce with its offer.

          4.01'1tS'f1NG ANO ACCEPTANC~

         4. l ]'est MeOiod. TI1e Deliverables requiring machine execution "'lll be tested in the test cnviro1uncmt desc,ibed in the
         Acceptnnce Requirements. The J1orcgro11nd Technology Md Oeliverohfes no1 req11irlng machine eKecutfon will be
         compared 10 lhc rcquil'et11ents of the Ac.ceplonce Rcqviremenl~.

                                                                       4/1~                                    C..)JY'J'ON_i:WACI_\1 10_20_13




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                        EDG-0035534



                                                                                                                                                     3-004
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          ,1.2 Acccptaoce Procedure..

              a. HYTON may, in BYTON's solo discretlon, reJcct the Deliverables 01· :111y component U1ereof, lfit conftlins any
                 hrtor. BYTON will promptJy notify Supplier in writing of OVTON'll acceptance or rejection (''Erro1· Notice").
                 r., each Errol' Notice. BYT ON will sa fot1h, in reasonable deLoH. the 1-easo1l for the rejection,

              b.       Upon rcjcc1ion of the Delivernble~, Supplier shnll either (i) create and implement an l•:nol' C1>1TOClion for
                    each idcn1ificd En-or mid resubmit me relevam po1·tio11 o f the Dclivernble to 8 Y'l'ON fo1• retesting within three
                    (3) workdll,)'S of [3 YTON's lirror Notioo. or (ii) it' il is hnpractlc11ble to provide Oil Error Con-ection in such
                    lliree {3) workday period, within thfee (3)worl«tttys ofBYTON's Error Notice, provide to 0YTON a wl'lltcn
                    plAn to coi·rect tho Identified 8rror(s), Including o schedule therefor ("Correction P!ru1u)

          Failure of the Dclivornblcs to pn.ss BYTON's acceptance tests fol lowing implementation of Error Con-ection(s) ax
          contemptsted above. or failure ofSupplier and BYTON LO agree upon o Con-eclion J>lan within three (3) days a!'ter
          Supplier prnvidc.s such Con·cction P!t111 to BYTON or Supplief"s fai lure to fully coJHply with ;111 ftgrccd upon
          Conectio11 Plait, wiU cntillc 8YTON, in BYTON's sole discretion, IC> (I) require St1pplier lo agaiJLundertake creation
          nnd implementation of an E1wr Correction for rcsubmisi1ion and cesting pursuaur to this Sec1io1l~ (ii) accepl the
          relevnnl portion of the Deliverable:. and correct the Ef1'0t ilseJf off-setting its rct1Sonablt coslB ogoim,r any nssocia1ed
          fees; (iii) accept the rulevant po11io11 oflhe Deliverables, reserving.BYTON's 1ights to requne S11pplie!' to co1'1'Ccl the
          En'01; or (iv) deem iiuch event a materinl breach of this Agreement which cnnoot be cu1-cd, immedietoly terminate this
          Agreement in accord,mce with Section \),2 (,.0re11ch and Tcrminatiof\w), and Supplier sh11II refund any foes that hove
          been paid (for any noncom pl iant Deliverables) under the Srntemeot of Work ill Qtrestion for this particular item.

          5.0 LICENSE GRANTS AND RESTRICTIONS

          5.1 S11ppliel''s License Grunts and Restrictions.

             a.     Background Technology Llcensc. Supplier hereby grants to BYTON, :i 1-oyally-free, l\1lly pnid up.. 0011-
                    exclusive, pC1-pt:tuaJ, irrevocable and worlclwirle license under Supplier'l lnlellec.hral Propeny Rights 10, in 11ny
                    fnshion BYTON may choose (incl uding, bu1 not llmi(ed lo, community source ancVor open source licensing),
                    (i) use, reproduce, modify, p1-epare Detivarive Mauer of, compile, publicly perfom,, publicly display,
                    demonso-are, Backgrouud Technology «nd Derivative Matter thereof{l11d~1ding In Source Code or objecl code
                    fonn) un any media or via any electronic or other n,eth<itl now known or lttter discovered; {ii) make, have
                   .lll3de, use, sell, offer to .sell, impo11 and otherwise exploit lhe Background Technology end De1ivalive Matter
                    thereof (including in Source Code or object code for1t1.) in any manner 11ml on any mcdift or via any efoctrouic
                   or other 1n0thod now known 01· later discovered; (iii) disclose, distribute and othciwise exµloil the Background
                   Technology a11d Derivative Matter and ( iv) subliccnse the foregoing rights to third p3.1tics through multiple
                   Hers ofsul:ilicensees or other licensing mecl11misms fft BY1'ON'$ option for Buck.ground Technology an<.l
                   Derivative Matters necessary for the ProjecL

             b. Tt1ird Party Licenses. Supplier slmU not incorporate ony tl1lrd-v11rty m11terials, inform11rion or i11tcllcct11al
                propeity, incl,,ding without limitation, any open sourco ~of'l.wvrc (Source Code or object oodc fom1) rnade
                generolly nvailablc to the publlc under opei, r.011rce licenses (collectively, "Thfrd Party M11te1'ials") into any of
                the Deliverables unless Supplier has ob1alntid for BYTON license rights consistent with lhe rights metltioned
                11nde1· Sectio11 5. 1(a) herein. S~1pplier sholl identify and disclose to 8 YTON, @II 'l'hird Pnrty Materials 10 be
                incorporated into the Deliverables, J)l'iOI' to doing so, :md the Per1ies shall discuss the same if necessary.

         5.2 BVTON's Liunse Grant and Res(l'iclions.


                                                                     5115                                      C:_l'IY1'0N_JIDACl_V IO_lO_lt




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                       EDG-0035535


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               a.   Lissmse Qn,nt. Subject to the torm~ end conditions ofthis Agreen,cnl, BYTON r,ri,nts Supplier a personal,
                    non-excluswe, no1,-transferable, lirn1Led Itce1tsc IO infernally use the Foreground Technology a11d prepare 2111d
                    use Oorlvalhre Mnue1· lhe1-eoJ: solely for the purpose of performing maintenance nnd support service$ [(I
                    BYTON in accord once with lhe terms of lhii; Agreeme1\t.

               b. Restrictions. Supplier shall have no right 10 ui,e the i;oreground Technology fol' productive or co111mcrch1I
                  l 1S6S, Supplier may nol sell, rent, loon or othe1wi~c encumber or transfer the Foreground Technology, In whole
                  or ln pr1r1, tq any third party. No right, cit le or interest in or to ~ny trademark, service mark, logo or tt&da name
                  of BYTON or its Suppliers is grnnted under t his Agreemenl.

          6.0 OWNKRSHIP AND PROPIHETARY NOTICF.S

          6J Background ToclmoJogy. S\1JJ1>licr nssc11s Iha! Supplier· ar1tl/or Sup,~lier's supl'liors ow11 the H,ickgrou11d
          Teclrnology and as!{ocieled Tnlellect11al l>rope1ty Rigti1s or owns the proper uon-exc!usiYe licens~. DYTON agr~
          thot, to the exccril Supplier owns the l311Ckgro~111d Technology and associated lmellect\lal Property Right11. SuppJjer will
          retain such ownership. Except as expressly stated in chis Agreement, nothing heroin shall l.>e deemed n trunsfer or
          lloe11se by BYTON ofany lntclJoctual Property Rights tho! BYTON may now PQssess or 3cq11ire in tbe fut\1rc which
          mny cover any aspect of the Dclivembles.

          6.2 Dcllyerahlesi foreground Technology.

          o. Foreground Tcchnology:_Dclivcrnbles. BYTON 1-et11h~ nil l'i~t. tiLie and i11fcrcst In and to: (i) the BYTON
               Prod~; (ii) Dellverables except to the e.xtent such Deliverobfes constitutes Background Teohnology~ and (iii)
               Foreground Technology.

          b.   Assigo.ment of Rights. Subject to Supplier's 1mderlying Tn1ellecwal Pro~rty Rlgh~ in the Background
               Tccbnology ond in c.xchnnge for the fees set fonh in s~tio11 4 of sow. Supplier shall and does hel'cby ossign lo
               BYTON, St1µplict 1s entire 1igltt, tilJe nnd i111ercst in and to the Deliverables cc-eatt.d for BYTON. the Foreground
               Technology, and all o.iSociated l.11tellec1ual Property Rights therein. The P01ties hereby agree thut nll development
               work performed by SuppUer hett:Ltnder shall be deemed works mode for hire. l3efore ony employee or oontrnctO!'
               of Supplic1· (Al'erso1111cl11 ) l)erforms dcvcloprnent work hereunder, such Personnel and SUpplicr must enter into n
               written agreement expressly for the be11efit of 8YTON and contaioing J.)tovisio1)S substantially equivalent to tltis
               Section 6.2 (•Oelivernble.5; Foreground Tecl111ology•) and S<:ction 10 ("Con.fidcntlal Information") or cntur into an
               agreement as close as legally possible 10 it llllder the laws of the country in which task is performed. SuppJie4· (t)
               may only use the Forcgl'oun(I Teclmology in :iccord1mce with Section 5.2 ("BYTON's License Gmnt and
               Restrictions"). and (ii) ogrccs not lo cl1allc11ge lhe volidity of 0YTON's ownership in che Fo!'eground Technology.
               In addition. .BYTON sholl own all Derivative Matter and associated rntellectual P1'0pcrty Rigbts, BYTON may
               register Lho copyright in the Deliverablm and Foregroum1 Technology in its own name, identifying Supplier's
               intcre&l iu Iha Buckground Tcclluology as 1'Cqulred by ap1,Hcable Copyright Office rules and regulations.

         c.    Qmperatjon in Perfectiug.Rights. Supplier agrees to cooperate wlth 8YTON a.ucl C8use Supplier'r. employees to
               coopernte with BYTON and to pe1for111all octs, ,u BY'rON's rcquust 011 reasonable notice. ~s c-ee.so11ably
               ne<:es.$ary to facilitate the preparation, filing, proi;ecution 11ncl enforcement of the Intellectual Prope1·ly Rl$hts
               11ssociatod w1th the Deli Yorn.bfes al)d Foreground TllCht1ology. In addition, Supplicl' shall, upon 8 YTONl:i req11es1
               and a l BYTON's costs, enter into any Assignments, waivcn; or lieensos of the Dellvembles, Poregroulld
               TeclmoJogy or the lntcllechlBI P1•ope1'ly Righti rel:lted to any of the forel!oingas 'BYTON deems n.eoessary and
               oppn.>priate. ln the event that .8YTON iR tmable fur any renson lo secure Supplie1Js signature to ,my documcnl
               rcquirccl to apply for or eKCCute ouy patent, copyright, 1radernark regislr:rtion or other application wit.h respect to
               the l)clivembles a11d Foreground 1'ech1111logy. Supplier heteby il'revocebly clesig11ates a1,d appo,ncs BYTON lllld
                                                                    6/I S                                    C_OY'l'ON_lit.>i\G_V10_20_1ll




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                     EDG-0035536



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               its duly authorized officer:l !lnd ogeuts as Supplier's agents 011d 1111omeys-i11-1llcl to act for anti on ~\Jppficr's behalf
               and instead of Supplier, to execute and file any such 11ppliC11tio11 end 10 cto all other luwfufly pcrmillC<I acts 10
               fhrthcr lhc prosec\1lion end issuance nfpateots, copyrights, trudcmurks or other rlglns thereon with lhe s.inie legal
               force and effect as ifcxe.cmed by Sup1)Uer.

           6.3 Moral rughts. SuppUer ~grees that wi1h re.~pecl to a11y "morol" or equivalent rights (Including, wilhout limitation,
          rights ofattribution, iuteglity, disclosure, and wlthdrnwal) Supplier hereby: (i) assign.,; such righrs to BY1'ON as
          <.le.<iciibed above, (ii) waives sucJ, rights and (ill} agrtts 1111d covcmmts ncvcr to as:icl't, either during or following the
           t~rm of this Agree111e111, s11ch right$ or ro iA~tilute cu· maint11i11 any t,crio,, 11g:iinst BYTON relative to flllY such righci; i11
          tJ1e Foreground Technology or Derivative: Matter. To the ~tcm that such righls cannot be n:ssigncd or waived by
          operntlon or law, Supplier grnnts to BYTON, a royalty-free, fi1lly paid-up, perpet11:ll, itrovocable and worldwide
           lloense to fully CJ<etcise nll such rlg}1ts, with rights to sublicense through multiple. levels ofs\1bticc11Sees nnd furthct,
          Supplier consents to OYTON's use sufficu:ut to allow 8YTON 10 exercise tho rights granted in th,s Agreement.

          7.0 PAYMENTS, INSURANCE AND ACCOUNTING

          7.1 .Fees. BYTON shall pay Su1}1>licr the fees set fortb i11 Soction 4 ill SOW nccordsnoo with the schedule ancl
          rcqu1rerue111:li set forth therein and, In the ~se of tees due In connectlon whh the Delive1'!lbles, up<m 11ocepca,1ce of
          Ddivcmble by BYTON in Hccordance with Section 4.2 ("Acceptance Procedure"). Following such acceptance,
          Supplier shall provide 11 co1Tecl invoice to 13YTON, and such Invoice will be due, in E\n'o, within either sixty (60} days
          following 11 YTON~ 1-eee.ipt M $uch invoice. 8 YTON sent per the agreed payment schadule highJightcd In the
          $ta1e111ent Work 10 this Agreemenl.

          7.2 T11xes. All prfces quoted by Supplier are exclusive ofeny taxes. Supplier ~bull include on itff invoices the actual
          lex.es payable for !he services pr-0vidcd to B YTON. J-towevei·, Supplier shall pny RII rnxes, levies or duties associated
          witll fees aud royalties payable by BYTON hereunder, whether based on gross revenue 0 1· ouierwise; and any business,
          occupational or similar taxes relating to its general business activities. Supplier shall also be responsible for 11!1
          employc, related tnxcs 1·elating to i!s Personnel including employee taxe.-;, worker11 compensation, and unemployment
          insurance.

          7.3 lnsurnnce. Supplier will be insured pursuant to fnws in Ocrmony and provide u copy of the oertificale ofinsumncc
          a1~d will maimain such insurance for the lime of the Agreement.

          8.0 MAINTENANCE AND SUPPORT SERVICES

          8.1 S\rpplict shall provide 10 BYTON lhe maintanancc and sup1,ort services, as set fo1th in a Statement or Work. or if
          l'1e1eafler subsequently req~1ested by 0YTON ~ sub:wquently, mutually agreed by the pa11i~.

          9.0 T RllM AND TERMINATION

          9.1 Tl!tm of Agreement. The term of tllis ~ement begins on the Effective Date and continues for a period ofseven
          rl) years (b11t in no event earlie~ thwi lhe cxpimtion or enrlicr tcm1ination ofthe la!t Statcmcm of Worl<. cret1Led
          hereundet·), unless this Agreement is enrlicr cenninated sooner in accordance bcrcwitJi.

          9.2 Breach and ]'cm1i1111tion. rfeithe1• Pa,·Ly fails to comply with any rnatcrlal tei~n of this Agreem,rnt, tJ1e othOT Party
          may rermim,te this Agreement following thirty (30) days• w1ille11 1101ice to lhe breachillg Patty specifying any i;rrch
          breach unless, within the period of such 1101ice, all bre;icbes spc.cified tlie.rein are rcmcd1e.d. lf the hrench is one which,
          by its nature:, cannot be folly remedied in lhirty (30) days, the Patties sholl cooperate to 1,1-cpare o mutually acocptable
          pion to c111'e the breach within such Lhi11y (30} doy pc.riod and then pursuant lo whieh, th<: breacl1ing Pal'ly shall
                                                                         7/J5




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          unclerlllkc reasonn.bJe, diligent and good fllilh cff'Qrts to prompdy remedy lhe breach. If the Parties are unuble co agree
          upoo" µlu11 to remedy the breech within such thirty (30) day period, the non-breaching Party may terminate lhis
          Agreement. u: aner the Parties luwe agreed upon a 1"C111odial plan, lhe breaching Po1ty foils to comply with such 1>lan,
          the no1i-brcaching Porty may thereaner tenninntc this Agreement cffcccive on wrineo notice. Nurwithstftf'lding
          anything to the contrnry herein, BYTO'N mny lmmedi11tely tern·1lnaie this Ag1-eernen1, w ithout a cure period, Ir Supplier
          failii to comply with any of Its obllga1io11s unde4· Sections 3,3 ("Delay:t) or 4.2 ("Accept1mce Procedure").

          9.3 Supplier's lnsolvency. In the event Supplier beoomes insolvent, cntc1s into votunt&1)' or involunt111·y ban.kruptc:y,
          ceases to conduct busiucss 01 ass1g,1s hs ln1e1~~!s lr1 this Agl'eement 10 n 1.hiid party cM!tror, (l) BYTON nrny
          11nmedititely lenninalc thi~ Agroc:mcnt; or (ii) 0YTON rnny (a} continue to cxcrc;ise the license rights grontcd to
          BYTON hereunder, nod (b) reserve nll 1i g)11s in the Background rechnology 1md !'elated materials to pl'olec113YTON's
          interests therein pursuant to Scctton 365(n) (and any a111e11dment thercco) of !he U.S. B11nlo\1ptcy Code, or equivale111
          le:gislolioll in other applicable ju1·isclictions. The porties l!Clcnowledge dint ll~ 8ockground Technology and
          foreground Technology are "intelleclu11I property" fo r purµoses of Section 36S(n) of IJ1e U.S. B!t.11krupwy Code 1111d
          that BYTON will h1,ve the right to exercise all 1igL1s provided by Soolion 365(n) with respect to the Background
          Technology and Foreground Tech11ofogy. In U,e event that the Supplier Olfltorially bJ'cachcs any provision undE'J' this
          Agreement; BYTON will hAve lhe right to require the delivery by Supplie~· (or In the event of a tlllng ofbankl-uptcy by
          or ngain.,t Supplier, by the trustee) to BYTON ofall Background Technology on<I Deliv~rables (lnclud.111g oU
          embodiments thereot).

                                                                                                or
          9.4 OYTON Te1minotion. BYTON, at BYTON's sole option, priot to 11ccepta11oe the li11nl deliverable, shall bi::
          pci·mlue<l lo terminate this Ag1'c<1tm:ot, 11 $tale111enl of Work or iiny part thei-eof, without cause upon 30 (30) days pnor
          written notice to S1,pplier. Jn such an event, BYTON slu1II JmY tl,e npplicable fees truough the next milestone following
          notice ofsucil re1m iJ1ruion or u o(herwise agreed between the Parties. If BYTON terminates Uus Agreement 01' 11
          Statement of Work (in whole or In part) pursuant lo this Section 9 4, then the P111tic.'> shall J)l'Omptly discuss whnt
          L1•:1n~ition of'woii<, if 01)y, ,nay occw·, tbe pliins for accomplishina such, and fhe pmposed timetable, among other
          things ("'Tmnsltton Plan"), whicl1 will include a transil1011 period ror employees oflhe Supplier allocatod ror on this
                                                                                         or
          project. Oltse<l 011 DYTON's plans and objcclivcs 11nd under considenllion Supplier's allocations with respect' to
          lliis Agreement, the Parties shall coopemte and mutually agree on o Transition Pion, which shall be completed within
          1>ixty (60) days after 1he f>ortfos 1-eaclI agl'eerncm.

         9.5 ~jl'ect of'ferroipation or Exniratio11, Neither pnrty will be liable for ony damages arising out of the expiration of
         this Agreement. Terniina1ion a~ a l'esult of a breach of this Agreement will not affect a11y right to recover damages
         sustained by reason ofbl'each; 01· any payments which 111ay be owing in respect of this l\greeine.nl. Subject lo Supplier
         m.-ldng best efforts to mitigate ruiy easts mid p:iy111Mts, Supp her is entitled tu till pnyments in accordance with agreed
         payment plans/f'ee schedule for already initiated work at tJie time Supplier received the notice from DYT'ON 10
         1c1roinatc for convenience. TI1is i11cludes payments fo1•costs lncuri-ccf with re.~pect lo sulnequent milestones (such 11s
         e:.g. visa re.es, contrncuuil obligations to employees lfaveling nbroad, lesfrng mcilities renled. etc,).

         ~.6 Survival. Sections LO ("'Defini1.1011s"), 3.0 ("Traruifer and Delivet·y"), 5. 1 ("Sllpplier's License Granl'i end
         Restn cLions"). 5.2(b) ("Restrictions-"), 6.0 ("OwnershiJ>ond Proprietary Nolicesj, 8.0 ("Maintenaooe and Support
         Services"), 9.0 c•T~r-m 011<1 'fermination"), to.0 ("Confideniiol lnfo1maliM"), l 1.0 ("W11nm1ties and Disclaimer of
         Warrilnly"), 12.0 ("ludemui!ication~), antJ 13.0 c• Misoelluneous") of this Agreement shall survive any tel'minacion or
         expiration oftlte Agreement,

          J.O.O CONJi'ffiENTlAL INFORMA'nON

         10.1 Obi igation. Except ms provided in this Agrecment, neither Party may use, reproduce, disnibute or disclose
         Confidential lnfonnn1ioo it 1-eceives from tJ1e other Party under this Agreeme.11, without the prior written authori:;,.1tion
                                                                    8/15                                      C_OYTON_WI\O_vto_w_18




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          of tile disclosing Party. Bach Pnrty must hold in co11lidence Co111ide111ial lnformo.lion received trorn the other Pa11y
          and mu.qt 1>roteci Ille confidentiulil)' thc.-eof wilh the s11111c dcgn:c ofcare that 11 exercises wilh 1-espcc1 to its ow11
          lnfonnation of like impomrnce, bur In no event less than rem.onable cnre, during the term oflhis Agrceme11r and for n
          pe1iod of rhreo (3) y~rs afte,· rhe expiration or earlic1· te1 mination of 1.his Agi-ecmcm. Neither Party shnll b~ lial>le for
          ,my i1111clvcr1ent or unAulholized disclosui-c ol"Confidentlal Jnfonnnuon, provldc:d 111m iL excreiscs at least rhc st1111t!ard
          of care set fo11h above to pi-event di:iclosure tmd tnkcs reasonable step~ to mitignte auy danrnge amf prevl!nt f\lrther
          disclo.~ure For purposes of this ~lion, ose, reproduction, clistiibutiun or disclosure by 8Yl'ON oftJ1e Background
          Technology or 11 oregrou11d Tedu1ology thcrcofundc:r a community flourcc or open source licensing model, µursuant to
          loo license grunted by Supplier h1;.1'Cit1, wlll uot bt, a t1n!:u:h or1hiN Agn:i!1n,mt

          I0.2 Excepliorts. Scc1ion l0. l ("Obligation") does not apply to any portion of the Co11fide1tti11I lnformutioo which the
          c·c.ceivmg l>arLy can demonstrate:

              :i    is now, or hereafter becomei1, through no 11cl or failure lo 11c1 Oil lhtl part ofthc r~ceiving Porty, geoernlly
                    known in fhc ,mtomobite industry;

              b.    W6~ posse1;scd by tJ\C receivhig Pol'ty without 1m obligfltion ofconfidentiality al the lime or receiving ~uch
                    Confidentinl lnfotma(ion;

              c, Is 1·lghtfully obrainecl by the rc~eiving Pa11y without n~triction 011 disclosme; or

              d     is independenlly develoµed by lhc receivin~ t'orty not in breoch of this /\greemenl.

          10.3 ~mployee Accca~- Each Party must infom, its esi1ployecs and contractors h:rving access to 1ne other Parcy·s
          Confidential lnfonnation ofresl1ictions under thts Agreement :md shnll conu'l!ciunlly require such contractors to
          comply with the requireme.i\ls ofthls Seclion 10.0 ("Confidential !nf-OrmaH011") Hnd Sectioo G.0 (''Ownel'ship nnd
          Proprietary Notices").

          10,4 J,&ga!ly Compelled Disclosure. ln the event lh:i1 ehhe1• Parly is 1·equested 01· becomes legally coml)Clled
          (including without limitation, pursumt to securities laws and regulations) to disclos~ the existence or any oflh~ fe:nns
          of this Agreemenl, in contravention of lhe provisions of Lhis Section I0, such Pm1y (the "Disclosing Pa1ty") shall
          provide lhe othor P8rty (the "Non-Disclosing Party") with prompt written nolice ofdlot fuct before such disclC1Sure ond
          will use reasonable efforts to folly coope1':lte w,U1 the Noa-Disclosiiig Party to scclc a pl'Otective order, confidential
          trcatmen11 or othec appropriate remedy wi(h respect 10 lhe disclosme. In the case of di,;closurc in ccmncctlot1 wilb n1les
          or regulations ofany entity regulating securities ("SEC"}, if confidential trentment is 1-eq11ellled by the Non•Discl0.$ing
          Party, the r)isclosirig Party agrees to use reasonable efforts to tile such u request on the Non-Disclosing Party's behalf
          and (o respond to any SEC comments to pursue 11ss11rancc lha1 wofidontinl 1..catmen1 will be grantw, in bo!h cases
          fully lofo1111i11g the Non-DiscJoslog Porty ohny such comments and cooperating with the 1·cnson11ble requests of1he
          Non-Olsclosing Pa1ty.

          l 0.S ~pondt.ml Dcvelop1uent. Sac.11 Party unde,-stands tha1 the other Parly may develop ru· receive infom111tio11
          simiJor to the Cortfidential lnfomrntion. Subject to copyrights und pale.nt rights ofeach Party, (i) either J>al'ty n1ay
          dovelo1> or acquire technology or products, for itselfor others, lhnt are similar to or com1>etitivc with the technology or
          p1'0(lllctS of the disclosing Porty, and (ii) ench Paity ls free to use ;ind disclose information which m_ny be retai11ed in
          the unaided mc11101·y or the 1-eeeiving Party's employees or contractors who have hod access to the Confidential
          fnfonnntion of the other P:irty disclosed hell!.undcr.

          I 0.6 fubllcjll(. Noither Pa1ty shall disclose the existence OI' lhe tenns ond conditions of this Agreement to any third
          Pnrty, except as mny be 1•eq\1lred (i) lo implement or ,nfol'oo the lern111 of'this Agreement; or ( ii) by a,, ellisting or
                                                                      9/15                                       C_ llYTON_ rillAC_ VIO_l0_13




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          polcnti1d investor, acquiring company, b1mk or otJ,er linancinl instilUtion, under appropriole non-disclosure tem1s in
          connection wilh n merger, ncqllisition, linMcing, l0011 agreemeol or similal' corporate 1:J·nn1111ction. Supplier shtill nor,
          without firsl obtaining the prior wriUen col\Sent ofBYTON, t111nom1oe this Agreemcm. Once lhe written consent is
          obrained. Supplier may mention nVTON publicly a~ 1·cfe1't11c.e.

          l 1.0 W AfUlAN'l'lES AND DJSCLAlMER OF WARRANTY

          11. I Ownershl[!. Supplier rep1'C~c111s imd warrnnts lhal (I) the Background Technology, Forcgrn1111cl Tccl111ology and
          t>t,liverebles will not irifri11gt:: or ml:sappropriole 1u1y J.olellectmtl l'ropert.y Rights 01 1rnde1oarks of any Ibird Par{y; (ii)
          Suppli~· hns the right ond power to enter in10 this Agreement Rnd gmnt the nssig1101ent 011d the licenses set forth
          herein; (iii) the Deli verable.~ will be free from defects in de..~ign, ma1e1·ial 11nd worlmaosh!p and in 11ccord:111ce wiU1 the
          Specificntioos agreed upon by the parties; (iv) lhe Deliverables will confor111 to 11ll ripplic.ible laws of lbc United
          Stutes, Guropean Union, 1100 Chi11u, Including thostl 11pplic.ible lo the design nnd engineering of vehicles in such
          countries 1111d regions lo achieve ho111olog1.1tion; (v) and all services pro11iood will be provided i11 a professional and
          wo11<manlike manner, using qu1tlified pel'sonnel with npproprinte 1reining, edL1cation und e.xpcr!enoo to perform tho
          services as requh·ecl hercundel'.

          11.2 Confonnnne&. Supplier rcpl"CS(!nts nnd wummts that following the date of acceptance, the Dnckground
          Technology, Foreground Tcchllology and Deliverables will continue to conform to the Acceptnncc Rcqui,cments
          without degradation.

           11 l Virus. Supplier represents Rlxl warrants that the Background Technology, Foreground Teduiology und
          Dcliversblcs 111>d 11ssocieted media contain no compulei instructions designed to (i) disnipt, damage or iucerthre wiU,
          U$C of computer or 1elecommun1cations cquipmcn1or fucilltie.<1, or (ii) disrupt or co1Tup1 the us~ operation or results of
          any computer prograin to u,e (tech11ical) extent ft c11n be reasonably exper..ted.

           11 A Addjtional Rcmod~. In the event of a material breach by Supplier of ony rcprcscnlolion or warranty herein,
          BYTON shnll hove, in addition to s,od without limitRtlon of 1,ny other right or remedy available to BYTON al law or In
          C()tbty, the Jighl, i1, BYTON's sole discmion, co take a,ry and alt ect,ons reasonubly 11ecl!sSUJ;, IO rruttgate BYfON't.
          damages nnd/or any dumagcs to HYTON's custointirs arii;ing 1ro111 such breach, including but not liJllited to: (i)
          modifying any form of the Background Technology, Foreground Tcchnolog,y and Deliverable.~; (ii) requiring Supplle:
          to fix any necessary funu of the Background Technology. Potegl'Ound Technology a,1d Deliverables ; (iii) cor1tl'tlcti11g
          with olher:i lo 111odi fy any neeessery ram\ ofthe Backgrnund Technology, Foreground Tcclinology and Deliverables:
          and (iv) distributing to BYTON"s CU8loiners any such modification, 11p lo nn a111ouot eqt1nl to greater of: 11.
          ~URI 5,000,000.00; orb. amounts payable undel' insurance coverage availal>le to Supplier. Any additional insurance
          req,1estii by BYTON wm be charged 10 J3YTON. This inclndt:$ 8YTON's l'igh1 to charge lo Supplier nnd Suppl ler
          shall be obltgnted to pay 10 8 YTON all direct costs .ind expenses, excluding legal fees of any kind, incurt'ed by
          BYTON in connection wlth any such mitigation efforts.

          11.5 Disclaimer. EXCEPT AS PR.OVIDED IN THIS AORE.BM.ENT, ALL EXPRESS OR IMPLIED CONDmONS,
          RJlPRl!SBN'J'A'l'(ONS AND WARRANTTBS fN CLUDfNO, BUT WOT LJMJ'fl.ID TO, ANY WA.RRANT18S OF
          DESICN, Ml!llCHANTA8[Ll'fY, $A'l'ISPAC1'0RY QUAUTY, PfTNUSS FOR A PARTICUJ..AR PURPOSE OR
          NON-lNFRINGEMENT, ARE OJSCLAIMlID, BXCEPTTO TIJE EX'J'UN'l"fHAT SUCH DlSCLAlMBRS ARE
          MI!LDTO BE LEGALLY !NVALLD.

          l2.0 INDEMNlFlCATlON

          12.J Obligation Lo l.ndeqmify,.


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           n.     ~'upplicr's Obliga1io11 to Indemnify 0YTON. Supplier wll1 l11dcmnify, defe11d and holtl barrnlC$S BYTON from
                 and ugninsl any and all clnims, clemnnds> or ncrions C'Cta1ms"}, 1111d all liahllltits1 seltlu1r11:nts, t:osc~, damages and
                 fees (including reason11ble nrtorneys' Fees and cos rs) {"Losses'') lnc,irred or suffered by DYrON arising out of any
                 Claim wtuch arises lrom: (a) ony gross negJigenl or intentionnl act or omi11sion of Sup1>lf0r or its ccnployoc.~,
                 agents or reµ1•esenu11ives in providing U1c services under a Statement of Work; {b) Supplier's breach ot its.
                 obligations under the Agreement; (c) any Clohn by or on oohalrofSUpplier Personnel and their family 1rnd
                 rel~1lves againsl 13YTON arising out orthe servii:.es pe.-fonned by Supplier Pen1onnel under the Agreement u11lcss
                 they arc relined to local, h11wrdous work r.<:mcfitions at 11 EYTON facility; (d) a Claim tJiat Background
                 Technology, Foreground T1.-chnolotJ.Y or Uelivcruble provided by Supprler here under infringes or misflppropl'iates
                 the Intellectual Property Rights of unaffiliated third pim-y. Supplier Is nol 1'CSponsible for backgrc:m11d technology,
                 foreground 1echnology or deliverables provided by RYTON for tlie purpose of this AgreemeuL

           b.     ln the event of any third person or Govcmmental Body cluim ("Third Pa11y Clairnj, action or suit ilgai11sf
                 l3YTON u~ to which BYTON seeks indemnifi cnlion against Supplier hereunder, and BY'J'ON fuiJs to notify
                 Sttppll ei· within n ,·easonnblo timcfi'amc of the cla11n ur acknowledges its obligntion in writing and elects to
                 defe11d agai1,sl, l.'01nproini~e, or, sctllc 1my 'TI1iNJ Party Claim which relates to any Losses indemnified by this
                 agree1ue1u without scclcing pcnnission ofSupplier beforehand, BYTON accepts to be solely Hable for all cl alms,
                 losses, expenses including legal expenses regaJ'dless of acmal liability for 1his claim. Neithe1• Parly sholl, w1fhoul
                 the written consent of the other pa, Ly, settle 0 1' cmn1>rom1se ,my Third Party Clai1n or co11senl lo entry of3ny
                 Judgment unless rlit: clnim~nt or claimants and si1ch pnrty provide lo svcl1 other purty an unqunlilicd rcle.usc from
                 oll liability u1respect ofchc Third ?m1y Clnill\.

           12.2 Remedj~. Should the Delivel'ables become, or in Supplier's 1'eAsonable oviulon be likely co become, the subject
          of n claim of infringement 01· 1nisa1ipl'Opriation of any fotellectuaf P1·oprnty R1gh1s in accot-dnncc with 12. J, Supplicl'
          s hat!, al its sole expense, eitl1ei- (l) pl'O<:ure for BY"I'ON lhe right to cominue to use the Deliverables, or (ii) re1)laco OJ'
          modify the Deli vcrablc.s to make it non-infringing. provided dial the same fimcdons ore performed by the replaced 0 1•
          modilied Deliverables.

          13.0 SUPPLmRPJtRSONNEL

          13.1      General Re<111iremenls for Supplier Personnel.

          11     Supplit:J· wiJl mermgc, supervise ruu.l provide direction co its Personnel and cause them 10 comply with chc
                 obligtiliom; ,md restrictions applicable to Supplier under the Agreement. Supplier is responsible for the acis 1111cl
                 omi$SiOns of Personnel under or relatins lo e.:ich Agreement Supplier is responsible for validating the idemity of
                 and ensuring that Personnel allilgned to perform Services (i) have the legal l'ight 10 work 111 r.he couney{les) in
                 which U1ey arc :issigned to work. and (ii) be subject and con:for1n 10 au a1)plicahlc BYTON policies, relies and
                 procedw-cs wi1h respect to pcrsonnJ and profcb'Sional conduct (including the weatrng ofan idcntificotion b:i.<lge~
                 use of computer systems; and adhering to general Silfety, dre3s, behavior, and security prut:t1ces).

          h.     Supplier is the empJoyer of the Personnel nnd shaU be responsible fur oil compe~ation and benefits payable to
                 them: Perso1111el are 1101 eniploye.es of BYTON aud :lJ'e not entilled lo uny compensation or benefits which are
                 ptovided to Its employe~, including withol.ll ti.olitalion health insurence; paid vaeiltion; sick le.ave; 0 1• retiJ•ement
                 benefits. Supp lier sh11Ualso be respo1t-1lble for complying with all taJ< laws npplicable to Personnel. inclllding
                 withholding taxes for afl compensation payable; and fo1· complying with all applicable labor artd employmen1
                 requiromenls Including worker's compensation mslu·ancc requirements. and lnunigrarion nnd work vis~
                 roc1uire1nc11ts.

         13.2 Key Supptjel' Positions. "Key Supplier Positions" means those pooitioas designa1ed 11s such in the appLic;1ble
         SOW. Supplier will cause cnoh of the SuppUcr Personnel filling the Key Suppliel' Posrtions to devoto substruulslly tlill
         lime und effo11 to the provision of the Scrvic~s during the period ofai;signmont.
                                                                        11/15




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          I:.u     Al;>JJroyal nnd Removal of Supplier Pe.rsonr1el. BY11ON mny npprove nlI Pen;o1mcl I\Ssigned to f>erform
          Ser\lices, -and may require Supp1ier to replace any Per~onnel whose performance, in BYTON's reasonable judgmt.'11t,
          hus been unsutisfaclory.

          J4.0 MlSCELLAN.EOtJS

           14.1 Force Majeure. Neither Porly sh:tll be li1tblc fo1• :my faihll'C or delay ir, perfo rmance of'iliis AgreCtnei1t o.. to !tie
          e.,i\()nl tho failure or delay is coused by fire, fl ood, earthquake o, other acts of God or nt1ture; civil disorder, war, dots;
          or any other simit:w e1111se or eve.Of llc.yond the re.nso11nble control of Et pony: ond b. provided the 11on-perfu1111ing Party
          is without fault in causing such foilure or delay, and It coulcl 1101 hnvc been [l l'eVMtcd by reasonable precl!utimlS or
          othel' ~ltcmative means. If the foregoing failures or clelnys occur which prevent J>Cl rormnnce of a P311y's obligations
          under this Agreement, the :1ffcetctl Party shall promptly discuss the impact of such fililure or dclny, the period of Hmc
          i;ueh may con1inuc for, 1md lhe plans for a work a 1'0u1m ~olulion, all'\ong other thing,s; the afTccted 1'1u1y ,;hall update
          the no1H1ffoctoo Party and keep them apprised orthe situallon. ·n1e vrreci.ed Pal'ly's obligations of the Ps11los shHII be
          suspended fur so long as Che events 111C1111 tlwt 1~rform,mce of the agreement is impossible. 1f ttie failure o r defoy
          continues f(ll' more than twenty (20) work days, then the non-artbcted Party may lerminute the specific SOW under this
          Agreomenl,

           t 4 .2 Severnbility. Tn the evenl that any part of l11is Agreement is found lo be unenforceable) the 1cmainder shnlt
          cc1111inue in effect, to the exlenl permissible by law 110d consistent with the intent ofU1e parties as of the 8-ffectivc Date
          <Jf Ihis Agreement.

          14.3 Relationship oftnc Parries. This Agreement does not ~1-ento a partnership, franchiso, joint voncul'C, agency, 01·
          fiduciary 01· empfoy11,ent ,·elutiMship. Ne ltlier Parcy may bind Ifie other Pnrty by contmct or otherwise to a ny
          obligat,on or act ln a maMerwh!ch expl'esses or implies :t rela1io11ship other than that of independent con1n1ctor.

          14.4 Goveming Law.
          a.   Disp1.11es; Govcrl)jng Law & 11micable s-elllem1<Q.1. If there is u dispute l>etwccn the Partiell which cttnnol be
               resolved through good f'l! ilh negotiations, thl!-11a Porty may request csc;ilutio11 to discussions with senior
               1nanag<.:mcnt of both Panics. Within five (5) dnys of a Party's request, a meeting or tolephono call shall be held
               with such senior mMagement in u11 nl1cmpt to l'c.~olve ~ueh dispulc. rr the P8lt1es cmu1ot J esolve such dispute
               within a reasonable limo period, then the Parties retain all t·ights hereunder, including pursuing arb1trolion 11s
               below slated. A11y aotion ,-elated 10 this Agreement will be governed by the laws of the Slnte ofCalifornta (except
               that body of law controlling conflict of laws) and lhe Uniled Nstions Convention on the lntemntionnl Sale of
               Goods wlll not apply).

          b.   Arbitration,    Any dispute between the Pru1ies !lull is uot resolved through neeotiation will be 1'CSolved exclusively
               b)' final and bindiug arbitration cond ucted in accordllllCe with tbe ll1en-currem Comprehensive A1·bltratlon Rules
               & Procedures of the Judicial Arbitration nnd Mediation Services ("JAMS"). The arbil.l'llliou will oo conducted by
               11 sil'\gle a1·bitralOI' selected by ag,"CC1nc1ll of the Parties
                                                                              or, irtbe Parties cannot agree, M arbitr11.1or oppointcd in
               accordance with tile JAMS l'ulcs who shall be experienced in the type ofdispute al issue, The. Pa11ie.s, their
               l'Opresentativcs, the arbitrator, t1nd other participants shall keep eontidontial I.ht existc,,ce, colltcnt, irnd result of
               tlle arb1tr8tlon. Any demand for al'bilrntion and any counterclaim must specify in reasonnble detail the facts .ind
               lcg11I grounds fom1ing Lhe bnsis for 1he clnlmnnt 's claims nnd include a statement of the toutl amount of damagl\'S
               cloimed, if 111\Y, and a ny other n:rnccly sought by the clain,anL 'Ille :.wbitrat!on will be conducted in the English
               ltmguage; the locid ion of such al'bitt-ath.)11 shall be in San Fraocisco, Call fomia. Each Palty wlll bear its own co.sis
               in U,e arbitra!Jon, 'The aruhnitor will hove A1II power nnd authority to determine issues ofarbitrability and lo
               interpret or construe Che provisiuos of the agl't:c111e11I doc11n1en11: and to fashion appropriate remedies (inc!udiog
               temporary, preliminary, interim, or penuanerll irtjunctive relief); provided lhal the arbitratol' will not hove any
               right or uuthorlty: (I) in C'l<cess of the authol'ity lhlll a court having jurisdiction over tho Parties and the dispute
               would h:ive nbsei1t ll1is arbitration 11grce1nent.; (2) to awlltd da,nagcs i1, excess of the types and limitation of
                                                                         \2/1 j                                   C))V'!'ON_f?DAO_VIO :20 18




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                      EDG-0035542



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                Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 28 of 611




                damages four)t! in Ifie Agreeme11t, or (3} to modify the terms of lhis Agreement.. The m'bitrntor shall issue nn
                award within JO days al'tcrcoinplelion of the hearing 1md any post-J1eOJ'ing briefil1g. The award must be in wi·illng
                Md must slate the rct1soning on which the nword is b:ised. Judgment 1~on the awnrd may be entered in Any comt
                of competent j111isdiction. Notwithstnnding the ugrccment to ntbilrnM, each Pnrty m:1y apply at any ti1ne to a court
                of competent j urisdiction for appropl'iate injunctive relief or for other iutcrim or conservatory measures, and by
                doing so will not breacl, or waive the agreement to arbitrate or impriir the powers of die arbitrator

          14.5 ltnport end Export Laws. Tne $ackground Technology, Forogrotind Technology t111d Dc:livcrnblcs, i11cluding
          without hrnitat,011, technical data, may be subject to U.S. C)(pOl'I controls or to expo1i or import regulabous of olher
          countries. The Parties agree to comply with nll such n:gul11lio11s nnd ucknowlcdge that they have the responsibility 10
          obtain such llcensa-; l<> expor1, re-expo11 or imJ>orl !he Background Technology, Foreground T~h11ology and
          l)llliven1bles as lllllY be required

           l•l.6 Notices. AlI 11olices required hereunder mus I be in writing, sent to 1hc Paliy1s address set fortf1 below nncl receipt
          must be confirmed. Notices required with respool lo Sections 9.0 ("Tenn nnd Terminnlion") and 12,0
          ("Jndcinnificatio11") must be prOvided by express coul'icr.

          BYTON:

          8YTON North Atnerlco Corpoflllion
          4201 Hur1011 l)rive
          Simta Clara, California, 95051'

          Af\O: Goocrnl Counsel

          S\ipplier:
          Supplier's Name:    ~DAG engineuing Grnl>H
          Supplier's Addrt$s: Kreuzbei·ger Ring 40
                              6$205 Wiesbaden
                              OennW1y


          14.7 No exclusive .Kemedy. Unless specilic111ly dcs1~11r1lt:<.I, 1101Jung i11this Agl'ecrncnl slmll be construed as 1111
          exclusive remedy,

          l4.8 Counte1patts. This Agreement lllay be executed incou111erpa11s, C11ch of which will be deemed an original. nnd
          aU of which will cooslitute 0110 agi--eement.

          14.9 Construclion; Order of Precedence. This Agreement hos bee11 negotiated by the ponies and their t<:Speclive
          counsel. This Agreemetlt will be inlerp.1·eted without a11y strie{ construction in thvor of or against either Pal'ty, TI1e
          original of this Agrci;meot has bceu wlitten in Englisb, and :sucJ1 version shtlll be the governing verslo1, of the
          l\greemem. To 1t1c extent penuitted under applicable low, Sup1>l ier waives any nght lt may have, ifllny. unde,· any law
          or regulation to have lflis Agr<:ement written in a Ianguage other than Engtiah. In the event of a conflict between this
          Agreement and any other document that references this Agrccmml, the order or 1m:codencc $hall be: (i) tJ1cmost
          1'CCCnt written document slg11ed by the Parties amending the subject Stntenmn of Work; (ii} the Sta1cme111 of'Work;
          (iii) any 01hcr exhibits or anaehnients Lo, or documents 1-efere1lced by the Statement of Work; anti (iv) this Agreement.

          I,1. 10 Amendment and Waiver. Unless otherwise provided herein, this Agreemen t may not be modified unless in
          writing end slgned by on 11uthorizcd representative of eoc.h Ptu1y. Al'ly express waiver or failure to exercise promptly
          a1)y 1ig,h1 under this Agrccmts1t will not create :i eontir1ulng wmver or nuy expccration of non-enforcement.
                                                                     13/15                                      C_13Y'100_1:DMI_ VIO_'.~ _III




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                        EDG-0035543



                                                                                                                                                     3-013
                 Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 29 of 611




            14. l I /\ssig11n1c111. Ni:ilher Pnl'ly in~y elS:,ign or olherwise 1ra11Sler flll)' of ils rlght11 or oblign1io11,<t und~· thi:r;
           Agi~emcml (whe(t,e1· by operation or luw. mcrgcr1chan~e of co111rol, or olhcrwise), wilhoul (he prior writti::n con11em of
           the olher P11r1y, (I) lo a11A ffili;ite, or {ti) in 1hc event uf a 111er~er, act1uisition or s11le of all or sulisla11tially 1111o r the
           asscls or ri Pnrty or II L>usi1,ess unit. Any 1,ssig,1mcr11 or tmnsfor in breach of this Section ~hall be void

            l>l.12 No Highl$ in Third Pa1ties. '01is Agreement Is made fo,· the beoofit        or the P1111ics and not for the bcnefi1of auy
           third party.

            14.13 Enti1'c Agrt.-c111enL This Agi-e.emen~, including all Attaclimenn; l,erelo, cow,titutes the Purti~' tmti1•e ngreemeot
           with 1'Cs1>cct tu irs sul>jecl mntter, ,md supersedes and replnces all prio,·m· co11tcrnporan~us unclcrstnnclings 01
           ogrc~menl.s, w1illen or ornl, regarding such ~ubjcct m111ler. No tcm1s in a1iy Supplier or BYTON documents (including
           purch11se orde1~ ack11owleclgmen(s, em11ils, or docun1e111s incorpontted by referc11ce (including hut not limited to
           l!.DAG's or B YTON's General Terms nnd Condifiolls) which v11ry fron1, add to, 1n0tlif)• or climinnte any tenns herein,
           ftfO e.'Cpressly reje<iteu ~nd are 1101 part of'this Agreeme11101· any Slllh::mcnt of'Work.


                    IN WITNESS \\fJffilIBOF, lhe PArlies have cm~ed lhis Agreement to be signed hy !heir duly authori?.cd
           rcpresc11tnt ivcs.

          BYT ON NORTR AMER1CA CORl-'ORATJON                                       EDAG ~ngJu~ring Gmbff


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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                          EDG-0035544



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                 Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 30 of 611




                                                                                                AlTACHMEN'f 1
                                                                                     STATEMENT OF WORK No. 1

                l) lntroduction. This S1..-ue1ncul of Work ("SOW") ls issued under lhe Technology Development 011d License
                   Agreen,enl by and between BYTON and Supplier. The te11n of this SOW shall be from June 111, 20J7 ("SOW
                   Bffective Date") until terminated by either Party pursuant to section 9.0 of Chis Agreement.

             2} Scope and 11nture9f cleyelomnent work to be petformed,

                                    o              eDAG_ l9 1610O000_Projcc1 Desc,iplion PMC_SAV_CTC-PS (Bxhibil A)
                                    0              R.FQ for CTC Gnteway to SOP plus 90 days (Exhibit 13)
                                    o              Timing Overview for RJ:Q 20170706 (Exhibit C)
                                    •              PPDP_OALe_Oelive1'flbles_Full_Checklisl 20170701 (ExJ1ibi1O)

            3) Desctiptjon.of Deliverables.

                                    0              EOAG_l96lODOOO_Projecl Description_BYTON_SAV_CTC-PS
                                    0              RFQ for CTC Ooleway !o SOP plus 90 days
                                    o              Tim ing Overview fur R.FQ 201 70706
                                    0              PPDP_Gate_Dellveroble.s_f\11l_CheckHst 2017()701

            4) Development fees and Che~

                                   o               Per page 74 or the l 961 0DOOO l'r-ojccl Descriplion
                                    •              Trovel will be. billed Ht cost +6¾

            S) Schedule fo1• Development and Deliverables. Supplic1· sh:111 perform 1.he following development work. and
               deliver the following deliverables by the dares sel forth below.

                                   •               Per &:DAG_ 19610D000_Projecl Dcscription_BYTON_SAV_CTC-PS
                                   0               Pe1· the followlt1g PO's ag1·eed to by tbe Parties:

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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                                                                              EDG-0035545



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              6) Acccma11co Crllgla nnd Acccp11mce Test Plan [or the Foreground '[cchnology nnd Delivernblcs.

                          o      /\s agreed between rhe parties 1n the Proposal or othenv.ise as :igreed i11 writing.

          JWTON NOR'I'H AMP.RICA CORPORAT ION



          •,~ A - ~
          Name:    2.>A...V_L.D :[wO 1::1 l C-                                 Name:           (__ O 6> <v,..._o .'v«• C'a ~(o
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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                                EDG-0035546



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                  EXHIBIT B
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From:        William Cahill
To:          Kristin Orrantia; Scott Schreiber; jaylimiller@gmail.com; ksipprelle@vstriallaw.com; David B. Van Etten;
             Evangeline A.Z. Burbidge; Marc R. Lewis; Brad Estes; Kenneth M. Walczak
Subject:     EDAG v. Byton Response to EDAG"s Request to File TRO
Date:        Sunday, September 19, 2021 5:49:43 PM



Counsel,

On Sept 17, 2021, Claimant EDAG, delivered a "letter brief" to the
Arbitrator asking if the Arbitrator believed he still retained jurisdiction
over the parties in this arbitration so that he can hear, on shortened
time, a EDAG motion for issuance of a TR0 and Preliminary Injunction
against Byton.

The answer to EDAG's question is "I don't know". This is an issue of
first impression to me and before I opine, I want to at least get briefing
from Byton on the jurisdictional question.

The question is when does an arbitrator's jurisdiction end? Does it end
when the Final Award is issued (June 3, 2021) or a party files in Federal
Court a motion to approve the Award (June 23, 2021), or does the
arbitrator's jurisdiction to issue interim rulings extend until the Trial court
grants the motion (indefinite)? And does the Arbitrator still have
jurisdiction if the trial court's decision is appealed. What about
overturned?

In order to resolve the TRO issue jurisdiction must exist and if so we
can decide the TRO motion. I believe that both issues can be briefed
and decided by the arbitrator in one hearing.

ARBITRATOR PROPOSED STIPULATION FOR RESOLUTION.


  1. EDAG agrees that its TRO motion is filed and served by the close
     of business, September 24, 2021.
  2. In those moving papers, EDAG is to add, if it chooses, any futher
     argument or legal authority supporting its statement in its "letter
     brief" that it "believes Your Honor has full authority to grant the
     relief sought."
  3. Byton files its opposition to the TRO and the Jurisdictional
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     argruments by October 4, 2021.
  4. EDAG files its Reply by October 6, and hearing on October 8.

The arbitrator will initially decide the jurisdictional issues. Then he will
rule on the TRO.

Obviously, all this is very tentative. If you all can meet and confer
and get a schedule that works better for everyone, its going to be
approved.

But if the parties can't agree, my office will set up a call either Tues
or Wednesday to sort stuff out.

EDAG has asked me a jurisdictional question that I can answer
only after briefing,


Bill
        ​__________________________

Hon. Willia​m Cahill (Ret.)
JAMS San Francisco​, Ca
Cell: 415-845-6564

Scott Schreiber, Sr. Case Mgr.
Direct: 415.774.2615


    •   Chambers USA ranked as a National Mediator, 2017-2021
    •   California SuperLawyers in the ADR Category, 2006-2021
    •   Top 500 Leading Judges in America by Lawdragon Magazine, 2006
    •   Mediation Article, Learning from My Mediator mistakes: https://abtl.org/report/nc/abtlnorcalvol25no3.pdf
    •   https://www.jamsadr.com/cahill/
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                  EXHIBIT C
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 36 of 611




 1 LEWIS & LLEWELLYN LLP
   Evangeline Burbidge (SNB 266966)
 2 eburbidge@lewisllewellyn.com
   Marc R. Lewis (SBN 233306)
 3 mlewis@lewisllewellyn.com
   Kenneth M. Walczak (Bar No. 247389)
 4 kwalczak@lewisllewellyn.com
   601 Montgomery Street, Suite 2000
 5 San Francisco, California 94111
   Telephone: (415) 800-0590
 6 Facsimile: (415) 390-2127

 7 Attorneys for Claimant and Counter-Respondent
   EDAG ENGINEERING GMBH
 8

 9 VAN ETTEN SIPPRELLE LLP
   KEITH A. SIPPRELLE (SBN 143358)
10 DAVID VAN ETTEN (SBN 119049)
   2945 Townsgate Road, Suite 200
11 Westlake Village, California 91361
   Telephone: (805) 719-4900
12
   Facsimile: (805) 719-4950
13 ksipprelle@vstriallaw.com

14 Attorneys for Respondent and Cross-Claimant
   BYTON NORTH AMERICA CORPORATION
15

16                 JUDICIAL ARBITRATION AND MEDIATION SERVICES

17                           SAN FRANCISCO, CALIFORNIA OFFICE

18

19 EDAG ENGINEERING GMBH,                          JAMS Reference No. 1100107291
20               Claimant,                         STIPULATION AND [PROPOSED]
21                                                 ORDER REGARDING BRIEFING ON
           vs.                                     JURISDICTIONAL QUESTION AND
22                                                 TRO/PRELIMINARY INJUNCTION
   BYTON NORTH AMERICA
23 CORPORATION,                                    Arbitrator: Hon. William J. Cahill (ret.)
24               Respondent.                       Arbitration: February 8, 2021
25                                                 Final Judgment: June 3, 2021

26 AND RELATED CROSS-CLAIM.

27

28


             STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING ON
           JURISDICTIONAL QUESTION AND TRO/PI, JAMS Reference No. 1100107291
                                                                       1        WHEREAS EDAG Engineering GmbH sent a letter to the Arbitrator in this matter on
                                                                       2 September 17, 2021 seeking Leave to file a TRO/Preliminary Injunction;
                                                                       3         WHEREAS the Arbitrator responded seeking further briefing and proposing a
                                                                       4 briefing schedule;
                                                                       5         WHEREAS, at the suggestion of the Arbitrator, the Parties respectfully submit the
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                                                                       6 following proposed briefing schedule and hearing date;
                                                                       7                      Event                                          Deadline
                                                                       8   EDAG’S Motion regarding Jurisdictional                           9/24/2021
                                                                           question and TRO/Preliminary Injunction
                                                                       9
                                                                      10
                                                                           Byton’s Opposition to the Motion                                 10/4/2021
                                                                      11
                                                                      12   EDAG’s Reply                                                     10/6/2021
                                                                      13
                                                                           Hearing                                          10/14/2021 from 10:00 AM to 12:00 PM
                                                                      14
                                                                      15
                                                                                 IT IS SO STIPULATED.
                                                                      16
                                                                                                                  Respectfully submitted,
                                                                      17
                                                                      18 Dated: September 21, 2021                LEWIS & LLEWELLYN LLP
                                                                      19




                                                                                                                          r
                                                                                                                                             •
                                                                                                                  By:
                                                                      20
                                                                                                                        Evangeline A.Z. Burbidge
                                                                      21
                                                                                                                        Attorneys for Claimant and Counter-Respondent
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                                                                                   STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING ON
                                                                                 JURISDICTIONAL QUESTION AND TRO/PI, JAMS Reference No. 1100107291
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 1
     Dated: September 21, 2021        VAN ETTEN SIPPRELLE LLP
 2

 3

 4                                    By:
 5                                          Keith A. Sipprelle

 6                                          Attorneys for Respondent and Cross-Claimant
                                            BYTON NORTH AMERICA CORPORATION
 7

 8

 9
            PURSUANT TO THE PARTIES’ STIPULATION, IT IS SO ORDERED.
10

11
     Dated: Sept. ____, 2021       __________________________________
12
                                  HON. WILLIAM J. CAHILL (ret.)
13                                ARBITRATOR

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              STIPULATION AND [PROPOSED] ORDER REGARDING BRIEFING ON
            JURISDICTIONAL QUESTION AND TRO/PI, JAMS Reference No. 1100107291
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                                      PROOF OF SERVICE BY E-Mail

                    Re: EDAG Engineering GmbH vs. BYTON North America Corporation
                                       Reference No. 1100107291

            I, Scott Schreiber, not a party to the within action, hereby declare that on September 21, 2021, I

served the attached Stipulation and Order re Briefing on Jurisdictional Question and TRO/Preliminary

Injunction on the parties in the within action by electronic mail at San Francisco, CALIFORNIA, addressed as

follows:


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         I declare under penalty of perjury the foregoing to be true and correct. Executed at San Francisco,

CALIFORNIA on September 21, 2021.


//s// Scott Schreiber
_________________________________
Scott Schreiber
JAMS
sschreiber@jamsadr.com
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                 EXHIBIT D
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10

11                             JAMS REFERENCE NO. 1100107291
12                 IN THE MATTER OF THE JAMS ARBITRATION BETWEEN
13

14   EDAG Engineering GmbH,                      CLAIMANT EDAG’S MEMORANDUM
                                                 OF POINTS AND AUTHORITIES IN
15          Claimant,                            SUPPORT OF MOTION FOR
                                                 PRELIMINARY INJUNCTION
16          v.
17   BYTON North America Corporation,            Hon. William J. Cahill (ret.)
18                                               Arbitration: February 8, 2021
            Respondent.                          Final Judgment: June 3, 2021
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     AND RELATED CROSS-CLAIM
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 1   I.     INTRODUCTION.
 2          EDAG Engineering GmbH (“EDAG”) is one of the world’s leading providers of automotive
 3   engineering services. Start-up BYTON North America Corporation (“BYTON”) hired EDAG to
 4   assist with BYTON’s ambitious goal of building an all-electric vehicle (called the M-BYTE) from
 5   scratch. As was addressed in detail during the two-week hearing, by late 2018 BYTON owed
 6   EDAG millions of dollars. EDAG initiated arbitration over BYTON’s breach of contract and, on
 7   June 3, 2021, Your Honor issued a 29-page Final Award finding in favor of EDAG and awarding it
 8   €23,446,649, plus 10% statutory interest and costs.
 9          EDAG has recently learned that BYTON, which has not paid one cent of the over €23.4
10   million Final Award, has paid other vendors so that it and a related Chinese entity (which BYTON
11   has referred to as “BYTON China”) can access EDAG’s intellectual property and spend resources
12   building its M-BYTE vehicle in China. Based on the evidence, it appears that BYTON is engaged
13   in a scheme to transfer assets—including EDAG’s intellectual property—overseas and out of the
14   reach of U.S. authorities. BYTON has no right to do so; under the express terms of the parties’
15   contract, its failure to pay means EDAG still owns all of the intellectual property EDAG created.
16   BYTON has no right to access, let alone transfer, said property, which may be the only asset of
17   value in its possession. Indeed, BYTON claims that it cannot even pay the $8,400 required for Your
18   Honor to hear this matter.
19          Should BYTON shunt all assets of value overseas and, perhaps, declare bankruptcy, it would
20   render EDAG even more unlikely to recover any of the amount BYTON owes. And BYTON may
21   succeed in this shell game, unless EDAG obtains injunctive relief.
22          The Arbitrator has full power and authority to grant EDAG a preliminary injunction. Based
23   on the immediate risk of asset transfer, EDAG meets the standard for issuance of injunctive relief.
24   EDAG is not only “likely to succeed” in this action, it has already obtained a significant award from
25   Your Honor. While BYTON has indicated that it will file a motion to vacate the award, until the
26   time that the matter is decided by the Court, the Final Award remains in force. Further, BYTON is
27   very unlikely to prevent entry of judgment in EDAG’s favor.
28          EDAG will suffer irreparable harm from the loss of its intellectual property, and potentially
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 1   its entire ability to recover from BYTON, in the absence of injunctive relief. The balance of harms
 2   also favors EDAG. Because EDAG’s entire award is at significant risk, the company continues to
 3   suffer significant harm in the absence of an injunction. Whereas enjoining BYTON from
 4   transferring EDAG’s property would cause it no harm—it would simply preserve the status quo
 5   BYTON itself created.
 6           BYTON has repeatedly represented, year after year and month after month, that it has no
 7   money. The intellectual property that EDAG created is the only thing of value that remains. If
 8   BYTON is able to improperly transfer this asset to China, it will not only have breached the contract
 9   with EDAG, but also flouted the law and principles of fairness and equity.
10   II.     RELEVANT FACTS AND PROCEDURAL HISTORY.
11           A.     EDAG’s Work For BYTON.
12           The Arbitrator is well acquainted with the facts of this matter, and with the parties’
13   relationship. See Arbitrator’s Award (“AA”), Exhibit A to Declaration of Evangeline A.Z. Burbidge
14   filed herewith (“Burbidge Decl.”) at 2- 11. From 2016 to 2019, EDAG provided engineering
15   services to BYTON as part of BYTON’s project to design and manufacture the all-electric M-BYTE
16   vehicle. AA 6-7. In 2018, BYTON stopped paying EDAG’s invoices, forcing EDAG to initiate the
17   underlying arbitration pursuant to the parties’ contract. AA 7.
18           B.     Arbitration Proceedings.
19           On October 22, 2019, EDAG initiated arbitration proceedings against BYTON. Your Honor
20   conducted an evidentiary hearing between February 8-12 and 16-19, 2021.
21           On June 25, 2021, Your Honor found in favor of EDAG’s breach of contract claim and
22   awarded EDAG the sum of €23,446,649, plus 10% statutory interest and costs. AA 28. As Your
23   Honor noted, BYTON repeatedly represented that it lacks the money to pay EDAG. See, e.g., AA 3,
24   7-10.
25           On June 23, 2021, EDAG petitioned the Court to confirm the Arbitrator’s Award and enter
26   judgment in its favor. On July 16, 2021, BYTON filed a reply indicating that it intends to challenge
27   the Award.
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 1          C.      BYTON’s Misuse of EDAG’s Intellectual Property.
 2          The parties’ agreement, the Technology and Development Licensing Agreement (“TDLA”),
 3   required EDAG to give BYTON all associated intellectual property rights for EDAG’s deliverables,
 4   in exchange for BYTON’s obligation to pay certain fees. TDLA ¶ 6.2b, AA 6.
 5          As Your Honor’s Award made clear, BYTON breached the parties’ agreement when it failed
 6   to pay those fees; BYTON owes EDAG over 23 million Euros. AA 7-21, 28.
 7          EDAG is informed and believes that its intellectual property for the M-BYTE vehicle is
 8   currently in the possession, custody, and control of Jama Software (“Jama”). See Burbidge Decl. ¶
 9   8. As EDAG knew first-hand, BYTON used Jama’s browser-based database to store all of the work
10   performed by EDAG to build BYTON’s product, i.e. the M-BYTE vehicle. See Amelung Decl. ¶
11   16; see also Burbidge Decl. ¶ 8.
12          BYTON’s corporate witness testified that BYTON owed Jama Software (among other
13   vendors) money for use of its cloud-based platform, and that Jama had shut off BYTON’s access to
14   that platform. See Burbidge Decl. ¶ 8(a) & Ex. D (Nov. 17, 2020 BYTON Most Qualified Witness
15   Dep.) at 242:24-245:21. BYTON’s corporate witness further testified that BYTON could not
16   muster the roughly $500,000 it owed to its various cloud-based providers. See Burbidge Decl. ¶
17   8(b) & Ex. D (Nov. 17, 2020 BYTON Most Qualified Witness Dep.) at 244:4-17. Before, during,
18   and after the underlying arbitration, BYTON’s witnesses and counsel represented that BYTON did
19   not have any money to pay what it owed EDAG, nor the ability to pay its portion of the
20   contractually agreed upon JAMS fees. See Burbidge Decl. ¶¶ 6(a) - (f). Those representations
21   continued into this week. See Burbidge Decl. ¶6(g).
22          Nonetheless, EDAG has learned that BYTON and a Chinese affiliate have spent the last nine
23   months—including during the arbitration hearing, when BYTON pleaded poverty—attempting to
24   regain access to the Jama database and the intellectual property EDAG created. See Burbidge Decl.
25   ¶¶ 8(e) – (g). On September 1, 2021, EDAG learned for the first time that BYTON paid all past due
26   invoices to Jama several months ago. By paying for a year of access to Jama’s services, BYTON
27   has obtained access to EDAG’s data. Id. ¶ 8(f).
28          Thus, BYTON has managed to circumvent to the TDLA, which expressly states that
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 1   BYTON may only to receive intellectual property rights by paying EDAG. BYTON now has
 2   improper access to intellectual property it does not own, and for which it has not paid.
 3            Moreover, BYTON appears to be transferring its operations and any assets of value to
 4   Chinese affiliate companies, which operate outside the reach of United States courts. On August 20,
 5   2021, automotive journalists reported that BYTON’s M-BYTE was photographed undergoing road
 6   tests in Hainan, China, despite BYTON’s efforts to hide those tests. See Burbidge Declaration ¶ 7;
 7   Amelung Declaration Ex. D. There can be no doubt that the test vehicle is the car that EDAG
 8   designed and that it contains the work that EDAG performed and has not been paid for. See
 9   Amelung Declaration Ex. E.
10            On September 15, 2021, EDAG also learned that BYTON and a Chinese affiliate had been
11   actively working to transfer the IP for the M-BYTE—possibly the only thing of value left at
12   BYTON North America—from a U.S.-based cloud storage facility held by Jama to a China-only
13   server. See Burbidge Declaration ¶ 8(g). While that transfer was unsuccessful, in the absence of an
14   injunction there is nothing to stop BYTON from attempting to do it again.
15            If BYTON is successful in moving its assets overseas, it could very well load up the U.S.
16   entity with all of its debt, declare bankruptcy, and allow its Chinese affiliate to use the intellectual
17   property that EDAG built without paying a cent of the €23.4 million that EDAG is currently owed.
18   III.     ARGUMENT.
19            A.     Your Honor Has The Authority to Issue Injunctive Relief.
20            In the Ninth Circuit, “an arbitrator generally has the authority to enter injunctive relief
21   against a party that has entered into an arbitration agreement.” Ferguson v. Corinthian Colleges,
22   Inc., 733 F.3d 928, 937 (9th Cir. 2013) 1. However, “an arbitrator may do so only if the arbitration
23   1
      The arbitrator’s authority to grant injunctive relief is a procedural issue, i.e. an issue concerning the
24   “rules for arbitration,” to which federal law applies. The Ninth Circuit discussed the lay of the land
     as follows:
25
                     The agreement in this case is a contract “evidencing a transaction
26                   involving commerce” that comes within the purview of the FAA. See 9
                     U.S.C. § 2. “The FAA, while it does not itself create independent federal
27                   jurisdiction, ‘creates a body of federal substantive law establishing and
                     regulating’ arbitration agreements that come within the FAA’s
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 1   agreement at issue permits it.” Ibid. Here, the TDLA explicitly permits it. “The arbitrator will have
 2   full power and authority to … fashion appropriate remedies (including temporary, preliminary,
 3   interim, or permanent injunctive relief).” TDLA ¶ 14.4b, Amelung Decl., Ex. B at 12.
 4          In fact, arbitration is generally the preferred forum for parties to seek such relief.
 5                  The Ninth Circuit has recognized the wisdom of sending interim relief
                    issues to arbitration. In Simula, Inc. v. Autoliv, Inc., 175 F.3d 716, 726
 6                  (9th Cir. 1999), the court held “Because the district court concluded that
                    all of Simula’s claims were arbitrable and the ICC arbitral tribunal is
 7                  authorized to grant the equivalent of an injunction pendente lite, it
 8                  would have been inappropriate for the district court to grant preliminary
                    injunctive relief.” In China National Metal Products Import/Export Co.
 9                  v. Apex Digital, Inc., 155 F.Supp.2d 1174, 1182 (C.D. Cal. 2001), the
                    district court applied the holding in Simula to reverse the magistrate
10                  court. In China National, the parties agreed to submit all disputes “in
                    connection with” the challenged contract to arbitration in China with
11                  the China International Economic and Trade Arbitration Commission
12                  under the Commission’s applicable arbitration rules. China National,
                    155 F.Supp.2d at 1176. After the parties had submitted their claims to
13                  arbitration, the plaintiff sought a writ of attachment from a magistrate

14
                    purview.” G.C. & K.B. Invs., Inc. v. Wilson, 326 F.3d 1096, 1105 (9th
15                  Cir. 2003) (quoting Moses H. Cone Mem’l Hosp. v. Mercury Constr.
                    Corp., 460 U.S. 1, 25 n. 32, 103 S.Ct. 927, 74 L.Ed.2d 765 (1983)).
16
                    When an agreement falls within the purview of the FAA, there is a
17                  “strong default presumption ... that the FAA, not state law, supplies the
                    rules for arbitration.” Sovak v. Chugai Pharm. Co., 280 F.3d 1266,
18                  1269 (9th Cir. 2002). “To overcome that presumption, parties to an
                    arbitration agreement must evidence a ‘clear intent’ to incorporate state
19                  law rules for arbitration.” Fid. Fed. Bank, FSB v. Durga Ma Corp., 386
20                  F.3d 1306, 1311 (9th Cir.2004) (quoting Sovak, 280 F.3d at 1269).
                    “[A] general choice-of-law clause within an arbitration provision does
21                  not trump the presumption that the FAA supplies the rules for
                    arbitration.” Sovak, 280 F.3d at 1270; see also Fid. Fed. Bank, 386 F.3d
22
                    at 1312. In Fidelity Federal Bank, we considered an arbitration clause
23                  providing that controversies were to be resolved “in accordance with
                    the laws of the State of California and the rules of the American
24                  Arbitration Association.” 386 F.3d at 1312 (internal quotation marks
                    omitted). We saw no “clear intent” to incorporate California arbitration
25                  rules and therefore read the agreement as electing state substantive law
26                  and federal procedural rules. Id. at 1311–12; see also Sovak, 280 F.3d
                    at 1270 (reaching the same conclusion under a similar arbitration
27                  provision).

28   Johnson v. Gruma Corp., 614 F.3d 1062, 1066–67 (9th Cir. 2010).
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                    court. Id. at 1177. The district court found that the arbitral rules
 1                  authorized provisional relief. Id. at 1182. Accordingly, under the Ninth
 2                  Circuit precedent of Simula, the district court held that it must respect
                    the parties’ agreement “and refrain from awarding provisional relief
 3                  when the parties have provided for another means to obtain such relief.”
                    Id.
 4

 5   DHL Info. Servs. (Americas), Inc. v. Infinite Software Corp., 502 F. Supp. 2d 1082, 1083–84 (C.D.

 6   Cal. 2007).

 7          Your Honor’s authority extends as far as “the authority that a court having jurisdiction over

 8   the Parties and the dispute would have absent this arbitration agreement.” TDLA ¶ 14.4b, Amelung

 9   Decl., Ex. B at 12. That authority includes the ability to issue a temporary restraining order or

10   preliminary injunction to protect EDAG’s rights, pending confirmation of the Arbitrator’s award and

11   entry of judgment. “[A] district court may issue interim injunctive relief on arbitrable claims if

12   interim relief is necessary to preserve the status quo and the meaningfulness of the arbitration

13   process—provided, of course, that the requirements for granting injunctive relief are otherwise

14   satisfied.” Toyo Tire Holdings of Americas Inc. v. Cont’l Tire N. Am., Inc., 609 F.3d 975, 981 (9th

15   Cir. 2010) (“Toyo”) (copious citations omitted).

16          Here, injunctive relief is necessary to get EDAG the final mile to judgment. EDAG has

17   obtained an arbitration award in its favor but requires an injunction “to ensure [its] arbitration award

18   is not rendered ineffectual.” Smagin v. Yegiazaryan, No. CV 14-9764-R, 2015 WL 13757706, *2

19   (C.D. Cal. Sept. 28, 2015) (“Smagin”) (affirming injunction freezing assets of Respondent who

20   “regularly conceals the true ownership of his assets through the use of shell corporations in offshore

21   jurisdictions and through the use of nominees who hold assets on his behalf and act according to his

22   discretion” in action where Petitioner had received an arbitration award). “This is not the beginning

23   stage of a breach of contract claim, but instead the end stages of a protracted arbitration in which the

24   merits of all claims and defenses have been fully presented and adjudicated.” Smagin, 2015 WL

25   13757706 at *1, citing Toyo (additional citation omitted).

26          Your Honor also retains authority over this matter—and Your Honor’s Final Award remains

27   binding—while BYTON’s future motion to vacate the award is pending; otherwise, arbitration

28   awards would be meaningless. See, e.g., Sarhank Group v. Oracle Corp., 01 Civ. 1285, 2002 WL
                                           11
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 1   31268635, at *3 (S.D.N.Y. Oct. 9, 2002) (“The confirmation of an arbitration award is characterized
 2   as a summary proceeding that merely makes what is already a final arbitration award a judgment of
 3   the court.”); MGM Prods. Grp., Inc. v. Aeroflot Russian Airlines, 573 F.Supp.2d 772, 774 (S.D.N.Y.
 4   2003), aff’d, 91 F. App’x 716 (2nd Cir. 2004) (crediting argument that an “arbitral award is
 5   sufficiently final for confirmation purposes provided that no further recourse may be had to the
 6   appeals division of the arbitral tribunal.... [T]he mere fact that recourse may somehow be had in
 7   another court of law does not prevent the Award from being ‘binding.’”)
 8           B.      A Preliminary Injunction Should Issue, to Stop BYTON From Transferring
                     EDAG’s Data, And to Preserve EDAG’s Ability to Recover on a Judgment.
 9

10           A preliminary injunction is the appropriate remedy for BYTON’s attempts to circumvent the

11   Arbitrator’s Final Award, and the Court’s eventual judgment, by transferring assets or otherwise

12   avoiding U.S. jurisdiction. “[E]quitable relief in arbitration may be essential to preserve assets or

13   enforce performance which, if not preserved or enforced, may render a final award meaningless.”

14   Pac. Reinsurance Mgmt. Corp. v. Ohio Reinsurance Corp., 935 F.2d 1019, 1022–23 (9th Cir. 1991).

15   See also Alzheimer’s Disease & Related Disorders Ass’n, Inc. v. Alzheimer’s Disease & Related

16   Disorders Ass’n of San Diego, Inc., No. 17-CV-1690-BTM-JLB, 2018 WL 1562012, at *4 (S.D.

17   Cal. Mar. 29, 2018) (confirming arbitration award and affirming order enjoining party from

18   “dissipating or otherwise encumbering Currently Available Assets before such transfer for any

19   purpose, including to satisfy outstanding bills, invoices or other debts, whether for attorney fees or

20   for any other purpose.”); Shanghai Lan Cai Asset Mgmt. Co. v. Jia Yueting, No. 2:18-CV-10255

21   SJO MR WX, 2019 WL 11273229, at *3 (C.D. Cal. Sept. 3, 2019) (issuing a “a preliminary

22   injunction, enjoining Respondent from taking any step to transfer, conceal, reduce, encumber, or

23   otherwise make unavailable—either personally or through instructions to another—any non-exempt

24   assets up to the value of this Court’s judgment against Respondent”).

25           To obtain injunctive relief, EDAG “must establish (1) that [it] is likely to succeed on the

26   merits, (2) that [it] is likely to suffer irreparable harm in the absence of preliminary relief, (3) that

27   the balance of equities tips in [its] favor, and (4) that an injunction is in the public interest. Toyo,

28   609 F.3d at 982. See also Butt v. State of California, 4 Cal. 4th 668, 677-678 (1992) (under state
                                            12
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 1   law, a preliminary injunction is proper where moving party proves (1) likelihood of success and (2)
 2   that the relative interim harm to the parties from issuance of the injunction weighs in its favor). A
 3   party that satisfies the latter three elements may obtain preliminary injunctive relief by showing the
 4   existence of “serious questions going to the merits” rather than a likelihood of success on the merits.
 5   Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131–32 (9th Cir. 2011).
 6          EDAG easily satisfies all four elements. Having already obtained a thorough and well-
 7   reasoned opinion granting an award in its favor, EDAG is extremely likely to succeed on the merits
 8   of this action. In the absence of injunctive relief, EDAG will forever lose its ability to recover its
 9   own intellectual property, and may forfeit any ability to recover the sum the Arbitrator awarded. As
10   BYTON will suffer no cognizable harm from maintaining the status quo until entry of judgment, the
11   equities are firmly in EDAG’s favor. And a preliminary injunction would promote the strong public
12   policy that a wrongdoer may not benefit from its misconduct, or misappropriate the property of
13   another to avoid complying with the judgment of a United States district court.
14          C.      EDAG Is Likely to Succeed on the Merits.
15          EDAG has already successfully proved its claim for breach of contract. Your Honor found
16   that: BYTON agreed to pay EDAG a flat fee of €50,448,045, AA 11; EDAG performed its
17   obligations to BYTON under the TDLA, for which it properly invoiced BYTON, id. 11-17; and
18   BYTON failed to pay invoices totaling €23,446,649. Id. 11, 17-18.
19          EDAG will therefore prevail in the litigation as a whole, once the Court confirms the
20   Arbitrator’s award. Confirmation of the award, and entry of judgment in EDAG’s favor, are
21   mandatory under 9 U.S.C. § 9.
22          BYTON has indicated it will move to vacate the Arbitrator’s decision, but the standard is
23   highly deferential and BYTON will fail. The FAA “gives federal courts only limited authority to
24   review arbitration decisions, because broad judicial review would diminish the benefits of
25   arbitration.” SMC Promotions, Inc. v. SMC Promotions, No. CV047107JFWVBKX, 2006 WL
26   6219155, at *1 (C.D. Cal. Jan. 19, 2006) (“SMC”), quoting Lifescan, Inc. v. Premier Diabetic
27   Servs., Inc., 363 F.3d 1010, 1012 (9th Cir. 2004), citing Kyocera Corp. v. Prudential-Bache Trade
28   Servs., Inc., 341 F.3d 987, 998 (9th Cir. 2003) (en banc). “Confirmation is required even in the face
                                                       13
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 1   of erroneous findings of fact or misinterpretations of law.” Ibid., quoting French v. Merrill Lynch,
 2   784 F.2d 902, 906 (9th Cir. 1986) (additional quotations and internal quotation marks omitted).
 3          In fact, “[i]t is not even enough that the [arbitrator] may have failed to understand or apply
 4   the law. An arbitrator’s decision must be upheld unless it is completely irrational or it constitutes a
 5   manifest disregard for law.” Ibid., quoting G.C. and K.B. Invs., Inc. v. Wilson, 326 F.3d 1096, 1105
 6   (9th Cir. 2003) (additional citation omitted).
 7                  Therefore, the federal district court’s role in an arbitration confirmation
                    proceeding is severely limited, and for the most part, the court defers to
 8                  the arbitrator’s determination of the award. Furthermore, “[a] claimant
                    may not voluntarily submit his claim to arbitration, await the outcome,
 9                  and, if the decision is unfavorable, then challenge the authority of the
10                  arbitrator’s act.”

11   Ibid., quoting Ficek v. S. Pac. Co., 338 F.2d 655, 657 (9th Cir. 1964), cert. denied, 380 U.S. 988

12   (1965) (additional citation omitted).

13          Your Honor did not misunderstand or misapply the law, but painstakingly reviewed a

14   mountain of evidence, applied the relevant standards, and appropriately analyzed each of the parties’

15   arguments. No grounds exist for the Court to refuse to recognize or enforce the Award. See Petition

16   to Confirm Arbitration Award, p. 8.

17          D.      EDAG Will Suffer Irreparable Harm Absent Injunctive Relief.

18          EDAG files this motion specifically because it has a direct and immediate need for relief, to

19   enjoin BYTON from improperly accessing and transferring EDAG’s data and intellectual property

20   overseas. As the Arbitrator’s decision plainly establishes, BYTON has no right to the intellectual

21   property in question, because BYTON breached its obligation to pay EDAG for it. AA 17-18.

22          In the absence of an injunction, BYTON will be free to complete the scheme detailed in the

23   declarations filed herewith. See Burbidge Decl. ¶¶ 8(a) - (g); Amelung Decl. ¶¶ 16 - 20. As

24   evidenced by its actions to date, BYTON will access the intellectual property held by Jama and

25   transfer that valuable asset to its affiliate in China. Worse still, it will remove any vestige of that

26   intellectual property from the United States—as it appears to have already attempted—making it

27   impossible for EDAG to recover. Having obtained the benefit of its bargain with EDAG without

28   making payments totaling more than 20 million Euros, BYTON will have no remaining incentive to
                                           14
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 1   comply with the Arbitrator’s Award or the resulting judgment. Photographs of M-BYTE prototypes
 2   in China suggest that BYTON may already be making use of EDAG’s proprietary technology,
 3   directly contravening the Arbitrator’s decision. Burbidge Decl. ¶ 7; Amelung Decl. ¶ 20.
 4          The loss of the ability to monetize EDAG’s work product, and the associated inability to
 5   recover a judgment from BYTON, constitutes irreparable harm. See eBay, Inc. v. Bidder’s Edge,
 6   Inc., 100 F.Supp.2d 1058, 1066 (N.D.Cal.2000) (“eBay”) (“Harm resulting from lost profits and lost
 7   customer goodwill is irreparable because it is neither easily calculable, nor easily compensable and
 8   is therefore an appropriate basis for injunctive relief.”); MCA Recs., Inc. v. Newton-John, 90 Cal.
 9   App. 3d 18, 23 (1979). As in eBay, BYTON’s unauthorized access and transfer of EDAG’s
10   property constitutes a form of trespass, for which there is no adequate monetary compensation. As
11   in eBay, BYTON would deprive EDAG “of the ability to use [a] portion of its personal property for
12   its own purposes. The law recognizes no such right to use another’s personal property.
13   Accordingly, [BYTON]’s actions appear to have caused injury to [EDAG] and appear likely to
14   continue to cause injury to [EDAG].” Id. at 1071.
15          Moreover, the inability to collect on a judgment of this size imperils EDAG’s continued
16   viability as a business. Irreparable harm exists “where the conduct of [Respondent] threatens the
17   existence of the [Petitioner’s] business itself.” Optinrealbig.com, LLC v. Ironport Sys., Inc., 323 F.
18   Supp. 2d 1037, 1051 (N.D. Cal. 2004). The “threat of being driven out of business is sufficient to
19   establish irreparable harm.” Am. Passage Media Corp. v. Cass Commc’ns, Inc., 750 F.2d 1470, 1474
20   (9th Cir. 1985); see also Doran v. Salem Inn, Inc., 422 U.S. 922, 932 (1975) (“[S]ubstantial loss of
21   business and perhaps even bankruptcy” constitutes irreparable harm.); Bullock v. City & Cty. of San
22   Francisco, 221 Cal. App. 3d (1990) (plaintiff who filed for bankruptcy during pending proceeding
23   suffered irreparable harm).
24          E.      The Balance of Equities Strongly Favors EDAG.
25          In balancing equities between parties, Your Honor must use his discretion to weigh the
26   relative harm to each party. Earth Island Inst. v. Carlton, 626 F.3d 462, 475 (9th Cir. 2010); Right
27   Site Coal. v. Los Angeles Unified Sch. Dist., 160 Cal. App. 4th 336, 342 (2008).
28          This factor strongly favors EDAG. In the absence of an injunction, EDAG will suffer the
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 1   harms to its property, its reputation, and its bottom line detailed in the preceding section.
 2           Whereas maintaining the status quo will do no cognizable harm to BYTON. BYTON’s only
 3   de facto injury would result from Your Honor halting its unauthorized and illegitimate scheme to
 4   misappropriate EDAG’s intellectual property and avoid complying with the Arbitrator’s Award or
 5   paying a judgment.
 6           As a matter of law, that harm does not count. “Defendants cannot complain of the harm that
 7   will befall them when properly forced to desist from their infringing activities.” Warner Bros. Ent.
 8   Inc. v. WTV Sys., Inc., 824 F.Supp.2d 1003, 1014–15 (C.D. Cal. 2011), quoting Triad Systems Corp.
 9   v. Southeastern Exp. Co., 64 F.3d 1330, 1338 (9th Cir.1995) (quotation and alteration marks
10   removed). “Where the only hardship that the defendant will suffer is lost profits from an activity
11   which has been shown likely to be infringing, such an argument in defense merits little equitable
12   consideration[.]” Cadence Design Systems, Inc. v. Avant! Corp., 125 F.3d 824, 830 (9th Cir. 1997)
13   (citation omitted; quotation and alteration marks removed). See also Napa Valley Publ’g Co. v. City
14   of Calistoga, 225 F.Supp.2d 1176, 1180 (N.D. Cal. 2002) (granting injunction to “preserve the status
15   quo” and “prevent irreparable loss of rights prior to final disposition of the litigation”); Arauyo v.
16   Loc. 13, No. CV 97-6574 ABC(RNBX), 1997 WL 912927, at *4 n.4 (C.D. Cal. Nov. 22, 1997)
17   (injunctive relief would be proper under “traditional equitable criteria” because “the proposed
18   injunction will maintain the status quo and will not impose any affirmative duty on Respondents or
19   prohibit Respondents from actions that they are entitled to undertake.”).
20           The analysis is the same here: an injunction barring unauthorized access or removal of
21   EDAG’s intellectual property would preserve the status quo without imposing any affirmative duty
22   on BYTON or prohibiting BYTON from any action it is entitled to undertake. And if BYTON
23   claims that it is not, in fact, attempting to transfer its assets overseas, it will have no issue with
24   stipulating to the injunction.
25           F.      A Preliminary Injunction Serves the Public Interest.
26           The public has an interest in compliance with the law and enforcement of federal court
27   judgments. Small v. Avanti Health Sys., LLC, 661 F.3d 1180, 1197 (9th Cir. 2011) (“the public
28   interest favors applying federal law correctly”); N.D. v. Haw. Dep’t of Educ., 600 F.3d 1104, 1113
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 1   (9th Cir.2010) (“[I]t is obvious that compliance with the law is in the public interest.”); DISH
 2   Network L.L.C. v. Fineman, No. CV 16-3488-R, 2017 WL 2060010, at *3 (C.D. Cal. Mar. 22, 2017)
 3   (“the public interest will be served by a permanent injunction because it will ensure compliance with
 4   federal law”).
 5          EDAG moves to enjoin a scheme to misappropriate its intellectual property and avoid U.S.
 6   jurisdiction, as well as compliance with the Arbitrator’s Award and any subsequent judgment.
 7   Foiling that scheme can only serve the public interest.
 8   IV.    NO BOND IS NECESSARY.
 9          The arbitrator “may dispense with the filing of a bond when it concludes there is no realistic
10   likelihood of harm to the defendant from enjoining his or her conduct.” Jorgensen v. Cassiday, 320
11   F.3d 906, 919 (9th Cir. 2003). See also Fid. Brokerage Servs. LLC v. McNamara, 2011 WL
12   2117546, at *8 (S.D. Cal. May 27, 2011) (declining to issue bond requested by defendants).
13          Preserving the status quo until satisfaction of a judgment in EDAG’s favor poses no realistic
14   likelihood of harm to BYTON. As discussed above, BYTON has no protectable interest in being
15   permitted to misappropriate EDAG’s intellectual property. And BYTON will not be able to prove
16   that it suffered compensable harm from entry of an order requiring it to refrain from using EDAG’s
17   work to complete the M-BYTE until EDAG has been compensated for that work.
18   V.     THE TDLA REQUIRES THE PARTIES TO SPLIT ARBITRATION FEES.
19          As the Arbitrator is aware, the TDLA provides that “[e]ach party will bear its own costs in
20   the arbitration.” TDLA ¶ 14.4(b), Amelung Decl. Exh. B at 12. That provision is clear and
21   unambiguous. There is no provision modifying it, and none requiring a party who brings a motion
22   to pay any greater share or additional amount.
23          Prior to this filing, JAMS case manager Scott Schreiber reached out to counsel for both
24   parties regarding payment of a deposit to the Arbitrator. Burbidge Decl. Exh. H at 2 (9/22/21
25   email). Counsel for BYTON responded as follows: “Hi, Scott. Unfortunately, my client is not in a
26   position to pay JAMS anything in connection with this matter. Presumably, EDAG will cover the
27   full cost (which would be appropriate in any event as EDAG has brought this matter to Judge Cahill
28   for resolution).” Id. at 1 (Sipprelle 9/22/21 email).
                                                        17
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 1          In order to move things forward and obtain a ruling, EDAG has advanced the entire deposit.
 2   Because BYTON’s position contravenes the TDLA and has no basis in law, and because BYTON
 3   duly owes half of that deposit, EDAG respectfully requests that the Arbitrator include in his order
 4   resolving this motion a requirement that BYTON reimburse EDAG for its half of the deposit.
 5   VI.    CONCLUSION.
 6         For the foregoing reasons, EDAG respectfully request that Your Honor issue a preliminary
 7   injunction and order BYTON to pay its portion of the costs associated with this hearing, in
 8   accordance with the [Proposed] Order submitted concurrently herewith.
 9                                                          Respectfully submitted,
10   Dated: September 24, 2021                              LEWIS & LLEWELLYN LLP
11

12                                                    By:     Evangeline A.Z. Burbidge
13                                                          Evangeline A.Z. Burbidge
                                                            Marc R. Lewis
14                                                          Kenneth M. Walczak
15                                                          Attorneys for Petitioner EDAG
16                                                          ENGINEERING GMBH

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 9

10                               JAMS REFERENCE NO. 1100107291
11                   IN THE MATTER OF THE JAMS ARBITRATION BETWEEN
12

13

14   EDAG Engineering GmbH,                      DECLARATION OF EVANGELINE A.Z.
                                                 BURBIDGE IN SUPPORT OF
15          Claimant,                            PLAINTIFF EDAG’S EX PARTE
                                                 MOTION FOR PRELIMINARY
16          v.                                   INJUNCTION

17   BYTON North America Corporation,
                                                 Hon. William J. Cahill (ret.)
18
            Respondent.                          Arbitration: February 8, 2021
19
20   AND RELATED CROSS-CLAIM
21

22

23

24

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                     BURBIDGE DECLARATION ISO EDAG’S MOTION FOR PI
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 1            I, Evangeline A.Z. Burbidge, declare as follows:
 2            1.      I am over 18 years of age. I am a partner at the law firm Lewis & Llewellyn LLP and
 3   counsel for Petitioner EDAG Engineering GmbH (“EDAG” or “Petitioner”). I submit this
 4   declaration in support of EDAG’s Motion for a Temporary Restraining Order and Order to Show
 5   Cause.
 6            2.      I participated in the day-to-day management of this action. I have personal
 7   knowledge of the facts set forth herein.
 8            3.      On October 22, 2019, EDAG submitted a Demand for Arbitration to JAMS ADR
 9   Services pursuant to the terms of the Arbitration clause in the Settlement Agreement, alleging it was
10   owed over €23,000,000 as a result of a breach of contract between EDAG and BYTON North
11   America Corporation. On November 19, 2019, BYTON North America filed its Response to
12   EDAG’s Arbitration Demand and Cross-Claims, alleging approximately $31,000,000 USD in
13   damages.
14            4.      The Arbitrator rendered a written Final Arbitration Award on June 2, 2021, awarding
15   EDAG €23,446,649 (or the equivocal in U.S. dollars, calculated by the then-exchange rate as of the
16   date of the final order) on its breach of contract claim and simple interest of 10% as of the date of
17   the Final Arbitration Award, costs, and finding EDAG to be the prevailing party. BYTON North
18   America was awarded nothing on its claims. A true and correct copy of the Final Arbitration Award
19   is attached hereto as Exhibit A.
20            5.      On June 18, 2021, EDAG emailed BYTON to request payment in accordance with
21   the Final Arbitration Award. To date, BYTON has not paid any portion of the Final Arbitration
22   Award.
23            6.      Before and during the arbitration, BYTON’s witnesses and representatives repeatedly
24   represented that it did not have any money to pay what it owed.
25                 a. During pre-arbitration discovery, BYTON’s counsel represented that BYTON lacked
26                    funds to perform discovery obligations.
27                        i. For example, in correspondence to myself and other counsel for EDAG, on
28                         November 10, 2020, BYTON’s counsel stated, “As I believe you are aware,
                                                  1
                        BURBIDGE DECLARATION ISO EDAG’S MOTION FOR PI
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 1                     Byton North America has largely ceased operations and has only a skeletal
 2                     staff remaining.” A true and correct copy of this email, omitting the prior
 3                     correspondence, is attached as Exhibit B.
 4                  ii. Similarly, on November 20, 2020, in an email to myself, other counsel for
 5                     EDAG, and JAMS, BYTON’s counsel stated that BYTON lacked funds to
 6                     reinstate access to Jama Software, a cloud-based storage platform. A true
 7                     and correct copy of this email, omitting the prior correspondence, is attached
 8                     as Exhibit C.
 9           b. On November 17, 2020, BYTON’s corporate witness testified at deposition that
10              BYTON only made token payments in 2019 and eventually stopped paying EDAG
11              because BYTON did not have enough money. See Nov. 17, 2020 Deposition of
12              BYTON at 159:7-22, a true and correct copy of which is attached hereto as Exhibit
13              D. BYTON’s corporate witness further testified that it had not paid any creditors,
14              and only paid payroll and operational costs such as rent and utility bills as of the date
15              of that deposition. Id. at 166:3-13.
16           c. On November, 18, 2020, BYTON’s employee Sadha Kameswaran testified at
17              deposition that BYTON barely had enough money at the present time to cover
18              payroll and was not covering operational costs. See Nov. 18, 2020 Deposition of S.
19              Kameswaran at 131:5-132:2, 133:8-16, a true and correct copy of which is attached
20              hereto as Exhibit E.
21           d. On December 10, 2020, BYTON’s counsel informed JAMS that “BYTON North
22              America is not in a position to make its [arbitration hearing] deposit at this time.” A
23              true and correct copy of which is attached hereto as Exhibit F. EDAG was required
24              to advance BYTON’s portion of the arbitration hearing fee, as noted by the Arbitrator
25              in his costs award.
26           e. On February 17, 2021, during the arbitration, BYTON’s corporate representative
27              testified that “BYTON was interested in EDAG’s work” but “BYTON could not pay
28              as per those payment plans that were provided to EDAG.” See Feb. 18, 2021 Hr’g
                                                  2
                   BURBIDGE DECLARATION ISO EDAG’S MOTION FOR PI
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 1                  Tr. at 858:5-11. A true and correct copy is attached hereto as Exhibit G
 2               f. On June 2, 2021, the Arbitrator’s Final Award found that that by August 2019,
 3                  BYTON had limited funds to cover its obligations, including its payroll to
 4                  employees. See Ex. A at 23. The Final Award described BYTON’s financial
 5                  difficulties in detail. See id. at 7-11, 16-17.
 6               g. On September 22, 2021, when JAMS issued an invoice to BYTON for $8,400,
 7                  counsel for BYTON stated “Unfortunately, my client is not in a position to pay
 8                  JAMS anything in connection with this matter.” A true and correct copy of that
 9                  correspondence is attached hereto as Exhibit H
10          7.      On August 20, 2021, automotive journalists reported that BYTON’s M-BYTE was
11   photographed undergoing road tests in Hainan, China, despite BYTON’s efforts to hide the tests.
12   See Byton is alive! M-Byte EV was spotted in the wild for the first time [Spy Photos], China Car
13   News, https://carnewschina.com/2021/08/20/byton-is-alive-m-byte-ev-was-spotted-in-the-wild-for-
14   the-first-time-spy-photos/ (Accessed Sept. 14, 2021).
15          8.      Jama Software (“Jama”) is a company that provides solutions for requirements, risk,
16   and test management. See Jama Connect, https://www.jamasoftware.com/platform/jama-connect/
17   (Accessed Sept. 15, 2021). BYTON used Jama’s browser-based database to store all BYTON build
18   BYTON’s product, i.e. the M-BYTE vehicle.
19               a. BYTON’s corporate witness testified that BYTON owed Jama Software, among
20                  other vendors, money for its cloud-based platform and BYTON’s access had been
21                  shut off. See Ex. D (Nov. 17, 2020 BYTON Most Qualified Witness Dep.) at
22                  242:24-245:21.
23               b. BYTON’s corporate witness further testified that BYTON could not even come up
24                  with the roughly half million owed to all to its various cloud-based providers. Ex. D
25                  (Nov. 17, 2020 BYTON Most Qualified Witness Dep.) at 244:4-17.
26               c. On November 20, 2020, EDAG issued a subpoena to Jama requesting documents
27                  related its claims against BYTON.
28               d. On December 23, 2020, corporate counsel for Jama (“Jama’s Counsel”), emailed me
                                                    3
                      BURBIDGE DECLARATION ISO EDAG’S MOTION FOR PI
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 1                 to request an extension to respond to the subpoena.
 2              e. On or around December 23, 2020, I had a telephone call with Jama’s Counsel. She
 3                 stated that Jama holds design and intellectual property information for BYTON. She
 4                 further informed me that a non-U.S. company claiming to be a related entity to
 5                 BYTON wanted to obtain access to Jama’s system and the data held by BYTON
 6                 North America. She further stated that Jama asked for documentation permitting this
 7                 request and did not receive it. She informed me that Jama would institute a litigation
 8                 hold, preserving the BYTON data which was the subject of the third-party subpoena.
 9              f. On September 1, 2021, following the publication of the article in China Car News, I
10                 spoke with Jama’s Counsel again. She informed me that BYTON North America, in
11                 coordination with a China-based BYTON entity, had paid all past due invoices to
12                 Jama in May 2021, so Jama reinstated BYTON North America’s account on the
13                 cloud. She also explained that BYTON now had active access to the requirements
14                 database and the intellectual property for the M-BYTE vehicle.
15              g. On September 15, 2021, Jama’s Counsel stated that from August 2020 to May 2021,
16                 a Chinese company claiming to be a related entity to BYTON, referred to as
17                 “BYTON China,” had repeatedly asked for access to Jama’s system and, specifically,
18                 BYTON North America’s data. She stated that BYTON China asked to open a new
19                 account, held on the ground in China instead of in the cloud, and wanted Jama to
20                 migrate the data from BYTON North America to this Chinese-only based account.
21                 She explained that this would mean no one in the United States—including Jama
22                 itself—could access the data. This migration ultimately did not happen.
23

24          I declare under penalty of perjury under the laws of the United States that the foregoing is
25   true and correct. Executed on this 24th day of September, 2021 at Salt Lake City, Utah.
26

27                                                                   Evangeline A.Z. Burbidge
28
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                      BURBIDGE DECLARATION ISO EDAG’S MOTION FOR PI
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                  EXHIBIT A
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Hon. William J. Cahill (Ret.)
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Tel: 415-982-5267
sschreiber@jamsadr.com


                             JAMS REFERENCE NO. 1100107291



EDAG Engineering GmbH,

              Claimant,                             FINAL ARBITRATION AWARD

     v.

BYTON North America Corporation,

              Respondent,




AND RELATED CROSS-CLAIM.


Counsel: Evangeline A.Z. Burbidge, Marc R. Lewis, and Brad Estes of Lewis & Llewellyn LLP
for Claimant; Keith Sipprelle of Van Etten Sipprelle LLP for Respondent.

Arbitrator: Hon. William J. Cahill (Ret.)

Place of Arbitration: Remotely via Zoom.

Dates of Arbitration Hearing: February 8-12, 2021 and February 16-19, 2021

Date of Post Hearing Oral Argument: April 7, 2021

Date of Interim Award: May 4, 2021

Date of EDAG letter to Arbitrator re: Typos in Interim Order: May 11, 2021

Date of Byton Letter to Arbitrator Objecting to Costs: May 11, 2021

Date of EDAG Letter responding to Byton letter Objecting to Costs: May 18, 2021.


                                      1
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        I. INTRODUCTION

        The undersigned arbitrator, Judge William J. Cahill (Ret.) of JAMS, was appointed as

arbitrator to this proceeding in accordance with Paragraph 14.4b of the Technology Development

and License Agreement, which states that “[a]ny dispute between the Parties that is not resolved

through negotiation will be resolved exclusively by final and binding arbitration conducted in

accordance with the then-current Comprehensive Arbitration Rules & Procedures of the Judicial

Arbitration and Mediation Services (“JAMS”).” (See Scheduling Order No. 7 (“SO No. 7”), ¶ 4;

Joint Exhibits (“JT”) 3, p. 12.) The parties further agreed that the substantive law of California

shall apply. (Id. ¶ 6.)

         The Arbitrator has considered all pleadings, testimony, and exhibits and makes the

 following findings of facts and law. Any discrepancy between the Arbitrator’s findings and the

 position of the parties is the result of the Arbitrator determination of factual disputes, credibility

 of witnesses, relevancy of evidence, burden of proof and weight of the evidence presented.

         II. BACKGROUND.

         Claimant and Cross-Respondent EDAG Engineering GmbH (“EDAG”) is an engineering

 services provider to the automotive industry. (Reporter’s Transcript (“RT”) 44:17-25.)

 Respondent and Cross-Claimant BYTON North America Corporation Inc. (“BYTON”) is an

 electric vehicle start-up company created in 2016 for the purpose of designing, developing,

 manufacturing, and delivering an all-electric, battery-powered sport utility vehicle called the M-

 BYTE. (RT 793:2-4; 795:9-796:1.)

        In November of 2016, BYTON and EDAG began working together on projects related to

developing the M-BYTE. (RT 200:5-19; Ex. 216.) Effective June 1, 2018, the parties executed the

Technology Development and License Agreement (“TDLA”). (Joint Exhibit (“Ex.”) 3; RT 48:24-

49:21, 204:4-24, 843:6-12.) Under the TDLA, BYTON was obligated to pay EDAG €50,448,045

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Euros in regular, fixed installments. (Id.) In mid-2018, BYTON experienced difficulties paying

EDAG under the TDLA. (RT 236:12-237:2.) BYTON caught up on amounts it owed EDAG in

December of 2018, but by January of 2019, BYTON once again defaulted on payments under the

TDLA. (RT 56:8-57:8, 239:19-25, 799:24-800:3, 846:14-18). BYTON stated that it could not pay

due to funding issues, but informed EDAG that it was seeking C-Round investment and would pay

the outstanding balance as soon as additional funding was secured. (See, e.g., Exs. 131, 132.) The

parties suggested multiple payment plans for the amounts in arrears but BYTON never made

payments under any of the plans suggested.

         By August of 2019, BYTON had still not secured C-Round funding and made no further

payments to EDAG after that date. (BYTON Post Arbitration Brief 5:6-9.) In October of 2019,

EDAG terminated the TDLA and filed its Demand for Arbitration. EDAG alleged claims for

Breach of Contract and Breach of the Implied Covenant of Good Faith and Fair Dealing.

         BYTON admits that it did not pay $28.2 million due under the TDLA but asserts that it is

entitled to offset amounts owed with the costs BYTON incurred to remedied defects in certain

design components delivered by EDAG. BYTON contends that EDAG’s defective designs caused

BYTON to incur $31 million in costs, which exceeds the amount BYTON failed to pay under the

TDLA. Thus, BYTON requests that neither party receive recovery in this proceeding. 1

         EDAG maintains that there were no serious defects in its deliverables and, even if there

were, the TDLA required BYTON to notify EDAG of these defects and provide EDAG with an

opportunity to cure, which BYTON failed to do. Furthermore, EDAG declares that BYTON

repeatedly promised to pay amounts due under the TDLA and never informed EDAG that it was

withholding sums due to errors in EDAG’s deliverables until after EDAG terminated the TDLA

and initiated this proceeding. EDAG seeks the remaining amounts due under the TDLA plus post-



1
 BYTON also alleged claims for breach of contract and negligence against EDAG, but ultimately
did not pursue those claims in its post arbitration brief.
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judgment interest, $294,144.18 in costs, $1.4 million in attorney fees, and the issuance of an

injunction preventing BYTON from selling or transferring any asset without first paying EDAG.

       The Arbitrator presided over a nine-day hearing on this matter on February 8-12 and 16-19,

2021. The parties submitted post-hearing briefs to the Arbitrator on March 15, 2021, and closing

arguments were heard on April 7, 2021 and the record was closed as of that date. In accordance with

Scheduling Order No. 7, the Arbitrator issues this Interim Award with thirty (30) days of the close

of the evidentiary record.

       A.      The Terms of the TDLA

       Under the TDLA, EDAG agreed to design and deliver certain components of the M-BYTE

to BYTON. (Ex. 3 at 3, 15, 23, 24, 51, 53, 55, 58-59, 61-62; Tr. at 714:10-15, 1107:8-1108:25.)

EDAG was not obligated to build the components it designed, but rather to deliver “virtual” or

“soft” electronic intellectual property data. (Ex. 3 at 23-24; RT 495:4-21, 816:23-817:14, 1024:1-

6.) Gateway deliverables, or certain steps in the program that needed to be fulfilled at a certain

time to be able to launch the car, were set forth in the TDLA. (RT 207:6-11, 207:24-208:5; Ex. 3,

p. 15.) BYTON had the authority and responsibility for signing off on milestones. (RT 208:19-21,

1115:15-1116:2.)

       In exchange for EDAG’s work, BYTON agreed to pay a fixed price of approximately €50

million, broken into monthly payments. (Ex. 3, p. 15.) EDAG was required to correct any errors or

deficiencies in the components EDAG delivered without additional compensation. (Id.; RT 209:5-

25, 805:25-806:12.)

        Section 4.2 of the TDLA set forth the “Acceptance Procedure” for EDAG’s deliverables.

 BYTON had the “sole discretion” to reject deliverables “or any component thereof” if the

 deliverables contained “any Error.” (Ex. 3, §4.2.) Upon EDAG’s delivery of a component,

 BYTON was required to “promptly notify” EDAG in writing of its “acceptance or rejection.”

 (Id.) If BYTON issued an “Error Notice,” BYTON was required to “set forth, in reasonable detail,
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 the reason for the rejections.” (Id.) Upon BYTON’s rejection of a deliverable, EDAG was

 required to either create and implement an Error Correction within three days of the Error Notice

 or, if three days was impractical, provide a Correction Plan within three days. (Ex. 3 at 2, 5.)

        If EDAG’s Error Correction in response to a defect failed or if the parties could not agree

 on a Correction Plan, BYTON had four options under the TDLA: BYTON could, in its “sole

 discretion,” (1) require another Error Correction, (2) accept the deliverable and offset BYTON’s

 reasonable costs, (3) accept the deliverables and reserve BYTON’s right to require correction, or

 (4) deem the event a material breach and immediately terminate the TDLA. (Ex. 3 at 5.)

        Under Section 9.2, if EDAG failed to comply with any material term of the TDLA,

 BYTON could terminate the TDLA following written notice specifying the breach and a cure

 period. BYTON was further able to terminate the TDLA, without a cure period, if EDAG failed to

 comply with certain obligations. (Ex. 3 at 7.) Under Section 9.4, BYTON was also permitted to

 terminate the TDLA without cause upon 30 days prior written notice to EDAG. (Ex. 3 at 8.)

        If BYTON accepted a deliverable “in accordance with Section 4.2,” EDAG was required

 to provide an invoice to BYTON, upon which BYTON was required to pay the invoice “within

 either [sic] sixty (60) days following BYTON’s receipt of such invoice.” (Id. at §7.1.) If BYTON

 terminated the TDLA, EDAG was entitled to receive “all payments in accordance with agreed

 payment plans/fee schedule for already initiated work at the time [EDAG] received notice from

 BYTON” of the termination. (Id. at §9.5.)

       B. The Parties’ Performance under the TDLA

       Initially, the project moved forward without issue. EDAG met the gateways set forth in the

TDLA and BYTON signed off on EDAG’s designs using Engineering Release Authorizations

(“Releases”). (See, e.g., Ex. 102.) When BYTON signed off on a Release, the virtual data

designed by EDAG was approved and the production of the tools would commence. (RT 260:25-

261:18, 331:1-9.) BYTON’s engineer testified that the Release process, under which all necessary

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BYTON stakeholders would review the requirements and obligatory specifications to ensure they

were met, was implemented to alleviate as many problems as possible before the production of

tools because cutting tools is expensive. (RT 749:23-24, 750:1-16, 752:5-18.) Hundreds of Release

forms were authorized by BYTON and by August of 2018, a prototype of the M-BYTE was

tooled. (Ex. 161.)

       Initially, BYTON also paid EDAG’s invoices. BYTON reviewed EDAG’s invoices after

deliverables were received, asked questions, sought adjustments, and escalated questions to EDAG

when it “couldn’t judge the quality of the deliverable.” (RT 235:12-15, 361:20-24, 365:5-13,

681:17-682:20, 728:14-729:8, 739:10-20, 836:3-6, 841:2-7.) BYTON’s Mr. Slovesko was

responsible for approving EDAG’s invoices from 2017 until he left BYTON in 2020. (RT 784:17-

21). Mr. Slovesko testified that when quality of work issues arose regarding an EDAG invoice, he

would escalate the issue to EDAG employees Volker Amelung or Kai Uwe-Salzmann, and EDAG

would investigate and make efforts to improve or fix the design. (RT 683:17-684:25.) Mr.

Slovesko stated that he reviewed invoices carefully for accuracy and signed off on only accurate

invoices. (RT 739:21-740:8). At least two individuals from Mr. Slovesko’s team also reviewed

invoices before he signed them and any corrections to invoices occurred shortly after BYTON

received and reviewed them. (RT 228:10-13, 741:12-19.)

       After Mr. Slovesko approved an invoice, he would send it to David Twohig, BYTON’s

Chief Vehicle Engineer/Chief Technical Officer. (RT 729:9-17, 740:10-20.) Mr. Twohig signed off

on invoices after speaking with managers and confirming that they were reasonably satisfied with

the services provided. (RT 627:4-21, 729:19-23.) Performance Documentation, or multi-page

summaries of the work EDAG had performed in connection with the invoice, accompanied every

EDAG invoice and had to be signed by BYTON as part of the invoice approval process. (RT

230:22-232:7, 233:16-24, 363:24-364:1, 364:19-23.) If adjustments or modifications were needed,

EDAG and BYTON’s Supply Chain team would discuss and BYTON and EDAG would work out

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an appropriate solution. (RT 742:13-743:2.)

       EDAG stated that it interpreted BYTON’s approval of invoices as BYTON’s approval of

EDAG’s deliverables, which EDAG stated was standard practice in the engineering services

industry. (RT 395:14-16, 902:24-903:8, 903:9-15, 1106:6-15, 1125:12-1126:13.) BYTON’s

witnesses testified that if BYTON signed a Performance Document, it meant BYTON had

approved it. (RT 753:4-12.) Ultimately, all EDAG invoices issued to BYTON were approved by

BYTON. (RT 226:1-6, 226:11-21, 227:22-228:9, 228:22-25, 366:13-15, 841:2-13.) Even after

BYTON stopped paying EDAG’s invoices, BYTON continued to review, sign, and approve each

of EDAG’s invoices. (RT 239:9-18.)

       C.      BYTON Fails to Pay EDAG Invoices

        BYTON employee Mr. Sadha Kameswaran testified that in 2019, BYTON needed

 additional funding but was having difficulties obtaining it due to the “perfect storm” of strained

 foreign relations between the US and China, bureaucratic changes within the Chinese government

 that slowed approvals of funding from Chinese investors, and shutdowns in response to the

 COVID-19 pandemic. (RT 799:24-801:15.) BYTON also stopped paying the installments due to

 EDAG under the TDLA.

       When EDAG demanded payment, BYTON informed EDAG that it could not make the

payments because of funding issues and repeatedly promised that it would pay all outstanding

amounts due as soon as it secured additional financing. (RT 54:15-22, 55:5-12, 56:19-25, 79:2-9,

142:25-143:23, 169:14-18, 275:7-15, 275:19-21, 368:2-369:15, 516:7-10, 638:13-639:15, 832:12-

14, 846:3-13, 854:3-10, 1124:4-25.) BYTON never informed EDAG that it was withholding

payment because of EDAG’s engineering errors. (RT 55:5-12, 57:1-4, 0:24-71:3, 78:12-15, 78:21-

79:1, 832:22-833:1, 854:3-10, 888:24-889:1.) While the parties operated under the TDLA, BYTON

never requested a reduction, discount, offset, or write off from EDAG’s invoices due to engineering

errors. (RT 57:1-4, 60:21-23, 63:16-18), 65:9-11, 68:2-4, 70:1-3, 70:24-71:3, 72:19-22, 78:16-20,

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370:4-12, 395:11-12, 628:9-12, 629:15-23, 637:7-18, 855;18-21, 918:18-22, 1125:1-3.)

        Beginning in March of 2019, BYTON and EDAG exchanged a series of emails and letters

regarding BYTON’s payment issues. None of these communications indicated that BYTON

believed EDAG’s deliverables contained engineering errors. In late March of 2019, EDAG’s

Executive Vice President Vehicle Engineering, Harald Keller, emailed Daniel Kirchert of BYTON,

requesting that BYTON immediately pay “6,738 Mio EUR” in outstanding payments from

invoices dating back to November of 2018. (Ex. 131.) In mid-April of 2019, BYTON apologized

for its delay in making payments, stated that it “fully intend[ed] to catch up and return to normal

payment conditions as soon as we close our C-round of funding,” and proposed a payment plan

under which BYTON would make weekly payments of $500,000 USD to EDAG. (Id.; RT 59:16-

61:1.) When EDAG insisted that BYTON instead pay $1 million weekly, BYTON responded that

its “cash position” had “only worsened since our last proposal” and that until BYTON’s C-round

of funding closed, it was “very unlikely that BYTON will even be able to make the US$500k per

week payment plan that we proposed to EDAG on April 13th.” (JT 132.) Nonetheless, BYTON

affirmed that:

        We absolutely intend to fully pay for the services that EDAG has provided when the C-
        Round closes. We will also make partial payments when cash becomes available as close as
        we can to either or our proposals. We appreciate all that EDAG has done, and continues to
        do, for the success of BYTON. Nevertheless, BYTON will respect EDAG’s possible
        choice to limit its exposure by reducing its support to BYTON until we recover from our
        present financial constraints.

(Id.) In closing, BYTON thanked EDAG for its “patience and trust” in BYTON. (RT 62:12-23; Ex.

132.)

        Three months later, BYTON emailed EDAG, stating that there were “recent developments

around our . . . funding that are looking more promising, as we are ever closer to closing

our C-round, plus have some bridge financing and other potential major funding sources that look

very promising.” (Ex. 146; RT 63:25-64:5.) BYTON stated that its “first intent” was “to


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completely clear our arrears and restart this program,” and stated that there was “a good chance

that this will be the path shortly.” (Id.) Regarding the payment plan, BYTON stated: “[i]f BYTON

must continue to conserve cash, but we have enough to follow your prior payment proposal, then

we will follow that.” (Id.) Again, BYTON stated that the “the patience and support that EDAG”

continued to give to BYTON was “GREATLY appreciated.” (Id.)

        Later that month, BYTON agreed to confirm the “maturity and legality of the (over-) due

receivables” and promised to pay €19,889,825.21 on or before August 18th, 2019. (RT 148:24-

149:3, 149:6-12, 847:10-20, 850:22-851:7; Exs. 147, 151.) However, BYTON did not pay EDAG

on August 18, 2019. Instead, BYTON informed EDAG that it experienced a delay in the deposit of

the first tranche of bridge financing and proposed a revised payment plan. (Exs. 156, 157; RT

152:15-17, 851:8-10, 852:7-22.) EDAG rejected BTYON’s proposed payment plan. (Ex. 156.)

        On August 19, 2019, BYTON stated that it was “arranging 2M USD to be sent to you this

week as soon as possible while the remaining 6M will be sent to you early September as soon as our

funds hit our overseas account.” (Ex. 157.) These payments were never made. (RT 157:9-14).

Instead, BYTON sent EDAG another revised payment plan. (Ex. 162; RT 158:18-25, 159:18-24,

854:11-21, 854:23-855:3). BYTON also informed EDAG that BYTON was able to build a prototype

in Nanjing and “was pleasantly surprised to see how good the quality was” on the parts. (Ex. 161.)

BYTON stated that its accomplishment:

        . . . would not have been possible without all of the help and support that you have given to
        myself and my team over the past 3 years. Thank you! My hope is that you feel just as proud
        of this accomplishment as I do. There is still a lot of hard work ahead to achieve the quality
        level required to be competitive at SOP with the German brands as well as Nio and Tesla.
        Your continued support will be a big factor for us to get there.

(Id.)

        On August 26, 2019, BYTON informed EDAG that it had obtained $150 million in C-round

funding, was “in advanced stage of finalizing agreements with other C-round investors” for an

additional $400 million, and that funds would “hit Byton account in the second half of September”

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2019. (Ex. 163; RT 65:14-66:3, 66:23-67:14).

        In early September of 2019 EDAG informed BYTON that it:

        . . found a way not to start writing off the project yet. I think we can hold through it for the
        month of September without a stoppage. I will reduce the cost as much as I can during this
        time without sacrificing the basics. So your hope that we continue through the month of
        September is still in place now. I hope the time is sufficient for Byton to close the C-Round,
        get the funds and pay and return to normal business within the month of September.

(Ex. 166.) BYTON responded:

        . . you guys have been our partners in the true sense of the word from Day One and we
        thank you for that. Do whatever you need to do as a business to protect yourselves - if you
        need to pull out the whole team we will fully understand. If you can see your way clear to
        leaving a ’skeleton crew’ to help out Shawn in particular, we will consider that a great bonus
        and a great help. We will get the money, as we have a superb product, but we all need a lot of
        patience now. We will keep you informed through September and believe me, you will know
        if and when we have good news as you’ll probably hear the cheers from Santa Clara from
        where you are sitting - without needing the telephone!

(Id.)

        BYTON continued to represent to EDAG that it was close to closing additional funding that

would resolve BYTON’s financial issues and allow BYTON to become current on its payments.

(RT 1126:14-1127:21.) BYTON also continued to acknowledge the amounts it owed to EDAG and

never requested an offset. (See, e.g., Ex. 177; RT 75:19-77:3, 77:12-78:1, 146:23-147:5, 147:23-25.)

Although an internal BYTON email (inadvertently copied to EDAG) stated that BYTON could pay

EDAG “1-1.5M” in September of 2019, BYTON paid no additional amounts due after August of

2019. (Ex. 172; RT 68:12-18, 69:23-25, 162:25-163:8, 858:25-859:6, 859:7-22.)

        EDAG testified that because BYTON represented that it could not pay due to funding issues,

and never stated that the quality of EDAG’s deliverables was a reason for BYTON’s non-payment,

EDAG expected that its work on the M-BYTE would continue into 2020. (RT 370:13-371:5, 745:5-

8; 747:17-748:2), 748:4-8, 748:11-20, 764:23-765:4.)

        Ultimately, EDAG terminated the TDLA and filed an arbitration demand against BYTON

in October of 2019, asserting claims for breach of contract and breach of the covenant of good


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faith and fair dealing due to BYTON’s failure to pay EDAG’s overdue invoices and for BYTON’s

bad faith and unfair inducement of EDAG’s work. On November 19, 2019, BYTON filed its

response and cross-claims, asserting a claim for breach of contract and for negligence, alleging that

EDAG committed substantial engineering errors in its work on the M-BYTE.

       III. ANALYSIS

       A.      EDAG’s Breach of Contract Claim

       To establish its claim for breach of contract, EDAG must prove that: (1) BYTON and EDAG

entered into a contract; (2) EDAG did all, or substantively all the significant things that the contract

required or that EDAG was excused from performance; (3) BYTON failed to do something the

contract required it to do; (4) EDAG was harmed; and (4) BYTON’s breach of contract was a

substantial factor in causing EDAG’s harm. (See CACI 303.)

       It is undisputed that BYTON and EDAG entered into the TDLA under which BYTON

agreed to pay EDAG a flat rate of €50,448,045 Euros. It is also undisputed that BYTON did not

pay the full amount due under the TDLA. However, BYTON contends that EDAG’s engineering

errors breached the standard of care in the industry, i.e., the “knowledge, skill, and care ordinarily

possessed and employed” by automotive engineers. (Flowers v. Torrance Mem’l Hosp. Med. Ctr.,

8 Cal. 4th 992, 997-98 (1994).) BTYON contends that it incurred “roughly 20% additional work”

or approximately $31 million, in costs to “heavily ‘rework’ the design[s]” delivered by EDAG.

(Exs. 206, 208, ¶12.) Because BYTON’s estimated offset exceeds the amount due to EDAG under

the TDLA, BYTON requests that the Arbitrator determine that neither party is entitled to recovery.

               1.      EDAG’s Performance

                       a. Front Engine Compartment

       The primary engineering deficiency that BYTON claims accounts for $31 million in

damages, and which BYTON asserts as its justification for an offset to EDAG’s damages, is the

design of the front or “under hood” area of the M-BYTE. BYTON maintains that the front

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compartment of the electric car (where the engine would be placed) was “inadequate, with

fundamental items not correctly packaged (most notably, the design lacked a front motor that was

required for the all-wheel drive version of the vehicle).” (BYTON Resp. and Cross-Claims at 6.)

       In support, BYTON submitted the Declaration of David Twohig, BYTON’s former Chief

Vehicle Engineer/Chief Technical Officer. Mr. Twohig declared that:

       The key item where EDAG underperformed was . . . in fundamental engine bay/front-end
       packaging. The errors in basic layout of items like the 12V battery, omission of the front
       traction motor, and other errors associated with crash protection, obliged the BYTON
       teams to re-engineer the engine bay area not once, but twice. The initial layout was so poor
       that the redesign had to be undertaken in two steps (Step 1 from pre-APP to AP, and an
       additional correction step from AP to VP). Conservatively estimating the cost of
       engineering an engine compartment of this complexity ‘from scratch’ at $156 million
       approximately, BYTON incurred roughly 20% additional work (or the equivalent of
       approximately $31 million) in having to heavily “rework” the design (ie., re-design,
       prototyping, testing, tooling, etc. for BYTON employees as well as various suppliers).

(Ex. 208, ¶12.) Mr. Twohig affirmed his declaration in deposition testimony and stating that the

quality of EDAG’s work on the front engine bay fell below the standard of care of the industry.

(RT 583:5-11.)

       BYTON also read into the record the deposition testimony of Shawn Slovesko, a former

BYTON employee who led the vehicle development activities for body structures, closures,

exteriors, interior trim, restraints and airbags. (RT 666:14-667:5.) Mr. Slovesko reviewed Mr.

Twohig’s Declaration and stated that he agreed with Mr. Twohig’s description of the engineering

problems BYTON had with EDAG’s deliverables. (RT 709:24-710:12.)

       EDAG submitted the testimony of EDAG employee Volker Amelung and engineering

expert Dave McLellan to contest BYTON’s claims that EDAG’s design of the front-end packaging

contained serious engineering errors. (RT 949:19-25, 1059:20-1060:21; Ex. 178 at 2-3.) Mr.

Amelung submitted a demonstrative indicating that the front motor bay development was complex,

iterative, and required inputs from many others aside from just EDAG. (Ex. 223; RT 965:25-

969:9.) BYTON had input on where the 12-volt battery was placed and approved the design as of


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February 2018. (RT 922:25-923:6.) Mr. Amelung testified that he spent two weeks searching for

evidence that EDAG positioned the 12-volt battery beneath the HVAC unit, only to find nothing.

(RT 919:23-921:2.)

       EDAG also submitted evidence of a BYTON presentation created one month before EDAG

allegedly misplaced the 12-volt battery that indicates that the 12-volt battery was not buried under

the HVAC unit. (Ex. 30; RT 391:19-24, 921:3-4, 921:25-922:24.) Additionally, Mr. Kameswaran,

who testified as BYTON’s most qualified witness, stated that BYTON was not aware of any

identifiable issues with the packaging of the front hood area in existence at the time EDAG

stopped the project in 2019. (RT 871:19-24.) Lastly, EDAG presented evidence indicating that

both before and after Mr. Twohig joined BYTON, BYTON approved EDAG’s work regarding the

front-end packaging. (RT 944:10-15).

       BYTON produced no contemporaneous documentary evidence to support its claim that it

encountered significant problems with EDAG’s front end design, which EDAG failed to fix and

thus required BYTON to spend $31 million to redesign. (RT 962:8-17). The only evidence that

BYTON presented in support of its claim is Mr. Twohig’s Declaration and deposition testimony

and a document stating that a “Top Down Estimate of Re‐Engineering Costs Incurred through

Inadequate Initial Engine Bay” indicates that an “[a]pproximation of 'rework' costs incurred to

redesign twice ‐ from pre‐AP to AP and again from AP to VP = 20% additional "effort" is $31

million. (Ex. 206.)

                       b. Other Defects

       The second error raised by BYTON was that EDAG’s “design contained some fundamental

errors in the high-voltage battery/floor systems interfaces” and that the design of the battery

enclosure was lacking. (BYTON Resp. and Cross-Claims at 6.)

       EDAG states that its initial design for the battery enclosure utilized weld nuts but that

BYTON manufacturing wanted to use cage nuts/swim nuts instead. Mr. McLellan, EDAG’s

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expert, testified that EDAG’s original solution was a competent proposal and both the BYTON and

EDAG engineering teams agreed that weld nuts would work perfectly. (RT 1062:14-1063:18,

1063:20-1064:4.) Furthermore, BYTON’s witnesses agreed that EDAG’s ultimate design solved

any issues BYTON had with the battery enclosure. (RT 758:4-18, 758:20-25, 876:21-24, 877:6-10,

993:24-994:10, 994:11-13, 1063:20-1064:4; Ex. 178 at 4-5.)

       The third error BYTON raised was that “the A-pillar in the EDAG design did not meet

basic legal vision requirements.” (BYTON Resp. and Cross-Claims at 6.) EDAG submitted

evidence that it corrected the A-pillar issue, at no cost to BYTON, and BYTON admitted that in

the most recent EDAG design before the project was terminated, there were no deficiencies in the

A-pillar. (Ex. 84; RT 876:15-19, 958:1-14, 995:2-9; 956:4-957:25, 1064:6-24, 1065:11-18.)

       The fourth claimed error was that “the front door in the EDAG design lacked adequate

system engineering for the door swing (creating interference with the front fender).” (BYTON

Resp. and Cross-Claims at 6.) Mr. Twohig asserted that a custom hinge was required due to

interferences in the door swing. (RT 759:10-20, 959:17-960:15, 995:15-21.)

       EDAG submitted evidence that there was, indeed, a problem with the door swing, but the

problem was caused by the lower section of the fender. (RT 875:23-876:2, 960:16-961:23, 995:22-

24.) EDAG corrected the issue for approximately $6,000 and BYTON signed off on the cost

without complaint. (RT 961:24-962:1, 995:25-996:3.) EDAG’s engineering expert, Mr. McLellan,

reviewed the documentation and determined that there was interference with the fender in EDAG’s

design, EDAG proposed a solution, and the solution resolved the problem. (RT 1065:20-1066:21.)

BYTON confirmed that at the time EDAG stopped the project, the EDAG design did not have

deficiencies in the front door. (RT 875:14-17.)

       The fifth error raised by BYTON was that “the front of the vehicle in the EDAG design

lacked adequate system engineering to achieve the documented targets between PedPro and other

system performance requirements;” BYTON asserts that EDAG should have used a steel hood

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instead of an aluminum hood. (BYTON Resp. and Cross-Claims at 6.) EDAG submitted evidence

that it originally proposed that BYTON use a steel hood, but EDAG changed the hood to

aluminum, at BYTON’s request, so that the M-BYTE would achieve a Five Star rating for its

Pedestrian Protection system. (RT 398:6-13, 925:1-23, 925:1-23, 927:17-928:13, 1060:23-1062:1.)

Mr. Amelung testified that the hood was ultimately changed to steel because of requirements from

BYTON’s styling department. (RT 558:5-8, 702:18-703:2, 996:13-997:21.) In any event, the

evidence indicates that hood deficiencies were corrected by the time the project was terminated.

(RT 873:2-7.)

       The sixth claimed error is that the front and rear bumper systems lacked adequate system

engineering to achieve targets between low-speed bumper compliance and other system

performance requirements. (BYTON Resp. and Cross-Claims at 6.) EDAG submitted evidence

that changes to bumper compliance were due to conflicting requirements from BYTON’s styling

department and the legal safety requirements; low-speed bumper compliance creates a stiffer

bumper, whereas pedestrian protection requires a softer bumper system. (RT 998:1-1000:3,

1069:3-16.) BYTON failed to produce evidence that changes to bumper compliance caused

BYTON to incur additional costs due to late tooling. (RT 998:1-1000:3.)

       The seventh error claimed by BYTON is that the M-BYTE’s lift gate system design was

inefficient and could not meet entry-level luxury vehicle appearance requirements. (BYTON Resp.

and Cross-Claims at 6.) EDAG submitted evidence that changes to the lift gate system design were

the result of competing requirements from BYTON’s styling and engineering departments

(BYTON’s styling department wanted a heavier lift gate than did engineering.) (RT 1000:8-

1002:13.)

       EDAG also submitted evidence that BYTON requested styling of the tailgate created an

over slam issue on the tailgate to body interface. (RT 1069:17-1071:9.) BYTON utilized spot

welding, which is less expensive than laser welding, and which resulted in a bigger gap between

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the tailgate and the body of the vehicle. (RT 1002:14-1003:2, 1069:17-1071:9.) The evidence

indicates that the over slam issue was not the result of an engineering error, but a result of

decisions BYTON made when they styled the car. (RT1071:10-1072:3.) Regardless, BYTON

signed off on the final lift gate. (RT 1003:3-6.)

       The eighth error raised by BYTON is that the front and rear center console system in the

EDAG design were inefficient and infeasible to manufacture, leading to a late design “freeze.”

(BYTON Resp. and Cross-Claims at 6.) The evidence indicated that EDAG’s design of the center

console required high strength steel to make the console stiff enough so that the customer could not

move it. (RT 1003:22-1005:15, 1120:4-9.). BYTON was unhappy with the costs and changed the

specifications, lowering the stiffness requirement, so that high-strength steel would not be

required. (RT 1003:22-1005:15.) BYTON also changed suppliers and added more features and

components, which required further design. (Id.) EDAG submitted evidence that it worked with the

new supplier and successfully redesigned the center console to BYTON’s new requirements. (Id.)

Mr. Slovesko’s testified that the center console issue was addressed with EDAG at the time he

raised it or shortly thereafter. (RT 743:4-11; see also Ex. 196.) Mr. Slovesko also testified that the

center console was not tooled prior to the project’s termination. (RT 757:5-16.)

                       c. Impact of Alleged Defects on EDAG’s Performance

       As detailed above, EDAG was required to provide design components to BYTON under

the TDLA for a fixed cost of €50,448,045 Euros. If there were errors or other issues with EDAG’s

deliverables, the TDLA set forth procedures under which BYTON could reject the deliverables and

require EDAG to cure the defects. BYTON admitted that it never availed itself of those

procedures. BYTON never issued any “Error Notices” and never rejected EDAG’s invoices.

Additionally, in the only communications between the parties that were admitted into the record,

BYTON repeatedly admitted that it owed EDGA the remaining amounts due under the TDLA and

that the only reason it did not pay was because BYTON lacked the funds. There is no evidence that

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BYTON ever raised the issue of EDAG engineering errors as a justification for reducing the

amounts BYTON owed to EDAG.

        BYTON admits that it never issued any “formal” Error Notices to EDAG but asserts that its

failure to do so does not mean that BYTON accepted EDAG’s deliverables. Because EDAG’s

deliverables were “soft” intellectual property, BYTON maintains that it could not finally accept

any deliverable until it had been fully vetting via validation testing. The project was terminated

before validation testing occurred, however, and thus, according to BYTON’s logic, it would never

be able to finally “accept” EDAG’s deliverables. (RT 820:20-821:2).

        Under §4.2 of the TDLA, BYTON was required to “promptly notify” EDAG “in writing of

BYTON’s acceptance or rejection” of a deliverable. (Ex. 3, p. 5.) Upon receipt of a rejection notice

from BYTON, EDAG was obligated to create an Error Correction within three (3) workdays or

provide BYTON with a “written plan to correct the identified Error.” (Id.) Before BYTON had the

right to deem any error “a material breach” of the TDLA and demand a refund of “any fees that

have been paid” the defective item, BYTON was required to allow EDAG an opportunity to

implement an Error Correction or to work with BYTON to develop a “Correction Plan.” (Id.)

BYTON’s admission that it never implemented the “Acceptance Procedures” under §4.2 for any of

the eight errors it raised indicates that BYTON cannot rely upon these errors as evidence that

EDAG did not substantially perform under the TDLA.

        Because BYTON failed to comply with the rejection procedures set forth under §4.2 of the

TDLA, BYTON failed to demonstrate that EDAG failed to perform under the TDLA.

               2.      BYTON’s Breach and EDAG’s Resulting Damages

        There is no dispute that BYTON failed to pay the full amount due to EDAG under the

TDLA.

        EDAG seeks payment of its overdue invoices as stated in the August 23, 20129 payment

plan (€ 19,779,825.21) plus total amounts due under four outstanding invoices issued thereafter

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(€4,151,073), or €23,446,649.00. EDAG further requests statutory prejudgment interest of 10%

compounded annual as of August 23, 2019. The total amount of interest-related damages sought by

EDAG is €2,719,367.00.

                       a.      BYTON’s Request for Off-Set

       BYTON seeks to offset EDAG’s damages by $31 million to account for BYTON’s claimed

damages resulting from EDAG’s purported failure to deliver an acceptable front

compartment/engine bay.

       As discussed above, BYTON’s damages for rejected deliverables, if BYTON had triggered

§4.2 of the TDLA, would be limited to the right to a cure from EDAG or the right to a refund of

fees paid for defective deliverables. BYTON does not request a refund of the fees EDAG charged

for the front engine compartment. BYTON requests that EDAG pay for BYTON’s costs to design

an alternative front engine bay compartment. Even if BYTON had properly invoked the

“Acceptance Procedure” under §4.2 in response to the alleged defects in the front compartment,

BYTON would not have the right to obtain the damages it claims.

       Even if the TDLA could be interpreted as allowing BYTON to recover its costs to redesign

defective components, BYTON failed to submit evidence sufficient to prove that BYTON did, in

fact, incur $31 million in such costs.

       Damages must be proved “with a reasonable degree of certainty.” (Automatic Poultry

Feeder Co. v. Wedel, 213 Cal. App. 2d 509, 516 (1963).) “[D]amages which are speculative,

remote, imaginary, contingent, or merely possible cannot serve as a legal basis for recovery.”

(Food Safety Net Servs. v. Eco Safe Sys. USA, Inc., 209 Cal. App. 4th 1118, 1132 (2012) (quoting

Frustuck v. City of Fairfax, 212 Cal. App. 2d 345, 367-68 (Ct. App. 1963)); see also Civ. Code §

3301 (“No damages can be recovered for a breach of contract which are not clearly ascertainable in

both their nature and origin.”).)



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         Mr. Twohig, BYTON’s sole expert on “costs,” testified that it would be “pure speculation”

for him to offer testimony on the cost of any errors aside from the engine bay. (RT 571:19-572:4,

655:11-16.) With regard to the costs incurred to redesign the engine bay, the only document

BYTON produced in support of its claimed costs is a chart created by Mr. Twohig in which he

estimates, or provides an approximate guess, as to the costs BYTON incurred. 2 (Ex. 206; RT

877:23-878:1.) No other BYTON witness could substantiate or support Mr. Twohig’s estimate.

(See, e.g., RT 770:21-24 (could not opine on accuracy of $31 million damages estimate), 877:11-

18 (not personally involved in creation of damages estimate).)

         BYTON did not provide any underlying documents to support Mr. Twohig’s one-page

damages estimate. BYTON’s most qualified witness on damages, Mr. Kameswaran, did not know

which documents were used to pull together Mr. Twohig’s estimate. (RT 880:25-881:12.)

         BYTON also asserted that EDAG’s engineering errors caused BYTON to be delayed in

getting the M-BYTE to market, but BYTON offered no testimony or documents to quantify the

delay attributable to the purportedly defective engineering errors. (RT 799:24-801:15, 870:1-17

(M-BYTE delayed due to “perfect storm” of factors having nothing to do with EDAG).)

         BYTON failed to prove that it was entitled to a $31 million offset of EDAG’s damages.

                        b.      EDAG’s Request for Compound Interest as of August 23, 2019

         California Code of Civil Procedure §3287(a) states that a “person who is entitled to recover

damages certain, or capable of being made certain by calculation, and the right to recover which is

vested in the person upon a particular day, is entitled also to recover interest thereon from that

day.” If a party “is entitled under any judgment to receive damages based upon a cause of action in

contract where the claim was unliquidated,” that party may “also recover interest thereon from a


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  BYTON conceded it has no evidence of any amount of damages for five of its eight claimed engineering
errors in the following areas: errors in the high-voltage battery/floor systems interfaces, the A-pillar, the
system engineering of the front door, the system engineering of the front and rear bumper systems, and the
design of the lift gate system. (See RT 558:9-12, 656:22-657:4, 567:7-12, 569:11-15, 571:11-18, 860:13-21,
861:8-12, 862:11-15, 863:22-864:1, 864:18-22, 865:14-25, 866:13-19, 874:14-19.)
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date prior to the entry of judgment as the court may, in its discretion, fix, but in no event earlier

than the date the action was filed.” Cal. Code of Civ. Proc. §3287(b). The test for determining

“certainty” is whether the defendant knows the amount owed or could have computed the amount

from reasonably available information. (Wisper Corp. v. California Commerce Bank, 49

Cal.App.4th 948, 960 (1996).) However, where the amount of damages is in dispute (e.g., cannot

be resolved except by verdict or judgment), an award of prejudgment interest is inappropriate. (Id.)

In Iverson v. Spang Industries, 45 Cal.App.3d 303 (1975), a landlord sued a former tenant for

damages to the rented premises. (Id. at 306-307.) The tenant disputed the cost of repair. (Id.) The

court ruled that the landlord was entitled to damages as of the date of judgment because the

amount owed by the tenant was not certain until the court determined the parties’ dispute over the

costs of the repairs:

        It is established that under section 3287 of the Civil Code, “... interest cannot be awarded
        prior to judgment when the amount of damages cannot be ascertained except on conflicting
        evidence. [Citations.] The rationale of such rule is that where a defendant does not know
        what amount he owes and cannot ascertain it except by accord or judicial process, he
        cannot be in default for not paying it.

(Id. at 311.)

        The amount BYTON owed under the TDLA was uncertain until the Arbitrator determined

the parties’ dispute over EDAG’s deliverables under the TDLA. Thus, EDAG is entitled to recover

statutory interest at of the date of the issuance of this Interim Award.

        BYTON contends that EDAG is entitled to interest of 6%, not 10%, because the parties

agreed to a 6% interest rate for payments under the proposed payment plan of August 23, 2019.

But EDAG did not sue to enforce the payment plan. EDAG sued to enforce the TDLA, which does

not specify an interest rate for prejudgment interest. Therefore, Code of Civil Procedure §3287

applies and EDAG is entitled to the statutory rate of 10%.




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       Lastly EDAG seeks compound interest. Code of Civil Procedure §3287 provides for simple

interest and EDAG has demonstrated no reasonable basis for its request to obtain 10% interest

under §3287 that is compounded as of the date of the proposed August 23, 2019 payment plan.

       EDAG is entitled to simple interest at the rate of 10% as of the date of this Interim Award.

       B.      EDAG’s Claim for Breach of the Covenant of Good Faith and Fair Dealing

       To prevail on its claim for breach of the covenant of good faith and fair dealing, EDAG

must prove: (1) BYTON and EDAG entered into a contract; (2) EDAG did all, or substantively all

the significant things that the contract required or that EDAG was excused from having to perform

certain other requirements due to BYTON’s failure to pay; (3) all conditions for BYTON’s

performance occurred; (4) BYTON frustrated EDAG from receiving the benefits due under the

contract; (5) by doing so, BYTON did not act fairly and in good faith; and (6) EDAG was harmed

by BYTON’s conduct. (See, CACI 325.)

       “The covenant of good faith and fair dealing, implied by law in every contract, exists merely

to prevent one contracting party from unfairly frustrating the other party’s right to receive the

benefits of the agreement actually made.” (Guz v. Bechtel National, Inc., 24 Cal. 4th 317, 349-350

(2000).) The “covenant . . . requires each party to do everything the contract presupposes the party

will do to accomplish the agreement's purposes.” (Thrifty Payless, Inc. v. The Americana at Brand,

LLC, 218 Cal. App. 4th 1230, 1244 (2013).) “A party violates the covenant if it subjectively lacks

belief in the validity of its act or if its conduct is objectively unreasonable.” (Moore v. Wells Fargo

Bank, N.A., 39 Cal. App. 5th 280, 291 (2019), reh’g denied (Sept. 26, 2019).)

       As discussed above, there is no dispute that the parties entered into the TDLA and although

EDAG’s performance was not without issue, the weight of the evidence indicates that EDAG

substantially performed under the TDLA.

       EDAG argues that BYTON frustrated EDAG’s ability to obtain its benefits under the TDLA

because when BYTON failed to pay EDAG, BYTON praised EDAG’s work and promised to make

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payment as soon as additional funding came through. EDAG argues that BYTON enticed EDAG to

continue to perform and forgo exercising its right to terminate the agreement. BYTON’s behavior

was egregious, according to EDAG, because even after promising that it would pay EDAG whatever

sums it could, BYTON failed to pay EDAG $1.5 million in 2019 when BYTON had sufficient cash

on hand to do so. (See Ex. 172.)

       Lastly, EDAG maintains that BYTON’s defense in this proceeding demonstrates BYTON’s

bad faith. BYTON claims that EDAG’s deliverables contained such significant errors that BYTON

was forced to spend more than half the amount BYTON owed EDAG under the TDLA to remedy

the defects. BYTON also claims that it was aware of these defects as early as 2018, but BYTON

never implement the procedures under the TDLA to notify EDAG of the errors. Although BYTON

claims that it discussed the errors with EDAG in oral communications, these significant engineering

errors were never mentioned in written correspondence or in documented in-person meetings. As

late as January and February of 2020, after BYTON filed its counterclaims, BYTON had still not

informed EDAG that it believed BYTON was owed an offset for the alleged engineering errors.

       EDAG seeks its attorney fees incurred to collect on the amounts BYTON owes under the

TDLA as an appropriate measure of the harm EDAG suffered from BYTON’s breach of the

covenant of good faith and fair dealing.

       A close examination of the communications between the parties indicates that EDAG

cannot meet its burden of proving BTYON promises to pay under the TDLA constitute bad faith,

or that BYTON misled EDAG into continuing to perform under the TDLA. As early as first

quarter 2019, BYTON informed EDAG that it could not pay contractual installments because it

needed more funding. (See, Ex. 131 (“We sincerely apologize for our delay in payments and fully

intend to catch up and return to normal payment conditions as soon as we close our C-round of

funding.”)) BTYON clearly communicated that the future of the project was dependent on whether

BYTON succeeded in obtaining more funding. On April 30, 2019, in response to EDAG’s demand

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that BYTON pay €1 million per week to catch up on amounts in arrears, BYTON’s Tom Wessner

responded:

       I wish that we were able to respond favorably to your request, however, Byton’s present
       cash position has only worsened since our last proposal. Frankly speaking, until the
       C-Round is closed and funded, it is very unlikely that Byton will even be able to make the
       US$500k per week payment plan that we proposed to EDAG on April 13th.

(Ex. 132.) On September 1, 2019, BTYON informed EDAG that BYTON had:

       . . . put a moratorium on issuing new POs due to Byton’s present financial situation. When
       the C-round closes, and additional funding comes in, we will get back to regular business
       practices and we will be able to then issue POs. This is the present situation.

(Ex. 166.)

       Although BYTON expressed optimism to EDAG regarding its ultimate ability to obtain C-

Round funding and pay amounts owed, BYTON made it clear to EDAG that its ability to continue

with the M-BYTE project was contingent on whether BYTON’s financial condition improved.

(See, e.g., Ex. 166 (emphasis added), “[w]e will get the money, as we have a superb product, but

we all need a lot of patience now. We will keep you informed through September and believe me,

you will know if and when we have good news.”) As a large, sophisticated, multinational

organization, EDAG knew or should have known that its decision to continue working with

BYTON carried a significant risk. BYTON acknowledged the difficult choice that EDAG had to

make with regards to EDAG’s participation on the project, informing EDAG that it did “not fault

EDAG for managing its risk.” (Ex 146.) In early September of 2019, Mr. Twohig told EDAG to:

       Do whatever you need to do as a business to protect yourselves - if you need to pull out the
       whole team we will fully understand. If you can see your way clear to leaving a ’skeleton
       crew’ to help out Shawn in particular, we will consider that a great bonus and a great help.

(Ex. 166.)

       EDAG’s objection that BYTON did not pay EDAG $1.5 million in 2019 also fails to

demonstrate bad faith as BYTON had other obligations, including payroll expenses to employees,

competing for its limited funds. Although BYTON’s defense in this arbitration is inconsistent with


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BYTON’s behavior prior to EDAG’s initiation of this proceeding, EDAG terminated the TDLA in

October of 2019 and cannot rely upon BYTON’s actions occurring after the contract was no longer

operational to support its claim that BYTON performed under the TDLA in bad faith.

       EDAG failed to prove that BYTON breached the implied covenant of good faith and fair

dealing.

       IV. EDAG’s REQUEST FOR COSTS AND ATTORNEY FEES.

       A. Introduction.

       First of all, the Arbitrator finds that EDAG is the prevailing party in this arbitration

proceeding.

       Second, the TDLA does not provide for an award of attorney fees to a prevailing party in a

dispute over the agreement and therefore each party is required to pay its own attorney fees. See,

California Code of Civil Procedure §1021.

       B. EDAG’s Request for Costs.

       EDAG, in its closing brief, sought costs pursuant to California Code of Civil Procedure §§

1032 and 1033 for the following items:

               $ 145,600.00 for the JAMS deposit;

               $ 1,500.00, EDAG’s filing fees;

               $ 4,500.00, JAMS hearing fees for discovery disputes;

               $ 6,270.00, interpreter fees for hearing witnesses;

               $ 35,604.00, arbitration hearing court reporter fees, including transcript fees;

               $ 33,494.43, deposition costs;

               $ 645.75, service of process costs;

               $ 20,000.00, costs of EDAG’s electronically presented demonstratives;

               $ 1,530.00, costs of technical time to hyperlink evidence in EDAG’s opening/closing
               briefs (as reasonably helpful to aid the trier of fact)


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       C. Byton’s Objection to the Arbitrator Relying on the CCP in Awarding Costs Is

Sustained.

       In his Interim Award the Arbitrator erroneously awarded $249,144.18 in costs. As is

pointed out by Byton’s May 11, 2021, letter, the Arbitrator in his Interim Ruling erred in that he

awarded costs under the CCP and failed to follow the terms of the parties’ arbitration contract. In

that regard, Byton’s objection raised in its May 18, 2021, letter regarding the use of the CCP in

awarding costs is SUSTAINED.

       In this Final Arbitration Award the arbitrator will rely on JAMS Rules and Section 14.4(b)

of the TDLA which reads as follows:


       b. Arbitration. Any dispute between the parties that is not resolved through
       negotiation will be resolved exclusively by final and binding arbitration. * * * Each
       party will bear its own costs in the arbitration, * * * The Arbitrator will not have any
       right or authority: * * * (3) to modify the terms of this Agreement.

       D. Analysis of Costs Under Sec. 14.4(b) and JAMS Rules


       In its May 18, 2021, letter EBAG recognizes that the Interim Award failed to take into

account Sec. 14.4(b) and it requests the Arbitrator to be awarded the costs it advanced Byton and all

those expenses of which it paid more than its fair share. What follows are the items requested in its

Conclusion of its letter. Only those items are discussed below and the other items requested in

EDAG’s closing brief and listed in the Interim Award are DENIED.


               1. JAMS Hearing fees.


       Section 14.4(b) requires that each party shall bear their own costs in the arbitration. In its

May 15, 2021, letter EDAG submitted evidence that it paid $72,800 for its share of the arbitration

fees. It concedes that it must bear those costs.




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        However, Byton did not pay its share of the JAMS hearing fees, EDAG advanced $72,800

on Byton’s behalf. Byton is responsible to pay its own costs under the TDLA and under JAMS Rule

6(c) the Arbitrator may allocate the non-paying Party’s share of the costs.


        Therefore, the Arbitrator awards $72,800.00 to EDAG to reimburse it for the fees it paid on

behalf of Byton.


                2. Interpreter Fees.


        EDAG requests that it be awarded $3,135.00 for Byton’s share of the interpreter who helped

during the hearing. That seems reasonable because everyone benefited from the use of the court

reporter and EDAG should not be responsible for Byton’s use of the reporter.


        Therefore, pursuant to JAMS Rule 24(c) the Arbitrator awards EDAG $3,135.00 to

reimburse it for the Byton’s use of the interpreter.


                3. Court Reporter and Transcript Fees.


        EDAG seeks reimbursement of $17,802.00 for Byton’s share of the Arbitration Hearing

Court Reporter. Byton objects on the ground that the arbitrator did not order a court reporter, it did

not have a role in choosing the court reporter and CCP Sec 1033.5(b)(5) prohibits recovery of court

reporter costs not ordered by the court.


        The Arbitrator did not specifically order the parties to engage a court reporter to transcribe

the hearing testimony, but the arbitrator and all parties benefited from the transcript. EDAG

informed Byton it was going to engage a court reporter and if Byton did not share in the costs

EDAG would seek reimbursement (Ex. B to EDAG’s May 18 letter). Apparently, Byton chose not

to ask for a reporter.


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         All parties and the arbitrator found value in having a court reporter transcript available, but

because it was not ordered by the arbitrator, the CCP would prohibit awarding these fees if we were

in court. JAMS Rule 24(c) permits an arbitrator to grant any remedies within the scope of the

parties’ agreement, but Sec.14.4(b) requires each side to bear their own costs. These fees are not

incurred by Byton and are EDAG’s costs. Therefore, the Arbitrator will DENY EDAG’s request for

reimbursement of the reporter fees.


                4. Mr. Slovesko and Mr. Twohig Deposition Costs.


         Byton submitted Mr. Slovesko’s and Mr. Twohig’s deposition transcripts in place of in

person testimony at the hearing. It is “just and equitable” that the costs incurred for those

depositions be borne by Byton and the Arbitrator orders that Byton be responsible for the

$13,507.85 incurred in those depositions (JAMS Rule 24(c)) 3.


         In addition, Byton had an extra day of deposition per the Arbitrator’s Order when certain

questions were not answered during an earlier deposition.


                5. PMQ Deposition Costs.


         The Arbitrator issued an order requiring this deposition (Ex. F. to EDAG’s May 15 letter),

and EDAG requests it be awarded $3,144.10 pursuant to JAMS Rule 6(c). EDAG’s request is

DENIED, this was a deposition it conducted at its request and the fact that the Arbitrator ordered it

does not mean it’s not a EDAG cost and under Sec. 14.4(b) it cannot be awarded to EDAG.




3
 Twohig Deposition cost: $7,159.25. Slovesko Deposition cost: $6,348.60. (See EDAG Ex. A.4 to
EDAG’s May 15, 2021, letter for Veritext invoices)
                                        27
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              6. JAMS fees for Discovery Disputes


       EDAG’s May 18, 2021, letter does not explain in detail what this request relates to and the

invoice attached as Ex.A.1 does not give any further detail. Therefore, EDAG’s request to be

awarded $4,500 for Hearing Fees for Discovery Disputes is DENIED.


              7. Summary of Costs Awarded.

       A. JAMS Hearing fees: $72,800.00

       B. Interpreter Fees:      $ 3,135.00

       C. Depositions:           $13,507.85

              TOTAL               $89,442.85


       These costs are awarded under the TDLA and JAMS Rules and were reasonable and

necessary incurred by EDAG.

       E. Final Arbitration Award.

   1. EDAG is awarded €23,446,649 (or the equivocal in U.S. dollars, calculated by the then

       exchange rate as of the date of the final order) on its breach of contract claim and simple

       interest of 10% as of the date of this Final Arbitration Award.

   2. EDAG is awarded $89,442.85 in costs pursuant to the TDLA and JAMS Rules.

   3. BYTON shall recover nothing on its claims for breach of contract and negligence.



IT IS SO ORDERED.

Dated: June 2, 2021
                                                     Willian     Caine
                                                     ______________________________

                                                     Hon. William J. Cahill (Ret.)
                                                     Arbitrator




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               FINAL ARBITRATION AWARD, JAMS CASE NO. 1100107291
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                                       PROOF OF SERVICE BY E-Mail

                    Re: EDAG Engineering GmbH vs. BYTON North America Corporation
                                       Reference No. 1100107291

            I, Scott Schreiber, not a party to the within action, hereby declare that on June 3, 2021, I served the

attached Final Arbitration Award on the parties in the within action by electronic mail at San Francisco,

CALIFORNIA, addressed as follows:


Evangeline Burbidge Esq.                                  Keith A. Sipprelle Esq.
Marc R. Lewis Esq.                                        David B. Van Etten Esq.
Mr. Brad Estes                                            Van Etten Sipprelle LLP
Lewis & Llewellyn LLP                                     2945 Townsgate Road
601 Montgomery Street                                     Suite 200
Suite 2000                                                Westlake Village, CA 91361
San Francisco, CA 94111                                   Phone: 805-719-4900
Phone: 415-800-0590                                       ksipprelle@vstriallaw.com
eburbidge@lewisllewellyn.com                              dvanetten@vstriallaw.com
mlewis@lewisllewellyn.com                                    Parties Represented:
bestes@lewisllewellyn.com                                    BYTON North America Corporation
   Parties Represented:
   EDAG Engineering GmbH

Ms. Lillian Xu
Evelyn Shimazaki Esq.
BYTON North America Corporation
4201 Burton Drive
Santa Clara, CA 95054
lillian.xu@byton.com
evelyn.shimazaki@byton.com
    Parties Represented:
    BYTON North America Corporation

            I declare under penalty of perjury the foregoing to be true and correct. Executed at San Francisco,

CALIFORNIA on June 3, 2021.


//s// Scott Schreiber
_________________________________
Scott Schreiber
JAMS
sschreiber@jamsadr.com
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                  EXHIBIT B
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      From:                Keith A. Sipprelle
      To:                  Evangeline A.Z. Burbidge
      Cc:                  Marc R. Lewis; Brad Estes
      Subject:             RE: EDAG v. BYTON, JAMS Ref. No. 1100107291 / BYTON Document Production
      Date:                Tuesday, November 10, 2020 11:04:52 AM
      Attachments:         image001.png


      Evan: Byton has undertaken a reasonable and good faith search, and has produced the relevant documents it
      has been able to locate. As I believe you are aware, Byton North America has largely ceased operations and has
      only a skeletal staff remaining. Much of the institutional knowledge has been lost as a result of the mass
      departures of personnel. Current personnel have attempted to locate additional EDAG-related documents, but
      have not been able to locate any additional materials. There is simply nothing further that can be produced at
      this point.

      Regards,

      Keith A. Sipprelle
      Partner




      2945 Townsgate Road, Suite 200
      Westlake Village, CA 91361

      805.719.4904 Direct
      805.719.4900 Main
      805.719.4950 Fax
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      www.vstriallaw.com


      ==================================================================================

      In compliance with IRS and other applicable tax practice standards, any advice in this message (including
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      computer. Thank you.
      ===================================================================================

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                  EXHIBIT C
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   From:                Keith A. Sipprelle
   To:                  Evangeline A.Z. Burbidge; Scott Schreiber
   Cc:                  Marc R. Lewis; Brad Estes
   Subject:             RE: EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291 / Third Party Subpoenas
   Date:                Friday, November 20, 2020 3:22:22 PM
   Attachments:         image001.png


   Evan and Scott: I have just been informed that the remaining IT employee at Byton has access to JIRA and
   Confluence, and that there may be some relevant documents that may exist on these databases that can be
   accessed. Byton will be undertaking a search of these databases for relevant documents as soon as it reasonably
   can.   Thus, EDAG’s request for issuance of subpoenas to JIRA and Confluence is moot.

   As to JAMA, Byton no longer has access to this cloud-based storage platform. (Byton’s access was terminated
   many months ago due to non-payment, and Byton lacks the funds to reinstate the service.) Byton has no
   objection to the issuance of a subpoena to JAMA. However, the subpoena should make clear that any
   documents produced by JAMA will be covered by the protective order.

   Regards,

   Keith A. Sipprelle
   Partner




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   Westlake Village, CA 91361

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Non-Relevant
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                 EXHIBIT D
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1                    IN ARBITRATION PROCEEDINGS OF
2       JUDICIAL ARBITRATION AND MEDIATION SERVICES, INC.
3
4      EDAG Engineering GmbH,
5                            Claimant,
6           vs.                                        JAMS No. 1100107291
7      Byton North America Corp.,
8                            Respondent.
       ______________________________/
9
10                          *** CONFIDENTIAL ***
11                   DEPOSITION OF SADHA KAMESWARAN
12                 Person Most Qualified witness for
13                      Byton North America Corp.
14          appearing remotely at Menlo Park, California
15                      Tuesday, November 17, 2020
16
17
18
19
20
21
22     Job No. 4290795
23     Reported by:
       Natalie Y. Botelho
24     CSR No. 9897
25     Pages:     1 - 248

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1      A.         We're aware of delays in some payments                 14:32:19

2      between June and December of 2018 because of delays               14:32:22

3      in our incoming funding.                                          14:32:25

4      Q.         And then a payment was made in December of             14:32:28

5      2018, you mentioned?                                              14:32:30

6      A.         Correct.     Correct.                                  14:32:38

7      Q.         And then in 2019, Byton stopped paying                 14:32:41

8      EDAG again, correct?                                              14:32:43

9      A.         Don't have the entirety dates in front of              14:32:56

10     me here, but I would say that there were some token               14:33:00

11     payments made in 2019.                                            14:33:04

12     Q.         And eventually --                                      14:33:07

13     A.         It was not like we completely stopped.        We       14:33:13

14     made an effort to pay some token payments where we                14:33:16

15     could.                                                            14:33:21

16     Q.         Was there a point in 2019 when Byton                   14:33:22

17     completely stopped paying EDAG?                                   14:33:25

18     A.         Yes, that would be correct.                            14:33:33

19     Q.         Byton only made token payments in 2019 and             14:33:36

20     eventually stopped paying EDAG because Byton did not              14:33:39

21     have enough money?                                                14:33:42

22     A.         That is correct.                                       14:33:47

23                MR. ESTES:     I'll mark this as the next              14:33:47

24     exhibit in line, which I think is 60.           It's a            14:33:49

25     document with the first page Bates stamped                        14:33:52

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1      correct?                                                           14:43:22

2      A.          Correct.                                               14:43:25

3      Q.          Has Byton paid any other creditors since               14:43:25

4      signing the July 28th, 2019 letter of confirmation?                14:43:27

5      A.          That would be Byton North America or Byton             14:43:51

6      globally?                                                          14:43:54

7      Q.          Byton North America Corporation.                       14:43:55

8      A.          As far as I can recall, nothing other than             14:44:03

9      the fundamental site operational cost and payroll                  14:44:05

10     cost.                                                              14:44:11

11     Q.          Are site operational costs things like                 14:44:14

12     rent and like utility bills?          Is that what you mean?       14:44:18

13     A.          Correct.                                               14:44:21

14     Q.          When Byton signed the July 28th, 2019                  14:44:27

15     confirmation of payment, it did not include a                      14:44:31

16     statement that Byton was refusing to pay due to                    14:44:33

17     deficiencies in EDAG's work product, correct?                      14:44:35

18                 MR. SIPPRELLE:        Objection; argumentative,        14:44:40

19     document speaks for itself.          You can answer about          14:44:41

20     what the document says or doesn't say.                             14:44:52

21                 THE WITNESS:        The document says that we'll       14:45:04

22     make a payment by August 18th, and we were unable to               14:45:05

23     make the payment.                                                  14:45:11

24                 MR. ESTES:     Q.     The document does not say        14:45:12

25     anything about EDAG Engineering errors, correct?                   14:45:14

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1      at the arbitration in February -- from February 8th                    17:26:23

2      to 19th, 2021?                                                         17:26:27

3      A.           I will not be able to confirm that now.                   17:26:32

4      Sorry.                                                                 17:26:34

5      Q.           Why not?                                                  17:26:35

6      A.           Because I don't know what my schedule is.                 17:26:37

7      Q.           But you can't think of any conflicts,                     17:26:39

8      sitting here right now, correct?                                       17:26:40

9      A.           I cannot think of -- I cannot think of                    17:26:50

10     anything, correct.                                                     17:26:53

11                  MR. ESTES:   Thank you.     Those are all my              17:26:54

12     questions.     Thank you for your time today, sir.           Do        17:26:55

13     you have any?                                                          17:26:57

14                   EXAMINATION BY MR. SIPPRELLE                             17:26:58

15                  MR. SIPPRELLE:   Q.   Yeah, I have a couple               17:26:58

16     of follow-up questions, Mr. Kameswaran.              I wanted to       17:27:00

17     clarify a little bit on your testimony about                           17:27:03

18     document retention and what is available to Byton.                     17:27:07

19     To your knowledge, has Byton in this case produced                     17:27:14

20     the documents relating to the EDAG relationship that                   17:27:17

21     it has access to?                                                      17:27:23

22     A.           That's my understanding.       Everything that            17:27:27

23     was accessible has been provided.                                      17:27:29

24     Q.           Okay.   Now, are there -- is it your                      17:27:33

25     understanding that there may be some documents                         17:27:36

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1      relating to the EDAG relationship that Byton -- that           17:27:39

2      may exist, but that Byton does not have access to?             17:27:44

3      A.         It is quite possible that there are                 17:27:50

4      documents that are not accessible because we do have           17:27:53

5      access issues on some portals that we are locked out           17:27:58

6      because of payment issues.                                     17:28:02

7      Q.         Okay.   Can you -- just so counsel                  17:28:04

8      understands what you're talking about, can you                 17:28:07

9      explain these -- what these portals are and why                17:28:09

10     Byton does not have access to them?                            17:28:13

11     A.         So the cloud-based platforms that I                 17:28:16

12     mentioned previously, obviously those are                      17:28:19

13     pay-as-you-go service on a quarterly/half-yearly               17:28:25

14     basis, and we have not -- just like we have not made           17:28:30

15     payments to a number of suppliers, we have not made            17:28:33

16     payments to those, and their patience ran out, and             17:28:35

17     they stopped access to those services.                         17:28:43

18     Q.         And so would it be fair to say that Byton           17:28:47

19     cannot access those portals to see what may be                 17:28:49

20     available on those cloud-based servers at the                  17:28:53

21     present time?                                                  17:28:57

22     A.         That would be correct.                              17:28:59

23     Q.         And would those portals, to your                    17:29:01

24     knowledge, include things like project circle                  17:29:03

25     reports, engineering, release authorizations, and              17:29:05

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1      the other types of documents that Counsel asked you              17:29:11

2      about earlier?                                                   17:29:14

3      A.         That's correct.                                       17:29:16

4      Q.         Thank you.     I have no further questions.           17:29:18

5      Actually, let me just ask one follow-up question.                17:29:20

6      For Byton to be able to access those portals, what               17:29:24

7      kind of money are we talking about that Byton would              17:29:30

8      have to come up with to be able to get back onto                 17:29:32

9      those drives?                                                    17:29:36

10     A.         I don't --                                            17:29:40

11     Q.         Do you have an estimate?                              17:29:42

12     A.         I do not know the exact amount, but I'll              17:29:42

13     estimate it to be somewhere around half a million                17:29:45

14     dollars minimum.                                                 17:29:49

15     Q.         Does Byton have anywhere near that kind of            17:29:50

16     money to be able to come current with those vendors?             17:29:53

17     A.         No.                                                   17:29:59

18                MR. SIPPRELLE:      All right.      Thank you,        17:30:00

19     sir.   Nothing further.                                          17:30:00

20                FURTHER EXAMINATION BY MR. ESTES                      17:30:02

21                MR. ESTES:     Q.   I just have a couple quick        17:30:03

22     follow-up questions based on that.          Sir, could you       17:30:04

23     give me the names of the vendors that Byton owes                 17:30:09

24     money to that is preventing access to these portals?             17:30:14

25     A.         I do not know the names of the actual                 17:30:25

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1      vendors because these are through like service                   17:30:28

2      providers.     Yeah, so I wouldn't know the names of             17:30:34

3      the vendors specifically.                                        17:30:38

4      Q.           Who are the service providers?                      17:30:40

5      A.           Sorry.   Could you repeat that, please?             17:30:48

6      Q.           Who are the service providers, then?                17:30:49

7      A.           Yeah, those are the vendors I'm saying              17:30:55

8      that I wouldn't know the names of.          There is names       17:30:56

9      of the software, but I don't know who the service                17:31:03

10     providers were.                                                  17:31:05

11     Q.           Could you give me the names of the                  17:31:06

12     software you're aware of?                                        17:31:07

13     A.           There was one system called Jama, J-A-M-A.          17:31:11

14     There was another system, Confluence.           And -- and       17:31:19

15     Jira, J-I-R-A.                                                   17:31:29

16     Q.           And when approximately was Byton's access           17:31:35

17     revoked from these systems?                                      17:31:38

18     A.           I would say late last year or early this            17:31:51

19     year.   Don't know exact dates.                                  17:31:53

20     Q.           Late 2019 or early 2020?                            17:31:57

21     A.           That would be correct.                              17:32:01

22     Q.           And who would be the person most qualified          17:32:04

23     at Byton -- strike that.                                         17:32:08

24                  Who would be the person most qualified to           17:32:11

25     testify regarding Byton's access being revoked from              17:32:13

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1
2
3
4                   I, the undersigned, a Certified Shorthand
5      Reporter of the State of California, do hereby
6      certify;
7                   That the foregoing proceedings were taken
8      before me at the time and place herein set forth;
9      that any witnesses in the foregoing proceedings,
10     prior to testifying, were placed under oath; that a
11     verbatim record of the proceedings was made by me
12     using machine shorthand which was thereafter
13     transcribed under my direction; further, that the
14     foregoing is an accurate transcription thereof.
15                  I further certify that I am neither
16     financially interested in the action nor a relative
17     or employee of any attorney or any of the parties.
18                  IN WITNESS WHEREOF, I have this date
19     subscribed my name.
20
21     Dated:     November 30, 2020
22
23
24                               <%20029,Signature%>
                                 NATALIE Y. BOTELHO
25                               CSR No. 9897

                                                               Page 248

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                                 CONFIDENTIAL

1                    IN ARBITRATION PROCEEDINGS OF
2       JUDICIAL ARBITRATION AND MEDIATION SERVICES, INC.
3
4      EDAG Engineering GmbH,
5                            Claimant,
6           vs.                                        JAMS No. 1100107291
7      Byton North America Corp.,
8                            Respondent.
       ______________________________/
9
10                          *** CONFIDENTIAL ***
11                   DEPOSITION OF SADHA KAMESWARAN
12                          (personal capacity)
13          appearing remotely at Menlo Park, California
14                     Wednesday, November 18, 2020
15
16
17
18
19
20
21
22     Job No. 4300026
23     Reported by:
       Natalie Y. Botelho
24     CSR No. 9897
25     Pages:     1 - 187

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1      A.           Correct.                                             14:08:24

2      Q.           Did you speak with anyone else while we              14:08:25

3      were off the record?                                              14:08:27

4      A.           No.                                                  14:08:28

5      Q.           Sitting here today, what is your best                14:08:30

6      estimate of how much cash Byton has on hand?                      14:08:32

7                   MR. SIPPRELLE:     All right.       So let me        14:08:38

8      again interpose objections.         This is outside the           14:08:39

9      scope of permissible discovery.           You are seeking         14:08:42

10     information regarding the current financial                       14:08:48

11     condition of Byton.     Financial condition discovery             14:08:51

12     is only permitted under California law during -- in               14:08:56

13     cases in which there is a claim for punitive                      14:09:01

14     damages, and you would need to get a court order, or              14:09:03

15     in this case an arbitrator's order, to permit that                14:09:07

16     discovery.                                                        14:09:10

17                  There is no such order.        There could not       14:09:12

18     be any such order because there's no punitive damage              14:09:13

19     claim.   So it's outside the scope of what you are                14:09:16

20     permitted to inquire into or obtain from Byton.                   14:09:23

21                  Subject to those objections,                         14:09:27

22     Mr. Kameswaran will provide a response, which                     14:09:31

23     we'll -- I'm going to let him do now.             Go ahead,       14:09:37

24     sir.                                                              14:09:39

25                  THE WITNESS:     So the money that we have is        14:09:44

                                                                     Page 131

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1      barely enough to cover our next payroll coming next               14:09:47

2      week, the end of November payroll.                                14:09:51

3                   MR. ESTES:   Q.   How much is the end of             14:10:04

4      November payroll?                                                 14:10:05

5                   MR. SIPPRELLE:    Same objections.      He has       14:10:09

6      provided what he's going to provide in response to                14:10:12

7      that question.     There will be no further details               14:10:15

8      provided regarding Byton's current financial                      14:10:19

9      condition.                                                        14:10:23

10                  MR. ESTES:   Just to be clear, you're                14:10:25

11     instructing him not to answer?                                    14:10:26

12                  MR. SIPPRELLE:    I've instructed him to             14:10:29

13     answer in the way he has answered, and I would --                 14:10:30

14     yes, I'm instructing him not to provide further                   14:10:34

15     details regarding Byton's financial condition in                  14:10:37

16     response to your question.                                        14:10:40

17                  MR. ESTES:   And for the record, EDAG's              14:10:43

18     position is this information is directly relevant,                14:10:45

19     and EDAG is entitled to it because yesterday Byton's              14:10:47

20     most qualified witness testified that the reason                  14:10:50

21     Byton can't produce the documents requested by EDAG               14:10:53

22     is because Byton lacks the $500,000 it needs to pay               14:10:55

23     its vendors that possess that document.                           14:10:59

24                  This also goes directly to EDAG's ability            14:11:01

25     to recover the $19 million that's still open in                   14:11:04

                                                                     Page 132

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1      approved invoices Byton has not paid, and we'll keep               14:11:07

2      this deposition open and reserve our right to go to                14:11:10

3      the Arbitrator and get an order that these questions               14:11:11

4      be answered and that it be done so at Byton's                      14:11:11

5      expense.   This is now the second deposition where                 14:11:16

6      you've improperly instructed a witness not to                      14:11:18

7      answer.                                                            14:11:21

8                 MR. SIPPRELLE:        Mr. Kameswaran, let me ask        14:11:22

9      you this in response to Counsel's statement.           Does        14:11:24

10     Byton have enough money at the present time to come                14:11:29

11     current with the outside document vendors to allow                 14:11:33

12     it to access those -- those network or cloud drives                14:11:39

13     where documents are being stored?                                  14:11:46

14                THE WITNESS:        No.   As I mentioned before,        14:11:51

15     the money is barely adequate to cover payroll, not                 14:11:53

16     even any of the operational costs.                                 14:11:58

17                MR. SIPPRELLE:        Thank you.                        14:12:01

18                THE WITNESS:        Referring to other things.          14:12:03

19                MR. SIPPRELLE:        Thank you.    Go ahead,           14:12:06

20     Counsel.                                                           14:12:06

21                MR. ESTES:     Q.     What will happen if Byton         14:12:07

22     can't cover payroll?                                               14:12:08

23                MR. SIPPRELLE:        Objection; relevance,             14:12:12

24     calls for a legal -- you're asking him -- besides                  14:12:16

25     getting sued by employees who aren't paid?           I mean,       14:12:20

                                                                      Page 133

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1
2
3
4                   I, the undersigned, a Certified Shorthand
5      Reporter of the State of California, do hereby
6      certify;
7                   That the foregoing proceedings were taken
8      before me at the time and place herein set forth;
9      that any witnesses in the foregoing proceedings,
10     prior to testifying, were placed under oath; that a
11     verbatim record of the proceedings was made by me
12     using machine shorthand which was thereafter
13     transcribed under my direction; further, that the
14     foregoing is an accurate transcription thereof.
15                  I further certify that I am neither
16     financially interested in the action nor a relative
17     or employee of any attorney or any of the parties.
18                  IN WITNESS WHEREOF, I have this date
19     subscribed my name.
20
21     Dated:     November 30, 2020
22
23
24                               <%20029,Signature%>
                                 NATALIE Y. BOTELHO
25                               CSR No. 9897

                                                               Page 187

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                   EXHIBIT F
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From:                Keith A. Sipprelle
To:                  Jessica Llamas
Cc:                  Kristin Orrantia; Charlotte Hayward; Evangeline A.Z. Burbidge; Marc R. Lewis; Brad Estes
Subject:             RE: EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291
Date:                Thursday, December 10, 2020 2:40:30 PM
Attachments:         image002.png
                     image003.png


Hello, Jessica. Unfortunately, my client BYTON North America is not in a position to make its deposit at this
time.

Regards,

Keith A. Sipprelle
Partner




2945 Townsgate Road, Suite 200
Westlake Village, CA 91361

805.719.4904 Direct
805.719.4900 Main
805.719.4950 Fax
ksipprelle@vstriallaw.com
www.vstriallaw.com


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immediately by telephone or by return e-mail and delete this message, along with any attachments, from your
computer. Thank you.
===================================================================================


From: Jessica Llamas [mailto:JLlamas@jamsadr.com]
Sent: Tuesday, December 8, 2020 3:29 PM
To: eburbidge@lewisllewellyn.com; mlewis@lewisllewellyn.com; Keith A. Sipprelle
<ksipprelle@vstriallaw.com>; lillian.xu@byton.com; evelyn.shimazaki@byton.com;
bestes@lewisllewellyn.com
Cc: korrantia@lewisllewellyn.com; chayward@lewisllewellyn.com; Shirley Cervantes
<scervantes@vstriallaw.com>; Scott Schreiber <sschreiber@jamsadr.com>; Brian Palencia
<BPalencia@jamsadr.com>
Subject: EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291

Good Afternoon Everyone,
    Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 116 of 611


*apologies, I had the wrong day listed on the email sent prior, please see corrected email below*

This is a friendly reminder that the last day to cancel or continue this matter & all fees are due on
Thursday, 12/10/20.

In light of the circumstances related to COVID-19, JAMS associates are working remotely and are unable to
provide U.S. Mail service at this time. This will be served via email only.

Please let me know if there is anything further I can assist with at this time.

Kindly,
Jess




                                 Jessica Llamas (she/her)
                                 Case Coordinator


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From: Jessica Llamas
Sent: Tuesday, December 8, 2020 3:26 PM
To: 'eburbidge@lewisllewellyn.com' <eburbidge@lewisllewellyn.com>; 'mlewis@lewisllewellyn.com'
<mlewis@lewisllewellyn.com>; 'ksipprelle@vstriallaw.com' <ksipprelle@vstriallaw.com>;
'lillian.xu@byton.com' <lillian.xu@byton.com>; 'evelyn.shimazaki@byton.com'
<evelyn.shimazaki@byton.com>; 'bestes@lewisllewellyn.com' <bestes@lewisllewellyn.com>
Cc: 'korrantia@lewisllewellyn.com' <korrantia@lewisllewellyn.com>; 'chayward@lewisllewellyn.com'
<chayward@lewisllewellyn.com>; 'scervantes@vstriallaw.com' <scervantes@vstriallaw.com>; Scott
Schreiber <sschreiber@jamsadr.com>; Brian Palencia <BPalencia@jamsadr.com>
Subject: EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291

Good Afternoon Everyone,

This is a friendly reminder that the last day to cancel or continue this matter & all fees are due on Friday,
12/10/20.

In light of the circumstances related to COVID-19, JAMS associates are working remotely and are unable to
provide U.S. Mail service at this time. This will be served via email only.

Please let me know if there is anything further I can assist with at this time.
    Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 117 of 611



Kindly,
Jess

                                 Jessica Llamas (she/her)
                                 Case Coordinator


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From: Jessica Llamas
Sent: Tuesday, December 1, 2020 3:24 PM
To: 'eburbidge@lewisllewellyn.com' <eburbidge@lewisllewellyn.com>; 'mlewis@lewisllewellyn.com'
<mlewis@lewisllewellyn.com>; 'ksipprelle@vstriallaw.com' <ksipprelle@vstriallaw.com>;
'lillian.xu@byton.com' <lillian.xu@byton.com>; 'evelyn.shimazaki@byton.com'
<evelyn.shimazaki@byton.com>; 'bestes@lewisllewellyn.com' <bestes@lewisllewellyn.com>
Cc: 'korrantia@lewisllewellyn.com' <korrantia@lewisllewellyn.com>; 'chayward@lewisllewellyn.com'
<chayward@lewisllewellyn.com>; 'scervantes@vstriallaw.com' <scervantes@vstriallaw.com>; Scott
Schreiber <sschreiber@jamsadr.com>
Subject: RE: EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291

Good Afternoon Everyone,

This is a friendly reminder that the last day to cancel or continue this matter & all fees are due on
12/10/20.

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provide U.S. Mail service at this time. This will be served via email only.

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Kindly,
Jess




                                 Jessica Llamas (she/her)
                                 Case Coordinator


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    Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 118 of 611


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From: Jessica Llamas
Sent: Monday, November 16, 2020 1:51 PM
To: eburbidge@lewisllewellyn.com; mlewis@lewisllewellyn.com; ksipprelle@vstriallaw.com;
lillian.xu@byton.com; evelyn.shimazaki@byton.com; bestes@lewisllewellyn.com
Cc: korrantia@lewisllewellyn.com; chayward@lewisllewellyn.com; scervantes@vstriallaw.com; Scott
Schreiber <sschreiber@jamsadr.com>
Subject: RE: EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291

Good Afternoon Everyone,

This is a friendly reminder that the last day to cancel or continue this matter & all fees are due on
12/10/20.

In light of the circumstances related to COVID-19, JAMS associates are working remotely and are unable to
provide U.S. Mail service at this time. This will be served via email only.

Please let me know if there is anything further I can assist with at this time.

Kindly,
Jess




                                 Jessica Llamas (she/her)
                                 Case Coordinator


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From: Jessica Llamas
Sent: Monday, November 2, 2020 11:21 AM
To: 'eburbidge@lewisllewellyn.com' <eburbidge@lewisllewellyn.com>; 'mlewis@lewisllewellyn.com'
    Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 119 of 611


<mlewis@lewisllewellyn.com>; 'ksipprelle@vstriallaw.com' <ksipprelle@vstriallaw.com>;
'lillian.xu@byton.com' <lillian.xu@byton.com>; 'evelyn.shimazaki@byton.com'
<evelyn.shimazaki@byton.com>; 'bestes@lewisllewellyn.com' <bestes@lewisllewellyn.com>
Cc: 'korrantia@lewisllewellyn.com' <korrantia@lewisllewellyn.com>; 'chayward@lewisllewellyn.com'
<chayward@lewisllewellyn.com>; 'scervantes@vstriallaw.com' <scervantes@vstriallaw.com>; Scott
Schreiber <sschreiber@jamsadr.com>
Subject: EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291

Good Morning Everyone,

This is a friendly reminder that the last day to cancel or continue this matter & all fees are due on
12/10/20.

In light of the circumstances related to COVID-19, JAMS associates are working remotely and are unable to
provide U.S. Mail service at this time. This will be served via email only.

Please let me know if there is anything further I can assist with at this time.

Kindly,
Jess




                                 Jessica Llamas
                                 Case Coordinator


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From: Jessica Llamas
Sent: Monday, October 12, 2020 5:02 PM
To: eburbidge@lewisllewellyn.com; mlewis@lewisllewellyn.com; ksipprelle@vstriallaw.com;
lillian.xu@byton.com; evelyn.shimazaki@byton.com; bestes@lewisllewellyn.com
Cc: korrantia@lewisllewellyn.com; chayward@lewisllewellyn.com; scervantes@vstriallaw.com; Scott
Schreiber <sschreiber@jamsadr.com>
Subject: EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291

Good Afternoon Everyone,

Please find the attached Notice of Hearing & corresponding deposit requests in regards to this arbitration
with Judge Cahill. The last day to cancel or continue this matter & all fees are due on 12/10/20.
    Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 120 of 611



In light of the circumstances related to COVID-19, JAMS associates are working remotely and are unable to
provide U.S. Mail service at this time. This will be served via email only.

Please let me know if there is anything further I can assist with at this time.

Kindly,
Jess


                                 Jessica Llamas
                                 Case Coordinator


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                  EXHIBIT G
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 122 of 611
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1                              JAMS ARBITRATION
2
3
4      EDAG ENGINEERING GMBH,           )
                                        )
5                    Claimant,          )
                                        )
6      v.                               ) JAMS Reference No.
                                        )     1100107291
7      BYTON NORTH AMERICA CORPORATION, )
                                        )
8                    Respondent.        )
       _________________________________)
9                                       )
       BYTON NORTH AMERICA CORPORATION, )
10                                      )
                     Counter-Claimant, )
11                                      )
       v.                               )
12                                      )
       EDAG ENGINEERING GMBH,           )
13                                      )
                     Counter-Respondent.)
14     _________________________________)
15
16                        C O N F I D E N T I A L
17
18         REPORTER'S TRANSCRIPT OF ARBITRATION PROCEEDINGS
19             ALL PARTIES APPEARING REMOTELY VIA ZOOM
20                        FEBRUARY 17, 2021
21            ARBITRATOR: HON. WILLIAM J. CAHILL (RET.)
22
23
24     VOLUME VII                      REPORTED BY:
25     PAGES 788 TO 936                SUSAN E. LANSING, CSR NO. 6355

                                                                Page 788

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                                     866 299-5127
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 123 of 611
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1      through a financial distress and it was every supplier

2      had the same issue as EDAG.            And we needed the key

3      suppliers like EDAG to help us get to the finish line.

4      That is our only way of generating revenue.

5          Q.      So my statement was correct that Byton was

6      interested in EDAG's work but Byton couldn't pay for it?

7          A.      Yes, Byton was interested in EDAG's work.

8      EDAG's support.

9          Q.      And Byton couldn't pay for it?

10         A.      Yes, Byton could not pay as per those payment

11     plans that were provided to EDAG.

12         Q.      And we agree that it was only after EDAG

13     stopped working did Byton claim EDAG owed Byton

14     $31 million due to engineering errors; right?

15                 MR. SIPPRELLE:      Object; argumentative.

16                 THE ARBITRATOR:       I think you've established

17     that, but go ahead.        Overruled.

18                 THE WITNESS:     From my understanding, there were

19     a number of discussions between our Purchasing Team and

20     EDAG about engineering errors and, and what it is

21     costing Byton, maybe not specified the exact numbers at

22     the time.     And when the relationship broke, Byton took

23     on the task of analyzing the losses and damages and

24     consolidated debt.

25         Q.      BY MR. ESTES:      If we go to the first page of

                                                                Page 858

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1      STATE OF CALIFORNIA             )

                                       )    ss.

2      COUNTY OF VENTURA               )

3

4            I, SUSAN E. LANSING, a Certified Shorthand Reporter

5      for the State of California, do hereby certify:

6            That the foregoing proceedings were taken down by

7      me in shorthand at the time and place therein named, via

8      Zoom, and thereafter reduced to typewriting under my

9      direction, and the same is a true and correct and

10     complete transcript of said proceedings;

11           I further certify that I am neither counsel for nor

12     related to any party to said action nor in any way

13     interested in the outcome thereof.

14           WITNESS my hand this 22nd day of February, 2021.

15

16

17

18

19

20

21

22

23

24           <%7429,Signature%>

25           SUSAN E. LANSING, CSR NO. 6355

                                                                Page 936

                                Veritext Legal Solutions
                                     866 299-5127
Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 125 of 611




                  EXHIBIT H
    Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 126 of 611


From:                Keith A. Sipprelle
To:                  Scott Schreiber
Cc:                  Kristin Orrantia; Jayli Miller; Evangeline A.Z. Burbidge; Marc R. Lewis; Brad Estes
Subject:             RE: EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291
Date:                Wednesday, September 22, 2021 1:52:07 PM
Attachments:         image002.png
                     image003.png


Hi, Scott. Unfortunately, my client is not in a position to pay JAMS anything in connection with this matter.
Presumably, EDAG will cover the full cost (which would be appropriate in any event as EDAG has brought this
matter to Judge Cahill for resolution).

Regards,

Keith A. Sipprelle
Partner




2945 Townsgate Road, Suite 200
Westlake Village, CA 91361

805.719.4904 Direct
805.719.4900 Main
805.719.4950 Fax
ksipprelle@vstriallaw.com
www.vstriallaw.com


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===================================================================================


From: Scott Schreiber [mailto:sschreiber@jamsadr.com]
Sent: Wednesday, September 22, 2021 11:19 AM
To: eburbidge@lewisllewellyn.com; mlewis@lewisllewellyn.com; Keith A. Sipprelle
<ksipprelle@vstriallaw.com>; lillian.xu@byton.com; evelyn.shimazaki@byton.com;
bestes@lewisllewellyn.com; David B. Van Etten <dvanetten@vstriallaw.com>
Cc: korrantia@lewisllewellyn.com; Shirley Cervantes <scervantes@vstriallaw.com>; Jayli Miller
<JMiller@jamsadr.com>
Subject: RE: EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291

Dear Counsel,
    Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 127 of 611


Please disregard the last email transmission that included the deposit request for this matter as it was sent
in error. The attached deposit requests are split 50/50 and are due upon receipt. Please note Judge Cahill
will not be able to issue any rulings until payment is received.

Thank you,
Scott

                                 Scott Schreiber
                                 Senior Case Manager

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                                 San Francisco, CA 94111
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From: Scott Schreiber
Sent: Tuesday, September 21, 2021 4:04 PM
To: eburbidge@lewisllewellyn.com; mlewis@lewisllewellyn.com; ksipprelle@vstriallaw.com;
lillian.xu@byton.com; evelyn.shimazaki@byton.com; bestes@lewisllewellyn.com;
dvanetten@vstriallaw.com
Cc: korrantia@lewisllewellyn.com; scervantes@vstriallaw.com; Jayli Miller <JMiller@JAMSADR.com>
Subject: EDAG Engineering GmbH vs. BYTON North America Corporation - JAMS Ref No. 1100107291

Dear Counsel,

Please see attached Order signed by Judge Cahill. It will be served via email only.

Also attached is a retainer addressed to EDAG to cover the Judge Cahill’s time in this matter.

Thank you,
Scott

                                 Scott Schreiber
                                 Senior Case Manager

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 9   EDAG Engineering GmbH
10
11                               JAMS REFERENCE NO. 1100107291
12
                     IN THE MATTER OF THE JAMS ARBITRATION BETWEEN
13
14

15   EDAG Engineering GmbH,                      CASE NO: 3:21-cv-04736-EMC
16               Claimant,                       DECLARATION OF VOLKER
                                                 AMELUNG IN SUPPORT OF
17          v.                                   PLAINTIFF EDAG’S MOTION FOR
                                                 PRELIMINARY INJUNCTION SE
18   BYTON North America Corporation,
                                                 Hon. William J. Cahill (ret.)
19
            Respondent.
                                                 Arbitration: February 8, 2021
20

21

22    AND RELATED CROSS-CLAIM.
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                      AMELUNG DECLARATION ISO EDAG’S MOTION FOR PI
                                JAMS REF. NO. 1100107291
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 1          I, Volker Amelung, declare as follows:
 2          1.      I am over the age of eighteen. This declaration is based on my own personal
 3   knowledge, unless where stated on information and belief, and if called to do so, I could and would
 4   testify competently to those matters stated herein.
 5          2.      In 1988, I obtained the German equivalent of Bachelors of Science in Mechanical
 6   Engineering, majoring in Vehicle Engineering & Concepts and minoring in Structures and
 7   Durability, at the University of Applied Science in Hamburg, Germany.
 8          3.      I am a Mechanical Engineer and have worked in the field for over 30 years.
 9          4.      I am currently employed by EDAG Engineering GmbH and work in Fulda, Germany.
10          5.      I have worked at EDAG for 28 years and my current title is Project Director in the of
11   Product Development department at EDAG. During my time at EDAG, I have held multiple titles,
12   including Design Engineer, Team Leader, and Director of Product Engineering, among others. I
13   was promoted to CEO of EDAG North America from 2006 to 2010 and then, after leaving to work
14   at an electric car start-up, returned to EDAG in 2014 to the Product Director role.
15          6.      I have helped engineer 25 to 30 cars during my career as a Mechanical Engineer and
16   have designed at least five cars from scratch, including the Hummer H2, Hummer H3, Saturn L and
17   Volkswagen Sharan among others.
18          7.      I personally helped negotiate the contract at issue between EDAG and BYTON North
19   America Corporation. A true and correct copy of the full contract, the Technology Development
20   and License Agreement (“TDLA”), is attached as Exhibit A.
21          8.      A true and correct copy of the Technology Development and License Agreement
22   without its confidential schedules is attached as Exhibit B.
23          9.      I also was in charge of the day-to-day operations and management of EDAG’s work
24   for BYTON under the TDLA and have personal knowledge of the working relationship between the
25   companies.
26          10.     I testified under oath for several days during the February 8 to 19, 2021 arbitration
27   regarding both the contract and the relationship, as both a lay witness and an industry expert.
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            AMELUNG DECLARATION ISO EDAG’S MOTION FOR PI
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 1          11.     When the relationship between EDAG and BYTON began in 2016, BYTON was
 2   called “Future Mobility Corporation” or “FMC.” To the best of my knowledge, BYTON’s parent
 3   company or companies are based in China and may retain the “FMC” name.
 4          12.     Under the TDLA, EDAG was hired to design, from scratch, the M-BYTE electric
 5   vehicle for BYTON. In exchange, EDAG was to receive payment of 50.6 Million Euro. This was a
 6   fixed price contract and EDAG did all the work required to design these parts of the car without an
 7   increase in payments, even if the part required multiple redesigns.
 8          13.     I was personally involved in the design and redesign of M-BYTE components and
 9   the invoicing process. Based on my personal knowledge, BYTON would not approve an EDAG
10   invoice unless it accepted the work EDAG had done designing the car component. The components
11   EDAG was hired to design are detailed in Schedule A to the TDLA, which is included in Exhibit A.
12          14.     I personally helped create a demonstrative of the parts of the car that EDAG was
13   hired to design under the TDLA. A true and correct version of that demonstrative is attached as
14   Exhibit C.
15          15.     During my time working on the M-BYTE project with BYTON, I spent
16   approximately four years and thousands of hours planning, designing, reviewing, re-designing,
17   adjusting and working on the M-BYTE car. I have detailed knowledge of the car, its design, and the
18   intellectual property EDAG created.
19          16.     While working on this project, I became very familiar with the various technical
20   systems used by BYTON, including Jama Software. Jama Software hosts data on the cloud and was
21   used by BYTON for managing all requirements and specifications of the M-BYTE vehicle and
22   systems, including the test procedures and reports. To the best of my knowledge, BYTON still uses
23   Jama Software for this purpose with regard to the M-BYTE. During my time working with
24   BYTON, all system and validation engineers—including myself and my EDAG colleagues—had
25   access to the Jama Software system and participated in uploading and maintaining all BYTON’s
26   specifications and requirements for the M-BYTE vehicle to this system.
27          17.     Based on my personal knowledge of EDAG’s work on the M-BYTE, all the
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                       AMELUNG DECLARATION ISO EDAG’S MOTION FOR PI
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 1   intellectual property created by EDAG under the TDLA related to requirements and specifications
 2   was uploaded to and stored on the cloud maintained by Jama.
 3          18.     On September 13, 2021, I was asked to compare pictures of a rumored M-BYTE
 4   prototype being driven in China, as reported by CarNews China.com, against the M-BYTE that
 5   EDAG helped design. A true and correct copy of the article that I accessed online on September 13,
 6   2021 is attached as Exhibit D.
 7          19.     I compared the CAD data on our systems for the parts of the M-BYTE that EDAG
 8   designed to the images reported by CarNewsChina.com. I spent approximately 2 days comparing
 9   the designs. A true and correct copy of the comparison I created is attached as Exhibit E.
10          20.     In my opinion, based on my years of experience in the field and the thousands of
11   hours working on the M-BYTE vehicle, I have no doubt that the vehicle depicted in the photographs
12   is the M-BYTE, containing the intellectual property created by EDAG, including but not limited to
13   the Body, Exterior, Interior, Passive Safety items depicted in Exhibit C.
14          I declare under the penalty of perjury under the law of the state of California that the
15   foregoing is true and correct.
16          Executed on September 17, 2021 in Fulda, Germany.
17
                                                                  __________________________
18                                                                Volker Amelung,
19                                                                Project Director of PD/Project
                                                                  Management
20                                                                EDAG Engineering GmbH

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                     AMELUNG DECLARATION ISO EDAG’S MOTION FOR PI
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                  EXHIBIT A
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                                                  T CHNOLOGY DEVELO                    NT AND
                                                       LI EN E AGRE.E                  T

          This Technology Development and License Agreement (1bc "Agreement") is effective as of the 1" day of Jw1e, 2017
          (the "Effective Pate") and is made this 20th day of Octo ber, 20 18 by and among BYTON North America Corporation,
          a Delaware corporation with offices at 4201 11urton Dl'ive, Santa Clara, Cal iforn ia, 95054, on behalf of itse lf and iCs
          Affi liates (collectively, "BYTON") and gDAG Englneerlng GmbH ("Supplier"), located at .Kreuzberger Ring 40,
          65205 Gennany (BYTON and Supplier are indivrdunfly a "Party" <1nd collectively, "Pat1ies").

                                                                 WTTNEESETH

                    WHEREA, , BYTON is in the business of des ignjng, developing, ma nufactUI'i ng, and delivering electric
          vehicles, which wi ll be initially manufactmed and sold in China, nnc.l rJ1creafter in the United Stales, Europe an<l other
          C()un lries, and requires certain serv ices and support; and

                 WHEREAS, Supplier is able to provide such services and supp<Jrt, and both BYTON and Supplier oow desire
          lo memorialize the lcrms and conditions rel ating thereto:

                  NOW, THERBPORE, in consideration of the rn utual prom ises set fortll herein, ond for such other good und
          valuable co nsidera tion, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as fo llows:

          1.0 P EFTNIT£0 S

          When u ed herein, t:he following terms shall be defined as foUows:

          L l "Acceptance Regui t-ementsd mear~ the Spec! fication.~, the accept-ance criteria relative to th~ Delivera bles, and Ihe
          plan and associated test environment against which BYTON wi ll test conformance of the Deliverables in accordance
          with lfle docum ents set fu11h in ll Statement of Work or as otherwise agrocd by the patties in writing.

          1.2 "Affili ates" shall me<:tn with respel.1 to an entity, any other entity or person controll ing. controlled by, or llllder
          common control with, such entity. For purposes of the Agreement, •control" mear1s possessi-ng, directly or indirectly,
          the power to direct or cause the direction of the management, poli cies ot· opemtions of an entity, whether through
          ownership of voting securities, by contract or otherwise.

          1.3 "Background Teclmologv" means all Technology that (i) is owned or otherwise contl'olled by Suppl ie•· und ( ii) is
          eitheJ' (l ) in existence on or p1ior to the Effectl ve Date or (2) conc.eived, created, developed, reduced to practice or
          made by or on behalf of Supplier after the Effective Date independently of tbe activities contemplated by this
          Agreement.

          1.4 "B YTON Product(s)" means any product(s) made by or for DYTON that incorporates or is disb'lbuted for use in
          conjunction with the beliverables Ol' a portion thereof.

         I .S "Confidential lnfo 1mation" means infom1ation which if disc losed (i) in tangible form, is clearly marked as
         "confidential'' m· 0 proprietary" at the time of disclosure, or (li) in inlangi blc fo rm (such as orally or visually), the
         disclosing Party clearly identifies as •confidential• or "proprietai'Y" al the time of disclosure and summarizes in writing
         and delivers to the receiving Pru1y within thirty (30) days of disclosure.

          1.6 "Delivorn.bles" means the specifi c del iverables which Supplier is to provide to BYTON under n Statement of Work
                                                                     l/15                                      C_13YTON_EDAO_VI0_20_18




                                                                                                    EXHIBIT


CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                3                                 EDG-0035531



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          and such other Background TeciUJology wh ich S pplier provides to or makes available to BYTON in connection with
          a Shltement of Work.

          1.7 "Derj"vntivc Mat!ll{" means any work or invention, r1ew rna1cria l, information or data wl1ich i. based in whole or in
          pm·[ upon the Background Technology artd Foreground Technology, (including, if applicable, any BYTO Products)
          and nny IntellectuaJ Property Rlghrs associated U1crewith, including any derivative worl<, improvement, extension.
          revision, modification, translation, abridgment, conclensaLi on, expansion, collection, comp ilati on, Error· Correction, or
          any other form in which the Backgtuund Tech nology and Foreground Technology may be recast, transformed or
          adapted, including any changes thereto or that Js an implementation of the Ji.tnctiona lity described in any pecifications
          or simi lar documentalion developed by or for BYTON pursuant to this Agreement.

          1.8 "Documentation" mea ns collectively the technical documentation, training matel'ials, support materials, and end-
          user documentation associa ted with the Deliverables.

           l.9 "Error~ means wiU1 respect to lhe Deliverables, a failure to meet the Acceptance Requi rements, including nny
          defect or deficiency or fa ilure to confo1m to the then-current functional , operational and performance Spcciticatiolls
          ancl DocumMiation. It is not an Error wben the functional. operational :,md performance pecifications and
          Documentati on are tlet but the Specifications provo to be enoneous o1·dysftmction I or when tnrgetndjustrnents have
          to be made dming the development process.

          1.10 "ErTOr Com:clion• means a modification, addition or procedure to correct an Error.

          1. 11 "Foreground Technology" means all Tedmology wh icb is created, developed, or otherw ise generated by Supplier
          onder tbis Agreement.

           1.12 •Jnlellectual Propel'tY Rights" means worldwide conU110n law and statutory tights associated wiU1 (i) patents nod
          patent applications; (i i) works of authorship, including mask: work rights, copyrights, copyright applications. copyright
          registrations and •r oralu rights~ (iii) the protection of Jade and induslrial secrets and confidential informal ion; (i v)
          other proprietary rights rela ting to intungible Intellectual property {specifically excluding trademarks, tradenames and
          service marks); (v) analogous r·ights to tho.c;o set forth above; and (vi) divis ions, continuations, J'enewals, reissunnces
          and extensions of the foregoing (as applicable) now ex isting or hereafter filed, issued or•11cquired.

          1.13 "Seryjce,s" meaDS any blsk performed, such 11 consultancy services, to complete the pl'Ojcct in accordance with
          lhe agreed responsibilities pursuant to a Statement of Work.

         1.14 ''Source Q(Jde" means program code i.n high- level computer language readable by humans skilled in the language,
         and includes available related Documentation and tooL~. including comments, intemal development tools nnd bui ld
         envii'Omnents.

          I.J 5 •speci fications" means the functiona l, operational and performance requil'ements fo1' the Deliverables.

         1 .16 "Statem,ent of Work" means the development plan. including delivernbles nnd associated m il eston~ and the
         developmeu schedule set forth in a written document. Tile Parties moy enter into multiple individual Statemetlls of
         Work under chis Agreement. Each Statement of Work entered into by tl1e Parties shall be part of the Agreemwt, as
         doftned.

          f .17 "Technology' means inventions, business, ma rketing. engineering, technical and maoufactm·ing infonnation,
         know-how and materials, including technology, softwar-e, instrumentation, specifications, designs, devices, clnta,
         composilions, fo rmuJas, • assay , reagents, constructs, compounds, discoveries, procedures, processes, practices,
                                                                    2115                                     C_BYTON_ flOAG_ vro_2.0_J8




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           protoco ls, methods, techniques, results of experimentation or testi ng, knowledge, !J·aclc secrets, skill und experience, in
           ellch case whether or not patentable or copyrightoble; the foregoi ng nu1y be in both tangible nnd inta ngible form.

          2.0 DEVELOP          :NT

          2.1 Development Unde1taking_ Suppli er will design, develop and create the DeJivembles and perform all Services,
          conforming to the Acceptance Requirements and in nccordonce with the applicable Sllltcmcut of Worlc created tmder
           this Agreement. Por the avoidance or doubt, Supplier will not be an exclusive supplier of the services regaJding the
           project as a whole, but only with respect to the agt d Deliv rabies and Services pu rs uant to this contract. BYTON
          cnnies tJ1e overall res pon.'li bilily for the Project as a whole.
          Should the development process show that target adjustments are necessary in order to achi eve the ove rall target of a
          :functionol vehicle fit for homologa tion in lhe jurisdiction of the European Union, tbe United States of Ame1ica and
          Ch inn, (hese large! adjusltnenls are not considered ern)ncous.

          2.2 Ob! jgntious in Support of Development. o ensure the limely and satisfactory completion of Supplier's
          development work under the Statement ofWo rk, Supplier wil l deploy throughout the development sufficient and
          qualified personnel. equipment and o1J1er necessary resources lo complele Supplier's develo pment work. BYTON wi ll
          provide all necessary data and perfo rm al l duties in accordance with WOP Gate Deliverables Full Checklist lo enable
          Suppl ier's performance. For all of Supplier's development w rk il nd provision of Services, Supplier will manage,
          supervise and pl'Ov id~ direction to its Personnel and cause tbem to comply wilh the obligations and restrictions
          applicable to Supplier under the Agreement Supplier is responsible for the acts and omissi ons of Personnel u11der or
          rela ling to each Agreement. S tpplier may employ individual independent contractors as pa11 of its workforce but shall
          not be penni tied to delegate OJ' subcontract the per1b tmance of its dtttie.s and obligations to any thi rd p1nty without lhe
          prl01· wr·itten consent of B YTON. Supplier rema ins respons ible for compliance with the tem1s and conditions of the
          Agreement whether perfom1ed by Supplier or an aut hori?.ed thit'U party.

          For Supplier personnel \vho are visiting nnd mlSite at BYTON facilities, the additional obligations set fmth in Section
          13 below shall apply.

          2.3 Status Repo1·ts. Supplier will provide to B YTON written engillecring slaros reports, on an every-other-week basis
          (or as requested bas is) detailing the status of the development work described in the Stalernent of Work. Supplier shall
          provide more frequent updates and status reports upon !3YfQN's request.

         2.4 Change RwuesC!i. ome evolution of the Specifications and the tatement of Work based upon interaction
         between the Parll es is expected and minor mod ifications which will 110t impact full compliance with !be Statement of
         Work (inclu<l ing milestones) or fees due under this Agreement may be mutually agreed to by the Parties and 1 eed not
         be achieved by a fonnal change mechanism. However, changes impacting ful l complianc::e with the Statement of Work
         or tees payable nre only valid if implemented in accordance with the following change request proced ure. BYTON
         may request any change lo the Speci fications or the Statement of wo .. k by setting forth the proposed clumge in
         reasonable detail in a wrillng (including emai l) submitted to Supplier (•Change Request"). Supplier shall respond in
         writing to Change Requests within three (:3) workdays of receipt, in each case, setting forth the expected effect of
         incorpcrating the requested change., includitlg, as appropriate, the impact on the Statement of Work and any additional
         fees which Supplier would require in order lo make the t-equested cbange ("Change Response•). BYTON sball
         respond prom ptly ioforn1ing SuppHer whether it agrees with Suppli er's descliption of the anticipated impacl and
         additional terms, if any, pmposed in the Change Res ponse. Once an aulhor·iz.ed repl'esentalive of BYTON agrees in
         writing 10 the tenns and conditions outlined in the Change Re ponse, Supplier ha ll promptly begin to implement the
         agreed changes. In the light of the tight schedllle, BY1 ON agrees to commil to the new terms after !he Change
         Response within 48 hours. Shou ld BY'fON not agree withjn that timefratne, Suppliet· is en itlcd to pe1form service or
         deliver/ conduct task as previously agreed. For the avoidance of doubt: Supplier may continue to work in accordance
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           with previous agreed terms dul'ing these 48 hours as time is of essence.

          2.5 Bq ha pcemenl~. BYrON, at its option, may request enhancements to the Deliverabl es by seUing fo11h the proposed
          change in rea ·on able detai I (i nclucl ing em a iI) submitted to Stipp! ior (" Enhanccmen l Reques l"). Supplier sha II respond
          in writing to Enha ncement Requests within ten ( I0) days ofrec.eipt,ln each ca e, setting fort h the expected effect of
          incorporati ng the requested chnnge, including. as approp1'iate, any additiona l fees which Supplier would require in
          o r<lel' to mflke the requested change ("Enhancement Request Response"). BYTON shall respond promptly will1in 48
          hours, infonning Supplier whether it agrees with Supplier's additional terms, if any, proposed in the Enhancement
          Request Response. Once onautho1ized representativeofBYTON agrees in writing to the Bnhancement Requ~t
          Response, Supplier shall prom ptly begin to implement the agreed changes. Tn the light of the ti ht chedule, BYTON
          agrees to commit to the new terms after the Enha t1cement Response within 48 ho rs. Should BYTON not agree within
          that timcframe, Suppl ier is entitled to perfonn service or deliver/ conduct task as previously greed. For the avoidance
          of doubt: Sl1pplier may contin c to wol'l< in accordance with previous agreed terms during these 48 hours as time is of
          essence.

          2.6 BYTON's and Supplier's Obligations. In furtherance of tbis Agreement, BYTON and Suppl ier shall (a) cooperate
          nnd work together in all matters relating to the services provided hereunder; (b) I"Cspond promptly to a P1uty's request
          to provide direction, in fo rmation, approva Is, authorizations or decisions that are reasonably necessary for or related 1o
          a Stalemen~ of Work in ~ li mery manner.

          3.0 TRANSFER AND DEL               • Y

          3.1 Background Dwhnology. If requil'ed under 11 Statement of Work in nccordonoo willt J.5, Supplier wi II deliveno
          BY'l'ON the Background Technology (incl uding without limitation Documentation here o) within five (S) days if
          feasibfe. 01· as otherwise agreed to by the parties if not feasible, after payment pul'suant to the agreed -payme11l
          schedule.

          3.2 Deliverables and the DeveloRed Techno lot!¥. Supplier will deliver to BYrON each Deliverable (including lJlc
          Foreground Technology therein and related Documentatio11), in the fonn(s) set forth in a Statement of Work, not later
          than the date set forth therein fol' testing in 11ccordance witll t.he Acceptance Requi rements. Tn addition, Supplier will
          provide toBYTON such technical documentotion as may be reasonably re~uired to enable BY'fON to ins tall and test
          each De liverable as anticipated by the Acceptance Requirements.

          3.3 ~- TIME IS OPTHE ESSENCE. Supplie•'s delivery to BYTON ofthe Deliverables in accordance widl this
          Section 3.0 ("Tra nsfer and Delivery'') and Supplier's completion of all Deliverables, Foreground Technology ond
          Doc mentation thereto in accords ce with the schedule set forth in the Statemen t of Work are key to the success of the
          BYTON Product(s). BYTON wi ll provide all necessary informntlon and perfo1111 all duties in a timely fashion to
          enable Supplier performi ng in accordance wilh tile master liming.

          3.4 Means ofDeuvcry. AJI delivedes to BYTON shall be made DDP Destination (TNCO Terms, 20 10) aod p ul'SlWllt
          lo BYTON's written instmctions with res pect to form (physicnJ o1· electronic) and localion. For the deli very of any
          physical items, taxes o1· duties, fees, charges. stamp taxes. etc. ofany kind are borne by BYTON. Supplier agrees lo
          support BYTON where possible and iRentitled to chat'ge these services in accordance with it3 offer.

          4.0 T     .lNG AND A CEPTAN CE

         4. 1 rest Method. The Deliverables requiring machine execution will be tested in the test enviro1U11Cilt described in the
         Acceplance Requirerneols. The Foreground Technology and Delivembles not requiling machine eKecu ion will be
         compared to the requirements of the Acceptance Requirements.

                                                                     4/ IS                                      C•.llYTO _EllU.G_ V10_2.0_1 8




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          4.2 AcccP.t::'IOCe Proccd\n·c.

               a. BYTON may, in B YTON's sole discretion, reject the Del iverables ot· any component thereot: if it contains any
                  Error. BYTON will pmmpUy notifY Supplier in writing ofO YTON's acceptance or rejection ("Error Notice").
                  rn each Error Notice, BYfON will set forth, in reasonable {letail, the reason for Ihe rejection.

              b.       U pon rejection of the Delivern bles, Supplier shall either (i) create and implement an l!rror Co1Teclion for
                    each identified B1ror and resubmit the relevant po1't ion of the Deliverable to BYTON for retesting wit hln three
                    (3) workda)'li of 8 YTON's Error Notice, or (i i) if it is impracticable to provide an En·or Coneclion in such
                    three (3) workday period, wi thin lhree (3)workdays ofBYTON's E1TorN otice, provide to OYTO a wri tten
                    plan to correct tbc ide11 tifl d Error(s}, incl uding a schedule therefor ("Conu.tion Plan").

          f'a ilure of the Dcli vorables to pass BYTON's vcceptance tests fi>llowing implementation of Error Con·ection(s) as
          contemplated above, or failure of upplier and BYTON to agree upon a Con-ection Plan within three (3) days a net·
          Supplier provides such Conection Pfnn to BYTON or Supplier's !lli lure to fully comp ly with an ag!'ccd upon
          Correction Phm, will e~ 1title BYTON, in BYTON's sole disCl·etion, to (I) requi re Sup plier to again undertake creati on
          and implemen!ation of an En·or Corfe(;ti on fo r resubmission aud testing pursuant to this Section; (ii) accept lhe
          rel ~vant po1i.ion of the Deliverables and con·ect the l!n'Or itself offiictting its reasonable costs against any nssociated
          fees; (iii) 11ccept the relevant pol'liou ofthe Delivera bles, res rving.BYTON's 1ights !o requfre Suppliel' to con·ect the
          En·o1 ~ or (iv) deem such event a malel'ial breach of this Agreement wJ ·cb cannot be cured, immediately terminate this
          Agreement in accordru ce with Section 9.2 ("Breach and Ter·mination~), and Supplier shall refund any fees that have
          been pa id (for any 11oncomplia11t Deli vera bles) unde1· the Statement of Work in Questi on For [hi s pa rticular item.

          S.OLICEN E RA T A D                    TRICTIONS

          5. 1 Supplier's License Gmnts and Restrictions..

              a. Background Technology Llcense. Supp lier· hereby grants to BYTO'N, a royally-free, fi.11ly paid up. non-
                 exclusive, perperual, irrevocable Olld worldwide license under Supplier's lnlellecblal Property Rights Lo, in any
                 fashion BYTON may choose (incJ udi11g, but not limited to, community source aucl/or open source licensing),
                 (i) use, reproduce, modify, prepare Derivative MaUer of, compile, publicly perf<l ml, publicly display,
                 demons U'Rte, Backgrow)d Technology and Derivative Malter thereof (lncl~1di ng iu Source Code or object code
                 fo rm) on any media or via any electronic or other method now known or later discovered; (i i) make, have
                 made, use, sell, offer to sell, impo11 and o1herwise el(p]oit lhe Background Technology and Derivative MaUer
                 thereof (including in Source Code or object code form) in any manner and on nny media or via any electronic
                 or other method now known o1· later discovered; (iii) disclose, distribute and otherwise exploit the Background
                 Technology and Derivative Marter .<l nd (lv) su blicense the foregoing rights to third parties through multiple
                 tiers of sub Iicensees or other licensing mechanisms at BYTON's option for Background Technology and
                 Deli vative Mal:te4'S necessary for the ProjecL

             b. Thi1'd Pal'ty Licenses. SUpplier shall not incorporate any third-party materials, i.nf01mation or intellectual
                prope1ty, including without limitation, any open source so fl. ware (Source Code or object code fom1) made
                   generally available to the public under opetl source licenses (collectively, "Third Party Materials"} into any of
                   the Delivembles unless Supplier has obtained fo r BYTO license li ghts consistent with the rights mentioned
                   under Section 5.1(a) herein. S~1pp lier shllll identify and disclose to B YTON, all Third Pa.ty Materials to be
                   incorporated into the Deliverables, pl'io1· to doi ng so, and the Parties shall discuss the same if n ~ n ry.

         S.2 BYTON's License Grant and Reslricl ions.


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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                 EDG-0035535



                                                                                                                                              3-005
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               a. kicense Grnllt. Subject to th terms nnd conditions of this Agreement OYTON gmnts upp lier a pei'Sonal,
                  non-exclusive, non-tra nsferdb le, limi ted Iicense to internally usc the Foreground Technology and prepare and
                  use Deriva li ve MaUer thereo f~ solely for the purpose of performing maintenance and support services to
                  BYTON in accordance with the terms of this Agreement.

               b. Restrictions. Suppl ier sha ll have no l'ighl to u:::e the Foreground Teclmology for productive or commercial
                  uses. Slipplier may nol sell rent, loan or othe1wise encumber o1· transfur tho Foregrou nd Technology, in whole
                  or in part, to any third party. No right, title or interest in or to any trademark, service mark, logo or trade name
                  of B YTO or i1s SupplieJ'S is granted under thjs Agreemenl.

          6.0 WNlW.SID"P AND PR PRfETA RY NOTICR

          6.1 Background Toclmolog:x. Suppl ier asserts that Supplier and/or Suppli er's suppfie1'S own lhe 'Aackgtound
          Teclmology nnd as.'>ociatecl Tntellectual Prope11y Rights or owns the proper non-exclusive licenses. BYTON agrees
          that, ~o the extent Supp lier owns the Background Technology and associated .lntellectua l Property Rights, SuppJjer will
          1-etain such ownership. Except us expressly stated in th is Agreement, nothing her-ein shall be deemed n transfer or
          license by BYTON of any lntellcclual Prope1ty Rights Lhal BYTON may now possess or acquire in th.e future wll ich
          may cover any aspect of th Deliverables.

          6.2 Dcli vernbles~ .Foreground Teclulology.

          a.   Foreground Technology~ Deliverables. BYTON reta ins nil right, !itJe and interest in and to: (i) the: BYTON
               Products; (i i) Del lverables except to the extent such Deliverablcs constitutes Background Tedmology; and (iii)
               foreground Techno logy.

          b.   Assigrunent of Rights. Subject to Supplier's underlying Intellectual P1'0pe11y Rights in the Background
               Technology ond in exchange for the fees set forth in section 4 of SOW, Supplier shall and does hea-eby assign to
               BYTO , Supplier's cn[ire ti ght, title and interest in and to the Deli verables created fo1· BYTON, the Foreground
               Technology, and all associated Intellectual Prope.11y Rights therein. The Parties hereby agree that all development
               worl· IJelformed by Supplier hereLmder shall be deemed works mude for hire. Before any employee or contractor
               of Supplier ("Persotmel") perfonns devel opment work hereunder, such PersonHel and Supplier must enter into a
               written agreement expressly for the benefit ofBYTON and containing provisjoos substantially equivalent to d1is
               Section 6.2 (•De li verobles; Foreground Technology•) and Section 10 ("Cotlfidcntiallnformntion") or ente1· into an
               agreement as close as l eg~ lly possible lo it under the laws of tbe cou ntry in which task is performed. Supplier (i)
               may only use the Foreground Teclmology in accordance with ection 5.2 (''B YTON's License GrruJt and
               Restrictions"), and (ii) agrees not to challenge the validity of OYTON'. ownership in the Foreground Technology.
               ln addition, BYTON shall own ali Derivative Matter and a~ociated Tnteliectual Property Rights. BYTON may
               register tho copyri ght in tbe Deliverables ~nd Foreground Technology in its own name, identifying Supplier's
               interest in the Background Technology as a-cquired by appl icable Copyrigh t Office mles and regulations.

         c.    QQQperatjQn in Perfecti.og Rights. Supplier agree~ to cooperate with BYTON and cause Supplier's employees to
               cooperate with BYTON and to perfot·m al l acts, at 8 YTON's request on reasonable notice, as 1'Cas011ably
               11ecesssry to faci litate the preparation, filing, prosecution and enforcement oflhe fntellectual Properly Rights
               associated with the Deliverables and Foreground Techno logy. Tn addition, Supplier shall, upon B YTON's requesL
               and at BYTON's oosls, enter into any assignments, waivers or licenses of the Del ivernbles, Foreground
               Technology or the Intellectual Pl'ope•'LY Rights related lo any of the fo regoi11g as BYTON deems necessary and
               appropriate. 111 the event that BYTON is tmable for any reason to secm-e Supplie1Js signature to any document
               required to apply for or execute any patent, copyright, trademark l'egis!rali on or other appli~ li on with respect to
               the Dclivem bl es and Foregrmmd Teclmology, Supplier he.reby inevocllbly designates and appoints BYTON :Jnd
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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                   EDG-0035536



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               its du ly authorized officers and agents as Supplier's agents and attorneys-in-fact to act for and on Supplier's behalf
               and instead of Suppl ier, to execute and fi le any such app lica tion and o cto all other lawfully permi rted acts 10
               further tl e prooecl.ltion and issuunce of patents, copyrights, tradema rks or other rights thereon wit11 the s<tme legal
               force and effect as if executed by upplier.

          6.3 Moral Rights. uppUer agrees that with re.~pecl to any umora ln or equi valent right.~ (including, without limitation,
          rights of attribution, integtity, disclosure, and withdrawal) Supplier hereby: (i) assigns such rights to BYTON as
          desc1i bed above, (i i) waives such rights and (iii) agrees and covcmlllts never to assert, either dming or following the
          term of this Agreement, such rights or to iJ)Stitute r maintain any action against BYTON relative to any such righl'> in
          the Foreground Techno logy or Derivative Mater. To the extent that such rights cannot be assigned or waived by
          operation of law, S pplier grru1ts to BYTON, a royalty~frec fully paid-up, perpetua l, irrevocable and worldwide
          license to fu lly exercise nil suclnigbts, with rights to sublicense through multi ple levels of sublicensees and further,
          Suppliea· conse11ls to DYTON's use sufficient to allow BYTON to exercise the rights grantoo in th1s Agreement.

          7.0 PAY       m   TS, INSURAN E AND A           OUNTING

          7. 1 Pees. BYTON shall pay uppli er the fees set forth in Section 4 in SOW accordance with the schedule aod
          requirements set fo1t h therein a11d, In the ~se of fees due in connection with the Del iverables, upo11 acceptance of
          Deliverable by B YTON in acc()rdance with Section 4.2 ("Acceptance Procedure"). Fol lowing such acceptance,
          Suppl ier shall provide a co1reet invoice to BYTO >and such invoice will be due, in Eum, within citller sixty (60) days
          following .B YTON's receipt of such invoice. 8 YTON sent per the agreed payment schedule highlighted h1 the
          Statement Work to this Agreement

          7.2 Taxes. A II prices quoted by Supplier are exclusive of any taxes. Supplier shall include on its invoices the actllal
          taxes payabl e for the services provided to BYTON. However, Suppl ier shall pay all taxes, levies or duties associated
          with fees and royalties payable by DY'TON hereunder, whether based on gross l'evenue or otherwise; and any busifless,
          ace pationaJ or simi lar taxes re lating to its genem l business activities. Supplier sha ll also be responsible for all
          employer reJnted taxes relaliog toi ls Personnel including employee taxes, workers C<Jm pensation, and unemployment
          u'ISutance.

          7.3 1nsurance. S ppl ier will be insured pu rsuant to lows in Germany and provide a cop)' of the certificate of insurance
          and viii maintain such insurance for the time of the Agreement.

          8.0 MAINTEN"         CR   N'O SUJ>PORT ER' C

          8. 1 Supplier shall provide lo BYTON the maintenance and support services, as set forth in a Statement of WoJ'k, or if
          thereafter subsequently requested by BYTON as subsequently, mutually agreect by the parties.

          9.0 TERM AND TER             ATIO

          9.1 Thfm of Agreement The tenn of this Agreement begins on the Effective Date aud continues for a period of seven
          (7) years (but ln no event ~ rl i er than the expi ration or earlier termination ofthe last Statement of Work. created
          hereunder), unless this Agreement is erulicr terminated sooner in accordance herewith.

          9.2 Breach aud Term ination. Tfei thet· Party fails to comply with any materia l tenn of th is Agreeme1tt, the other Pa1·ty
          may tetminate this Agreement followi ng thirty (30) days' wli Uen nolice to the breachi 11g Party specifying any such
          breach u nless, withi n the period of such notice, all breaches specified therein are remedied. If tbe breach is one which,
          by its nature, cannot be fully remedied in thi rty (30) days, the Prutics shall cooperate to prepat-c a mutually acooptable
          plan to cure the breach within such IJ1i1ty (30) day pc1iod and then pursuant to which, the breaching Party shall
                                                                    7/15                                      C_OYTON_JIDAG_ V I 0_20_ 1l!




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                     EDG-0035537



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          tm dcrtt~kcreasonable, dill gent and good ta iU1 efforts to promptly remedy the breach. lfthe Parties are unabl e to agree
          upon a plan lo remedy the breech within such thitty (30) day petiod, the non-bl'eaching Pal'ty may tcnninale th is
          Agl'eement. If, after the Parties have agreed upon a J'emedial pl an, the breachil1g Pmty fails to comply with such pl an,
          the: non-breaching Party may thereaner terminate this Agreement effective on written noti ce. Notwithstanding
          anything to the con lrary herein, BYTON may immediately termi nate lJ1is AgL-eenleot, without a Clll'e period, il' Suppl ier
          fails to comply with any of its obligations LU1der Sections 3.3 ("Delays") <J r 4.2 ("Acceptance Procedure").

          9.3 Su l>oli er's Insolvency. In the event Supplier bec<Jmes insolvent, enters into volu ntary or involuntMy bankruptcy,
          ceases to conduct business or assjgns Its i11terests in this Agreement 10 a third party credi tor, (i) BYTON mny
          immeditJtely 1erminatc this Agreement; or (ii) 13YTON mlly (a) continue to exercise the license rights gmnted to
          BYTO hereunder, and (b) reserve all lights in the Background Technology and related materials o rrotecl l3YTON's
          interests therein pUt-suant to Section 365(n) (and any amendment thereto) of the U.S. Banlo·uptcy Code, or equival nt
          legislntion in other applicable jurisdictions. 11te pa rties acknowledge that the Background Technology and
          Foreground Technology are "intellec lua l prop ny" fo r purposes of Section 365(n) of I he U.. Btmkruptcy Code and
          that B YTO:N will have the right to exercise all rights provided by Section 365(n) with respect to the Background
          Technology and Foreground Technology. ln the event that the Supplier mate.riolly breaches any provisio11 under this
          Agreement, BYTON will hove the ri gltt to requ ire the deli very by Supplier (or in the event of a til ing of bankruptcy by
          or aga in.st Suppli er. by the trustee) to BYTON of all 'Background Technology ami DeJiverables (including all
          embodiments thereof).

          9.4 I3YTON Tennina ion. .BYTO:N, at BYTON's sole option, prior to acceptance of the fina l deliverable, shall be
          permilled lo terminate thi s Agrccmcmt, a Statetnenf of Work or any part thereof, without cause upon 30 (30) days plior
          written notice to Supplier. In such an event, 13YTON shall pay l1e applicable fees through the next milestone fo llowi11g
          notice of st cb termination or as otherwise agreed bet\vcen the Parties. ff B YTON tc11ninates this Agreement o1' a
          Stalemenl of Work (in whole or in part) pursuanllo this Section 9.4, then the Pmtics shall promptly discuss what
          b'ans ition of work, if any, may occur, the plans fo r accomplishing such, and lhe proposed timetable, among other
          things ("Trnns1tion Plan"), which will include a transition period for emp loyees of th Supplier allocated for on this
          projecL Based on BYTON's plans and objectives and under considemtion or Supplier's all ocations with respect to
          this Agreen. cnt, the Parties shall cooperate and mutua lly agree on a Tra nsition Plan, whicb shnll be compl ed within
          sixty {60) days after the Parties reach agreement.

          9.5 Effect ofTeHuioation or Expiration. Neither party wil l be liable for any damages atising out of the expira1ion of
          this Agreement. TerminAtion as a result of a breach of this Agreement wi ll not affec1 any t·ight o recover damages
          sus lained by reason ofbt-each; or any payments which may be owing iu respect of this Agreement. Subject to Supplier
          making best efforts to m.itigate any costs and payment.s, Supplier is enlitled to #ill pAyments in f!ccordance witb agreed
          payment plans/fee chedule for already initiated work at t11e t.i.n e Supplier received the notice from BYTON to
          te1minate for convenience. This includes payments for costs incurred wiU1 respec.l lo subs~uent milestones (such as
          e.g. visa fees, contrnchwl obligations to emp loyees traveling abroad, testing facilities rented, etc.).

         9.6 Sury lval. Sections 1..0 ("Deful.itions"), 3.0 ("Transfer and Del ivery"), 5. 1 ("Supp li er's License Gmnts and
         Resbictions"), 5.2(b) ("Restri ctions~), 6.0 <-Ownership and Pr01)rietary Notices"). 8.0 ("Maintenance and Supp<ut
         Se1·vices"), 9.0 ("Tenn and Termination"), 10.0 ("Confident:ial lnf01mation'') 11.0 ("Wan·anties and Disclaimcl' of
         Wan·anty"), 12.0 ("lnderonification ), and 13.0 ("Mi scellaneous") of this Agreement ~hall surv ive any termination or
         expiration of Ute Agreement

         10.0    ONFIDE TIAL INFO MATION

         I 0.1 Obi igation. Excc1}t as provided in this Agreement, neiUler Party may use, reproduce, distlibute or clisclose
         Confidential fnfonnatioa it receives from the other Parly under this Agreement, wilhoul Ll1e pri or written auUtori7.ation
                                                                   8/15                                     C_IJYTON_fiVA(J_ VI0_2l}_J8




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                  EDG-0035538



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          Qf tlte disclo.~i ng Party. Each Party m 1st hol d ill confidence Confidentia l Tnformalionrtx:eived from the other Pmty
          and must protect the confidcntillllty thereof with the same degl'ee of cat-e that it exerc ises with t-especl to its own
          informati on of like importance, but in no event Je ·s U1an re.1sonable C!lre, during tho term of this Agreement and for a
          period of three (3) years after the expira!lon or earlier te11nination of th is Agreement. Neither Party shall be li able for
          c11y inndve11cn[ or nAuthotized disclosure of Confi dential lnformation, provided thm it exercises at least the standard
          of care set forth above to prevent disclosure and takes reasooo ble steps to mitigate e~ny damage and prevent further
          disc losure. F'or purposes ofthis Se<:tion, use, reproducti on, distribution or disclosure by BYl'ON ofthe Background
          Technology or "Foreground Technology thereof under a commun ity sou rce or open somce licensing mode l, pursuant to
          tbe license grunted by Supplier herein, will nCJt be a breach ofthis Agreemen

          10.2 Exceptions. Section lO.l ("Obligatlon 11 ) does not apply to any portion of the ConfidentiA l lnfo rmation which lhe
          receiviLlg Parly cm1 demonstrate:

                 a. is now, or hereafter becomes, through no act or failure to act on the part oft he receiving Party, generally
                    known in the a\ltomobite il1dustry;

                 b. was possessed by the 1'eceiving Party wi thour an obli gation of confidenti allty al the time of receiving such
                    Confidential lnlimna!ion;

                 c. is rightfully obrainecl by the receiving Pa11y without restriction on disclostll'e; or

                 d. is i11dependently developed by the receiving Party not in bt-ench of this Agreement.

          l 0.3 Emplovee Acces~. Bach Party must innmn its employees and contractors having access to the other Party's
          Confide11tial Tnformation ofresu::ictions under this Ag~-eeme111 and shall contractually require such contractors to
          comply with the l'eq uirements of this Section lO.O ("Confidential Informati on") and Secti on 6.0 ("Ownership and
          Proprieta ry Notices").

           I0.4 kegal!y Compelled Disclosure. 1n the event that eithet· Party is requested or becomes legally compelled
          (i ncluding without limitation, pursuant to securities laws and regulations) to disclose the existence or any ofthe tenns
          of this Agreemenl, in contravention ofthe provisions of this Secti on 10, such Party (the "Disclosing Party") sball
          provide the oilier Party (the "Non-Disclosing Party") with prompt written notice of that fuct before such disclosure and
          will use reasonable efforts to fully cooperate with the Not;-Disclosing Party to seck a protective order, confidential
          treatment, or other appJ·opriate remedy with respect lo the disclosure. In the case of disclosure in col\nccti on with rule.>
          orr gulations of any entity reguJating securities(" •C"), if corrfidetrti<~ l trea tment is requested by the Non-Disclosi ng
          Party, the Disclosing Party agrees to usc reasonable efforts to file such a request on the Non-Disclosing Party's behalf
          and to res pond to any SEC comment top rsuc assurance 1ha1 canfidentinl trealment wi ll be granlro, in both cases
          fu ll y infom1ing the Non-Disclosing Party of any such comments and cooperating with the reasonable requests of the
          Non-D[sclosing Pm1y.

          l 0.5 !ndependent Dcvelol!illMt Each Pa11:y underslands that the other Party may develop 01· receive infurmation
          similar to the Confidential lnfollnati on. Subject to oopyrights and patent rights of each Party, (i) either Pal'ty may
          develop o1·acquire technology or products, fo1· itself or others, thaLm·e similar to or competitive witb the teclmology or
          products ofthe disclosing Party, and (ii) each Party is free to use and disclose lnformation which m.ay be retained in
          the unaided memory or [he receiving Party's empi(Jyees or contractors who have had access to the Confidential
          In formation of the other Party disclosed hereunder.

          10.6   Publjcj t~ .   Neither Party shall disclose the ex istence Ol'lhe te1,ns and conditions of this Agreement to any third
          Party, except as mny be required (i) to implement or enfor'Ce the te11ns of thi s Agreement; or (ii ) by a'' exis ting or
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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                      EDG-0035539


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          potential invc.;1or, aettui ring compa11y, bank or oU1e1· -financial instituti o11, under appropriate non-disclo:sure tenus in
          com-.ec ion wi th a merger, ncqtlisition, fi nancing, loon agreement or simil<tr corporate trans.1cti on. Stipplie.r shtlll not,
          without fi rsl obtaining the prior wrillen consent ofBYTON, a11nounoe this Agreement O nce the written c<msent is
          obtai ned, Supplier may mention 13YTON publicly as rererence.

          11.0 W ARRA · TlES AND DlS LAIMER OF WARRANT¥

          l J . I Ownership. Supplier represents and wa rra nts that (i) the Background Teclmo logy, Foreground Technology and
          Deliverables will not infringe or misappropriate any lntellech.raJ .Properly Rigltts ortTudemarks of any third Porty; (ii)
          Supplie.· has the right and power to enter into this Agreement and grant the assignment nod d1e licenses set forth
          herein; (Hi) d1e Del iverables will be ree from defects in design, matel'i ol and work.rnanshi[.> and in accordance with the
          Sp ci ficatioos agreed upon by the pa rties; (iv) the Deliverables will conform to nil npplicable laws of the Uni ed
          Stutes, European Union, 111'11.1 China, including tho.e applicable to the design and engineering ofvcbiclcs in such
          countl'ie!> and reglons to achieve homo logotion; (v) and all seJ·vlces J>rovided will be provided i 11 a professional and
          workman like manner, using qua lifi ed personnel with al>propriate training, education nnd experience to perfo rm the
          services as required hereunder.

          J1.2 Confonmmcc. Suppl ier represents and wananls that following the date of acceptance, the Background
           echnology, Fore ·ound Technology and De! ivernbles will c.ontinue to confonn lo the Acx:eptnnce Requirements
          without degradation.

          11.3 Virus. Sup[>lier represents and warrants hat tbe Background TechHology, Foreground Techno logy ar)d
          Deli verables ar1d associated media c011tain no computer instructions designed to (i) disrupt, damage or interfore wiU1
          use of ('..Omputer or telecommunications equ ipment or fucillti es, or (ii) disrupt or corTupt the use, operati on or results of
          any computer program to the (technical) extent it can be reasonably ex pected.

           I I .4 Add jt jona! Rcmcd jcs. l.n the event of a material breach by Supplier of any representation or wammly herein,
          BY ON shall have, in addition to Mel without limitation of any otbcr right or remedy availa ble to BYTON at law or in
          equi1y, the tight, in B'Y'TON's sole discretion, to take a y and all actions rea onably necessruy to mitigate BYrON's
          damages and/or any damages tol:JYTON's customers arising from such breach, incl uding but not limited to: (i)
          modifying any form of the Background Technology, Foreground Tech nology and Delivembles; { ii) r qui ring Supplier
          to fix any necessary form of lhe Background Technology, Foreground Technology and Del iverables; (iii) contracting
          with others to modify aJ'Y necessary form oftlle Background Technology, Foreground Technology and Del.i verables;
          and (iv) distributi ng to BYTON's customers any such modification, up to an amount eq11 al to gre<1ter of: a.
          EUR15,000,000.00; or b. amounts payable mtcler insurance c.overage available to Supplier. Aoy adctitioual insurance
          requests by B YTON will be charged to BYTO . This includes BYTO                  right to charge lo Supplier and Suppli er
          shal l be obligated to pay to BYTON all direct costs and expenses, excluding legal fees of any kind, incurred by
          B YTON in onnection with any such rnitigatio efforts.

          I I .5 Disclaimer. EXCEPT AS PROVIDED IN THIS AGREEMENT, ALL EXPRESS OR IMPLIED CONDmONS,
          R.EPRBSE TATlONS AND WARRANTIES JNCUJDJNG, BUT NOT LIMITED TO, ANY WARRANT.lBS OF
          DESIGN, tv.mRCHANTABILl'l Y, SA11SFACTORY QUALITY, 'Pr'nffiSS FOR A PARTICULAR PURPOSE OR
           ON -lNFRINGEMBNT , ARE DISCLAIMED, EXCEPT TO THE EXTb"NT THAT SUCH DISCLAiMERS ARE
          HELD TO BE LEGALLY lNV ALID.

          12.0 lNDEMNIF ICAT lO

          12. 1 Obligation to lndcnmi&.


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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                     EDG-0035540



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           a.     Supplier's Obligatlot1 to Indemn ify l3YTON. Suppli er will indemnify, defend and hold hannless BYTON from
                 and Rgal nst any and all elaims, dem ands. or at:ti ons (" laims"), and all liabil ities, !>""eftlements, costs, da mages and
                 fees (inc luding reasonable attorneys' fees and rosts) ("Losses'') incurred or suffered by B YTON arising Oln of any
                 Claim which arises from: (a) any gross negligent or intentional act or omiss ion of Suppliet· or its employoes,
                 agents or representatives in pro •iding the services under a Statement of Work; (b) Supplier's breach of its
                 obligations under the Agreement; (c) any Claim by or on beha lf of SUpplier Personnel and their family and
                 relati ves ga i st13YTON ari ing out of the services perfonned by Suppli er Personnel under the Agreement unless
                 they are relatod to local, ha7.ardous work conditions at a BYTON facility; (<I) a Claim rhat Background
                 Tecbnology, Foreground Tedmology or Deli verable provided by Suppli er hereunder infringes or misappropriates
                 the Intellectual Property Rights of unaffiliated third pa11y. Supplier is not responsible for background technology.
                 foregrou ttcl technology or deliverables provided by BYTON for the purpose of this Agreeme11t

          b.     ln the evoot of any rhircl person or Govern mcl1tal Body clu im ("Third Pat1y Claim"), action or sui t against
                 BYTON as to which BYTON seeks indenmi.fi cation agains t Suppli er hereutlder, and EYTON thl ls lo notify
                 Suppli er within a reasonable timeframe of the claim or ack11owledges its obl igation in writing and elects to
                 defend against, t:otnpt"'mise, or, .~cHic any Th ird Party Claim which relates to any Lo ses indemnified by !his
                 agreement witltou t seeking permission of Supplier beforehand, BY TON accepts to be solely liable for atl claims,
                 losses, eAl)enses including legal expenses regard less of actual liabi lity for this daim. Neither Party shall, without
                 the wriuen consent oflhe other parry, settle o1· compromise any Third Party Claim or consent to entry of any
                 judgment unless the claimant or claimants and such party provide to such other party an unqualified releru:e from
                 all liability in respect oft he Third Party Claim.

          12.2 Remedies. Should the Del lverables bec~me, or in 'upplier's reasonable opinion be likely to become, the subj ect
          of a cla im of infringement or misappropriation of any Jntellectual Property Rights in accorchmcc with 12. 1, Supplier
          shaU, ar its so le expense, ei ther (j) procure for BYTON (he ri ght to continue to use the Deliverables, or (ii) replace or
          modify the Delivcrablcs to make it non-infringing, provi ded that the srune functions nrc porformed by the t-eplaced 0 1·
          mod ified Deliverables.

          13.0                 p     ONJ EL

          13.1      General Requi rements for Supplier Personnel.

          a.     Supplier will manage, supervise ru1d provide direGti on to its Personnel and cause them to comply with the
                 obligtltlons and res rictions applicable to Supplier under the Agreemeut. SuppUer is responsible for the acts and
                 omissions of Personnel under or relating to euch Agreement. S upplie1· is responsible fo r validating the identi ty of
                 and ensuring that PeJ'sonneJ assigned to perfo1111 Services (i) have tl1e legal rigllt to work in the country(ies) in
                 which they are assigned o work. and (ii) be subject and conform to aU applicable BYTON policies, rules and
                 pmcedures witll respect to personal and professional conduct (mciuding the wearing of an identificatio n badge~
                 use of computer systems; and adheri ng to genera l safety, dress, beha vi or, ar d securi1y practices).

          b.     Suppli er is the employer of the Personnel and ball be responsible for all rom pensation and benefi ts payable to
                 them; Personnel are not employees of BYTON and are not entitled to any compensation or benefits which are
                 pl'o vided to its employees, including wi thout Limitation health insurance; pai d vacation; sick leave; or retirement
                 benefits. Supplier shaUalso be responsib le for complying with all tax I ws applicable to Personnel, including
                 withholding ta es fo r all compensation payable; and fot· complying with aU applicable labor and employment
                 requirements including worker's compensation insurance requiretnenrs, and immigration nnd work visa
                 requirement .

         13.2    Key Suonlier .PPsitions. "Key Supplier Positi ons" means those positions desigt1al:l!d a such in the applicable
         SOW. Supplier will cause each of the uppliet· Personnel fi lling the Key Supplier Positions to devote substantially fiJ II
         time and effot1 to the provi ·ion of the Serv ices during the period of assignment.
                                                                       11/15                                      C_ BYTON_ EDAO_ V Hl_20_ 1B




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                        EDG-0035541



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          13.3 AruJroval n.nd Remova l of Supplier P rsonnel. BYTON may approve ll ll Persotutcl ass igned to perform
          Services, and may require Supplier to replncc any Personnel whose perfo rmance, in BYTON's reasonable judgment,
          has boon unsatisfactory.

          14.0

           14.1 Force MajeLU·e. Neithel' Party hall be liable for any roil urc or delay in pcrfolm ilCe of this Agreement a. to the
          extant the failtu·e or delay is caused by fi re, flood, earthqllake or other acts of God or nature; civiI diso1·der, W<ll', 1io1s;
          or any other si milaf cause or event beyond the reasonable contm l of a J>arty; and b. provided the non-performing Party
          is without f.1ull in causing such fail ure or delay, and it rould not have been prevented by reasonable precautions or
          o1hcl' alternative means. If the foregoing fai lures or delays occur which prevent performance of a Pa11y's obligations
          under this Agreement, the alf~tcd Party shall J)l'OmptJy discuss the impact ofsudl failure or delay, the period oftime
           ·uch may c nlinuc for, llncl the l>lans for a work around solution, among other things; the affected Plll'l)' shall upciEUe
          the non...aff~t-ed Party and I eep them apprised ofthe situation. The nffected Pal'ty's obligaljons ofthe l>a1ties ::.hal l be
          suspended fur so long as the events lnell n that performance of the agreement is impossible. lfthe f<~ilureor delay
          conliJ1Ues for more than twenty (20) wo rk days, then U1e non-affected Patty may tenninate e specifie SOW un<ler this
          Agreement.

          1•1.2 everability. Tn theevenllhat any part of thjs Agreement is fouud to be unenforceable, the remainder shall
          continue in effect, to the extent permissible by law and consistent with the intent of' U1e parties as of the ffective Oat
          of this Agreement.

          14.3 Relationship ofthc Parties. This Agreement does not create a p~ rtners hlp, franchise, joint venture, agency, o1·
          fi duc iary or employment l'elati onship. Neithe1· Pa1·ty may bind the other Party by contntct or otherwise to any
          ob ligation or net in a manner which expresses or implies s rclatiOJ1Ship other than that of independent contractor.

          14.4 Governin~ Law.
          a. Disputes; Governing Law & amicable seWemeut. lfthere is a dispute between the Pruties which cannot be
               resolved through good faith negotiations, then a Party may req est escalation to discussions with sen iol'
               management of both Parties. Wi hi n five (5) days of a Party's request, a meeting or telepl one call shal l be held
               with sud! senior numagement in an attempt to resolve such dispute. Tf the Pruties carmot resolve such dispute
               within a reasonable time period, the11 the Pa11ies retain alll'ights hereu nder, including pursuing <~ rbi1ration as
               below stated. Any acti on related to this Agreement will be governed by the laws of the State of California (except
               thai body of law rontroUing confl ict flaws) an I the Ui1ited Natiolls Convention on the lntemational Sale of
               GoocL<; will not apply).

          b.     Arbitration. Any dispute between the Pru1ies that i not l'esolved through negotiation will be resolved exclusively
                 by fina l and binding arbitration cond cted in accordance wi.tll the tllen-(;urrent Comprehensive Arbitrati on Rule.~
                 & Procedures ofthe Jl1diclal Arbitration and Mediation Set'vices ("JAMS"). The arbitration will be conducted by
                 a single arbitralOI' selected by agroeme1lt of the Parties or, if the Pa•ties cannot agl'ee, an arbjtJ:ato1· appointed in
                 accordance with the JAMS ru les who shall be experienced in the type of dispute at issue. The Pa11ies.,lheir
                 representatives, tbe arbitrator, and other participants shalt keep confidential the existence, content, and result of
                 the arbitration. Any demand for ru·bitration and any counterclaim mus specify in reasonable detail the facts and
                 lcgt~l grounds fo rming the basis for the claimant's claims cmd include a statement of the total amount ofdamagos
                 claimed, if any, and any other remedy sought by the clai1nant. The a1·bitration will be ronductcd in the English
                 language; the location of such arbitJ"ation shall be in Sru Francisco, Califomia. Each Party wil l bear its own cosls
                 in the arbitration, The arbitratot·will have rull power and au tho1i ty to determine issues ofarbitrability and lo
                 interpret or construe the provisions of the agl'cement documents and to fashion appropriate reme<lies (includ ing
                 temporary. preli1ninary, interim, or penn anent i1ljunctive l'elief); provided Ihal the arbitnttor will not have any
                 right or autholily: (I) in excess of tbe authority that a coUJt having jurisdicllon over tho Parties and tbe dispute
                 would have absent thi s arbitration agreement; (2) to award damages in excess ofthe types and. limitation of
                                                                       12/15                                       C_I:IYTON_EDAO_VI0_20_1 8




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                       EDG-0035542



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               damages found in the Agreement; or (3} to mod ifY the ter111s of this Agreement. The arbin·ator shaiJ issue an
               award w ithin 30 days all cr completion of the hearing 11.1\d any post·llearing briefing. The award must be in wl'il-lng
               and must state the l'cason.ing on which the award is based. Judgment upon he award rnay be entered in any cmut
               of compet-ent ju tisdiction. N twithstan<.ling the agreement to arbi trate, each P::trty may appl y a! any ti me to a court
               of com petent jurisdiction fot· approp!'latc inj unctive rel ief or for other i11terlm or conservatory measures, and by
               doi ng so will not breach or waive the agreement to arbitr1.1te or im pair the powers of the arbitrator.

          l4.5lm port and Exoort Laws. The Backgrou nd Technology, Foreground Technology and Dclivcrabl cs, includ ing
          without limitation, technical data, may be subject Lo U.S. export controls or to expoti or import reglllatious of other
          count1'ies. T he Parties agJ'ee to comply with all such regulations and acknowledge that fh<:y have the l'esponsib11ity to
          obtain such licenses to expor1, re-expott or import !he Backgl'ound Technology, Foregt·ound Techno logy and
          Deli verables as may be required.

          14.6 Noti ces. A ll notices requ ired he reundet mus l be in writing, sent to the Party's ad<l ress et forth below and receipt
          must be confirmed . Notices required with respect to Sections 9.0 (MTenn and Termination") and 12.0
          ("Jndcmnification") must be provided by express cotuiet·.

          BYTON:

          BY ON No1·tll America Corporation
          4201 BUI1on D ive
           anta Clal'a, California, 95054

          Attn: General Counsel

          Suppliez·:
          Supplier's Name:       IZJJAG Engi neeri ng G111bH
          Supplier's A ddrcs :   Kreuzberger Ring 40
                                 65205 Wicsbaden
                                 Gertr~ any




          14.7 No Exclusive Remedy. Unless specificolly designated, nothing in this Agreement sha ll be construe<i as an
          exclusive remedy.

          l 4.8 Counterparts. This Agreement may be executed in counterparts, each of which will b deemed an original, and
          aU of which will constitute one agreement.

          14.9 Constt'uction; Order ofP recedence.. This Agreement h"s been negotiated by the pmties and theu· respective
          counseL This Agreement will be interpreted without any strict constmction in favor of or against either Pat'ty. The
          originill ofthis Agreement has been written in Bng)isb, and such version shall be the governing version of the
          Agreement. To the extent pennitted under applicable law, Supplier waives any right il may have, if any, undet· any law
          or regulation to have this Agreement written ifi a language other than English. 1n the event of a conflict between this
          Agreement and any other document that references this Agrccmertt, the order of prcct:dencc shaH be: (i) the most
          twenl written docume t signed by the Parti es amending the ubject Statement of Work; (il) the Sta tement of Work;
          (iii) any other exhi bi ts or attachments to, o1· documents l'eferenced by the State ne t ofWot"k; and (iv) this Agreement.

          14.1 0 Amendment and Waiver. Unless otherw ise provided here in, this Agreement may not be modified unless in
          Wl'i Ling and signed by an authorized representative of each Pa11y. Any express waiver or failure to exercise promp ly
          any right under this Agreement \Ni l I not crea te~ conlinui11g waiver or any expectati on of non-enfotcement
                                                                    13/]5                                      C_ BY'l"O!•l_I:DAG_ V l0_20_l S




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                         EDG-0035543



                                                                                                                                                      3-013
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           14.1 1 Assignment. Neither Pllrty m!ly assign or othe1wise transfer<my of its rights () I' obligations under th is
           Agreemenl (whether by opemtion o r la w merger, change of con1rol, or otherwise), without the prior wri ttc:n consent of
           the othe1· Purty, (i) to an Affil inte, or (ii) in the event of 11 merger, acquisition or sale of II or sulk'>lantially ft tl of the
           assets of n PtH1)' 0 1· a busi ness unit. Any assigJmlenl or transfer in breach of this Section shall be void.

           14.12 No "R ights in Tllit-d Pa rties. 'n1is Agreement is made fo r the benefi t of !he Parties 1uld not fur the benefi t of any
           third party.

          14. J3 Entire Agl'eemenL This Agreement, jnclucli1lg all Attoehments hereto, const ilutes the Parties' entire agreement
          with respect to its subjecl mn.tter, and super edes and replaces all prior m· contemporaneous undcrstnndings or
          agreements, wrilLen or om I, regarding such subject maHer. No t ·ms in any Suppl ier or BYTON documents (iuclud ing
          purchase order'!>, acknowleclgrnents, em11 ils, or documents incorporated by reference (including bulnot limited to
          P..DAG 's or BYTON's General Terms and Condifjons) which vary from, ~1dd to, mooify or el iminate !lilYterms he1't:in,
          arc exr>ressly rejected and are not part ofthis Agreement or any Sta tement of Work.

                  lN WITNESS '''HEIUJOF, the Pm1ics have caused this Agreement to be signed hy their duly nuthorizcd
          represcnto!"i ves.

                                                                                 ED G ,ngiuceriu •GmbH


                                                                                 By:


                                                                                 Name:
                                                                                                          (prr11!)

          Title:   \IP/c l-b€f v'r=HtCLE EN(i.t.NE~                              Tille:    C   ~0
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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                           EDG-0035544



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                                                                         AITACH MENT 1
                                                              STAT EMENTOF'WORJ< No.1
             l) lntt'Oduction. This Statement of Work ("SOW") i issued under the echno logy Development and Licem;e
                Agreement by and between BYTON and Sup1>lier. The term oftltis SOW shaH be li'Om June 1"\ 2017 ("SOW
                Effective Date"} until term inated by ei ther Party pursuant to secti on 9.0 of this Agreement

             2) Scope and nnture of development work to be performed.

                         o       EDAG_t9 1610DOOO_Projcct Descriplion l'MC_SAV_CTC-PS (ExhibiLA)
                         o       RFQ for CTC Goteway to SOJ~ plus 90 clays (Exhi bi t B)
                         o       Tim ing Ovel'v iew for RFQ 20170706 (Exhibit C)
                         o       FPDP_Oflle_Deliverables_Full_Checl·list 20 17070 1 (Exhi bit D)

             3) Description ofDelivcra bles.

                         a       EDAG_ l96lODOOO_Froj ect Description_.BYTON_SAV_CTC-PS
                                 RFQ for CT Gateway to SOP pl us 90 days
                         o       Timing Overview fot· RFQ 201 70706
                         o       FPDP_Gate_Dell vembles_FuJ I_ Checklist 2017070 I

             4) Development fees and Charges.

                         o       Per page 74 oft'he 196100000 Project Descrlp!lon
                         •       ·n'flve l will be. bifled atcost+6%

             5} Schedule for Development and Deliverabl e.'!. upplier· sball perfo rm tJ1e following development work and
                deliver the fol lowing del iver'ables by the dates set forth below.

                         •       Pe•· EDAG_ I96 IODOOO_Proj ec Description_BYTON_SAV_CTC-PS
                         •       Penh e following PO's agt•ee d to by the Parties:


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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                                               EDG-0035545



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                6) AcccP.tanco Cri Leria and Acceptance Test Plan for the Foregrouud Technology and Del ivclilblcs.

                            o   As agreed between the parties   u1 the Proposa l or otherwise as agreed in writing,
          BYTON       ORTH AMF.UlCA C RPORA TlON                             EDAG         ngiu celing Gmbll


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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                     EDG-0035546



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                   EXHIBIT A



                                                                       3-017
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                                                                                 ~•EDAG
                                                                                 -


FMC SAV Project- Engineering work CTC to PS
Project Description                                                              1916100000




Fulda, October 2, 2017


                                                                                          3-018
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Revision table
                                                                                              --•EDAG
       Proposal                                    Description                                     Date
      Revision No.
     191610AOOO      First Release                                                               31.07.2017
 1   191610BOOO      Section 4 'Cost Breakdown & Capacity Planning' updated after review of      18.08.2017
                     initial proposal with FMC Purchasing
 2   191610COOO         Section 4 'Cost Breakdown & Capacity Planning' updated after second      15.09.2017
                        review with FMC Supply Chain
                        Text on page 11 modified
 3   1916100000      - Section 4 'Cost Breakdown & Capacity Planning' updated after 3rd review   02.10.2017
                     with FMC




                                                                                                              3-019
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Content                                                                               --
                                                                                      - •EDAG




 II   Preamble and Executive Summary
      Work included & excluded, RASI, Timing, Supplier levels


I
      Project Description, General Assumptions, RASIC,
      Timing



B
      Statement of work, Organization, Deliverables,
      Assumptions



 II
      Cost Breakdown & Capacity Planning




                                                                                                3-020
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Preamble
                                                                                            --•EDAG
• This Proposal of the FMC SAV Engineering project form CTC toPS is based on EDAG's current work in the
  feasibility and concept phase until CTC.
• It takes considerations reflected in the RFQ received July 10, 2017 into the response, especially where
  additional management activities are requested for which FMC may not have own resources yet in place, e.g.
  vehicle architecture.
• In the course of this proposal EDAG will identify which of the required tasks EDAG will do in house and which
  tasks EDAG sees to be performed at the system/component supply base.
• It is understood that FMC will staff according to the needs of such program within the realm of its
  responsibilities. EDAG will identify in the course of this proposal which responsibilities it sees with the FMC
  organization. In case such responsibilities cannot be performed by FMC due to lack of own resources, EDAG
  expects that FMC will inform EDAG ahead of time of such problem. EDAG will investigate if it can support with
  resources, e.g. supplier quality engineering/assurance.
• In the course of this proposal EDAG will make assumptions based on the information at hand up to the
  submission of the proposal. Such assumptions are subject to change when more detailed information
  becomes available to EDAG which further defines the project requirements set forth by FMC.
• The program development logic follows the high level PDP submitted by FMC with the RFQ on July 10, 2017.
• EDAG is making assumptions on the level of supplier integration into this program. The specific sections will
  highlight such assumptions. These integration levels are subject to change by either a proposal from EDAG or
  a request from FMC. At request from FMC, EDAG would require an analysis first about inhouse capabilities
  before committing to a change in supplier level to build to print. In the other case, EDAG would propose a
  change to a full service supplier if the overall quality would be increased for the affected component and is
  achievable in the allotted timeframe. In such case EDAG would reduce its cost for the allocated amount.




                                                                                                            3-021
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Preamble
                                                                                              --•EDAG
• The cost for the specific development efforts required by the system/component suppliers are not quoted by
  EDAG in this proposal.
• However, full vehicle integration planning remains the responsibility of EDAG. EDAG will integrate the
  system/component suppliers in such a way that the overall program targets will be achieved.
• EDAG will plan its resources in such a way that engineering and administrative support is present in all
  requested location FMC is asking for in the RFQ from July 10, 2017.
• The cost for all physical testing is not considered in this proposal. However, EDAG will include test &
  validation resources to manage prototypes, testing activities, reports and convergence support.
• The cost for all mules and prototype builds is not considered in this proposal. However, build coordinators
  assisting in the availability of components, build issue capturing and resolution, reports and convergence
  support will be included in the proposal.
• The rate structure reflects a mix of EU, US and China resources.




                                                                                                             3-022
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Executive Summary - High level work scope
                                                                                               --•EDAG
• This proposal describes the scope of work and the related cost for the content EDAG can provide to the
  development and the industrialization of the FMC SAV EC001 under consideration of a platform also suitable
  for a Sedan and an MPV.


• EDAG's scope of work is concentrating on:
   • Project Management of all EDAG content
   • Development of Engineering Specifications and support for FMC purchasing support for supplier RFQ
     and SOR
   • Selection Recommendations for Prototype and Production Suppliers
   • Evaluation of system and component suppliers
   • Engineering, Design and Development of the vehicle systems in conjunction with system suppliers based
     on the Vehicle Systems Matrix and the Engineering Task Matrix enclosed in this proposal:
          • Body Structure
          • Closures
          • Exterior & Lighting
          • Interior & Seats
          • Passive Safety systems
    •   Technical supplier Integration & Management for prototype and production suppliers
    •   Vehicle integration activities including DV and PV Test Planning for the responsible systems
    •   Design Quality, FMEAs, Target deployment for the responsible areas
    •   Feasibility for all joining methods, stampings, plastic components under build-to-print classification
    •   Component feasibility until production supplier takes over this work, estimated at Prototype Release




                                                                                                                 3-023
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Executive Summary - Not included work
                                                                                           --•EDAG
• Not in EDAG's scope for the purpose of this proposal are:
    • Development of Chassis, Powertrain, Electric/Electronic (HV, LV), Functional Safety, Autonomous Driving
       and UI/UX
    • Mule builds, DV and PV prototype build, this is with FMC
    • Component testing, this is with the suppliers
    • Full vehicle testing, this is with FMC
    • Sourcing of system and component suppliers, this is with FMC
    • Supplier quality engineering, this is with FMC. EDAG can support this activity if requested.
    • Industrialization for body shop, paint, general assembly, factory planning, quality and logistics is with
       FMC. EDAG can quote for this content if requested in a separate proposal.
    • Design and build of production equipment, this is with the line builders sourced by FMC later in the
       program. EDAG can quote for supporting this scope in a separate proposal.




                                                                                                          3-024
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Executive Summary- High level RASIC
                                                                                                                               --•EDAG
                                                Task                                              EDAG   ESS2   FMC    Supplier
     Overall Program Management                                                                    s      s      R        s
                                     Supplier Selection & Cost definition                          s      s      R        s
     Supplier Strategy & Integration Supplier Management                                           R*     R*    R*,A      I
                                     Supplier Process Check & Evaluation                           R*     R*    AS        I
                                     Styling, Renderings, DNA                                      s             R        s
                                     Surfacing                                                     s             R        s
                 Styling             Studio Engineering                                            s      s      R        s
                                     Packaging & Ergonomics                                        R      s      A        s
                                     Clay Modelling, Hard models                                    I            R        I
                                     Concept Design                                                R*     R*    R*,A     R**
                                     Attribute Management                                          R*     R*    R*,A      I
                                     Detail Design                                                 R*     R*    R*,A     R**
        Engineering & Design
                                     Component & System Specifications                             R*     R*    R*,A     R**
                                     Vehicle Specifications                                        s      s      R        s
                                     Design Quality                                                R*     R*     R*      R**
                                     Mule builds                                                    I     R       I       s
         Mules & Prototypes          Prototype Builds (DV)                                         s      s      R        s
                                     Prototype Builds (PV)                                         s      s      R        s
                                     System/Components                                             R*     R*     R*      R**
             Test planning           Full vehicle                                                  s      R      A        s
                                     Passive Safety                                                R      s      A       R**
                                     Full Vehicle DVP&R                                            s      R      s        s
                                     System DVP&R                                                  R*     R*    R*       R**
                                     Component DVP&R                                               s      s      s        R
         Testing & Validation        System/Component Testing                                      s      s      s        R
                                     Full vehicle Testing, Durability, Hot/Cold Weather Testing    s      s     R         s
                                     Passive Safety Testing                                        s      s     R         s
                                     Autonomous Functions, Active Safety                           s      s     R         s
                                     Component Feasibility                                         R*     R*    R*       R**
                                     Process Engineering Bodyshop                                               R
                                     Process Engineering Paint                                                  R
      Manufacturing Engineering
                                     Process Engineering G/ Assembly                                            R
                                     Process Engineering Logistics                                              R
                                     Production Quality                                                         R

    R* =Responsible for the assigned systems
    R** =Responsible when Supplier level 2, 3




                                                                                                                                         3-025
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Executive Summary- Supplier level definition, Detailed RASI
                                                                                                        --•EDAG
• The following detailed RASI Charts are included in the proposal:



• System RASI by Supplier level                                 • Deliverables RASI by Engineering Task
    • A supplier integration level is applied to each                • Defines the engineering tasks to the supplier
      system/component                                                 integration level

    • Defines the design responsibility and links it to
      the integration cadence of the vehicle




                     System RASI                                                    Engineering Task
                                                                                          RASI


• Definition Supplier Integration Level
        Level1: EDAG has full responsibility for the Engineering of the parts. Suppliers manufacture parts
        according to specifications (" Build to print")
        Level 2: Supplier has full responsibility for the engineering and the manufacturing of components. EDAG
        integrates components into subsystems and the subsystems into the vehicle
        Level 3: Supplier has full responsibility for the engineering and the manufacturing of subsystems including
        the integration of components into the subsystems. EDAG integrates subsystems into the vehicle .

•

                                                                                                                      3-026
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Executive Summary - Timing
                                                                                                                                                                                                                                                                                                                                --•EDAG
• Timing Plan in the RFQ from 10.07.2017 with the major milestones NDRC, VP and SOP


                                                                                                                      I       Tod ay
                                                                                                                          S'" July 2017
                                                                                                                                                              II              N DRC Prototypes Del ivered
                                                                                                                                                                                     1st Ju ly 20 18
                                                                                                                                                                                                                                                                       I            V Ps fo r Homo logation
                                                                                                                                                                                                                                                                                   Task to bring forwa rd t o
                                                                                                                                                                                                                                                                                      Ap r il o r May 2019

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• The timing will be evolved further to a detail level in the various POT/SETs for each system under
  consideration of the major master timing milestones. See the corresponding section within this proposal.




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Executive Summary - Timing
                                                                                            --•EDAG
• The FMC Master Timing contains considerable risk. EDAG will support FMC and its suppliers in a
  consolidated effort to mitigate such risks. The trade-offs which may have to be considered will be supported
  by all parties after such decisions have been made.
• Out of todays assessment the major risks are:
   • Not enough validation timing for NDRC prototypes. Potentially not fully tested vehicles will be handed to
      NDRC for testing to achieve the needed license. EDAG will make a proposal of how to mitigate this risk.
   • The program relies heavily on good simulation correlation to the material which will ultimately be used in
      production. This material will mostly be procured in China. To achieve good correlation, material cards
      reflecting the intended materials should be established. EDAG will create such material cards upon the
      direction of FMC. The specific cost for this are not quoted with this proposal and can be quickly added as
      soon as FMC advises so. Samples of such materials can be solicited from the material manufacturers.
   • Production tooling lead times are shorter than typical to achieve premium quality targets and the
      scheduled SOP. This risk will also be tracked very closely in an ongoing fashion and may require a
      quality driven start up process.
   • The ADAS and UI/UX systems are behind in their development. Any changes to the release schedule of
      EDAG parts or any expedited effort to mitigate the effect or catch up to the schedule which requires
      unforeseen resources at EDAG will be quoted utilizing the FMC proposed change management process.




                                                                                                            3-028
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 Executive Summary- FMC Interaction
                                                                                                 --•EDAG
                                                         Virtual Project House

FMC                         FMC            EDAG Liaison Team           E DAG    Project team Germany/US/China
Vehicle Line




FMC
Line Organisation
                                               Technical Reviews
                                               Supplier Reviews
                                                                                                 Nanjing
                                               Feasibility, SET                                       ME Center




                                                                            System & Parts     Sup~liers
                                                                                                  r!--------.
                                                                         lnstr. Pnl.   Restraints     Seats

                                                                           Lamps           Latches         Mirrors




                                                                                                                     3-029
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            Executive Summary - Locations
                                                                                                                   --•EDAG
                                                                                      EDAG Team Nanjing
                 EDAG Team Germany                                                       Daily interface to FMC ME
                    Project Co-Leadership                                                Coordination of ME requirements
                    Main CAD resources to PR                                             Main CAD resources after PR/FC until SOP
                    Styling convergence                                                  Coordination with EDAG Project Leadership
     "'~/'__.;-~ -  Main ME resources                                                    Coordination of Communication to FMC/EDAG
---~_,..-           Coordination of international Activities
                                                                                                              J




                                                    EDAG Team Troy
                                                       CAE Support
                                                       Engineering/CAD support Body
                                                       Vehicle Integration Support            I




                                                                                (
               EDAG Team Santa Clara
                  Project Leadership                                                  EDAG Team Shanghai
                  VI Lead                                                                CAD support
                  Daily interface to FMC Engineering Leadership                          ME support
                  Supplier coordination together with FMC                                Coordination with EDAG Project Leadership
                  Coordination with EDAG Project locations & teams




                                                                                                                                     3-030
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Content                                                                              --
                                                                                     - •EDAG




 II   Preamble and Executive Summary




I
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      Timing



B
      Statement of work, Organization, Deliverables,
      Assumptions



 II
      Cost Breakdown & Capacity Planning




                                                                                               3-031
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Project Description
                                                                                                --•EDAG
•    Building on the results of the project achieved at the CTC gate on July 27, 2017 the vehicle systems Body
    structure, Interior, Exterior and Passive Safety have to be developed to production until the gate deliverables
    of PS have been met.
• The work scope included in this proposal covers the activities necessary to achieve a high quality product
  meeting the agreed target architecture defined with the CTC gate.
• Following activities are considered
    • Styling Support:                Further develop styling criteria to support the creation and feasibility of the
                                      styling for the exterior and interior for the vehicle.
      • Packaging:                       Ensure all legal aspects are achieved, the vehicle systems are packaged
                                         and the desired dimensional attributes are met.
      • Attributes:                      Further develop, maintain and balance the target catalog for the
                                         responsible attribute areas utilizing the PALS provided by FMC
      • Design & Engineering:            Develop the Vehicle systems under responsibility, create the CAD data,
                                         the required specifications and validations plans, validate the Designs
                                         following the milestone plan
      • Design Quality:                  Establish the Dimensional Technical Specification (DTS), conduct FMEAs
                                         and establish KPCs, support the creation of control plans
      • Test & Validation:               Create DVP&Rs for all responsible systems, establish a test plan ans s
                                         upport FMC in vetting test facilities ans suppliers in China to perform the
                                         testing. Support the supplier component testing during the components
                                         validation phase.




                                                                                                                3-032
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Project Description
                                                                                              --•EDAG
• Following Activities are considered (cont.)
    • Passive Safety:                 Plan and develop the Passive Safety system, test & validate the vehicle to
                                      meet the established safety targets together with the designated safety
                                      system supplier.
    • CAE:                            conduct a virtual development for the attributes under responsibility
    • Supplier Management:            Integrate all prototype and production suppliers related to the responsible
                                      systems
    • Manufacturing Feasibility:      Part and sub-assembly feasibility for sheet-metal, plastics and joining
                                      methods for the systems under responsibility
    • Platform structure:             Develop a lower dominant structure of the underbody, front end, dash and
                                      rear end suitable as a platform for the SAV (Job 1) and a following Sedan
                                      and an MPV. SAV and Sedan are priorities, the MPV ranks lower and
                                      detrimental sacrifices to the SAV and Sedan should not be considered on
                                      behalf of the MPV.




                                                                                                                3-033
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    Project Work Split Structure
---------------------------
                                                                                                                                                                                          --•EDAG
    Project Management



                               Modules                           Body
                                                                                                                                                             Electric I
                                                                                                                                                             Electronic
                                                                                                                                                                                   Chassis




                          Styling                                              -----------                 -----------


                                                                                                                                                      Driver Information
                                                          Lower Structure           Side Doors              Fixed Windows          IP & Console                                       Brakes
                                                                                                                                                         (integration)
           Modeling                    Surfacing
                                                                Upper
                                                                                                                                                                                 Suspension
                                                               Structure

                  Vehicle Integration                                                                                                                     Infotainment,
                                                                                                                                                         Audio, Antenna           Steering
                                                                                                                                                           (integration)
       Consumption,                                                                                        -----------
                                     Vehicle T & V
       Homologation                                                                                         Lower Exterior                                    Safety &         Wheels I Tires I
                                                                                       Hood                                  I        Interior Trim
                                                                                                       1
                                                                                                               Trim*                                         Avoidance             Rim*
                                                                               -------------                                     -------------


       Thermal/ HVAC                   Simulation*                                                          Upper Exterior              Interior      Vehicle Access &            Chassis
                                                                                    Front Fender
                                                                                                                Trim                    Lighting      Starting Security           Structure
                                                                                                                             -----------
       Passive Safety,                                                                                                                                   Body Interior &
                                    NVH     Acoustic                                                           Exterior                Acoustic
       Crash, PedPro                                                                                                                                         Exterior                 Mounts
                                                                                                               Lighting               Treatments
                                                                                                                                                          (Integration)
                                                                                                       -----------


       Aerodynamics                     Durability                                                                               Owner Information          Chassis
                                                                                                           Wiper & Washer                                                      Chassis Tools
                                                                                                                             I      & Labels               Electronics

       Active Safety,                  Powertrain                                                                                                        Power & Signal
      Vehicle Dynamics                 Integration                                                                                                        Distribution

         Prototype                        E/E                                                                                                              Electrical
        Management                    Performance                                                                                                         Architecture


       Sensor systems               Restraint systems




                      Manufacturing SE

                      Support Processes
                                                        --·     Stamping


                                                                  CAD
                                                              Data Structure
                                                                               J

                                                                               i
                                                                                1
                                                                                    BiWAssembly
                                                                                     and Joining


                                                                                      Package &
                                                                                    Model Validation       ~
                                                                                                                 Painting


                                                                                                               Dimensional
                                                                                                               Management*        I
                                                                                                                                       Plastic Molding



                                                                                                                                             DMU*
                                                                                                                                                         I
                                                                                                                                                                  General
                                                                                                                                                                 Assembly


                                                                                                                                                                 Parts List*
                                                                                                                                                                   (BOM)         I'
                                                                                                                                                                                      Factory Layout
                                                                                                                                                                                       & Processes

                                                                                                                                                                                          Weight
                                                                                                                                                                                         Tracking*


•    FMC              •     EDAG




                                                                                                                                                                                                       3-034
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Project Assumptions
                                                                                            --•EDAG
• Program Management
    • The project progress will be reported on a regular basis utilizing an FMC reporting system (to be defined
      and agreed)
    • The reporting cadence will be defined and mutually agreed at start of the project
    • The cooperation model with FMC, other engineering suppliers and system suppliers has to be defined at
      the start of the project.
    • A Program Operating Plan (POP) will be implemented including an organization structure, a meeting
      structure, an escalation process, a decision process, a documentation process and a change
      management process to run the program. The POP will be communicated by FMC to all parties involved
      in the engineering & development of the vehicle.

• Program Timing
    • The proposal is based on the master timing outline submitted by FMC with the RFQ from 10.07.2017
      regarding milestones, especially SOP. In order to keep this SOP-milestone, EDAG delivers timing
      proposal, including main boundary conditions, which have to be confirmed by FMC
    • Project starts on Aug 1, 2017 and ends with PS on January 31, 2020 with an SOP on October 1, 2019
    • The detailed system level timing plan for each responsible vehicle system will be maintained and
      improved throughout the program in conjunction with FMC and the supply base.
    • Any changes in timing which results in an extension or a reduction of the timeline, requiring an
      extraordinary effort will be investigated if it can be achieved without a cost increase at EDAG. If
      negative, EDAG will quote this work as an extension of the program.




                                                                                                           3-035
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Project Assumptions
                                                                                            --•EDAG
• Program Content
    • The content of the project is based on the continuation of EDAG's current involvement in the project and
      extended in areas where FMC has specifically requested in the RFQ and in EDAG's own judgement of
      what support would additionally be needed to have a successful program.
    • Chassis and Functional Safety has not been included in this proposal due to EDAG having not sufficient
      resources available to support these activities during the timeframe of the program. However, if such
      resources become unexpectedly available, EDAG will inform FMC.
    • In case the work content demanded from FMC during the course of the project still exceeds the scope
      described in this proposal, EDAG will claim additional cost and will work on such items after the cost has
      been negotiated.
    • The Premium SAV Uob1) is the lead vehicle for the program and serves as the learning vehicle for
      subsequent system utilization in the other vehicles, Sedan and MPV.


• Engineering, Design & Development
    • EDAG is allowed to use its designated partners or subcontractors within the scope of the program.
    • Partners and subcontractors will be discussed with FMC prior to any input.
    • EDAG ensures the compatibility and has complete responsibility of these partners or subcontractors.


• Development Scenario
    • EDAG applies a Virtual Development Concept utilizing CAE for structure verification and safeguarding in
      the Integration phase of the program
    • Design validation will be done on AP Prototypes build under FMC responsibility
    • The full validation of the vehicle will be performed in the PV Phase with VP prototypes built in the
      assembly plant in Nanjing, China.



                                                                                                            3-036
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Project Assumptions
                                                                                              --•EDAG
• Data Management
    • For the purpose of this proposal the calculated cost are based on the utilization of CATIA V5 R24.
    • In case the CATIA versions are changing the resulting cost effect has to be re-evaluated and will be
      quoted once the actual cost effect is known.
    • EDAG has proposed to utilize PDTec as an interim PDM for the program. FMC has accepted this
      proposal. EDAG will run and maintain PDTec up to the point the FMC system is online. EDAG will
      organize the process of signing all defined CAD users of FMC and its suppliers into PDTec and conduct
      the needed training.
    • For any cost increases in this context exceeding the assumptions in this proposal, EDAG has the right to
      re-quote accordingly



• Testing & Validation, Certification
    • EDAG assumes responsibility to perform DV and PV testing planning on the EDAG responsible content
       only it is assumed that this testing is done in Europe with partners of EDAG's choosing.
    • EDAG activities for Homologation is the preparation of homologation supporting documents, the
       execution of the homologation with the proper authorities is under responsibility of FMC.
    • Type approval for all parts I components is under responsibility of the appropriate supplier, controlled and
       managed by EDAG.
    • For this program, all full vehicle verification and validation tests are conducted by FMC




                                                                                                             3-037
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Project Assumptions
                                                                                             --•EDAG
• Purchasing
    • Supplier selection process: all critical suppliers have to be nominated or cooperating within 4 weeks of the
      start of this program phase.
    • Supplier Quality Engineering (SQE) is an FMC responsibility. It is assumed that such personnel will
      engage in the project at the appropriate time. IF needed, EDAG can support this activity either by itself or
      with a partner if FMC desires so. The cost for this activity can be provided upon request.
    • For all purchased components in EDAG responsibility EDAG will complete the technical requirements.
      The final SOR will be mutually agreed between the EDAG Design Release Engineer (ORE) and the
      appropriate FMC Purchasing representative.

• Documentation & Specification
    • FMC will provide a data and document system which will be utilized for this program. FMC will provide the
      appropriate training to EDAG staff at no charge to EDAG. This is also the case for product change
      management.
    • All necessary information, CAx data (e.g. CAD I CAE data of platform & carry over parts, PS
      documentation, lessons learned, test specifications on component and vehicle level, target definitions and
      test reports from base vehicle etc.... ), if any, will be provided to EDAG at the beginning of this phase of
      the program


• Miscellaneous
    • The project language is English. Any translation into Chinese or back is the responsibility of FMC.
    • FMC will implement a project team which will cover the major interfaces to EDAG
    • On site support for BIW, Exterior, Interior, Prototype management, Passive safety and vehicle integration
      in the production plant has been considered and is part of this quotation.




                                                                                                            3-038
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Content                                                                              --
                                                                                     - •EDAG




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 II
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                                                                                               3-039
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Project Management - Scope and Responsibilities
                                                                                           --•EDAG
• Project Management
    • A dedicated Project Manager for the overall EDAG responsibility
    • Balancing of EDAG resources to meet the Project Requirements
    • Single point of contact for all commercial issues
    • Escalation point for all technical issues
    • Issue Resolution for overall project related issues
    • Change Management
    • 1 Chief Engineer will be responsible for theSE development team
    • 1 Vehicle Engineering Lead Engineer will be responsible for the Vehicle Integration content


• Timing/Controlling/Reporting
    • Tracking and reporting of the Master Timing
    • Tracking and reporting of the Engineering Budget (EDAG content)
    • Assemble the required Project reporting needs and prepare appropriate documentation
    • Support Change management activities


• Weight I Bill of Material/ Product Cost
   • Management of Weight I BOM I Product Cost & Investment
   • Follow up with the Product Development Teams (PDT, SET) regarding target deviations and recovery
      plans




                                                                                                     3-040
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Project Management - Scope and Responsibilities
                                                                                          --•EDAG
• Issue Resolution I Target tracking
    • Lead and assist in the technical issue resolution process
    • Support the Product Development Teams with procedural issues regarding issue resolution
    • Track and report on the issue summaries and timely execution of the issue process


• Data Management
    • Support all Data Management requirements and actions between EDAG and FMC and the supplier base
    • Manage the PDTec PDM to support a single valid DMU structure for this program until FMC takes over
      with its own PLM system


• Design Quality
    • To ensure the correct grade of maturity EDAG will conduct the appropriate development quality activities
    • Risk Analysis at project start for identification of the major risks
    • Planning of the Quality Management activities based on the results of the risk analysis (System FMEA
      Product, Interface FMEA's and Supplier FMEA Reviews)
    • Support of the supplier management utilizing the APQP process
    • Any required changes and adjustments to components from suppliers will be organized by the FMC SQE
      under support and release authority of the EDAG ORE
    • Create and manage a global dimensioning and tolerance plan, dimensional technical specifications
      utilizing 3DCS software
    • Assist is creating a robust design and assembly process
    • Create a datum and locating strategy aiding a robust assembly process




                                                                                                          3-041
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Project Management - Scope and Responsibilities
                                                                                              --•EDAG
• Design Verification
    • Resolve data quality issues
    • Drawing checks and data Q-checker
    • train process and CAD quality related items
    • Carry over parts data interface management
    • Supplier data coordination


• Perceived Quality and Craftsmanship
    • EDAG will organize and manage required events and activities for perceived quality buy offs.
    • Perceived Quality events will also be scheduled within program management Styling studio events
    • Establish a detailed gap, flush and radii plan aiding in the sensory perception of the vehicle
    • Assist in the creation of a robust design and assembly process
    • Assist in the application of materials and surfaces aiding in the sensory perception of the vehicle
    • Benchmarking activities to establish key priorities against a competitor set in a PALS style analysis
    • Definition of clear PQ items need established in all sensory categorizations. i.e. visual, touch, sound and
      smell.




                                                                                                             3-042
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Project Management - General Overview Orga Structure
                                                                                                                                                                      --•EDAG
                                                                                      ProJect Director



Ch1ef Eng1neer                                                                  ProJect Manager (Santa Clara)   Veh1cle Eng1neenng Manager

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                 Veh1cle Architecture Lead                                                                        Veh1cle Integration Lead

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                                                                                                                    PasSive Safety Lead
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                                                                                                                                                   Acoustics                       FMEA

                                                                                                                                                                              D1m. Eng1neenng

                                                                                                                                                                           System Qual1ty Support




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                                                                                                                   CAE&S1mulat1on Lead
                                                                                                                                              PasSive Safety Perf .



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                 Upper Body Module Lead

                  Platform Module Lead                                                                                                       4iftiM4iMN
                                                                                                                                                    lntenor



                                                  Efiij\i-                                                                                        Full veh1cle

                                              ---------------------------------f--11111111DI!IIIIIII                                            Body/Closures




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                                                                                                                  Prototype Management
                                                                                                                                                    Extenor

                                                                                                                                                    lntenor




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                                             MMMWW
                   Extenor Module Lead        ---------------------------------~1111111!1111111
                                                  Lighting

                                               Wiper Washer

                                                   Roof

                                              Finishers/Mould.




                                             ···-
                                                  Bumper

                                                  Glazm



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Design Quality
                                                                                                                                                                  --•EDAG
EDAG Generic Quality Timing                                                 (synchronised to OEM PEP)
• Application of Q-modules in reference to the generic project timing
  A.     Program Intention
  ~ defined ~ Confirmation ~
                             A      Program         4          Concept
                                                               Definition
                                                                                                                                           1'' Verif. Prototype
                                                                                                                                           (off tool)
                                                                                                                                                                      Start of
                                                                                                                                                                      Production
   ----------------                                                                                                                     ---------
  Pre-Development                Concept opt1m1zat1on       Senal Development                   1   Manufactunng of Tooling & Samples   Venf1cat1on Process       Senal Production




                                                  •                                          •
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   Requirement management

   Product target definition
   ---       --~--------




   Technical specification




                                                                                                                                            Validation




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    Q-Pianning and reporting




                                                                                                                                                                                     3-044
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Dimensional Management
                                                                                                                                    --•EDAG
• Development of a robust design and assembly process to meet pre-established, dimensionally related build
  requirements based on realistic piece part, assembly and fixture tolerances
    • The production orientated solutions will be found at the concept phase with the help of modern simulation
      tools and proven engineering methods
         • By coordination between different development partners and suppliers the optimized solutions will be implemented to
           the development process            Definition of geometric requirements:

                                                   • gap and flushness
                                                   • fu nctional requirements
                                                   • interfaces betweeno buy-in units
                                                                                 o

              Definition:datums (OLSIRPS):
                                                                                   -
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                                                              _, -                         Documentation I GO& T
              • 3-2-1 rule
              · clamping &
              fixing concepts
              - clamp pl'ans                  Dimensional
              • 20- and 30 -
                                             Requ ireme nts




                                                                                           Measuring
                                                                                           · Definition of MPs
                                                                                           •Creation of measurement plans
                                                                                           •Sta tist ic analysis
                                                                                           -comparism simua llion vs measuremen t
                                                                                           ·selective measure of optimisati on
                                                                                           ·buill of "easy mesurement fixtures
                                                   Optimisation
                                                   • Identification of main contributors
                                                   • selective measure of opti misation




                                                                                                                                              3-045
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Body Engineering - Content
                                                                                       --•EDAG


                                                                            Closures




                                                                                   Exterior & Glazing


   Seats




                Lighting
                                                       Instrument Panel and Interior Trim




                                                                                                        3-046
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Body Engineering - General Assumptions
                                                                                             --•EDAG
• EDAG will manage the development of the body structure, closures, the interior and the exterior of the SAV
  body engineering requirements.
• EDAG will release the CAD data (30 + 20) for body structure, closures, exterior and interior according project
  milestone deliverables. The methodology for data release still needs to be defined with FMC.
• For each system the responsibilities and work load between EDAG and the system/component supplier needs
  to be finally defined within the supplier sourcing of this project. For the purpose of this proposal EDAG
  assumes that the body engineering content follows the System RASI included in this proposal.
• EDAG assumes that the engineering deliverables follow the Engineering Task RASI included in this proposal.
• The selected carry over parts don't require any redesigns. It is assumed that all locks and mechanisms are
  either carry over or designed by the supplier (level 2 or 3 supplier)
• EDAG will co-operate with FMC production engineering to implement methods and requirements from
  manufacturing as they are presented to EDAG.
• The manufacturing feasibility of the single parts will be ensured during the development by EDAG Production
  Solutions (see Manufacturing section of this proposal). This will be supported until the designated production
  supplier takes over this responsibility.
• EDAG is responsible for Dimensional Engineering (Locator definition, tolerance simulations and measurement
  points)
• Target for body development is to have one body to fit all markets. Variants are only LHD/RHD
• Suppliers with the level 2 and level 3 designation need to be nominated or cooperative per the required
  timeline created by the POTs for Body, Closures, Exterior and Interior.




                                                                                                            3-047
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  Body Engineering - General Assumptions
                                                                                            --•EDAG
  • 3D CAD will be created to industry standards. 2D Drawings will be made only for Prototype and Production
    Release utilizing a simplified drawing approach typical for a math based process. The 3D CAD model is the
    master. See an example of a production simplified drawing attached to this proposal
  • Concept work after CTC which changes the current concept released with CTC will be supported until
    Prototype Release.




   Simplified
Drawing Exam pie




                                                                                                           3-048
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Body Engineering - Platform & Body structure system development
                                                                                                --•EDAG
• Scope and Deliverables
    • Design, engineer and develop a platform understructure suitable for the SAV, a Sedan and an MPV
    • Design, Engineer & Develop a Top Hat structure for the SAVin line with the project descriptions and
      design targets (light weight, target performance, styling targets)
    • Management of design to cost and design to weight prerequisites from FMC
    • Lead the target deployment, attribute management and validation for the Module Body Structure
    • Identification of problems, support for problem processing
    • Prepare release documentation (e.g. Engineering Work Orders) to FMC for the release of the Module
      Body Structure
    • Support the tooling process, the PPAP and the launch of the vehicle representing the Module Body
      Structure up to the PS milestone
    • Support for the preparation of acceptance and transfer protocols to FMC


• Premises
    • All steel body utilizing high strength steel applications is design of record, alternative material may be
      proposed for specific applications
    • Body manufacturing assembly process will be provided by FMC




                                                                                                               3-049
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Body Engineering - Platform & Body structure system development
                                                                                                           --•EDAG
High Level PDT Plan for Upper Body & Platform

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Body Engineering - Closures system development
                                                                                                --•EDAG
• Scope and Deliverables
    • Design, engineer and develop the side doors, tailgate and hood of the SAVin line with the project
      descriptions and design targets (light weight, target performance, styling targets)
    • Management of design to cost and design to weight prerequisites from FMC
    • Manage the level 2 and 3 suppliers as per program engineering requirements highlighted in the
      Engineering Deliverables RASI included in this proposal
    • Lead the target deployment, attribute management and validation for the module Closures
    • Identification of problems, support for problem processing
    • Prepare release documentation (e.g. Engineering Work orders) to FMC for the release of the module
      Closures
    • Support the tooling process, the PPAP and the launch of the vehicle representing the module Closures up
      to the PS milestone
    • Support for the preparation of acceptance and transfer protocols to FMC


• Premises
    • Design of record is an aluminum closure system, alternative material may be proposed for specific
      applications
    • For all hardware parts (e.g. door latches, hinges, regulators, ... ) the supplier will be design responsible
      (Level 2, 3)




                                                                                                                3-051
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Body Engineering - Closures system development
                                                                                       --•EDAG
High Level PDT Plan for Closures




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Body Engineering - Interior system development
                                                                                            --•EDAG
• Scope and Deliverables
    • Design, engineer and develop the Interior system as per the System RASIC included in this proposal
    • Manage the level 2 and 3 suppliers as per program engineering requirements highlighted in the
      Engineering Deliverables RASI included in this proposal
    • Management of Design to cost and Design to weight prerequisites from FMC
    • Lead the target deployment, attribute management and validation for the module Interior
    • Identification of problems, support for problem processing
    • Prepare release documentation (e.g. Engineering Work orders) to FMC for the release of the module
      Interior
    • Implement FMC Manufacturing strategies (e.g. Cockpit Module)
    • Support the tooling process, the PPAP and the launch of the vehicle representing the module Interior up
      to the PS milestone
    • Support for the preparation of acceptance and transfer protocols to FMC


• Premises
    • The responsibility split highlighted in the System RASIC included in this proposal applies




                                                                                                         3-053
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 Body Engineering - Interior system development
                                                                                                       --•EDAG
  High Level PDT Plan for Interior




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Body Engineering - Exterior system development
                                                                                           --•EDAG
• Scope and Deliverables
    • Design, engineer and develop the Exterior system as per the System RASIC included in this proposal
    • Manage the level 2 and 3 suppliers as per program engineering requirements highlighted in the
      Engineering Deliverables RASI included in this proposal
    • Management of design to cost and design to weight prerequisites from FMC
    • Lead the target deployment, attribute management and validation for the module Exterior
    • Identification of problems, support for problem processing
    • Prepare release documentation (e.g. Engineering Work orders) to FMC for the release of the module
      Exterior
    • Support the tooling process, the PPAP and the launch of the vehicle representing the module Exterior up
      to the PS milestone
    • Support for the preparation of acceptance and transfer protocols to FMC


• Premises
    • The responsibility split highlighted in the System RASIC included in this proposal




                                                                                                         3-055
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Body Engineering - Exterior system development
                                                                                                                                 --•EDAG
High Level PDT Plan for Exterior




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Vehicle Engineering -Content
                                                                                      --•EDAG


                                  CAE
                                                         Package Engineering




           Passive Safety


               Durability                                           NVH, Acoustics, operational strength



                                                                   Corrosion



                       Test planning & support




                                                                                                     3-057
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Vehicle Engineering -Vehicle Architecture, Package & Regulations
                                                                                           --•EDAG
• Scope of work
    • Vehicle Architecture
        • Implementation of all Legal Requirements for the designated markets China, US, EU
        • Develop the occupant package in conjunction with the vehicle targets, styling and general vehicle
          and system requirements
        • Systems and component package and balancing from a total vehicle perspective. All system
           requirements have to be provided by the system responsible organization, either at FMC, other
           EDAG modules or the suppliers.
        • Run Vehicle Architecture Meetings and drive the Architecture Issue Resolution Process
    • Ergonomics
        • Implement typical ergonomic requirements either by industry standard or by PALS definition and
          communicate to all affected parties
        • Evaluate the comfort and ergonomics utilizing RAMS IS
        • Report on comfort & ergonomics items within the styling process, vehicle architecture and customer
           usage profiles and provide solutions in case of conflicts.
    • Legal & Regulations
        • Report on legal items with the styling process and the vehicle architecture and provide solutions in
          case of conflicting requirements
    • DMU
        • Regular updates of a static full vehicle Digital mock Up with the latest CAD data based on a defined
          weekly CAD update by all designing parties
        • Run DMU for dynamic collisions incl. manufacturing assembly of the FMC assembly and
          disassembly strategy
        • Run regular DMU meetings by vehicle compartment and report on all collision items




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Vehicle Engineering -CAE & Simulation
                                                                                               --•EDAG
• Scope of work
    • Meshing and modelling of parts under EDAG design responsibility
    • Status simulation for all required milestones
    • Continuously optimization between the milestones
    • Vehicle level activities:
         • Crash simulations
         • Pedestrian protection
         • Occupant safety
         • Durability simulation
         • NVH simulation (except chassis, powertrain)
    • System level activities:
         • Stiffness/strength simulation for BiW, doors, hood, tailgate
         • Stiffness/strength/safety simulation for door trim, pillar trim, headliner, IP & console, cross car beam,
            front/rear bumper. All additional interior, exterior parts will be supported
    • EDAG will support FMC to create a Material database
         • Planned, undertake the testing (at ATC Fulda or other companies), analyze and build the material
            cards
         • FMC has to provide the materials for testing
    • System suppliers (for airbag, belts, seat, lamps, ... =>Systems for which EDAG is not design responsible
      will develop their systems under usage of CAE by their own.
      They will deliver their CAE models for all required solvers on a regular basis and in addition to the virtual
      gates to EDAG. EDAG will do the integration of those systems in the vehicle.
    • Road load data will be provided by FMC




                                                                                                               3-059
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Vehicle Engineering -CAE & Simulation Tools
                                                                                            --•EDAG
 Category               Fields                           Software               Company
 Pre processing        All                               Ansa                   BETA
                        FMVSS201 I Pedpro                Generator              GNS
                                                         Primer


 Post processing
                        FMVSS201 I Pedpro                Generator              GNS
                        Strength                         Meta                   BETA
                        Occupant Safety I NVH            HyperGraph             Altair


 Solver                 Crash I FMVSS201 I PedPro        LSDyna                 LSTC
                        NVH I Stiffness                  Nastran                MSC software
                        Optimization                     Optistruct             Altair
                        Strength                         Abaqus                 Dassault systems
                        Durability                       Femfat                 Magna
                        Stamping                         Auto Form              Auto Form




                                                                                                      3-060
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Vehicle Engineering -Vehicle Attributes
                                                                                             --•EDAG
• Scope of work
    • Continue to review and manage the PALS for the responsible area and transfer to PAP documents
    • Continue to develop and populate the PAP documents with benchmark information and targets for the
      SAV following the FMC milestone requirements and upload to JAMA
    • Cascading of vehicle attributes to system specifications utilizing surrogate data from competitor vehicles
      or other available benchmark data
    • Attribute Leaders engage with the development teams to ensure targets are pursued and systems are
      developed towards the target attributes
    • Assist in the balancing of attributes to achieve an optimal solution for the SAV
    • Support FMC in the creation of the Vehicle Technical Specification (VTS)
    • Vehicle Technical Specification (VTS) and the Subsystem Technical Specifications (SSTS) will be
      regularly reviewed and updated where required and agreed upon.



• Premises
    • The regular meeting cadence and escalation levels will be defined within the Program Operating Plan




                                                                                                            3-061
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Vehicle Engineering -Test & Validation
                                                                                           --•EDAG
• Scope of work
    • Creation of the DVP&R test planning and documentation for the responsible systems
    • Planning and supervision of the integration tests for the responsible vehicle systems as per the Program
      DVP
    • Verification of the compliance with the specification requirements.
    • Support FMC in the coordination and organisation of the different test laboratories
    • Detailed tuning of the test conditions and possible weaknesses by the simulation
    • Further refine the surrogate test procedures to establish a test catalogue for FMC
    • Active support of the testing procedure (acceptance test setup, interim-/ final evaluation)
    • Create/ request a test report with appropriate rating
    • Monitoring of testing at the suppliers
    • Verification and validation according to test cataloque
    • Problem resolution, solution finding
    • Evaluation and documentation of tests, test report
    • Participation in winter and summer testing, and special tests such as hot climate area test
    • Repatriation and presentation of the test results
    • Documentation of the test results with test reports
    • Review of the test results with the persons responsible for the components
    • Tracking of problems from test results




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Vehicle Engineering -Test & Validation
                                                                                           --•EDAG
• Premises
    • Component DVP&R are the responsibility of the component supplier. EDAG will assist the component
      supplier and work on issue resolution to establish clarity in test procedures and requirements since FMC
      does not have validated test procedures and catalogues yet.
    • The suppliers adhere to the Engineering Task RASIC included in this proposal
    • System Supplier delivers verifiable components (pre-tests of the components have been conducted by
      System Supplier)




                                                                                                          3-063
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Vehicle Engineering - Passive Safety Pedestrian Protection
                                                                                         --•EDAG
• Pedestrian Protection:
    • Passive bonnet is assumed
    • 1 head lamp variant
    • 1 bumper variant


• Targets:
    • Legal requirement
    • ChinaNCAP
    • USNCAP
    • IIHS
    • EuroNCAP
    • 5* rating


• Tasks:
    • Support sensor application -7 impactor testing, no driving misuse
    • Certification -7 testing and documentation of test results
    • Preparation of China NCAP, USNCAP, EuroNCAP assessment -7 prediction will be done by EDAG


• Not   included:
    •    Sensing development -7 to be done by system supplier
    •    USN CAP new with Oblique test and THOR-Dummy
    •    EuroNCAP 2020 with THOR-Dummy




                                                                                                   3-064
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Vehicle Engineering - Passive Safety Crash Testing
                                                                                         --•EDAG
• Premises
    • EDAG assumes that a restraint system supplier will be engaged in the program with CTC for all system
      and component development
    • For the development and testing one ride height is considered
    • Restraints Control Module (RCS), Vehicle specific parametric settings assumed to be RCS system
      supplier's scope of work
    • No manpower planned for
        • Whiplash related development- assumed to be in seat system supplier's scope of work
        • OoP related development- assumed to be in airbag system supplier's scope of work


• Not included:
    • No execution of physical tests are included




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Vehicle Engineering - Passive Safety Plan
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Vehicle Engineering - Integration areas
                                                                                                  --•EDAG
• NVH
• Activities:
    • Vehicle testing specification- EDAG target quality table document adjusted with FMC
    • Load case definition for all sub-attributes> definition of objective physical target figures
    • Structural dynamics, static I dynamic simulation (virtual contact area analysis) and test planning:
         • modal analysis BIW and trimmed body, photogrammetric local investigations
         • Complete vehicle response during driving and on four post servo hydraulic shaker
    • Noise Quality during driving and idle condition
         • Acoustic tightness and aero acoustics including sealing
         • Squeak & Rattle prevention - CREST (Combined road and environment shaker test) evaluation


• Thermal
• Scope of work:
    • Assist and support the interior thermal management, body air outlets, Air ducts and humidity sensor work
      conducted by FMC or its designated partner
    • Implement the findings of simulation and balancing of the Interior HVAC requirements into the Interior
      System


• Premises
    • The Thermai/HVAC system work is done by FMC and/or its designated supplier(s)
    • Any simulation results will be presented to EDAG for implementation by FMC




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Vehicle Engineering - Integration areas
                                                                                              --•EDAG
• Aerodynamics
• Scope of work
    • EDAG will implement agreed solutions into the overall aero kit design to achieve program targets
    • Permanent supervision of the design data with respect to the aerodynamic performance.
    • Wind tunnel tests will be prepared, organized and performed by EDAG
    • The wind tunnel experiments are performed at the FKFS of the University of Stuttgart, Germany
    • Aero models will be manufactured by EDAG and modified according to test results
• Note: Access to wind tunnels is limited and only verification of the design using the aero model with limited
  change possibilities may be possible in physical testing. Reliance on analysis done by FMC is mostly
  required.
• Not included
    • Further windtunnel testing after the initial model test at FKFS in September 2017.


• Durability
• Activities:
    • Establish Vehicle testing specification, has to be adjusted with FMC
    • Problem resolution, solution finding
    • Evaluation and documentation of tests, test report
    • Implementation of findings into the design of the vehicle
• Assumption:
    • Durability test performed by FMC or other supplier




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Vehicle Engineering - Integration areas
                                                                                             --•EDAG
• Corrosion Protection
• Activities:
    • Engineering corrosion protection
           • The design of structural corrosion protection requirements by EDAG are based on the corrosion
              protection targets mutually defined by EDAG and FMC
    • Corrosion protection documentation (Seam sealing, underbody protection, wax)
           • EDAG creates the corrosion protection documentation according to FMC standard and directions,
              such directions my be mutually created using industry standards
    • Corrosion validation:
           • Engineering for corrosion protection & validation is included in the proposal

• Assumption:
    • corrosion test performed by FMC or other supplier


• Security
• Scope of work
    • Engineering for theft protection is included for the EDAG responsible content (i.e. safety brackets to avoid
      access to harness, locks etc.) based on theft protection strategy formulated by FMC


• Premises
    • Theft protection testing is conducted by the theft protection device supplier (e.g. Thatcham)




                                                                                                             3-069
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Vehicle Engineering - Integration areas
                                                                                             --•EDAG
• Environmental
• Scope of work
    • Planning and execution of testing according to the Draft DVP included in the proposal
    • Tracking of all environmental testing which will be done at part and component level at the suppliers for
      the responsible content
    • Planning and tracking of contamination and hazardous material according to target


• Premises
    • EU material standards and a standard material library will be respected, no new materials or material
      mixes are budgeted
    • No additional contamination activities currently planned




                                                                                                              3-070
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Vehicle Engineering - Prototype Management
                                                                                              --•EDAG
• Scope of work
    • Planning and integration of specific prototype suppliers to provide prototype parts to NDRC and AP build
      for level 1 components
    • Identification and evaluation of such suppliers to FMC supply chain
    • Create and follow prototype BOM
    • Engage with the prototype suppliers and integrate system engineering into the quality process
    • Ensure quality builds at the supplier or the plant
    • Identify and track build issues, follow through to resolution
    • Support the creation of a vehicle usage plano optimize hardware usage
    • Provide vehicle build support and coordination in the workshop
    • Inspection and organization support for the final release of prototype vehicle for testing
    • Track and monitor the prototype vehicles usage
    • Support FMC in the logistics of the prototype vehicles


• Assumptions
    • The prototype vehicles will be assembled at the FMC assembly plant in Nanjing
    • The bodies will be build first at the prototype supplier and later in the FMC assembly plant in Nanjing




                                                                                                                3-071
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Manufacturing Engineering - General
                                                                                                      --•EDAG
• EDAG Production Solutions offers Simultaneous Engineering Support for the final customer FMC from CTC to
  Production Release or until the production supplier takes over this work
    • Feasibility BIW press parts BIW
    • Manufacturability BIW assemblies and subassemblies
    • BIW joining methods
    • Interior and Exterior assembly feasibility


• Main scope and goal of the project is:
   • Assurance of the technical feasibility I manufacturability for the above mentioned scope
   • Support and Simultaneous Engineering activities for all Product Development related activities for single
      parts, assemblies, interior and exterior parts
             - It is assumed that the development is a prototype free development phase, therefore no support for hardware
             - prototyping is considered
             - Project start is considered for the 1th August 2017. End of the project is Production Release, planned at
               04.06.2018.
             - Process planning support through the development and realization phases is not considered in this proposal but
               can be offered optional
             - Project and documentation language is English




                                                                                                                        3-072
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Manufacturing Engineering - BIW Single Parts
Series Development Phase (CTC to PR)                                                      --•EDAG
• Scope and Deliverables
    • Participation SE-Meetings
    • Create (Concept-)method plan for all top hat parts in 20
    • Create die designer draw form and simulations in Autoform R6
    • Create draw form and finish forming in Catia VS in special cases if
      for feasibility necessary
    • Support RPS concept definition
    • Support in design finding
    • Surface analysis for outer panels after FC-milestone and final
      checking to C-sample-milestone
    • Support to find best component partitions
    • Design investigations for verification of tooling operations
    • Spring back simulation for high strength steel
    Optional:
    • Feasibility Studies for 16 Plastic Parts with Moldflow Simulations
      with one base calculation and one iteration loop.
    • Create one cost-calculation for 200 press parts and press tools
         • Create a cost estimate (budget)
             - Press toll costs with basic of new press toll standard
              - Press part costs on the basis for a Tier 1- Press Shop
              - Estimation of checking fixture
              - The Cost calculations must be ordered by September 2017, since
                otherwise it is not possible to deliver the calculations until June
                2018.)




                                                                                                    3-073
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Manufacturing Engineering - BIW Single Parts
Series Development Phase (CTC to PR)                                                    --•EDAG
• Premises
    • 200 parts are considered
    • Spring back simulation only where necessary
    • After nomination of tool or part suppliers the further
      development work will also be done from the supplier
    • Latest award of supplier for Long-Lead Parts to C-sample
      milestone
    • Assumed parts for C-sample-milestone: side panel outer, hood
      inner/outer, door front and rear inner/outer, roof Inner/outer,
      tailgate outer/inner
    • The time schedule is very tight, assumption that there is a
      Long-Lead Release in February 2018 to C-sample-milestone
    • No participating in method reviews and die design reviews with
      suppliers after supplier nomination
    • Press shop information are provided by FMC
    • Values for cost evaluation are provided by FMC




                                                                                                  3-074
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Manufacturing Engineering BIW Assembly-
Series Development Phase (CTC to PR)                                                     --•EDAG
• Scope of supply and deliverables
    • Product data analysis (completeness, applicability, etc.)
    • Development and/or update of part joining sequence
    • Geometric product verification (e.g. fitting analyses, tolerance
      compensation possibilities)
    • Material verification for joining technology (sheet thicknesses, used
      materials, gaps between sheets, flange widths, margin distances,
      juncture distances, etc.)
    • Accessibility check of junctures (e.g. weld spots)
    • Support of definition of clamping and locating concept (RPS)
    • Evaluation of recommendations and proposals for solving product
      issues and product optimizations incl. tracking of the implementation


• Premises I Assumptions I Input data
    • Standards and guidelines to be taken into consideration to be
      provided
    • All relevant production premises (cycle time, vertical integration,
      automation concept, etc. ) to be provided
    • Tool catalogues to be provided if available
    • All process and factory planning related activities are optional




                                                                                                   3-075
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Manufacturing Engineering Interior I Exterior-
Series Development Phase (CTC to PR)                                                        --•EDAG
• Scope of supply
    • The serial phase is part of the digital product validation.
    • At the end of the serial phase, all deviations have to be confirmed/changed, the relevant parts must have
      a complete documentation in the BOM.
    • All manufacturing requirements will be checked and verified
    • Joints and fixations will be confirmed, assembly paths and connections will be confirmed
    • EDAG PS uses a SE serial check list, broken down on part level, to verify the manufacturing
      requirements of the relevant parts
    • Additional dynamic simulation tools are in use to verify assembly paths, ergonomics and accesses for
      parts/operator
    • The processes will be verified

• Deliverables
    • A complete verified EDAG PS SE checklist
    • Dynamic simulations of relevant processes
    • A documentation of all deviations
    • BOP (Level 2)




                                                                                                           3-076
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Manufacturing Engineering Interior I Exterior
                                                                                                                                                                                                     --•EDAG
• SE-Support Interior/Exterior
    • The EDAG-PS Competence Process is the base of theSE support
    • All relevant check list and processes are documented in the data base




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                                                             EDAG Pro duction Solut ions GmbH & Co. KG (EDAG                P S ) ~ Mon t agep l an u ng~   SE-P ian u ng~   Machbarkeitsstud ie




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                                                                  Inputs                                                                                                                           Outputs

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                                                                                  Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 211 of 611


      Manufacturing Engineering Interior I Exterior
                                                                                                                                                                                                                                                                                     --•EDAG
     • SE-Support Interior/Exterior
         • In the EDAG-PS Competence Process all tools to settle the tasks of the project are consigned
EDAG Prod uction Solutions GmbH & Co. KG (EOAG                                      PS)~   Montageplanung ,_     SE - P i a n u n g ~   Ma chb ar ke i tsstu d i e~   Produktanalyse

    lJeteram                                                                                                                                                            Kunde

     Inputs

   Dokumente

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Manufacturing Engineering Interior I Exterior
                                                                                                                                                                               --•EDAG
• SE-Support Interior/Exterior
    • For the product validation, all deviation will be documented
    • Vital for the documentation of the deviation is, beside the problem description
    • to document all relevant information as release status, drawing status, variants, control models, etc.


                            Head Line with
                               FG Number
                               Part Name                                                                                                       Checked Part:
                               Revisions Status                                                                                                   Part Status
                                                                                                                                                  Drawing Status
                                                                                                                                                  Other conditions (i.e. variants)
                             FG 130 XXXX Seat Front
                             BOM XXX CM3 LW 15w4Bd02
                                                                                                     XXXXXX42/A- CU ; SEAT FRONTASM LH
                                                                                                     XXXXXX45/A - DU : SEAT FRONTASM RH

                                                                                                  ISSUE ;
                                                                                                  • Assembly of Seat Belt Anchor not possible
                                                                                                    Space tor hand to less (acces sibilily not given)   Description
                                                                                                                                                               Short description with a link to the
                                                                                                                                                               manufacturing requirement

       Presentation
          Consumed parts (GRAY)
          Checked part (RED)
          Interfaces (BLUE)
          High Lighting (Yellow square)




                                                                                    Status:
                                                                                    • Handover              2015-11 ·30                 Accepted
                                                                                    - FG-Meeting            2015-12-01                  Presented
                                                                                    - Feedback FG-Meetlng   2015-12-01                  Due Date 2016-01 -21
                                                                                    - ReVIew                2016-01-26                  Done
                                                                                                                                                                Status
                                                       ISSUER: KIMBE_L; EDAG-PSIMLT; XX_INT_FG130S_XXXXXX42_A_1548 ; CONFIDENTIAL
                                                                                                                                                                    History of the issue




                                                                                                                                                                                                      3-079
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Manufacturing Engineering Interior I Exterior
                                                                                                            --•EDAG
• SE-Support Interior/Exterior
                                                         Selection the part data in the
    • According to the EDAG PS competence                assembly relevant condition
      process, checking and documenting the
      process steps according to the relevant
      check list
                                                              Documentation of
    • Deviations are documented
                                                           data and drawing status
    • The EDAG PS manufacturing engineer
      reconciles the deviation in meetings with
      the relevant partners
    • A common status will be defined                   Checking the parts according
                                                         the relevant check points.




                                                         Documentation of Deviations




                                                         Reconciliation of Deviations
                                                           with relevant partners




                No measurement required   Measurement required               Deviation known and accepted   New revision status known




                                                                                                                                   3-080
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 Manufacturing Engineering Interior I Exterior
                                                                                                                                           --•EDAG
 • SE-Support Interior/Exterior
                                                                               Reconciliation of Deviations
     • The status of the issue affect the further                              with relevant partners

       steps



No measurement required                 Measurement required                   Deviation known and accepted   New revision status known




                                                                                                                                                 Back to Start
   Mark off the issue as ,OK"                                                  Mark off the issue as ,DEV"     Select the new revision status,
                                            Documentation in the LOP
        in the check list                                                      in the check list                        when available




     Documentation in the               Documentation in the                   Documentation in the
       Deviation sheet                  Deviation sheet                        Deviation sheet




                          Deviation not relevant          Deviation relevant
                            to pass next QG               to pass next QG




                                                               Tracking via FG meeting.
                            Tracking via LOP
                                                                Documentation via LOP




                                                                                                                                                                 3-081
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Content                                                                              --
                                                                                     - •EDAG




 II   Preamble and Executive Summary




I
      Project Description, General Assumptions, RASIC,
      Timing



B
      Statement of work, Organization; Deliverables,
      Assumptions



 II
      Cost Breakdown & Capacity Planning




                                                                                               3-082
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    Cost Summary- Total Cost Summary
                                                                                                                                                                                                                                                                                                                                                                                                                                 --•EDAG
                                                           Subject                                                                                                            2017                                                                      2018                                                                      2019                                                                     2020                                                                     Total

      Project Management                                                                                                                                                                  366.286 €                                                                 926.678 €                                                                 767.376 €                                                                    47.148€                                                          2.086.487 €
                                                                                      Project Management                                                                                     257.388 €                                                                572.241 €                                                                 521.601 €                                                                    42 .380 €                                                        1 .393 .609 €
................................................................................................................................................. ......................................................................... ........................................................................ ......................................................................... ........................................................................ ........................................................................
                                                                            BOM & Datamangement                                                                                                 97.897 €                                                              353.437 €                                                                 235.775 €                                                                       4.769 €                                                           691.878 €

       Development Quality                                                                                                                                                                766.969 €                                                            1.932.780 €                                                                    687.867 €                                                                    33.160 €                                                        3.409.766 €
                                                                                   Design Quality/ FMEA                                                                                    379.734 €                                                                 952.278 €                                                                 482.797 €                                                                    24.452 €                                                         1.839.260 €
                                                                       Dimensional Engineering                                                                                             376.225 €                                                                 980.502 €                                                                 205.070 €                                                                       8.698 €                                                       1.570.495 €

      Systems Engineering                                                                                                                                                            6.320.948 €                                                               8.899.630 €                                                              3.789.490 €                                                                     174.100 €                                                       18.184.168 €
                                                                                                              Upper Body                                                                   729.794 €                                                            1 .312.131 €                                                                   629.486 €                                                                    35 .188 €                                                        2 .706 .599 €
                                                                                                                      Platform                                                             581.857 €                                                            1.085.418 €                                                                    426.864 €                                                                    18.775 €                                                         2.112.914 €
                                                                                                                    Closures                                                               997.867 €                                                            1.714.485 €                                                                    785.260 €                                                                    20.494 €                                                         3.518.107 €
                                                                                                                         Exterior                                                      1.601.062 €                                                              2.640.231 €                                                               1.142.080 €                                                                       47.384 €                                                         5.430.757 €
                                                                                                                          Interior                                                     1.410.368 €                                                              2.147.365€                                                                     805.800 €                                                                    52 .258 €                                                        4.415 .791 €

      Vehicle Engineering                                                                                                                                                            3.638.341 €                                                               8.877.236 €                                                              6.197.093 €                                                                        97.631 €                                                     17.710.300 €
                                                              Vehicle Architecture/Package                                                                                                 459.503 €                                                                 657.035 €                                                                 204.689 €                                                                       8.124 €                                                       1.329.351 €
                                                                                                                                DMU                                                        208.752 €                                                                 391.411 €                                                                 132.210 €                                                                       7 .828 €                                                           740 .201 €
                                                              Vehicle Integration, Attributes                                                                                              324.788 €                                                                 919.094 €                                                                 458.099 €                                                                    12.473 €                                                         1.714.453 €
                                                                                                      Passive Safety                                                                       233.917 €                                                                 896.013 €                                                                 772.933 €                                                                       5.189 €                                                       1.908.052 €
                                                                                             CAE & Simulation                                                                          1.973.180 €                                                              4.682.794 €                                                               2.415.577€                                                                                         -€                                              9.071.551 €
                                                                                               Test & Validation                                                                           215.021 €                                                                 935.255 €                                                            1.081.708 €                                                                       64.016 €                                                         2.295.999 €
                                                                               Prototype Management                                                                                         123.180 €                                                                395.635 €                                                                 131.878 €                                                                                     -€                                                   650 .693 €

                         Subtotal Product Engineering                                                                                                                                9.970.633 €                                                           20.636.322 €                                                              10.431.826 €                                                                      362.029 €                                                        41.389.710 €


                         Subtotal Santa Clara Support                                                                                                                                     606.086 €                                                            1.848.837 €                                                              1.023.948 €                                                                        44.219 €                                                        3.422.090 €
                                                                                     Project Management                                                                                        91.515 €                                                              414.697€                                                                  192.821 €                                                                       7.524 €                                                            706.556 €
                                                                                           Vehicle Integration                                                                                 47.656 €                                                              190.626 €                                                                 111.198 €                                                                       3.971 €                                                            353.452 €
                                                                                  Systems Engineering                                                                                      306.416€                                                             1 .017.421 €                                                                   589.033 €                                                                    26 .774 €                                                        1 .939 .644 €
                                                                                                      Package/DMU                                                                              59.498 €                                                              226.093 €                                                                 130.896 €                                                                       5.950 €                                                            422.438 €
                                                                                             CAE & Simulation                                                                                                   -€                                                                       -€                                                                        -€                                                                        -€                                                                       -€


               Subtotal Manufacturing Engineering                                                                                                                                    1.676.728 €                                                               1.618.029 €                                                                                         -€                                                                       -€                                             3.093.767 €
                                            Single parts feasibilty BIW/Ciosures                                                                                                           830.203 €                                                                 674.540 €                                                                                     -€                                                                        -€                                              1.504.743 €
                                                Assembly feasibility BIW/Ciosures                                                                                                          392.689 €                                                                 428.388 €                                                                                     -€                                                                        -€                                                   821.076 €
                                       Single parts feasibility Interior/Exterior                                                                                                          352.836 €                                                                 415.102 €                                                                                     -€                                                                        -€                                                   767.938 €

                                                                                                                      Total                                                  12.051.346 €                                I                            24.002.188 €                                                              11.455.774 €                                 I                                      396.248 €                         1                            47.905.557 €                                    I
   *CAE & Simulation contains 1.747.000 € cost for Cluster and Dummies




                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                     3-083
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 Cost Summary- Total Cost Summary by FMC Cost Center
                                                                                                    --•EDAG
                                    2017               2018               2019               2020            Total

Body Engineering             I       7.566.363 €   I   12.939.412 €   I    5.066.390€    I   234.024€    I   25.806.248 €

Vehicle Integration          I       3.645.496 €   I    9.293.954 €   I    5.439.188 €   I   107.552€    I   18.486.189 €

Manufacturing Engineering    I        392.689€     I     428.388€     I            -€1              -€   I     821.076€

Project Management           I        446.8oo€     I    1.340.375 €   I     950.197€     I    54.672 €   I    2.792.044€

                                    12.051.346 €       24.002.188 €       11.455.774 €       396.248€        47.905.557 €




                                                                                                                     3-084
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 Cost Summary- Total Headcount Product Engineering
                                                                                                  --•EDAG
                             DESIGN & ENGINEERING HEADCOUNT (FTE) FMC SAV CTC-PS
                                                                                            •   Uppe r Body

                                                                                            •   Pla tfo rm
250,0
                                                                                            •   Closures

                                                                                                Exterior

                                                                                            •   lntefior
225,0    >.O
         9.0
               8.0                                                                          •   Vehicle Architecture   I   Package

                                                                                            •   DMU

                                                                                            •   BOM & Data Management
200,0
                                                                                            •   Vehicle Integration

                                                                                            • Passive Safety

                                                                                            •   Simulation & CAE
175,0
                                                                                            • Testing & Validation
                                                                                            •   Project Management

                                                                                                Development Quality
150,0
                                                                                                Dimensional Engineering

                                                                                                Prototype Build Support


125,0




100,0




 75,0




 so.o



 25, 0




  0,0




                                                                                                                               3-085
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Cost Summary- Total Headcount Permanent Santa Clara
                                                                                                      --•EDAG
               SANTA CLARA PERMANENT ENGINEERING HEADCOUNT (FTE) FMC SAV CTC-PS



20,0

                                                                                    Santa C lara PM

                                                                                •   Santa C l ara Vehicle Engineering

                                                                                •   San t a C l ara BIW

                                                                                •   San t a C l ara Closures

                                                                                •   Santa C l ara Exterior

l.S,O                                                                           •   Santa C l ara Interior

                                                                                •   Santa C l ara Package/OM U




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 Cost Summary- Total Headcount Manufacturing Feasibility
                                                                                                                                               --•EDAG
                                                    MANUFACTURING FEASIBILITY HEADCOUNT {FTE) FMC SAV CTC- PS



40,0




                                                                                                          Feasibili ty S in gle Pa r t s BIW/C i os LJres

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Cost Summary - Calculation Basis
                                                                                              --•EDAG


                                                Calculation   Average Headcount
      Class.            Project Role                                              Total Hours
                                                   Rate
        1      Sr. Project Manager               126,00€            1,42                  6.138
        2      Chief Engineer                    110,00 €            1J4                  7.546
        3      Lead Engineer/Module Leader       82,40€             23,18               100.403
        4      Sr. Engineer/Sr. Designer         71,86 €            44,09               191.015
        5      Engineer/Designer                 60,23 €            81,59               353.459
        6      Jr. Engineer                      47,61 €             7,02                30.413


                     Calculatory Average Rate     67,26 €                               688.974




                                                                                                        3-088
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Cost Summary - Travel Budget Assumptions
                                                                                                  --•EDAG
• EDAG people traveling to US or China
    • Assumptions per Head:
        •   Average duration - 2 weeks per month
        •   Flights        1200 €/flight
        •   Lodging        10 days@ 150 € = 1.500 €
        •   Transportation 10 days @ 60 € = 600 €
        •   Allowance      10 days @ 50 € = 500 €
    • Total Monthly cost per Head = 3.800 €


• EDAG Expat permanent in Santa Clara
    • Assumptions per Head:
        •   2 home flights per year = 6 flight total x 1200 € = 7200 € I 30 month = 240 €/month
        •   Lodging= furnished apartment= 2.5600 €/month
        •   Utility, other lodging cost = 400 €/month
        •   Transportation = 450 €/month
        •   Allowance = 500 €/month
    • Total monthly cost per Head= 4.640 €




                                                                                                            3-089
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Cost Summary- Travel & Expat Budget Summary
                                                                                                                                  --•EDAG
                                                                                                       Santa Clara
                                               Manufacturing
                       Engineering& Design                        Total Head traveling   Subtotal      permanent     Cost per month   Total Travel
                                                     Travel
                     Travel Headcount/month      d       I     h Headcount per month     Travel cost     Ex pat          Ex pat       & ExpatCost
                                              Hea count mont
                                                                                                       Headcount
         Aug 17               1,5                      0                  1,5             5.700            0              0          5.700
         Sep 17                4                       1                   5             19.000            3           13.920       32.920
         Okt 17               4,8                     1,5                 6,3            23.940            9           41.760       65.700
         Nov 17               4,8                     1,5                 6,3            23.940           15           69.600       93.540
         Dez17                6,4                      2                  8,4            31.920           15           69.600      101.520
         Jan 18               6,4                      2                  8,4            31.920           15           69.600      101.520
         Feb 18               6,4                      2                  8,4            31.920           15           69.600      101.520
         Mrz 18               6,4                      2                  8,4            31.920           15           69.600      101.520
         Apr18                6,4                      3                  9,4            35.720           15           69.600      105.320
         Mai 18               6,4                      3                  9,4            35.720           15           69.600      105.320
         Jun 18               6,4                      3                  9,4            35.720           15           69.600      105.320
         Jul 18               6,4                      3                  9,4            35.720           15           69.600      105.320
         Aug 18                8                                           8             30.400            8           37.120       67.520
         Sep 18                8                                           8             30.400            8           37.120       67.520
         Okt 18                8                                           8             30.400            8           37.120       67.520
         Nov 18                8                                           8             30.400            8           37.120       67.520
         Dez18                 8                                           8             30.400            8           37.120       67.520
         Jan 19               9,6                                         9,6            36.480            8           37.120       73.600
         Feb 19               4,8                                         4,8            18.240            8           37.120       55.360
         Mrz 19               4,8                                         4,8            18.240            8           37.120       55.360
         Apr19                4,8                                         4,8            18.240            7           32.480       50.720
         Mai 19               4,8                                         4,8            18.240            7           32.480       50.720
         Jun 19               4,8                                         4,8            18.240            7           32.480       50.720
         Jul 19               4,8                                         4,8            18.240            7           32.480       50.720
         Aug 19               4,8                                         4,8            18.240            7           32.480       50.720
         Sep 19               4,8                                         4,8            18.240            7           32.480       50.720
         Okt 19               4,8                                         4,8            18.240            7           32.480       50.720
         Nov 19               3,2                                         3,2            12.160           3,5          16.240       28.400
         Dez19                3,2                                         3,2            12.160           3,5          16.240       28.400
         Jan 20               32                                          32             12.160           35           16.240       28.400
                                                                                         732.260 €                    1.255.120 € 1.987.380 €




                                                                                                                                                     3-090
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Cost Summary- Payment Schedule Engineering Work
                                                                                                               --•EDAG
Payment#   Payment Schedule   Payment Amount   Running Payment                  Comment

    1       Down payment        2.200.000€       2.200.000€                                        4,592%
    2          Aug 17           1.850.000 €      3.976.300€      Aug 17 already Contracted and invoiced
    3          Sep 17           1.850.000 €      6.262.399€      Sep 17 already Contracted and invoiced
    4          Okt 17           2.893.575 €      8.793.575€
    5          Nov 17           2.578.899€       11.372.474 €
    6          Dez 17           2.325.430 €      13.697.904 €
    7          Jan 18           2.450.976€       16.148.880 €
    8          Feb 18           2.410.188 €      18.559.068 €
    9          Mrz 18           2.313.986€       20.873.055 €
   10          Apr 18           2.298.280€       23.171.335 €
   11          Mai 18           2.234.138€       25.405.473 €
   12          Jun 18           1.958.689 €      27.364.162 €
   13          Jul18            1.857.282 €      29.221.445 €
   14          Aug 18           1.475.413 €      30.696.858 €
   15          Sep 18           1.482.695 €      32.179.553 €
   16          Okt 18           1.475.491 €      33.655.045 €
   17          Nov 18           1.476.977€       35.132.021 €
   18          Dez 18           1.465.802 €      36.597.823 €
   19          Jan 19           1.334.885 €      37.932.709 €
   20          Feb 19           1.186.413 €      39.119.121 €
   21          Mrz 19           1.158.641 €      40.277.762 €
   22          Apr 19           1.146.917 €      41.424.679 €
   23          Mai 19           1.000.084€       42.424.763 €
   24          Jun 19            941.355 €       43.366.119 €
   25          Jul19             886.871 €       44.252.990 €                                               Travel Cost will be
   26          Aug 19            860.195 €       45.113.185 €                                               invoiced on a monthly
   27          Sep 19            829.147€        45.942.331 €                                               basis upon occurrence at
   28          Okt 19            687.954€        46.630.286 €                                               cost plus 8% in addition
   29          Nov 19            448.610 €       47.078.896 €                                               to the payment schedule
   30          Dez 19            448.610 €       47.527.506 €                                               for the engineering work.
   31          Jan 20            378.051 €       47.905.557 €




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                   EXHIBIT B



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          RFQ for CTC Gateway to SOP plus
          90 days
          1.      INTRODUCTION
          Future Mobility Corporation (FMC) is engineering an electric autonomous vehicle for sale in
          China, Europe and the US. FMC invites Engineering Service Supplier (ESS- replace with name)
          to quote for the work packages described in Section x- Scope of Work from Concept Target
          Confirmation (CTC) Gateway to Start Of Production (SOP) plus 90 days.

          It is anticipated and expected that some questions will arise from the RFQ and FMC will support
          the ESS with additional information as requested. All additional information will be made
          available to all parties bidding for the work.


          2.      PROGRAMME INFORMATION

          2.1 TIMING
          An overview of the programme timing is given in the appendices; SOP is 1st October 2019. The
          detailed Master Schedule is currently undergoing an evolution and the ESS is expected to work
          with FMC and other supplier partners to develop the detailed timing to meet the business
          requirements. The proposal should quote for work up to SOP plus 90 days. The ESS will be
          required to define what activities are required in order to meet the required timing with an
          acceptable level of risk. Where risk is considered to be excessively high, formal risk
          management should be initiated to the defined FMC process, or to industry best practice if the
          process is not yet defined.


          2.2    VIRTUAL SERIES
          The Programme will run various loops of simulation activity for the duration of the programme.
          The ESS will be expected to commit to appropriate input data freezes to support stability in these
          simulation loops and is required to quote for all appropriate simulation for the design and
          development of the areas under their remit. Please list what CAE and simulation will be
          undertaken and define the toolset to be used in each case.


             2.3       PHYSICAL PROTOTYPE PHASES
          Three whole vehicle prototype phases at FMC are expected:

               1) Mule- timing TBC- build location TBC

          Attribute Prototype- including build of 25 vehicles for delivery to NDRC on July 1st 2017 to meet
          Chinese licensing requirements and build of 30 to 50 Attribute Prototypes immediately following
          NDRC vehicles to undertake a full Design Verification Plan (DVP). All Attribute Prototypes to be
          off soft-tooling and where possible from the production intent supplier. Location of build of both


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          the BIWs and the whole vehicles is still to be confirmed and could be USA, Europe or China, but
          is most likely to be China.

          Validation Prototype - number of vehicles TBC - exact build timing TBC but expected to start in
          May or June 2019. Location of build will be Nanjing, China.

          In addition to the above the ESS is required to define and support all sub-system and system
          testing. It is expected that the majority of component testing will be undertaken by the component
          supplier but all assumed exceptions should be listed in the proposal.

          The ESS should also be aware that FMC will have multiple "labcars" and electrical test
          benches/rigs. The ESS is not expected to be involved in the electrical content of these rigs and
          labcars.


          2.4    DATA RELEASE TO SUPPLIERS
          The ESS is responsible for timely release of data to suppliers to ensure supply of prototype parts
          to meet "Material Required Dates" for build phases. The ESS is expected to liaise with the
          suppliers with regard to tooling and part supply lead-times and is responsible for developing and
          maintaining an Engineering Timing Release Schedule (ETRS) based on those lead-times. Real
          (not generic) risks to the required release dates must be raised no less then weekly to the FMC
          Engineering representative and the Programme Manager in a specific and tangible manner,
          supported by documentation and hard facts.


          2.5     LOCATION OF DEVELOPMENT ACTIVITIES
          FMC has locations in Hong Kong, Nanjing, Munich and Santa Clara. The ESS will need to
          commit to providing substantial resource in any or all of these areas, plus global test locations,
          supplier premises (both component and development) and new facilities that FMC may set up in
          other regions. Initially, the main Engineering location will be Santa Clara. The proposal should
          clearly define the level and timing of possible support in the context of the above requirements.


          2.6 LEADERSHIP AND PROGRAMME MANAGEMENT
          What is known as "heavy-weight" programme and technical leadership is required for this project;
          Programme Management is not expected to be purely an admin and reporting role. The leaders
          are expected to represent FMC requirements on a day to day basis ensuring the quality and
          timing of the delivery in line with FMC expectations. FMC will not provide resource to monitor and
          drive progress or quality of delivery on a daily basis; this is the responsibility of the ESS. The
          ESS should also ensure internal approval of all formal reporting material (e.g. Gateway reports)
          prior to submission to FMC to reduce time spent by FMC correcting poor quality and errors
          before further circulation.


          2. 7    fLEXIBILITY To TRANSFER IN-HOUSE
          As FMC grows, increasing numbers of activities will be transferred in-house and away from the
          Engineering Service Suppliers. This migration is difficult to schedule precisely; it may be possible
          to transfer some areas quite soon e.g. BOM Management, whereas others may not be
          transferrable for the duration of this programme. A freeze date for any transfer should be agreed;




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          i.e. after a certain point in the programme it will be too high risk to transfer any package and this
          should be agreed up front.


          2.8     PROPOSAL MODEL
          This project is deliverable based. That said, in your pricing proposal, you will need to provide a
          detailed breakdown of your cost components & assumptions, which includes:

                    1) Total cost proposal: (enter total cost)
                    2) Detail cost components/assumptions:

              Engineering Role              #of                 Expected Wkly Hrs per   Hourly Labor Rate
                                          Headcount                    person                 (USD)
              (1) Chief/Lead                 (enter#)                  (enter#)               ($value)
              Eng
              (2) Sr Eng                     (enter#)                  (enter#)               ($value)
              (3) Eng                        (enter#)                  (enter#)               ($value)
              (4) Jr EnQ                     (enter#)                  (enter#)               ($value)


              Other Expenses      (it applicable):
                                 1)    Travel                                                 ($value)
                                 2)    (enter other expense type)                             ($value)
                                 3)    (enter other expense type)                             ($value)
                                 4)    (enter other expense type)                             ($value)



          1.           TECHNICAL SCOPE OF WORK
          The scope of work is split into two major sections: Vehicle Integration (also referred to as
          Complete Vehicle) and Vehicle Engineering (typically covering component and system
          engineering within Chassis, Body, Powertrain and Electrical). Each of these major sections is
          then split into sub-sections.


          3.1          VEHICLE INTEGRATION

          3.1.1 Vehicle Targets
          FMC have defined Brand-level subjective vehicle attribute targets, which the ESS will translate
          into objective targets and then cascade to a system, sub-system and component level. A full list
          of Level 1, Level 2 and Level 3 attributes will be provided in the Appendices.

          A subjective drive appraisal of ride, handling and NVH attributes has taken place.

          Focused objective benchmarking will take place prior to CTC for NVH, PED, vehicle dynamics
          and thermal systems. Specific cars and testing still to be agreed with FMC (Tesla Model X, BMW
          X3, BMW 13, Audi Q5, Mercedes GLC and Lexus RX450H for main consideration).

          Vehicle target development, monitoring of contributing systems and components, attribute target
          trading and issue resolution is an ongoing activity throughout the Programme to SOP. The ESS
          is expected to continue to manage this process until FMC is able to develop internal resource to
          take this activity in-house.



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          3.1.2 Architecture and Package
          The ESS that is successful in winning the Body Engineering work package will also be
          responsible for the whole vehicle package. They will be responsible for obtaining fit-for-purpose
          package data from FMC component suppliers, maintaining a whole vehicle "digital mock-up"
          (DMU), tracking and managing issues to resolution in a timely manner, running bumper-to-
          bumper reviews and supporting virtual series and Programme Gateway timing. This ESS should
          behave as a Vehicle Architect for the time that FMC does not have this role filled.

          3.1.3 Prototype Build and Test
          Prototype Build and Test activities are expected to be led by FMC, supported by the ESS from a
          complete vehicle perspective where necessary. The initial Design Verification Plan (DVP) for
          both Attribute Prototypes and Validation Prototypes will be made available at CTC and the ESS
          will be responsible for the ongoing management and evolution of this plan, the specification of
          the test fleet

          3.1.4 BOM and Mass Management
          A BOM exists and is expected to develop further over the course of the project, to reflect the
          assemblies, sub-systems and components.

          Each ESS is to be responsible for the BaM information related to those systems and components
          it owns (as per system ownership table). In addition to this, the ESS who is successfully in
          winning the Vehicle Targets work package will also be responsible for the status and reporting of
          the complete BOM and vehicle mass (by variant and to include all options packs).

          This ESS will also be responsible for creating the specific vehicle BOMs for all vehicle build
          phases, including at least Mule, NDRC vehicles, Attribute Prototypes and Validation Prototypes.

          The planned PLM system (Enovia) will be implemented and commissioned during the project
          and the Supplier will be expected to integrate to this system at that time. In the meantime, this
          task must be managed using the ESS systems and/or Excel, to be approved by FMC.

          Mass and cost to be added where available. Where not yet available, estimates to be used and
          replaced as and when but with a clear plan to replacement of all estimated data and reporting of
          status against that plan (dashboard metrics expected).

          As the CAD data develops, CAE further optimizes the design and feedback from testing causes
          change, the BOM and mass will need to be managed via a formal change management process.
          The ESS should include this continuing work in the proposal and will undertake it until FMC
          recruit resource to take it in-house.

          phase of the project until the detailed drawing release stage provides the most accurate weight
          data before off-tool sample inspection)

          3.1.5 Functional Safety
          The ESS should recommend whether support from a human interface expert as well as a cyber-
          security expert is required in addition to Supplier activity. It is assumed that the functional safety
          assessments will be conducted by a third party. The functional safety activities to be conducted
          in accordance with ISO 26262:2011. Highest ASIL of the application expected to be ASIL D

          3.1.5.1           Objectives
              i.     Finalization of the definition of safety goals and ASIL


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               ii.     Safety case: update with re. to safety goals
              iii.     Definition of the Functional safety concept
              iv.      Item definition specification for identified systems (finalization)
               v.      Planning of the verification (at vehicle level) and validation activities
              vi.      Initiation of the technical safety concepts with the relevant system suppliers (planning of
                       activities)

         3.1.5.2       Technical developments activity
            i. Finalize the HARA: confirmation of all applicable safety goals and associated ASILs
           ii. Development of the Functional safety concept:
                          1)   Identification of the cause of violation of safety goals (FTA for each safety goal)
                          2)   Review of system FMEA(s)
                          3)   Identification of possible risk mitigation strategies for each safety goal
                          4)   Discuss the feasibility of the solution with the relevant system suppliers
                          5)   Finalization of the functional safety concept
              iii.     Development of the Verification and Validation plans
                          1)   Agreement with system suppliers on the split of FSRs verification activities, i.e. which verification can
                               be conducted by system supplier, which verification has to be conducted by FMC/Supplier
                          2)   Specification of verification test procedures for FSRs to be verified by FMC/Supplier; this constitutes
                               the verification plan
                          3)   Specification of the test procedures for the safety goals validation; this constitutes the validation plan
              iv.      Initiation of technical safety concepts (TSCs)
                          1)   Agreement with relevant system suppliers on the development of the TSC or sub-parts (HW or SW):
                               agreement will be reflected in the DIA developed with each system supplier
                          2)   Review of impact analyses conducted by system suppliers and related safety plan
              v.       Update of the item definition specification
                          1)   Update with hazards, safety goals and FSRs relevant to the system under consideration
                          2)   Update description of the system (functionalities, interfaces, applicable standards, etc.)

         3.1.5.3      Project functional safety management activities
            i. Safety plan management: update, in particular re. the management of system suppliers
               and partners
           ii. Functional safety assessment (third party)
          iii. Functional safety audit of selected system suppliers
          iv.  Update of safety case wrt HARA, safety goals, FSC and V&V plans

         3.1.5.4        Generic Functional safety management activities
            i. Finalization of 3(or 4) party DIA with FMC, Supplier, B&T partner and other relevant
               system suppliers
           ii. Initiation of 3 party DIA with sub-suppliers of safety-related systems under the
               responsibility of Supplier
          iii. Quality management, evidence of competence and company processes demonstration:
               completion of audit with FMC
          iv.  Project safety management (reporting, configuration & change management)


          3.2          VEHICLE ENGINEERING

          3.2.1 Chassis Design and Engineering
          A Concept will be made available. The ESS will need to take the concept and undertake detailed
          engineering work, including CAE, 2D and 3D CAD, supplier liaison and integration with all other



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          required areas. All virtual and physical prototype builds and testing will need to be supported with
          data, parts and resource where applicable.

          The ESS should produce sub-system technical specification (SSTS) documents and component
          DCS documents (for components within those systems) required to support the procurement
          process, which is led by FMC, but also to support the component suppliers who will begin
          working on serial design imminently.

          The ESS should manage the overall Chassis Engineering activity through prototype and
          production release and supply ensuring that parts supplied are to engineering specifications,
          managing rectification activities and overseeing the build for their activity.

          Testing will need to be supported, results analysed and issues resolution and change
          management undertaken to work towards final production designs. Supplier liaison is also
          expected throughout the programme to SOP plus 90 days.

          3.2.2 Body Structures, Closures and Exterior
          Concepts should be finalized at CTC Gateway. The ESS will need to undertake the detailed
          engineering work, including CAE, 2D and 3D CAD, supplier liaison and integration with all other
          required areas. All virtual and physical prototype builds and testing will need to be support with
          data, parts and resource where applicable.

          The ESS should manage the overall Body Engineering activity through prototype and production
          release and supply ensuring that parts supplied are to engineering specifications, managing
          rectification activities and overseeing the build for their activity. Dimensional engineering (gap,
          flush, tolerance stacks, etc.) to be undertaken to FMC requirements and to industry best practice
          where FMC requirements are not yet defined.

          Testing (managed by Vehicle Integration) will need to be supported, results analysed and issues
          resolution and change management undertaken to work towards final production designs.
          Supplier liaison is also expected throughout the programme to SOP plus 90 days.

          3.2.3 Body Interior
          Concepts should be finalized at CTC Gateway. The ESS will need to undertake the detailed
          engineering work, including CAE, 2D and 3D CAD, supplier liaison and integration with all other
          required areas. All virtual and physical prototype builds and testing will need to be support with
          data, parts and resource where applicable.

          The ETRS should be marked up with supplier types (Full Service, Co-Design and Build-To-Print)
          with the responsibility split between all parties (RASIC) defined for each type. This should be
          aligned with FMC as part of the bidding process.

          The ESS should manage the overall Interiors Engineering activity through prototype and
          production release and supply ensuring that parts supplied are to engineering specifications,
          managing rectification activities and overseeing the build for their activity. Dimensional
          engineering (gap, flush, tolerance stacks, etc.) to be undertaken to FMC requirements and to
          industry best practice where FMC requirements are not yet defined.

          Testing (managed by Vehicle Integration) will need to be supported, results analysed and issues
          resolution and change management undertaken to work towards final production designs.
          Supplier liaison is also expected throughout the programme to SOP plus 90 days.


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          3.2.4 Exclusions
          No Powertrain, HVAC system, Electrical, Connectivity, Autonomy, ADAS or UI/UX content is
          included in this RFQ and should not be included in the proposal. (other than Functional Safety of
          these items).

          These excluded packages may be sent as an addendum to the RFQ, in which case they should
          be quoted both (1) as a stand-alone piece of work and as (2) as an addition to the main scope of
          work, where utilization of efficiencies is expected to result in a lower overall cost than in case (1).




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                Future Mobility




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FMC Product Development Process




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                                           Program m e«Gateway.
                 We are here!               Tu_es'day gth August
                                           Eng1neenng Pre-Gate :
                                             Tuesday 25th July


   Concept Target Confinnation- Concept phase is complete, Technical, economic
   & timing targets for programme have been assessed and have feasible solutions




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                  EXHIBIT D



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                                           4                        Program Management
                                                       1.1                  Master Timing

                                           5
                                                       1.1.1                          Detailed Timing
                                           6
                                                       1.1.2                          DVP Review
                                           7
                                           8           1.2                  Gateway Review
                                                       1.2.1                         Major Issues and Risks
                                           9
                                          10           1.2.2                          Red/Yellow Grren
                                          11           1.2.3                          Recovery Plans
                                          12           1.3                  Processes I Methods
                                          13           1.3.1                         Product Development Process
                                          14           1.3.2                         Meeting Schedule
                                                       1.3.3                         Change Management
                                          15
                                                       1.3.4                          Outsourced Engineering
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                                                       1.4                  Team Organization

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                                                       1.4.1                          Program Organisation
                                          18
                                                       1.5                  Contract Management
                                          19
                                          20           1.5.1                          Contract update
                                                       1.6                  Knowledge Management

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                                                       1.6.1                          Transfer of Experience
                                          22
                                          23           1.6.2                          Reflection of Experience (Lessons Learned)
                                                       1.7                  Configuration Management
                                          24
                                                       1.7.1                          Program target requirements
                                          25
                                          26           1.7.2                          Module tarQet framework
                                                       1.7.3                          Change request status- complete vehicle
                                          27


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                  omplete. An adequate description of the program I project is available
            2
                                                                                                                       Responsible           Responsible        Responsible
            3                                                                                                             Role               Organisation          Name

            4                                                                                                        FMC-PM
                  Program master timing schedule to SOP defined, agreed and confirmed by all departments.             Timing Manager
                  PTO production planning and PTO testing schedule agreed within program team.
            5                                                                                                                                    FMC
                  ~Detailed timing plan from all departments and Module Teams reviewed for compatability with         Timing Manager
            6     Program Timing                                                                                                                  ESS
                  DVP including test timing and vehicle fleet reviewed and algined with Master Timing and Budget      Timing Manager              ESS
            7                                                                                                         Cost Controller      Vehicle Attributes
            8                                                                                                        Program Manager             FMC
                  Major issues and risks from each department collated, assessed and filtered for Executive           Program Manager
            9     Reporting . All issues and risks assigned to owners with due dates for resolution                                              ESS
           10     Summary Red/Yellow/Green status for all areas reviewed and agreed for Executive Reporting           Program Manager            ESS
           11     Recovery plans for all Yellow items reviewd and agreed for Executive Reporting                      Program Manager            ESS
           12                                                                                                        Program Manager             FMC
           13     Product Development Process available and deliverables for next Gateway agreed with all areas       Program Manager            FMC
           14     Meeting schedule issued                                                                             Program Manager            FMC
                  Change Management Proces in place. lnfrstructure, monitoring and meetings in place to control       Change Manager
           15     chagne                                                                                                                         FMC
                  Outsourcing strategy in place and agreed. Outsourced Engineering companies under contract.         Program Manager
           16     Outsourced resource RASIC and orq structure aqreed.                                                                            FMC
                  Teamwork and cooperation between all departments implemented and functioning                       Program Manager
                  (information and communication ... ) Manpower planning available and agreed for next
           17     program phase. Long term planning for program available                                                                        FMC
                  ~Program organisation and teamwork functioning according to planning                               Program Manager
           18     ~Manpower planning for the next phase for all departments reviews and confirmed                                                 ESS
                  Confirmation that all parties accept the terms of contract. Inconsistencies within contract        Program Manager
           19     clarified and changes implemented                                                                                              FMC
           20     Contracts with all Engineering Service Suppliers in place                                          Program Manager             FMC
                  Lessons Learned workshop for the phase to CC planned.                                              Program Manager
                  Experiences from former programs I projects for the phase CC to FC have been prepared
           21     and adapted to the program.                                                                                                    FMC
                  ~Relevant experiences from previous I current programs and projects for the phase PTC-FC            N/A This Program
           22     prepared and available
           23     Lessons Learned from all departments sumarised and documented for the next Program                 Program Manager              ESS
                  Program targets confirmed and measures for target achievement defined.                           Configuration Manager
           24     Manufacturing concept available.                                                                                               FMC
                  ~Status of program requirements available                                                        Configuration Manager
           25     ~Changes to program targets transferred to change management for tracking                                                      FMC
           26     ~Module target breakdown confirmed for all areas                                                 Configuration Manager          FMC
                  ~Change requests to achieve VTS targets realised                                                 Configuration Manager
           27     ~Risks for non-implementation of changes highlighted and documented                                                            FMC

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                                                                  Customer          Status:       Forecast:
                                                          3      (Approval)         CWxxx          CWxxx

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                                                                                        Change request status- engineering module groups
                                          28

                                          29                   2.0       Marketing
                                          30                   2.1           Product Definition
                                                               2.1.1                   Target customers

                                          31
                                                               2.1.2                    Benchmark
                                          32
                                                               2.1.3                    Series and optional features

                                          33
                                          34                   2.2           Sales and Marketing
                                                               2.2.1                    Target markets
                                          35
                                          36                   2.2.2                    Price range

                                          37                   3.0       Styling
                                          38                   3.1           Stylinq status
                                                               3.1.1                    Styling status


                                          39
                                                               3.1.2                    Styling Briefing


                                          40
                                                               3.1.3                    20 & 30 Styling


                                          41
                                                               3.1.4                    Theme Reduction
                                          42
                                                               3.1.5                    Go for hardware model
                                          43
                                                               3.1.6                    Colour & Trim

                                          44

                                          45                   4.0       Product Development
                                                               4.1           Product Development Targets
                                          46
                                                               4.1.1                    Development strategy
                                          47
                                          48                   4.1.2                    Innovations
                                                               4.1.3                    Complete vehicle targets




                                          49

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           28
                  ~Change   requests to achieve module targets realised
                  ~Risks for non-implementation of chanqes hiqhliqhted and documented
                                                                                                                              H
                                                                                                                     Configuration Manager
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           29                                                                                                          OEM-M
           30     Customer Market Profile available, initial proposal for benchmark vehicles available                     OEM-M
                  ~Customer Market Profile available including requirements derived from analysis of competitors
                  ~Potential innovation fields defined
           31     ~Key product characteristics proposed
                  ~Proposal for core competitors
           32     ~Benchmark vehicles for key product characteristics proposed
                  ~Proposal for series I optional features and USPs available
                  ~Initial sales forecast by market
           33     ~Platform commonality proposal available

           34     Initial estimate of markets and volumes available
                  ~Target markets proposal available
           35     ~Proposal for market specific requirements available

           36     ~Proposal for target selling price by market and model


           37                                                                                                           PgR-St
           38     Current styling status available . Process steps to support program agreed                               PgR-St
                  ~Major decision points determined
                  ~Assessment of current status
                  ~Plan and methods for reduction to a single theme approved
           39     ~Measures defined and decisions documented to achieve project goals
                  ~Kick-off idea generation process done
                  ~Specification Book with major vehicle dimensions and variants available
                  ~Customer Market Profile: Customer target group defined
           40     ~Description of stylinq philosophy available
                  ~Sketching and rendering program is defined
                  ~Documentation theme development process 2D
                  ~Renderings to continue in 3D selected
           41     ~Data model and numerical surface description
                  ~Intermediate evaluation of styling proposals (e.g. from 5 to 3 themes)
           42     ~Display models of exterior and interior
                  ~Visual virtual presentation of CAS-Models on power wall
           43     ~Exterior and interior definition in 3D+ visualization
                  ~Sample book with material proposals available
                  ~Hand samples: Preselected materials and colours
           44     ~Draft anqle analysis approved and specifications accordinq to stylinq requirements are defined


           45                                                                                                            PM-E
                  Initial development strategy defined. Customer Market Profile available and benchmark
           46     vehicles proposed.
                  ~Development approach and sequence proposed
           47     ~Proposal to achieve technical development requirements within the specified timeframe

           48     ~Potential product innovations considered within scope of proposed feasibility phase
                  ~Marketing requirements allocated to technical targets
                  ~Complete vehicle targets for the feasibility phase determined from product technical targets
                  ~Major development issues and top targets for the feasibility phase have been defined and agreed
                  ~Acceptance criteria for feasibility phase defined and agreed
                  ~Initial assessment of potential target conflicts available
           49

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                                                                    Function I Complete vehicle
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                                          50
                                                       4.2.1                      Complete Vehicle development strategy

                                          51
                                                       4.2.2                      I-Team strategy


                                          52
                                                       4.2.3                      Design Verification
                                          53
                                          54           4.3          Functional Safety
                                                       4.3.1                   Implementation of functional safety
                                          55
                                          56           4.4          Enqineering Modules
                                                       4.4.1                  Development strategy


                                          57
                                                       4.5          Vehicle Architecture

                                          58
                                                       4.5.1                      Target development

                                          59
                                                       4.5.2                      Dimensional concept
                                          60
                                                       4.5.3                   Vehicle package
                                          61
                                          62           4.6          Stylinq Technical Convergence
                                          63           4.6.1                   STC Status Check
                                                       4.7          Data Management
                                          64
                                                       4.7.1                      Product Documentation



                                          65
                                                       4.7.2                      Cf!\x. and Product Data Management


                                          66
                                          67           4.7.3                   Weight tracking
                                          68           4.7.4                   Component cost tracking
                                                       4.7.5                   Engineering information and data management requirements
                                          69
                                                       4.7.6                      Product module structure
                                          70
                                          71           4.8          Product Quality Assurance
                                          72           4.8.1                 Q-Pianning Product
                                                       4.8.2                  Perceived Quality (Virtual I Physical)
                                          73

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                  Major functional targets for the feasibility phase defined based on Customer Market Profile
                                                                                                                          H
                                                                                                                        ER-CV
                                                                                                                                  I   j


           50     and agreed with customer (OEM)
                   ~Initial assessment and determination of vehicle functional targets to be achieved within the
                  feasibility phase
           51      ~Development strategy proposal for achieving required targets
                   ~Development strategy proposal per I-Team to achieve vehicle functional targets in the feasibility
                  phase based on proposed scope of development
                   ~Cost I timing commitments available from each I-Team for the feasibility phase with prognosis for
           52     concept and series development
                   ~Initial indication of hardware requirements and required simulation loops based on defined scope
           53     of work
           54     Functional safety plan available                                                                      ER-FuSa
                   ~Plan for implementation of functional safety available
           55      ~Status of functional safety plan implementation
           56     Initial development strategy for modules based on scope of work                                       ER-MG
                   ~Proposal for milestones and timing based on overall development strategy
                   ~Initial definition of test and verification methods
                   ~Initial definition of hardware strategy (mules, prototypes, mock ups ... )
           57      ~Development location defined based on overall development strateqy
                  Vehicle profile description, marketing drawing, Confirmation of an initial feature list, BOM          ER-VA
                  and styling sketches. Verification of essential legal requirements and critical vehicle targets.
           58     Proposal and verifiation of concept package (Powertrain Storage ... .. . )
                   ~Vehicle Profile Description (VPD)
                   ~Confirmation of a rough feature list, BOM
           59      ~Verification of critical vehicle targets
                   ~Marketing Drawing
           60      ~TOP 10 dimensions in VPD defined
                   ~Verification of essential legal requirements
           61      ~Proposal and verifiation of concept package (power! rain storage ...... )

           62     Vehicle profile and styling status aligned                                                            ER-STC
           63      ~Vehicle profile and styling status aligned and confirmed. No target conflicts identified.

                  Information and communication, CAx and product data management requirements to                        ER-DM
           64     support feasibility phase defined and implemented
                  ~Basic requirements for information & communication (process, method, system) in the feasibility
                  phase agreed; solutions planned and/or realized
                  ~Supply of data and documents arranged for feasibility phase
                  ~Methods of documentation inclusive of allocation of part numbers specified for feasibillity phase
           65
                  ~CAD   system and design method specified; project settings established
                  ~Demand    for training evaluated
                  ~Training completed or plan to meet program and project requirements and timing available
           66     ~Provision for monitoring within technical data management system established

           67     ~Method for documentation of weight specified for the feasibillity phase

           68     ~Cost      tracking process defined and responsibilities determined
                  ~Requirements        agreed with Data Management for complete vehicle and engineering module
           69     I groups

                  ~Initial visualisation of scope of work based on explo-BOM
           70     ~Proposal    for new/carry-over components available for the feasibility phase
           71     Initial product quality assurance planning based on scope of work available                            ER-Q
           72     ~Draftof methods use plan considered and documented within QM Plan
                  ~Market positioning for product audit available and documented
           73     ~Benchmark aqreed


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                                          74                   5.0      Production
                                          75                   5.1          Production Planning
                                                               5.1.1                  Feasibility


                                          76
                                          77                   5.2          Layout
                                          78                   5.3          Process & Equipment
                                          79                   5.3.1                  Production benchmark
                                          80                   5.4          Investment
                                          81                   5.4.1                  Required investment
                                                               5.5          Production Quality Assurance
                                          82
                                                               5.5.1                   Q-Pianning Production
                                          83

                                          84                   6.0      Supply Chain Management
                                          85                   6.1          General Planninq & Organisation
                                          86                   6.2          Purchase
                                          87                   6.3          Supplier Qualitv Assurance
                                          88                   6.4          Loqistics

                                          89                   7.0      Quality Management
                                          90                   7.1          Requirements and quality targets
                                          91                   7.2          Qualitv planninq and controllinq
                                          92                   7.3          Materials Enqineering
                                          93                   7.4          Geometrical Measurement

                                          94                   8.0      Information Management
                                          95                   8.1          Strategy I Concept
                                                               8.1.1                   Initial concept




                                          96
                                          97                   8.2          IT Infrastructure
                                                               8.2.2                    Project set up


                                          98

                                          99                   9.0      Costs I Finance
                                                               9.1          Business case and program costs
                                         100
                                                               9.1.1                    Business case calculation


                                         101

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           74
           75     Initial assessment of requirements available                                                             PM-P
                  ~Initial alignment of customer (OEM) requirements with potentials for achieving production targets
                  ~Initial determination of target values from a technology viewpoint regarding timing, quality, costs
                  and manufacturability
           76
           77     NO REQUIREMENT FOR PV
           78     Production process benchmarks available
           79     ~Vehicle study compared with available competitor and reference products

           80     Initial estimate of investment requirements available
           81     ~Initial cost estimates to achieve desired production targets

                  Production quality assurance planning based on scope of work considered within QM Plan
           82
                  ~Quality   planning for production considered and documented within the Quality Management (QM)
           83     Plan

           84                                                                                                            PM-SCM
           85     NO     REQUIREMENT     FOR    PV
           86     NO     REQUIREMENT     FOR    PV
           87     NO     REQUIREMENT     FOR    PV
           88     NO     REQUIREMENT     FOR    PV

           89                                                                                                            PgR-Q
           90     NO     REQUIREMENT     FOR    PV
           91     NO     REQUIREMENT     FOR    PV
           92     NO     REQUIREMENT     FOR    PV
           93     NO     REQUIREMENT     FOR    PV

           94                                                                                                            PgR-IM
           95     Information Management initial concept                                                                  PgR-IM
                  ~Assumptions available regarding:
                  -program I project partners
                  -program I project locations
                  -number of employees per partner and location
                  ~Office IT support requirements for the feasibility phase defined and agreed
           96     ~IT support requirements for product design in the feasibility phase defined and agreed

           97     IT infrastructure to support the feasibility phase is ready for implementation
                  ~IT infrastructure to support the feasibility phase available:
                  -Office IT at required locations
                  -Communication between sites defined and ready for implementation
           98     -Infrastructure to meet product design requirements in the feasibility phase available

           99                                                                                                             PgM
                  Initial estimate of program costs, (non-recurring and part costs) and program finance plan               PgM
           100    available. Business Plan created based on initial cost estimates
                  ~Initial estimate of costs for the business case complete
                  ~Assumptions for the business case defined (location, production figures, costs structure,
                  grants/subsidies, ... )
           101    ~Scenarios aareed with customer !OEM) have been commerciallv assessed


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                                                                                        Benchmarking available
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                                         102
                                         103                   9.1.3                    Initial target framework defined
                                                               9.1.4                    Product costs
                                         104
                                                               9.1.5                    (Detailed) Budgets for feasibility defined




                                         105
                                                               9.2           Cost controlling
                                         106
                                                               9.2.1                    Cost controlling system

                                         107
                                                               9.2.2                    Project accounting




                                         108

                                         109                   10.0     After Sales
                                         110                   10.1          Strategy
                                         111                   10.2          Warranty I Service
                                         112                   10.3          Accessories I Spare parts
                                         113
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                  ~Values from experience regarding actual costs and quotations for comparable vehicles available
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                  ~Values checked and compared with current program/project
           102
           103    ~Initial target costs distributed at module group level according to the cost structure
                  ~Cost   targets for the module group broken down to module level
           104     ~Allocation of modules to module qroup checked with simultaneous enqineerinq team
                   ~Cost estimate for conducting the feasibility phase available
                   ~Cost comparison made with contracted sum and cost targets agreed with responsible
                  departments
                   ~Deviations to cost targets documented with explanations I justifications and potential measures
           105    for minimisation
                  Project financial controlling sytsem implemented for the feasibility phase and agreed                 PgM
           106    budgets are available. Current program cost status available
                   ~Cost controlling system available for the feasibility phase
                   ~Format and structure of documents for monitoring and reporting has been agreed internally and
           107    externally regarding program I project financial requirements
                   ~Distribution of budgets and accounts according to departments' scope of work defined and
                  available for booking
                   ~Budget availability confirmed (either contracted by customer or from acquisition budget up to
                  placement of order
           108     ~Comparison of planned costs aqainst actual is possible at project level


           109                                                                                                        PgR-AS
           110    NO REQUIREMENT FOR PV
           111    NO REQUIREMENT FOR PV
           112    NO REQUIREMENT FOR PV
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                                                                     Gate:             Preliminary Product Specification: Feasibility pha

                                           2                     PPS                   achievable and potential solutions evaluated.


                                           3
                                                         1.0
                                           4                         Program Management
                                                         1.1                 Master Timing

                                           5
                                                         1.1.1                         Detailed Timing
                                           6
                                                         1.1.2                         DVP Review
                                           7
                                           8             1.2                 Gateway Review
                                                         1.2.1                        Major Issues and Risks
                                           9
                                          10             1.2.2                         Red/Yellow Grren
                                          11             1.2.3                         Recovery Plans
                                          12             1.3                 Processes I Methods
                                          13             1.3.1                        Product Development Process
                                          14             1.3.2                        Meeting Schedule
                                                         1.3.3                        Change Management
                                          15
                                                         1.3.4                         Outsourced Engineering
                                          16
                                                         1.4                 Team Organization

                                          17
                                                         1.4.1                         Program Organisation
                                          18
                                                         1.5                 Contract Management
                                          19
                                          20             1.5.1                         Contract update
                                                         1.6                 Knowledge Management

                                          21
                                                         1.6.1                         Transfer of Experience
                                          22
                                          23             1.6.2                         Reflection of Experience (Lessons Learned)
                                                         1.7                 Configuration Management
                                          24
                                                         1.7.1                         Program target requirements
                                          25
                                          26             1.7.2                         Module tarqet framework
                                                         1.7.3                         Change request status- complete vehicle
                                          27

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                ;e is complete. Technical, economic and timing targets for the program I project are

            2
                                                                                                                      Responsible           Responsible        Responsible
            3                                                                                                            Role               Organisation          Name

            4                                                                                                       FMC-PM
                Program master timing schedule to SOP defined, agreed and confirmed by all departments.              Timing Manager
                PTO production planning and PTO testing schedule agreed within program team.
            5                                                                                                                                   FMC
                ~Detailed timing plan from all departments and Module Teams reviewed for compatability with          Timing Manager
            6   Program Timing                                                                                                                   ESS
                DVP including test timing and vehicle fleet reviewed and algi ned with Master Timing and Budget      Timing Manager              ESS
            7                                                                                                        Cost Controller      Vehicle Attributes
            8                                                                                                       Program Manager             FMC
                Major issues and risks from each department collated, assessed and filtered for Executive            Program Manager
            9   Reporting. All issues and risks assigned to owners with due dates for resolution                                                ESS
           10   Summary Red/Yellow/Green status for all areas reviewed and agreed for Executive Reporting            Program Manager            ESS
           11   Recovery plans for all Yellow items reviewd and agreed for Executive Reporting                       Program Manager            ESS
           12                                                                                                       Program Manager             FMC
           13   Product Development Process available and deliverables for next Gateway agreed with all areas        Program Manager            FMC
           14   Meeting schedule issued                                                                              Program Manager            FMC
                Change Management Proces in place. lnfrstructure, monitoring and meetings in place to control        Change Manager
           15   chagne                                                                                                                          FMC
                Outsourcing strategy in place and agreed. Outsourced Engineering companies under contract.          Program Manager
           16   Outsourced resource RASIC and orq structure aqreed.                                                                             FMC
                Teamwork and cooperation between all departments implemented and functioning                        Program Manager
                (information and communication ... ) Manpower planning available and agreed for next
           17   program phase. Long term planning for program available                                                                         FMC
                ~Program organisation and teamwork functioning according to planning                                Program Manager
           18   ~Manpower planning for the next phase for all departments reviews and confirmed                                                  ESS
                Confirmation that all parties accept the terms of contract. Inconsistencies within contract         Program Manager
           19   clarified and changes implemented                                                                                               FMC
           20   Contracts with all Engineering Service Suppliers in place                                           Program Manager             FMC
                Lessons Learned workshop for the phase to CC planned.                                               Program Manager
                Experiences from former programs I projects for the phase CC to FC have been prepared
           21   and adapted to the program.                                                                                                     FMC
                ~Relevant experiences from previous I current programs and projects for the phase PTC-FC            N/A This Program
           22   prepared and available
           23   Lessons Learned from all departments sumarised and documented for the next Program                  Program Manager              ESS
                Program targets confirmed and measures for target achievement defined.                            Configuration Manager
           24   Manufacturing concept available.                                                                                                FMC
                ~Status of program requirements available                                                         Configuration Manager
           25   ~Changes to program targets transferred to change management for tracking                                                       FMC
           26   ~Module target breakdown confirmed for all areas                                                  Configuration Manager         FMC
                ~Change requests to achieve VTS targets realised                                                  Configuration Manager
           27   ~Risks for non-implementation of changes highlighted and documented                                                             FMC

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                                                             Customer                  Status:       Forecast:
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                                                       1.7.4
                                                            MAGNA
                                                               E                          F
                                                                             Change request status- engineering module groups
                                          28

                                          29           2.0     Marketing
                                          30           2.1        Product Definition
                                                       2.1.1                Product positioning


                                          31
                                                       2.1.2                 Benchmark
                                          32
                                          33           2.1.3                 Sales Volumes
                                                       2.1.4                 Characteristics
                                          34
                                                       2.1.5                 Series and optional features

                                          35
                                                       2.2        Sales and Marketing
                                          36
                                          37           2.2.1                 Communication strategy
                                                       2.2.2                 Target markets
                                          38
                                          39           2.2.3                 Price range

                                          40           3.0     Styling
                                                       3.1        Styling status
                                          41
                                                       3.1.1                 Styling status

                                          42
                                          43           3.1.2                 Theme Selection (Go with One)
                                                       3.1.3                 30 Styling

                                          44
                                                       3.1.4                 Hardware model

                                          45
                                                       3.1.5                 Colour & Trim




                                          46

                                          47           4.0     Product Development
                                                       4.1        Product Development Targets



                                          48




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                ~Change   requests to achieve module targets realised
                                                                            MAGNA
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                                                                                                                  Configuration Manager
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           28   ~Risks for non-implementation of chanqes hiqhliqhted and documented                                                       FMC

           29                                                                                                       OEM-M
           30 Product positioning (Customer Market Profiles) and price I volumes confirmed
              ~Product vision available
              ~Product positioning confirmed
              ~Customer Market Profile available
           31 ~ Tarqet customer requirements (content/market) defined
              ~Core competitors confirmed
           32 ~Benchmarks for required product characteristics defined
           33 ~Sales volume plan by model and market over lifecycle available
              ~Target values for characteristics (subjective I objective) available
           34 ~Product relevant innovations decided
              ~Series I optional features and USPs defined
              ~Initial sales forecast for features by market
           35 ~Platform commonality proposal available
              Communication strategy defined and specific requirements for target markets are available
           36
           37 ~Draft dealer and marketing strategy for innovations and USPs
              ~Target markets defined
           38 ~Market specific requirements detailed
           39 ~Initial draft of target selling price by market and model

           40                                                                                                        PgR-St
              Current styling status available. Agreement reached to have only one variant for exterior C-
           41 Class and one variant for interior C-CI ass.
              ~Assessment of current status
              ~Reworked clay models + updated CAS available
           42 ~Measures defined and decisions documented to achieve proiect qoals
           43 ~Approval of reduction of variants to one main theme
              ~lniaital styling of exterior and interior described by 2D-Renderings and 3D-CAS (Alias surfaces)
              ~Refinement: Data model and numerical surface description updated
           44
              ~Description of shape (exterior and interior) available
              ~Scale 1:1 first styling model available
           45 ~Model appearance decision (painted I not painted· clay I foam)
              ~Detailed modelling and design samples according to automotive requirments available
              ~Grain and colour concept for a homogeneous interior is approved
              ~Strengths and weaknesses are specified
              ~Feasibility assessment is done and confirmed
           46 ~Cost estimation complete

           47                                                                                                         PM-E
              Engineering development strategy confirmed. Targets from the Customer Market Profile
              have been converted into measurable targets . Initial prognosis as to the achieveability of
              targets available. Technical inputs (target list) to Preliminary Product Specification Book
           48 available




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                                                           E
                                                       4.1.1
                                                                                      F
                                                                          Development strategy confirmed



                                          49
                                                       4.1.2              Platform suitability

                                          50
                                                       4.1.3              Project target requirements
                                          51
                                                       4.1.4              Technical target framework


                                          52
                                                       4.1.5              Complete Vehicle targets


                                          53
                                                       4.1.6              Technical Input for Preliminary Product Specification- Engineering project
                                          54
                                                       4.1.7              Technical Input for Preliminary Product Specification- Complete Vehicle
                                          55
                                                       4.1.8              Technical Input for Preliminary Product Specification- Engineering
                                          56                              Module Group
                                                       4.1.9              Benchmarking
                                          57
                                          58           4.1.10   MS lnt    Innovations
                                                       4.1.11             Patent research
                                          59
                                                       4.2      Function I Complete vehicle




                                          60
                                                       4.2.1              Complete Vehicle development strategy




                                          61
                                                       4.2.2              I-Team status


                                          62
                                                       4.2.3              Design Verification Plan

                                          63
                                                       4.2.4              VPT Status


                                          64
                                                       4.2.5              Vehicle test and hardware planning
                                          65
                                          66           4.3      Functional Safety
                                                                                     PPS
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                ~Development     approach and sequence defined
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                 ~Hardware agreements for development scope of works available
                 ~Confirmation of technical development within the specified timeframe
                 ~Technical implementation of defined measures agreed
           49    ~Technical risks defined and measures for risk minimisation aqreed
                 ~Existing platform - assessed for suitability to achieve targets within the defined scope of work
                 ~New platform- proposed concepts assessed and facilitate the achievement of targets within the
           50   defined scope of work
                 ~Project technical targets assessed and potential target conflicts indicated
           51    ~Plans and measures for target achievement available
                 ~End customer and subjective targets from Customer Market Profile translated into technical
                targets
                 ~Draft technical target framework broken down to complete vehicle and module level
           52    ~Enqineerinq contribution to Preliminary Product Specification available
                 ~Target achievement, test status and risk assessment from feasibility phase at I-Team level
                 ~Achievement of complete vehicle targets for feasibility phase confirmed
                 ~Targets and acceptance criteria for concept phase defined and agreed
           53    ~Known conflicts documented and measures defined
                 ~Standard content for Preliminary Product Specification clarified and defined
           54
                ~Technical     issues for inclusion in PPS defined and available
           55
                ~Technical     issues for inclusion in PPS defined and available
           56
                ~Benchmarking     vehicles confirmed
           57   ~Benchmarks     for main product characteristics available
           58   ~Potential product innovations considered within existing concepts
                ~Initial patent research for feasibility proposals conducted
           59   ~Potential patent conflicts and infrinqements indicated

                Development strategy for each 1-Team defined and available for the concept phase. Initial
                complete vehicle virtual status for functions and/or assessment based on expertise is
                available. DVP and test plan for the concept phase have been created and agreed. First
                draft DVP and vehicle list for series development phase created and available
           60
                ~Development       strategy for each I-Team according to scope of work
                ~Technical    risks defined with agreed measures for target achievement
                 ~Target alignment status alii-Teams
                 ~Draft target breakdown to module level available
                 ~Opportunities for improvements highlighted
           61    ~Input to PPS available
                 ~Target alignment status of individual 1-Teams
                 ~Strategy for target achievement agreed and available for each I-Team
                 ~Draft target breakdown to module level available
           62    ~Input to PPS available for each I-Team
                 ~DVP (virtual and physical testing) for complete vehicle scope of work in the concept phase
                 ~Detailed test plan for hardware tests in the concept phase
           63    ~Draft DVP for series development
                 ~Results of simulations I expert assessments from VPT-PPS (virtual prototype) according to DVP
                for the feasibility phase available
                 ~Initial results from the feasibility phase assessed and action plan defined for individual I-Teams
           64
                ~Initial   estimate of hardware requirements (mock ups, prototypes, PTO vehicles) to meet
           65 verification needs accordinq to proposed development strateqv
           66 Functional safety plan implementation status
                                                                                                       PPS
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                                                           MAGNA
                                                       4.3.1
                                                              E                          F
                                                                         Implementation of functional safety

                                          67
                                          68           4.4     Engineering Modules
                                                       4.4.1             Module group status

                                          69
                                                       4.5     Vehicle Architecture

                                          70
                                                       4.5.1             Target development
                                          71
                                                       4.5.2             Dimensional concept
                                          72
                                                       4.5.3             Vehicle package

                                          73
                                                       4.6     Styling Technical Convergence
                                          74
                                                       4.6.1             Styling technical convergence process


                                          75
                                                       4.6.2             Packaging requirements

                                          76
                                                       4.6.3             C-Ciass: Styling definition

                                          77
                                          78           4.6.4             Gap & Step
                                                       4.7     Data Management
                                          79
                                                       4.7.1             Product documentation method
                                          80
                                                       4.7.2             CAx and product data management

                                          81
                                                       4.7.3             DMU data management
                                          82
                                                       4.7.4             Data and document supply
                                          83
                                          84           4.7.5             Weight tracking
                                          85           4.7.6             Component cost tracking




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                ~Functional   safety plan agreed
                                                                            MAGNA
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                ~Status of functional safety plan implementation
           67   ~Measures for known issues determined and allocated
           68   Current status available for all module groups
                ~Results from feasibility phase
                ~Open issues documented
           69   ~Action plan I next steps defined and agreed
                Customer Market Profile targets converted into objective targets. Dimensional concept
                defined and major dimensions available.
           70   Critical packaQe erQonomic and leQal topics verified.
                ~Targets from the Customer Market Profile have been converted into measurable targets.
           71   ~ TOP 30 Dimensions are defined
                ~Dimensional concept available.
           72   ~ TOP 30 dimensions defined
                ~Critical package issues verified
                ~Ergonomic issues determined
           73   ~ Leqal issues and requirements verified
                Styling technical convergence process has been agreed within the project and current
           74   status is available
                ~Process for STC to achieve production surfaces agreed, including timing and working methods
                ~Surface definitions and deliverables agreed for C/B/A class
                ~Exterior/interior surface readiness assessed
           75
                ~Styling proposals evaluated against packaging requirements for all styling models
                ~Vehicle  properties and master sections are frozen as engineering criteria.
           76   ~Conflicts identified and actions defined
                ~Styling surface definition and selection for first Engineering Data Freeze (VPT-TA)
                ~Vehicle layout generation for 3D CAD
           77   ~Data for bodv structurallavout and exterior I interior available
           78   ~Quality characteristics defined as overview for exterior and interior

              Base IT requirements, CAx and product data management requirements defined,
           79 implemented and traininQ conducted.
              ~Method and format for technical product documentation during the concept phase agreed
           80 ~Part number allocation determined
              ~Requirements for the concept phase defined and implemented
              ~Training requirements fulfilled
           81 ~Implementation status documentation agreed
              ~Work instruction for DMU data management available
           82 ~Svstem for DMU data manaqement in the concept phase defined and implemented
              ~Supply of required data and documentation agreed
           83
           84 ~Method for documenting component weight status in the concept phase agreed
           85 ~Method for documenting component costs in the concept phase agreed




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                                                       4.7.7
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                                                                            Engineering information and data management requirements




                                          86
                                                       4.7.8                Engineering information and data management requirements for complete
                                                                            vehicle



                                          87
                                                       4.7.9                Engineering information and data management requirements for module
                                                                            groups




                                          88
                                                       4.7.10               Product module structure


                                          89
                                          90           4.8        Product Quality Assurance
                                                       4.8.1               Product Quality Assurance

                                          91
                                          92           4.8.2                Q-Pianning Product
                                          93           4.8.3                Risk Filter Product
                                                       4.8.4                Perceived Quality (Virtual/ Physical)
                                          94
                                          95           4.8.5                OM-Release Product

                                          96           5.0      Production
                                                       5.1        Production Planning
                                          97
                                                       5.1.1                Production strategy


                                          98




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                ~Requirements
                                                                            MAGNA
                                agreed with Data Management for complete vehicle and engineering module
                                                                                                                      H     I       j


                groups
                ~Individual    requirements of module groups and complete vehicle balanced and agreed
                ~Work      packages clarified
                - Cf!\x. and product data management
                - Change management
                - Claims management
                - DMU data management
                - Supplier data management
                -Weight management
                - Cost tracking
           86   - Monitorinq
                ~Requirements agreed with Data Management for complete vehicle
                ~Work packages clarified
                - Cf!\x. and product data management
                - DMU data management
                -Weight management
           87   - Monitorinq
                ~Requirements agreed with Data Management for engineering module groups
                ~Work packages clarified
                - Cf!\x. and product data management
                - Change management
                - DMU data management
                - Supplier data management
                -Weight management
           88   - Monitorinq
                ~Module structure defined for scope of work and evaluated at the purchased parts level for defined
                reporting vehicle
                ~Weight mangagement at module level available within BOM
           89   ~Inputs to BOM confirmed

           90   Product quality planning and risk assessment available to meet product targets
                ~Product quality assurance planning based on scope of work available
                ~Risk assessment status available
           91   ~Benchmark vehicle reports and perceived quality risk list available
           92   ~Progress status for product quality planning available

           93   ~Risk judgment status assessed
                ~Perceived quality process agreed for whole program
           94   ~Perceived quality risk list available
           95   ~Preliminary scope and checks of the OM-Release Product available


           96                                                                                                        PM-P
                Initial feasibility studies conducted. Production target framework agreed and available
           97   based on program requirements
                ~Production development approach defined
                ~Confirmation of technical implementation within the specified timeframe
                ~Technical implementation of defined measures outlined
           98   ~Risks defined and measures for risk minimisation agreed




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                                                       5.1.2
                                                            E                          F
                                                                              Feasibility study




                                         99
                                         100           5.1.3                  Production target framework
                                                       5.1.4                  Local Authority requirements
                                         101
                                         102           5.2        Layout
                                                       5.2.1                  Production layout plan
                                         103
                                         104           5.3        Process & Equipment
                                                       5.3.1               Assembly sequence and equipment list
                                         105
                                                       5.3.2                  Process simulation (virtual process week)

                                         106
                                         107           5.4        Investment
                                                       5.4.1               Required investment
                                         108
                                                       5.4.2                  Supplier List for production and facility requirements
                                         109
                                         110           5.5        Production Quality Assurance
                                                       5.5.1                Q-Pianning Production
                                         111

                                         112           6.0      Supply Chain Management
                                         113           6.1        General Planning & Organisation
                                                       6.1.1                SCM strategy

                                         114
                                                       6.2        Purchase
                                         115
                                                       6.2.1                  Long lead part definition
                                         116
                                                       6.2.2                  Supplier selection

                                         117
                                         118           6.3        Supplier Quality Assurance
                                                       6.3.1                Technical Readiness
                                         119
                                                       6.3.2                  Innovation assessment for series development

                                         120
                                         121           6.4        Loqistics
                                                       6.4.1                  Logistic concept

                                         122

                                         123           7.0      Quality Management
                                                                                         PPS
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                 ~Organisational    implementation in production
                                                                            MAGNA
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                 ~Economic feasibility (cost constraints)
                 ~Technical feasibility (manufacturability)
                 ~Production realisation appraisal, including required timeframe
                 ~Resources and their availability (equipment, production zones, ... )
                 ~Timing implementation (manufacturing times, schedule)
           99    ~Initial quotation for the implementation is available

           100   ~Production target system agreed with customer (OEM) on the basis of program requirements
                 ~Legal requirements identified with regard to Local Authority authorisations ~Supply and waste
           101   disposal etc. Plan for compliance available
           102   Area utilization plan and production concept available
                 ~Area utilisation plan
           103   ~ Loqistics concept for supply and waste removal

           104   Initial equipment list available
                 ~Preliminary assembly sequence defined
           105   ~Preliminary equipment list available
                 ~Production processes for body, paint and general assesmbly simulated according to the maturity
                 of the available data
           106   ~Identified issues documented responsibility determined and measures agreed

           107   Plan for required investments available
                 ~Required production investment identified
           108   ~Investment planninq available
                 ~Capital expenditure for scope of supply has been compiled
           109   ~Potential supplier list for production and facility requirements complied

           110   Initial quality planning for production and QM release process available
                 ~Quality planning and feasabilty checked
           111   ~Preliminary scope and checks of the OM-Release process available


           112                                                                                                      PM-SCM
           113 Supply chain development strategy defined and feasible
                 ~Supply    Chain Management development approach defined
                 ~Proposal    for strategy implementation within the specified timeframe (Master timing)
           114   ~Risks defined and measures for risk minimisation aqreed
                 List of potential suppliers agreed. Long lead parts identified and sourcing strategy available.
           115   Technical concepts aqreed for critical parts
                 ~Initial planning for sourcing of critical items
           116   ~Preliminary information for critical part toolinq lead times
                 ~List of potential suppliers capable of meeting supply requirements for scope of work in Concept
                 Phase available
           117   ~Identification of potential critical suppliers for series development for defined scope of work

           118   SQA source evaluation planning agreed and available for critical parts
                 ~Draft source evaluation
           119   ~Technical concepts aqreed for critical parts
                 ~Innovations within the vehicle with regards to implementation have been assessed
                 (manufacturability, timing, costs ... )
           120   ~Potential suppliers for innovations assessed reqardinq level of risk for scope of supply
           121   Customer requirements agreed
                 ~Customer (OEM) requirements defined
                 ~Preliminary logistic concept available
           122   ~Status oftarqet aliqnment


           123                                                                                                      PgR-Q
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                                                       7.1
                                                            E                         F
                                                                  Requirements and quality targets
                                         124
                                         125           7.1.1                  Quality requirements
                                                       7.1.2                  Quality targets




                                         126
                                         127           7.2        Quality planning and controlling
                                                       7.2.1                 Quality planning
                                         128
                                                       7.2.2                  Quality controlling



                                         129
                                         130           7.3        Materials Enaineerina
                                         131           7.4        Geometrical Measurement
                                                       7.4.1                 Matching Geometry
                                         132
                                         133           7.4.2                  Body in White - quality control geometry

                                         134           8.0      Information Management
                                         135           8.1        Strateav I Concept
                                                       8.1.1                 Office IT concept
                                         136
                                                       8.1.2                  IT system concept for design and product verification
                                         137
                                         138           8.2        IT Infrastructure
                                                       8.2.2                  Office IT infrastructure

                                         139
                                                       8.2.3                  IT infrastructure for design and product verification

                                         140

                                         141           9.0      Costs I Finance
                                                       9.1        Business Case and Program Costs

                                         142
                                                       9.1.1                  Business plan
                                         143
                                                       9.1.2                  Economic feasibility


                                         144




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                 Quality planning and requirements documented to meet program requirements at PPS
                                                                                                                          H      I     j


           124
           125   ~Customer     quality strategy and requirements available
                 ~Preliminary    Quality Targets defined, eg.
                 - Perceived Quality
                 -J .D. Power
                 - APEALIIQS
                 - Product audit
                 -Warranty
                 - Road assistance report
           126   - Quality durability test ...
           127   QM Plan agreed for program
                 ~Quality Management (QM)-Pian agreed with customer (OEM) and program
           128   ~QM Plan report· implementation status meets proQram requirements at PPS
                 ~Status report on all quality requirements, including but not limited to:
                 - Knowledge management
                 - Risk management
                 - Issue management
           129   -quality checks ...
           130   NO REQUIREMENT FOR PPS
           131   Matching strategy and measurement planning available
                 ~Initial definition of matching strategy available (cubing, master buck, ... )
           132   ~Initial RFQs with key project information for matchinQ equipment sent to suppliers

           133   ~Initial planning of infrastructure and measurement equipment available


           134                                                                                                          PgR-IM
           135 IT concept for the concept phase ready and agreed in the Program
                 ~IT  concept for servicing of office space implemented for the concept phase
           136   ~Concept    for communication between locations aqreed
                 ~IT system concept for product design in concept phase agreed
           137   ~Supply of data for product desiQn and verification ensured

           138   IT infrastructure is ready for implementation
                 ~Project offices supplied with required infrastructure and equipment
                 ~Office IT systems technically configured at all locations
           139   ~Communication between locations implemented
                 ~IT systems for product design and verification in the concept phase technically configured at all
                 locations
           140   ~Communication between locations implemented


           141                                                                                                           PgM
                 Business plan checked against current values and business case status is available.
                 Program cost estimates, planning (non-recurring and part costs) and program finance plan
           142   available
                  ~Business plan checked against currently available values
           143    ~Business plan status update available
                  ~Assumptions regarding locations, production figures, parts structure, grants and subsidies defined
                 for the business case
                  ~Scenario agreed with customer (OEM) commercially evaluated
           144    ~Draft tarqets assiqned to modules within the parts structure




                                                                                                        PPS
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                                                       9.1.3
                                                            E                          F
                                                                              Cost estimate for program


                                         145
                                                       9.1.4                  Cost estimate for engineering project

                                         146
                                                       9.1.5                  Cost estimate for the production project


                                         147
                                                       9.1.6                  Cost estimate for supply chain


                                         148
                                                       9.2         Cost controlling

                                         149
                                                       9.2.1                  Cost controlling system
                                         150
                                                       9.2.2                  Budgets
                                         151
                                                       9.2.3                  Payment plan

                                         152
                                                       9.2.4                  Cost drivers
                                         153
                                                       9.2.5                  Parts cost status




                                         154
                                                       9.2.6                  Product Costs

                                         155
                                                       9.2.7                  Production costs (assembly fee)



                                         156

                                         157           10.0     After Sales
                                         158           10.1        StrateQy
                                         159           10.1.1                After Sales concept
                                         160           10.2        Warranty I Service
                                         161           10.2.1                 Maintenance concept
                                         162           10.2.2                 Serviceability concept
                                         163           10.2.3                 Insurance classification rate
                                         164           10.2.4                 Diagnostics concept
                                         165           10.3        Accessories I Spare parts
                                         166           10.3.1                Spare parts I accessories procurement concept

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                 ~Overall  estimate of planned program costs
                                                                            MAGNA
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                 ~Overview of non-recurring costs
                 ~Overview of recurring costs
           145   ~Finance plan based on financial tarQets
                 ~Estimate of planned engineering costs
                 ~Overview of non-recurring costs
           146   ~Finance plan based on financial targets
                 ~Estimate of planned production project costs
                 ~Overview of non-recurring costs
                 ~Overview of recurring costs
           147   ~Finance plan based on financial tarQets
                 ~Estimate of planned supply chain management project costs
                 ~Overview of non-recurring costs
                 ~Overview of recurring costs
           148   ~Finance plan based on financial tarQets
                 Project financial controlling sytsem implemented for the Concept Phase . Detailed budgets
                 have been distributed.
           149   Current program cost status (non-recurring and part costs) available
                 ~Cost controlling system adapted to program structure
           150   ~Cost monitorinQ analysis available
                 ~Detailed budgets created for each area of responsibility in the concept phase
           151   ~BudQet aQreements documented
                 ~Payment plan defined for the concept phase based on master timing and conditions to be fulfilled
                 ~Draft payment I expenditure plan for series development available
           152
                 ~Change     management issues from modules assessed
           153   ~Maior   cost drivers identified and aqreed
                 ~Carry over parts within concept parts structure
                 -part costs estimate
                 -required investment
                 ~New I modified parts within concept parts structure
                 -part costs estimate
           154   -required investment
                 ~Plausibility check of non-recurring costs
                 ~Plausibility check of piece price
           155   ~Status for scope of work of plan versus actual with deviations hiQhliQhted
                 ~Overall status for scope of work of plan versus actual with, deviations highlighted
                 - Capacity reservation charge
                 -fixed costs
                 - variable costs
           156   ~Forecast based on defined measures for tarqet achievement


           157                                                                                                       PgR-AS
           158   After Sales concept feasible
           159   ~After Sales concept checked and feasible

           160   Serviceability and diagnostics concept feasible
           161   ~Maintenance concept checked and feasible

           162   ~Serviceability concept checked and feasible

           163   ~Insurance classification rate concept checked and feasible

           164   ~Draft diagnostics concept checked and feasible

           165   Spare parts procurement concept feasible
           166   ~Spare parts I accessories procurement concept checked and feasible


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                                                                     Gate:               Concept Target Confirmation: Concept phase       is~

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                                           3
                                                         1.0
                                           4                         Program Management
                                                         1.1                 Master Timing

                                           5
                                                         1.1.1                         Detailed Timing
                                           6
                                                         1.1.2                         DVP Review
                                           7
                                           8             1.2                 Gateway Review
                                                         1.2.1                        Major Issues and Risks
                                           9
                                          10             1.2.2                         Red/Yellow Grren
                                          11             1.2.3                         Recovery Plans
                                          12             1.3                 Processes I Methods
                                          13             1.3.1                        Product Development Process
                                          14             1.3.2                        Meeting Schedule
                                                         1.3.3                        Change Management
                                          15
                                                         1.3.4                         Outsourced Engineering
                                          16
                                                         1.4                 Team Organization

                                          17
                                                         1.4.1                         Program Organisation
                                          18
                                                         1.5                 Contract Management
                                          19
                                          20             1.5.1                         Contract update
                                                         1.6                 Knowledge Management

                                          21
                                                         1.6.1                         Transfer of Experience
                                          22
                                          23             1.6.2                         Reflection of Experience (Lessons Learned)
                                                         1.7                 Configuration Management
                                          24
                                                         1.7.1                         Program target requirements
                                          25
                                          26             1.7.2                         Module tarqet framework
                                                         1.7.3                         Change request status- complete vehicle
                                          27
                                                         1.7.4                         Change request status- engineering module groups
                                          28
                                                                                                CTC
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                complete. The technical, economic and timing targets for the program I project have
            2
                m assessed as achievable and agreed.
                                                                                                                      Responsible           Responsible        Responsible
            3                                                                                                         Department            Organisation          Name

            4                                                                                                       FMC-PM
                Program master timing schedule to SOP defined, agreed and confirmed by all departments.              Timing Manager
                PTO production planning and PTO testing schedule agreed within program team.
            5                                                                                                                                   FMC
                ~Detailed timing plan from all departments and Module Teams reviewed for compatability with          Timing Manager
            6   Proqram Timinq                                                                                                                  ESS
                DVP including test timing and vehicle fleet reviewed and algi ned with Master Timing and Budget      Timing Manager             ESS
            7                                                                                                        Cost Controller      Vehicle Attributes
            8                                                                                                       Program Manager             FMC
                Major issues and risks from each department collated, assessed and filtered for Executive            Program Manager
            9   Reportinq. All issues and risks assiqned to owners with due dates for resolution                                                ESS
           10   Summary Red/Yellow/Green status for all areas reviewed and agreed for Executive Reporting            Program Manager            ESS
           11   Recovery plans for all Yellow items reviewd and agreed for Executive Reporting                       Program Manager            ESS
           12                                                                                                       Program Manager             FMC
           13   Product Development Process available and deliverables for next Gateway agreed with all areas        Program Manager            FMC
           14   Meeting schedule issued                                                                              Program Manager            FMC
                Change Management Proces in place. lnfrstructure, monitoring and meetings in place to control        Change Manager
           15   chaqne                                                                                                                          FMC
                Outsourcing strategy in place and agreed. Outsourced Engineering companies under contract.          Program Manager
           16   Outsourced resource RASIC and orq structure aqreed.                                                                             FMC
                Teamwork and cooperation between all departments implemented and functioning                        Program Manager
                (information and communication ... ) Manpower planning available and agreed for next
           17   proqram phase. Lonq term planninq for proqram available                                                                         FMC
                ~Program organisation and teamwork functioning according to planning                                Program Manager
           18   ~Manpower planninq for the next phase for all departments reviews and confirmed                                                 ESS
                Confirmation that all parties accept the terms of contract. Inconsistencies within contract         Program Manager
           19   clarified and changes implemented                                                                                               FMC
           20   Contracts with all Engineering Service Suppliers in place                                           Program Manager             FMC
                Lessons Learned workshop for the phase to CC planned.                                               Program Manager
                Experiences from former programs I projects for the phase CC to FC have been prepared
           21   and adapted to the program.                                                                                                     FMC
                ~Relevant experiences from previous I current programs and projects for the phase PTC-FC            N/A This Program
           22   prepared and available
           23   Lessons Learned from all departments sumarised and documented for the next Program                  Program Manager             ESS
                Program targets confirmed and measures for target achievement defined.                            Configuration Manager
           24   Manufacturinq concept available.                                                                                                FMC
                ~Status of program requirements available                                                         Configuration Manager
           25   ~Chanqes to proqram tarqets transferred to chanqe manaqement for trackinq                                                       FMC
           26   ~Module tarqet breakdown confirmed for all areas                                                  Confiquration Manaqer         FMC
                ~Change requests to achieve VTS targets realised                                                  Configuration Manager
           27   ~Risks for non-implementation of chanqes hiqhliqhted and documented                                                             FMC
                ~Change requests to achieve module targets realised                                               Configuration Manager
           28   ~Risks for non-implementation of chanaes hiahliahted and documented                                                             FMC
                                                                                                   CTC
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                             2
                                          Customer         Status:       Forecast:
                             3           (Approval)        CWxxx          CWxxx

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                                                       B._ U d J\.
                                                          1.11.1
                                                                     D   E
                                                                             Definition of responsibilities- Program
                                                                                                                       F

                                          30              1.11.2             Definition of responsibilities- Engineering Development
                                          31              1.11.3             Definition of responsibilities- Module Group
                                          32              1.11.4             Definition of responsibilities- Complete Vehicle
                                                          1.11.5             Definition of responsibilities- Engineering Module Group
                                          33
                                          34              1.11.6             Definition of responsibilities- Data Management
                                          35              1.11.7             Definition of responsibilities- Production
                                                          1.11.8             Definition of responsibilities- Supply Chain
                                          36
                                                          1.11.9             Definition of responsibilities- Quality
                                          37
                                          38              1.11.10            Definition of responsibilities- Information Management
                                                          1.11.11            Definition of responsibilities- Finance
                                          39
                                                          1.11.12            Definition of responsibilities- After Sales
                                          40
                                                          1.11.13            Reporting - Program

                                          41
                                                          1.11.14            Reporting - Engineering Project

                                          42
                                                          1.11.15            Communication infrastructure - Program
                                          43
                                                          1.11.16            Communication infrastructure - Engineering project
                                          44
                                                          1.11.17            Communication Strategy


                                          45
                                                          1.11.18            Communication Strategy
                                          46
                                                          1.11.19            Communication Strategy

                                          47
                                                          1.11 .20           Communication Strategy
                                          48
                                                          1.11.21            Communication Strategy
                                          49
                                                          1.11.22            Communication Strategy
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                                                          1.11.23            Communication Strategy
                                          51
                                                          1.11 .24           Communication Strategy
                                          52
                                                          1.11.25            Communication Strategy
                                          53
                                                          1.11.26            Communication Strategy
                                          54
                                                          1.11.27            Communication Strategy
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           29   ~ RASI   for the   series   development   phase
                                                                            MAGNA
                                                                  activities at program level agreed
                                                                                                                          H       I         j


           30   ~ RASI   for the   series   development   phase   activities for engineering scope of work agreed
           31   ~ RASI   for the   series   development   phase   activities for module group scope of work agreed
           32   ~ RASI   for the   series   development   phase   activities for complete vehicle scope of work agreed
                ~ RASI   for the   series   development   phase   activities for Engineering Module Group scope of work
           33 agreed
           34 ~ RASI for the series development phase activities for Data Management scope of work agreed
           35 ~ RASI for the series development phase activities for Production scope of work agreed
                ~ RASI   for the series development phase activities for Supply Chain Management scope of work
           36 agreed
                ~ RASI   for the series development phase activities for Quality Management scope of work agreed
           37
           38   ~ RASI   for the series development phase activities for IT Management scope of work agreed
                ~ RASI   for the series development phase activities for Finance and Controlling scope of work
           39 aQreed
                ~ RASI   for the series development phase activities for Finance and Controlling scope of work
           40 aqreed
                ~Standard reporting templates (e.g., minutes of meeting, reports, decision matrix, presentations,
                one-pager ... ) for the serial development phase agreed with PgM I OEM
           41   ~Templates communicated to team and available for use
                ~Standard reporting templates (e.g., minutes of meeting, reports, decision matrix, presentations,
                one-pager ...) for the serial development phase agreed with PM-E I OEM
           42   ~Templates communicated to team and available for use
                ~File structure agreed for the serial development phase
           43   ~Access riQhts defined implemented and team members informed
                ~File structure agreed the serial development phase
           44   ~Access riohts defined implemented and team members informed
                ~Meetings at Program level (e.g., (Magna Steyr internal, customer OEM) suppliers, partners ... ).for
                series development phase agreed
                ~Meeting participants selected and informed
           45   ~Meetings aligned to optimise information flow
                ~Meetings in module group scope for the series development phase agreed
           46   ~MeetinQs aliQned with proQram and EnQineerinQ project structure
                ~Meetings at Engineering project level (e.g., (Magna Steyr internal, customer OEM) suppliers,
                partners ... ).for the series development phase agreed
           47   ~MeetinQs aliQned with proQram structure
                ~Meetings in Complete Vehicle scope for the series development phase agreed
           48   ~Meetings aligned with program and Engineering project structure
                ~Meetings in engineering module group scope for the series development phase agreed
           49   ~MeetinQs aliQned with proQram and EnQineerinQ project structure
                ~Meetings in Data Management scope for the series development phase agreed
           50   ~MeetinQs aliQned with proQram and EnQineerinQ project structure
                ~Meetings in Change Management scope for the series development phase agreed
           51   ~Meetinqs aliqned with proqram and Enoineerinq project structure
                ~Meetings in Production scope for the series development phase agreed
           52   ~MeetinQs aliQned with proQram and EnQineerinQ project structure
                ~Meetings in Supply Chain scope for the series development phase agreed
           53   ~Meetings aligned with program and Engineering project structure
                ~Meetings in Quality Management scope for the series development phase agreed
           54   ~MeetinQs aliQned with proQram and EnQineerinQ project structure
                ~Meetings in IT scope for the series development phase agreed
           55   ~MeetinQs aliQned with proQram and EnQineerinQ project structure



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                                                       1.11.28
                                                                                       F
                                                                               Communication Strategy
                                          56
                                                       2.0
                                          57                     Marketing and Sales
                                                       2.1          Product Definition

                                          58
                                                       2.1.1                   Product positioning


                                          59
                                          60           2.1.2                   Benchmark
                                          61           2.1.3                   Sales Volumes
                                                       2.1.4                   Characteristics
                                          62
                                                       2.1.5                   Series and optional features
                                          63
                                                       2.2          Sales and Marketing
                                          64
                                          65           2.2.1                   Communication strategy
                                                       2.2.2                   Target markets
                                          66
                                          67           2.2.3                   Price range
                                                       10.0
                                          68                     After Sales
                                          69           10.1         Strateqy
                                          70           10.1.1                  After Sales Targets
                                          71           10.1.2                  Overall timing
                                                       10.2         Warranty I Service
                                          72
                                                       10.2.1                  Maintainance concept
                                          73
                                                       10.2.2                  Serviceability concept
                                          74
                                                       10.2.3                  Insurance classification
                                          75
                                                       10.2.4                  Diagnostics concept
                                          76
                                                       10.3         Accessories I Spare parts
                                          77
                                                       10.3.1                  Spare parts I accessories procurement concept
                                          78
                                                       3.0
                                          79                     Design (Styling)
                                          80           3.1          Stylinq status
                                          81           3.1.1                   3D Styling refinement
                                          82           3.1.2                   Styling Freeze
                                          83           3.1.3                   Styling Verification
                                                       3.1.4                   Hardware model

                                          84

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                ~Meetings
                                                                            MAGNA
                            in After Sales scope for the series development phase agreed
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           56   ~Meetinqs   aliqned with proqram and Enqineerinq project structure

           57                                                                                                   FMC-MS
                Product positioning (Customer Market Profile), product features and volumes confirmed.
                Core competitors are confirmed. Target customer requirements and product contribution to
           58   the brand are defined
                ~Customer clinics confirm Customer Market Profile
                ~Program for each market defined
                ~Selling price determned based on world markets
           59   ~Cost of ownership determined

           60   ~All core competitors and benchmark values confirmed

           61   ~Sales volume plan by model and market over lifecycle updated
                ~Target values for characteristics (subjective I objective) available
           62   ~Product relevant innovations decided
                ~Series I optional features and USPs confirmed
           63   ~Sales forecast for optional features by market updated

                Customer targets confirmed (country-specific as required), target selling price determined
           64
           65   ~Draft   dealer and marketing strategy for innovations and USPs
                ~Target   markets defined
           66   ~Market specific requirements detailed
           67   ~Initial draft of target selling price by market and model


           68                                                                                                   FMC-AS
           69 Timing and After Sales concept are agreed
           70 ~After Sales targets are agreed and implemented in specifications
           71 ~After Sales overall timing is agreed and timeplan is available
                Timing and serviceability, insurance classification rate and diagnostics concept are agreed
           72 and requirements have been transfered to each module qroup
                ~Targetagreement for maintenance external/ internal
           73   ~ Tarqets
                        available in written form and implemented in specifications
              ~Target agreement for serviceability external/ internal
           74 ~Targets available in written form and implemented in specifications
              ~Target agreement for insurance classsification external/Internal
           75 ~ Tarqets available in written form and implemented in specifications
              ~Target agreement for diagnostics external/Internal
           76 ~ Tarqets available in written form and implemented in specifications
              Timing and spare parts procurement concept are agreed and requirements have been
           77 transfered to each module group
              ~Target agreement for spare parts I accessories external/Internal
           78 ~ Tarqets available in written form and implemented in specifications

           79                                                                                                   FMC-D
           80 Styling freeze complete, actual styling status available
           81 ~Styling database and CAS model (Alias) updated
           82 ~Styling shape approved and frozen
           83 ~Technical requirements for C-->B Class incorporated into surfacing loops
                ~Milling,
                        rework and finish of clay model, incorporating technical input
                ~Fullscale clay model (exterior and interior) painted and coated in required finish
           84   ~Optimised clay model (exterior and interior) approved and documented


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                                                       3.1.5
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                                                               E
                                                                           Colour & Trim
                                                                                          F

                                          85
                                                       4.6        Styling Technical Convergence
                                          86
                                                       4.6.1               Styling confirmation
                                          87
                                                       4.6.2               C-Ciass: Styling Surface


                                          88
                                                       4.6.3                B-Ciass: Styling Surface for VPT-TA




                                          89
                                                       4.6.4               Gap & Step
                                          90
                                                       4.0
                                          91                   Vehicle Integration
                                                       4.1        Product Development Targets

                                          92
                                          93           4.1.1               Presentation of concepts
                                                       4.1.2               Technical target framework



                                          94
                                                       4.1.3               Complete vehicle targets




                                          95
                                                       4.1.4               Module targets- engineering


                                          96
                                                       4.1.5               Definition of digital vehicles
                                          97
                                                       4.1.6               Test standards

                                          98
                                                       4.1.7                Benchmarking
                                          99
                                                       4.1.8               Patent research
                                         100



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                ~Materials,  colours and trim concept defined
                                                                            MAGNA
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           85   ~Process to supply material samples from production process implemented
                Styling frozen . Project requirements are implemented in styling and maturity level achieved
           86   that supports serial development accordinQ to Master TiminQ.
                ~Major Styling evaluation is done.
           87   ~Stylinq Freeze model is available and approved
                ~Exterior and interior styling surface based on Theme Selection (TS)
                ~Part volumes I split lines defined
                ~Confirmation of surface deviation<+!- 2,5 mm
           88   ~Confirmation of surface quality< 0 02 mm
                ~Surface definition based on data and information from Styling Freeze
                ~Part component definition based on the maturity ofTIS-B (Technical input stop-B class) (VPT-TA
                Simulation Loop).
                ~Feasibility check with available suppliers done.
           89   ~Surface Quality< 0,02 mm and gaps are defined
                ~Quality characteristics defined as single section and nominal value target have been verified and
           90   confirmed.

           91                                                                                                        FMC-VI
               Product target catalogue is specified and agreed for serial development. Targets have been
               cascaded to module level. Technical inputs to Vehicle Product Specification book available
           92 and complete
           93 ~Presentation of results of concept phase from individual technical areas available
               ~The target catalogue with technical targets at vehicle level has been checked and released
               ~The target catalogue with technical targets at module level has been checked and released
               ~Engineering specific contribution to Vehicle Product Specification has been agreed with the
               customer (OEM) and is released
           94 ~List of open issues with defined counter measures is available
               ~Targets from the Customer Market Profile have been converted into the Vehicle Technical
               Specification (VTS).
               ~ Target achievement, test status and risk assessment for complete vehicle area of responsibility
               have been summarised based on individual I-Team status, checked for plausibility and documented
               ~Achievement of complete vehicle targets for the concept phase confirmed
               ~Known target conflicts and high risks (assessed as R or Y) highlighted and documented
               ~ Rough part/system recomendation based on achievability of VTS targets done
               -COP vs. innovative part/plattform vs. modified part
               ~Function list completed; responsibilities defined
           95
               ~Complete vehicle technical product targets are structured, consistent with full vehicle targets,
               broken down and assigned module groups
               ~Module group targets agreed and released
           96 ~Release recommendation available for (pre-)SSTS and (pre-)nominated supplier
               ~Required digital vehicle specifications (base vehicle configuration for reporting) defined and
           97 available as basis for structure data manaqement and data availability
               ~Agreement on standards to be used for virtual and physical testing available
               ~Test locations for serial development defined and agreed with customer (OEM). ~Open issues
           98 hiqhliqhted.
               ~Objective and subjective benchmarking of choosen product characteristics is complete and
           99 documented
               ~Patent research for chosen concepts conducted
           100 ~Potential patent conflicts and infrinqements indicated




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                                                       4.2
                                                           MAGNA
                                                              E                         F
                                                                 Function I Complete vehicle




                                         101
                                                       4.2.1                Development strategy- I-Teams

                                         102
                                                       4.2.2                I-Team status


                                         103
                                         104           4.2.3                Design Verification Plan
                                                       4.2.4                VPT Status

                                         105
                                                       4.2.5                Data Freeze

                                         106
                                                       4.2.6                Vehicle Test and Hardware Planning




                                         107
                                                       4.2.7                Vehicle verification and validation test plan


                                         108
                                         109           4.3       Functional SafetY
                                                       4.3.1                Implementation of functional safety
                                         110
                                                       4.5       Vehicle Architecture

                                         111
                                                       4.5.1                Target development
                                         112
                                                       4.5.2                Dimensional concept
                                         113
                                                       4.5.3                Vehicle package

                                         114
                                                       4.0
                                         115                   Vehicle Engineering
                                                       4.4       Engineering Modules
                                         116


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                                                                           MAGNA
                 Vehicle functional targets agreed and cascaded to module level. Development strategy for
                                                                                                                        H      I     j


                 each I-Team confirmed and available for the serial development phase.
                 Complete vehicle virtual status for functions and/or assessment based on simulation loop
                 VPT-TA is available.
           101   DVP for the Serial Development Phase has been created and aQreed.
                  ~Development strategies for individual I-Teams confirmed
                  ~Individual 1-Team strategies, inclusive of risks and opportunities, are available and have been
           102   documented
                  ~Target setting status of individual I-Teams
                  ~Status of target achievement available and agreed for each I-Team
                  ~Draft target breakdown to module level confirmed
           103    ~Input to VTS available for each I-Team

           104    ~Complete vehicle DVP (virtual and physical) available and agreed
                  ~Results of simulations I expert assessments from VPT-TA (virtual prototype) according to DVP for
                 the concept phase available
           105    ~Results from the concept phase assessed and action plans defined for individual I-Teams
                  ~The dates for the freeze and visual data checks of the engineering design data are agreed and
                 confirmed by module groups and PM-E
           106    ~Input Freeze and required data for VPT for the modules is defined and aqreed
                  ~Detailed development vehicle I hardware requirements for pre-prototype I prototype phase based
                 on agreed complete vehicle DVP and FRS (Functional release steps)
                  ~Detailed configuration of development vehicles I hardware in the pre-prototype I prototype phase
                  ~Definition of the number of vehicles I hardware necessary for development requirements in the
                 validation phase
                  ~Broad definition of vehicle use in the validation phase (PTO) based on agreed complete vehicle
                 DVP
                  ~Cross check with module DVPs carried out, requirements considered
                  ~Rough procedure for road releases planned


           107
                 ~Detailed pre-prototype and prototype planning and timing agreed and coherent with releases and
                 virtual milestones
                 ~All required physical tests have been allocated to vehicles I hardware
           108   ~Initial development vehicle planning for PTO I headline tests for PP

           109   Functional safety plan implementation status
                 ~Status of functional safety plan implementation
           110   ~Measures for known issues determined and allocated
                 Achievement of dimensional targets agreed. Dimensional concept coherent with target
                 system. Ergonomic targets defined and considered in package & styling. Package based on
           111   concept available.
                 ~Dimensional targets agreed for complete vehicle
           112   ~Erqonomic tarqets defined and aqreed for complete vehicle
                 ~Vehicle dimensional concept documented and compatible with overall vehicle targets
           113   ~Issues documented measures defined and aqreed
                 ~Vehicle package based on agreed concepts available
                 ~Ergonomic targets coherent with package and styling requirements
           114   ~Issues documented measures defined and agreed


           115                                                                                                        FMC-VE
               Concepts have been developed to ensure achieveability of vehicle targets for the defined
           116 scope of work



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                                                       4.4.1
                                                            MAGNA
                                                               E                          F
                                                                       Target definition - Engineering Module Group




                                         117
                                                       4.4.2           Hardware Planning


                                         118
                                                       4.4.3           Concept freeze: modules




                                         119
                                                       4.4.4           Component Specifications




                                         120
                                                       4.7     Data Management
                                         121
                                                       4.7.1           Data Management start up - series development




                                         122
                                                       4.7.2           Data provision
                                         123
                                                       4.7.3           Data management - work packages

                                         124
                                         125           4.7.4           PDM specification book

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                 ~Requirements
                                                                            MAGNA
                                  and technical targets defined for the module group and agreed with customer
                                                                                                                     H   I         j


                 (OEM), e.g.,
                 -functional requirements
                 - technical properties
                 - quality requirements
                 -test and assembly requirements for components and complete vehicle
           117   - customer service requirements ...
                  ~Detailed development requirements of components I hardware for pre-prototype I prototype
                 phase based on agreed module I component DVP
                  ~Initial definition of vehicles I hardware for development requirements in the validation phase
           118   based on aQreed module I component DVP
                  ~Initial design data according to data maturity requirements based on styling C Class data and
                 technical guidelines for chosen concepts
                 - concepts aligned
                 -joining technology definition
                 - material guidelines
                 - surface requirements
                 - component naming, part number designation and revision
           119   -variant table for basic data based on main structural components
                  ~Component technical specifications available for supplier RFQs, to include but not limited to :
                 - basic project data
                 - required timing
                 - supplier requirements (work split, location, system connections, etc.)
                 -functional requirements
                 - quality requirements
                 - technical and material properties
                 -test and assembly requirements (component and complete vehicle)
           120   - customer service requirements ...
                 System availability and functionality (processes, methods and systems) assured for project.
           121
                  ~Concept and implementation plan for data management available, agreed and communicated
                  within the program
                  ~Requirements of PDM functions agreed with program team (content, timing ... )
                  ~Commitments for following processes available:
                  - basic IT provisions
                  - data and information security
                  -design data management (data provision concept)
                  -technical product documentation
                  - release management
                  - change management (system)
                  - issue management (system)
                  - prototype configuration and management
                  - supplier data management
                  - document management (non-CAx)
                  - monitoring and tracking of design engineering, release mgmt
                  -training
                  ~Agreed product data management functions (processes, systems and methods detailed above)
           122    are available for the serial development.
                  ~Data provision agreement is established and agreed between data supplier and data user (for
           123   IQeometric data and functional data related to the project milestones).
                  ~Detailed work packages to meet program requirements agreed and available for data
                  management start up
           124    ~Work packaQes aliQned with Master TiminQ Plan
           125    ~PDM specification books are released, standards available for distribution


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                                                        MAGNA
                                                           E
                                                       4.7.5
                                                                                      F
                                                                Data management - training
                                         126
                                                       4.7.6    Concept freeze
                                         127
                                                       4.7.7    Parts list

                                         128
                                                       4.7.8    Bill of Material


                                         129
                                                       4.7.9    CAx models and structure
                                         130
                                                       4.7.10   Part by part planning
                                         131
                                                       4.7.11   Digital prototype


                                         132
                                         133           4.7.12   Change documentation
                                                       4.7.13   Engineering information and data management requirements for complete
                                                                vehicle




                                         134
                                                       4.7.14   Engineering information and data management requirements for module
                                                                groups




                                         135
                                                       4.7.15   Bill of Material - Engineering module group


                                         136
                                                       4.7.16   Prototype requirements

                                         137
                                                       4.7.17   Part by part planning- BOM


                                         138
                                                       4.7.18   Part by part planning - Engineering module group
                                         139




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                 ~Planned
                                                                            MAGNA
                                 PDM training of required customer processes, project processes, systems and work
                                                                                                                             H   I         j


           126     methods for serial development have been executed
                   ~Product data from the concept phase (concept BoM, design data, specification documents, ... )
           127    frozen stored as "read only" and available for the serial development.
                   ~Parts list available in the PDM system
                   ~Part numbers defined
           128     ~BOM structure agreed
                   ~The transition process from concept BoM to serial development BoM is defined and agreed.
                   ~The BoM documentation for Serial development is defined and agreed.
                   ~Initial fill of BOM complete (based on concept module BOM) including COP, modified and unique
           129   I parts

                   ~Initial fill of CAx-models finished including COP, modified and unique parts
           130     ~item numbers are definded + CAx commitment aligned, CAx structure agreed
                   ~All parts in the master BoM have been scheduled in the part by part planning system
           131     ~Confirmation of lonq lead parts is available
                   ~Parts list and aligned geometrical data is available for defined reporting vehicles
                   ~VPT- TA data freeze finished
                   ~VPT- TA available and checked
           132     ~VPT-CC preparation for data freeze planned and aqreed with proiect team
           133     ~Documentation format agreed with customer (OEM)
                   ~Requirements agreed with Data Management and module groups for complete vehicle
                   ~Work packages clarified
                   - CAx and product data management
                   - DMU data management
                   -Weight management
           134     - Monitorinq
                   ~Requirements agreed with Data Management for engineering module groups
                   ~Work packages clarified
                   - CAx and product data management
                   -Technical product documentation
                   - Change Management
                   - Claims managememt
                   - DMU data management
                   - Supplier data management
                   -Weight management
                   - Cost monitoring
           135     - Prototype confiquration and prototype manaqement
                   ~Preliminary component designation (according to naming convention) available
                   ~Preliminary part number assigned
                   ~All parts assigned to modules
           136     ~Material proposals quantity and use defined
                   ~Overview of parts to be ordered (internal and external) to meet test requirements for pre-prototype
                  I prototype phase
           137     ~Build and delivery plan for for pre-prototype I prototype phase
                   ~Detailed part for part planning (including required release and material required dates) for pre-
                   prototype I prototype phase
                   ~Initial part for part planning (including required release and material required dates) for validation
           138   I phase

                   ~Relevant dates for engineering activities defined and included in part for part planning
           139     ~Deviations and risks available with aqreed measures




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                                                           MAGNA
                                                       4.7.19
                                                              E                          F
                                                                            Part by part planning - Purchase




                                         140
                                                       4.7.20               Part by part planning - SQA
                                         141
                                                       4.8        Product Quality Assurance
                                         142
                                                       4.8.1                Product Quality Assurance

                                         143
                                                       4.8.2                Q-Pianning Product
                                         144
                                                       4.8.3                Risk Filter Product


                                         145
                                                       4.8.4                System FMEA




                                         146
                                         147           4.8.5                Design FMEA
                                                       4.8.6                Key Product Characteristics (KPC)
                                         148
                                                       4.8.7                Perceived Quality (virtual/ physical)



                                         149
                                         150           4.8.8                OM-Release Product
                                                       5.0
                                         151                    Manufacturing
                                                       5.1        Production Planning

                                         152
                                                       5.1.1                Production strategy



                                         153
                                                       5.1.2                Target framework specified (internally and externally); conflicts of
                                                                            objectives solved; detailed targets defined
                                         154




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                 ~Procurement     specific part by part planning available,
                                                                            MAGNA
                                                                                                                            H     I   j


                 - Carry over I new part decisions available
                 - Long lead parts confirmed:
                 - Information regarding tool lead times, release due date and latest allowable date for tooling orders
                 for long lead parts exist.
                  ~Carry over parts confirmed for procurement
                  ~Deviations and risks available with agreed measures
           140
                 ~Relevant    dates for SQA activities defined and included in part for part planning
           141   ~Deviations    and risks available with agreed measures
                 Risk filter status available, SFMEA finished for defined components, perceived quality
           142   forecast available
                 ~Risk Filter Product 1st loop finished and risk status on component level reported
                 ~System-FMEA 1st loop for defined components finished
           143   ~Perceived Quality forecast based on virtual audit available
                 ~Updates of methods use plan considered within QM Plan have been documented
           144   ~Proqress status for product quality planninq available
                 ~Risk Filter Product 1st Loop complete
                 ~First Product Risk Level status available for each component
                 ~Required additional risk management methods selected and documented
           145   ~Preventive measures detemined and aqreed
                 ~Definition of functional structure and targets on complete product level completed and
                 documented
                 ~Definition of interfaces within the product structure for relevant systems and components available
                 ~ Maior failure modes and effects for defined systems and components identified, evaluated and
                 considered for target agreement as well as within the design verification plan
           146
           147   ~Design FMEA planning derived from Risk Filter Product finished
                 ~KeyProduct Characteristics Process agreed with customer (OEM)
           148 ~ Trackinq list for Supplier KPCs available
               ~Perceived quality audit reports (1st virtual loop) available
               ~Perceived quality one-pager and decision paper for all identified risks available and tracked within
               agreed issue management tool
               ~Perceived quality forecast documented
           149 ~Final aqreement of Perceived Quality Tarqets with customer (OEM) and Proqram Manaqer
           150 ~Scope and checks of the OM-Release Product agreed with customer (OEM) and program

           151                                                                                                            FMC-M
                 Targets for production are confirmed with module groups based on program requirements.
                 Initial ramp-up planning (timing & quantity) for series preparation phase is available
           152
               ~Production concept available and agreed for the proposed production volumes
               - assembly sequence
               - station layout
               - plant equipment, fixtures and fittings
           153 -test and measurement requirements
               ~Customer (OEM) requirements aligned with potential for achieving targets (scenario planning)
               ~Targets determined based on implementable technology (timing, cost, quality,
           154 manufacturability ... )




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                                                           MAGNA
                                                       5.1.3
                                                              E                          F
                                                                            Ramp up planning




                                         155
                                                       5.1.4                Hardware planning
                                         156
                                                       5.2       Layout

                                         157
                                                       5.2.1                Production layout plan


                                         158
                                         159           5.3       Process & Equipment
                                                       5.3.1              Assembly technology
                                         160
                                                       5.3.2                Process simulation (virtual process week)

                                         161
                                         162           5.4       Investment
                                         163           5.4.1              Investment requirements
                                                       5.5       Production Quality Assurance
                                         164
                                         165           5.5.1                Q-Pianning Production
                                         166           5.5.2                Process FMEA
                                         167           5.5.3                Key Control Characteristics (KCC)
                                                       5.5.4                Product Audit
                                         168
                                         169           5.5.5                OM-Release Process
                                                       6.0
                                         170                   Supply Chain
                                         171           6.1       General Planninq & Organisation
                                                       6.1.1               SCM strategy


                                         172
                                                       6.1.2                Cost down



                                         173
                                                       6.2       Purchase



                                         174
                                                       6.2.1                Screening of potential suppliers


                                         175

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                 ~Initial
                                                                            MAGNA
                          plan for ramp up curve for body, paint and final assembly
                                                                                                                        H      I    j


                  - personnel requirements for technologies, incl. quality, logistics, IT, maintenance ...
                  -Estimate of floor space requirements and costs
                  - Estimate of material costs for library parts required for fixture and process development
                  -Vehicle generations defined, inclusive of parts requirements
           155    ~ Traininq strateqy created
                  ~Overview of all parts to be ordered to meet test requirements in the validation phase
           156   I(Enqineerinq, Production, Sales, After Sales, Quality ... )
                 Floor space utilization plan and production concept defined and agreed, Compliance with
                 legal requirements (supply, waste disposal, Local Authority authorisations .. . ) assured.
           157
                 ~Production    layout concept available and agreed
                 ~Concepts    for supply and waste removal created
                 ~Local authority confirmation of concepts available
           158   ~Floor space utilisation plan updated

           159   Process simulation based on concept data complete
                 ~Assembly sequence, process flow and joining technologies determined for each manufacturing
           160   area
                 ~Production processes for body, paint and general assesmbly simulated according to the maturity
                 of the available data at DF-VPT-TA
           161   ~Identified issues documented responsibility determined and measures aqreed

           162   Required investment for realisation of program defined and agreed
           163   ~Required investments in infrastructure for program realisation identified and agreed
                 Product audit targets defined for each phase, production planning status report against
           164   targets available
           165   ~Quality planning and feasabilty for technical test equipment available

           166   ~Process FMEA status report against plan

           167   ~Plan for implementation of KCC checks in production available
                 ~Product Audit target for each phase defined
           168   ~Giidepath defined and documented
           169   ~Scope and checks of the QM-Release Process agreed with customer (OEM) and program


           170                                                                                                        FMC-SC
           171   Supply chain development strategy agreed
                  ~Supply Chain Management development approach agreed for Purchase, SQA and Logistics
                  ~Confirmation of strategy implementation within the specified timeframe (coherent with master
                 timing)
           172    ~Measures for risk minimisation implemented or aqreed
                  ~Cost down potentials from SCM on part level basis
                 - part design
                 - part function
                 - material specification
           173   - supplier production process ...
                 Source evaluation of potential suppliers completed.
                 Suppliers for long lead parts and facilities have been selected.
                 All systems/modules in BOM have a preferred I pre-selected supplier.
           174   Key suppliers selected
                  ~Purchasing strategy implemented for each commodity
                  ~Market research for potential suppliers complete with financial assessment regarding suitability
                 complete
           175    ~Workshops with customer (OEM) to identify common bidders list oroanised



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                                                       6.2.2
                                                              E                          F
                                                                              Sourcing Process
                                         176
                                                       6.2.3                  Request for Quotation




                                         177
                                         178           6.2.4                Cost Engieneering Process
                                         179           6.3        Supplier Quality Assurance
                                                       6.3.1                Supplier source evaluation


                                         180
                                                       6.3.2                  APQP
                                         181
                                         182           6.4        Logistics
                                                       6.4.1                  Logistics planning

                                         183
                                                       6.4.2                  Vehicle Order Management


                                         184
                                                       6.4.3                  Transportation concept
                                         185
                                                       6.4.4                  Packaging concept
                                         186
                                                       7.0
                                         187                   Quality
                                                       7.1        Requirements and quality targets
                                         188
                                                       7.1.1                  Requirements

                                         189
                                                       7.1.2                  Quality Targets

                                         190
                                         191           7.2        Quality plannina and controllina
                                                       7.2.1                 Quality Planning
                                         192
                                                       7.2.2                  Quality controlling



                                         193
                                         194           7.3        Materials Engineerina
                                                       7.3.1                 Material Testing

                                         195
                                         196           7.4        Geometrical Measurement

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                 ~Selection
                                                                            MAGNA
                             of system suppliers (reduction to 1 supplier) done
                                                                                                                        H   I     j


           176 ~Feasibility confirmed
                ~ RFQ package prepared and approved. Aggregation of documents for the request for quotation to
               include, but not limited to:
               - Component description (provided by SE/Module leader)
               - Legal requirements
               - Logistic requirements
               - Quality requirements
               - Feasibility commitment
           177 ~RFQ-packages transmitted to potential suppliers.
           178 ~Initial cost break down analysis for purchased parts
           179 SQA source evaluation planning agreed and available
                ~Evaluation of potential suppliers regarding:
               - Management system (certification, ... )
               - Processes and capability
           180 ~Status of planned assessments aqainst actual assessment conducted
                ~Status of APQ P
           181 ~Corrective actions defined
           182 Description of required logistic services available
                ~Specification of logistical services complete
                ~Detailed logistics cost estimate for series development agreed
           183 ~Part by part planning logistic relevant dates are defined and available
                ~End customer order process agreed with OEM
                ~Detailed production ramp up planning agreed
                ~Type codes for series production have been created
           184 ~Specification of production relevant data (VPD) aqreed with customer (OEM)
                ~Transportation concept planned and documented
           185 ~Outbound vehicle concept aqreed with customer (OEM)
                ~Initial concept for packaging planned and documented
           186 ~Coordination of carry-over parts confirmed, load carrier (bins, stillaqes ... ) information available

           187
               Strategy and reqiurements incorpotated into quality targets; inputs for system and
           188 component specifications available
               ~Customer (OEM) quality strategy and requirements incorporated into quality targets for program
               ~OM-Release checklist available
           189
               ~Quality targets agreed with customer (OEM) and program according to defined responsibilities
               ~Quality target inputs to system and component specifications available
           190
           191 Quality planning and requirements documented to meet program requirements at TA
               ~QM-Pian positioned within target agreement and contract according to agreements
           192 ~Status documented and reported
               ~Status report on all quality requirements according to planning, including but not limited to:
               - knowledge management
               - risk management
               - issue management
           193 -quality checks ...
           194 Activities planned, scope of colour and trim matching agreed,
               ~QM-Pian activities positioned within target agreement and contract as agreed
               ~Status of activities according to planning to meet program requiements.
           195 ~Scope of colour and trim matchinq aqreed with customer (OEM)
           196 Matching strategy and relevant parts defined

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                                                       7.4.1
                                                              E                          F
                                                                            Matching Geometry


                                         197
                                                       7.4.2                Body in White - Quality Control Geometry
                                         198
                                                       8.0
                                         199                   Information Technology
                                         200           8.1       Strategy I Concept
                                         201           8.1.1                 IT system concept
                                         202           8.2       IT Infrastructure
                                                       8.2.2                 IT Systems


                                         203
                                                       9.0
                                         204                   Finance
                                                       9.1       Business Case and Program Costs

                                         205
                                                       9.1.1                Business plan
                                         206
                                                       9.1.2                Program I Project definition
                                         207
                                                       9.1.3     MS lnt     Program costs

                                         208
                                                       9.1.4                Cost estimate for program


                                         209
                                                       9.1.5                Cost estimate for engineering project
                                         210
                                                       9.1.6                Cost estimate for the production project


                                         211
                                                       9.1.7                Cost estimate for Supply Chain


                                         212
                                                       9.1.8                IT costs for vehicle production development
                                         213
                                                       9.2       Cost controlling

                                         214
                                                       9.2.1                Cost estimate for program


                                         215



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                 ~Matching  strategy defined
                                                                            MAGNA
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                 ~Matching process timing confirmed
                 ~Matching relevant parts defined
           197   ~2nd round RFQ (matchinQ equipment) sent to potential suppliers
                 ~Status of measurement fixture planning available
           198   ~ Testinq and measurement process of BIW defined


           199                                                                                                       FMC-IT
           200 IT concept for the serial development phase available and agreed within the Program
           201 ~IT system concept to support series development agreed and documented
           202 IT-Infrastructure defined and implemented for series development.
                 ~Systems  technically configured to support series development and available for designated users
                 ~Technical configuration of systems for product development data transport; systems available
                 ~IT systems available for designated users and required training has been conducted
           203

           204                                                                                                       FMC-F
                 Business Plan checked against current values and is achievable.
                 Program cost estimates, planning (non-recurring and part costs) and program finance plan
           205   available
                 ~ MS Business plan checked against currently available values
           206   ~MS Business plan status update available
                 ~Project definition and ordering requirements for release available.
           207   ~Proiect accounts available and released accordinq to requirements
                 ~Overall estimate of series development costs
                 ~Development costs compared to final value of the order
           208   ~ Tarqets defined and aqreed with responsible roles
                 ~Agreed targets for program costs in series development available
                 ~Overview of non-recurring costs
                 ~Overview of recurring costs
           209   ~Finance plan based on financial targets
                 ~Agreed targets for engineering costs in series development available
           210   ~Finance plan based on financial tarQets
                 ~Agreed targets for production costs in series development available
                 ~Overview of non-recurring costs
                 ~Overview of recurring costs
           211   ~Finance plan based on financial tarqets
                 ~Agreed targets for supply chain management costs in series development available
                 ~Overview of non-recurring costs
                 ~Overview of recurring costs
           212   ~Finance plan based on financial targets
                 ~IT cost estimates (recurring and non-recurring) available for series development
           213   ~IT cost estimates aQreed with supplvinQ department and documented

                 Achievement of program cost targets (non-recurring costs I part costs) confirmed. Program
                 financial controlling system implemented for the serial development phase. Detailed
           214   budgets have been distributed.
                 ~Overall estimate of planned program costs
                 ~Overview of non-recurring costs
                 ~Overview of recurring costs
           215   ~MSF Finance plan based on financial tarQets




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                                                       9.2.2            Cost controlling system


                                         216
                                                       9.2.3            Budget targets

                                         217
                                                       9.2.4            Cost reporting
                                         218
                                                       9.2.5   MS lnt   Release of financial resources


                                         219




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           217

           218
               ~Correctness of values, amounts, responsibility and account assignment checked against
               company guidelines and quotations obtained according to agreed process.
               ~Financial resources available for program responsibilities according to agreed budgets
           219 ~Release of invoices confirmed




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                                                                                 Programme Target Compatibility: lndustrialisatior
                                                               Gate:             timing targets confirmed.
                                           3                   PTC
                                           4
                                                       1.0
                                           5                   Program Management
                                                       1.1             Master Timing

                                           6
                                                       1.1.1                     Detailed Timing
                                           7
                                                       1.1.2                     DVP Review
                                           8
                                           9           1.2             Gateway Review
                                                       1.2.1                    Major Issues and Risks
                                          10
                                          11           1.2.2                    Red/Yellow Grren
                                          12           1.2.3                    Recovery Plans
                                          13           1.3             Processes I Methods
                                          14           1.3.1                    Product Development Process
                                          15           1.3.2                    Meeting Schedule
                                                       1.3.3                    Change Management
                                          16
                                                       1.3.4                     Outsourced Engineering
                                          17
                                                       1.4             Team Organization

                                          18
                                                       1.4.1                     Program Organisation
                                          19
                                                       1.5             Contract Management
                                          20
                                          21           1.5.1                     Contract update
                                                       1.6             Knowledge Management

                                          22
                                                       1.6.1                     Transfer of Experience
                                          23
                                          24           1.6.2                     Reflection of Experience (Lessons Learned)
                                                       1.7             Configuration Management
                                          25
                                                       1.7.1                     Program target requirements
                                          26
                                          27           1.7.2                     Module target framework
                                                       1.7.3                     Change request status- complete vehicle
                                          28

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             2
                 of chosen concepts and achievability of program I project technical, economic and

             3
                                                                                                                       Responsible           Responsible        Responsible
             4                                                                                                            Role               Organisation          Name

             5                                                                                                       FMC-PM
                 Program master timing schedule to SOP defined, agreed and confirmed by all departments.              Timing Manager
                 PTO production planning and PTO testing schedule agreed within program team.
             6                                                                                                                                   FMC
                 ~Detailed timing plan from all departments and Module Teams reviewed for compatability with          Timing Manager
             7   Proqram Timinq                                                                                                                  ESS
                 DVP including test timing and vehicle fleet reviewed and algi ned with Master Timing and Budget      Timing Manager             ESS
             8                                                                                                        Cost Controller      Vehicle Attributes
             9                                                                                                       Program Manager             FMC
                 Major issues and risks from each department collated, assessed and filtered for Executive            Program Manager
            10   Reportinq. All issues and risks assiqned to owners with due dates for resolution                                                ESS
            11   Summary Red/Yellow/Green status for all areas reviewed and agreed for Executive Reporting            Program Manager            ESS
            12   Recovery plans for all Yellow items reviewd and agreed for Executive Reporting                       Program Manager            ESS
            13                                                                                                       Program Manager             FMC
            14   Product Development Process available and deliverables for next Gateway agreed with all areas        Program Manager            FMC
            15   Meeting schedule issued                                                                              Program Manager            FMC
                 Change Management Proces in place. lnfrstructure, monitoring and meetings in place to control        Change Manager
            16   chaqne                                                                                                                          FMC
                 Outsourcing strategy in place and agreed . Outsourced Engineering companies under contract.         Program Manager
            17   Outsourced resource RASIC and orq structure aqreed.                                                                             FMC
                 Teamwork and cooperation between all departments implemented and functioning                        Program Manager
                 (information and communication ...) Manpower planning available and agreed for next
            18   prooram phase. Lono term plannino for prooram available                                                                         FMC
                 ~Program organisation and teamwork functioning according to planning                                Program Manager
            19   ~Manpower planninq for the next phase for all departments reviews and confirmed                                                 ESS
                 Confirmation that all parties accept the terms of contract. Inconsistencies within contract         Program Manager
            20   clarified and changes implemented                                                                                               FMC
            21   Contracts with all Engineering Service Suppliers in place                                           Program Manager             FMC
                 Lessons Learned workshop for the phase to CC planned.                                               Program Manager
                 Experiences from former programs I projects for the phase CC to FC have been prepared
            22   and adapted to the program.                                                                                                     FMC
                 ~Relevant experiences from previous I current programs and projects for the phase PTC-FC            N/A This Program
            23   prepared and available
            24   Lessons Learned from all departments sumarised and documented for the next Program                  Program Manager             ESS
                 Program targets confirmed and measures for target achievement defined .                           Configuration Manager
            25   Manufacturino concept available.                                                                                                FMC
                 ~Status of program requirements available                                                         Configuration Manager
            26   ~Chanqes to proqram tarqets transferred to chanqe manaqement for trackinq                                                       FMC
            27   ~Module target breakdown confirmed for all areas                                                  Configuration Manager         FMC
                 ~Change requests to achieve VTS targets realised                                                  Configuration Manager
            28   ~Risks for non-implementation of chanqes hiqhliqhted and documented                                                             FMC
                                                                                                    PTC
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                                                Customer    Status:   Forecast:
                                  4            (Approval)   CWxxx      CWxxx

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                                                       1.7.4
                                                             E                          F
                                                                               Change request status- engineering module groups
                                          29
                                                       2.0
                                          30                    Marketing and Sales
                                                       2.1         Product Definition
                                          31
                                                       2.1.1                   Product positioning


                                          32
                                          33           2.1.2                   Sales volumes
                                          34           2.1.3                 Series and optional features
                                          35           2.2         Sales and Marketing
                                          36           2.2.1                   Communication strategy
                                                       2.2.2                   Target markets
                                          37
                                          38           2.2.3                   Price range
                                                       3.0
                                          39                    After Sales
                                          40           3.1         Strategy
                                          41           3.1.1                   After Sales Targets
                                          42           3.1.2                   Overall timing
                                                       3.2         Warranty I Service
                                          43
                                                       3.2.1                   Maintainance concept

                                          44
                                                       3.2.2                   Serviceability concept


                                          45
                                                       3.2.3                   Insurance classification

                                          46
                                                       3.2.4                   Diagnostics concept
                                          47
                                          48           3.3         Accessories I Spare parts
                                                       3.3.1                   Spare parts I accessories procurement concept

                                          49
                                                       4.0
                                          50                    Design (Styling)
                                          51           4.1         Stylina status
                                          52           4.1.1                  Styling verification
                                          53           4.1.2                   Hardware model
                                                       4.1.3                   Colour & trim


                                          54
                                          55           4.2         Stvlina Technical Converaence


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                ~Change   requests to achieve module targets realised
                                                                            MAGNA
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                                                                                                               Configuration Manager
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           29   ~Risks for non-implementation of chanqes hiqhliqhted and documented                                                    FMC

           30                                                                                                   FMC-MS                 FMC
                Cost of ownership commitment. Special features and equipment updated. Target customer                  TBC
           31   requirements and product contribution to the brand are confirmed                                                       FMC
                ~Customer clinics confirm Customer Market Profile                                                      TBC
                ~Product branding confirmed
                ~Program for each market confirmed
           32   ~Cost of ownership confirmed                                                                                           FMC
           33   ~Sales volume plan by model and market over lifecycle updated                                          TBC             FMC
           34   ~Sales forecast for optional features by market updated                                                TBC             FMC
           35   Update volumes based latest market information                                                         TBC             FMC
           36   ~Marketing concept updated based on market intelligence                                                TBC             FMC
                ~Target markets confirmed                                                                              TBC
           37   ~Market specific requirements confirmed                                                                                FMC
           38   ~Target selling price by market and model updated                                                      TBC             FMC

           39                                                                                                   FMC-AS                 FMC
           40 Timing and After Sales concept are confirmed.                                                            TBC             FMC
           41 ~Fulfillment of After Sales targets according to specifications confirmed with chosen concepts           TBC             FMC
           42 ~After Sales overall timing according to timeplan and is achievable with agreed targets                  TBC             FMC
                Serviceability, insurance classification rate and diagnostics concept are confirmed. Target            TBC
           43 deviations are known and measures defined.                                                                               FMC
                ~DMU   investigations executed
                ~Confirmation that vehicle concept fulfills maintainability specifications                             TBC
           44   ~After Sales confirmation available in written form                                                                    FMC
                ~DMU investigations executed
                ~Target deviations are known and measures defined.
                                                                                                                       TBC
                ~Repair concept confirmed.
           45   ~After Sales confirmation available in written form                                                                    FMC
                ~Insurance classification confirmed.
                ~Target deviations are known and measures defined.                                                     TBC
           46   ~Confirmation I risks available in written form                                                                        FMC
                ~Diagnostic concept is available and confirmed.
                                                                                                                       TBC
           47   ~Confirmation I risks available in written form                                                                        FMC
           48   Achieveability of spare parts management targets are confirmed. Risks are identified.                  TBC             FMC
                ~Achieveability of spare parts management targets are confirmed.
                ~Risks have been identified.                                                                           TBC
           49   ~Confirmation I risks available in written form                                                                        FMC

           50                                                                                                     FMC-D                FMC
           51 All technical inputs to A Class incorporated                                                             TBC             FMC
           52 ~Technical requirements for A Class incorporated into surfacing loops                                    TBC             FMC
           53 ~Milling loop for surfacing and styling verification                                                     TBC             FMC
                ~Materials,  colours and trim concept confirmed                                                        TBC             FMC
                ~Material  samples out of production process confirmed and documented
                ~Draft angle for injection moulded parts defined
           54   ~Process to beqin virtual qrain mappinq implemented

           55   First A Class surfaces available and confirmed                                                     SE Manager          FMC

                                                                                                  PTC
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                                                               E                         F
                                                                            A-Class: Final surface for procurement release (PR)




                                          56
                                                       4.2.2                Gap & flush confirmed

                                          57
                                                       5.0
                                          58                   Vehicle Integration
                                                       5.1        Product Development Targets
                                          59
                                                       5.1.1                Technical target framework

                                          60
                                                       5.1.2                Complete vehicle targets

                                          61
                                                       5.1.3                Module targets
                                          62
                                                       5.1.4                Patent research
                                          63
                                                       5.2        Function I Complete vehicle



                                          64
                                                       5.2.1                Functional requirements- complete vehicle




                                          65
                                                       5.2.2                Attribute Team status
                                          66
                                                       5.2.3                Design Verification Plan

                                          67
                                                       5.2.4                VPTstatus

                                          68
                                                       5.2.5                Data freeze

                                          69
                                                       5.2.6                Vehicle test and hardware planning




                                          70
                                                       5.2.7                Vehicle verification and validation test plan




                                          71

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                ~Final
                                                                            MAGNA
                       Surfaces for data control model process--> Styling Confirmation (SC)
                                                                                                                           H
                                                                                                                     SE Manager
                                                                                                                                               I            j


                ~ 100% surface release for procurement release (PR)
                ~Surface quality approved by Styling
                ~Technical and economical feasabilty confirmation from suppliers and production
           56   ~Surface for use in Class A toolinq (visible surfaces)                                                                       FMC
                ~a-characteristics defined as single section and nominal value confirmed.                            SE Manager
                ~Tolerance management status available
           57   ~Open issues documented and measures defined and agreed                                                                      FMC

           58                                                                                                       FMC-VI
                Target system confirmed and targets verified.                                                            VPM                  ESS
           59                                                                                                                          Vehicle Attributes
                ~Achievement   of vehicle technical targets within the agreed target catalogue confirmed                 VPM
                ~Achievement   of module technical targets within the agreed target catalogue confirmed                                       ESS
           60 ~List of open issues with defined counter measures is available                                                          Vehicle Attributes
              ~Complete vehicle targets confirmed by simulation or engineering judgement                                 VPM
              ~Target achievement, test status and risk assessment for complete vehicle have been summarised                                  ESS
           61 based on individual 1- Team status                                                                                       Vehicle Attributes
              ~Status regarding fullfillment of module targets is available                                         Atrribute Leader          ESS
           62 ~Deviations to module targets detected and measures agreed                                                               Vehicle Attributes
              ~Check for patent conflicts and infringements                                                          Patent Expert
           63 ~Chanqes for previously identified patent infrinqements implemented                                                          ESS -All
              Vehicle functional targets confirmed.                                                                      VPM
              Complete vehicle virtual status for functions and/or assessment based on simulation loop
              VPT-CC is available .                                                                                                           ESS
           64 DVP for the series development phase is confirmed.                                                                       Vehicle Attributes
              ~Complete vehicle functions confirmed for current level of data maturity based on available                VPM
              physical and virtual test results with regards to:
              -vehicle technical specification requirements
              -assembly                                                                                                                       ESS
           65 - qeometrical inteqration                                                                                                Vehicle Attributes
              ~Confirmation that individual Attribute Team strategies and concepts meet targets                          VPM                  ESS
           66 ~Status of target achievement available for each 1-Team                                                                  Vehicle Attributes
                ~Complete    vehicle DVP completion status                                                           DVP Manager
                ~Further  verification planned according to test results                                                                      ESS
           67   ~Requirements for PTO confirmed                                                                                        Vehicle Attributes
                ~Results of simulations I expert assessments from VPT-CC (virtual prototype) according to DVP            VPM
                available                                                                                                                     ESS
           68   ~Results from VPT-CC assessed and action plans defined for individual I-Teams                                          Vehicle Attributes
                ~The dates for the freeze and visual data checks of the engineering design data are agreed and           VPM                 ESS
                confirmed by module groups                                                                                                 Body&GI
           69   ~Input freeze and required data for VPT for the modules defined and agreed
                ~Test planning coherent with development strategy, with agreed key tests to be completed prior to    DVP Manager
                releases
                ~Tests planned or not in time have been assessed concerning alternatives and risks; measures
                planned and agreed                                                                                                            ESS
           70   ~Confirmation of hardware confiquration requirements for prototype and PTO vehicles                                    Vehicle Attributes
                ~Detailed prototype planning and timing agreed and coherent with releases and virtual milestones     DVP Manager
                ~All required physical tests have been allocated to vehicles
                ~Development vehicle planning for PTO agreed, all tests required by DVP planned.
                 ~ PP testing planned
                                                                                                                                              ESS
           71                                                                                                                          Vehicle Attributes


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                                                       5.3
                                                            E
                                                                  Functional Safety
                                                                                      F

                                          72
                                                       5.3.1                Implementation of functional safety
                                          73
                                                       5.4        Vehicle Architecture

                                          74
                                                       5.4.1                Target development
                                          75
                                                       5.4.2                Dimensional concept
                                          76
                                                       5.4.3                Vehicle package

                                          77
                                                       6.0
                                          78                    Vehicle Engineering                       (Body/Chassis/EE/Powertrain   1



                                                       6.1        Engineering Modules
                                          79
                                                       6.1.1                Target definition - Engineering Module Group




                                          80
                                                       6.1.2                Functional requirements- module



                                          81
                                                       6.1.3                Product documentation




                                          82
                                                       6.2        Data Management

                                          83




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                Functional safety plan implementation status
                                                                           MAGNA
                                                                                                                       H
                                                                                                                 FuSa Manager
                                                                                                                                       I
                                                                                                                                     ESS
                                                                                                                                              j


           72                                                                                                                        FuSa
                ~Status   of functional safety plan implementation                                               FuSa Manager        ESS
           73   ~Measures     for known issues determined and allocated                                                              FuSa
                Achievement of dimensions and ergonomic targets confirmed with customer. Package                Vehicle Architect
                layout available. Package has planning release status based on B-class styling.                                       ESS
           74                                                                                                                       Body&GI
                ~Achievement    of dimensional targets documented and confirmed                                 Vehicle Architect     ESS
           75   ~Achievement    of ergonomic targets documented and confirmed                                                       Body&GI
                ~Dimensional   concept confirmation available                                                   Vehicle Architect     ESS
           76   ~Issues   documented, measures defined and agreed                                                                   Body&GI
                ~Requirements    of B-class styling integrated into vehicle package                             Vehicle Architect
                ~Package    layout available and updated to conform with planning release status                                      ESS
           77   ~Issues   documented measures defined and aQreed                                                                    Body&GI

           78 UIUX/Connectivity/Autonomous Driving)                                                             FMC-VE
                Concepts have been developed to ensure achieveability of vehicle targets for the defined        Module Leader
           79   scope of work                                                                                                         ESS
                ~Results of engineering judgement, virtual and physical tests according to module I component    Module Leader
                DVP available
                ~Component technical specification released and confirmed by supplier
                ~Confirmation of achieveability of targets at module level (component technical specification
                requirements) based on complete vehicle target catalogue available and documented
           80   ~Issues documented measures defined and aQreed                                                                        ESS
                ~Component I module functions confirmed for current level of data maturity based on available    Module Leader
                physical and virtual test results with regards to:
                - component technical specification requirements
                -assembly
           81   - geometrical integration                                                                                             ESS
                ~CAD data stand updated based on measures agreed from simulation loop VPT-CC and technical       Module Leader
                requirements from B class data incorporated into design, includes as appropriate:
                - alignment concept
                -tolerance requirements
                - material requirements
                - surface requirements
                - component naming convention
                - part numbers and revision history
                - list of variants
           82   - reference drawings ...                                                                                              ESS
                Continued system availability ensured . All data from Planning Release available and            Module Leader
                updated within the system.
           83   Required traininq for procurement release process complete.                                                           ESS




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                                                       6.2.1
                                                              E                          F
                                                                          Data Management start up - series development




                                          84
                                                       6.2.2              Digital prototype
                                          85
                                                       6.2.3              Design data
                                          86
                                          87           6.2.4             Technical product data
                                          88           6.2.5              Documentation of changes
                                          89           6.2.6              BOM update - modules
                                                       6.2.7              Part by part planning
                                          90
                                                       6.2.8              Part by part planning - Purchase



                                          91
                                                       6.2.9              Part by part planning - SQA
                                          92
                                                       6.2.10             Part by part planning - Logistics
                                          93
                                                       6.3      Product Quality Assurance
                                          94
                                                       6.3.1              Product Quality Assurance

                                          95
                                                       6.3.2             Q-Pianning Product
                                          96
                                                       6.3.3              Risk Filter Product

                                          97
                                                       6.3.4             System FMEA

                                          98
                                                       6.3.5              Design FMEA


                                          99
                                                       6.3.6              Key Product Characteristics (KPC)

                                         100
                                                       6.3.7              Perceived Quality (Virtual/ Physical)


                                         101
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                ~Data    management systems up and running
                                                                            MAGNA
                                                                                                                            H
                                                                                                                       Module Leader
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                - IT provisions
                - data and information security
                -design data management (data provision concept)
                -technical product documentation
                - release management
                - change management
                - issue management
                - prototype configuration and management
                - supplier data management
                - document management (non CAx)
           84   - monitorinq and trackinq of desiqn enqineerinq chanqe manaqement release manaqement                                     ESS
                 ~VPT-PTC data freeze finished                                                                         Module Leader
           85    ~VPT-FC preparation for data freeze planned and aqreed with project team                                                ESS
                 ~All design data frozen in designated data management system based on inputs from styling and         Module Leader
           86   technical quidelines (B-class stand)                                                                                     ESS
           87    ~Technical product data, including test reports, available for all components                         Module   Leader   ESS
           88    ~Documentation of all implemented changes confirmed within the agreed system                          Module   Leader   ESS
           89    ~Parts list complete and updated based on supplier information and confirmation of concept            Module   Leader   ESS
                 ~Release planning for BoM relevant part numbers available                                             Module   Leader
           90    ~ Planninq of all parts to respective MRD dates available and support proqram requirements                              ESS
                 ~Procurement specific part by part planning complete                                                  Module Leader
                - tool lead times
                - tool release dates
                - latest permitted tooling order dates
           91    ~Deviations and risks available with aqreed measures                                                                    ESS
                 ~SQA part by part planning available                                                                  Module Leader
           92    ~Deviations and risks available with aqreed measures                                                                    ESS
                 ~Logistics part by part planning available                                                            Module Leader
           93    ~Deviations and risks available with aqreed measures                                                                    ESS
                DFMEA 1st loop complete for defined components, initial draft of KPCs and perceived                    Module Leader
           94   quality reports available                                                                                                ESS
                 ~ Design-FMEA 1st loop for defined components finished                                                Module Leader
                 ~Status of supplier Design-FMEAs available
           95    ~Initial KPCs available                                                                                                 ESS
                 ~Updates of methods use plan considered within QM Plan have been documented                           Module Leader
           96    ~Progress status for product quality planning available                                                                 ESS
                 ~Risk Filter Product reviewed                                                                         Module Leader
                 ~Actual product risk level status available for each component
           97    ~ Preventive measures status planninq and implementation meets proqram requirements                                     ESS
                 ~First Loop System FMEAs complete                                                                     Module Leader
                 ~Specific System FMEAs reviewed and considered for procurement release
           98    ~Documentation of relevant identified issues from verification                                                          ESS
                                                                                                                       Module Leader
               ~Design FMEAs 1st Loop completed for defined components at the development responsible
               organization (in-house for build to print suppliers, at supplier for system development suppliers)
           99 ~Design FMEAs from supplier checked, planning and implementation meets program requirements                                ESS
               ~First Draft of integration KPCs available                                                              Module Leader
               ~First Draft of build to print KPCs available
           100 ~Evaluation of first draft of supplier KPCs for svstem development suppliers available                                    ESS
               ~Perceived quality audit reports (2nd virtual loop) available                                           Module Leader
               ~Perceived quality one-pager and decision paper for all identified risks available and tracked within
               agreed issue management tool
           101 ~Perceived qualitv forecast documented                                                                                    ESS
                                                                                                    PTC
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                                         102                   Manufacturing
                                                       7.1       Production Planning

                                         103
                                                       7.1.1                Production strategy




                                         104
                                                       7.1.2                Assessment of requirements

                                         105
                                         106           7.2       Layout
                                                       7.2.1                Production layout plan

                                         107
                                         108           7.3       Process & Equipment
                                                       7.3.1               Process simulation (virtual process week)

                                         109
                                         110           7.4       Investment
                                                       7.4.1              Allocation of scope of supply


                                         111
                                                       7.5       Production Quality Assurance
                                         112
                                         113           7.5.1                Q-Pianning Production
                                                       7.5.2                Process FMEA
                                         114
                                         115           7.5.3                Key Control Characteristics (KCC)
                                                       8.0
                                         116                   Supply Chain
                                         117           8.1       General Planninq & Organisation
                                                       8.1.1               SCM strategy

                                         118
                                                       8.2       Purchase
                                         119
                                                       8.2.1                Sourcing process




                                         120



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           102                                                                                                        FMC-M
                 Production concept defined. Assessment of infrastructure, environment and employee                    TBC
                 safety available, (supply, waste disposal, Local Authority authorisations ... ) Current status of
           103   achieveability of production targets available                                                               FMC
                  ~Production concept confirmed for the proposed production volumes                                    TBC
                 - process flow
                 - assembly timing
                 - assembly sequence
                 - statrion layout
                 - plant equipment, fixtures and fittings
           104   -test and measurement requirements                                                                           FMC
                  ~Status of achieveability of production targets                                                      TBC
                  ~Planned infrastructure assessed and documented for emissions, imissions, environment, legal
           105   requirements and employee safety,                                                                            FMC
           106   Detailed concepts (including infrastructure and outdoor facilities) available.                        TBC    FMC
                  ~Detailed production layout plan available at station level, not including equipment and fixtures    TBC
                  ~Building infrastructure and outdoor facility planning available
           107    ~Open issue list available with timing and responsibilities defined                                         FMC
           108   Process simulation based on VPT-CC data complete                                                      TBC    FMC
                  ~Production processes for body, paint and general assesmbly simulated according to the maturity      TBC
                 of the available data at DF-VPT-CC
           109    ~Identified issues documented responsibility determined and measures agreed                                 FMC
           110   Supplier quotations for manufacturing equipment, fixtures and fittings available.                     TBC    FMC
                  ~lndiviaual work packages within the scope of production supply have been defined and allocated      TBC
                 to suppliers
                  ~Initial quotations have been obtained and relevant contracts awarded to ensure achievment of
           111   timing targets                                                                                               FMC
                 First draft of KCCs available; Process FMEA status according to planning to meet program              TBC
           112   requirements                                                                                                 FMC
           113    ~Quality planning and feasabilty for technical test equipment; status update against planning        TBC    FMC
                  ~Process FMEA planning finished (defined list of P-FMEAs)                                            TBC
           114    ~Process FMEA 1st loop status available                                                                     FMC
           115    ~First draft of KCCs available                                                                       TBC    FMC

           116                                                                                                        FMC-M   FMC
           117 Supply chain development strategy confirmed                                                             TBC    FMC
               ~Supply Chain development concept confirmed for Purchase, SQA and Logistics                             TBC
               ~Confirmation of strategy implementation within the specified timeframe (master timing)
           118 ~Measures for risk minimisation implemented or agreed                                                          FMC
               Suppliers selected according project requirements.                                                      TBC
           119 All system suppliers decided and agreements completed.                                                         FMC
               ~All suppliers selected, with the exception of pre-selected system suppliers (up to 2 suppliers per     TBC
               system/module)
               ~Selection of build to print suppliers complete
               ~Technical content of RFQ documentation verified (confirmation from Engineering)
               ~Offer I tender comparison complete
               ~Cost plausibility check carried out (Quaotation Analysis)
               ~Tooling and supply lead times confirmed
           120 ~Leaal and commercial terms of auotations verified                                                             FMC


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                                                        8.2.2
                                                                   D       E
                                                                                   Ordering process
                                                                                                                        F


                                         121
                                         122            8.3            Supplier Quality Assurance
                                                        8.3.1                    APQP

                                         123
                                                        8.4            Logistics

                                         124
                                                        8.4.1                      Materials planning


                                         125
                                                        8.4.2                      Vehicle order management


                                         126
                                                        8.4.3                      Transportation planning
                                         127
                                                        8.4.4                      Packaging planning
                                         128
                                                        9.0
                                         129                       Quality
                                         130            9.1            Requirements and quality targets
                                                        9.1.1                   Quality targets
                                         131
                                         132            9.2            Quality planning and controlling
                                                        9.2.1                     Quality planning
                                         133
                                                        9.2.2                      Quality controlling



                                         134
                                         135            9.3            Materials Engineering
                                         136            9.3.1                     Material engineering and testing
                                         137            9.4            Geometrical Measurement
                                         138            9.4.1                   Control of monitoring and measuring equipment
                                         139            9.4.2                   Matching geometry
                                         140            9.4.3                   Body in White - quality control geometry
                                                        10.0
                                         141                       Information Technology
                                                        10.1           Strategy I Concept
                                         142
                                         143            10.1.1                     IT targets for series production
                                                        10.1.2                     IT Specifications
                                         144
                                         145            10.1.3                     IT targets I specifications- Production
                                                        10.1.4                     IT targets I specifications- Finance
                                         146

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                 ~Pre-prototype     I prototype parts ordered at suppliers
                                                                            MAGNA
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                                                                                                                              TBC
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                 ~Availability   of prototype parts confirmed according to protoype part for part timing plan and quality
           121   requirements                                                                                                        FMC
           122   Quality planning of suppliers completed                                                                      TBC    FMC
                 ~Supplier quality planning complete according to requirements                                                TBC    FMC
                 ~Status of APQ P
           123   ~Corrective actions defined and I or implemented according to plan
                 Logistic concept for facilities and manufacturing defined and evaluated.                                     TBC
                 Supply concept available at potential suppliers.
           124   Concept for vehicle manaQement evaluated and determined.                                                            FMC
                 ~Logistics specification sheet created                                                                       TBC
                 ~Materials sequencing concept available
                 ~Line feed and supply concept defined
           125   ~JIS (just in sequence) concept coordinated with suppliers                                                          FMC
                 ~Vehicle order management objectives verified regarding;                                                     TBC    FMC
                 - process for planning I ordering
                 - adherence to schedules I flexibility
           126   - order lead times
                 ~Transportation concept for production plant detailed and documened                                          TBC    FMC
           127   ~Concept for vehicle outbound loqistics aqreed
                 ~Packaging concept for production plant detailed and documented                                              TBC    FMC
           128   ~Matching packaging type+ JIS definition


           129
           130   Quality target prognosis available and measures defined                                                      TBC    FMC
                 ~Quality targets prognosis available and documented                                                          TBC    FMC
           131   ~Measures to meet program requirements agreed and decisions documented

           132   Quality planning and requirements documented to meet program requirements at CC                              TBC    ESS
                 ~Status report on QM-Pian                                                                                    TBC
           133   ~Known issues documented and measures for implementation aqreed                                                     ESS
                 ~Status report on all quality requirements according to planning, including but not limited to:              TBC
                 - Knowledge management
                 - Risk management
                 - Issue management
           134   -quality checks ...                                                                                                 ESS
           135   Materials testing requirements defined                                                                       TBC    ESS
           136   ~Initial definition of material testing requirements with program and suppliers                              TBC    ESS
           137   Matching and measurement supplier requirements defined                                                       TBC    ESS
           138   ~Geometrical measurement set up defined                                                                      TBC    ESS
           139   ~Matching equipment supplier defined                                                                         TBC    ESS
           140   ~Measurement fixtures planned and ordered                                                                    TBC    ESS

           141                                                                                                              FMC-IT
                 IT targets for serial production agreed within the Program.                                                  TBC
           142   IT system concepts for Product Master Data manaQement available                                                     FMC
           143   ~IT specification and targets agreed and documented for series-production                                    TBC    FMC
                 ~Individual specifications collated and documented in a complete IT specification                            TBC    FMC
           144   ~Specifications checked aqainst IT cost estimates
           145   ~Production IT specification for series production available                                                 TBC    FMC
                 ~Finance IT specification for series production available                                                    TBC    FMC
           146

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                                                       10.1.5
                                                              E                          F
                                                                              IT targets I specifications- Quality
                                         148           10.1.6                 IT targets I specifications- After Sales
                                         149           10.1.7     IT Infrastructure
                                                       10.1.8                 IT Systems


                                         150
                                                       11.0
                                         151                    Finance
                                                       11.1       Business Case and Program Costs

                                         152
                                         153           11.1.1                 Business plan
                                                       11.1.2                 Production costs- module group

                                         154
                                         155           11.1.3                 Logistic costs
                                         156           11.2       Cost controllina
                                                       11.2.1               Cost estimate for program

                                         157
                                                       11.2.2                 Evaluation of vehicle costs
                                         158
                                                       11.2.3                 Cost reporting
                                         159
                                                       11.2.4                 Release of financial resources

                                         160
                                         161           11.2.5                 Development costs settled




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           147   ~Quality  IT specification for series production available
                                                                            MAGNA
                                                                                                                         H
                                                                                                                        TBC
                                                                                                                                I
                                                                                                                               FMC
                                                                                                                                     j


           148   ~After Sales IT specification for series production available                                          TBC    FMC
           149   IT infrastructure technically configured according to agreed planning                                  TBC    FMC
                 ~Systems technically configured according to agreed IT concept and available for designated users      TBC
                 ~Technical configuration of systems for production data transport; systems available for designated
                 users
           150                                                                                                                 FMC

           151                                                                                                         FMC-F
                 Business Plan checked against current values and is achievable .                                       TBC
                 Program cost estimates, planning (non-recurring and part costs) and program finance plan
           152   available                                                                                                     FMC
           153   ~MS Business plan status update available                                                              TBC    FMC
                 ~Cost categories assigned to production have been broken down to module level and agreed with          TBC
                 module groups
           154   ~Deviations from plan costs hiqhliqhted and documented                                                        FMC
           155   ~Detailed logistic cost estimate for series available                                                  TBC    FMC
           156   Achievement of program cost targets (non-recurring costs I part costs) confirmed.                      TBC    FMC
                 ~Status of planned program costs                                                                       TBC
                 ~Overview of non-recurring costs
           157   ~Overview of recurrinq costs                                                                                  FMC
                 ~Current status of vehicle cost (based on available material costs)                                    TBC
           158   ~Deviations from plan costs hiqhliqhted and documented                                                        FMC
                 ~Status for scope of work of plan versus actual                                                        TBC
           159   ~Deviations from plan costs hiqhliqhted and analvsed                                                          FMC
                 ~Correctness of values, amounts, responsibility and account assignment checked against                 TBC
                 company guidelines and quotations obtained according to agreed process.
           160   ~Release of invoices confirmed                                                                                FMC
           161   ~Invoice schedules agreed                                                                              TBC    FMC




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                                                                         Gate:
                                                                                           Functional Confirmation: Simulations based on re

                                           2                             FC                integration of modules and systems within the ve


                                           3
                                                            1.0
                                           4                             Program Management
                                                            1.1                  Master Timing

                                           5
                                                            1.1.1                          Detailed Timing
                                           6
                                                            1.1.2                          DVP Review
                                           7
                                           8                1.2                  Gateway Review
                                                            1.2.1                         Major Issues and Risks
                                           9
                                          10                1.2.2                          Red/Yellow Grren
                                          11                1.2.3                          Recovery Plans
                                          12                1.3                  Processes I Methods
                                          13                1.3.1                         Product Development Process
                                          14                1.3.2                         Meeting Schedule
                                                            1.3.3                         Change Management
                                          15
                                                            1.3.4                          Outsourced Engineering
                                          16
                                                            1.4                  Team Organization

                                          17
                                                            1.4.1                          Program Organisation
                                          18
                                                            1.5                  Contract Management
                                          19
                                          20                1.5.1                          Contract update
                                                            1.6                  Knowledge Management

                                          21
                                                            1.6.1                          Transfer of Experience
                                          22
                                          23                1.6.2                          Reflection of Experience (Lessons Learned)
                                                            1.7                  Configuration Management
                                          24
                                                            1.7.1                          Program target requirements
                                          25
                                          26                1.7.2                          Module tarqet framework
                                                            1.7.3                          Change request status- complete vehicle
                                          27

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                eased data and planned verification hardware tests concluded. Functional
                icle has been confirmed. Production process has been verified.
            2
                                                                                                                      Responsible           Responsible        Responsible
            3                                                                                                            Role               Organisation          Name

            4                                                                                                       FMC-PM
                Program master timing schedule to SOP defined, agreed and confirmed by all departments.              Timing Manager
                PTO production planning and PTO testing schedule agreed within program team.
            5                                                                                                                                   FMC
                ~Detailed timing plan from all departments and Module Teams reviewed for compatability with          Timing Manager
            6   Program Timing                                                                                                                   ESS
                DVP including test timing and vehicle fleet reviewed and algi ned with Master Timing and Budget      Timing Manager              ESS
            7                                                                                                        Cost Controller      Vehicle Attributes
            8                                                                                                       Program Manager             FMC
                Major issues and risks from each department collated, assessed and filtered for Executive            Program Manager
            9   Reporting. All issues and risks assigned to owners with due dates for resolution                                                ESS
           10   Summary Red/Yellow/Green status for all areas reviewed and agreed for Executive Reporting            Program Manager            ESS
           11   Recovery plans for all Yellow items reviewd and agreed for Executive Reporting                       Program Manager            ESS
           12                                                                                                       Program Manager             FMC
           13   Product Development Process available and deliverables for next Gateway agreed with all areas        Program Manager            FMC
           14   Meeting schedule issued                                                                              Program Manager            FMC
                Change Management Proces in place. lnfrstructure, monitoring and meetings in place to control        Change Manager
           15   chagne                                                                                                                          FMC
                Outsourcing strategy in place and agreed. Outsourced Engineering companies under contract.          Program Manager
           16   Outsourced resource RASIC and orq structure aqreed.                                                                             FMC
                Teamwork and cooperation between all departments implemented and functioning                        Program Manager
                (information and communication ... ) Manpower planning available and agreed for next
           17   program phase. Long term planning for program available                                                                         FMC
                ~Program organisation and teamwork functioning according to planning                                Program Manager
           18   ~Manpower planning for the next phase for all departments reviews and confirmed                                                  ESS
                Confirmation that all parties accept the terms of contract. Inconsistencies within contract         Program Manager
           19   clarified and changes implemented                                                                                               FMC
           20   Contracts with all Engineering Service Suppliers in place                                           Program Manager             FMC
                Lessons Learned workshop for the phase to CC planned.                                               Program Manager
                Experiences from former programs I projects for the phase CC to FC have been prepared
           21   and adapted to the program.                                                                                                     FMC
                ~Relevant experiences from previous I current programs and projects for the phase PTC-FC            N/A This Program
           22   prepared and available
           23   Lessons Learned from all departments sumarised and documented for the next Program                  Program Manager              ESS
                Program targets confirmed and measures for target achievement defined.                            Configuration Manager
           24   Manufacturing concept available.                                                                                                FMC
                ~Status of program requirements available                                                         Configuration Manager
           25   ~Changes to program targets transferred to change management for tracking                                                       FMC
           26   ~Module target breakdown confirmed for all areas                                                  Configuration Manager         FMC
                ~Change requests to achieve VTS targets realised                                                  Configuration Manager
           27   ~Risks for non-implementation of changes highlighted and documented                                                             FMC

                                                                                                     FC
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                                                             Customer                 Status:       Forecast:
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                                                       1.7.4
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                                                                               Change request status- engineering module groups
                                          28
                                                       2.0
                                          29                    Marketing and Sales
                                                       2.1         Product Definition
                                          30
                                                       2.1.1                   Product positioning
                                          31
                                          32           2.1.2                   Sales volumes
                                          33           2.1.3                   Series and optional features
                                          34           2.2         Sales and Marketing
                                          35           2.2.1                 Communication strategy
                                          36           2.2.2                   Target markets
                                          37           2.2.3                   Price range
                                                       10.0
                                          38                    After Sales
                                          39           10.1        Strateav
                                                       10.1.1                  After Sales targets
                                          40
                                          41           10.1.2                  Overall timing
                                                       10.2        Warranty I Service
                                          42
                                                       10.2.1                  Maintainance concept


                                          43
                                                       10.2.2                  Serviceability concept


                                          44
                                                       10.2.3                  Diagnostics concept

                                          45
                                                       10.3        Accessories I Spare parts
                                          46
                                                       10.3.1                  Spare parts I accessories procurement concept

                                          47
                                                       3.0
                                          48                    Design (Styling)
                                          49           3.1         Stylina status
                                          50           3.1.1                  Styling verification
                                                       3.1.2                   Colour & trim

                                          51
                                                       4.6         Styling Technical Convergence
                                          52
                                                       4.6.1                   Styling concept confirmed and released by Management
                                          53
                                                       4.6.2                   Verification Model approved
                                          54

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                ~Change   requests to achieve module targets realised
                                                                            MAGNA
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                                                                                                                Configuration Manager
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           28   ~Risks for non-implementation of chanqes hiqhliqhted and documented                                                     FMC

           29                                                                                                    FMC-MS
                Special features and equipment updated. Update volumes based on latest market
           30   information.
                ~Competitor information assessed
           31   ~Equipment portfolio per market frozen

           32   ~Volume assumptions updated by model and market over lifecycle

           33   ~Sales forecast for optional features by market updated

           34   Central marketing plan confirmed, launch planning available
           35   ~Marketing concept complete

           36   ~Launch planning including branding and distribution available

           37   ~Selling price based on world markets determined


           38                                                                                                    FMC-AS
           39 Fulfillment of After Sales concept is confirmed. Risks are identified.
              ~Fulfillment of After Sales targets according to specifications confirmed with chosen concepts.
           40 ~Risks are defined and documented
           41 ~After Sales overall timing according to timeplan and is achievable with agreed targets
              Achieveability of service targets and function diagnostic concept is confirmed, actual risks
           42 are identified and measures are defined.
              ~DMU investigations executed.
              ~Risks are identified.
              ~Fulfillment of maintainability targets is confirmed.
           43 ~Confirmation available in written form
              ~DMU investigations executed.
              ~Actual risks identified and measures defined.
              ~Achieveability of service targets is confirmed,
           44 ~Confirmation available in written form
              ~Diagnostic tests done
              ~Function diagnostic concept is confirmed
           45 ~Confirmation available in written form
              Specification of complete spare parts including accessories assortment is done. Complete
           46 spare parts assortment is established in the Enoineerino Data Base.
              ~Specification of complete spare parts including accessories assortment is done.
              ~Complete spare parts assortment is established in the Engineering Data Base parts list
           47 ~Output available in written form I Enqineerinq data base.

           48                                                                                                      FMC-D
           49 Final styling confirmation; master samples available
           50 ~All open issues closed
              ~Master samples of long lead parts available (to Milestone PR)
              ~All master samples defined and available
           51 ~Leqend list and specification book for suppliers available
              Final A Class to support all releases complete, based on agreed approval process (virtual
           52 and/or physical data control model presentation)
              ~Final surface data are completed and meet all agreed criteria
           53 ~Styling confirmed by milled cubing model (hardware and 3D renderings)
              ~Verification Model approved and A-class confirmed.
           54 ~Tolerance concept for production confirmed.

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                                                       4.0
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                                          55                   Vehicle Integration
                                                       4.1        Product Development Targets
                                          56
                                                       4.1.1                 Complete vehicle targets


                                          57
                                                       4.1.2                 Module targets
                                          58
                                                       4.2        Function I Complete vehicle



                                          59
                                                       4.2.1                 Functional requirements- complete vehicle



                                          60
                                                       4.2.2                 I-Team status
                                          61
                                                       4.2.3                 Design Verification Plan

                                          62
                                                       4.2.4                 VPTstatus

                                          63
                                                       4.2.5                 Vehicle test and hardware planning
                                          64
                                                       4.2.6                 Vehicle verification and validation test plan

                                          65
                                          66           4.3        Functional Safety
                                                       4.3.1                 Implementation of functional safety
                                          67
                                                       4.5        Vehicle Architecture
                                          68
                                                       4.5.1                 Vehicle package


                                          69
                                                       4.0
                                          70                   Vehicle Engineering                          (Body/Chassis/EE/Powertrain   1

                                                       4.4        Engineering Modules
                                          71
                                                       4.4.1                 Procurement Release -components
                                          72
                                                       4.4.2                 Functional requirements- module
                                          73
                                                       4.7        Data Management
                                          74
                                                       4.7.1                 Procurement release
                                          75
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           55                                                                                                    FMC-VI
                Achievement of critical functional targets verfied and test results available based on agreed
           56   virtual and physical verification plan.
                ~Complete vehicle targets confirmed by simulation or physical testing
                ~Target achievement, test status and risk assessment for complete vehicle have been summarised
                based on individual 1-Team status
           57   ~Deviations to tarqets detected and measures aqreed
                ~Status regarding fullfillment of module targets is available
           58   ~Deviations to module tarqets detected and measures aqreed
                Critical vehicle functional targets verified.
                Complete vehicle status for functions and/or assessment based on simulation loop VPT-FC
                and/or physical testing is available.
           59   DVP for the validation phase is confirmed.
                ~Complete vehicle functions confirmed based on PR released data and physical and virtual test
                results with regards to:
                -vehicle technical specification requirements
                -assembly
           60   - qeometrical inteqration
                ~Individual I-Team status reports available
           61   ~Measures for known issues determined and allocated
                ~Complete vehicle DVP completion status
                ~Further verification planned according to test results
           62   ~ DVP content for the validation phase confirmed
                ~Results of simulations I expert assessments from VPT-FC (virtual prototype) according to DVP
                available
           63   ~Results from VPT-FC assessed and action plans defined for individual I-Teams
                ~Test planning for PTO finalised
           64   ~Confirmation of hardware confiquration requirements for PTO vehicles
                ~Detailed PTO planning and timing agreed
                ~All required physical tests have been allocated to vehicles
           65    ~ PP testinq aqreed

           66   Functional safety plan implementation status
                ~Status of functional safety plan implementation
           67   ~Measures for known issues determined and allocated
                Package release recommendations and package layout based on PR-release available.
           68   ErQonomic requirements confirmed in PR-release.
                ~Package layout based on PR release available
                ~Release recommendations for package relevant issues available and documented
                ~Ergonomic requirements confirmed and documented
           69   ~Issues documented measures defined and aqreed


           70 U lUX/Connectivity/Autonomous Driving)                                                             FMC-VE
                Status of module groups available.
           71 Data records corresponding to module maturity level available
                ~Procurement    release for serial tooling of components I modules meet release planning
           72   ~Data   records updated
                ~Results of virtual and physical testing available and analysed.
           73   ~Fulfilment of functionality requirements within vehicle technical specifications confirmed
                All released data according to part for part planning schedule available within the agreed
           74   system.
                ~Data management administration of Purchase Release for all long lead parts complete
           75   ~Part bv part planninq schedule updated

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                                                           MAGNA
                                                       4.7.2
                                                              E                          F
                                                                           Digital prototype
                                          77           4.7.3               Documentation of changes
                                                       4.7.4               Technical product data
                                          78
                                                       4.7.5               Parts list - module
                                          79
                                                       4.7.6               Part by part planning - Purchase
                                          80
                                                       4.7.7               Part by part planning - SQA
                                          81
                                                       4.7.8               Part by part planning - Logistics
                                          82
                                          83           4.8       Product Quality Assurance
                                                       4.8.1               Product quality assurance
                                          84
                                                       4.8.2               Q-Pianning Product
                                          85
                                                       4.8.3               Risk Filter Product

                                          86
                                                       4.8.4               System FMEA
                                          87
                                                       4.8.5               Design FMEA
                                          88
                                                       4.8.6               Key Product Characteristics (KPC)

                                          89
                                                       4.8.7               Perceived quality (virtual/ physical)


                                          90
                                                       5.0
                                          91                   Manufacturing
                                                       5.1       Production Planning
                                          92
                                                       5.1.1               Ramp up planning




                                          93
                                                       5.1.2               Tolerances study for functional dimensions concept


                                          94
                                                       5.1.3               Processability analysis
                                          95
                                          96           5.1.4               Production staff training
                                          97           5.2       Layout
                                                       5.2.1               Production layout plan


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           76   ~VPT-FC    data freeze finished, data check complete
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           77 ~Documentation of all implemented changes confirmed within the agreed system
              ~Technical product data at Procurement Release status (for use in VPT-FC) available within
           78 aqreed data manaqement system
              ~Parts list for module group frozen
           79 ~Confirmation that all parts includinq variants are available
              ~Procurement status part by part planning
           80 ~Measures for deviations agreed
              ~SQA status part by part planning
           81 ~Measures for deviations aqreed
              ~Logistic status part by part planning
           82 ~Measures for deviations aqreed
           83 Risk filter, SFMEA I DFMEA updated, KPCs and perceived quality status available
              ~No component with risk status "high" released at procurement release
           84 ~KPCs available for procurement releases
              ~Updates of methods use plan considered within QM Plan have been documented
           85 ~Prooress status for product quality planninq available
              ~Risk Filter Product reviewed
              ~Actual product risk level status available for each component
           86 ~Preventive measures status planninq and implementation meets prooram requirements
              ~System FMEAs reviewed and considered for procurement release
           87 ~Documentation of relevant identified issues from verification
              ~Design FMEAs for defined components reviewed and considered for procurement release
           88 ~Documentation of relevant identified issues from verification
              ~Initial serial status of integration KPCs for procurement release available
              ~Initial serial status of build to print KPCs for procurement release available
           89 ~Initial serial status of supplier KPCs for procurement release checked
              ~Perceived quality audit reports (3rd virtual loop) available
              ~Perceived quality one-pager and decision paper for all identified risks available and tracked within
              agreed issue management tool
           90 ~Perceived quality forecast documented

           91                                                                                                          FMC-M
                Detailed ramp-up planning available .. Achieveability and implementation of all required
           92   production techniques confirmed.
                ~Ramp up curve for body, paint and final assembly agreed, frozen and released
                ~Personnel requirements for technologies, incl. quality, logistics, IT, maintenance, inclusive of
                personnel costs for direct and indirect areas fixed
                ~Floor space requirements confirmed
                ~Procurement and delivery of library parts agreed with Purchase dept.
           93   ~Vehicle specifications available according to build generation (PTO to SOP)
                ~Tolerance concept verified regarding whole vehicle requirements
                ~Tolerance calculations completed and documented based on input parameters
                ~Documentation created for functional dimensions catalogue, tolerance data sheets
           94   ~Method for hardware verification on measured vehicles on the basis of tolerance calculations
                ~Knowledge from P-FMEAs and process simulations integrated into production process
           95   ~Identified issues documented responsibility determined and measures aqreed

           96   ~Training strategy inclusive of detailed planning and training measures has been defined

           97 Detailed production layout available
                ~Detailed  production layout plan available at station level, including major equipment and fixtures
                ~Detailed  building infrastructure and outdoor facility planning agreed
                ~Open   issue list available with timing and responsibilities defined
           98
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                                                                 Process & Equipment
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                                          99
                                                       5.3.1                 Production techniques

                                         100
                                                       5.4       Investment
                                         101
                                                       5.4.1                 Plant and equipment
                                         102
                                                       5.4.2                 Spare parts production
                                         103
                                                       5.5       Production Quality Assurance
                                         104
                                         105           5.5.1                 Q-Pianning Production
                                         106           5.5.2                 Process FMEA
                                                       5.5.3                 Key Control Characteristics (KCC)
                                         107
                                                       5.5.4                 Conformity of Production planning
                                         108
                                                       6.0
                                         109                   Supply Chain
                                         110           6.1       General Planning & Organisation
                                         111           6.2       Purchase
                                         112           6.2.1               Sourcing
                                         113           6.3       Supplier Quality Assurance
                                         114           6.3.1               Supplier process planning
                                                       6.3.2               APQP
                                         115
                                                       6.4       Logistics
                                         116
                                                       6.4.1                 Materials planning




                                         117
                                                       6.4.2                 Vehicle order management


                                         118
                                         119           6.4.3                 Transportation planning
                                                       6.4.4                 Packaging planning

                                         120

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                 Process capability analysis available. Production capability for all vehicle variants
                                                                                                                          H      I    j


           99    confirmed.
                 ~Process flow and assembly sequence available for all product variants
                 ~Technical implementation of all operations confirmed
           100   ~Controllability of product variants confirmed
                 Planning and ordering of manufacturing equipment, fixtures and fittings complete. Technical
           101   specification for spare part production available.
                 ~Orders for all required investments placed
           102   ~Plant and equipment required for PTO installed and functioninq accordinq to requirements
                 ~Technical specifications for plant and equipment required for manufacture of spare parts available
           103
                 Process FMEA status according to planning to meet program requirements and
           104 implementation plan for KCCs available
           105 ~Planning of work instructions for Q-testing available
           106 ~Status Process FMEA against planning
                 ~Status of KCC definition against planning available
           107   ~Implementation   plan for KCCs in modules available
               ~ Initial draft Conformity of Production plan for components and production for each traffic authority
           108 available

           109                                                                                                          FMC-SC
           110 NO REQUIREMENT FOR FC
           111 Suppliers decided and agreements completed according to agreed planning
           112 ~Supplier nomination for all production parts complete
           113 Process planning with suppliers finished.
           114 ~Supplier planning for control of product development process finished
                 ~Status   of APQ P
           115   ~Corrective    actions defined and implemented accordinq to plan
                 Supplier EDI (electronic data interface) integrated. Interface Engineering I Operations
           116   realised. Customs concept is agreed.
                 ~Process and responsibility planning complete
                 ~Logistic part specification sheet finalised
                 ~Logistics layout defined with respect to: e.g.,
                 - storage structure
                 - space requirement
                 - receiving areas
                 - material flow
                 - empty container storage
                 - battery charging locations ...
                 ~Parts assigned to storage locations
                 ~Logistics status of part by part planning
                 ~JIS concept and supply chain agreed with suppliers
                 ~Reclamation process concept complete
           117   ~Supplier EDI inteqrated and suppliers connected to production site
                 ~Vehicle order management process evaluated and agreed with customer (OEM)
                 ~Data transfer of orders, coding and plausibility routine interfaces aligned with customer (OEM)
                 and IT systems
           118   ~Interfaces installed for orderinq pre-series vehicles

           119   ~Transportation and network planning defined and aligned with customs concept
                 ~Specification sheet for packaging designed and agreed
                 ~Packaging requirements and costs available
           120   ~Packaqinq studies (internal and external) complete


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                                         121                    Quality
                                         122           7.1         Requirements and quality targets
                                                       7.1.1                Quality targets
                                         123
                                         124           7.2         Quality planning and controlling
                                                       7.2.1                  Quality planning
                                         125
                                                       7.2.2                  Quality controlling



                                         126
                                                       7.3         Materials Engineering
                                         127
                                                       7.3.1                  Material engineering and testing
                                         128
                                                       7.4         Geometrical Measurement
                                         129
                                                       7.4.1                  Control of monitoring and measuring equipment
                                         130
                                                       7.4.2                  Matching geometry


                                         131
                                                       7.4.3                  Body in White - quality control geometry

                                         132
                                                       8.0
                                         133                    Information Technology
                                         134           8.1         Strategy I Concept
                                                       8.1.1                  IT system concept (vehicle order management)
                                         135
                                         136           8.2         IT Infrastructure
                                                       8.2.2                   Series production IT
                                         137
                                                       9.0
                                         138                    Finance
                                         139           9.1         Business Case and Program Costs
                                         140           9.1.1                 Business plan
                                                       9.1.2                 IT costs for series production
                                         141
                                                       9.2         Cost controlling
                                         142
                                                       9.2.1                  Cost estimate for program


                                         143
                                                       9.2.2                  Evaluation of vehicle costs
                                         144
                                                       9.2.3                  Cost reporting
                                         145
                                                                                          FC
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           121
           122   Quality target achievement prognosis available with planned measures
                 ~Quality targets prognosis for FC available and documented
           123   ~Measures to meet program requirements agreed and decisions documented

           124   Quality planning and requirements documented to meet program requirements at FC
                 ~Status report on QM-Pian
           125   ~Known issues documented and measures for implementation aqreed
                 ~Status report on all quality requirements according to planning, including but not limited to:
                 - Knowledge management
                 - Risk management
                 - Issue management
           126   -quality checks ...
                 Materials testing requirements defined and colour and trim matching samples available for
           127   lonq lead items
                 ~Definition of material testing requirements with program and suppliers complete
           128   ~Specifications and master samples for long lead part colour and trim matching available
                 Device concept defined, matching equipment and parts ordered according to planning to
           129   support program requirements
                 ~Test equipment set up and registration status available
           130   ~Jiqs and fixtures device concept defined
                 ~Matching equipment ordering according to planning to meet program requirements
                 ~Matching parts (carry over) to build up the CUBE ordered
                 ~Part by part planing of matching activities complete
           131   ~Required additional parts for matchinq process ordered
                 ~Measurement plan available
                 ~Functional concept definied
           132   ~Pianninq, orderinq and assembly of measurement fixtures finished


           133                                                                                                     FMC-IT
           134   IT system concept for vehicle order management
                 ~IT system concept for vehicle order management has been formulated and is available
           135   ~Aqreements with Production and Loqistics documented and available

           136   IT infrastructure for series production agreed and confirmed
                 ~IT infrastructure requirements to support series production defined
           137   ~IT systems available for desiqnated users and required traininq has been conducted


           138                                                                                                     FMC-F
           139   Business Plan updated and agreed. Overall program cost estimate updated.
           140   ~MS business plan status update available
                 ~IT cost estimates (recurring and non-recurring) available for series production
           141   ~IT cost estimates aqreed with supplvinq department and documented
                 Achievement of program cost targets (non-recurring costs I part costs) confirmed. Actual
           142   cost status (non-recurrinQ costs I part costs) updated.
                 ~Status of planned program costs
                 ~Overview of non-recurring costs
                 ~Overview of recurring costs
           143   ~MS finance plan based on financial targets
                 ~Current status of vehicle cost (based on available material costs)
           144   ~Deviations from plan costs hiqhliqhted and documented
                 ~Status for scope of work of plan versus actual
           145   ~Deviations from plan costs highlighted and analysed


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                                                       9.2.4         Release of financial resources

                                         146
                                                       9.2.5         Development costs settled
                                         147




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               ~Correctness of values, amounts, responsibility and account assignment checked against
               company guidelines and quotations obtained according to agreed process.
           146 ~Release of invoices confirmed
               ~Customer (OEM) invoiced according to the payment plan, based on compliance with agreed
           147 conditions




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                                                                         Gate:
                                                                                           Production Try-out: The first PTO vehicle has bee

                                           2                        PTO                    planning and the target date for market entry conf


                                           3
                                                            1.0
                                           4                             Program Management
                                                            1.1                  Master Timing

                                           5
                                                            1.1.1                          Detailed Timing
                                           6
                                                            1.1.2                          DVP Review
                                           7
                                           8                1.2                  Gateway Review
                                                            1.2.1                         Major Issues and Risks
                                           9
                                          10                1.2.2                          Red/Yellow Grren
                                          11                1.2.3                          Recovery Plans
                                          12                1.3                  Processes I Methods
                                          13                1.3.1                         Product Development Process
                                          14                1.3.2                         Meeting Schedule
                                                            1.3.3                         Change Management
                                          15
                                                            1.3.4                          Outsourced Engineering
                                          16
                                                            1.4                  Team Organization

                                          17
                                                            1.4.1                          Program Organisation
                                          18
                                                            1.5                  Contract Management
                                          19
                                          20                1.5.1                          Contract update
                                                            1.6                  Knowledge Management

                                          21
                                                            1.6.1                          Transfer of Experience
                                          22
                                          23                1.6.2                          Reflection of Experience (Lessons Learned)
                                                            1.7                  Configuration Management
                                          24
                                                            1.7.1                          Program target requirements
                                          25
                                          26                1.7.2                          Module tarqet framework
                                                            1.7.3                          Change request status- complete vehicle
                                          27

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                1painted, assembled on the volume production line and commissioned. Launch
                rmed.
            2
                                                                                                                      Responsible           Responsible        Responsible
            3                                                                                                            Role               Organisation          Name

            4                                                                                                       FMC-PM
                Program master timing schedule to SOP defined, agreed and confirmed by all departments.              Timing Manager
                PTO production planning and PTO testing schedule agreed within program team.
            5                                                                                                                                   FMC
                ~Detailed timing plan from all departments and Module Teams reviewed for compatability with          Timing Manager
            6   Program Timing                                                                                                                   ESS
                DVP including test timing and vehicle fleet reviewed and algi ned with Master Timing and Budget      Timing Manager              ESS
            7                                                                                                        Cost Controller      Vehicle Attributes
            8                                                                                                       Program Manager             FMC
                Major issues and risks from each department collated, assessed and filtered for Executive            Program Manager
            9   Reporting. All issues and risks assigned to owners with due dates for resolution                                                ESS
           10   Summary Red/Yellow/Green status for all areas reviewed and agreed for Executive Reporting            Program Manager            ESS
           11   Recovery plans for all Yellow items reviewd and agreed for Executive Reporting                       Program Manager            ESS
           12                                                                                                       Program Manager             FMC
           13   Product Development Process available and deliverables for next Gateway agreed with all areas        Program Manager            FMC
           14   Meeting schedule issued                                                                              Program Manager            FMC
                Change Management Proces in place. lnfrstructure, monitoring and meetings in place to control        Change Manager
           15   chaQne                                                                                                                          FMC
                Outsourcing strategy in place and agreed. Outsourced Engineering companies under contract.          Program Manager
           16   Outsourced resource RASIC and orq structure aqreed.                                                                             FMC
                Teamwork and cooperation between all departments implemented and functioning                        Program Manager
                (information and communication ... ) Manpower planning available and agreed for next
           17   proqram phase. Lonq term planninq for proqram available                                                                         FMC
                ~Program organisation and teamwork functioning according to planning                                Program Manager
           18   ~Manpower planning for the next phase for all departments reviews and confirmed                                                  ESS
                Confirmation that all parties accept the terms of contract. Inconsistencies within contract         Program Manager
           19   clarified and changes implemented                                                                                               FMC
           20   Contracts with all Engineering Service Suppliers in place                                           Program Manager             FMC
                Lessons Learned workshop for the phase to CC planned.                                               Program Manager
                Experiences from former programs I projects for the phase CC to FC have been prepared
           21   and adapted to the proqram.                                                                                                     FMC
                ~Relevant experiences from previous I current programs and projects for the phase PTC-FC            N/A This Program
           22   prepared and available
           23   Lessons Learned from all departments sumarised and documented for the next Program                  Program Manager              ESS
                Program targets confirmed and measures for target achievement defined.                            Configuration Manager
           24   Manufacturinq concept available.                                                                                                FMC
                ~Status of program requirements available                                                         Configuration Manager
           25   ~Changes to program targets transferred to change management for tracking                                                       FMC
           26   ~Module target breakdown confirmed for all areas                                                  Configuration Manager         FMC
                ~Change requests to achieve VTS targets realised                                                  Configuration Manager
           27   ~Risks for non-implementation of changes highlighted and documented                                                             FMC

                                                                                                     PTO
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                                                             Customer                  Status:       Forecast:
                                                       3    (Approval)                 CWxxx          CWxxx

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                                                       1.7.4
                                                             E                          F
                                                                              Change request status- engineering module groups
                                          28
                                                       2.0
                                          29                    Marketing and Sales
                                          30           2.1         Product Definition
                                          31           2.1.1                 Sales Volumes
                                          32           2.1.2                 Series and optional features
                                                       2.2         Sales and Marketing

                                          33
                                                       2.2.1                  Communication strategy


                                          34
                                          35           2.2.2                  Target markets
                                          36           2.2.3                  Price range
                                                       10.0
                                          37                    After Sales
                                          38           10.1        Strateav
                                          39           10.1.1                 After Sales Targets
                                          40           10.1.2                 Overall timing
                                                       10.2        Warranty I Service



                                          41
                                                       10.2.1                 Maintainance concept

                                          42
                                                       10.2.2                 Serviceability concept

                                          43
                                                       10.2.3                 Diagnostics concept

                                          44
                                          45           10.3        Accessories I Spare parts
                                                       10.3.1                Spare parts I accessories procurement concept

                                          46
                                                       3.0
                                          47                    Design (Styling)
                                          48           3.1         Styling status
                                                       3.1.1                  Colour & Trim
                                          49
                                          50           4.6         Styling Technical Convergence
                                                       4.1         Product Development Targets

                                          51
                                                       4.1.1                  Complete vehicle targets
                                          52
                                                       4.1.2                  Module targets
                                          53
                                                                                         PTO
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                ~Change   requests to achieve module targets realised
                                                                            MAGNA
                                                                                                                        H
                                                                                                               Configuration Manager
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           28   ~Risks for non-implementation of chanqes hiqhliqhted and documented                                                    FMC

           29                                                                                                   FMC-MS
           30 Update volumes based latest market information.
           31 ~Volumes per variant fixed
           32 ~Sales forecast for optional features by market updated
                Marketing package finalised, market entry date confirmed. Activities for market introduction
                in selected countries available and confirmed. Life-cycle management model available
           33
                ~Marketing   activities for introduction in selected countries confirmed
                ~Market  entry date confirmed
                ~Lifecycle management model available
           34   ~Press I photo vehicle planning available

           35   ~Launch planning including branding and distribution confirmed

           36   ~Selling price based on world markets updated


           37                                                                                                   FMC-AS
           38 After Sales concept incorporated within program
           39 ~After Sales strategy incorporated into program
           40 ~After Sales overall timing according to timeplan and is achievable with agreed targets
                Repair and service targets confirmed, actual risks identified and countermeasures defined
                Diagnosis requests are realised and evaluated.
                Maintainability targets confirmed.
           41
                ~Hardware   investigations planed.
                ~Maintainability targets are confirmed.
           42   ~Confirmation available in written form
                ~Hardware investigations planed.
                ~Serviceability targets are confirmed.
           43   ~Confirmation available in written form
                ~Diagnostic requests are realized
                ~Diagnostic tests valitated,
           44   ~Confirmation available in written form
           45   Complete spare parts assortment is established and aligned with the module groups
                ~Complete spare parts assortment is established in the Engineering Data Base parts list.
                ~Output available in system.
           46   ~IT interface to Procurement established.


           47                                                                                                     FMC-D
           48 Process and requirements to enable colour matching in PPAP implemented
                ~Process   for parts validation in PPAP implemented
           49 ~Grain mapping process of moulded parts implemented
           50 NO REQUIREMENT FOR PTO
                Functional targets achieved and test results available based on agreed virtual and physical
                verification plan.
           51   Software Freeze (reqardinq functionality) carried out.
                ~Software freeze for PTO vehicles
           52   ~Deviations to tarqets detected and measures aqreed
                ~The PTO vehicles fulfil the module targets
           53   ~Deviation to module tarqets are detected and aqreed

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                                                          4.1.3
                                                                     D       E                                          F
                                                                                    Complete vehicle prototype test results
                                          54
                                                          4.1.4                     Component prototype test results
                                          55
                                                          4.1.5                     Functional targets of complete vehicle
                                          56
                                                          4.2            Function I Complete vehicle

                                          57
                                                          4.2.1                     I-Team status
                                          58
                                          59              4.2.2                     Design Verification Plan
                                          60              4.2.3                     Assembly of components I modules
                                          61              4.2.4                     Vehicle Test and Hardware Planning
                                                          4.2.5                     Vehicle verification and validation test plan

                                          62
                                          63              4.3            Functional Safety
                                                          4.3.1                     Implementation of functional safety
                                          64
                                          65              4.5            Vehicle Architecture
                                                          4.5.1                    Vehicle package


                                          66

                                          67
                                                          4.0
                                                                     Vehicle Engineering                           (Body/Chassis/EE/Powertrain   :~
                                                          4.4            Engineering Modules
                                          68
                                                          4.4.1                     Component I module functional confirmation


                                          69
                                                          4.4.2                     Procurement Release -components
                                          70
                                          71
                                                          4.7            Data Management
                                          72
                                          73              4.7.1                     Documentation status
                                          74              4.7.2                     Documentation of changes
                                                          4.7.3                     Module I component data records

                                          75
                                                          4.7.4                     Part by part planning - Purchase
                                          76
                                                          4.7.5                     Part by part planning - SQA
                                          77
                                                          4.7.6                     Part by part planning - Logistics
                                          78
                                                          4.8            Product Quality Assurance
                                          79
                                          80              4.8.1                     Q-Pianning Product
                                                                                               PTO
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                ~Results
                                                                            MAGNA
                            of complete vehicle tests available according to DVP
                                                                                                                        H      I   j


           54    ~Comparison of virtual and physical test results available
                 ~Results of component tests and installation try-outs available according to DVP
           55    ~Comparison of virtual and physical test results available
                 ~Confirmation of achievement of complete vehicle functional targets based on available virtual and
           56   IPhvsical testinq
                 Verification testing (virtual and physical) completed according to agreed DVP schedule.
                 Validation testing schedule with PTO vehicles confirmed.
           57
                ~Individual I-Team status reports available
           58   ~Measures   for known issues determined and allocated
           59   ~Complete vehicle DVP completion status

           60   ~Assembly of components and modules in series production confirmed

           61   ~Test planning and vehicle availability for PTO confirmed
                ~Detailed PTO planning and timing of tests coherent with vehicle availability
                ~All required physical tests have been allocated to vehicles
           62   ~pp testinq confirmed

           63   Functional safety plan implementation status
                ~Status of functional safety plan implementation
           64   ~Measures for known issues determined and allocated
           65   All changes completed, ergonomic targets validated on PTO hardware
                ~Package layout based on PR release available
                ~Release recommendations for package relevant issues available and documented
                ~Ergonomic requirements confirmed and documented
           66   ~Issues documented measures defined and aqreed


           67 UIUX/Connectivity/Autonomous Driving)                                                                   FMC-VE
                Status of module groups available.
           68   Data records correspondinq to module maturity level available
                ~Virtual and physical testing required for module verification available and documented
                ~Modules meet the requirements of complete vehicle technical specification
                ~Achievement of module functional targets according to specification confirmed, based on released
           69   data
                ~Procurement release for serial tooling of all components I modules complete
           70   ~Data records updated

           71
                Engineering data from previous phase updated and available. Part by part planning for
           72 production support updated
           73 ~Engineering data updated from previous phase
           74 ~Complete documentation of the PTO build confirmed
              ~Design data for all components within modules has been checked for completeness and data
              maturity at PTO confirmed
           75 ~Desiqn data for PTO frozen and verification status available
              ~Procurement status part by part planning
           76 ~Measures for deviations aqreed and I or implemented accordinq to aqreed planninq
              ~SQA status part by part planning
           77 ~Measures for deviations aqreed and I or implemented accordinq to aqreed planninq
              ~Logistics status part by part planning
           78 ~Measures for deviations aqreed and I or implemented accordinq to aqreed planninq
              SFMEA, DFMEA reviewed, KPCs reviewed according to change management
           79 requirements· perceived quality audit report available
           80 ~Progress status for product quality planning available
                                                                                                     PTO
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                                                           MAGNA
                                                       4.8.2
                                                              E                          F
                                                                           Risk Filter Product

                                          81
                                          82           4.8.3               System FMEA
                                          83           4.8.4               Design FMEA
                                                       4.8.5               Key Product Characteristics (KPC)


                                          84
                                                       4.8.6               Perceived Quality (Virtual/ Physical)


                                          85
                                          86           4.8.7               OM-Release Product
                                                       5.0
                                          87                   Manufacturing
                                                       5.1       Production Planning



                                          88
                                                       5.1.1               Target achievement




                                          89
                                                       5.1.2               Non-production material




                                          90
                                                       5.1.3               Installation of new systems I modifications

                                          91
                                                       5.1.4               Production staff training
                                          92
                                                       5.2       Layout
                                          93
                                                       5.2.1               Production layout plan



                                          94
                                                       5.3       Process & Equipment

                                          95
                                                       5.3.1               Process simulation (virtual process week)

                                          96


                                                                                       PTO
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                ~Actual
                                                                            MAGNA
                         product risk level status available for each component
                                                                                                                          H     I   j


                ~No components at Procurement Release with risk level "high"
           81   ~ Preventive measures status planning and implementation meets program requirements

           82   ~Relevant identified issues from product validation documented

           83   ~Relevant identified issues from product validation documented
                ~Review of integration KPCs according to change management available
                ~Review of build to print KPCs according to change management available
                ~Review of Supplier KPCs according to change management checked
           84   ~Handover to production for implementation in the control plan complete
                ~Perceived quality audit reports (prototype loop, if applicable) available
                ~Perceived quality one-pager and decision paper for all identified risks available and tracked within
                agreed Issue Management Tool
           85   ~Perceived quality forecast documented

           86   ~Test program for QM-Release Product released


           87                                                                                                           FMC-M
                 Start up of serial production line at serial production location done.
                 Training of series production staff started. Status I prognosis of achievability of production
                 targets available.
           88    Ramp-up planning (timing & quantity) for PTO PP LS and SOP is confirmed.
                  ~First PTO vehicle produced
                  ~Planned values for timing, costs, quality and manufacturability compared with actual values from
                 production at PTO and documented
                  ~Ramp up planning confirmed
                  ~Forecast available for effectiveness of defined measures I adjustment of target values to next
           89   Iproduction milestone
                  ~Non-production material determined and checked by material laboratory, with focus on the
                 following:
                 -paint (e-coat, fillers, uindercoat and top coats)
                 - colour charts
                 - pvc, wax, foam
                 - repair materials
           90    -testing requirements methods and frequency (stone chipping, condensation ... )
                  ~New plant and equipment has been integrated into the production line
                  ~Existing equipment has been modified according to requirements and integrated into the
           91   Iproduction line
                  ~Training of start team complete
           92     ~ Traininq of additional production staff planned
                 Detailed layout for PTO updated. Compliance with legal requirements (operating approval)
           93    available.
                  ~Detailed production layout plan refined and updated at station level, including major equipment
                 and fixtures
                  ~Refined and updated building infrastructure and outdoor facility planning available
                  ~Local authority confirmation of compliance
           94     ~Open issue list available with timeing and responsibilities defined

                 Production process defined and analysis of processability done.
                 Process simulation (virtual process week for material flow and assembly sequence) done
           95
                 ~Production processes for body, paint and general assembly simulated according to the maturity of
                the available data at DF-VPT-FC
           96    ~Identified issues documented responsibility determined and measures aqreed




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                                                       5.3.2
                                                              E                          F
                                                                           Production process




                                          97
                                                       5.3.3               Material flow


                                          98
                                                       5.3.4               Instability simulation




                                          99
                                                       5.4       Investment
                                         100
                                                       5.4.1               Supplier pre-acceptance



                                         101
                                                       5.4.2               Plant and equipment



                                         102
                                                       5.4.3               System impplementation
                                         103
                                                                 Production Quality Assurance
                                         104
                                                       5.5.1               Q-Pianning Production
                                         105
                                         106           5.5.2               Process FMEA
                                                       5.5.3               Key Control Characteristics (KCC)
                                         107
                                         108           5.5.4               Process audit
                                                       5.5.5               Product audit
                                         109
                                         110           5.5.6               Conformity of Production Planning
                                                       5.5.7               Conformity of Production Execution
                                         111
                                         112           5.5.8               OM-Release Process
                                                       6.0
                                         113                   Supply Chain
                                         114           6.1       General Planning & Organisation



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                 ~Process
                                                                            MAGNA
                             flow and assembly sequence available in production documentation tool
                                                                                                                      H      I       j


                 ~Work station documentation available in production documentation tool according to level of
                 maturity at PTO
                 - module timing
                 - cycle time management
                 - control plans
                 ~Confirmation that the available ducumentation provides the basis for orderly series change
           97    manaQement
                 ~Material flow simulation for production, inclusive of potential disruptive factors has been
                 completed, based on vehicle manufacturing flow and synthetic order data
                 ~Buffer size requirements for body, paint and general assembly defined
           98    ~Layout for packaQinQ stillaQes and transport racks defined
                 ~Assembly simulation completed
                 ~Inspection of work stations carried out, results available
                 ~Ergonomic assessment of work stations carried out, results available
                 ~Assembly sequence verified
                 ~Operating equipment available
                 ~Body simulation complete
                 ~Welding gun operation, joining technique and access verified
           99    ~Station layout defined and confirmed
                 Installation of manufacturing equipment, fixtures and fittings done and infrastructure
           100   available
                 ~Contractually agreed plant and equipment installed at suppliers according to defined
                 specifications and timing
                 ~Pre-acceptance tests carried out for function, conformance to specification and scope of supply
                 ~Identified issues documented, responsibility determined and measures agreed
           101
                 ~RFQ   documentation sent to potential supliers
                 ~Supplier quotations received for tendered scope of supply
                 ~Quotes compared (technical and commercial) and results available
                 ~Suppliers selected and orders placed
           102   ~Handling of spare parts agreed
                 ~Plant and production equipment commissioned in-situ at the production location
           103   ~Operation in semi-automatic mode confirmed by commissioninQ personnel (supplier)
                 Process FMEA first loop complete, conformity of production plan finalised; product and
           104   process audit for PTO conducted
                 ~Results of quality tests available
           105   ~Issues documented and necessary measures aQreed
           106   ~Process FMEA 1st loop complete
                 ~Status of KCC definition against planning available
           107   ~Status of KCC checks performed in production
           108   ~Station readiness for PTO achieved
                 ~Product audit targets for PTO achieved and documented
           109   ~Required measures I decisions aQreed and documented

           110   ~Conformity of Production plan for each traffic authority finalised
                 ~Conformity of Production inspections considered in control plan
           111   ~Required toolinQ and equipment defined

           112   ~Test program for OM-Release Process released


           113                                                                                                      FMC-SC
           114 NO REQUIREMENT FOR PTO



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                                                       6.2
                                                           MAGNA
                                                              E
                                                                  Purchase
                                                                                         F


                                         115
                                                       6.2.1                  Ordering Process



                                         116
                                                       6.3        Supplier Quality Assurance
                                         117
                                         118           6.3.1                  Product and Process Development
                                                       6.3.2                  APQP
                                         119
                                                       6.4        Logistics



                                         120
                                                       6.4.1                  Materials planning




                                         121
                                                       6.4.2                  Scheduling



                                         122
                                                       6.4.3                  Vehicle order management

                                         123
                                                       6.4.4                  Transportation planning




                                         124
                                                       6.4.5                  Packaging Planning



                                         125
                                                       7.0
                                         126                   Quality
                                         127           7.1        Requirements and quality targets

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                                                                           MAGNA
                 Process development and optimisation for supply of production parts finished
                                                                                                               H       I         j


                 PR-Releases finished, serial tools ordered and serial contracts with all suppliers compiled
           115
                 ~Procurement      release of all components complete
                 ~Production     of series tools and gauges is complete
                 ~Contracts for production parts compiled
                 ~ PTO contracts finalised
           116   ~Contracts for series are available and sent to suppliers
                 Degree of parts quality according to PTO requirements (see Part Quality Status Targets
           117   table) available
           118   ~Supplier Quality Assurance, product und process development and optimisation complete
                 ~Status of APQ P
           119   ~Corrective actions defined and implemented accordinq to plan
                 Logistic layout and transport planning defined.
                 Logistic equipment and carriers for PTO and PP procured.
                 Production BOM created and transfered to vehicle level.
           120   PTO order accordinq customer order process in system done.
                 ~Process description (legal compliance) complete
                 ~Logistics layout planning complete
                 ~Required layout changes implemented
                 ~Part positioning in production storage complete
                 ~Logistical systems I equipment procured and available to support production at PTO
                 -tugs, forklifts, etc
                 - storage shelves
                 - battery charging stations ...
           121   ~Spare parts and accessories for ramp up determined
                 ~Material scheduling parameters defined
                 ~Delivery schedules to support production quantities dispatched
                 ~JIS process for PTO implemented
                 ~Electronic data interface to suppliers implemented
           122   ~Non-conformance reporting system installed
                 ~First customer order entered into system and scheduled
                 ~PAB proces (process test run with suppliers) implemented
           123   ~Vehicle order manaqement svstem implemented
                 ~Transport concept available for pilot production
                 - Routing instructions dispatched to suppliers and transport contractors
                 - Routing data entered into ERP system for delivery schedule calculation
                 ~Transport purchase for pilot production complete
                 ~Freight services selected and ordered
                 ~Internal material logistics plan available for pre-series. Parts supply defined for
                 -just in time I just in sequence
                 - back-up stock
                 - supply frequency
                 - supply concept
           124   - return transport of empty containers
                 ~Planning of prototypes for part carriers and containers complete
                 ~Prototype parts carriers I containers available
                 ~Part carriers and containers available to support PTO
                 ~Release for procurement of parts carriers I containers for series production done
           125   ~Allocation of parts carriers I containers to part numbers complete


           126
           127 Status of achievement of quality targets
                                                                                                 PTO
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                                                       7.1.1
                                                                                     F
                                                                            Quality targets
                                         128
                                                       7.2       Quality planning and controlling
                                         129
                                                       7.2.1                Quality planning
                                         130
                                                       7.2.2                Quality controlling




                                         131
                                         132           7.3       Materials EngineerinQ
                                                       7.3.1                Material engineering and testing
                                         133
                                         134           7.4       Geometrical Measurement
                                         135           7.4.1              Control of monitoring and measuring equipment
                                         136           7.4.2                Measurement system analysis
                                         137           7.4.3                Jigs & fixtures
                                                       7.4.4                Matching geometry




                                         138
                                                       7.4.5                Body in White - quality control geometry




                                         139
                                                       8.0
                                         140                   Information Technology
                                         141           8.1       Strategy I Concept
                                         142           8.1.1                IT system concept- production implementation
                                         143           8.2       IT Infrastructure
                                                       8.2.2                 IT Support for PTO




                                         144
                                                       9.0
                                         145                   Finance
                                         146           9.1       Business Case and Program Costs
                                         147           9.1.1               Business plan
                                                       9.1.2               Project integrated into division business plan
                                         148
                                                       9.1.3                Cost centre planning


                                         149
                                                       9.2       Cost controlling
                                         150


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                 ~Quality
                        targets for PTO achieved and documented
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           128   ~Measures to meet proqram requirements aqreed and decisions documented

                 Quality planning and requirements documented to meet program requirements at PTO
           129
                 ~Status   report on QM-Pian
           130   ~Known     issues documented and measures for implementation aqreed
                 ~Status report on all quality requirements according to planning, including but not limited to:
                 - Knowledge management
                 - Risk management
                 - Issue management
           131   -quality checks ...
           132   Materials testing status to support program requirements at PTO
                 ~Material testing status on production parts and samples according to planning, report available
           133
           134 Fixtures and parts available; set up for measurement and matching available
           135 ~Test equipment set up and registration status available
           136 ~Status of definition of measurement equipment in control plan, report available
           137 ~BIWfixtures available (shimable, validation for geometrical adjustment on nominal position)
                 ~Matching   equipment released
                 ~Matching   equipment available in matching department
                 ~Set up of matching database complete
                 ~Required parts for matching process available
           138   ~Part by part planninq includinq timinq of matchinq activities confirmed by suppliers
                 ~Measurement department set up and equipment available
                 ~Definition of measurement programms completed
                 ~GeMA -sheets (visualisation of measurement results) completed
                 ~Dimensional targets comfirmed
           139   ~Measurement fixtures completed


           140                                                                                                       FMC-IT
           141 System concept implementation for production
           142 ~Implementation of IT system concept to support production confirmed and documented
           143 IT infrastructure technically configured (order I production processing)
                 ~System    availability in accordance with IT concept and planning confirmed
                 ~IT  Infrastructure for data transport, vehicle order management and forecast of demand available
                 and configured
                 ~Designated users trained and competent in system use for processing of PTO builds; IT support
           144   available on demand

           145                                                                                                       FMC-F
           146 Business Plan updated. Overall program cost estimate updated
           147 ~MSF Business plan status update available
                 ~Cash   flows represented in business unit accounting
           148   ~Project   scope incorporated into business unit budqet and forecast
                 ~Product calculation fixed
                 ~Cost centre booking available
                 ~Product calculation determined
           149   ~Orqanisational structure transferred into cost accountinq
                 Achievement of program cost targets (non-recurring costs I part costs) confirmed. Actual
           150   cost status (non-recurrinQ costs I part costs) updated.



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                                                       9.2.1
                                                              E
                                                                 PTO costs
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                                         151
                                                       9.2.2     Cost reporting
                                         152
                                                       9.2.3     Release of financial resources

                                         153
                                                       9.2.4     Development cost invoicing
                                         154
                                                       9.2.5     First cost accounting (product)
                                         155
                                                       9.2.6     Processing of complaints
                                         156
                                                       9.2.7     Invoice I part payment for vehicle
                                         157
                                                       9.2.8     Tracking of build deviation costs


                                         158
                                         159           9.2.9     Project accounting Integration




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                 ~Status    of PTO build costs
                                                                            MAGNA
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                  ~Overview of non-recurring costs
                  ~Overview of recurring costs
           151    ~MS finance plan based on financial tarQets
                  ~Status for scope of work of plan versus actual
           152    ~Deviations from plan costs hiqhliqhted and analvsed
                  ~Correctness of values, amounts, responsibility and account assignment checked against
                  company guidelines and quotations obtained according to agreed process.
           153    ~Release of invoices confirmed
                  ~Customer (OEM) invoiced according to the payment plan, based on compliance with agreed
           154    conditions
                  ~System for the determination of operational performance ensured- charging of cost of activities
           155   !(direct and overhead) according to cost centre I cost bearing unit
                  ~Process for systematic handling of complaints implemented (incl. cost by cause, with agreed cost
           156    rates)
                  ~System implementation for automatic invoicing I credit note generation for vehicles (inclusive cost
           157    allocation per vehicle) ensured
                  ~System available for tracking of build deviations
                  ~Allocation of additional costs and distribution to cost bearing organisational units is ascertainable
                  ~Method of monitoring for customer (OEM) and suppliers is defined
           158
           159   ~Project   data transferred to the profit and loss accounting of affected divisions




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                                                                    Gate:             Pilot Production: The first pilot vehicle meeting dE·
                                                                                      volume production conditions.
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                                           3
                                                        1.0
                                           4                        Program Management
                                                        1.1                 Master Timing

                                           5
                                                        1.1.1                         Detailed Timing
                                           6
                                                        1.1.2                         DVP Review
                                           7
                                           8            1.2                 Gateway Review
                                                        1.2.1                        Major Issues and Risks
                                           9
                                          10            1.2.2                         Red/Yellow Grren
                                          11            1.2.3                         Recovery Plans
                                          12            1.3                 Processes I Methods
                                          13            1.3.1                        Product Development Process
                                          14            1.3.2                        Meeting Schedule
                                                        1.3.3                        Change Management
                                          15
                                                        1.3.4                         Outsourced Engineering
                                          16
                                                        1.4                 Team Organization

                                          17
                                                        1.4.1                         Program Organisation
                                          18
                                                        1.5                 Contract Management
                                          19
                                          20            1.5.1                         Contract update
                                                        1.6                 Knowledge Management

                                          21
                                                        1.6.1                         Transfer of Experience
                                          22
                                          23            1.6.2                         Reflection of Experience (Lessons Learned)
                                                        1.7                 Configuration Management
                                          24
                                                        1.7.1                         Program target requirements
                                          25
                                          26            1.7.2                         Module target framework
                                                        1.7.3                         Change request status- complete vehicle
                                          27

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                fined component and production quality requirements has been manufactured under

            2
                                                                                                                      Responsible           Responsible        Responsible
            3                                                                                                            Role               Organisation          Name

            4                                                                                                       FMC-PM
                Program master timing schedule to SOP defined, agreed and confirmed by all departments.              Timing Manager
                PTO production planning and PTO testing schedule agreed within program team.
            5                                                                                                                                   FMC
                ~Detailed timing plan from all departments and Module Teams reviewed for compatability with          Timing Manager
            6   Program Timing                                                                                                                   ESS
                DVP including test timing and vehicle fleet reviewed and algi ned with Master Timing and Budget      Timing Manager              ESS
            7                                                                                                        Cost Controller      Vehicle Attributes
            8                                                                                                       Program Manager             FMC
                Major issues and risks from each department collated, assessed and filtered for Executive            Program Manager
            9   Reporting. All issues and risks assigned to owners with due dates for resolution                                                ESS
           10   Summary Red/Yellow/Green status for all areas reviewed and agreed for Executive Reporting            Program Manager            ESS
           11   Recovery plans for all Yellow items reviewd and agreed for Executive Reporting                       Program Manager            ESS
           12                                                                                                       Program Manager             FMC
           13   Product Development Process available and deliverables for next Gateway agreed with all areas        Program Manager            FMC
           14   Meeting schedule issued                                                                              Program Manager            FMC
                Change Management Proces in place. lnfrstructure, monitoring and meetings in place to control        Change Manager
           15   chagne                                                                                                                          FMC
                Outsourcing strategy in place and agreed. Outsourced Engineering companies under contract.          Program Manager
           16   Outsourced resource RASIC and orq structure aqreed.                                                                             FMC
                Teamwork and cooperation between all departments implemented and functioning                        Program Manager
                (information and communication ... ) Manpower planning available and agreed for next
           17   program phase. Long term planning for program available                                                                         FMC
                ~Program organisation and teamwork functioning according to planning                                Program Manager
           18   ~Manpower planning for the next phase for all departments reviews and confirmed                                                  ESS
                Confirmation that all parties accept the terms of contract. Inconsistencies within contract         Program Manager
           19   clarified and changes implemented                                                                                               FMC
           20   Contracts with all Engineering Service Suppliers in place                                           Program Manager             FMC
                Lessons Learned workshop for the phase to CC planned.                                               Program Manager
                Experiences from former programs I projects for the phase CC to FC have been prepared
           21   and adapted to the program.                                                                                                     FMC
                ~Relevant experiences from previous I current programs and projects for the phase PTC-FC            N/A This Program
           22   prepared and available
           23   Lessons Learned from all departments sumarised and documented for the next Program                  Program Manager              ESS
                Program targets confirmed and measures for target achievement defined.                            Configuration Manager
           24   Manufacturing concept available.                                                                                                FMC
                ~Status of program requirements available                                                         Configuration Manager
           25   ~Changes to program targets transferred to change management for tracking                                                       FMC
           26   ~Module target breakdown confirmed for all areas                                                  Configuration Manager         FMC
                ~Change requests to achieve VTS targets realised                                                  Configuration Manager
           27   ~Risks for non-implementation of changes highlighted and documented                                                             FMC

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                                                             Customer                 Status:       Forecast:
                                                       3    (Approval)                CWxxx          CWxxx

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                                                       1.7.4
                                                            E                         F
                                                                              Change request status- engineering module groups
                                          28
                                                       2.0
                                          29                    Marketing and Sales
                                          30           2.1         Product Definition
                                                       2.2         Sales and Marketing

                                          31
                                                       2.2.1                  Communication strategy


                                          32
                                          33           2.2.2                  Price range
                                                       10.0
                                          34                    After Sales
                                          35           10.1        Strateqy
                                          36           10.2        Warranty I Service
                                                       10.2.1                 Insurance classification
                                          37
                                          38           10.3        Accessories I Spare parts
                                                       10.3.1                Spare parts I accessories procurement concept
                                          39
                                                       3.0
                                          40                    Design (Styling)
                                          41           3.1         Stvlinq status
                                          42           3.1.1                  Colour & Trim
                                          43           4.6         Stylinq Technical Converqence
                                                       4.0
                                          44                    Vehicle Integration
                                                       4.1         Product Development Targets



                                          45
                                                       4.1.1                  Technical target framework

                                          46
                                                       4.1.2                  Complete vehicle test results


                                          47
                                                       4.1.3                  Module targets
                                          48
                                                       4.2         Function I Complete vehicle
                                          49
                                                       4.2.1                  I-Team status
                                          50
                                          51           4.2.2                  Design Verification Plan




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                ~Change   requests to achieve module targets realised
                                                                            MAGNA
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                                                                                                              Configuration Manager
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           28   ~Risks for non-implementation of chanqes hiqhliqhted and documented                                                   FMC

           29                                                                                                  FMC-MS
           30 NO REQUIREMENT FOR PP
              Activities for market introduction in selected countries available and confirmed; volumes and
              prices per market updated and aligned. Central marketing plan confirmed
           31
              ~Initial draft dealer training documentation available
              ~Initial draft press information available
              ~Press I photo vehicle planning finalised
           32 ~ Lifecvcle manaqement model updated
           33 ~Selling price per market and variant complete

           34                                                                                                  FMC-AS
           35 NO REQUIREMENT FOR PP
           36 Insurance classification rate confirmed by hardware tryout
              ~Hardware try-out done.
           37 ~Risks identified and measures defined.
           38 List for primary spare parts storage available.
              ~Proposal for initial stock available.
           39 ~List for primary spare parts storing available

           40                                                                                                    FMC-D
           41 Colour and trim approval loop for PPAP
           42 ~First approval loop of parts for PPAP (to MS Standard) complete
           43 NO REQUIREMENT FOR PP

           44                                                                                                   FMC-VI
                Homologation testing of all vehicle variants for first SOP is complete and conformity of
                production (COP) is secured.
                Proof of flashability and codeability of the electronic control units on the assembly line
           45   available. PTO test results (Prio 1) available.
                ~The achievement of technical targets within the complete vehicle target catalogue reviewed
                ~The achievement of technical targets within the module target catalogues reviewed
           46   ~List of incomplete and open issues with defined counter measures is available
                ~Results of complete vehicle tests available according to DVP
                ~Comparison of virtual and physical test results available
                ~Homologation testing confirmed for first SOP
           47   ~Fiashabilitv and codeabilitv of ECUs on production line proved
                ~The PP builds fullfil! the module targets
           48   ~Deviation to module tarqets are detected aqreed and documented

                PTO testing completed according to test schedule and DVP updated.
           49   Complete vehicle taroet achievement confirmed with PTO vehicles.
                ~Individual I-Team status reports available
           50   ~Measures for known issues determined and allocated
           51   ~Complete vehicle DVP completion status




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                                                        4.2.3
                                                                   D       E                                            F
                                                                                  Validation results series production - modules



                                          52
                                          53            4.3            Functional Safety
                                                        4.3.1                     Implementation of functional safety
                                          54

                                          55
                                                        4.0
                                                                   Vehicle Engineering                           (Body/Chassis/EE/Powertrain   :~
                                                        4.4            Engineering Modules
                                          56
                                                        4.4.1                     Release for production




                                          57
                                          58            4.5            Vehicle Architecture
                                                        4.7            Data Management
                                          59
                                          60            4.7.1                     Documentation status
                                          61            4.7.2                     Documentation of changes
                                                        4.7.3                     Module I component data records

                                          62
                                                        4.7.4                     Part by part planning - Purchase
                                          63
                                                        4.7.5                     Part by part planning - SQA
                                          64
                                                        4.7.6                     Part by part planning - Logistics
                                          65
                                          66            4.8            Product Quality Assurance
                                          67            4.8.1                   Q-Pianning Product
                                                        4.8.2                   Risk Filter Product
                                          68
                                          69            4.8.3                     System FMEA
                                          70            4.8.4                     Design FMEA
                                          71            4.8.5                     Key Product Characteristics (KPC)
                                                        4.8.6                     Perceived quality (Virtual/ Physical)


                                          72
                                          73            4.8.7                     OM-Release Product
                                                        5.0
                                          74                       Manufacturing

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                ~Results
                                                                            MAGNA
                          of priority 1 tests available according to defined development strategy for:
                                                                                                                          H      I     j


              - components I modules
              - performance according to specification in complete vehicle
              - in-vehicle assembly tests
           52 ~Comparison of virtual and pyhsical test results available
           53 Functional safety plan implementation status
              ~Status of functional safety plan implementation
           54 ~Measures for known issues determined and allocated

           55   UIUX/Connectivity/Autonomous Driving)                                                                   FMC-VE
                Status of module groups available.
           56   Data records correspondinq to module maturity level available
                ~Completed design data released for production
                 - alignment concept
                -tolerance requirements
                - material requirements
                - surface requirements
                - component naming convention
                - part numbers and revision history
                - list of variants
           57   - reference drawinqs ...
           58   NO REQUIREMENT FOR PP
                Engineering data from previous phase updated and available. Part by part planning for
           59   production support updated
           60   ~Engineering data updated from previous phase

           61   ~Compete documentation of the PP build confirmed
                ~Design data for all components within modules has been checked for completeness
                ~Design data from PTO updated, PP data frozen. Verification complete
           62   ~Data maturity at PP confirmed
                ~Purchasing status part by part planning
           63   ~Measures for deviations aqreed and I or implemented accordinq to aqreed planninq
                ~SQA status part by part planning
           64   ~Measures for deviations aqreed and I or implemented accordinq to aqreed planninq
                ~Logistics status part by part planning
           65   ~Measures for deviations aqreed and I or implemented accordinq to aqreed planninq

           66   Perceived quality audit reports available, planning for product QM release
           67   ~Progress status for product quality planning available
                ~Actual product risk level status available for each component
           68   ~ Preventive measures status planninq and implementation meets proqram requirements
           69   ~Relevant identified issues from product validation documented

           70   ~Relevant identified issues from product validation documented

           71   ~Information provided to production for necessary modifications from change management
                ~Perceived quality audit reports (1st hardware loop) available
                ~Perceived quality one-pager and decision paper for all identified risks available and tracked within
                agreed issue management tool
           72   ~Perceived quality forecast documented

           73   ~Vehicles for OM-Release Product included in production program


           74                                                                                                           FMC-M

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                                                       5.1
                                                           MAGNA
                                                              E
                                                                 Production Planning
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                                          75
                                                       5.1.1               Target achievement


                                          76
                                                       5.1.2               Spare part production

                                          77
                                          78           5.1.3               Production staff training
                                          79           5.2       Layout
                                          80           5.2.1               Production layout plan
                                                       5.3       Process & Equipment
                                          81
                                                       5.3.1               Production preparation




                                          82
                                                       5.4       Investment
                                          83
                                                       5.4.1               Machine capability analysis




                                          84
                                                       5.4.2               System implementation

                                          85
                                                       5.5       Production Quality Assurance
                                          86
                                                       5.5.1               Q-Pianning Production
                                          87
                                          88           5.5.2               Process FMEA
                                                       5.5.3               Key Control Characteristics (KCC)
                                          89
                                          90           5.5.4               Process Audit
                                                       5.5.5               Product Audit
                                          91
                                                       5.5.6               Conformity of Production Planning
                                          92
                                          93           5.5.7               Conformity of Production Execution
                                          94           5.5.8               OM-Release Process
                                                       6.0
                                          95                   Supply Chain
                                          96           6.1       General Planning & Organisation
                                                                                       pp
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                                                                           MAGNA
               All systems for series production implemented or ready for implementation. Training of
                                                                                                                      H      I      j


                series production staff according to plan. Status I prognosis of achievability of production
               targets available.
           75 Detailed launch planning (timing & quantity) for PP LS and SOP is confirmed.
                ~Planned values for timing, costs, quality and manufacturability compared with actual values from
                production at PP and documented
                ~ Forecast available for effectiveness of defined measures I adjustment of target values to next
           76 I production milestone
                ~Production of initial samples of designated spare parts according to production process
                ~Commissioning of equipment and fixtures and handover according to equipment planning
           77 completed
           78 ~Status of training of production staff
           79 Measures for issues resulting from PTO implemented
           80 ~Open issues and optimisations from PTO builds implemented or planned
                Production process refined and analysis of processability done. Measures for open issues
           81 defined.
                ~Preparations for operations in close to production conditions and production ramp up complete
                - production documentation available
                - production systems are operational
                - automated equipment is operational
                - part maturity, quality and availability confirmed
                ~Open issue list available with timing and responsibilities defined
           82
                Installation and commissioning of all production equipment completed and infrastructure
           83 available at production location
                ~Statistical sampling of machine capability under pre-determined conditions for production of:
                - individual parts
                - sub-assemblies
                - complete vehicle
                ~Check of product against specification (laboratory, measurement fixtures, audit, torque check,
                proof of manufacturer's machine capability ... )
           84   ~Open issues available with timinq and responsibilities defined
                ~Plant and production equipment commissioned in-situ at the production location
                ~Operation in full automatic mode confirmed by commissioning personnel (supplier)
           85   ~Handover acceptance and operation bv production personnel executed

                Definition of KCCs complete; product and process audit for PP conducted. Conformity of
           86   Production Plan submitted
                ~Results of quality tests available
           87   ~Issues documented and necessary measures aqreed
           88   ~Relevant identified issues from validation documented
                ~ KCC definition finished
           89   ~Status of KCC checks performed in production
           90   ~Station readiness for PP achieved
                ~Product audit targets for PP achieved and documented
           91   ~Necessary measures I decision aqreed
                ~Conformity of Production plan submitted to each traffic authority as part of homologation
           92   requirements
           93   ~Conformity of Production inspections implemented

           94   ~Vehicles for QM-Release Process included in production program


           95                                                                                                       FMC-SC
           96 NO REQUIREMENT FOR PP
                                                                                                     pp
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                                                       6.2
                                                            E
                                                                   Purchase
                                                                                       F

                                                       6.2.1                   Production parts ordering
                                          98
                                          99           6.2.2                   Production and facility requirements
                                                       6.3         Supplier Quality Assurance
                                         100
                                                       6.3.1                   APQP
                                         101
                                                       6.3.2                   Q-Loop documentation
                                         102
                                                       6.4         Logistics

                                         103
                                                       6.4.1                   Material planning




                                         104
                                         105           6.4.2                   Vehicle order manaqement
                                                       6.4.3                   Transportation planning

                                         106
                                         107           6.4.4                   Packaging planning
                                                       7.0
                                         108                    Quality
                                         109           7.1         Requirements and quality targets
                                                       7.1.1                Quality targets
                                         110
                                         111           7.2         Quality planning and controlling
                                                       7.2.1                  Quality planning
                                         112
                                                       7.2.2                   Quality controlling



                                         113
                                         114           7.3         Materials Engineering
                                                       7.3.1                  Material engineering and testing
                                         115
                                                       7.4         Geometrical Measurement
                                         116
                                                       7.4.1                   Control of monitoring and measuring equipment
                                         117
                                         118           7.4.2                   Measurement system analysis
                                                       7.4.3                   Jigs & fixtures
                                         119
                                                       7.4.4                   Matching geometry
                                         120
                                                       7.4.5                   Body in White - quality control geometry

                                         121


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           97 Sales order processing interface to suppliers, handling of deviations agreed
                                                                                                                       H     I        j


                 ~Parts  availability status for PP builds
           98    ~Measures    for missinq parts I deviations aqreed with suppliers
           99    ~Facility and production items ordered and available to support production requirements at PP

                 Degree of quality maturity according to PP requirements (see Part Quality Status Targets
           100 table) available. Process Sian off status
                 ~Status  of APQ P
           101   ~Corrective  actions defined and implemented accordinq to plan
                 ~Check that required changes have no negative effect on engineering target
           102   ~Required measures incorporated into engineering documentation

                 Material flow planning detailed and available for each work station.
                 Transport purchasing for start up and serial production finished
           103   Interfaces to OEM for customer order processinq alianed and interface implemented
                 ~Parts allocation to assembly stations and route planning (parts from stores to assembly station)
                 complete
                 ~JIS supply concept optimisation complete
                 ~Required layout changes implemented
           104   ~Internal materials management confirmed
           105   ~Vehicle order processinq implemented accordinq to specifications I interface aqreement
                 ~Selection and ordering of transport services for production complete
                 ~Transportation concept for series production finalised
           106   ~Routinq instructions sent to transportation suppliers
           107   ~Parts carriers I containers to support PP supply available


           108                                                                                                       FMC-Q
           109 Status of achievement of quality targets according to requirements at PP
                 ~Quality   targets for PP achieved and documented
           110 ~Measures to meet program requirements agreed and decisions documented
           111 Quality planning and requirements documented to meet program requirements at PP
                 ~Status   report on QM-Pian
           112   ~Known     issues documented and measures for implementation aqreed
                 ~Status report on all quality requirements according to planning, including but not limited to:
                 - Knowledge management
                 - Risk management
                 - Issue management
           113   -quality checks ...
           114   Materials testing status to support program requirements at PP
                 ~Material testing status on production parts and samples according to planning; report available
           115
                 Part matching and measurement status meets quality requirements at PP, equipment
           116 updates to latest status carried out
                 ~Test  equipment inspection set-up status, planning to meet program requirements at PP
           117   ~Status  of reqistration of test equipment report available
           118   ~Status of definition of measurement equipment in control plan, report available
                 ~BIWfixtures updated to latest status
           119   ~Modifications to meet qeometrical tarqets defined and implemented
                 ~Matching process status report available
           120   ~Change management of matching equipment status available
                 ~Measurment programms updated on latest part status (if needed)
                 ~GeMA -sheets (visualisation of measurement results) updated
           121   ~Measurement fixtures updated to latest part status



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                                         122                   Information Technology
                                         123           8.1       StrateQy I Concept
                                         124           8.1.1                IT system concept- production implementation
                                                       8.2       IT Infrastructure
                                         125
                                                       8.2.2                IT Support for PP build

                                         126
                                                       9.0
                                         127                   Finance
                                         128           9.1       Business Case and Program Costs
                                         129           9.1.1               Business plan
                                                       9.2       Cost controlling
                                         130
                                                       9.2.1                PP costs


                                         131
                                                       9.2.2                Cost reporting
                                         132
                                                       9.2.3                Release of financial resources

                                         133
                                                       9.2.4                Development cost invoicing
                                         134




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           122                                                                                                 FMC-IT
           123   System concept for warranty processing available
           124   ~IT system concept for warranty processing available and agreed with customer (OEM)

                 IT infrastructure configured technically (supplier controls, invoice I customs processes)
           125
                 ~System availability in accordance with agreed IT concept and planning to support PP builds
                 confirmed
           126   ~Issues from PTO build phase addressed and adaptations implemented


           127                                                                                                 FMC-F
           128   Business Plan updated. Overall program cost estimate updated
           129   ~MS Business plan status update available
                 Achievement of program cost targets (non-recurring costs I part costs) confirmed. Actual
           130   cost status (non-recurring costs I part costs) updated.
                 ~Status of PP build costs
                 ~Overview of non-recurring costs
                 ~Overview of recurring costs
           131   ~MS finance plan based on financial tarqets
                 ~Status for scope of work of plan versus actual
           132   ~Deviations from plan costs highlighted and analysed
                 ~Correctness of values, amounts, responsibility and account assignment checked against
                 company guidelines and quotations obtained according to agreed process.
           133   ~Release of invoices confirmed
                 ~Customer (OEM) invoiced according to the payment plan, based on compliance with agreed
           134   conditions




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                                                                     Gate:             Launch Sign-off: Performance tests (run@rate) fo
                                                                                       customer vehicle under the predetermined volum
                                           2                         LS                suppliers confirmed.

                                           3
                                                         1.0
                                           4                         Program Management
                                                         1.1                 Master Timing

                                           5
                                                         1.1.1                         Detailed Timing
                                           6
                                                         1.1.2                         DVP Review
                                           7
                                           8             1.2                 Gateway Review
                                                         1.2.1                        Major Issues and Risks
                                           9
                                          10             1.2.2                         Red/Yellow Grren
                                          11             1.2.3                         Recovery Plans
                                          12             1.3                 Processes I Methods
                                          13             1.3.1                        Product Development Process
                                          14             1.3.2                        Meeting Schedule
                                                         1.3.3                        Change Management
                                          15
                                                         1.3.4                         Outsourced Engineering
                                          16
                                                         1.4                 Team Organization

                                          17
                                                         1.4.1                         Program Organisation
                                          18
                                                         1.5                 Contract Management
                                          19
                                          20             1.5.1                         Contract update
                                                         1.6                 Knowledge Management

                                          21
                                                         1.6.1                         Transfer of Experience
                                          22
                                          23             1.6.2                         Reflection of Experience (Lessons Learned)
                                                         1.7                 Configuration Management
                                          24
                                                         1.7.1                         Program target requirements
                                          25
                                          26             1.7.2                         Module tarqet framework
                                                         1.7.3                         Change request status- complete vehicle
                                          27

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                components and vehicles have been completed. Manufacturability of an end
                production conditions and at the specified cycle times at production site and at
            2
                                                                                                                      Responsible           Responsible        Responsible
            3                                                                                                            Role               Organisation          Name

            4                                                                                                       FMC-PM
                Program master timing schedule to SOP defined, agreed and confirmed by all departments.              Timing Manager
                PTO production planning and PTO testing schedule agreed within program team.
            5                                                                                                                                   FMC
                ~Detailed timing plan from all departments and Module Teams reviewed for compatability with          Timing Manager
            6   Program Timing                                                                                                                   ESS
                DVP including test timing and vehicle fleet reviewed and algi ned with Master Timing and Budget      Timing Manager              ESS
            7                                                                                                        Cost Controller      Vehicle Attributes
            8                                                                                                       Program Manager             FMC
                Major issues and risks from each department collated, assessed and filtered for Executive            Program Manager
            9   Reporting. All issues and risks assigned to owners with due dates for resolution                                                ESS
           10   Summary Red/Yellow/Green status for all areas reviewed and agreed for Executive Reporting            Program Manager            ESS
           11   Recovery plans for all Yellow items reviewd and agreed for Executive Reporting                       Program Manager            ESS
           12                                                                                                       Program Manager             FMC
           13   Product Development Process available and deliverables for next Gateway agreed with all areas        Program Manager            FMC
           14   Meeting schedule issued                                                                              Program Manager            FMC
                Change Management Proces in place. lnfrstructure, monitoring and meetings in place to control        Change Manager
           15   chagne                                                                                                                          FMC
                Outsourcing strategy in place and agreed. Outsourced Engineering companies under contract.          Program Manager
           16   Outsourced resource RASIC and orq structure aqreed.                                                                             FMC
                Teamwork and cooperation between all departments implemented and functioning                        Program Manager
                (information and communication ... ) Manpower planning available and agreed for next
           17   program phase. Long term planning for program available                                                                         FMC
                ~Program organisation and teamwork functioning according to planning                                Program Manager
           18   ~Manpower planning for the next phase for all departments reviews and confirmed                                                  ESS
                Confirmation that all parties accept the terms of contract. Inconsistencies within contract         Program Manager
           19   clarified and changes implemented                                                                                               FMC
           20   Contracts with all Engineering Service Suppliers in place                                           Program Manager             FMC
                Lessons Learned workshop for the phase to CC planned.                                               Program Manager
                Experiences from former programs I projects for the phase CC to FC have been prepared
           21   and adapted to the program.                                                                                                     FMC
                ~Relevant experiences from previous I current programs and projects for the phase PTC-FC            N/A This Program
           22   prepared and available
           23   Lessons Learned from all departments sumarised and documented for the next Program                  Program Manager              ESS
                Program targets confirmed and measures for target achievement defined.                            Configuration Manager
           24   Manufacturing concept available.                                                                                                FMC
                ~Status of program requirements available                                                         Configuration Manager
           25   ~Changes to program targets transferred to change management for tracking                                                       FMC
           26   ~Module target breakdown confirmed for all areas                                                  Configuration Manager         FMC
                ~Change requests to achieve VTS targets realised                                                  Configuration Manager
           27   ~Risks for non-implementation of changes highlighted and documented                                                             FMC

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                             2
                                          Customer         Status:       Forecast:
                             3           (Approval)        CWxxx          CWxxx

                             4


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                                                       1.7.4
                                                              E                         F
                                                                              Change request status- engineering module groups
                                          28
                                                       2.0
                                          29                    Marketing and Sales
                                          30           2.1         Product Definition
                                                       2.2         Sales and Marketing

                                          31
                                                       2.2.1                  Communication strategy



                                          32
                                          33           2.2.2                  Price range
                                                       10.0
                                          34                    After Sales
                                          35           10.1        Strateqy
                                                       10.2        Warranty I Service

                                          36
                                                       10.2.1                 Maintainance concept
                                          37
                                                       10.2.2                 Serviceability concept
                                          38
                                                       10.2.3                 Insurance classification
                                          39




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                ~Change   requests to achieve module targets realised
                                                                            MAGNA
                                                                                                                           H
                                                                                                                Configuration Manager
                                                                                                                                         I    j


           28   ~Risks for non-implementation of chanqes hiqhliqhted and documented                                                     FMC

           29                                                                                                    FMC-MS
           30 NO REQUIREMENT FOR LS
                Volumes and prices per market aligned and confirmed
                Activities for market introduction in selected countries available and confirmed. Car clinics
           31   completed
                ~Car clinics complete
                ~Dealer training documentation finalised
                ~Press information finalised
                ~Press I photo vehicles available from PP builds
           32   ~ Lifecycle manaqement model updated

           33   ~Volumes and price per market and variant aligned


           34                                                                                                    FMC-AS
           35 NO REQUIREMENT FOR LS
                Insurance class categorization is scheduled; repairability and maintainability is confirmed
                and risks are identified. Validation is finalized, deviation approval available if required.
           36   Support of quality try-out vehicles is secured.
                ~Maintainance is confirmed and risks are identified.
           37   ~Validation finalized deviation approval exists if required
                ~Serviceability is confirmed and risks are identified .
           38   ~Validation finalized deviation approval exists if required
                ~Insurance class categorization is scheduled.
           39   ~Validation finalized deviation approval exists if required




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                                                          10.3
                                                                     D       E
                                                                         Accessories I Spare parts
                                                                                                                          F

                                          40
                                                          10.3.1                    Spare parts I accessories procurement concept

                                          41
                                                          3.0
                                          42                         Design (Styling)
                                          43              3.1            StvlinQ status
                                                          3.1.1                     Colour & Trim
                                          44
                                          45              4.6            Styling Technical Convergence
                                                          4.1            Product Development Targets

                                          46
                                                          4.1.1                     Technical target framework


                                          47
                                          48              4.1.2                     I-Team status
                                                          4.1.3                     Complete vehicle test results
                                          49
                                                          4.1.4                     Module targets
                                          50
                                                          4.2            Function I Complete vehicle
                                          51
                                                          4.2.1                     Design verification plan
                                          52
                                                          4.2.2                     Validation results series production - modules



                                          53
                                          54              4.3            Functional Safety
                                                          4.3.1                     Implementation of functional safety
                                          55
                                          56              4.5            Vehicle Architecture

                                          57
                                                          4.0
                                                                     Vehicle Engineering                            (Body/Chassis/EE/Powertrain   :~
                                                          4.4            Engineering Modules

                                          58
                                          59              4.4.1                     Status - Engineering module group
                                                          4.4.2                     Documentation of Q-loops


                                          60
                                          61
                                          62              4.7            Data ManaQement
                                          63              4.7.1                   Documentation status
                                          64              4.7.2                   Documentation of changes


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                Spare parts distribution targets are confirmed. Spare part prices available and logistic
                                                                                                                     H      I       j


           40   process is established.
                ~Spare parts distribution targets are confirmed,
                ~Risks have been identified and measures defined.
           41   ~Spare part prices available and logistic process is established .


           42                                                                                                      FMC-D
           43 Colour and trim matching status for PPAP
                ~Status   report colour matching process (PPAP)
           44 ~Open issues available with measures defined and agreed
           45 NO REQUIREMENT FOR LS
                Whole Vehicle Type Approval available.
                Development targets (customer targets catalogue) are validated with vehicles produced
           46   under volume production conditions. DVP siqn off complete.
                ~The achievement of technical targets within the complete vehicle target catalogue reviewed
                ~The achievement of technical targets within the module target catalogues reviewed
                ~DVP completion status
           47   ~List of incomplete and open issues with defined counter measures is available
           48   ~Final individual I-Team status reports available
                ~Results of complete vehicle tests available according to DVP
           49   ~Confirmation oftarqet achievement with validation vehicles
                ~The LS builds fullfil! the module targets
           50   ~Deviation to module targets are detected agreed and documented
                PP testing according to DVP schedule done.
           51   Complete vehicle targets achieved validation complete.
                ~Complete vehicle DVP testing completed
           52   ~Positive test results confirmed and reports available
                ~Results of tests available according to defined development strategy for:
                - components I modules
                - performance according to specification in complete vehicle
                - in-vehicle assembly tests
           53   ~Comparison of virtual and pyhsical test results available

           54   Functional safety plan implementation status
                ~Status of functional safety plan implementation
           55   ~Measures for known issues determined and allocated
           56   NO REQUIREMENT FOR LS

           57 U lUX/Connectivity/Autonomous Driving)                                                               FMC-VE
                Status of module groups available.
                Data records corresponding to module maturity level available. Quality loops documented
           58   and released.
           59   ~Overall status report of engineering works within the module group available
                ~Changes required to achieve quality targets have been incorporated into designs
                ~Confirmation that required changes have no negative effect on engineering or project targets is
                available
           60   ~Engineering release for Q-loops confirmed

           61
           62 Engineering data changes from previous phase updated and available.
           63 ~Engineering data updated from previous phase
           64 ~Compete documentation of the LS build confirmed


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                                                                                                         Produktionsfr
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                                                       4.7.3
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                                                                           Engineering data records




                                          65
                                                       4.7.4               Part by part planning - Purchase
                                          66
                                                       4.7.5               Part by part planning - SQA
                                          67
                                                       4.7.6               Part by part planning - Logistics
                                          68
                                          69           4.8       Product Quality Assurance
                                          70           4.8.1              Q-Pianning Product
                                                       4.8.2              Risk Filter Product
                                          71
                                          72           4.8.3               System FMEA
                                          73           4.8.4               Design FMEA
                                          74           4.8.5               Key Product Characteristics (KPC)
                                                       4.8.6               Perceived Quality (Virtual/ Physical)


                                          75
                                          76           4.8.7               OM-Release Product
                                                       5.0
                                          77                   Manufacturing
                                                       5.1       Production Planning



                                          78
                                                       5.1.1               Target achievement



                                          79
                                                       5.1.2               Maintenance plan

                                          80
                                          81           5.2       Layout
                                          82           5.2.1               Production layout plan
                                                       5.3       Process & Equipment
                                          83
                                                       5.3.1               IT and vehicle control




                                          84
                                                       5.3.2               Technology cooperation
                                          85
                                          86           5.4       Investment


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                ~Assessment
                                                                            MAGNA
                               of the level of maturity of components in each module   available
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                ~All designs confirmed, data sets are complete
                ~Functionality at component level validated and confirmed
                ~Functionality within complete vehicle confirmed
                ~All procurement released design data frozen
           65   ~Records for PTO vehicles frozen validation is complete
                ~Purchasing status part by part planning
           66   ~Measures for deviations aQreed and I or implemented accordinQ to      aQreed planninQ
                ~SQA status part by part planning
           67   ~Measures for deviations agreed and I or implemented according to      agreed planning
                ~Logistics status part by part planning
           68   ~Measures for deviations agreed and I or implemented according to
                                                                              agreed planning
           69 Perceived quality audit reports available; documentation for product QM release
           70 ~Progress status for product quality planning available
                ~Actualproduct risk level status available for each component
           71   ~Preventive measures status planninq and implementation meets proqram requirements
           72 ~Relevant identified issues from product validation documented
           73 ~Relevant identified issues from product validation documented
           74 ~Information provided to production for necessary modifications from change management
              ~Perceived quality audit reports (2nd hardware loop) available
              ~Perceived quality one-pager and decision paper for all identified risks available and tracked within
              agreed issue management tool
           75 ~Perceived quality forecast documented
           76 ~Documentation to initiate OM-Release Product according specification available

           77                                                                                                          FMC-M
                Maintenance plan created and released. IT and production systems verified. Training of
                series production staff according to plan. Status I prognosis of achievability of production
                targets available.
           78   Detailed launch planning (timing & quantity) for LS and SOP is confirmed.
                ~Planned values for timing, costs, quality and manufacturability compared with actual values from
                production at PP and documented
                ~ Forecast available for effectiveness of defined measures I adjustment of target values to next
                production milestone
           79   ~First-time check of the efficiency of the total system (run at rate) completed
                ~Preventative maintenance plans defined together with plant and equipment manufacturers and
                released
           80   ~Spare parts for plant and manufacturinQ equipment available in SAP system

           81   Final layout confirmation
           82   ~Layout plan confirmed
                Release of production process (Process Sign-Off IPSO) available. Process stability
           83   analysed. Measures for open issues defined.
                ~Interaction of series production systems checked and verified
                -production systems (e.g., MMS, AVI, WPP ... )
                -logistic systems, (e.g., SAM, SAP ... )
                -development systems (e.g., EDB ... )
                -change management systems (e.g., EDB, ICM ... )
           84   ~Identified issues documented responsibility determined and measures aQreed
                ~Interdisciplinary cooperation verified during run at rate tests for the complete production process
           85   chain
           86   Approval of manufacturing equipment available.


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                                                       5.4.1
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                                                                             System impplementation



                                          87
                                                       5.5       Production Quality Assurance
                                          88
                                                       5.5.1                 Q-Pianning Production
                                          89
                                                       5.5.2                 Process FMEA
                                          90
                                          91           5.5.3                 Key Control Characteristics (KCC)
                                          92           5.5.4                 Process Audit
                                                       5.5.5                 Product Audit

                                          93
                                          94           5.5.6                 Conformity of Production Execution
                                          95           5.5.7                 QM-Release Process
                                                       6.0
                                          96                   Supply Chain
                                          97           6.1       General Planninq & Organisation
                                                       6.2       Purchase
                                          98
                                                       6.2.1                 Production parts ordering

                                         99
                                         100           6.2.2                 Production and facility requirements
                                                       6.3       Supplier Quality Assurance




                                         101
                                         102           6.3.1                 Process sign off
                                                       6.3.2                 APQP
                                         103
                                                       6.4       Logistics

                                         104
                                                       6.4.1                 Materials Planning

                                         105
                                                       6.4.2                 Scheduling
                                         106
                                                       6.4.3                 Transport planning



                                         107
                                         108           6.4.4                 Packaging Planning

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                 ~Confirmation
                                                                            MAGNA
                                  that all plant and manufacturing equipment has been commissioned and handed
                                                                                                                       H        I         j


                 over at production site
                 ~ Handover documentation available
                 ~All production equipment is operated by designated production personnel
           87    ~Identified issues documented responsibility determined and measures aqreed
                 Process FMEA review and product and process audit for PP conducted; batch and hold
           88    process initiated
                 ~Results of quality tests available
           89    ~Issues documented and necessary measures agreed
                 ~Process FMEA review
           90    ~Relevant identified issues from process validation documented

           91    ~Performance of KCC checks in production carried out

           92    ~Stationreadiness for run at rate achieved
                 ~Product audit targets for PP achieved and documented
                 ~Necessary measures I decision agreed
           93    ~Batch & hold process initiated in production

           94    ~ Conformity of Production plan executed and documented

           95    ~OM-Release process initiated and documented according to specification


           96                                                                                                        FMC-SC
           97 NO REQUIREMENT FOR LS
               All supplier data for parts supply confirmed. Parts availability confirmation to support
           98 production
               ~Parts availability status for LS builds
               ~Measures for missing parts I deviations agreed with suppliers
           99 ~Status of series supply contracts
           100 ~Facility and production items ordered and available to support production requirements at LS
                 Process Sign-Off and performance tests at suppliers finished.
                 Degree of quality maturity according to LS requirements (see Part Quality Status Targets
                 table) available. Start PPAP




           101
           102   ~Processsign off at suppliers
                 ~Status
                       of APQ P
           103 ~Corrective actions defined and implemented accordinq to plan
                 Suppliers linked to component transport control system (racks, still ages, etc, ... ) Part supply
                 for volume production confirmed. All logistics equipment (fork lift, trolleys, etc.,) available
           104
                 ~All equipment required for logistical support for production procured according to plan
                 ~Logistics  layout review complete
           105   ~Layout changes confirmed
                 ~Delivery schedules for all suppliers confirmed
           106   ~JIS implementation 100% complete
                 ~ 100% of suppliers connected to transport control system
                 ~Control of parts carriers I containers implemented
                 ~Supplier accounts established
                 ~Customs tariff per part number defined and integrated into IT system
           107   ~All routing instructions (RI) sent to suppliers

           108   ~All serial packaging ordered and availability confirmed according to planning


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                                         109                    Quality
                                         110           7.1         Requirements and quality targets
                                                       7.1.1                Quality targets
                                         111
                                         112           7.2         Quality planning and controlling
                                                       7.2.1                  Quality planning
                                         113
                                                       7.2.2                  Quality controlling



                                         114
                                         115           7.3         Materials Engineering
                                                       7.3.1                  Material engineering and testing
                                         116
                                                       7.4         Geometrical Measurement
                                         117
                                                       7.4.1                  Control of monitoring and measuring equipment
                                         118
                                         119           7.4.2                  Measurement system analysis
                                                       7.4.3                  Jigs & fixtures
                                         120
                                                       7.4.4                  Matching geometry
                                         121
                                                       7.4.5                  Body in White - quality control geometry


                                         122
                                                       8.0
                                         123                    Information Tehnology
                                         124           8.1         Strategy I Concept
                                                       8.2         IT Infrastructure
                                         125
                                                       8.2.2                  IT support for LS build

                                         126
                                                       9.0
                                         127                    Finance
                                         128           9.1         Business Case and Program Costs
                                         129           9.1.1                 Business plan
                                                       9.2         Cost controlling
                                         130
                                                       9.2.1                  Costs of the programm


                                         131
                                                       9.2.2                  Cost reporting
                                         132
                                                       9.2.3                  Cost controlling series production
                                         133


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           109
           110   Status of achievement of quality targets
                 ~Quality targets for LS achieved and documented
           111   ~Measures to meet program requirements agreed and decisions documented

           112   Quality planning and requirements documented to meet program requirements at LS
                 ~Status report on QM-Pian
           113   ~Known issues documented and measures for implementation aqreed
                 ~Status report on all quality requirements according to planning, including but not limited to:
                 - Knowledge management
                 - Risk management
                 - Issue management
           114   -quality checks ...
           115   Materials testing status to support program requirements at LS
                 ~Material testing status on production parts and samples according to planning, report available
           116
                 Part matching and measurement status meets quality requirements at LS, equipment
           117   updates to latest status carried out
                 ~Test equipment inspection set up status; planning to meet program requirements at PP
           118   ~Status of reqistration of test equipment report available
           119   ~Status of definition of measurement equipment in control plan, report available
                 ~BIWfixtures updated to latest status
           120   ~Modifications to meet geometrical targets defined and implemented
                 ~Matching process status report available
           121   ~Change management of matching equipment status available
                 ~Measurment programms updated on latest part status (if needed)
                 ~GeMA -sheets (visualisation of measurement results) updated
                 ~Dimensional status of BIW accepted according to defined requirements
           122   ~Measurement fixtures updated to latest part status


           123                                                                                                      FMC-IT
           124   NO REQUIREMENT FOR LS
                 All production IT systems configured and available for designated users. Warranty
           125   processinq system confiqured
                 ~System availability in accordance with agreed IT concept and planning to support LS builds
                 confirmed
           126   ~Issues from PP build phase addressed and adaptations implemented


           127                                                                                                      FMC-F
           128   Business Plan updated. Overall program cost estimate updated
           129   ~MS Business plan status update available
                 Achievement of program cost targets (non-recurring costs I part costs) confirmed. Actual
           130   cost status (non-recurring costs I part costs) updated.
                 ~Cost Status of LS
                 ~Overview of non-recurring costs
                 ~Overview of recurring costs
           131   ~MS Finance plan based on financial tarqets
                 ~Status for scope of work of plan versus actual
           132   ~Deviations from plan costs highlighted and analysed
                 ~Material consumption per vehicle for non-productive material (NPM) and indirect productive
           133   material (I PM) determined and requirements passed to purchase and loqistics.


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                                                       9.2.4         Release of financial resources

                                         134
                                                       9.2.5         Development cost invoicing
                                         135




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               ~Correctness of values, amounts, responsibility and account assignment checked against
               company guidelines and quotations obtained according to agreed process.
           134 ~Release of invoices confirmed
               ~Customer (OEM) invoiced according to the payment plan, based on compliance with agreed
           135 conditions




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                                                                                 Start of Production: First vehicle for the end custc

                                           2                   SOP               quality requirements


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                                           4                   Program Management
                                                       1.1             Master Timing

                                           5
                                                       1.1.1                     Detailed Timing
                                           6
                                                       1.1.2                     DVP Review
                                           7
                                           8           1.2             Gateway Review
                                                       1.2.1                    Major Issues and Risks
                                           9
                                          10           1.2.2                     Red/Yellow Grren
                                          11           1.2.3                     Recovery Plans
                                          12           1.3             Processes I Methods
                                          13           1.3.1                    Product Development Process
                                          14           1.3.2                    Meeting Schedule
                                                       1.3.3                    Change Management
                                          15
                                                       1.3.4                     Outsourced Engineering
                                          16
                                                       1.4             Team Organization

                                          17
                                                       1.4.1                     Program Organisation
                                          18
                                                       1.5             Contract Management
                                          19
                                          20           1.5.1                     Contract update
                                                       1.6             Knowledge Management

                                          21
                                                       1.6.1                     Transfer of Experience
                                          22
                                          23           1.6.2                     Reflection of Experience (Lessons Learned)
                                                       1.7             Configuration Management
                                          24
                                                       1.7.1                     Program target requirements
                                          25
                                          26           1.7.2                     Module tarQet framework
                                                       1.7.3                     Change request status- complete vehicle
                                          27

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                mer has been produced and is ready for distribution. End-customer vehicles fulfill

            2
                                                                                                                      Responsible           Responsible        Responsible
            3                                                                                                            Role               Organisation          Name

            4                                                                                                       FMC-PM
                Program master timing schedule to SOP defined, agreed and confirmed by all departments.              Timing Manager
                PTO production planning and PTO testing schedule agreed within program team.
            5                                                                                                                                   FMC
                ~Detailed timing plan from all departments and Module Teams reviewed for compatability with          Timing Manager
            6   Program Timing                                                                                                                   ESS
                DVP including test timing and vehicle fleet reviewed and algi ned with Master Timing and Budget      Timing Manager              ESS
            7                                                                                                        Cost Controller      Vehicle Attributes
            8                                                                                                       Program Manager             FMC
                Major issues and risks from each department collated, assessed and filtered for Executive            Program Manager
            9   Reporting. All issues and risks assigned to owners with due dates for resolution                                                ESS
           10   Summary Red/Yellow/Green status for all areas reviewed and agreed for Executive Reporting            Program Manager            ESS
           11   Recovery plans for all Yellow items reviewd and agreed for Executive Reporting                       Program Manager            ESS
           12                                                                                                       Program Manager             FMC
           13   Product Development Process available and deliverables for next Gateway agreed with all areas        Program Manager            FMC
           14   Meeting schedule issued                                                                              Program Manager            FMC
                Change Management Proces in place. lnfrstructure, monitoring and meetings in place to control        Change Manager
           15   chagne                                                                                                                          FMC
                Outsourcing strategy in place and agreed. Outsourced Engineering companies under contract.          Program Manager
           16   Outsourced resource RASIC and orq structure aqreed.                                                                             FMC
                Teamwork and cooperation between all departments implemented and functioning                        Program Manager
                (information and communication ... ) Manpower planning available and agreed for next
           17   program phase. Long term planning for program available                                                                         FMC
                ~Program organisation and teamwork functioning according to planning                                Program Manager
           18   ~Manpower planning for the next phase for all departments reviews and confirmed                                                  ESS
                Confirmation that all parties accept the terms of contract. Inconsistencies within contract         Program Manager
           19   clarified and changes implemented                                                                                               FMC
           20   Contracts with all Engineering Service Suppliers in place                                           Program Manager             FMC
                Lessons Learned workshop for the phase to CC planned.                                               Program Manager
                Experiences from former programs I projects for the phase CC to FC have been prepared
           21   and adapted to the program.                                                                                                     FMC
                ~Relevant experiences from previous I current programs and projects for the phase PTC-FC            N/A This Program
           22   prepared and available
           23   Lessons Learned from all departments sumarised and documented for the next Program                  Program Manager              ESS
                Program targets confirmed and measures for target achievement defined.                            Configuration Manager
           24   Manufacturing concept available.                                                                                                FMC
                ~Status of program requirements available                                                         Configuration Manager
           25   ~Changes to program targets transferred to change management for tracking                                                       FMC
           26   ~Module target breakdown confirmed for all areas                                                  Configuration Manager         FMC
                ~Change requests to achieve VTS targets realised                                                  Configuration Manager
           27   ~Risks for non-implementation of changes highlighted and documented                                                             FMC

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                                                             Customer                  Status:       Forecast:
                                                       3    (Approval)                 CWxxx          CWxxx

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                                                          1.7.4
                                                                      D       E                                        F
                                                                                     Change request status- engineering module groups
                                          28
                                                          2.0
                                          29                         Marketing and Sales
                                          30              2.1             Product Definition
                                                          2.2             Sales and Marketing
                                          31
                                                          2.2.1                      Communication strategy



                                          32
                                          33              2.2.2                      Price range
                                                          10.0
                                          34                         After Sales
                                          35              10.1            Strategy
                                                          10.2            Warranty I Service

                                          36
                                                          10.2.1                     Maintainance concept
                                          37
                                                          10.2.2                     Serviceability concept
                                          38
                                                          10.2.3                     Diagnostics concept
                                          39
                                                          10.3            Accessories I Spare parts
                                          40
                                                          10.3.1                     Spare parts I accessories procurement concept
                                          41
                                                          3.0
                                          42                         Design (Styling)
                                          43              3.1             Stvlinq status
                                          44              3.1.1                      Colour & Trim
                                          45              4.6             Styling Technical Convergence
                                                          4.0
                                          46                         Vehicle Integration
                                                          4.1             Product Development Targets
                                          47
                                          48              4.1.1                      Complete vehicle targets
                                                          4.1.2                      Module targets
                                          49
                                                          4.2             Function I Complete vehicle
                                          50
                                                          4.2.1                      Complete vehicle functional targets
                                          51
                                          52              4.3             Functional Safetv
                                                          4.3.1                      Implementation of functional safety
                                          53
                                          54              4.5             Vehicle Architecture
                                                          4.0
                                          55                         Vehicle Engineering                           (Body/Chassis/EE/Powertrain   1

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                ~Change   requests to achieve module targets realised
                                                                            MAGNA
                                                                                                                          H
                                                                                                                 Configuration Manager
                                                                                                                                          I    j


           28   ~Risks for non-implementation of chanqes hiqhliqhted and documented                                                      FMC

           29                                                                                                     FMC-MS
           30 NO REQUIREMENT FOR SOP
                Volumes and prices per market aligned and confirmed.
           31 Launch program finalised market entry confirmed
                ~Dealer   training documentation available
                ~Media   placement finalised
                ~Motor show introduction
                ~Market launch confirmed
           32   ~ Lifecvcle manaqement model updated

           33   ~Selling price per market and variant complete


           34                                                                                                     FMC-AS
           35 NO REQUIREMENT FOR SOP
                All activities for After Sales after market entry completed. Diagnostics available at selected
                dealers; service processes and systems implemented within dealer organisation .
           36
                ~After  Sales market launch activities are finalized.
           37   ~Confirmation  from Customer (OEM) open issues documented
                ~Service processes and systems are implemented in dealer organisation.
           38   ~Confirmation from Customer (OEM) open issues documented
                ~Diagnostics are available in dealer organization.
           39   ~Confirmation from Customer (OEM) open issues documented
                Spare parts distribution targets are confirmed, risks identified and measures defined. Spare
           40   part prices available and loqistic process is established.
                ~Change Management process for service parts exists
           41   ~Chanqe manaqement for spare parts assortment is implemented in the System.


           42                                                                                                       FMC-D
           43 All colour and trim issues resolved
           44 ~All open issues closed
           45 NO REQUIREMENT FOR SOP

           46                                                                                                      FMC-VI
                 All development targets (customer target catalogue) verified with vehicles produced under
           47    volume production conditions. Preliminary QM release.
           48    ~Target achievement of agreed development targets confirmed
                 ~The SOP vehicles fullfil I the module targets
           49    ~Deviation of module targets are detected agreed and documented
                 Functional target achievement confirmed on customer-ready vehicles (acceptance of
           50    performance)
                 ~Target achievement of agreed functional targets confirmed on vehicles produced under volume
           51   Iproduction conditions
           52    Functional safety plan implementation status
                 ~Status of functional safety plan implementation
           53    ~Measures for known issues determined and allocated
           54    NO REQUIREMENT FOR SOP

           55 U lUX/Connectivity/Autonomous Driving)                                                              FMC-VE
                                                                                                  SOP
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                                                         MAGNA
                                                       4.4
                                                            E
                                                                  Engineering Modules
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                                          56
                                          57           4.4.1                Status - Engineering module group
                                                       4.4.2                Liability disclaimer



                                          58
                                                       4.7        Data Management
                                          59
                                                       4.7.1                Documentation status



                                          60
                                          61           4.7.2                Access management
                                          62           4.7.3                Documentation of changes
                                                       4.7.4                Data records


                                          63
                                                       4.7.5                Part by part planning - Purchase
                                          64
                                                       4.7.6                Part by part planning - SQA
                                          65
                                                       4.7.7                Part by part planning - Logistics
                                          66
                                          67           4.8        Product Quality Assurance
                                          68           4.8.1               Q-Pianning Product
                                                       4.8.2               Risk Filter Product
                                          69
                                          70           4.8.3                System FMEA
                                          71           4.8.4                Design FMEA
                                          72           4.8.5                Key Product Characteristics (KPC)
                                                       4.8.6                Perceived Quality (Virtual/ Physical)


                                          73
                                          74           4.8.7                OM-Release Product
                                                       5.0
                                          75                    Manufacturing
                                                       5.1        Production Planning

                                          76
                                                       5.1.1                Station readiness


                                          77
                                                       5.1.2                Process capability analysis
                                          78
                                                       5.1.3                Production staff training
                                          79
                                                                                        SOP
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                  Status of module groups available.
                                                                           MAGNA
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           56     Data records corresponding to module maturity level available
           57     ~Overall status report of engineering works within the module group available
                  ~Positive status reports handed over to customer (OEM), including but not limited to:
                  - component test reports
                  - overview of completed change management regarding functional targets
                  - completed DVP&R on module and component level
           58     ~Provisional liability disclaimer from customer (OEM) available

                  Continued system availability assured. Engineering data changes from previous phase
           59     updated and available.
                  ~Engineering data updated from previous phase
                  ~Plan for supply of final data (parts list, CAx data) to customer (OEM) agreed
                  ~Subsequent activities I processes agreed with customer (OEM)
                  ~Data clean up agreed with customer (OEM) in contract has been planned and agreed within the
           60   I project

           61     ~Review of access rights to data and project systems agreed and implemented

           62     ~Compete documentation of the SOP build confirmed
                  ~Assessment of the required design data maturity for all components within modules carried out
                  ~Data records confirmed as being complete for each phase within the verification and validation
                  process according to requirements
           63
                ~Purchasing    status part by part planning
           64   ~Measures    for deviations aQreed and I or implemented accordinQ to aQreed planninQ
                ~SQA status part by part planning
           65   ~Measures for deviations aqreed and I or implemented accordinq to aqreed planninq
                ~Logistics status part by part planning
           66   ~Measures for deviations aQreed and I or implemented accordinQ to aQreed planninQ
           67   Preliminary QM Release for the product available
           68   ~Progress status for product quality planning available
                ~Actual product risk level status available for each component
           69   ~ Preventive measures status planninQ and implementation meets proQram requirements
           70   ~Relevant identified issues from product validation documented

           71   ~Relevant identified issues from product validation documented

           72   ~Information provided to production for necessary modifications from change management
                ~Perceived quality audit reports (3rd hardware loop) available
                ~Perceived quality one-pager and decision paper for all identified risks available and tracked within
                agreed issue management tool
           73   ~Verification and confirmation of tarqet achievement

           74   ~Preliminary OM-Release Product


           75                                                                                                           FMC-M
                Station evaluation and readiness confirmed. Training of series production staff according to
                plan . Status I prognosis of achievability of production targets available, ramp up capability
           76 confirmed detailed launch planninq (timinq & quantity) confirmed.
                ~Station evaluation and station readiness check complete
                - station documentation
                - station facilities
           77 - safety aspects ...
                ~Analysis of process capability complete. Experiences from PTO, PP, LS incorporated into
           78 I production processes
                ~Training plans and training matrix set up for production staff per technical area. Training
           79 implemented
                                                                                                       SOP
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                                          80           5.2
                                                           MAGNA
                                                              E
                                                                 Layout
                                                                                         F

                                                       5.2.1                 Production layout plan
                                          81
                                                       5.3       Process & Equipment
                                          82
                                                       5.3.1                 Production process



                                          83
                                                       5.3.2                 Production process



                                          84
                                          85           5.4       Investment
                                                       5.4.1              Machine capability analysis




                                          86
                                                       5.5       Production Quality Assurance
                                          87
                                                       5.5.1                 Q-Pianning Production
                                          88
                                          89           5.5.2                 Process FMEA
                                          90           5.5.3                 Key Control Characteristics (KCC)
                                          91           5.5.4                 Process Audit
                                                       5.5.5                 Product Audit
                                          92
                                          93           5.5.6                 Conformity of Production Execution
                                          94           5.5.7                 OM-Release Process
                                                       6.0
                                          95                   Supply Chain
                                          96           6.1       General Planninq & Organisation
                                          97           6.2       Purchase
                                                       6.2.1               Production parts ordering
                                          98
                                                       6.3       Supplier Quality Assurance
                                          99
                                                       6.3.1                 Product Sign off
                                         100
                                                       6.4       Logistics
                                         101
                                                       6.4.1                 Materials Planning

                                         102



                                                                                       SOP
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           80    All layout issues implemented, change loops completed
                                                                           MAGNA
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                 ~Change loops completed, layout changes implemented
           81    ~Detailed lavout of all production plant and equipment updated
                 Process capability confirmed. Effectiveness of measures from run@rate performance tests
           82    confirmed.
                 ~Analysis of process ability complete . Experiences from PTO, PP, LS incorporated in! production
                 processes
                 ~Process descriptions and required workplace documentation updated according to results from
                 PTO, PP, LS and available in agreed tool
           83    ~ChanQe manaQement for updatinQ of documents in production ensured
                 ~Process chain evaluation at LT for interaction of SCM and production functional depts. carried out
                 ~Experiences from performance tests (LT) documented and measures determined for all issues
                 ~Measures from LT analysis implemented and effectiveness confirmed


           84
           85    Manufacturing equipment capability confirmed
                 ~Appraisal of machine capability under pre-determined conditions carried out
                 ~Results from performance tests analysed including but not limited to:
                 - measurement fixtures
                 - laboratory
                 -audit
                 - torque checks
                 - manufacturer certification of performance ...
           86    ~Identified issues documented responsibility determined and measures aQreed
                 Series control plan approved; product and process audit for SOP conducted; batch and
           87    hold finalised
                 ~Results of quality tests available
           88    ~Issues documented and necessary measures aqreed

           89    ~Relevant identified issues from process validation documented

           90    ~ KCC checks performed in production

           91    ~Process audit results to SOP available and documented
                 ~Product audit target achieved and documented
           92    ~Batch & hold finalized
           93    ~ Conformity of Production plan executed and documented

           94    ~Preliminary   OM-Release Process carried out

           95                                                                                                          FMC-SC
           96    NO REQUIREMENT FOR SOP
           97    All supply contracts finalised, parts supply to production confirmed
                  ~All contracts for SOP finalised
           98     ~Provision of parts and supply to production site completed
                 Degree of quality maturity according to SOP requirements (see Part Quality Status Targets
           99    table), (PPAP yellow with approved non-conformance) .
                  ~Product sign off (PPAP, PPF) complete
           100    ~Process and product release complete

                 Production line supply for SOP complete. All component transport (racks, stillages, etc .. ) for
           101   series production available.
                  ~Logistics change management for series production operational, including cost evaluations and
                 cost updates
           102    ~Lavout chanqes implemented




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                                                         MAGNA
                                                       6.4.2
                                                            E                          F
                                                                              Scheduling

                                         103
                                         104           6.4.3                   Packaging Planning
                                                       7.0
                                         105                    Quality
                                         106           7.1         Requirements and quality targets
                                         107           7.1.1                  Requirements
                                                       7.1.2                  Quality Targets
                                         108
                                                       7.2         Quality planning and controlling
                                         109
                                                       7.2.1                  Quality Planning
                                         110
                                                       7.2.2                  Quality controlling




                                         111
                                         112           7.3         Materials Engineering
                                                       7.3.1                  Material engineering and testing

                                         113
                                                       7.4         Geometrical Measurement
                                         114
                                                       7.4.1                  Control of monitoring and measuring equipment

                                         115
                                         116           7.4.2                  Measurement system analysis
                                         117           7.4.3                  Jigs & fixtures
                                                       7.4.4                  Matching geometry

                                         118
                                                       7.4.5                  Body in White - quality control geometry
                                         119
                                                       8.0
                                         120                    Information Technology
                                         121           8.1         Strategy I Concept
                                                       8.2         IT Infrastructure
                                         122
                                                       8.2.2                  IT Support for SOP




                                         123
                                                       9.0
                                         124                    Finance
                                         125           9.1         Business Case and Program Costs
                                         126           9.1.1                 Business plan
                                                                                         SOP
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                ~Parts
                                                                            MAGNA
                       availability and scheduling to meet production ramp up confirmed
                                                                                                                      H      I   j


               ~Reclamation system implementation assured, issues transferred
           103 ~Deviations documented measures defined and implemented
           104 ~All serial packaging available to support production ramp up

           105
           106 Preliminary QM release for product available
           107 ~Preliminary OM-Release approved by customer (OEM)
               ~Quality target achievement for preliminary OM-Release
           108 ~Measures to meet proQram requirements aQreed and decisions documented
               Quality planning and requirements documented to meet program requirements at SOP
           109
               ~Status report on QM-Pian
           110 ~Known issues documented and measures for implementation aqreed
               ~Status report on all quality requirements according to planning, including but not limited to:
               - Knowledge management
               - Risk management
               - Issue management
           111 -quality checks ...
           112 Materials testing status to support program requirements at SOP
               ~Material testing status on production parts and samples according to planning, report available
               ~Apperance approvals completed
           113
               Part matching and measurement status meets quality requirements at SOP, equipment
           114 updates to latest status carried out
               ~Test equipment set up inspection complete
               ~All measurement equipment registered in database
           115 ~Status of reQistration of test equipment report available
           116 ~Status of definition of measurement equipment in control plan, report available
           117 ~Fixtures checked and acceptance documented according to requirements
               ~Matching status meets defined requirements (0 parts with status red, max. 10% status yellow)
               ~Change management of matching equipment finished
           118
               ~Dimensional status of BIW meets defined requirements for SOP
           119 ~Geometrical modifications implemented as required to achieve targets

           120                                                                                                      FMC-IT
           121 NO REQUIREMENT FOR SOP
               All users trained in use of production IT systems. System support for series production
           122 available and implemented.
               ~System availability in accordance with IT concept and planning to support SOP and ramp up
               confirmed
               ~Issues from LS build phase addressed and adaptations implemented
               ~Full system capability and performance confirmed
               ~Data transport for order processing, supplier control, invoicing, customs and warranty configured
               and implemented
               ~Designated users required in ramp up phase trained and competent in system use for processing
           123 of builds· IT support available on demand

           124                                                                                                      FMC-F
           125 Business Plan updated. Overall program cost estimate updated
           126 ~MS Business plan status update available
                                                                                                    SOP
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                                                       9.2
                                                           MAGNA
                                                              E
                                                               Cost controlling
                                                                                        F

                                         127
                                                       9.2.1              SOP costs


                                         128
                                                       9.2.2              Cost reporting
                                         129
                                                       9.2.3              Cost controlling series production



                                         130
                                         131           9.2.4              IT costs
                                                       9.2.5              Release of financial resources

                                         132
                                                       9.2.6              Development cost invoicing
                                         133




                                                                                      SOP
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                 ~Overview
                        of non-recurring costs
                 ~Overview
                        of recurring costs
           128 ~MS Finance ian based on financial tar ets

           129
                 ~Work     schedules with associated capacities created (direct labour costs, plant utilisation)
                 ~Manufacturing    structure was drafted and included in the plan, (overhead: Team Leader, skilled
                 labour ... )
                 ~Costs for IPM (indirect productive material) and NPM (non-productive material) per vehicle
           130   defined
           131   ~IT running costs updated based on actual performance
                 ~Correctness of values, amounts, responsibility and account assignment checked against
                 company guidelines and quotations obtained according to agreed process.
           132   ~Release of invoices confirmed
                 ~Customer (OEM) invoiced according to the payment plan, based on compliance with agreed
           133   conditions




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                                                                Gate:
                                                                                  Process Stability: Process conformity of selected   ~

                                           3                    PS
                                           4
                                                       1.0
                                           5                    Program Management
                                                       1.1              Master Timing

                                           6
                                                       1.1.1                      Detailed Timing
                                           7
                                                       1.1.2                      DVP Review
                                           8
                                           9           1.2              Gateway Review
                                                       1.2.1                     Major Issues and Risks
                                          10
                                          11           1.2.2                     Red/Yellow Grren
                                          12           1.2.3                     Recovery Plans
                                          13           1.3              Processes I Methods
                                          14           1.3.1                     Product Development Process
                                          15           1.3.2                     Meeting Schedule
                                                       1.3.3                     Change Management
                                          16
                                                       1.3.4                      Outsourced Engineering
                                          17
                                                       1.4              Team Organization

                                          18
                                                       1.4.1                      Program Organisation
                                          19
                                                       1.5              Contract Management
                                          20
                                          21           1.5.1                      Contract update
                                                       1.6              Knowledge Management

                                          22
                                                       1.6.1                      Transfer of Experience
                                          23
                                          24           1.6.2                      Reflection of Experience (Lessons Learned)
                                                       1.7              Configuration Management
                                          25
                                                       1.7.1                      Program target requirements
                                          26
                                          27           1.7.2                      Module tarQet framework
                                                       1.7.3                      Change request status- complete vehicle
                                          28
                                                                                             PS
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                criteria has been achieved and documented. Final approval by customer (OEM).
            3
                                                                                                                      Responsible           Responsible        Responsible
            4                                                                                                            Role               Organisation          Name

            5                                                                                                       FMC-PM
                Program master timing schedule to SOP defined, agreed and confirmed by all departments.              Timing Manager
                PTO production planning and PTO testing schedule agreed within program team.
            6                                                                                                                                   FMC
                ~Detailed timing plan from all departments and Module Teams reviewed for compatability with          Timing Manager
            7   ProQram TiminQ                                                                                                                   ESS
                DVP including test timing and vehicle fleet reviewed and algi ned with Master Timing and Budget      Timing Manager              ESS
            8                                                                                                        Cost Controller      Vehicle Attributes
            9                                                                                                       Program Manager             FMC
                Major issues and risks from each department collated, assessed and filtered for Executive            Program Manager
           10   ReportinQ. All issues and risks assiQned to owners with due dates for resolution                                                ESS
           11   Summary Red/Yellow/Green status for all areas reviewed and agreed for Executive Reporting            Program Manager            ESS
           12   Recovery plans for all Yellow items reviewd and agreed for Executive Reporting                       Program Manager            ESS
           13                                                                                                       Program Manager             FMC
           14   Product Development Process available and deliverables for next Gateway agreed with all areas        Program Manager            FMC
           15   Meeting schedule issued                                                                              Program Manager            FMC
                Change Management Proces in place. lnfrstructure, monitoring and meetings in place to control        Change Manager
           16   chaQne                                                                                                                          FMC
                Outsourcing strategy in place and agreed. Outsourced Engineering companies under contract.          Program Manager
           17   Outsourced resource RASIC and org structure agreed .                                                                            FMC
                Teamwork and cooperation between all departments implemented and functioning                        Program Manager
                (information and communication ... ) Manpower planning available and agreed for next
           18   program phase. Long term planning for program available                                                                         FMC
                ~Program organisation and teamwork functioning according to planning                                Program Manager
           19   ~Manpower planning for the next phase for all departments reviews and confirmed                                                  ESS
                Confirmation that all parties accept the terms of contract. Inconsistencies within contract         Program Manager
           20   clarified and changes implemented                                                                                               FMC
           21   Contracts with all Engineering Service Suppliers in place                                           Program Manager             FMC
                Lessons Learned workshop for the phase to CC planned.                                               Program Manager
                Experiences from former programs I projects for the phase CC to FC have been prepared
           22   and adapted to the program.                                                                                                     FMC
                ~Relevant experiences from previous I current programs and projects for the phase PTC-FC            N/A This Program
           23   prepared and available
           24   Lessons Learned from all departments sumarised and documented for the next Program                  Program Manager              ESS
                Program targets confirmed and measures for target achievement defined.                            Configuration Manager
           25   Manufacturing concept available.                                                                                                FMC
                ~Status of program requirements available                                                         Configuration Manager
           26   ~Changes to program targets transferred to change management for tracking                                                       FMC
           27   ~Module tarQet breakdown confirmed for all areas                                                  ConfiQuration ManaQer         FMC
                ~Change requests to achieve VTS targets realised                                                  Configuration Manager
           28   ~Risks for non-implementation of chanQes hiQhliQhted and documented                                                             FMC
                                                                                                      PS
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                                                             Customer               Status:   Forecast:
                                                       4    (Approval)              CWxxx      CWxxx

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                                                          1.7.4
                                                                      D       E                                        F
                                                                                     Change request status- engineering module groups
                                          29
                                                          2.0
                                          30                         Marketing and Sales
                                          31              2.1             Product Definition
                                          32              2.2             Sales and Marketina
                                                          2.2.1                     Communication strategy


                                          33
                                                          10.0
                                          34                         After Sales
                                          35              10.1            Strategy
                                          36              10.2            Warranty I Service
                                                          10.2.1                     Maintainance concept
                                          37
                                                          10.2.2                     Serviceability concept
                                          38
                                                          10.2.3                     Insurance classification
                                          39
                                                          10.2.4                     Diagnostics concept
                                          40
                                          41              10.3            Accessories I Spare parts
                                                          10.3.1                    Spare parts I accessories procurement concept
                                          42
                                                          3.0
                                          43                         Design (Styling)
                                          44              3.1             Stvlina status
                                          45              4.6             Stvlina Technical Converaence
                                                          4.0
                                          46                         Vehicle Integration
                                          47              4.1             Product Development Taraets
                                          48              4.1.1                    Complete vehicle targets
                                                          4.1.2                     Module targets

                                          49
                                          50              4.2             Function I Complete vehicle
                                          51              4.2.1                      Complete vehicle functional targets
                                          52              4.3             Functional Safetv
                                                          4.3.1                      Implementation of functional safety
                                          53
                                          54              4.5             Vehicle Architecture

                                          55
                                                          4.0
                                                                     Vehicle Engineering                          (Body/Chassis/EE/Powertrain   :~
                                          56              4.4             Engineering Modules
                                                          4.4.1                     Status - Engineering module group
                                          57
                                          58              4.7             Data Management
                                          59              4.7.1                    Documentation status
                                          60              4.7.2                    Documentation of changes


                                                                                                 PS
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                ~Change   requests to achieve module targets realised
                                                                            MAGNA
                                                                                                                                 H
                                                                                                                      Configuration Manager
                                                                                                                                               I    j


           29   ~Risks for non-implementation of chanqes hiqhliqhted and documented                                                           FMC

           30                                                                                                          FMC-MS
           31 NO REQUIREMENT FOR PS                                                                                         OEM-M
           32 Market launch confirmed                                                                                       OEM-M
                ~Dealer   and regional training for market launch complete                                                  OEM-M
                ~Advertising  placement for market launch done
                ~Market launch confirmed
           33   ~ Lifecvcle manaqement model updated


           34                                                                                                          FMC-AS
           35 NO REQUIREMENT FOR PS                                                                                         PgR-AS
           36 Handover to production                                                                                        PgR-AS
                ~Final approval of all activities and handover to   serial support.
                                                                                                                            PgR-AS
           37   ~Final acceptance in written form
                ~Final approval of all activities and handover to   serial support.
                                                                                                                            PgR-AS
           38   ~Final acceptance in written form
                ~Final approval of all activities and handover to   serial support.
                                                                                                                            PgR-AS
           39   ~Final acceptance in written form
                ~Final approval of all activities and handover to   serial support.
                                                                                                                            PgR-AS
           40   ~Final acceptance in written form

           41   Stable production of spare parts confirmed                                                                  PgR-AS
                ~Final approval of all activities and handover to   serial support.
                                                                                                                            PgR-AS
           42   ~Final acceptance in written form


           43                                                                                                            FMC-D
           44 NO REQUIREMENT FOR PS                                                                                         PgR-ST
           45 NO REQUIREMENT FOR PS                                                                                         ER-STC

           46                                                                                                           FMC-VI
           47 Final customer acceptance confirmed                                                                            PM-E
           48 ~Final customer acceptance confirmed and documented                                                            PM-E
                ~Completion     of all activities confirmed by customer (OEM)                                                MGL
                ~Timing    and solutions of deviations from the activity confirmation are agreed and handed over to
           49   I production support

           50     Final customer acceptance confirmed                                                                       ER-CV
           51     ~Final customer acceptance confirmed and documented                                                       ER-CV
           52     Functional safety plan implementation status                                                             ER-FuSa
                  ~Status of functional safety plan implementation                                                         ER-FuSa
           53     ~Known issues transferred to production

           54     NO REQUIREMENT FOR PS                                                                                      ER-VA

           55 UIUX/Connectivity/Autonomous Driving)                                                                    FMC-VE
           56 Final customer acceptance confirmed                                                                           ER-MG
                ~Final approval of all activities available from customer (OEM)                                             ER-MG
           57   ~Final acceptance available in written form

           58   Data handover and archiving complete                                                                        ER-DM
           59   ~ Handover of all data completed                                                                            ER-DM
           60   ~Compete documentation of the program until PS confirmed in PDM system                                      PgR-CM


                                                                                                        PS
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                                          61         4.8
                                                         D
                                                          MAGNA
                                                             E                         F
                                                                Product Quality Assurance
                                          62         4.8.1               Q-Pianning Product
                                                     4.8.2               Risk Filter Product

                                          63
                                                     4.8.3                 System FMEA
                                          64
                                                     4.8.4                 Design FMEA
                                          65
                                          66         4.8.5                 Key Product Characteristics (KPC)
                                          67         4.8.6                 OM-Release Product
                                                     5.0
                                          68                  Manufacturing
                                          69         5.1        Production Planning
                                                     5.1.1                Production ramp up

                                          70
                                                     5.1.2                 Spare parts production
                                          71
                                          72         5.1.3                 Production staff training
                                          73         5.2        Layout
                                          74         5.3        Process & Equipment
                                                     5.3.1                Process simulation (virtual process week)

                                          75
                                          76         5.4        Investment
                                                     5.4.1               Systems I facilities and resources

                                          77
                                                     5.5        Production Quality Assurance
                                          78
                                                     5.5.1                 Q-Pianning Production
                                          79
                                                     5.5.2                 Process FMEA
                                          80
                                          81         5.5.3                 Key Control Characteristics (KCC)
                                          82         5.5.4                 Process Audit
                                          83         5.5.5                 Product Audit
                                          84         5.5.6                 Conformity of Production Execution
                                          85         5.5.7                 OM-Release Process
                                                     6.0
                                          86                  Supply Chain
                                          87         6.1        General Planning & Organisation
                                          88         6.2        Purchase
                                          89         6.2.1                Ordering Process
                                          90         6.3        Supplier Quality Assurance
                                                     6.3.1                Process Stability
                                          91
                                                     6.3.2                 Supplier Quality Management
                                          92
                                          93         6.3.3                 APQP
                                                                                       PS
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           61 Final QM release Product available
                                                                           MAGNA
                                                                                                              H
                                                                                                             ER-Q
                                                                                                                     I         j


           62 ~Progress status available                                                                     ER-0
                ~Actual product risk level status available for each component                               ER-0
                ~Preventive measures on track
           63   ~Hand over to serial production completed
                ~Relevant identified issues from product validation documented                               ER-0
           64   ~Hand over to serial production completed
                ~Relevant identified issues from procuct validation documented                               ER-0
           65   ~Hand over to serial production completed

           66   ~Information provided to Production for necessary modifications from change management       ER-0
           67   ~Final OM-Release Product                                                                    ER-0

           68                                                                                               FMC-M
           69 Production ramp up achieved. Training of series production staff complete                      PM-P
                ~Productionramp up achieved according to the prescribed production curve                     PM-P
              ~Stable production at highest predicted rate of production per shift confirmed
           70 ~Effectiveness of the process and supply chain confirmed
              ~Spare part production targets achieved according to agreements                                PM-P
           71 ~Effectiveness of the process and supply chain confirmed
           72 ~Training of production staff complete                                                         PM-P
           73 NO REQUIREMENT FOR PS                                                                          PM-P
           74 Virtual process simulation reflection complete                                                 PM-P
              ~Lessons learned workshop for virtual process simulation has been carried out and results      PM-P
              documented
           75 ~Measures for process optimisation determined and transferred
           76 Final acceptance of production equipment                                                       PM-P
              ~Final commissioning of all plant and equipment confirmed                                      PM-P
              ~Issues raised during commissioning have been resolved and documented
           77 ~Warranty I quarantee period confirmed and documented
                Status of series product and process audits available, handover to production complete       PgR-Q
           78
                ~Results  of quality tests available                                                         PgR-0
           79   ~Issues  documented and necessary measures aqreed
                ~Relevant identified issues from process validation documented                               PgR-0
           80   ~Hand over to serial production complete

           81   ~KCC checks in Production performed                                                          PgR-0
           82   ~Serial process audit status                                                                 PgR-0
           83   ~Serial product Audit status                                                                 PgR-0
           84   ~ Conformity of Production Plan executed and documented                                      PgR-0
           85   ~Final OM-Release Process                                                                    PgR-0

           86                                                                                               FMC-M
           87   NO REQUIREMENT FOR PS                                                                       PM-SCM
           88   Cost engineering process established for series                                             PM-SCM
           89   Cost engieneering process, established, change management support available                   PuR
           90   Long term process capability assessments complete                                           PM-SCM
                ~Process capability assessments at suppliers complete                                        SOAR
           91   ~Long term process stability achieved at suppliers and documented
                ~Agreed level of quality management activities implemented at suppliers                      SOAR
           92   ~Identified issues assiqned and supported by measures
           93   ~Final APOP status for development project                                                   SOAR
                                                                                                  PS
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                                                         MAGNA
                                                       6.4
                                                            E
                                                                   Logistics
                                                                                       F

                                                       6.4.1                   Material Handling


                                          95
                                                       6.4.2                   Scheduling


                                          96
                                                       6.4.3                   Packaging Planning
                                          97
                                                       7.0
                                          98                    Quality
                                          99           7.1         Requirements and quality targets
                                         100           7.1.1                  Requirements
                                         101           7.1.2                  Quality Targets
                                         102           7.2         Quality planning and controlling
                                                       7.2.1                  Quality Planning
                                         103
                                                       7.2.2                   Quality controlling



                                         104
                                         105           7.3         Materials Enqineering
                                                       7.3.1                  Material engineering and testing
                                         106
                                         107           7.4         Geometrical Measurement
                                         108           7.4.1                Control of monitoring and measuring equipment
                                         109           7.4.2                Measurement System Analysis
                                         110           7.4.3                Jigs & Fixtures
                                         111           7.4.4                Matching Geometry
                                                       7.4.5                Body in White - quality control geometry
                                         112
                                                       8.0
                                         113                    Information Technology
                                         114           8.1         Strateqy I Concept
                                         115           8.2         IT Infrastructure
                                                       8.2.2                   Series production IT


                                         116
                                                       9.0
                                         117                    Finance
                                         118           9.1         Business Case and Program Costs
                                         119           9.2         Cost controlling
                                                       9.2.1                 Program costs


                                         120


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!\\      liJV ' " ,...... \" ~..I'L J'\. II ...... \ t:;;.J LJ L~ LJ <1. ~
                                                                           MAGNA
           94 Confirmation of material handling and parts supply for series production
                                                                                                                        H
                                                                                                                      PM-SCM
                                                                                                                               I     j


              ~Material receiving, storage and line feed confirmed                                                      LoR
              ~Logistic equipment and facilities hand over to production complete
              ~Logistics change management for series production operational, including cost evaluations and
           95 cost updates
              ~Parts availability to meet production schedules confirmed                                               LoR
              ~Reclamation system operational
              ~Customer (OEM) process goals achieved
           96 ~Deviations documented measures defined and implemented
              ~Confirmation that containers available in sufficient quantities to meet all production requirements     LoR
           97

            98
            99 Quality targets achieved, final QM release                                                             PgR-Q
           100 ~Final OM-Release approved by customer                                                                 PgR-Q
           101 ~Quality target achievement part of final OM-Release                                                   PgR-Q
           102 Final report on program quality requirements                                                           PgR-Q
               ~Status report on QM-Pian                                                                              PgR-Q
           103 ~Known issues documented and measures for implementation aqreed
               ~Final report on all quality requirements according to planning, including but not limited to:         PgR-Q
               - Knowledge management
               - Risk management
               - Issue management
           104 -quality checks ...
           105 Materials testing status to support program requirements at PS                                         PgR-Q
               ~Material testing status on production parts and samples according to planning, report available       PgR-Q
           106
           107 Quality requirements at ramp up achieved, handover to series production complete                       PgR-Q
           108 ~Review of test equipment, hand over to production complete                                            PgR-Q
           109 ~Definition of measurement equipments in control plan complete                                         PgR-Q
           110 ~Fixtures checked according to specified requirements, hand over to production complete                PgR-Q
           111 ~Matching status meets defined requirements (0 parts with status red, max. 5% status yellow)           PgR-Q
               ~Dimensional status of BIW meets defined requirements for PS                                           PgR-Q
           112 ~Geometrical modifications implemented as required

           113                                                                                                       FMC-IT
           114 NO REQUIREMENT FOR PS                                                                                  PgR-IM
           115 IT systems available to run at full capacity                                                           PgR-IM
               ~System capability confirmation at full production capacity                                            PgR-IM
               ~Data transport for order processing, supplier control, invoicing, customs and warranty optimised
               ~Confirmation of capability of designated users
           116

           117                                                                                                       FMC-F
           118 NO REQUIREMENT FOR PS                                                                                   PgM
           119 Final cost status available                                                                             PgM
               ~Overall program costs                                                                                  PgM
               ~Non-recurring costs
               ~Recurring costs
           120 ~Result of the MS Finance plan


                                                                                                      PS
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                                                       9.2.2            Cost reporting
                                         121
                                                       9.2.3   MS lnt   Final release of resources I final calculation
                                         122
                                                       9.2.4   MS lnt   Vehicle calculation
                                         123




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           121
                                                                                         PgR-Co
           122
                                                                                         PgR-Co
           123




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3    Product Development Process
4
 5
 6
 7                       Product                                                                                                                                                                                                               Pr
 8                       Vision                                                                                                                                                                                                                st
 9
10
11
12
13
14
15
                         Concept Development
16
17         In novation
                                   Feasibility        Concept                       Development                                                                          Series Preparation                                        Ramp Up
           & Strategy
18
19                   D ef1mng targe/ s               Planmng                        Perform a nee                                                  Assessment                                     Opt1m1sat1on                    -.
20
                                                 Layout and concept
21           Converting marketing targets into
                                                 selection to achieve
                                                                        Design and implemertation of targets on
                                                                                                                                     VaHdat ion of design in the complete vehicle
                                                                                                                                                                                        Quality maturation and validation of   Targets and volume
                specified product targets                                       system and parts level                                                                                         production processes                 achieved
22                                                      targets

23




                                                                                                    PDP Overview
                                                                                                      t-'age 'lit-' or I.:r:;>



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1
2        AS         After-Sales
3        D          Design (Styling)
4        ESS        Engineering Service Supplier
5        F          Finance
6        FMC        Future Mobility Corporation
7        FuSa       Functional Safety
8        GI         Geometrical Integration
9        M          Manufacturing
10       MS         Marketing and Sales
11       PM         Program Management
12       sc         Supply Chain
13       SE         Studio Engineering
14       VE         Vehicle Engineering            Includes Body, Chassis, E/E, Powertrain, UIIUX, Connectivity and Autonomous Driving
15       VI         Vehicle Integration            Includes Vehicle Targets, Attributes, Geometrical Integration, Vehicle Architecture, Virtual Prototypes (VPT), Protoype I
16       VPT        Virtual Prototype




                                                                              Abbreviations


                                                                                                                                                                               3-264
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                  EXHIBIT B
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                                                  T CHNOLOGY DEVELO                    NT AND
                                                       LI EN E AGRE.E                  T

          This Technology Development and License Agreement (1bc "Agreement") is effective as of the 1" day of Jw1e, 2017
          (the "Effective Pate") and is made this 20th day of Octo ber, 20 18 by and among BYTON North America Corporation,
          a Delaware corporation with offices at 4201 11urton Dl'ive, Santa Clara, Cal iforn ia, 95054, on behalf of itse lf and iCs
          Affi liates (collectively, "BYTON") and gDAG Englneerlng GmbH ("Supplier"), located at .Kreuzberger Ring 40,
          65205 Gennany (BYTON and Supplier are indivrdunfly a "Party" <1nd collectively, "Pat1ies").

                                                                 WTTNEESETH

                    WHEREA, , BYTON is in the business of des ignjng, developing, ma nufactUI'i ng, and delivering electric
          vehicles, which wi ll be initially manufactmed and sold in China, nnc.l rJ1creafter in the United Stales, Europe an<l other
          C()un lries, and requires certain serv ices and support; and

                 WHEREAS, Supplier is able to provide such services and supp<Jrt, and both BYTON and Supplier oow desire
          lo memorialize the lcrms and conditions rel ating thereto:

                  NOW, THERBPORE, in consideration of the rn utual prom ises set fortll herein, ond for such other good und
          valuable co nsidera tion, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as fo llows:

          1.0 P EFTNIT£0 S

          When u ed herein, t:he following terms shall be defined as foUows:

          L l "Acceptance Regui t-ementsd mear~ the Spec! fication.~, the accept-ance criteria relative to th~ Delivera bles, and Ihe
          plan and associated test environment against which BYTON wi ll test conformance of the Deliverables in accordance
          with lfle docum ents set fu11h in ll Statement of Work or as otherwise agrocd by the patties in writing.

          1.2 "Affili ates" shall me<:tn with respel.1 to an entity, any other entity or person controll ing. controlled by, or llllder
          common control with, such entity. For purposes of the Agreement, •control" mear1s possessi-ng, directly or indirectly,
          the power to direct or cause the direction of the management, poli cies ot· opemtions of an entity, whether through
          ownership of voting securities, by contract or otherwise.

          1.3 "Background Teclmologv" means all Technology that (i) is owned or otherwise contl'olled by Suppl ie•· und ( ii) is
          eitheJ' (l ) in existence on or p1ior to the Effectl ve Date or (2) conc.eived, created, developed, reduced to practice or
          made by or on behalf of Supplier after the Effective Date independently of tbe activities contemplated by this
          Agreement.

          1.4 "B YTON Product(s)" means any product(s) made by or for DYTON that incorporates or is disb'lbuted for use in
          conjunction with the beliverables Ol' a portion thereof.

         I .S "Confidential lnfo 1mation" means infom1ation which if disc losed (i) in tangible form, is clearly marked as
         "confidential'' m· 0 proprietary" at the time of disclosure, or (li) in inlangi blc fo rm (such as orally or visually), the
         disclosing Party clearly identifies as •confidential• or "proprietai'Y" al the time of disclosure and summarizes in writing
         and delivers to the receiving Pru1y within thirty (30) days of disclosure.

          1.6 "Delivorn.bles" means the specifi c del iverables which Supplier is to provide to BYTON under n Statement of Work
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                                                                                                    EXHIBIT


CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                3                                 EDG-0035531



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          and such other Background TeciUJology wh ich S pplier provides to or makes available to BYTON in connection with
          a Shltement of Work.

          1.7 "Derj"vntivc Mat!ll{" means any work or invention, r1ew rna1cria l, information or data wl1ich i. based in whole or in
          pm·[ upon the Background Technology artd Foreground Technology, (including, if applicable, any BYTO Products)
          and nny IntellectuaJ Property Rlghrs associated U1crewith, including any derivative worl<, improvement, extension.
          revision, modification, translation, abridgment, conclensaLi on, expansion, collection, comp ilati on, Error· Correction, or
          any other form in which the Backgtuund Tech nology and Foreground Technology may be recast, transformed or
          adapted, including any changes thereto or that Js an implementation of the Ji.tnctiona lity described in any pecifications
          or simi lar documentalion developed by or for BYTON pursuant to this Agreement.

          1.8 "Documentation" mea ns collectively the technical documentation, training matel'ials, support materials, and end-
          user documentation associa ted with the Deliverables.

           l.9 "Error~ means wiU1 respect to lhe Deliverables, a failure to meet the Acceptance Requi rements, including nny
          defect or deficiency or fa ilure to confo1m to the then-current functional , operational and performance Spcciticatiolls
          ancl DocumMiation. It is not an Error wben the functional. operational :,md performance pecifications and
          Documentati on are tlet but the Specifications provo to be enoneous o1·dysftmction I or when tnrgetndjustrnents have
          to be made dming the development process.

          1.10 "ErTOr Com:clion• means a modification, addition or procedure to correct an Error.

          1. 11 "Foreground Technology" means all Tedmology wh icb is created, developed, or otherw ise generated by Supplier
          onder tbis Agreement.

           1.12 •Jnlellectual Propel'tY Rights" means worldwide conU110n law and statutory tights associated wiU1 (i) patents nod
          patent applications; (i i) works of authorship, including mask: work rights, copyrights, copyright applications. copyright
          registrations and •r oralu rights~ (iii) the protection of Jade and induslrial secrets and confidential informal ion; (i v)
          other proprietary rights rela ting to intungible Intellectual property {specifically excluding trademarks, tradenames and
          service marks); (v) analogous r·ights to tho.c;o set forth above; and (vi) divis ions, continuations, J'enewals, reissunnces
          and extensions of the foregoing (as applicable) now ex isting or hereafter filed, issued or•11cquired.

          1.13 "Seryjce,s" meaDS any blsk performed, such 11 consultancy services, to complete the pl'Ojcct in accordance with
          lhe agreed responsibilities pursuant to a Statement of Work.

         1.14 ''Source Q(Jde" means program code i.n high- level computer language readable by humans skilled in the language,
         and includes available related Documentation and tooL~. including comments, intemal development tools nnd bui ld
         envii'Omnents.

          I.J 5 •speci fications" means the functiona l, operational and performance requil'ements fo1' the Deliverables.

         1 .16 "Statem,ent of Work" means the development plan. including delivernbles nnd associated m il eston~ and the
         developmeu schedule set forth in a written document. Tile Parties moy enter into multiple individual Statemetlls of
         Work under chis Agreement. Each Statement of Work entered into by tl1e Parties shall be part of the Agreemwt, as
         doftned.

          f .17 "Technology' means inventions, business, ma rketing. engineering, technical and maoufactm·ing infonnation,
         know-how and materials, including technology, softwar-e, instrumentation, specifications, designs, devices, clnta,
         composilions, fo rmuJas, • assay , reagents, constructs, compounds, discoveries, procedures, processes, practices,
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           protoco ls, methods, techniques, results of experimentation or testi ng, knowledge, !J·aclc secrets, skill und experience, in
           ellch case whether or not patentable or copyrightoble; the foregoi ng nu1y be in both tangible nnd inta ngible form.

          2.0 DEVELOP          :NT

          2.1 Development Unde1taking_ Suppli er will design, develop and create the DeJivembles and perform all Services,
          conforming to the Acceptance Requirements and in nccordonce with the applicable Sllltcmcut of Worlc created tmder
           this Agreement. Por the avoidance or doubt, Supplier will not be an exclusive supplier of the services regaJding the
           project as a whole, but only with respect to the agt d Deliv rabies and Services pu rs uant to this contract. BYTON
          cnnies tJ1e overall res pon.'li bilily for the Project as a whole.
          Should the development process show that target adjustments are necessary in order to achi eve the ove rall target of a
          :functionol vehicle fit for homologa tion in lhe jurisdiction of the European Union, tbe United States of Ame1ica and
          Ch inn, (hese large! adjusltnenls are not considered ern)ncous.

          2.2 Ob! jgntious in Support of Development. o ensure the limely and satisfactory completion of Supplier's
          development work under the Statement ofWo rk, Supplier wil l deploy throughout the development sufficient and
          qualified personnel. equipment and o1J1er necessary resources lo complele Supplier's develo pment work. BYTON wi ll
          provide all necessary data and perfo rm al l duties in accordance with WOP Gate Deliverables Full Checklist lo enable
          Suppl ier's performance. For all of Supplier's development w rk il nd provision of Services, Supplier will manage,
          supervise and pl'Ov id~ direction to its Personnel and cause tbem to comply wilh the obligations and restrictions
          applicable to Supplier under the Agreement Supplier is responsible for the acts and omissi ons of Personnel u11der or
          rela ling to each Agreement. S tpplier may employ individual independent contractors as pa11 of its workforce but shall
          not be penni tied to delegate OJ' subcontract the per1b tmance of its dtttie.s and obligations to any thi rd p1nty without lhe
          prl01· wr·itten consent of B YTON. Supplier rema ins respons ible for compliance with the tem1s and conditions of the
          Agreement whether perfom1ed by Supplier or an aut hori?.ed thit'U party.

          For Supplier personnel \vho are visiting nnd mlSite at BYTON facilities, the additional obligations set fmth in Section
          13 below shall apply.

          2.3 Status Repo1·ts. Supplier will provide to B YTON written engillecring slaros reports, on an every-other-week basis
          (or as requested bas is) detailing the status of the development work described in the Stalernent of Work. Supplier shall
          provide more frequent updates and status reports upon !3YfQN's request.

         2.4 Change RwuesC!i. ome evolution of the Specifications and the tatement of Work based upon interaction
         between the Parll es is expected and minor mod ifications which will 110t impact full compliance with !be Statement of
         Work (inclu<l ing milestones) or fees due under this Agreement may be mutually agreed to by the Parties and 1 eed not
         be achieved by a fonnal change mechanism. However, changes impacting ful l complianc::e with the Statement of Work
         or tees payable nre only valid if implemented in accordance with the following change request proced ure. BYTON
         may request any change lo the Speci fications or the Statement of wo .. k by setting forth the proposed clumge in
         reasonable detail in a wrillng (including emai l) submitted to Supplier (•Change Request"). Supplier shall respond in
         writing to Change Requests within three (:3) workdays of receipt, in each case, setting forth the expected effect of
         incorpcrating the requested change., includitlg, as appropriate, the impact on the Statement of Work and any additional
         fees which Supplier would require in order lo make the t-equested cbange ("Change Response•). BYTON sball
         respond prom ptly ioforn1ing SuppHer whether it agrees with Suppli er's descliption of the anticipated impacl and
         additional terms, if any, pmposed in the Change Res ponse. Once an aulhor·iz.ed repl'esentalive of BYTON agrees in
         writing 10 the tenns and conditions outlined in the Change Re ponse, Supplier ha ll promptly begin to implement the
         agreed changes. In the light of the tight schedllle, BY1 ON agrees to commil to the new terms after !he Change
         Response within 48 hours. Shou ld BY'fON not agree withjn that timefratne, Suppliet· is en itlcd to pe1form service or
         deliver/ conduct task as previously agreed. For the avoidance of doubt: Supplier may continue to work in accordance
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           with previous agreed terms dul'ing these 48 hours as time is of essence.

          2.5 Bq ha pcemenl~. BYrON, at its option, may request enhancements to the Deliverabl es by seUing fo11h the proposed
          change in rea ·on able detai I (i nclucl ing em a iI) submitted to Stipp! ior (" Enhanccmen l Reques l"). Supplier sha II respond
          in writing to Enha ncement Requests within ten ( I0) days ofrec.eipt,ln each ca e, setting fort h the expected effect of
          incorporati ng the requested chnnge, including. as approp1'iate, any additiona l fees which Supplier would require in
          o r<lel' to mflke the requested change ("Enhancement Request Response"). BYTON shall respond promptly will1in 48
          hours, infonning Supplier whether it agrees with Supplier's additional terms, if any, proposed in the Enhancement
          Request Response. Once onautho1ized representativeofBYTON agrees in writing to the Bnhancement Requ~t
          Response, Supplier shall prom ptly begin to implement the agreed changes. Tn the light of the ti ht chedule, BYTON
          agrees to commit to the new terms after the Enha t1cement Response within 48 ho rs. Should BYTON not agree within
          that timcframe, Suppl ier is entitled to perfonn service or deliver/ conduct task as previously greed. For the avoidance
          of doubt: Sl1pplier may contin c to wol'l< in accordance with previous agreed terms during these 48 hours as time is of
          essence.

          2.6 BYTON's and Supplier's Obligations. In furtherance of tbis Agreement, BYTON and Suppl ier shall (a) cooperate
          nnd work together in all matters relating to the services provided hereunder; (b) I"Cspond promptly to a P1uty's request
          to provide direction, in fo rmation, approva Is, authorizations or decisions that are reasonably necessary for or related 1o
          a Stalemen~ of Work in ~ li mery manner.

          3.0 TRANSFER AND DEL               • Y

          3.1 Background Dwhnology. If requil'ed under 11 Statement of Work in nccordonoo willt J.5, Supplier wi II deliveno
          BY'l'ON the Background Technology (incl uding without limitation Documentation here o) within five (S) days if
          feasibfe. 01· as otherwise agreed to by the parties if not feasible, after payment pul'suant to the agreed -payme11l
          schedule.

          3.2 Deliverables and the DeveloRed Techno lot!¥. Supplier will deliver to BYrON each Deliverable (including lJlc
          Foreground Technology therein and related Documentatio11), in the fonn(s) set forth in a Statement of Work, not later
          than the date set forth therein fol' testing in 11ccordance witll t.he Acceptance Requi rements. Tn addition, Supplier will
          provide toBYTON such technical documentotion as may be reasonably re~uired to enable BY'fON to ins tall and test
          each De liverable as anticipated by the Acceptance Requirements.

          3.3 ~- TIME IS OPTHE ESSENCE. Supplie•'s delivery to BYTON ofthe Deliverables in accordance widl this
          Section 3.0 ("Tra nsfer and Delivery'') and Supplier's completion of all Deliverables, Foreground Technology ond
          Doc mentation thereto in accords ce with the schedule set forth in the Statemen t of Work are key to the success of the
          BYTON Product(s). BYTON wi ll provide all necessary informntlon and perfo1111 all duties in a timely fashion to
          enable Supplier performi ng in accordance wilh tile master liming.

          3.4 Means ofDeuvcry. AJI delivedes to BYTON shall be made DDP Destination (TNCO Terms, 20 10) aod p ul'SlWllt
          lo BYTON's written instmctions with res pect to form (physicnJ o1· electronic) and localion. For the deli very of any
          physical items, taxes o1· duties, fees, charges. stamp taxes. etc. ofany kind are borne by BYTON. Supplier agrees lo
          support BYTON where possible and iRentitled to chat'ge these services in accordance with it3 offer.

          4.0 T     .lNG AND A CEPTAN CE

         4. 1 rest Method. The Deliverables requiring machine execution will be tested in the test enviro1U11Cilt described in the
         Acceplance Requirerneols. The Foreground Technology and Delivembles not requiling machine eKecu ion will be
         compared to the requirements of the Acceptance Requirements.

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          4.2 AcccP.t::'IOCe Proccd\n·c.

               a. BYTON may, in B YTON's sole discretion, reject the Del iverables ot· any component thereot: if it contains any
                  Error. BYTON will pmmpUy notifY Supplier in writing ofO YTON's acceptance or rejection ("Error Notice").
                  rn each Error Notice, BYfON will set forth, in reasonable {letail, the reason for Ihe rejection.

              b.       U pon rejection of the Delivern bles, Supplier shall either (i) create and implement an l!rror Co1Teclion for
                    each identified B1ror and resubmit the relevant po1't ion of the Deliverable to BYTON for retesting wit hln three
                    (3) workda)'li of 8 YTON's Error Notice, or (i i) if it is impracticable to provide an En·or Coneclion in such
                    three (3) workday period, wi thin lhree (3)workdays ofBYTON's E1TorN otice, provide to OYTO a wri tten
                    plan to correct tbc ide11 tifl d Error(s}, incl uding a schedule therefor ("Conu.tion Plan").

          f'a ilure of the Dcli vorables to pass BYTON's vcceptance tests fi>llowing implementation of Error Con·ection(s) as
          contemplated above, or failure of upplier and BYTON to agree upon a Con-ection Plan within three (3) days a net·
          Supplier provides such Conection Pfnn to BYTON or Supplier's !lli lure to fully comp ly with an ag!'ccd upon
          Correction Phm, will e~ 1title BYTON, in BYTON's sole disCl·etion, to (I) requi re Sup plier to again undertake creati on
          and implemen!ation of an En·or Corfe(;ti on fo r resubmission aud testing pursuant to this Section; (ii) accept lhe
          rel ~vant po1i.ion of the Deliverables and con·ect the l!n'Or itself offiictting its reasonable costs against any nssociated
          fees; (iii) 11ccept the relevant pol'liou ofthe Delivera bles, res rving.BYTON's 1ights !o requfre Suppliel' to con·ect the
          En·o1 ~ or (iv) deem such event a malel'ial breach of this Agreement wJ ·cb cannot be cured, immediately terminate this
          Agreement in accordru ce with Section 9.2 ("Breach and Ter·mination~), and Supplier shall refund any fees that have
          been pa id (for any 11oncomplia11t Deli vera bles) unde1· the Statement of Work in Questi on For [hi s pa rticular item.

          S.OLICEN E RA T A D                    TRICTIONS

          5. 1 Supplier's License Gmnts and Restrictions..

              a. Background Technology Llcense. Supp lier· hereby grants to BYTO'N, a royally-free, fi.11ly paid up. non-
                 exclusive, perperual, irrevocable Olld worldwide license under Supplier's lnlellecblal Property Rights Lo, in any
                 fashion BYTON may choose (incJ udi11g, but not limited to, community source aucl/or open source licensing),
                 (i) use, reproduce, modify, prepare Derivative MaUer of, compile, publicly perf<l ml, publicly display,
                 demons U'Rte, Backgrow)d Technology and Derivative Malter thereof (lncl~1di ng iu Source Code or object code
                 fo rm) on any media or via any electronic or other method now known or later discovered; (i i) make, have
                 made, use, sell, offer to sell, impo11 and o1herwise el(p]oit lhe Background Technology and Derivative MaUer
                 thereof (including in Source Code or object code form) in any manner and on nny media or via any electronic
                 or other method now known o1· later discovered; (iii) disclose, distribute and otherwise exploit the Background
                 Technology and Derivative Marter .<l nd (lv) su blicense the foregoing rights to third parties through multiple
                 tiers of sub Iicensees or other licensing mechanisms at BYTON's option for Background Technology and
                 Deli vative Mal:te4'S necessary for the ProjecL

             b. Thi1'd Pal'ty Licenses. SUpplier shall not incorporate any third-party materials, i.nf01mation or intellectual
                prope1ty, including without limitation, any open source so fl. ware (Source Code or object code fom1) made
                   generally available to the public under opetl source licenses (collectively, "Third Party Materials"} into any of
                   the Delivembles unless Supplier has obtained fo r BYTO license li ghts consistent with the rights mentioned
                   under Section 5.1(a) herein. S~1pp lier shllll identify and disclose to B YTON, all Third Pa.ty Materials to be
                   incorporated into the Deliverables, pl'io1· to doi ng so, and the Parties shall discuss the same if n ~ n ry.

         S.2 BYTON's License Grant and Reslricl ions.


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               a. kicense Grnllt. Subject to th terms nnd conditions of this Agreement OYTON gmnts upp lier a pei'Sonal,
                  non-exclusive, non-tra nsferdb le, limi ted Iicense to internally usc the Foreground Technology and prepare and
                  use Deriva li ve MaUer thereo f~ solely for the purpose of performing maintenance and support services to
                  BYTON in accordance with the terms of this Agreement.

               b. Restrictions. Suppl ier sha ll have no l'ighl to u:::e the Foreground Teclmology for productive or commercial
                  uses. Slipplier may nol sell rent, loan or othe1wise encumber o1· transfur tho Foregrou nd Technology, in whole
                  or in part, to any third party. No right, title or interest in or to any trademark, service mark, logo or trade name
                  of B YTO or i1s SupplieJ'S is granted under thjs Agreemenl.

          6.0 WNlW.SID"P AND PR PRfETA RY NOTICR

          6.1 Background Toclmolog:x. Suppl ier asserts that Supplier and/or Suppli er's suppfie1'S own lhe 'Aackgtound
          Teclmology nnd as.'>ociatecl Tntellectual Prope11y Rights or owns the proper non-exclusive licenses. BYTON agrees
          that, ~o the extent Supp lier owns the Background Technology and associated .lntellectua l Property Rights, SuppJjer will
          1-etain such ownership. Except us expressly stated in th is Agreement, nothing her-ein shall be deemed n transfer or
          license by BYTON of any lntellcclual Prope1ty Rights Lhal BYTON may now possess or acquire in th.e future wll ich
          may cover any aspect of th Deliverables.

          6.2 Dcli vernbles~ .Foreground Teclulology.

          a.   Foreground Technology~ Deliverables. BYTON reta ins nil right, !itJe and interest in and to: (i) the: BYTON
               Products; (i i) Del lverables except to the extent such Deliverablcs constitutes Background Tedmology; and (iii)
               foreground Techno logy.

          b.   Assigrunent of Rights. Subject to Supplier's underlying Intellectual P1'0pe11y Rights in the Background
               Technology ond in exchange for the fees set forth in section 4 of SOW, Supplier shall and does hea-eby assign to
               BYTO , Supplier's cn[ire ti ght, title and interest in and to the Deli verables created fo1· BYTON, the Foreground
               Technology, and all associated Intellectual Prope.11y Rights therein. The Parties hereby agree that all development
               worl· IJelformed by Supplier hereLmder shall be deemed works mude for hire. Before any employee or contractor
               of Supplier ("Persotmel") perfonns devel opment work hereunder, such PersonHel and Supplier must enter into a
               written agreement expressly for the benefit ofBYTON and containing provisjoos substantially equivalent to d1is
               Section 6.2 (•De li verobles; Foreground Technology•) and Section 10 ("Cotlfidcntiallnformntion") or ente1· into an
               agreement as close as l eg~ lly possible lo it under the laws of tbe cou ntry in which task is performed. Supplier (i)
               may only use the Foreground Teclmology in accordance with ection 5.2 (''B YTON's License GrruJt and
               Restrictions"), and (ii) agrees not to challenge the validity of OYTON'. ownership in the Foreground Technology.
               ln addition, BYTON shall own ali Derivative Matter and a~ociated Tnteliectual Property Rights. BYTON may
               register tho copyri ght in tbe Deliverables ~nd Foreground Technology in its own name, identifying Supplier's
               interest in the Background Technology as a-cquired by appl icable Copyrigh t Office mles and regulations.

         c.    QQQperatjQn in Perfecti.og Rights. Supplier agree~ to cooperate with BYTON and cause Supplier's employees to
               cooperate with BYTON and to perfot·m al l acts, at 8 YTON's request on reasonable notice, as 1'Cas011ably
               11ecesssry to faci litate the preparation, filing, prosecution and enforcement oflhe fntellectual Properly Rights
               associated with the Deliverables and Foreground Techno logy. Tn addition, Supplier shall, upon B YTON's requesL
               and at BYTON's oosls, enter into any assignments, waivers or licenses of the Del ivernbles, Foreground
               Technology or the Intellectual Pl'ope•'LY Rights related lo any of the fo regoi11g as BYTON deems necessary and
               appropriate. 111 the event that BYTON is tmable for any reason to secm-e Supplie1Js signature to any document
               required to apply for or execute any patent, copyright, trademark l'egis!rali on or other appli~ li on with respect to
               the Dclivem bl es and Foregrmmd Teclmology, Supplier he.reby inevocllbly designates and appoints BYTON :Jnd
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               its du ly authorized officers and agents as Supplier's agents and attorneys-in-fact to act for and on Supplier's behalf
               and instead of Suppl ier, to execute and fi le any such app lica tion and o cto all other lawfully permi rted acts 10
               further tl e prooecl.ltion and issuunce of patents, copyrights, tradema rks or other rights thereon wit11 the s<tme legal
               force and effect as if executed by upplier.

          6.3 Moral Rights. uppUer agrees that with re.~pecl to any umora ln or equi valent right.~ (including, without limitation,
          rights of attribution, integtity, disclosure, and withdrawal) Supplier hereby: (i) assigns such rights to BYTON as
          desc1i bed above, (i i) waives such rights and (iii) agrees and covcmlllts never to assert, either dming or following the
          term of this Agreement, such rights or to iJ)Stitute r maintain any action against BYTON relative to any such righl'> in
          the Foreground Techno logy or Derivative Mater. To the extent that such rights cannot be assigned or waived by
          operation of law, S pplier grru1ts to BYTON, a royalty~frec fully paid-up, perpetua l, irrevocable and worldwide
          license to fu lly exercise nil suclnigbts, with rights to sublicense through multi ple levels of sublicensees and further,
          Suppliea· conse11ls to DYTON's use sufficient to allow BYTON to exercise the rights grantoo in th1s Agreement.

          7.0 PAY       m   TS, INSURAN E AND A           OUNTING

          7. 1 Pees. BYTON shall pay uppli er the fees set forth in Section 4 in SOW accordance with the schedule aod
          requirements set fo1t h therein a11d, In the ~se of fees due in connection with the Del iverables, upo11 acceptance of
          Deliverable by B YTON in acc()rdance with Section 4.2 ("Acceptance Procedure"). Fol lowing such acceptance,
          Suppl ier shall provide a co1reet invoice to BYTO >and such invoice will be due, in Eum, within citller sixty (60) days
          following .B YTON's receipt of such invoice. 8 YTON sent per the agreed payment schedule highlighted h1 the
          Statement Work to this Agreement

          7.2 Taxes. A II prices quoted by Supplier are exclusive of any taxes. Supplier shall include on its invoices the actllal
          taxes payabl e for the services provided to BYTON. However, Suppl ier shall pay all taxes, levies or duties associated
          with fees and royalties payable by DY'TON hereunder, whether based on gross l'evenue or otherwise; and any busifless,
          ace pationaJ or simi lar taxes re lating to its genem l business activities. Supplier sha ll also be responsible for all
          employer reJnted taxes relaliog toi ls Personnel including employee taxes, workers C<Jm pensation, and unemployment
          u'ISutance.

          7.3 1nsurance. S ppl ier will be insured pu rsuant to lows in Germany and provide a cop)' of the certificate of insurance
          and viii maintain such insurance for the time of the Agreement.

          8.0 MAINTEN"         CR   N'O SUJ>PORT ER' C

          8. 1 Supplier shall provide lo BYTON the maintenance and support services, as set forth in a Statement of WoJ'k, or if
          thereafter subsequently requested by BYTON as subsequently, mutually agreect by the parties.

          9.0 TERM AND TER             ATIO

          9.1 Thfm of Agreement The tenn of this Agreement begins on the Effective Date aud continues for a period of seven
          (7) years (but ln no event ~ rl i er than the expi ration or earlier termination ofthe last Statement of Work. created
          hereunder), unless this Agreement is erulicr terminated sooner in accordance herewith.

          9.2 Breach aud Term ination. Tfei thet· Party fails to comply with any materia l tenn of th is Agreeme1tt, the other Pa1·ty
          may tetminate this Agreement followi ng thirty (30) days' wli Uen nolice to the breachi 11g Party specifying any such
          breach u nless, withi n the period of such notice, all breaches specified therein are remedied. If tbe breach is one which,
          by its nature, cannot be fully remedied in thi rty (30) days, the Prutics shall cooperate to prepat-c a mutually acooptable
          plan to cure the breach within such IJ1i1ty (30) day pc1iod and then pursuant to which, the breaching Party shall
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          tm dcrtt~kcreasonable, dill gent and good ta iU1 efforts to promptly remedy the breach. lfthe Parties are unabl e to agree
          upon a plan lo remedy the breech within such thitty (30) day petiod, the non-bl'eaching Pal'ty may tcnninale th is
          Agl'eement. If, after the Parties have agreed upon a J'emedial pl an, the breachil1g Pmty fails to comply with such pl an,
          the: non-breaching Party may thereaner terminate this Agreement effective on written noti ce. Notwithstanding
          anything to the con lrary herein, BYTON may immediately termi nate lJ1is AgL-eenleot, without a Clll'e period, il' Suppl ier
          fails to comply with any of its obligations LU1der Sections 3.3 ("Delays") <J r 4.2 ("Acceptance Procedure").

          9.3 Su l>oli er's Insolvency. In the event Supplier bec<Jmes insolvent, enters into volu ntary or involuntMy bankruptcy,
          ceases to conduct business or assjgns Its i11terests in this Agreement 10 a third party credi tor, (i) BYTON mny
          immeditJtely 1erminatc this Agreement; or (ii) 13YTON mlly (a) continue to exercise the license rights gmnted to
          BYTO hereunder, and (b) reserve all lights in the Background Technology and related materials o rrotecl l3YTON's
          interests therein pUt-suant to Section 365(n) (and any amendment thereto) of the U.S. Banlo·uptcy Code, or equival nt
          legislntion in other applicable jurisdictions. 11te pa rties acknowledge that the Background Technology and
          Foreground Technology are "intellec lua l prop ny" fo r purposes of Section 365(n) of I he U.. Btmkruptcy Code and
          that B YTO:N will have the right to exercise all rights provided by Section 365(n) with respect to the Background
          Technology and Foreground Technology. ln the event that the Supplier mate.riolly breaches any provisio11 under this
          Agreement, BYTON will hove the ri gltt to requ ire the deli very by Supplier (or in the event of a til ing of bankruptcy by
          or aga in.st Suppli er. by the trustee) to BYTON of all 'Background Technology ami DeJiverables (including all
          embodiments thereof).

          9.4 I3YTON Tennina ion. .BYTO:N, at BYTON's sole option, prior to acceptance of the fina l deliverable, shall be
          permilled lo terminate thi s Agrccmcmt, a Statetnenf of Work or any part thereof, without cause upon 30 (30) days plior
          written notice to Supplier. In such an event, 13YTON shall pay l1e applicable fees through the next milestone fo llowi11g
          notice of st cb termination or as otherwise agreed bet\vcen the Parties. ff B YTON tc11ninates this Agreement o1' a
          Stalemenl of Work (in whole or in part) pursuanllo this Section 9.4, then the Pmtics shall promptly discuss what
          b'ans ition of work, if any, may occur, the plans fo r accomplishing such, and lhe proposed timetable, among other
          things ("Trnns1tion Plan"), which will include a transition period for emp loyees of th Supplier allocated for on this
          projecL Based on BYTON's plans and objectives and under considemtion or Supplier's all ocations with respect to
          this Agreen. cnt, the Parties shall cooperate and mutua lly agree on a Tra nsition Plan, whicb shnll be compl ed within
          sixty {60) days after the Parties reach agreement.

          9.5 Effect ofTeHuioation or Expiration. Neither party wil l be liable for any damages atising out of the expira1ion of
          this Agreement. TerminAtion as a result of a breach of this Agreement wi ll not affec1 any t·ight o recover damages
          sus lained by reason ofbt-each; or any payments which may be owing iu respect of this Agreement. Subject to Supplier
          making best efforts to m.itigate any costs and payment.s, Supplier is enlitled to #ill pAyments in f!ccordance witb agreed
          payment plans/fee chedule for already initiated work at t11e t.i.n e Supplier received the notice from BYTON to
          te1minate for convenience. This includes payments for costs incurred wiU1 respec.l lo subs~uent milestones (such as
          e.g. visa fees, contrnchwl obligations to emp loyees traveling abroad, testing facilities rented, etc.).

         9.6 Sury lval. Sections 1..0 ("Deful.itions"), 3.0 ("Transfer and Del ivery"), 5. 1 ("Supp li er's License Gmnts and
         Resbictions"), 5.2(b) ("Restri ctions~), 6.0 <-Ownership and Pr01)rietary Notices"). 8.0 ("Maintenance and Supp<ut
         Se1·vices"), 9.0 ("Tenn and Termination"), 10.0 ("Confident:ial lnf01mation'') 11.0 ("Wan·anties and Disclaimcl' of
         Wan·anty"), 12.0 ("lnderonification ), and 13.0 ("Mi scellaneous") of this Agreement ~hall surv ive any termination or
         expiration of Ute Agreement

         10.0    ONFIDE TIAL INFO MATION

         I 0.1 Obi igation. Excc1}t as provided in this Agreement, neiUler Party may use, reproduce, distlibute or clisclose
         Confidential fnfonnatioa it receives from the other Parly under this Agreement, wilhoul Ll1e pri or written auUtori7.ation
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          Qf tlte disclo.~i ng Party. Each Party m 1st hol d ill confidence Confidentia l Tnformalionrtx:eived from the other Pmty
          and must protect the confidcntillllty thereof with the same degl'ee of cat-e that it exerc ises with t-especl to its own
          informati on of like importance, but in no event Je ·s U1an re.1sonable C!lre, during tho term of this Agreement and for a
          period of three (3) years after the expira!lon or earlier te11nination of th is Agreement. Neither Party shall be li able for
          c11y inndve11cn[ or nAuthotized disclosure of Confi dential lnformation, provided thm it exercises at least the standard
          of care set forth above to prevent disclosure and takes reasooo ble steps to mitigate e~ny damage and prevent further
          disc losure. F'or purposes ofthis Se<:tion, use, reproducti on, distribution or disclosure by BYl'ON ofthe Background
          Technology or "Foreground Technology thereof under a commun ity sou rce or open somce licensing mode l, pursuant to
          tbe license grunted by Supplier herein, will nCJt be a breach ofthis Agreemen

          10.2 Exceptions. Section lO.l ("Obligatlon 11 ) does not apply to any portion of the ConfidentiA l lnfo rmation which lhe
          receiviLlg Parly cm1 demonstrate:

                 a. is now, or hereafter becomes, through no act or failure to act on the part oft he receiving Party, generally
                    known in the a\ltomobite il1dustry;

                 b. was possessed by the 1'eceiving Party wi thour an obli gation of confidenti allty al the time of receiving such
                    Confidential lnlimna!ion;

                 c. is rightfully obrainecl by the receiving Pa11y without restriction on disclostll'e; or

                 d. is i11dependently developed by the receiving Party not in bt-ench of this Agreement.

          l 0.3 Emplovee Acces~. Bach Party must innmn its employees and contractors having access to the other Party's
          Confide11tial Tnformation ofresu::ictions under this Ag~-eeme111 and shall contractually require such contractors to
          comply with the l'eq uirements of this Section lO.O ("Confidential Informati on") and Secti on 6.0 ("Ownership and
          Proprieta ry Notices").

           I0.4 kegal!y Compelled Disclosure. 1n the event that eithet· Party is requested or becomes legally compelled
          (i ncluding without limitation, pursuant to securities laws and regulations) to disclose the existence or any ofthe tenns
          of this Agreemenl, in contravention ofthe provisions of this Secti on 10, such Party (the "Disclosing Party") sball
          provide the oilier Party (the "Non-Disclosing Party") with prompt written notice of that fuct before such disclosure and
          will use reasonable efforts to fully cooperate with the Not;-Disclosing Party to seck a protective order, confidential
          treatment, or other appJ·opriate remedy with respect lo the disclosure. In the case of disclosure in col\nccti on with rule.>
          orr gulations of any entity reguJating securities(" •C"), if corrfidetrti<~ l trea tment is requested by the Non-Disclosi ng
          Party, the Disclosing Party agrees to usc reasonable efforts to file such a request on the Non-Disclosing Party's behalf
          and to res pond to any SEC comment top rsuc assurance 1ha1 canfidentinl trealment wi ll be granlro, in both cases
          fu ll y infom1ing the Non-Disclosing Party of any such comments and cooperating with the reasonable requests of the
          Non-D[sclosing Pm1y.

          l 0.5 !ndependent Dcvelol!illMt Each Pa11:y underslands that the other Party may develop 01· receive infurmation
          similar to the Confidential lnfollnati on. Subject to oopyrights and patent rights of each Party, (i) either Pal'ty may
          develop o1·acquire technology or products, fo1· itself or others, thaLm·e similar to or competitive witb the teclmology or
          products ofthe disclosing Party, and (ii) each Party is free to use and disclose lnformation which m.ay be retained in
          the unaided memory or [he receiving Party's empi(Jyees or contractors who have had access to the Confidential
          In formation of the other Party disclosed hereunder.

          10.6   Publjcj t~ .   Neither Party shall disclose the ex istence Ol'lhe te1,ns and conditions of this Agreement to any third
          Party, except as mny be required (i) to implement or enfor'Ce the te11ns of thi s Agreement; or (ii ) by a'' exis ting or
                                                                         9/15                                     C_IJYTON_/illAG_VI0_20_18




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                      EDG-0035539


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          potential invc.;1or, aettui ring compa11y, bank or oU1e1· -financial instituti o11, under appropriate non-disclo:sure tenus in
          com-.ec ion wi th a merger, ncqtlisition, fi nancing, loon agreement or simil<tr corporate trans.1cti on. Stipplie.r shtlll not,
          without fi rsl obtaining the prior wrillen consent ofBYTON, a11nounoe this Agreement O nce the written c<msent is
          obtai ned, Supplier may mention 13YTON publicly as rererence.

          11.0 W ARRA · TlES AND DlS LAIMER OF WARRANT¥

          l J . I Ownership. Supplier represents and wa rra nts that (i) the Background Teclmo logy, Foreground Technology and
          Deliverables will not infringe or misappropriate any lntellech.raJ .Properly Rigltts ortTudemarks of any third Porty; (ii)
          Supplie.· has the right and power to enter into this Agreement and grant the assignment nod d1e licenses set forth
          herein; (Hi) d1e Del iverables will be ree from defects in design, matel'i ol and work.rnanshi[.> and in accordance with the
          Sp ci ficatioos agreed upon by the pa rties; (iv) the Deliverables will conform to nil npplicable laws of the Uni ed
          Stutes, European Union, 111'11.1 China, including tho.e applicable to the design and engineering ofvcbiclcs in such
          countl'ie!> and reglons to achieve homo logotion; (v) and all seJ·vlces J>rovided will be provided i 11 a professional and
          workman like manner, using qua lifi ed personnel with al>propriate training, education nnd experience to perfo rm the
          services as required hereunder.

          J1.2 Confonmmcc. Suppl ier represents and wananls that following the date of acceptance, the Background
           echnology, Fore ·ound Technology and De! ivernbles will c.ontinue to confonn lo the Acx:eptnnce Requirements
          without degradation.

          11.3 Virus. Sup[>lier represents and warrants hat tbe Background TechHology, Foreground Techno logy ar)d
          Deli verables ar1d associated media c011tain no computer instructions designed to (i) disrupt, damage or interfore wiU1
          use of ('..Omputer or telecommunications equ ipment or fucillti es, or (ii) disrupt or corTupt the use, operati on or results of
          any computer program to the (technical) extent it can be reasonably ex pected.

           I I .4 Add jt jona! Rcmcd jcs. l.n the event of a material breach by Supplier of any representation or wammly herein,
          BY ON shall have, in addition to Mel without limitation of any otbcr right or remedy availa ble to BYTON at law or in
          equi1y, the tight, in B'Y'TON's sole discretion, to take a y and all actions rea onably necessruy to mitigate BYrON's
          damages and/or any damages tol:JYTON's customers arising from such breach, incl uding but not limited to: (i)
          modifying any form of the Background Technology, Foreground Tech nology and Delivembles; { ii) r qui ring Supplier
          to fix any necessary form of lhe Background Technology, Foreground Technology and Del iverables; (iii) contracting
          with others to modify aJ'Y necessary form oftlle Background Technology, Foreground Technology and Del.i verables;
          and (iv) distributi ng to BYTON's customers any such modification, up to an amount eq11 al to gre<1ter of: a.
          EUR15,000,000.00; or b. amounts payable mtcler insurance c.overage available to Supplier. Aoy adctitioual insurance
          requests by B YTON will be charged to BYTO . This includes BYTO                  right to charge lo Supplier and Suppli er
          shal l be obligated to pay to BYTON all direct costs and expenses, excluding legal fees of any kind, incurred by
          B YTON in onnection with any such rnitigatio efforts.

          I I .5 Disclaimer. EXCEPT AS PROVIDED IN THIS AGREEMENT, ALL EXPRESS OR IMPLIED CONDmONS,
          R.EPRBSE TATlONS AND WARRANTIES JNCUJDJNG, BUT NOT LIMITED TO, ANY WARRANT.lBS OF
          DESIGN, tv.mRCHANTABILl'l Y, SA11SFACTORY QUALITY, 'Pr'nffiSS FOR A PARTICULAR PURPOSE OR
           ON -lNFRINGEMBNT , ARE DISCLAIMED, EXCEPT TO THE EXTb"NT THAT SUCH DISCLAiMERS ARE
          HELD TO BE LEGALLY lNV ALID.

          12.0 lNDEMNIF ICAT lO

          12. 1 Obligation to lndcnmi&.


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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                     EDG-0035540



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           a.     Supplier's Obligatlot1 to Indemn ify l3YTON. Suppli er will indemnify, defend and hold hannless BYTON from
                 and Rgal nst any and all elaims, dem ands. or at:ti ons (" laims"), and all liabil ities, !>""eftlements, costs, da mages and
                 fees (inc luding reasonable attorneys' fees and rosts) ("Losses'') incurred or suffered by B YTON arising Oln of any
                 Claim which arises from: (a) any gross negligent or intentional act or omiss ion of Suppliet· or its employoes,
                 agents or representatives in pro •iding the services under a Statement of Work; (b) Supplier's breach of its
                 obligations under the Agreement; (c) any Claim by or on beha lf of SUpplier Personnel and their family and
                 relati ves ga i st13YTON ari ing out of the services perfonned by Suppli er Personnel under the Agreement unless
                 they are relatod to local, ha7.ardous work conditions at a BYTON facility; (<I) a Claim rhat Background
                 Tecbnology, Foreground Tedmology or Deli verable provided by Suppli er hereunder infringes or misappropriates
                 the Intellectual Property Rights of unaffiliated third pa11y. Supplier is not responsible for background technology.
                 foregrou ttcl technology or deliverables provided by BYTON for the purpose of this Agreeme11t

          b.     ln the evoot of any rhircl person or Govern mcl1tal Body clu im ("Third Pat1y Claim"), action or sui t against
                 BYTON as to which BYTON seeks indenmi.fi cation agains t Suppli er hereutlder, and EYTON thl ls lo notify
                 Suppli er within a reasonable timeframe of the claim or ack11owledges its obl igation in writing and elects to
                 defend against, t:otnpt"'mise, or, .~cHic any Th ird Party Claim which relates to any Lo ses indemnified by !his
                 agreement witltou t seeking permission of Supplier beforehand, BY TON accepts to be solely liable for atl claims,
                 losses, eAl)enses including legal expenses regard less of actual liabi lity for this daim. Neither Party shall, without
                 the wriuen consent oflhe other parry, settle o1· compromise any Third Party Claim or consent to entry of any
                 judgment unless the claimant or claimants and such party provide to such other party an unqualified releru:e from
                 all liability in respect oft he Third Party Claim.

          12.2 Remedies. Should the Del lverables bec~me, or in 'upplier's reasonable opinion be likely to become, the subj ect
          of a cla im of infringement or misappropriation of any Jntellectual Property Rights in accorchmcc with 12. 1, Supplier
          shaU, ar its so le expense, ei ther (j) procure for BYTON (he ri ght to continue to use the Deliverables, or (ii) replace or
          modify the Delivcrablcs to make it non-infringing, provi ded that the srune functions nrc porformed by the t-eplaced 0 1·
          mod ified Deliverables.

          13.0                 p     ONJ EL

          13.1      General Requi rements for Supplier Personnel.

          a.     Supplier will manage, supervise ru1d provide direGti on to its Personnel and cause them to comply with the
                 obligtltlons and res rictions applicable to Supplier under the Agreemeut. SuppUer is responsible for the acts and
                 omissions of Personnel under or relating to euch Agreement. S upplie1· is responsible fo r validating the identi ty of
                 and ensuring that PeJ'sonneJ assigned to perfo1111 Services (i) have tl1e legal rigllt to work in the country(ies) in
                 which they are assigned o work. and (ii) be subject and conform to aU applicable BYTON policies, rules and
                 pmcedures witll respect to personal and professional conduct (mciuding the wearing of an identificatio n badge~
                 use of computer systems; and adheri ng to genera l safety, dress, beha vi or, ar d securi1y practices).

          b.     Suppli er is the employer of the Personnel and ball be responsible for all rom pensation and benefi ts payable to
                 them; Personnel are not employees of BYTON and are not entitled to any compensation or benefits which are
                 pl'o vided to its employees, including wi thout Limitation health insurance; pai d vacation; sick leave; or retirement
                 benefits. Supplier shaUalso be responsib le for complying with all tax I ws applicable to Personnel, including
                 withholding ta es fo r all compensation payable; and fot· complying with aU applicable labor and employment
                 requirements including worker's compensation insurance requiretnenrs, and immigration nnd work visa
                 requirement .

         13.2    Key Suonlier .PPsitions. "Key Supplier Positi ons" means those positions desigt1al:l!d a such in the applicable
         SOW. Supplier will cause each of the uppliet· Personnel fi lling the Key Supplier Positions to devote substantially fiJ II
         time and effot1 to the provi ·ion of the Serv ices during the period of assignment.
                                                                       11/15                                      C_ BYTON_ EDAO_ V Hl_20_ 1B




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                        EDG-0035541



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          13.3 AruJroval n.nd Remova l of Supplier P rsonnel. BYTON may approve ll ll Persotutcl ass igned to perform
          Services, and may require Supplier to replncc any Personnel whose perfo rmance, in BYTON's reasonable judgment,
          has boon unsatisfactory.

          14.0

           14.1 Force MajeLU·e. Neithel' Party hall be liable for any roil urc or delay in pcrfolm ilCe of this Agreement a. to the
          extant the failtu·e or delay is caused by fi re, flood, earthqllake or other acts of God or nature; civiI diso1·der, W<ll', 1io1s;
          or any other si milaf cause or event beyond the reasonable contm l of a J>arty; and b. provided the non-performing Party
          is without f.1ull in causing such fail ure or delay, and it rould not have been prevented by reasonable precautions or
          o1hcl' alternative means. If the foregoing fai lures or delays occur which prevent performance of a Pa11y's obligations
          under this Agreement, the alf~tcd Party shall J)l'OmptJy discuss the impact ofsudl failure or delay, the period oftime
           ·uch may c nlinuc for, llncl the l>lans for a work around solution, among other things; the affected Plll'l)' shall upciEUe
          the non...aff~t-ed Party and I eep them apprised ofthe situation. The nffected Pal'ty's obligaljons ofthe l>a1ties ::.hal l be
          suspended fur so long as the events lnell n that performance of the agreement is impossible. lfthe f<~ilureor delay
          conliJ1Ues for more than twenty (20) wo rk days, then U1e non-affected Patty may tenninate e specifie SOW un<ler this
          Agreement.

          1•1.2 everability. Tn theevenllhat any part of thjs Agreement is fouud to be unenforceable, the remainder shall
          continue in effect, to the extent permissible by law and consistent with the intent of' U1e parties as of the ffective Oat
          of this Agreement.

          14.3 Relationship ofthc Parties. This Agreement does not create a p~ rtners hlp, franchise, joint venture, agency, o1·
          fi duc iary or employment l'elati onship. Neithe1· Pa1·ty may bind the other Party by contntct or otherwise to any
          ob ligation or net in a manner which expresses or implies s rclatiOJ1Ship other than that of independent contractor.

          14.4 Governin~ Law.
          a. Disputes; Governing Law & amicable seWemeut. lfthere is a dispute between the Pruties which cannot be
               resolved through good faith negotiations, then a Party may req est escalation to discussions with sen iol'
               management of both Parties. Wi hi n five (5) days of a Party's request, a meeting or telepl one call shal l be held
               with sud! senior numagement in an attempt to resolve such dispute. Tf the Pruties carmot resolve such dispute
               within a reasonable time period, the11 the Pa11ies retain alll'ights hereu nder, including pursuing <~ rbi1ration as
               below stated. Any acti on related to this Agreement will be governed by the laws of the State of California (except
               thai body of law rontroUing confl ict flaws) an I the Ui1ited Natiolls Convention on the lntemational Sale of
               GoocL<; will not apply).

          b.     Arbitration. Any dispute between the Pru1ies that i not l'esolved through negotiation will be resolved exclusively
                 by fina l and binding arbitration cond cted in accordance wi.tll the tllen-(;urrent Comprehensive Arbitrati on Rule.~
                 & Procedures ofthe Jl1diclal Arbitration and Mediation Set'vices ("JAMS"). The arbitration will be conducted by
                 a single arbitralOI' selected by agroeme1lt of the Parties or, if the Pa•ties cannot agl'ee, an arbjtJ:ato1· appointed in
                 accordance with the JAMS ru les who shall be experienced in the type of dispute at issue. The Pa11ies.,lheir
                 representatives, tbe arbitrator, and other participants shalt keep confidential the existence, content, and result of
                 the arbitration. Any demand for ru·bitration and any counterclaim mus specify in reasonable detail the facts and
                 lcgt~l grounds fo rming the basis for the claimant's claims cmd include a statement of the total amount ofdamagos
                 claimed, if any, and any other remedy sought by the clai1nant. The a1·bitration will be ronductcd in the English
                 language; the location of such arbitJ"ation shall be in Sru Francisco, Califomia. Each Party wil l bear its own cosls
                 in the arbitration, The arbitratot·will have rull power and au tho1i ty to determine issues ofarbitrability and lo
                 interpret or construe the provisions of the agl'cement documents and to fashion appropriate reme<lies (includ ing
                 temporary. preli1ninary, interim, or penn anent i1ljunctive l'elief); provided Ihal the arbitnttor will not have any
                 right or autholily: (I) in excess of tbe authority that a coUJt having jurisdicllon over tho Parties and tbe dispute
                 would have absent thi s arbitration agreement; (2) to award damages in excess ofthe types and. limitation of
                                                                       12/15                                       C_I:IYTON_EDAO_VI0_20_1 8




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                       EDG-0035542



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               damages found in the Agreement; or (3} to mod ifY the ter111s of this Agreement. The arbin·ator shaiJ issue an
               award w ithin 30 days all cr completion of the hearing 11.1\d any post·llearing briefing. The award must be in wl'il-lng
               and must state the l'cason.ing on which the award is based. Judgment upon he award rnay be entered in any cmut
               of compet-ent ju tisdiction. N twithstan<.ling the agreement to arbi trate, each P::trty may appl y a! any ti me to a court
               of com petent jurisdiction fot· approp!'latc inj unctive rel ief or for other i11terlm or conservatory measures, and by
               doi ng so will not breach or waive the agreement to arbitr1.1te or im pair the powers of the arbitrator.

          l4.5lm port and Exoort Laws. The Backgrou nd Technology, Foreground Technology and Dclivcrabl cs, includ ing
          without limitation, technical data, may be subject Lo U.S. export controls or to expoti or import reglllatious of other
          count1'ies. T he Parties agJ'ee to comply with all such regulations and acknowledge that fh<:y have the l'esponsib11ity to
          obtain such licenses to expor1, re-expott or import !he Backgl'ound Technology, Foregt·ound Techno logy and
          Deli verables as may be required.

          14.6 Noti ces. A ll notices requ ired he reundet mus l be in writing, sent to the Party's ad<l ress et forth below and receipt
          must be confirmed . Notices required with respect to Sections 9.0 (MTenn and Termination") and 12.0
          ("Jndcmnification") must be provided by express cotuiet·.

          BYTON:

          BY ON No1·tll America Corporation
          4201 BUI1on D ive
           anta Clal'a, California, 95054

          Attn: General Counsel

          Suppliez·:
          Supplier's Name:       IZJJAG Engi neeri ng G111bH
          Supplier's A ddrcs :   Kreuzberger Ring 40
                                 65205 Wicsbaden
                                 Gertr~ any




          14.7 No Exclusive Remedy. Unless specificolly designated, nothing in this Agreement sha ll be construe<i as an
          exclusive remedy.

          l 4.8 Counterparts. This Agreement may be executed in counterparts, each of which will b deemed an original, and
          aU of which will constitute one agreement.

          14.9 Constt'uction; Order ofP recedence.. This Agreement h"s been negotiated by the pmties and theu· respective
          counseL This Agreement will be interpreted without any strict constmction in favor of or against either Pat'ty. The
          originill ofthis Agreement has been written in Bng)isb, and such version shall be the governing version of the
          Agreement. To the extent pennitted under applicable law, Supplier waives any right il may have, if any, undet· any law
          or regulation to have this Agreement written ifi a language other than English. 1n the event of a conflict between this
          Agreement and any other document that references this Agrccmertt, the order of prcct:dencc shaH be: (i) the most
          twenl written docume t signed by the Parti es amending the ubject Statement of Work; (il) the Sta tement of Work;
          (iii) any other exhi bi ts or attachments to, o1· documents l'eferenced by the State ne t ofWot"k; and (iv) this Agreement.

          14.1 0 Amendment and Waiver. Unless otherw ise provided here in, this Agreement may not be modified unless in
          Wl'i Ling and signed by an authorized representative of each Pa11y. Any express waiver or failure to exercise promp ly
          any right under this Agreement \Ni l I not crea te~ conlinui11g waiver or any expectati on of non-enfotcement
                                                                    13/]5                                      C_ BY'l"O!•l_I:DAG_ V l0_20_l S




CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                         EDG-0035543



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           14.1 1 Assignment. Neither Pllrty m!ly assign or othe1wise transfer<my of its rights () I' obligations under th is
           Agreemenl (whether by opemtion o r la w merger, change of con1rol, or otherwise), without the prior wri ttc:n consent of
           the othe1· Purty, (i) to an Affil inte, or (ii) in the event of 11 merger, acquisition or sale of II or sulk'>lantially ft tl of the
           assets of n PtH1)' 0 1· a busi ness unit. Any assigJmlenl or transfer in breach of this Section shall be void.

           14.12 No "R ights in Tllit-d Pa rties. 'n1is Agreement is made fo r the benefi t of !he Parties 1uld not fur the benefi t of any
           third party.

          14. J3 Entire Agl'eemenL This Agreement, jnclucli1lg all Attoehments hereto, const ilutes the Parties' entire agreement
          with respect to its subjecl mn.tter, and super edes and replaces all prior m· contemporaneous undcrstnndings or
          agreements, wrilLen or om I, regarding such subject maHer. No t ·ms in any Suppl ier or BYTON documents (iuclud ing
          purchase order'!>, acknowleclgrnents, em11 ils, or documents incorporated by reference (including bulnot limited to
          P..DAG 's or BYTON's General Terms and Condifjons) which vary from, ~1dd to, mooify or el iminate !lilYterms he1't:in,
          arc exr>ressly rejected and are not part ofthis Agreement or any Sta tement of Work.

                  lN WITNESS '''HEIUJOF, the Pm1ics have caused this Agreement to be signed hy their duly nuthorizcd
          represcnto!"i ves.

                                                                                 ED G ,ngiuceriu •GmbH


                                                                                 By:


                                                                                 Name:
                                                                                                          (prr11!)

          Title:   \IP/c l-b€f v'r=HtCLE EN(i.t.NE~                              Tille:    C   ~0
          Date:     '2..0 \'---'._______.__ _ _ _ _ _ _ __ _                     Date:    9.oJ.g~       A'2- Jg>___




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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                           EDG-0035544



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                                                                         AITACH MENT 1
                                                              STAT EMENTOF'WORJ< No.1
             l) lntt'Oduction. This Statement of Work ("SOW") i issued under the echno logy Development and Licem;e
                Agreement by and between BYTON and Sup1>lier. The term oftltis SOW shaH be li'Om June 1"\ 2017 ("SOW
                Effective Date"} until term inated by ei ther Party pursuant to secti on 9.0 of this Agreement

             2) Scope and nnture of development work to be performed.

                         o       EDAG_t9 1610DOOO_Projcct Descriplion l'MC_SAV_CTC-PS (ExhibiLA)
                         o       RFQ for CTC Goteway to SOJ~ plus 90 clays (Exhi bi t B)
                         o       Tim ing Ovel'v iew for RFQ 20170706 (Exhibit C)
                         o       FPDP_Oflle_Deliverables_Full_Checl·list 20 17070 1 (Exhi bit D)

             3) Description ofDelivcra bles.

                         a       EDAG_ l96lODOOO_Froj ect Description_.BYTON_SAV_CTC-PS
                                 RFQ for CT Gateway to SOP pl us 90 days
                         o       Timing Overview fot· RFQ 201 70706
                         o       FPDP_Gate_Dell vembles_FuJ I_ Checklist 2017070 I

             4) Development fees and Charges.

                         o       Per page 74 oft'he 196100000 Project Descrlp!lon
                         •       ·n'flve l will be. bifled atcost+6%

             5} Schedule for Development and Deliverabl e.'!. upplier· sball perfo rm tJ1e following development work and
                deliver the fol lowing del iver'ables by the dates set forth below.

                         •       Pe•· EDAG_ I96 IODOOO_Proj ec Description_BYTON_SAV_CTC-PS
                         •       Penh e following PO's agt•ee d to by the Parties:


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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                                               EDG-0035545



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                6) AcccP.tanco Cri Leria and Acceptance Test Plan for the Foregrouud Technology and Del ivclilblcs.

                            o   As agreed between the parties   u1 the Proposa l or otherwise as agreed in writing,
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CONFIDENTIAL SUBJECT TO PROTECTIVE ORDER                                                                                                     EDG-0035546



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                  EXHIBIT D
9/14/21, 12:41 PM                 Byton is alive! M-Byte
                    Case 3:21-cv-04736-EMC               EV was spotted
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     ARTICLE   EV    INDUSTRY




    Byton is alive! M-Byte EV was spotted in the wild for the
    first time [Spy Photos]
    Jiri Opletal August 20, 2021




                                                     Byton M-Byte spy photos




    If you are among those who thought Byton would never produce a car, you are not alone.
    Byton is a Chinese automotive soap opera – 5 years of bankruptcies, reorganizations, politics,
    8.4 billion yuan burned ($1.3 billion), and still no car in mass production.


    Today CNC received the set of spy photos taken in Hainan by our friend Bob. Despite the
    heavy camouflage, we can tell it is the Byton M-Byte concept. Bob almost got in a fight with
    the Byton test crew while making the pictures. Thanks to his bravery, we can now see electric
    SUV M-Byte is not dead and undergoing road tests.




https://carnewschina.com/2021/08/20/byton-is-alive-m-byte-ev-was-spotted-in-the-wild-for-the-first-time-spy-photos/                   1/4
9/14/21, 12:41 PM                 Byton is alive! M-Byte
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    Byton was founded in 2016 by a team of mostly German [edit – they deleted the webpage
    with team members] executives who mostly used to work for BMW. M-Byte was introduced in
    2018 at CES in Las Vegas. Mass production was supposed to start in 2019, but Byton has kept
    silent since then. Upon launch, Byton claimed it is SUV and SIV, which stands for Smart
    Intuitive Vehicle. We assumed it was because of lots of technology Byton planned to stuff
    inside.




    The company was headquartered in Nanjing with offices in Beijing, Shanghai, Hong Kong, San
    Jose (US), and Munich (Germany). The Byton’s subsidiary operating Munich branch was sent
    into insolvency on April 2021 after not paying salaries to its employees for several months.
    Both co-founders, together with most of the German team located in China, also left the
    company. First was Carsten Breitfeld in 2019, who later claimed he quit because of Chinese

https://carnewschina.com/2021/08/20/byton-is-alive-m-byte-ev-was-spotted-in-the-wild-for-the-first-time-spy-photos/                   2/4
9/14/21, 12:41 PM                 Byton is alive! M-Byte
                    Case 3:21-cv-04736-EMC               EV was spotted
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    government interferences. The largest Byton investor was state-owned automaker First Auto
    Works (FAW).


    Exodus of founders


    According to The Verge, Breitfeld said he didn’t realize enough what it meant to take
    investment from a state-owned automaker like FAW. He also claimed FAW took away his
    responsibilities.

    A year later, in 2020, the second co-founder Daniel Kirchert left Byton. His new destination
    was Evergrande Auto, where he worked as Vice Executive President. For Mr. Kirchert, it was
    the second job for the automaker that didn’t produce a car. And while Byton might yet
    succeed, Evergrande’s fate seems a bit darker.


    In 2019 Evergrande announced it plans to invest $6.4 billion over the next three years into its
    EV unit. In August 2020, they announced six new cars under the Hengchi brand (Hengchi 1-6).
    Backstage, we heard many rumors about their struggle to put cars into production. Finally,
    Reuters reported that Evergrande is in talks with Xiaomi to sell their EV unit this week. The
    original business of Evergrande is real estate.


    FAW taking control of Byton, pushing Foxconn away


    Back to Byton. Despite the ups and downs, it got some powerful backers, including FAW,
    Tencent, and Foxconn, which signed a strategic partnership in January 2021. Foxconn bet a
    lot on EV, aiming to copy-paste its business model with smartphone vendors and provide
    manufacturing services to EV startups. However, FAW, the biggest Byton creditor, started
    taking management control of Byton and installing its people into high management
    positions, Bloomberg reported in July this year.


    The reorganization resulted in Chinese state-owned automaker FAW being heavily involved in
    the project, reportedly leading to conflicts with Foxconn. According to TechTaiwan, Foxconn
    confirmed that its team had left Byton plants, and further cooperation would depend on the
    outcome of Byton’s reorganization.

    M-Byte EV


    According to previous information, the SIV SUV will be 4800 mm long and have a wheelbase of
    2950 mm. Upon launch, the Byton SIV will be equipped for level 3 (L3) autonomous driving,
    including Lidar and millimeter-wave radar. There will be two battery packs available: 60 kWh
    for a 350 km range and 90 kWh for a 500-kilometer range. 0-100 will take “5 to 6” seconds.




https://carnewschina.com/2021/08/20/byton-is-alive-m-byte-ev-was-spotted-in-the-wild-for-the-first-time-spy-photos/                   3/4
9/14/21, 12:41 PM                 Byton is alive! M-Byte
                    Case 3:21-cv-04736-EMC               EV was spotted
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    Byton M-Byte Concept from 2018



    It’s nice to see M-Byte is still alive, and chances we might see it in mass production are getting
    higher. We will keep an eye on that.




https://carnewschina.com/2021/08/20/byton-is-alive-m-byte-ev-was-spotted-in-the-wild-for-the-first-time-spy-photos/                   4/4
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                                                            Side View

               CarNewsChina.com                                              CAD data March 2018


                     3
                                                  5                3
                                                                                                                     5
                          2
                                                                                                            2

                      4               1                                  4
                                                                                                            1
                                                        Analysis
    The side doors lower shape in topology and in styling lines including the split line between Front and Rear Door are the same
1   between the News picture and the CAD data
    The side doors upper contour line is in the way it runs from front to back the same. In addition, the position of the door handles
2   is exactly the same as the CAD data in location and its flush design

    The upper rear quarter section is shape and dimensions the same as the CAD data (spoiler size and location, extension of the
3   door belt line, side window size and shape, tailgate split line and connection to the spoiler and side glass.)

4   The lower rear quarter section is shape and dimensions the same as the CAD data (rear lighting arrangement, splitline tail-
    -gate to bodyside, lower bumper area and lower rear lights)
    The fender to hood splitline and the connection to the front lighting extension between fender and hood are the same as
5   the CAD data
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                                                             Front View

               CarNewsChina.com                                                CAD data March 2018




                                6
                                                                                               6
                                        7
                                                                                                            7

                                                          Analysis

6   The front headlight, and especially visible on the daillight running lights are identical to the CAD data

7   The lower bumper corner section is in topology, styling lines and proportions exactly the same as the CAD data
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                                                             Front View

                CarNewsChina.com                                               CAD data March 2018




                                                 8                                                                        8


                                                     9
                                                                              9

                                                          Analysis

 8   The top rear lighting on the tailgate and on the bodyside are in shape, splitlines, location and design exactly the same as
     the CAD data
 9   The lower rear lighting on the bumper and the lower edge of the tailgate are exactly the same as the CAD data




General statement:
All items from 1 to 9, the overall proportions of the vehicle, the appearance, the stance, the sizing
and the dimensions of the vehicle identifies it as the as the M-Byte designed by EDAG. It matches
the CAD data perfectly.
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     EDAG Engineering GmbH
10

11                             JAMS REFERENCE NO. 1100107291
12                 IN THE MATTER OF THE JAMS ARBITRATION BETWEEN
13

14   EDAG Engineering GmbH,                      [PROPOSED] ORDER GRANTING
                                                 CLAIMANT EDAG’S MOTION FOR
15          Claimant,                            PRELIMINARY INJUNCTION

16          v.
                                                 Hon. William J. Cahill (ret.)
17   BYTON North America Corporation,
                                                 Arbitration: February 8, 2021
18
            Respondent.
19
20   AND RELATED CROSS-CLAIM
21

22

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27

28

                  [PROPOSED] ORDER GRANTING PRELIMINARY INJUNCTION
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 1                                              INTRODUCTION

 2           The undersigned arbitrator, Judge William J. Cahill (Ret.) of JAMS, was appointed as

 3   arbitrator to this proceeding in accordance with paragraph 14.4b of the parties’ agreement to

 4   arbitrate “[a]ny dispute between the Parties that is not resolved through negotiation,” made October

 5   20th, 2018. See Scheduling Order No. 7 (“SO No. 7”), ¶ 4.

 6           On June 25, 2021, the Arbitrator issued a Final Arbitration Award (“AA”), finding in favor

 7   of the breach of contract claim by Claimant EDAG Engineering GmbH (“EDAG”), and awarding

 8   EDAG the sum of €23,446,649, plus 10% statutory interest and costs. EDAG has moved for an

 9   order entering judgment pursuant to that Award, in the Federal District Court for the Northern

10   District of California.

11           On September 24, 2021, EDAG filed a motion for preliminary injunction. The Arbitrator

12   has considered that motion, BYTON’s response, and all other relevant pleadings, testimony, and

13   exhibits, and makes the following findings of facts and law. Any disparity between the Arbitrator’s

14   findings and the position of the parties is the result of the Arbitrator’s evaluation of the credibility,

15   relevance, and weight of the evidence.

16           I find that I have the authority to rule on EDAG’s motion, and to grant the relief sought, if

17   warranted.

18           The agreement between EDAG and Respondent BYTON North America Corporation

19   (“BYTON”), known as the Technology and Development Licensing Agreement (“TDLA”)

20   provides: “The arbitrator will have full power and authority to … fashion appropriate remedies

21   (including temporary, preliminary, interim, or permanent injunctive relief).” TDLA ¶ 14.4b. That

22   authority extends as far as “the authority that a court having jurisdiction over the Parties and the

23   dispute would have absent this arbitration agreement.” Id. And the district court with jurisdiction

24   over the parties “may issue interim injunctive relief on arbitrable claims if interim relief is necessary

25   to preserve the status quo and the meaningfulness of the arbitration process—provided, of course,

26   that the requirements for granting injunctive relief are otherwise satisfied.” Toyo Tire Holdings of

27   Americas Inc. v. Cont’l Tire N. Am., Inc., 609 F.3d 975, 981 (9th Cir. 2010) (“Toyo”) (citations

28   ///
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 1   omitted) 1.

 2           Based on that authority, if EDAG meets the relevant standard, I am authorized to issue an

 3   injunction “to ensure [the] arbitration award is not rendered ineffectual.” Smagin v. Yegiazaryan,

 4   No. CV 14-9764-R, 2015 WL 13757706, *2 (C.D. Cal. Sept. 28, 2015) (“Smagin”) (affirming

 5   injunction freezing assets of Respondent who “regularly conceals the true ownership of his assets

 6   through the use of shell corporations in offshore jurisdictions and through the use of nominees who

 7   hold assets on his behalf and act according to his discretion” in action where Petitioner had received

 8   an arbitration award). “This is not the beginning stage of a breach of contract claim, but instead the

 9   end stages of a protracted arbitration in which the merits of all claims and defenses have been fully

10   presented and adjudicated.” Smagin, 2015 WL 13757706 at *1, citing Toyo (additional citation

11   omitted).

12                                             BACKGROUND

13           A. EDAG’s Work For BYTON.

14           From 2016 to 2019, EDAG provided engineering services to BYTON as part of BYTON’s

15   project to design and manufacture the all-electric M-BYTE vehicle. AA 6-7. In 2018, BYTON

16   stopped paying EDAG’s invoices, forcing EDAG to initiate the underlying arbitration pursuant to

17   the parties’ contract. AA 7.

18           B. Arbitration Proceedings.

19           On October 22, 2019, EDAG initiated arbitration proceedings against BYTON. I conducted

20   an evidentiary hearing between February 8-12 and 16-19, 2021.

21           On June 25, 2021, I found in favor of EDAG’s breach of contract claim and awarded EDAG

22   the sum of €23,446,649, plus 10% statutory interest and costs. AA 28. Throughout the proceedings

23   leading up to my Award, BYTON repeatedly represented that it lacks the money to pay EDAG. See,

24   e.g., AA 3, 7-10.

25           On June 23, 2021, EDAG petitioned the Court to confirm the Arbitrator’s Award and enter

26   judgment in its favor. On July 16, 2021, BYTON filed a reply indicating that it intends to challenge

27   1
      My authority to grant injunctive relief is a question is a procedural issue, to which federal law
28   applies. Johnson v. Gruma Corp., 614 F.3d 1062, 1066–67 (9th Cir. 2010).
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 1   the Final Award.

 2          C. BYTON’s Misuse of EDAG’s Intellectual Property.

 3          Paragraph 6.2b of the TDLA requires EDAG to give BYTON all associated intellectual

 4   property rights for EDAG’s deliverables, in exchange for BYTON’s obligation to pay certain fees.

 5   BYTON breached the parties’ agreement when it failed to pay those fees. BYTON owes EDAG

 6   over 23 million Euros in unpaid fees. AA 7-21, 28.

 7          BYTON’s intellectual property for the M-BYTE vehicle is currently in the possession,

 8   custody, and control of Jama Software (“Jama”). BYTON used Jama’s browser-based database to

 9   store all of BYTON data’s and build BYTON’s product, i.e. the M-BYTE vehicle.

10          BYTON’s corporate witness previously testified that BYTON owed Jama Software (among

11   other vendors) money for use of its cloud-based platform, and that Jama had shut off BYTON’s

12   access to that platform. Nov. 17, 2020, BYTON Most Qualified Witness Dep. at 242:24-245:21.

13   BYTON’s corporate witness further testified that BYTON could not muster the roughly $500,000 it

14   owed to its various cloud-based providers. Id. at 244:4-17. Before, during, and after the arbitration

15   hearing, BYTON’s witnesses and counsel represented that BYTON did not have any money to pay

16   what it owed EDAG.

17          Nonetheless, EDAG has produced evidence that BYTON and a Chinese affiliate have spent

18   the last nine months attempting to regain access to the Jama database and the intellectual property

19   EDAG created. On September 1, 2021, EDAG learned that BYTON had paid all past due invoices

20   to Jama several months earlier. By paying for a year of access to Jama’s services, BYTON obtained

21   access to EDAG’s data.

22          Thus, BYTON has managed to circumvent to the TDLA, which expressly states that

23   BYTON may only to receive intellectual property rights by paying EDAG. BYTON now has

24   improper access to intellectual property it does not own, and for which it has not paid.

25          Moreover, BYTON appears to be transferring or attempting to transfer its operations and its

26   assets of value to Chinese affiliate companies, which operate outside the reach of United States

27   courts. On August 20, 2021, automotive journalists reported that BYTON’s M-BYTE was

28   photographed undergoing road tests in Hainan, China, despite BYTON’s efforts to hide those tests.
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 1   EDAG produced ample evidence that the test vehicle is the car that EDAG designed and that it

 2   contains the work that EDAG performed, and for which EDAG has not been paid.

 3           On September 15, 2021, EDAG also learned that BYTON and a Chinese affiliate had been

 4   actively working to transfer the IP for the M-BYTE—possibly the only thing of value left at

 5   BYTON North America—from a U.S.-based cloud storage facility to a China-only server.

 6           If BYTON is successful in moving its assets overseas, it could load up the U.S. entity with

 7   all of its debt, declare bankruptcy, and allow its Chinese affiliate to use the IP that EDAG built

 8   without paying a cent of the €23.4 million that EDAG is currently owed.

 9                                                  ANALYSIS

10           EDAG seeks a preliminary injunction based on the above facts.

11           To obtain injunctive relief, EDAG “must establish (1) that [it] is likely to succeed on the

12   merits, (2) that [it] is likely to suffer irreparable harm in the absence of preliminary relief, (3) that

13   the balance of equities tips in [its] favor, and (4) that an injunction is in the public interest. Toyo,

14   609 F.3d at 982. See also Butt v. State of California (1992) 4 Cal.4th 668, 677-678 (under state

15   law, a preliminary injunction is proper where moving party proves (1) likelihood of success and (2)

16   that the relative interim harm to the parties from issuance of the injunction weighs in its favor).

17           A party that satisfies the latter three elements may obtain preliminary injunctive relief by

18   showing the existence of “serious questions going to the merits” rather than a likelihood of success

19   on the merits. Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131–32 (9th Cir. 2011).

20           EDAG has satisfied all four elements.

21   I.      EDAG IS LIKELY TO SUCCEED ON THE MERITS.

22           EDAG has already successfully proved its claim for breach of contract. The Arbitrator’s

23   award found that: BYTON agreed to pay EDAG a flat fee of €50,448,045, AA 11; EDAG

24   performed its obligations to BYTON under the TDLA, for which it properly invoiced BYTON, id.

25   11-17; and BYTON failed to pay invoices totaling €23,446,649. Id. 11, 17-18.

26           I find that the Court is likely to confirm that Award, and EDAG is very likely to prevail in

27   the litigation as a whole.

28           BYTON has stated it will move to vacate the Arbitrator’s decision, but the standard is highly
                                             4
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 1   deferential and BYTON is likely to fail. The FAA “gives federal courts only limited authority to

 2   review arbitration decisions, because broad judicial review would diminish the benefits of

 3   arbitration.” SMC Promotions, Inc. v. SMC Promotions, No. CV047107JFWVBKX, 2006 WL

 4   6219155, at *1 (C.D. Cal. Jan. 19, 2006) (“SMC”), quoting Lifescan, Inc. v. Premier Diabetic

 5   Servs., Inc., 363 F.3d 1010, 1012 (9th Cir. 2004), citing Kyocera Corp. v. Prudential-Bache Trade

 6   Servs., Inc., 341 F.3d 987, 998 (9th Cir. 2003) (en banc). “Confirmation is required even in the face

 7   of erroneous findings of fact or misinterpretations of law.” Ibid., quoting French v. Merrill Lynch,

 8   784 F.2d 902, 906 (9th Cir. 1986) (additional quotations and internal quotation marks omitted).

 9          In fact, “[i]t is not even enough that the [arbitrator] may have failed to understand or apply

10   the law. An arbitrator’s decision must be upheld unless it is completely irrational or it constitutes a

11   manifest disregard for law.” Ibid., quoting G.C. and K.B. Invs., Inc. v. Wilson, 326 F.3d 1096, 1105

12   (9th Cir. 2003) (additional citation omitted).

13                  Therefore, the federal district court’s role in an arbitration confirmation
                    proceeding is severely limited, and for the most part, the court defers to
14                  the arbitrator’s determination of the award. Furthermore, “[a] claimant
                    may not voluntarily submit his claim to arbitration, await the outcome,
15                  and, if the decision is unfavorable, then challenge the authority of the
                    arbitrator’s act.”
16

17   Ibid., quoting Ficek v. S. Pac. Co., 338 F.2d 655, 657 (9th Cir. 1964), cert. denied, 380 U.S. 988

18   (1965) (additional citation omitted). Even so, during the pendency of any such motion, the

19   Arbitrator’s authority and rulings remain binding and in effect. See, e.g., id.

20   II.    EDAG WILL SUFFER IRREPARABLE HARM ABSENT INJUNCTIVE RELIEF.

21          I find that EDAG has proved that it has a direct and immediate need for relief, to enjoin

22   BYTON from improperly accessing and transferring EDAG’s data and intellectual property.

23   BYTON has no right to the intellectual property in question, because BYTON breached its

24   obligation to pay EDAG for it. AA 17-18.

25          In the absence of an injunction, BYTON would be free to complete the scheme detailed

26   above. As evidenced by its actions to date, BYTON will access the intellectual property held by

27   Jama, and transfer that valuable asset to its affiliate in China. It would be free to remove any vestige

28   of that intellectual property from the United States—as it appears to have already attempted—
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 1   making it impossible for EDAG to recover. Having obtained the benefit of its bargain with EDAG

 2   without making payments totaling more than 20 million Euros, BYTON would have no remaining

 3   incentive to comply with the Arbitrator’s order or the resulting judgment. BYTON may already be

 4   making use of EDAG’s proprietary technology overseas.

 5          I find that the loss of the ability to monetize EDAG’s work product, and the associated

 6   inability to recover a judgment from BYTON, constitutes irreparable harm. See eBay, Inc. v.

 7   Bidder’s Edge, Inc., 100 F.Supp.2d 1058, 1066 (N.D.Cal.2000) (“eBay”) (“Harm resulting from lost

 8   profits and lost customer goodwill is irreparable because it is neither easily calculable, nor easily

 9   compensable and is therefore an appropriate basis for injunctive relief.”); MCA Recs., Inc. v.

10   Newton-John, 90 Cal. App. 3d 18, 23 (1979). As in eBay, BYTON’s unauthorized access and

11   transfer of EDAG’s property constitutes a form of trespass, for which there is no adequate monetary

12   compensation. As in eBay, BYTON would deprive EDAG “of the ability to use [a] portion of its

13   personal property for its own purposes. The law recognizes no such right to use another’s personal

14   property. Accordingly, [BYTON]’s actions appear to have caused injury to [EDAG] and appear

15   likely to continue to cause injury to [EDAG].” Id. at 1071.

16          Moreover, the inability to collect on a judgment of this size imperils EDAG’s continued

17   viability as a business. Irreparable harm exists “where the conduct of [Respondent] threatens the

18   existence of the [Petitioner’s] business itself.” Optinrealbig.com, LLC v. Ironport Sys., Inc., 323 F.

19   Supp. 2d 1037, 1051 (N.D. Cal. 2004). The “threat of being driven out of business is sufficient to

20   establish irreparable harm.” Am. Passage Media Corp. v. Cass Commc’ns, Inc., 750 F.2d 1470, 1474

21   (9th Cir. 1985); see also Doran v. Salem Inn, Inc., 422 U.S. 922, 932 (1975) (“[S]ubstantial loss of

22   business and perhaps even bankruptcy” constitutes irreparable harm.); Bullock v. City & Cty. of San

23   Francisco, 221 Cal.App.3d (1990) (plaintiff who filed for bankruptcy during pending proceeding

24   suffered irreparable harm).

25   III.   THE BALANCE OF EQUITIES STRONGLY FAVORS EDAG.

26          In the absence of an injunction, EDAG will suffer the harms to its property, its reputation,

27   and its bottom line detailed in the preceding section. Whereas maintaining the status quo will do no

28   cognizable harm to BYTON. BYTON’s only de facto injury would result from the cessation of its
                                             6
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 1   unauthorized and illegitimate scheme to misappropriate EDAG’s intellectual property and avoid

 2   complying with the Arbitrator’s Award or paying a judgment.

 3          As a matter of law, that harm does not count. “Defendants cannot complain of the harm that

 4   will befall them when properly forced to desist from their infringing activities.” Warner Bros. Ent.

 5   Inc. v. WTV Sys., Inc., 824 F.Supp.2d 1003, 1014–15 (C.D. Cal. 2011), quoting Triad Systems Corp.

 6   v. Southeastern Exp. Co., 64 F.3d 1330, 1338 (9th Cir.1995) (quotation and alteration marks

 7   removed). “Where the only hardship that the defendant will suffer is lost profits from an activity

 8   which has been shown likely to be infringing, such an argument in defense merits little equitable

 9   consideration[.]” Cadence Design Systems, Inc. v. Avant! Corp., 125 F.3d 824, 830 (9th Cir. 1997)

10   (citation omitted; quotation and alteration marks removed). See also Napa Valley Publ’g Co. v. City

11   of Calistoga, 225 F.Supp.2d 1176, 1180 (N.D. Cal. 2002) (granting injunction to “preserve the status

12   quo” and “prevent irreparable loss of rights prior to final disposition of the litigation”); Arauyo v.

13   Loc. 13, No. CV 97-6574 ABC(RNBX), 1997 WL 912927, at *4 n.4 (C.D. Cal. Nov. 22, 1997)

14   (injunctive relief would be proper under “traditional equitable criteria” because “the proposed

15   injunction will maintain the status quo and will not impose any affirmative duty on Respondents or

16   prohibit Respondents from actions that they are entitled to undertake.”).

17          EDAG has demonstrated that it is entitled to entry of an injunction, to preserve the status quo

18   without imposing any affirmative duty on BYTON or prohibiting BYTON from any action it is

19   entitled to undertake.

20   IV.    A PRELIMINARY INJUNCTION SERVES THE PUBLIC INTEREST.

21          The public has an interest in compliance with the law and enforcement of federal court

22   judgments. Small v. Avanti Health Sys., LLC, 661 F.3d 1180, 1197 (9th Cir. 2011) (“the public

23   interest favors applying federal law correctly”); N.D. v. Haw. Dep’t of Educ., 600 F.3d 1104, 1113

24   (9th Cir.2010) (“[I]t is obvious that compliance with the law is in the public interest.”); DISH

25   Network L.L.C. v. Fineman, No. CV 16-3488-R, 2017 WL 2060010, at *3 (C.D. Cal. Mar. 22, 2017)

26   (“the public interest will be served by a permanent injunction because it will ensure compliance with

27   federal law”).

28          I find that enjoining BYTON’s scheme to misappropriate EDAG’s intellectual property and
                                               7
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 1   avoid U.S. jurisdiction (as well as compliance with the Arbitrator’s Award and any subsequent

 2   judgment) serves the public interest.

 3   V.     NO BOND IS NECESSARY.

 4          I find “there is no realistic likelihood of harm to the defendant from enjoining his or her

 5   conduct.” Jorgensen v. Cassiday, 320 F.3d 906, 919 (9th Cir. 2003). See also Fid. Brokerage

 6   Servs. LLC v. McNamara, 2011 WL 2117546, at *8 (S.D. Cal. May 27, 2011) (declining to issue

 7   bond requested by defendants).

 8          Preserving the status quo until satisfaction of a judgment in EDAG’s favor poses no realistic

 9   likelihood of harm to BYTON. As discussed above, BYTON has no protectable interest in being

10   permitted to misappropriate EDAG’s intellectual property. And BYTON will not be able to prove

11   that it suffered compensable harm from entry of an order requiring it to refrain from using EDAG’s

12   work to complete the M-BYTE until EDAG has been compensated for that work.

13   VI.    THE TDLA REQUIRES THE PARTIES TO SPLIT ARBITRATION FEES.

14          The TDLA provides that “[e]ach party will bear its own costs in the arbitration.” TDLA ¶

15   14.4(b), Amelung Decl. Ex. B at 12. That provision is clear and unambiguous. There is no

16   provision modifying it, and none requiring a party who brings a motion to pay any greater share or

17   additional amount.

18          EDAG submitted evidence that it paid $8,400 for its share of the fees associated with entry

19   of this order. It concedes that it must bear those costs.

20          However, BYTON did not pay its share of the JAMS fees. EDAG advanced $8,400 on

21   BYTON’s behalf. BYTON must pay its own costs under the TDLA; under JAMS Rule 6(c), the

22   Arbitrator may allocate the non-paying Party’s share of the costs.

23          Therefore, the Arbitrator awards $8,400 to EDAG to reimburse it for the fees it paid on

24   behalf of BYTON.

25   ///

26   ///

27   ///

28   ///
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 1                                           [PROPOSED] ORDER

 2          1.      EDAG has demonstrated that it meets the applicable standard for entry of a

 3   preliminary injunction.

 4          2.      Effective immediately, BYTON, and each and every one of its employees, agents,

 5   representatives, affiliates, funds, investment vehicles, licensees, consultants, officers, directors,

 6   stockholders, attorneys, trustors, trustees, beneficiaries, successors, affiliates, parent companies,

 7   subsidiaries, assigns, heirs, personal representatives and executors, is hereby ENJOINED and

 8   PROHIBITED from:

 9                          a.      Accessing, modifying, transferring, or deleting any intellectual

10                  property created by EDAG, or any of its employees, agents, representatives,

11                  affiliates, licensees, consultants, officers, directors, successors, affiliates, parent

12                  companies, or assigns;

13                          b.      Taking any step to transfer, conceal, reduce, encumber, or otherwise

14                  make unavailable—either personally or through instructions to another—any assets

15                  up to the value owed to EDAG under the Arbitrator’s Award.

16          3.      Within five (5) days of this Order, BYTON shall pay EDAG the sum of $8,400, as

17   reimbursement for JAMS fees advanced by EDAG.

18          4.      No bond is required for this Order to take effect.

19   IT IS SO ORDERED

20

21   Dated: _______, 2021

22
                                                            Hon. William J. Cahill (Ret.)
23                                                          Arbitrator

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                  EXHIBIT E
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 9
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10

11
     EDAG ENGINEERING GMBH,                      JAMS Reference No. 1100107291
12

13               Claimant,                       BYTON NORTH AMERICA
                                                 CORPORATION’S MEMORANDUM OF
14         vs.                                   POINTS AND AUTHORITIES IN
                                                 OPPOSITION TO CLAIMANT EDAG
15 BYTON NORTH AMERICA                           ENGINEERING GMBH’S MOTION FOR
16 CORPORATION,                                  PRELIMINARY INJUNCTION

17               Respondent.                     [SUPPORTING DECLARATION OF
                                                 KEITH A. SIPPRELLE AND
18                                               EVIDENTIARY OBJECTIONS
                                                 SUBMITTED CONCURRENTLY
19                                               HEREWITH]
20

21                                               Arbitrator: Hon. William J. Cahill (Ret.)

22                                               Final Award Issued: June 2, 2021
                                                 Final Award Served: June 3, 2021
23

24
                                                 Hearing Date: October 14, 2021
25                                               Hearing Time: 10:00 a.m. (Zoom)
26 AND RELATED CROSS-CLAIM.

27

28


       BYTON NORTH AMERICA CORPORATION’S OPPOSITION TO EDAG’S MOTION FOR
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 1        BYTON NORTH AMERICA CORPORATION (“Byton”) hereby respectfully opposes the

 2 Motion for Preliminary Injunction (“Motion”) of EDAG ENGINEERING GMBH (“EDAG”).

 3        I.       FACTUAL BACKGROUND AND PROCEDURAL HISTORY. 1

 4        This arbitration proceeding was commenced on October 22, 2019 by EDAG submitting a

 5 Demand for Arbitration (“Demand”) to JAMS. The Demand asserted claims against Byton for

 6 breach of contract and breach of the covenant of good faith and fair dealing premised upon

 7 Byton’s purported failure to pay EDAG amounts allegedly owed pursuant to the terms of the

 8 parties’ Technology Development and License Agreement (the “TDLA”). 2

 9        On November 19, 2019, Byton submitted a response to the Demand, and also asserted
10 counterclaims against EDAG for breach of contract and negligence. (Exhibit “2” to the Sipprelle

11 Declaration.)

12        On December 16, 2019, EDAG submitted a response and affirmative defenses to Byton’s
13 cross-claims. (Exhibit “3” to the Sipprelle Declaration.)

14        Subsequently, Judge William J. Cahill (Ret.) of JAMS was appointed as arbitrator in this
15 matter (the “Arbitrator”), in accordance with paragraph 14.4b of the TDLA. 3

16        The TDLA is governed by California law. (TDLA, paragraph 14.4a.) In addition, the

17 arbitration proceeding was/is governed by “[t]he substantive law of California and the California

18 Arbitration Act together with the JAMS Comprehensive Arbitration Rules . . ..” 4

19        The case was tried to the Arbitrator between February 8 and 19, 2021. (AA, p. 1.)

20 The Final Arbitration Award was issued on June 2, 2021 and served on the parties on June 3,

21

22
          1
            Unless otherwise indicated, the factual statements in this Memorandum are supported by
23 the Declaration of Keith A. Sipprelle submitted concurrently herewith (“Sipprelle Declaration”),
   including the exhibits thereto.
24
          2
            The Demand is attached as Exhibit “1” to Sipprelle Declaration. The TDLA, which was
25 marked and entered as Exhibits “2” and “3” at the arbitration hearing, is attached as Exhibit “A” to
   the Demand.
26
          3
            See p. 2, ¶ 1 of the Final Arbitration Award (“AA”), which is attached as Exhibit “A” to
27 the Declaration of Evangeline A.Z. Burbidge submitted by EDAG in support of the Motion.
            4
28              See Scheduling Order No. 7 attached as Exhibit “4” to the Sipprelle Declaration, at ¶ 6.

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       BYTON NORTH AMERICA CORPORATION’S OPPOSITION TO EDAG’S MOTION FOR
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 1 2021. (See AA, pp. 28, 29.) The Final Arbitration Award addressed and resolved all issues raised

 2 by the parties in their pleadings and otherwise. 5

 3        On June 23, 2021, EDAG filed a petition to confirm the Final Arbitration Award in the

 4 United States District Court for the Northern District of California. (Exhibit “5” to the Sipprelle

 5 Declaration.) The U.S. District Court action is pending.

 6        On Sept 17, 2021, EDAG delivered a “letter brief” to the Arbitrator requesting that the

 7 Arbitrator hear, on shortened time, EDAG’s motion for issuance of a TRO and Preliminary

 8 Injunction against Byton. EDAG subsequently submitted its fully briefed Motion, wherein EDAG

 9 makes the following assertions:
10        EDAG has recently learned that BYTON, which has not paid one cent of the over €23.4
          million Final Award, has paid other vendors so that it and a related Chinese entity (which
11        BYTON has referred to as “BYTON China”) can access EDAG’s intellectual property and
          spend resources building its M-BYTE vehicle in China. Based on the evidence, it appears
12
          that BYTON is engaged in a scheme to transfer assets—including EDAG’s intellectual
13        property—overseas and out of the reach of U.S. authorities. BYTON has no right to do so;
          under the express terms of the parties’ contract, its failure to pay means EDAG still owns all
14        of the intellectual property EDAG created. BYTON has no right to access, let alone
          transfer, said property, which may be the only asset of value in its possession.
15
     (Motion at 6:9-9:17.)
16

17        On the basis of EDAG’s specious claim that Byton is transferring intellectual property
                             6
18 purportedly owned by EDAG, EDAG has requested that the arbitrator issue a remarkable pre-

19 judgment preliminary injunction that would bar Byton from “[t]aking any step to transfer, conceal,

20 reduce, encumber, or otherwise make unavailable—either personally or through instructions to

21 another—any assets up to the value owed to EDAG under the Arbitrator’s Award.” (See EDAG’s

22 proposed Order at p. 9.) In short, EDAG effectively seeks a pre-judgment “freeze” on all of

23

24

25          5
          See AA at p. 2, ¶2: “The Arbitrator has considered all pleadings, testimony, and exhibits
26 and makes the following findings of facts and law.” (Emphasis supplied.)
            6
27           As discussed infra, the intellectual property at issue is owned by Byton, not EDAG.
   Thus, the central premise of the Motion (that the intellectual property at issue is owned by EDAG)
28 is false.
                                       3
       BYTON NORTH AMERICA CORPORATION’S OPPOSITION TO EDAG’S MOTION FOR
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 1 Byton’s assets. Such a remedy does not exist under California law. 7

 2         However, the merits of EDAG’s preposterous Motion need not be reached, as the Arbitrator

 3 lacks jurisdiction to address the merits of the Motion. The Motion should be denied on that basis

 4 alone.

 5         II.    THE ARBITRATOR LACKS JURISDICTION TO ADDRESS THE MERITS

 6                OF THE MOTION.

 7         On Sept 17, 2021, EDAG delivered a “letter brief” to the Arbitrator asking if the Arbitrator

 8 believed he still retained jurisdiction in this matter so that he could hear, on shortened time,

 9 EDAG’s motion for issuance of a Temporary Restraining Order and Preliminary Injunction
10 against Byton.

11         On September 19, 2021, the Arbitrator responded as follows:
12          The answer to EDAG’s question is “I don't know”. This is an issue of first
            impression to me and before I opine, I want to at least get briefing from Byton on
13          the jurisdictional question.
14
            The question is when does an arbitrator's jurisdiction end? Does it end when the
15          Final Award is issued (June 3, 2021) or a party files in Federal Court a motion to
            approve the Award (June 23, 2021), or does the arbitrator's jurisdiction to issue
16          interim rulings extend until the Trial court grants the motion (indefinite)? And
            does the Arbitrator still have jurisdiction if the trial court's decision is appealed.
17          What about overturned?
18
            In order to resolve the TRO issue jurisdiction must exist and if so we can decide the
19          TRO motion. I believe that both issues can be briefed and decided by the arbitrator
            in one hearing.
20
     (Exhibit “7” to the Sipprelle Declaration.)
21
           EDAG’s opening brief submitted on September 24, 2021 largely ignores the central question
22

23

24
            7
             In seeking a prejudgment “freeze” on Byton’s assets, EDAG is improperly attempting to
25 relitigate an issue already decided against it. In its closing brief and during closing arguments,
   EDAG requested that the Arbitrator’s Final Award include a preliminary injunction freezing
26 Byton’s assets (due to EDAG’s purported concerns about Byton transferring intellectual property).

27 This request was rejected by the Arbitrator and was not included in the Final Award. See
   transcript of April 7, 2021 closing arguments at 9:10-15:10. (Exhibit “6” to the Sipprelle
28 Declaration.)
                                       4
       BYTON NORTH AMERICA CORPORATION’S OPPOSITION TO EDAG’S MOTION FOR
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 1 of jurisdiction that the Arbitrator directed the parties to address. Instead, EDAG cites to

 2 inapplicable federal (rather than California) authority for the proposition that an arbitrator has the

 3 authority to provide interim relief (e.g., temporary restraining orders, preliminary injunctions) if

 4 such authority is provided by the parties’ arbitration agreement. However, the issue of an

 5 arbitrator’s authority provided by the terms of an arbitration agreement is distinct from whether an

 6 arbitrator has jurisdiction to order the provisional remedy sought by EDAG months after the

 7 Arbitrator has issued his final award and a motion for confirmation of the award is pending in a

 8 federal district court. It is hardly surprising that EDAG has sidestepped this issue, because

 9 California law is clear that the Arbitrator has no jurisdiction to order the provisional remedy
10 sought by EDAG.

11        A. The Motion Constitutes A Disguised, And Untimely, Application To Correct The

12            Final Award.

13        In seeking a prejudgment “freeze” on Byton’s assets premised on Byton’s purportedly

14 improper efforts to transfer intellectual property, EDAG is improperly attempting to relitigate an

15 issue already decided against it.

16        In its closing brief and during closing arguments, EDAG requested that the Arbitrator’s

17 Final Award include a preliminary injunction freezing Byton’s assets due to purported concerns

18 about Byton transferring intellectual property. This request was considered and rejected by the

19 Arbitrator, and the Final Award did not include the preliminary injunction sought by EDAG. (See

20 Transcript of April 7, 2021 closing arguments (Exhibit “7” to the Sipprelle Declaration) at 9:10-

21 15:10.) Thus, in effect, EDAG’s Motion constitutes a disguised application for correction of the

22 Final Award. Of course, the deadline for correction of the Final Award under Code of Civil

23 Procedure § 1284 (10 days after service of a signed copy of the award on the applicant) has long

24 since passed. The Arbitrator has no jurisdiction at this point to consider EDAG’s request to

25 correct the Final Award.

26

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       BYTON NORTH AMERICA CORPORATION’S OPPOSITION TO EDAG’S MOTION FOR
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 1         B. The Arbitrator’s Jurisdiction In This Matter Has Expired Under The Doctrine Of

 2             Functus Officio.

 3         At common law, the issuance of an arbitration award was treated as functus officio, an act

 4 that terminates the actor’s authority.

 5          It is [a] fundamental common law principle that once an arbitrator has made and
            published a final award his authority is exhausted and he is functus officio and can
 6          do nothing more in regard to the subject matter of the arbitration. The policy which
            lies behind this is an unwillingness to permit one who is not a judicial officer and
 7
            who acts informally and sporadically, to re-examine a final decision which he has
 8          already rendered, because of the potential evil of outside communication and
            unilateral influence which might affect a new conclusion.
 9
     International Bhd. of Teamsters, Local 631 v. Silver State Disposal Serv. (9th Cir., 1997) 109 F.3d
10
     1409, 1411.
11
           The functus officio doctrine has been recognized and adopted in California. See, e.g.,
12
     Heimlich v. Shivji (2019) 7 Cal. 5th 350, 362-364; Moshonov v. Walsh (2000) 22 Cal. 4th 771,
13
     780, fn. 1. The functus officio doctrine comes into play once an arbitrator’s duties have been fully
14
     discharged. Heimlich v. Shivji, supra, 7 Cal. 5th at 364, fn. 5.
15
           The common law rule of functus officio is subject to legislative revision. Heimlich v. Shivji,
16
     supra, 7 Cal. 5th at 363. However, in deciding whether a statutory scheme alters or displaces the
17
     common law, one must begin with the presumption that the Legislature did not so intend.
18
     McMillin Albany LLC v. Superior Court (2018) 4 Cal.5th 241, 249.
19
           The California Arbitration Act (Code of Civil Procedure §§ 1280 –1294.2) governs private
20
     arbitration. Section 1284 expressly vests arbitrators with continuing jurisdiction for a brief period
21
     following a final award: “The arbitrators, upon written application of a party to the arbitration,
22
     may correct the award upon any of the grounds set forth in subdivisions (a) and (c) of Section
23
     1286.6 not later than 30 days after service of a signed copy of the award on the applicant. [¶]
24
     Application for such correction shall be made not later than 10 days after service of a signed copy
25
     of the award on the applicant.” (Emphasis supplied.) Section 1288.4 protects this arbitral
26
     jurisdiction; it bars parties from filing petitions in superior court to vacate or confirm an award
27
     “until at least 10 days after service of the signed copy of the award on the petitioner.” These
28
                                       6
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 1 provisions ensure that an arbitrator retains jurisdiction to modify an award for at least 10 and as

 2 many as 30 days after its filing and service. If no application for correction is filed within 10 days,

 3 jurisdiction expires and a petition to vacate or confirm may be filed in superior court. If an

 4 application is filed, the arbitrator retains jurisdiction for up to 30 days after the award was filed.

 5 Section 1284. See Cooper v. Lavely & Singer Professional Corp. (2014) 230 Cal.App.4th 1, 18 19.

 6         Here, the Final Arbitration Award was issued on June 2, 2021 and served on the parties on

 7 June 3, 2021. The Final Arbitration Award addressed and resolved all issues raised by the parties

 8 in their pleadings and otherwise. (AA at p. 2, ¶ 2.) Under the functus officio doctrine (as modified

 9 by the California Legislature in the California Arbitration Act), the Arbitrator’s jurisdiction
10 expired 10 days after service of a signed copy of the Final Arbitration Award (June 14, 2021), as

11 no party made a timely application to correct the award. As such, the Arbitrator has no

12 jurisdiction to entertain the merits of the Motion, and the Motion should be denied on that basis

13 alone.

14         III. THE MOTION SHOULD BE DENIED ON THE MERITS.

15         Even assuming arguendo that the Arbitrator has jurisdiction to entertain the merits of the

16 Motion, the Motion nevertheless should be denied on the following grounds: (1) a pre-judgment

17 asset freeze is not authorized by California or federal law; (2) EDAG cannot show the existence of

18 irreparable harm if a preliminary injunction is not issued, as the intellectual property at issue is

19 owned by Byton, not EDAG; and (3) the Motion is based on inadmissible evidence.

20         A. A Pre-Judgment Asset Freeze Is Not Authorized By California or Federal Law.

21            EDAG’s motion seeks an Order that would preclude Byton from:

22                     a. Accessing, modifying, transferring, or deleting any intellectual property

23                     created by EDAG, or any of its employees, agents, representatives, affiliates,

24                     licensees, consultants, officers, directors, successors, affiliates, parent

25                     companies, or assigns;

26                     b. Taking any step to transfer, conceal, reduce, encumber, or otherwise make

27                     unavailable—either personally or through instructions to another—any assets

28                     up to the value owed to EDAG under the Arbitrator’s Award.
                                       7
       BYTON NORTH AMERICA CORPORATION’S OPPOSITION TO EDAG’S MOTION FOR
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 1 (See EDAG’s proposed Order at p. 9; emphasis supplied.)

 2        In short, EDAG effectively seeks a pre-judgment “freeze” on all of Byton’s assets (not just

 3 the intellectual property created by EDAG for Byton) up to the amount of €23,446,649, plus

 4 interest (i.e., the amount awarded to EDAG by the Arbitrator).

 5        EDAG’s Motion is nothing more than a recycled request for a remedy that the Arbitrator

 6 previously considered and rejected.

 7        In its closing brief and during closing arguments held on April 7, 2021, EDAG requested

 8 that the Arbitrator’s Final Award include a preliminary injunction freezing Byton’s assets due to

 9 purported concerns about Byton transferring intellectual property. This request was considered
10 and rejected by the Arbitrator, and was not included in the Final Award:

11                 MS. BURBIDGE: So then, your next question, Your Honor, was
                   with regard to Question 12, with regard to EDAG's request for an
12                 injunction. And you had asked if you had authority to issue an
                   injunction. So the TDLA here, which you see on the screen,
13
                   explicitly provides you that authorization under Section 14.4. It
14                 states that you have full power and authority to fashion appropriate
                   remedies, including temporary, preliminary, interim, or permanent
15                 injunctive relief.
16                 And JAMS 24C also provides that authorization in conjunction with
                   the agreement between the parties. So, as we set out in our brief,
17
                   EDAG is asking for temporary injunctive relief. It's not interested in
18                 the permanent injunction. But as the evidence in the case made
                   clear, BYTON does not have cash, but does have assets, namely, the
19                 IP that EDAG created. And given, you know, the recent articles that
                   we cited in our brief, we're very concerned that BYTON might
20                 transfer those assets to avoid paying any judgment. So we would
21                 request an injunction be issued.

22                 THE ARBITRATOR: Let me hear what Mr. Sipprelle says about
                   that in this current time here. Can you tell me about that, Mr.
23                 Sipprelle?
24                 MR. SIPPRELLE: Yes, I can, Your Honor. Thank you. We
25                 certainly -- BYTON certainly objects to this request for -- basically
                   to freeze -- it's essentially a request to freeze BYTON's assets, which
26                 would put BYTON essentially out of business. I mean, as they
                   phrased it, that would even preclude BYTON from making payroll
27                 because that would be a transfer of BYTON asset to somebody else.
                   And I think it's very clear that there is no authority, either under the
28
                                       8
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 1               arbitration agreement or under applicable law, for that kind of
                 request.
 2
                 If we look at Section 14.4B of the TDLA -- and I think it's up there,
 3
                 but I can't -- I don't know if you can make that a little larger. I can
 4               barely see that.

 5               MS. BURBIDGE: I can try. If you want to share your screen, Keith
                 --
 6
                 MR. SIPPRELLE: Okay. I guess --
 7

 8               MS. BURBIDGE: There you go. Is that --

 9               MR. SIPPRELLE: I can put mine. Okay. So what they've
                 highlighted is -- it says the arbitrator will have full power and
10               authority to determine issues of arbitrability and to fashion
11               appropriate remedies. They didn't read the next portion, which says
                 "provided that the arbitrator will not have any right or authority;
12               one, in excess of the authority that a court having jurisdiction over
                 the parties in the dispute would have absent this arbitration
13               agreement. Or to award damages," et cetera.
14               But I think the key provision is that, one -- sub-1, which is: Your
15               Honor doesn't have authority in excess of the authority that a court
                 would have if there was not an arbitration agreement.
16
                 And this -- the TDLA is governed by California law. That's in
17               Section 14.4A. There is no authority under California law or under
                 federal law for an asset freeze -- a prejudgment or even a post-
18               judgment asset freeze.
19
                 California has, as Your Honor, I'm sure, is aware, prejudgment writ
20               of attachment process that's very detailed, very specific. That's in
                 Code of Civil Procedures sections 481.010 and following. And
21               that's a very specific prejudgment attachment remedy. You have to
                 go through a lot of hoops. And even if you get the attachment, all
22
                 the attachment allows you to do is to try to attach assets, specific
23               assets, that you can locate. It is not a prophylactic asset freeze.

24               That doesn't exist under California law, what they're asking for.
                 What they're asking for also doesn't exist under federal law. And, in
25               fact, this issue was addressed by the US Supreme Court in 1999.
                 There's a case called Grupo Mexicano de Desarrollo SA. It's 527
26
                 U.S. 308. And in that case, the Supreme Court held that federal
27               courts lack the inherent power to issue injunctions or asset freezes in
                 money damages cases like this one.
28
                                       9
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 1               So what they are asking for is not authorized under California law,
                 under federal law. And the arbitration agreement is very clear that
 2               Your Honor can't issue orders in excess of what a court could do if
                 this case was pending in court. So it's not authorized.
 3

 4               THE ARBITRATOR: Okay. I certainly can't do more than a court
                 can do. Well, maybe I could, but I'm not inclined to do that. That's
 5               the first time I've heard about this. Mr. Sipprelle, did you know that
                 they were asking for this before you saw their brief?
 6
                 MR. SIPPRELLE: I did not. I was, I have to say, quite surprised at
 7
                 what they -- and there's no authority in their brief. They cite no
 8               legal authority for this, and there isn't any. It's not authorized by
                 law, and that basically would -- number 1, it would -- they're trying
 9               to jump to the head of the line of BYTON's creditors. And number
                 2, it would essentially put BYTON out of business because we
10               couldn't even pay our employees if that kind of an order was in
11               place. They have their remedies. If they get a judgment and the
                 remedies are what the law provides, they can try to collect if they
12               get a judgment. But they can't get an asset freeze.

13               THE ARBITRATOR: I bet Ms. Burbidge would say you can pay
                 your employees -- I could exclude that from the injunction.
14

15               MS. BURBIDGE: Yeah. I think, Your Honor, that, as we indicated
                 in our briefing -- and this is something that was a concern that came
16               to light subsequently, right, was the concern that there would be an
                 asset transfer to avoid any relief. Right? And that there are these
17               talks about selling the actual car on the market but doing it without
                 using BYTON North America so as to avoid those creditors that
18               BYTON owes money to. So there's a real concern that the IP that
19               EDAG created, which has great value, would be shifted to another
                 entity that would make money. And that's something that obviously
20               came to light at the – after the conclusion of the hearing. So that's
                 why it was something we raised in our briefing.
21
                 THE ARBITRATOR: Okay. I understand that. I'm worried that I
22
                 don't have jurisdiction to do this even if I wanted to. But I
23               understand your concern. But Mr. Sipprelle says you'd be ahead of
                 other creditors. If they go into bankruptcy, this will be an issue,
24               whether it's even enforceable or not.

25               MS. BURBIDGE: Yes, Your Honor.
26
                 THE ARBITRATOR: I understand your concern. I understand you,
27               but this is a concern of everybody's got owed money, I think.

28               MS. BURBIDGE: I don't have a sense of how many other folks
                                      10
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 1                 BYTON owes money to, Your Honor. If you are interested in some
                   sort of brief, additional submission on this point today to try to keep
 2                 things expedited, we'd be happy to provide that to you. But I
                   simultaneously do not want to draw this out. Obviously, you know,
 3
                   EDAG is very interested in a resolution, and an expedited one, if
 4                 possible.

 5                 THE ARBITRATOR: Well, let me do this. Let me just tell you
                   where I'm going to come out on that. I'm going to not give you an
 6                 injunction. Okay?
 7
                   MS. BURBIDGE: Okay, Your Honor. Understood.
 8
                   THE ARBITRATOR: Just so we don't have to worry about it
 9                 anymore.
10                 MS. BURBIDGE: Okay.
11
                   THE ARBITRATOR: Okay. Great.
12
                   MS. BURBIDGE: Those were the only questions directed to
13                 EDAG, Your Honor. So I'm happy to turn it over to Mr. Sipprelle.
                   And then I can jump in and respond, or I will let Your Honor know
14                 that I'm going to save a sort of a joint rebuttal response.
15
                   THE ARBITRATOR: No problem. All right. Thank you. So we're
16                 clear on that. No injunction. Okay. Next.

17 (Emphasis supplied.) See Transcript of April 7, 2021 closing arguments at 9:10-15:10. (Exhibit

18 “6” to the Sipprelle Declaration.)

19        As is clear from the above exchange, EDAG’s current Motion raises precisely the same
20 issue that the Arbitrator previously considered and rejected: whether EDAG is entitled a pre-

21 judgment freeze of Byton’s assets due to EDAG’s purported concern that intellectual property that

22 EDAG created for Byton would be transferred to another entity. However, as was pointed out by

23 Byton’s counsel during closing arguments on April 7, 2021, California law does not authorize a

24 pre-judgment asset freeze. 8

25

26
            8
27          California law does authorize the issuance of a pre-judgment writ of attachment in
   appropriate circumstances. See Code of Civil Procedure §§ 481.010, et seq. EDAG has never
28 sought a writ of attachment, however.
                                      11
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 1        EDAG has cited to several federal decisions (including several unpublished and hence

 2 uncitable District Court orders) that purportedly support EDAG’s request for issuance of a pre-

 3 judgment asset freeze. Of course, these decisions are irrelevant, as this arbitration proceeding is

 4 governed by California law. (See Scheduling Order No. 7 attached as Exhibit “4” to the Sipprelle

 5 Declaration, at ¶ 6.) In any event, none of these decisions stands for the proposition that an

 6 arbitrator or court is authorized to issue a pre-judgment preliminary injunction freezing a

 7 defendant’s assets.

 8        Moreover, even if federal law applied here, the United States Supreme Court ruled more

 9 than 20 years ago that federal law does not permit the issuance of a pre-judgment preliminary
10 injunction freezing all or any portion of a defendant’s assets in suits for money damages. Grupo

11 Mexicano De Desarrollo v. Alliance Bond Fund (1998) 527 U.S. 308.

12        In Grupo Mexicano De Desarrollo, creditors of a Mexican holding company that had
13 defaulted on its debts filed suit for the amount due in the United States District Court for the

14 Southern District of New York. The Complaint alleged that the Mexican holding company, Grupo

15 Mexicano De Desarrollo (“GMD”), was at risk of insolvency, if not insolvent already; that GMD

16 was dissipating its most significant asset (certain Toll Road Notes), and was preferring its

17 Mexican creditors by its planned allocation of Toll Road Notes to the payment of their claims, and

18 by its transfer to them of Toll Road Receivables; and that these actions would “frustrate any

19 judgment” the American creditors could obtain. In their lawsuit, the American creditors sought

20 breach of contract damages of $ 80.9 million, and requested a preliminary injunction restraining

21 GMD from transferring the Toll Road Notes or other receivables.

22        The District Court issued a preliminary injunction in which it found that “GMD is at risk of
23 insolvency if not already insolvent;” that the Toll Road Notes were GMD’s “only substantial

24 asset;” that GMD planned to use the Toll Road Notes “to satisfy its Mexican creditors to the

25 exclusion of [the American creditors] and other holders of the Notes;” that “in light of [GMD’s]

26 financial condition and dissipation of assets, any judgment [the American creditors] obtain in this

27 action will be frustrated;” that the American creditors had demonstrated irreparable injury; and

28 that it was “almost certain” that the American creditors would succeed on the merits of their claim.
                                      12
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 1 The District Court preliminarily enjoined GMD “from dissipating, disbursing, transferring,

 2 conveying, encumbering or otherwise distributing or affecting any [of the American creditors’]

 3 right to, interest in, title to or right to receive or retain, any of the [Toll Road Notes].” Id. at 312,

 4 313. The order was affirmed by the Second Circuit Court of Appeal.

 5         The United States Supreme Court granted certiorari and reversed, affirming the “historical

 6 principle that before judgment (or its equivalent) an unsecured creditor has no rights at law or in

 7 equity in the property of his debtor.” Id. at 330.

 8          The requirement that the creditor obtain a prior judgment is a fundamental
            protection in debtor-creditor law -- rendered all the more important in our federal
 9          system by the debtor's right to a jury trial on the legal claim. There are other factors
10          which likewise give us pause: The remedy sought here could render Federal Rule
            of Civil Procedure 64, which authorizes use of state prejudgment remedies, a
11          virtual irrelevance. Why go through the trouble of complying with local
            attachment and garnishment statutes when this all-purpose prejudgment injunction
12          is available? More importantly, by adding, through judicial fiat, a new and
            powerful weapon to the creditor's arsenal, the new rule could radically alter the
13
            balance between debtor's and creditor's rights which has been developed over
14          centuries through many laws -- including those relating to bankruptcy, fraudulent
            conveyances, and preferences. Because any rational creditor would want to protect
15          his investment, such a remedy might induce creditors to engage in a “race to the
            courthouse” in cases involving insolvent or near-insolvent debtors, which might
16          prove financially fatal to the struggling debtor.
17
                                                 ***
18          Because such a remedy was historically unavailable from a court of equity, we hold
            that the District Court had no authority to issue a preliminary injunction preventing
19          petitioners from disposing of their assets pending adjudication of respondents'
            contract claim for money damages. We reverse the judgment of the Second Circuit
20
            and remand the case for further proceedings consistent with this opinion.
21
     Id. at 330-331; 339-340
22
           Grupo Mexicano bars precisely the relief that EDAG is seeking here.
23
           In short, EDAG’s request for issuance of a pre-judgment preliminary injunction freezing
24
     Byton’s assets up to the amount of up to the amount of €23,446,649 (plus interest) is not
25
     authorized by either California or federal law. EDAG’s recycled and untimely request for a
26
     preliminary injunction must be denied.
27

28
                                      13
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 1        B. EDAG’s Motion Also Fails Because EDAG Will Not Suffer Irreparable Injury

 2              Absent Injunctive Relief.

 3        Even if the Arbitrator had the legal authority and jurisdiction to issue a pre-judgment

 4 preliminary injunction, EDAG would only be entitled to such an order if it could establish all of

 5 the elements necessary to support the issuance of a preliminary injunction. See O’Connell v.

 6 Superior Court (2006)141 Cal.App.4th 1452, 1481 (“[T]he burden was on plaintiffs, as the parties

 7 seeking injunctive relief, to show all elements necessary to support issuance of a preliminary

 8 injunction.”). One of these elements is that the moving party would suffer irreparable harm absent

 9 injunctive relief. Donahue Schriber Realty Group, Inc. v. NU Creation Outreach (2014) 232
10 Cal.App.4th 1171, 1184. A showing of “irreparable harm” requires the moving party to

11 demonstrate that the non-moving party’s wrongful acts threaten to cause irreparable injuries; i.e.,

12 injuries that cannot be adequately compensated in damages. Intel Corp. v. Hamidi (2003) 30

13 Cal.4th 1342, 1352. Moreover, an injunction must be supported by evidence that there is a

14 realistic prospect that the party enjoined intends to engage in “prohibited activity.” Korean

15 Philadelphia Presbyterian Church v. California Presbytery (2000) 77 Cal.App.4th 1069, 1084.

16        Byton’s purported wrongful act/prohibited activity upon which EDAG’s claim of irreparable
17 injury is based is Byton “improperly accessing and transferring EDAG’s data and intellectual

18 property overseas.” (Motion at 14:19-20.) In other words, the central premise of EDAG’s claim

19 of irreparable injury (and indeed, of EDAG’s entire Motion) is that the work product that EDAG

20 created for Byton and for which Byton paid EDAG approximately €27 million 9 belongs to EDAG

21 because Byton failed to pay EDAG the full amount owed under the TDLA. (See, e.g., Motion at

22 8:28-9:2: “BYTON has managed to circumvent to [sic] the TDLA, which expressly states that

23 BYTON may only to [sic] receive intellectual property rights by paying EDAG. BYTON now has

24 improper access to intellectual property it does not own, and for which it has not paid;” Motion at

25

26
            9
27          As set forth in the AA, the approximate value of the TDLA was €50,448,045. (AA at pp.
   11, 16.) Of this amount, Byton ultimately was unable to pay €23,446,649.00. (AA at p. 18, 28.)
28 Thus, Byton paid EDAG more than €27 million.
                                      14
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 1 14:20-21: BYTON has no right to the intellectual property in question, because BYTON breached

 2 its obligation to pay EDAG for it;” 10 Motion at 17:5-6: “EDAG moves to enjoin a scheme to

 3 misappropriate its intellectual property . . ..”

 4        EDAG’s assertion that it (rather than Byton) owns the work product that EDAG created for

 5 Byton and for which Byton paid EDAG approximately €27 million is based upon a tortured

 6 interpretation of the relevant provision of the TDLA (Section 6.2b). EDAG’s convoluted

 7 interpretation of section 6.2b of the TLDA was not litigated during the course of the arbitration

 8 and is not addressed in the Final Arbitration Award. Presumably, if EDAG truly believed that its

 9 interpretation of 6.2b is the correct one, it would have asked the Arbitrator to make a finding that
10 EDAG owns the work product/intellectual property at issue.

11        Moreover, during the April 7, 2021 closing arguments, EDAG’s counsel virtually conceded
12 that the intellectual property at issue is owned by Byton rather than EDAG:

13                  MS. BURBIDGE: So then, your next question, Your Honor, was
                    with regard to Question 12, with regard to EDAG's request for an
14                  injunction. And you had asked if you had authority to issue an
                    injunction. So the TDLA here, which you see on the screen,
15
                    explicitly provides you that authorization under Section 14.4. It
16                  states that you have full power and authority to fashion appropriate
                    remedies, including temporary, preliminary, interim, or permanent
17                  injunctive relief.
18                  And JAMS 24C also provides that authorization in conjunction with
                    the agreement between the parties. So, as we set out in our brief,
19
                    EDAG is asking for temporary injunctive relief. It's not interested in
20                  the permanent injunction. But as the evidence in the case made
                    clear, BYTON does not have cash, but does have assets, namely,
21                  the IP that EDAG created. And given, you know, the recent
                    articles that we cited in our brief, we're very concerned that BYTON
22                  might transfer those assets to avoid paying any judgment. So we
23                  would request an injunction be issued.

24 (Emphasis supplied. See Transcript of April 7, 2021 closing arguments at 9:10-10:6. (Exhibit “6”

25

26          10
             EDAG cites to pages 17-18 of the AA as support for this assertion that Byton does not
27 own the intellectual property created by EDAG for Byton. However, nowhere in the AA did the
   Arbitrator make a finding that the work product that EDAG created for Byton belongs to EDAG
28 because Byton failed to pay EDAG the full amount owed under the TDLA.
                                      15
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 1 to the Sipprelle Declaration.))

 2         Section 6.2b of the TDLA provides in relevant part as follows:

 3          Assignment of Rights. Subject to Supplier’s underlying Intellectual Property Rights
            in the background technology and in exchange for the fees set forth in Section 4 of
 4          SOW, Supplier shall and does hereby assign to BYTON, Supplier’s entire right,
            title and interest in and to the Deliverables created for BYTON, the Foreground
 5
            Technology, and all associated Intellectual Property rights therein. . . . Supplier
 6          (i) may you only use the Foreground Technology in accordance with Section 5.2
            (“BYTON’s License Grant and Restrictions”), and (ii) agrees not to challenge the
 7          validity of BYTON’s ownership in the Foreground Technology. In addition,
            BYTON shall own all Derivative Matter and associated Intellectual Property
 8          Rights. BYTON may register the copyright in the Deliverables and Foreground
            Technology in its own name, identifying Supplier’s interest in the Background
 9
            Technology as required by applicable Copyright Office rules and regulations.
10
           Although section 6.2b provides that Byton’s ownership of the Deliverables and associated
11
     Intellectual Property Rights was “in exchange for the fees set forth in Section 4 of the SOW,”
12
     nowhere in section 6.2b (or elsewhere in the TDLA) did the parties agree that EDAG retained
13
     ownership of the Deliverables and associated Intellectual Property Rights until such time as Byton
14
     had made payment of all amounts owed under the TLDA. Indeed, the very structure of Section
15
     6.2b undermines EDAG’s belated and self-serving interpretation of this section of the TDLA.
16
     Section 6.2b provides that Byton would take immediate ownership of the Deliverables and
17
     associated Intellectual Property Rights and would have the right to immediately register those
18
     items in its own name with the Copyright Office. Surely, if EDAG believed when the TDLA was
19
     entered into that it would continue to own the intellectual property until such time as Byton had
20
     made full payment under the TDLA, EDAG would never have agreed that Byton could
21
     immediately register its ownership in the Intellectual Property with the Copyright Office.
22
           In short, the plain language of Section 6.2b makes clear that the mutual intent of the parties
23
     at the time the TLDA was entered into was as follows: 11 (a) Byton would immediately take
24
     ownership of the Deliverables created for Byton by EDAG, including the Foreground Technology,
25

26
            11
27           See California Civil Code § 1636 (“A contract must be so interpreted as to give effect to
   the mutual intention of the parties as it existed at the time of contracting, so far as the same is
28 ascertainable and lawful.”)
                                      16
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 1 and all associated Intellectual Property rights therein; (b) Byton would be obligated to pay EDAG

 2 the amounts due under the TDLA; and (c) if Byton failed to make full payment to EDAG, EDAG

 3 could pursue the legal remedies provided in Section 14.4 of the TDLA to obtain full payment

 4 (which is precisely what EDAG has done). However, Byton would retain ownership of the

 5 Deliverables created for Byton by EDAG (including the Foreground Technology and all

 6 associated Intellectual Property rights therein). In short, EDAG’s tortured and belated

 7 interpretation of Section 6.2b of the TDLA is unreasonable and should be rejected. 12

 8         Byton contends that the intent of the parties with respect to the ownership of the intellectual

 9 property at issue can be gleaned from the four corners of Section 6.2b of the TDLA. 13 However,
10 even assuming arguendo that Section 6.2b is ambiguous with respect to the ownership of the

11 Deliverables and associated Intellectual Property in a circumstance (such as here) in which less

12 than full payment has been made, resolution of this ambiguity would require the examination of

13 extrinsic evidence. 14 At this point, months after the close of evidence and submission of the Final

14 Arbitration Award, it is far too late for EDAG to inject an issue of contract interpretation into the

15 long-concluded proceedings. See Archuleta v. Grand Lodge etc. of Machinists (1968) 262 Cal.

16 App. 2d 202, 208 (arbitrators’ decision is final and binding on the parties and precludes further

17 litigation of the controversy on the merits when the arbitration award fully adjudicates dispute).

18         C. EDAG’s Motion Also Fails Because It Is Based On Inadmissible Evidence.

19         Finally, the Motion must be denied because EDAG’s central basis for the Motion (that

20 Byton purportedly is attempting to transfer intellectual property to China) is based upon

21

22          12
              See California Civil Code §1643 (“A contract must receive such an interpretation as will
23 make it  lawful, operative, definite, reasonable, and capable of being carried into effect, if it can be
   done without violating the intention of the parties.”)
24         13
              See California Civil Code §1638 (“The language of a contract is to govern its
25 interpretation, if the language is clear and explicit, and does not involve an absurdity.”) See also
   California Civil Code § 1639 (“When a contract is reduced to writing, the intention of the parties
26 is to be ascertained from the writing alone, if possible; subject, however, to the other provisions of
   this Title.”)
27         14
              See, e.g., Jacobs v. Locatelli (2017) 8 Cal.App.5th 317, 325; Hot Rods, LLC v. Northrop
28 Grumman Systems Corp. (2015) 242 Cal.App.4th 1166, 1175-1176.
                                      17
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 1 declarations that are replete with inadmissible hearsay statements and statements lacking personal

 2 knowledge. (See Byton’s evidentiary objections submitted concurrently herewith.) It is

 3 fundamental that any motion, particularly a motion seeking an extraordinary remedy like a

 4 preliminary injunction, must be based on admissible evidence.

 5        IV.   CONCLUSION.

 6        For all of the foregoing reasons, the Motion should be denied.

 7                                           Respectfully Submitted,

 8
     Dated: October 4, 2021                   VAN ETTEN SIPPRELLE LLP
 9
10
                                              By:
11                                                  Keith A. Sipprelle
                                                    Attorneys for Respondent and Cross-Claimant
12                                                  BYTON NORTH AMERICA CORPORATION
13

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11
     EDAG ENGINEERING GMBH,                      JAMS Reference No. 1100107291
12

13               Claimant,                       DECLARATION OF KEITH A.
                                                 SIPPRELLE IN SUPPORT OF BYTON
14         vs.                                   NORTH AMERICA CORPORATION’S
                                                 OPPOSITION TO CLAIMANT EDAG
15 BYTON NORTH AMERICA                           ENGINEERING GMBH’S MOTION FOR
16 CORPORATION,                                  PRELIMINARY INJUNCTION

17               Respondent.
                                                 Arbitrator: Hon. William J. Cahill (Ret.)
18
                                                 Final Award Issued: June 2, 2021
19                                               Final Award Served: June 3, 2021
20

21                                               Hearing Date: October 14, 2021
                                                 Hearing Time: 10:00 a.m. (Zoom)
22
     AND RELATED CROSS-CLAIM.
23

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      DECLARATION OF KEITH A. SIPPRELLE IN SUPPORT OF BYTON NORTH AMERICA
     CORPORATION’S OPPOSITION TO EDAG’S MOTION FOR PRELIMINARY INJUNCTION,
                           JAMS Reference No. 1100107291
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 459 of 611




 1          I, KEITH A. SIPPRELLE, declare as follows:

 2          1.      I am an attorney at law duly licensed to practice law in the state of California. I am
 3
     counsel for BYTON NORTH AMERICA CORPORATION (“Byton”) in this action. I have been
 4
     the attorney principally responsible for the representation of Byton in this matter from its inception.
 5
     I have personal knowledge of the facts stated in this declaration, and would testify to them if called
 6

 7 upon to do so.

 8          2.      This arbitration proceeding was commenced on October 22, 2019 by EDAG

 9 Engineering GMBH (“EDAG”) submitting a Demand for Arbitration (“Demand”) to JAMS. The
10 Demand asserted claims against Byton for breach of contract and breach of the covenant of good

11 faith and fair dealing premised upon Byton’s purported failure to pay EDAG amounts allegedly

12 owed pursuant to the terms of the parties’ Technology Development and License Agreement (the

13 “TDLA”). A true and correct copy of the Demand is attached hereto as Exhibit “1.” The TDLA,

14 which was marked and entered as Exhibits “2” and “3” at the arbitration hearing, is attached as

15 Exhibit “A” to the Demand.

16          3.      On November 19, 2019, Byton submitted a response to the Demand, and also

17 asserted counterclaims against EDAG for breach of contract and negligence. A true and correct

18 copy of Byton’s response to the Demand and counterclaims is attached hereto as Exhibit “2.”

19          4.      On December 16, 2019, EDAG submitted a response and affirmative defenses to

20 Byton’s cross-claims. A true and correct copy of EDAG’s response and affirmative defenses to

21 Byton’s cross-claims is attached hereto as Exhibit “3.”

22          5.      Subsequently, Judge William J. Cahill (Ret.) of JAMS was appointed as arbitrator in

23 this matter (the “Arbitrator”).

24          6.      Attached hereto as Exhibit “4” is a true and correct copy of Scheduling Order No. 7

25 in this action. This document was jointly drafted and agreed to by the parties, and signed by the

26 Arbitrator.

27          7.      On June 23, 2021, EDAG filed a petition to confirm the Final Arbitration Award in

28 the United States District Court for the Northern District of California. A true and correct copy of
                                                    2
     DECLARATION OF KEITH A. SIPPRELLE IN SUPPORT OF BYTON NORTH AMERICA
   CORPORATION’S OPPOSITION TO EDAG’S MOTION FOR PRELIMINARY INJUNCTION,
                                    JAMS Reference No. 1100107291
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 1 EDAG’s petition is attached hereto as Exhibit “5.” The U.S. District Court action is pending.

 2         8.      Attached hereto as Exhibit “6” is a true and correct copy of the transcript of the April

 3 7, 2021 closing arguments in this matter.

 4          9.     Attached hereto as Exhibit “7” is a true and correct copy of a September 19, 2021

 5 email from the Arbitrator.

 6         I declare under penalty of perjury that the foregoing is true and correct, and that this

 7 declaration was executed on October 3, 2021 at Thousand Oaks, California.

 8

 9                                                ______________________________________
                                                              Keith A. Sipprelle
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                                         3
      DECLARATION OF KEITH A. SIPPRELLE IN SUPPORT OF BYTON NORTH AMERICA
     CORPORATION’S OPPOSITION TO EDAG’S MOTION FOR PRELIMINARY INJUNCTION,
                           JAMS Reference No. 1100107291
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                  Exhibit 1
             Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 462 of 611


                     Demand for Arbitration Form
                     Instructions for Submittal of Arbitration to JAMS



INSTRUCTIONS
Please submit this form to your local JAMS Resolution Center. Once the below items                        \. 1-800-352-JAMS
are received, a JAMS professional will contact all parties to commence and coordinate
the arbitration process, including the appointment of an arbitrator and scheduling a
                                                                                                         iic www.jamsadr.com
hearing date.



If you wish to proceed with an arbitration by executing and serving a Demand for Arbitration on the appropriate
party, please submit the following items to JAMS with the requested number of copies :

  A. Demand for Arbitration (2 copies)

   B. Proof of service of the Demand on the appropriate party (2 copies)

  C. Entire contract containing the arbitration clause (2 copies)
       • To the extent there are any court orders or stipulations relevant to this arbitration demand, e.g. an order com-
           pelling arbitration, please also include two copies.

  D. Administrative Fees
       • For two-party matters, the Filing Fee is $1,500. For matters involving three or more parties, the filing fee is
         $2,000 . The entire Filing Fee must be paid in full to expedite the commencement of the proceedings . Thereafter,
         a Case Management Fee of 12% will be assessed against all Professional Fees, including time spent for
         hearings, pre- and post-hearing reading and research and award preparation . JAMS also charges a $1,500
         filing fee for counterclaims . For matters involving consumers, the consumer is only required to pay $250. See
         JAMS Policy on Consumer Arbitrations Pursuant to Pre-Dispute Clauses . For matters based on a clause or
         agreement that is required as a condition of employment, the employee is only required to pay $400. See JAMS
         Policy on Employment Arbitrations, Minimum Standards of Fairness.

        •   A refund of $600 will be issued if the matter is withdrawn within five days of filing. After five days, the filing
            fee is non-refundable.

                           Once completed, please submit to your local JAMS Resolution Center.
                Resolution Center locations can be found on the JAMS website at: http://www.iamsadr.com/locationsl.




JAMS Demand for Arbitration Form                                                                                      Page 1 of?
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                       Demand for Arbitration Form                                                          (continued)
                       Instructions for Submittal of Arbitration to JAMS

TO RESPOl'f OENT (PARTY ON WH OM DEMAND FOR ARBITRATION IS MADE)                                         Add more responden ts on page 6.

      usPoNoENT
      MAME
                  BYTON North America Corporation

      ADDREss     4201 Burton Drive

      CITY        Santa Clara                                      STATE   CA                      ZIP   95054

      PHONE                              FAX                       EMAIL


RESPONDENT'S REPRESENTATIVE OR ATTORNEY (IF KNOWN)

      REPREsENTmvr,moRm            Matt Barter; Jonathan Ye

      FIRM/
      COMPANY     BYTON North America Corporation

      ADDRESS     401 Burton Drive

      CITY        Santa Clara                                      STATE   CA                      ZIP   95054

      PHONE                              FAX                       EMAIL   matt.barter@byton.com; jonathan.ye@byton.com


                                                                                                           Aud more claimants on page 7,
FROM CLAIMANT
      CLAIMANT
      NAME        EDAG Engineering GmbH

      ADDRESS     Kreuzberger Ring 40

      CITY        65205 Wiesbaden                                  sTATE   Germany                 ZIP
                  --------------
      PHONE                              FAX                       fMAll


CLAIMANT'S REPRESENTATIVE OR ATTORNEY (IF KNOWN)
      REPREseNTmvE,moRm            Evangeline Burbidge; Marc Lewis; Nathalie Fayad

      FIRM/
      CO MPANY
                  Lewis & Llewellyn LLP

      ADDRESS     505 Montgomery Street, Suite 1300

      CITY        San Francisco                                    STATE   CA                      ZIP   94111

      PHONE       {415) 762-0908         FAX   (415) 390-2127      EMAIL   eburbidge@lewisllewellyn.com; mlewis@lewisllewellyn.com




IM,AS Demand for Arbilra lion   l'"orm                                                                                       Page 2of7
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                        Demand for Arbitration Form                                                            (con tinued)
                        Instructions for Submittal of Arbitration to JAMS

MED IATION N /\DVANCE Of THE ARB ITRATI01'4
            I[ mediation in advance of the arbitration is desired, please check here and a JAMS Case Manager will ass1sl lhe
    Ill     parties in coordinating a mediation session.


NATURE OF DISPUTE/ CLAIMS & RELIEF SOUGHT BY CLAIMANT"
     CLAIMANT HEREBY DEMANDS THAT YOU SUBMIT THE FOLLOWING DISPUTl TO FINAL AHO IIHO ING ARBITftATION.
     A MORE DETAILED STATEMENT OF CLAIMS MAY BE ATTACHED If NEEDED.

 On June 1, 2017, EOAG Engineering GmbH ("EOAG") and BYTON North America Corporation
 ("BYTON") entered into a Technology and License Agreement ("Agreement"), attached as Exhibit
 A. Under the Agreement, BYTON agreed to pay EOAG over $50 million USO in exchange for
 deliverables and services, as set forth in Attachment 1 of the Agreement, Statement of Work
 ("SOW").

 To date, EOAG has performed under the contract and there has been no dispute that BYTON
 received EOAG's deliverables and services. In return, however, BYTON has failed to pay (see
 Exhibit B). In acknowledgment of BYTON's failure, the parties entered into a payment plan in
 August 2019, attached as Exhibit C.

 Even with this grant of additional time, BYTON has still failed to pay EDAG what it is owed. In
 fact, despite repeated attempts by EOAG's management to contact BYTON and resolve this issue,
 BYTON has remained substantively silent. This has left EOAG with no choice but to file this
 arbitration demand.

 To date, BYTON has an outstanding balance of 19,799,805.04 Euros, which amounts up to
 estimated $22.5 million USO, owed pursuant to the August 2019 payment plan entered into
 between EDAG and BYTON. This amount does not yet include the fees for September 2019, nor
 any termination fees or other expenses to be covered under the Agreement, which will add up to
 at least 25,807,650.74 Euros (resulting into approximately $28.5 million USO).

 As a result of the above, BYTON is liable to EOAG for (1) breach of contract and (2) breach of the
 implied covenant of good faith and fair dealing. Pursuant to these claims, EOAG is entitled to
 compensatory damages, pre-judgment and post-judgment interest under California law, and such
 other relief as the arbitrator may deem just and proper.

 We look forward to JAMS' assistance in resolving this matter.




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                                                           AMOUNT Ill COIHROVERSY (US OOUARS)       at least $28.5 million USO

JAMS Demand for Arbitration Form                                                                                         Page 3of7
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                         Demand for Arbitration Form                                                    (continued)
                         Instructions for Submittal of Arbitration to JAMS

ARBITRATION AGREEMENT
This demand is made pursuant to the arbitration agreement which the parties made as follows. Please cite location of arbitra-
tion provision and attach two copies of entire agreement.

      ARBITRATION PROVISION LOCATION

 This demand is being made pursuant to an arbitration provision in the Technology Development7
 and License Agreement executed by all parties and effective June 1, 2017. See Exhibit A§ 14.4.b.




                                                                                                                              J
RESPONSE
The respondent may file a response and counter-claim to the above-stated claim according to the applicable
arbitration rules . Send the original response and counter-claim to the claimant at the address stated above with
two copies to JAMS.


REQUEST FOR HEAR ING
      mmmo LocAnoN           San Francisco, CA


ELECTION FOR EXPEDITED PROCEDURES (IF COMPREHENSIVE RULES APPLY)
See . Comprehensive Rule 16.1

             By checking the box to the left, Claimant requests that the Expedited Procedures described in JAMS Compre-
             hensive Rules 16.1 and 16.2 be applied in this matter. Respondent shaJl indicate not later than seven (7) days
             from the date this Demand is served whether it agrees to the Expedited Procedures.

SUBMISSION INFORMATION
     SIGNATURE        ~...,,,,=--~- -'--=- -•__=-_ ___                            DATE   10/22/2019

     NAME
     (PRINT/TYPED )    Evangeline A.Z. Burbidge


JAMS Demand for Arbilralion l"orrn                                                                                    Page 4 of7
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                             Demand for Arbitration Form                                                          (continued)
                             Instructions for Submittal of Arbitration to JAMS

                          Completion of this section is required for all consumer or employment claims.

CONSUMER AND EMPLOYMENT ARBITRATION
Please indicate if this is a CONSUMER ARBITRATION. For purposes of this designation, and whether this case will be ad-
ministered in California or elsewhere, JAMS is guided by California Rules of Court Ethics Standards for Neutral Arbitrators,
Standard 2(d) and (e), as defined below, and the JAMS Consumer and Employment Minimum Standards of Procedural Fair-
ness:

              0     YES , this is a CONSUMER ARBITRATION.


              (Z] NO, this is not a CONSUMER ARBJTRATION.
"Consumer arbitration'' means an arbitration conducted under a pre-dispute arbitration provision contained in a contract that
meets the criteria listed in paragraphs (1) through (3) below. "Consumer arbitration" excludes arbitr ation proceedings conduct-
ed under or arising out of public or private sector labor-relations laws, regulations. charter provisions. ordinances, statutes, or
agreements.

              1.    The contract is with a consumer party, as defined in these standards;
              2.    The contract was drafted by or on behalf of the non-consumer party; and
              3.    The consumer party was required to accept the arbitration provision in the contract.

"Consumer party" is a parly lo an arbiLration agreement who, in the context of that arbitration agreemenl. is any of the follow-
ing:

              1.    An individual who seeks or acquires, including by lease, any goods or services primarily for personal, family, or
                    household purposes including, but not limited to. financial services, insurance, and other goods and services as
                    defined in section 1761 of the Civil Code;
              2.    An individual who is an enrollee, a subscriber, or i nsured i n a health -care service plan ,vithin the meaning of sec-
                    tion 1345 of the Health and Safety Code or health-care insurance plan within the meaning of section 106 of the
                    Insurance Code;
              3.    An individual with a medical malpractice claim that is subject to the arbitration agreement; or
              4.    An employee or an applicant for employment in a dispute arising out of or relating to the employee's employment
                    or the applicant's prospective employment that is subject to the arbitration agreement.

In addition, JAMS is guided by its Consumer Minimum Standards and Employment Minimum Standards when determining
whether a matter is a consumer matter.

If Respondent disagrees with the assertion of Claimant regarding whether this IS or IS NOT a CONSUMER ARBITRATION, Re-
spondent should communicate this objection in writing to the JAMS Case Manager and Claimant within seven (7) calendar
days of service of the Demand for Arbitration.




EMPLOYMENT MA,Eqs
If this is an EMPLOYMENT matter, Claimant must complete the following information:

Private arbi tration companies are required to co11ect and publish certain information at least quarterly, and make it available
to the public in a computer-searchable format. In employment cases, this includes lhe amount of the employee's annual wage.
The employee's name will not appear in the database, bur the employer's name will be published. Please check the applicable
box below:
               D    Less than $100,000     D   $100,000 to $250,000     D   More than $250,000      D   Decline to State




WAIVER             or ARBITRATION FEES
In certain states (e.g. California), the law provides that consumers (as defined above) with a gross monthly income of less
than 300% of the federal poverty guidelines are entitled to a waiver of the arbitration fees . In those cases. the respondent
must pay 100% of the fees. Consumers must submit a declaration under oath stating the consumer's monthly income and the
number of persons living in his or her household. Please contact JAMS at 1-800-352-5267 for further information. Note: this
requirement is not applicable in all states .



J/V...fS   Demand for Arbitralion l"orm                                                                                          Page 5 of7
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                           Demand for Arbitration Form                                   (continued)
                           Instructions for Submittal of Arbitration to JAMS

RESPOND ENT #2 (PARTY ON WHOM DEMAND FOR ARBITRATION IS MADE)
      RESPONDENT
      NAME


      ADDRESS



      CITY                                                                 STATt   ZIP



      PHONE                                  FU                            EMAIL


RESPONDENT'S REPRESENTATIVE OR ATTORNEY (IF KNOWN)
      REPR ESENTATIYE/ATTORNEY


      FIRM/
      COMPANY


      ADDRESS



      CITY                                                                 STATE   ZIP



      PHONE                                  FAX                           EMAIL




RESPONDENT #3              (PARTYON WHOM DEMAND FOR ARBITRATION IS MADE)
      RESPONDENT
      NAME


      ADDRESS



      CITY                                                                 STATE   ZIP



      PHONE                                  FAX                           EMAIL


RESPONDENT'S REPRESENTATIVE OR ATTORNEY (IF KNOWN)
      RE PR ESE NTATIVE/ATTOR HEY


      FIRM/
      COMPANY                                                                                      --

      ADDRESS



      CITY                                                                 STATE   ZIP



      PHONE                                  FAX                           EMAIL




JAMS Demand for Arbitration F'orm                                                                 Page 6 of7
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                          Demand for Arbitration Form                               (continued)
                          Instructions for Submittal of Arbitration to JAMS

CLAIMANT #2
      CLAIMANT
      NAME


      ADDRESS



      CITY                                                       SlATE        ZIP



      PHONE                              FAX                     EMAIL


CLAIMANT'S REPRESENTATIVE OR ATTORNEY (IF KNOWN)
     REPRESE NTAllVE/ATT ORN£Y


      FIRM/
      COMPANY


     ADDRESS



      CITY                                                       STATE        ZIP


     PHONE                               FAX                     EMAIL




CLAIMANT #3
     CLAIMANT
     NAME


     ADDRESS



      CITY                                                       STATE        ZIP


     PHONE                               FAX                     EMAIL


CLAIMANT'S REPRESENTATIVE OR ATTORNEY (IF KNOWN)
     REP RES EN TAT IVE/ATTORNEY


     FIRM/
     COMPANY


     ADDRESS



     CITY                                                        SlATE        ZIP



     PHONE                               FAX                     EMAIL




JAMS Demand for Arbitration Form                                                             Page 7 of7
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                       Exhibit A
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                                       TECHNOLOGY DEVELOPMENT AND
                                               LICENSE AGREEMENT

This Technology Development and License Agreement (the "Agreement") is effective as of the 1•1 day of June, 2017
(the "Effective Date") and is made this 20th day of October, 2018 by and among BYTON No1th America Corporation,
a Delaware corporation with offices at 4201 Burton Dl'ive, Santa Clara, California, 95054, on behalf of itself and its
Affiliates (collectively, "EYTON") m1d EDAG Engineering GmbH ("Supplier"), located at Kreuzberger Ring 40,
65205 Germany (BYTON and Supplier are individually a "Party" and collectively, "Patties").

                                                      WITNEESETH

        WHEREAS, EYTON is in the business of designing, developing, manufacturing, and deliveri ng electric
vehicles, which will be initially manufactured and sold in China, and thereafter in the United Stales, Eurnpe and other
countries, and requires certain services and support; and

       WHEREAS, Supplier is able to provide such services and support, and both EYTON and Supplier now desire
to memorialize the terms and conditions relating thereto;

        NOW, THEREFORE, in consideration of the mutual promises set forth herein, and for such other good and
valuable consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties agree as follows:

1.0 DEFINITIONS

When used herein, the following terms shall be defined as follows:

1.1 "Acceptance Requirements" means the Specifications, the acceptance criteria relative to the Deliverables, and the
plan and associated test environment against which BYTON will test conformance of the Deliverables in accordance
with the documents set forth in a Statement of Work or as otherwise agreed by the paities in writing.

1.2 "Affiliates" shall mean with respect to an entity, any other entity or person contrnlling, controlled by, or under
common control with, such entity. For purposes of the Agreement, "control" means possessing, directly or indirectly,
the power to direct or cause the direction of the management, policies or operations of an entity, whether through
ownership of voting securities, by contract or otherwise.

1.3 "Background Technology" means all Technology that (i) is owned or otherwise controlled by Supplier and (ii) is
either (1) in existence on or prior to the Effecti ve Date or (2) conceived, created, developed, reduced to practice or
made by or on behalf of Supplier after the Effective Date independently of the activities contemplated by this
Agreement.

1.4 "EYTON Product(s)" means any product(s) made by or for BYTON that incorporates or is distributed for use in
conjunction with the Deliverables or a portion thereof.

1.5 "Confidential Information" means information which if disclosed (i) in tangible form, is clearly marked as
"confidential" or "proprietary" at the time of disclosure, or (ii) in intangible form (such as orally or visually), the
disclosing Pa,t y clearly identifies as "confidential" or "proprietary" at the time of disclosure and summarizes in writing
and delivers to the receiving Party within thhiy (30) days of disclosure.

1.6 "Deliverables" means the specific deliverables which Supplier is to provide to EYTON under a Statement of Work
                                                          1/15                                    C._BY TON_EDAG_V10_20_18
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 471 of 611




 and such other Background Technology which Supplier provides to or makes available to BYTON in connection with
 a Statement of Work.

 1.7 "Derivative Matter" means any work or invention, new material, information or data which is based in whole or in
 part upon the Background Technology and Foreground Technology, (including, if applicable, any l3YTON Products)
 and any Intellectual Property Rights associated therewith, including m1y derivative work, improvement, extension,
 revision, modification, translation, abridgment, condensation, expansion, collection, cornpilalion, Error Correction, or
 any other form in which the Background Technology and Foreground Technology may be recast, transformed or
 adapted, including any changes thereto or that is an implementation of the functionality described in any Specifications
 or similar documentation developed by or for BYTON pursuant to this Agreement.

 1.8 "Documentation" means collectively the technical documentation, training malel'ia!s, support materials, and end-
 user documentation associated with the Deliverables.

1.9 "Error" means with respect to the Deliverables, a failure to meet the Acceptance Requirements, including any
defect or deficiency or failure to conform to the then-current functional, operational and performance Specifications
and Documenlalion. It is not an Error when the functional, operational and performance Specifications and
Documentation are met but the Specifications prove to be e1rnneous or dysfunctional or when target adjustments have
to be made during the development process.

 1.10 "Error Correction" means a modification, addition or procedure lo co!'l'ect an Error.

1.11 "Foreground Technology" means all Technology which is created, developed, or otherwise generated by Supplier
under this Agreement

I. 12 "Intellectual Property Rights" means worldwide conunon law and statutory rights associated with (i) patents and
patent applications; (ii) works of authorship, including mask work rights, copyrights, copyright applications, copyright
                          II
registrations and "moral rights; (iii) the protection of trade and industrial secrets and confidential information; (iv)
other proprietary rights relating to intangible intellectual property (specifically excluding trademarks, tradenames and
service marks); (v) analogous rights to those set forth above; and (vi) divisions, continuations, renewals, reissuances
and extensions of the foregoing (as applicable) now existing or hereafter filed, issued or acquired.

1.13 "Services" means any task performed, such as consultancy services, to complete the project in accordance with
the agreed responsibilities pursuant to a Statement of Work.

1.14 "Source Code" means program code in high-level computer language readable by humans skilled in the language,
and includes available related Documentation and tools, including comments, internal development tools and build
environments.

I. 15 "Specifications" means the functional, operational and performance requirements for the Deliverables.

J .16 "Statement of Work" means the development plan, including deliverables and associated milestones, and the
development schedule set forth in a written document. The Parties may enter into multiple individual Statements of
Work under this Agreement. Each Statement of Work entered into by the Parties shall be pa1t of the Agreement, as
defined.

1.17 "TechnologY.'..'_ means inventions, business, marketing, engineering, technical and manufacturing information,
know-how and materials, including technology, software, instrumentation, specifications, designs, devices, data,
compositions, formulas, , assays, reagents, constructs, compounds, discoveries, procedures, processes, practices,
                                                         2/15                                   C_BYTON_EDAG_ VI 0_20_18
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 protocols, methods, techniques, results of experimentation or testing, lmowledge, trade secrets, skill and experience, in
 e11ch case whether or not patentable or copyrightable; the foregoing may be in both tangible and intangible form.

 2.0 DEVELOPMENT

 2.1 Development Undertaking. Supplier will design, develop and create the Deliverables and perform all Services,
 conforming to the Acceptance Requirements and in accordance with the applicable Statement of Work created under
 this Agreement. For the avoidance of doubt, Supplier will not be an exclusive supplier of the services regarding the
 project as a whole, but only with respect to the agreed Deliverables and Services pursuant to this contract. EYTON
 carries the overall responsibility for the Project as a whole.
 Should the development process show that target adjustments are necessary in order to achieve the overall target of a
 fimctional vehicle fit for homologalion in the jurisdiction of the European Union, tbe United States of America and
 China, these target adjustments are not considered errnneous.

2.2 Obligations in Support of Development. To ensure the tlmely and satisfactmy completion of Supplier's
development work under the Statement of Work, Supplier will deploy tlu·oughout the development sufficient and
qualified personnel, equipment and other necessary resources to complete Supplier's development work. BYTON will
provide all necessary data and perform all duties in accordance with PPDP Gate Deliverables Full Checklist lo enable
Supplier's performance. For all of Supplier's development work and provision of Services, Supplier will manage,
supervise and provide direction to its Personnel and cause them to comply with the obligations and restrictions
applicable to Supplier under the Agreement. Supplier is responsible for the acts and omissions of Personnel under or
relating to each Agreement. Supplier may employ individual independent contractors as part of its workforce but shall
not be permitted to delegate or subcontract the performance ofits duties and obligations to any third party without the
prior written consent of BYTON. Supplier remains responsible for compliance with the terms and conditions of the
Agreement whether performed by Supplier or an authorized third party.

For Supplier personnel who are visiting and onsite at BYTON facilities, the additional obligations set forth in Section
13 below shall apply.

2.3 Status Reports. Supplier will provide to BYTON written engineering status reports, on an every-other-week basis
(or as requested basis) detailing the status of the development work described in the Statement of Work. Supplier shall
provide more frequent updates and status reports upon BYTON's request.

2.4 Change Requests. Some evolution of the Specifications and the Statement of Work based upon inleraction
 betv,een the Parties is expected and minor modifications which will not impact full compliance with the Statement of
Work (including milestones) or fees due under this Agreement may be mutually agreed to by the Patties and need not
 be achieved by a formal change mechanism. However, changes impacting full compliance with the Statement of Work
or foes payable are only valid if implemented in accordance with the following change request procedure. EYTON
may request any change to the Specifications or the Statement of Work by setting forth the proposed change in
reasonable detail in a writing (including email) submitted to Supplier ("Change Request"). Supplier shall respond in
writing to Change Requests within three (3) workdays of receipt, in each case, setting forth the expected effect of
incorporating the requested change, including, as appropriate, the impact on the Statement of Work and any additional
fees which Supplier would require in 01·der to make the requested change ("Change Response"). BYTON shall
respond promptly informing Supplier whether it agrees with Supplier's description of the anticipated impact and
additional terms, if any, proposed in the Change Response. Once an authorized representative of EYTON agrees in
writing to the terms and conditions outlined in the Change Response, Supplier shall promptly begin to implement the
agreed changes. In the light of the tight schedule, BYTON agrees to conunit to the new terms after the Change
Response within 48 hours. Should BYTON not agree within that timeframe, Supplier is entitled to perform service or
deliver/ conduct task as previously agreed. For the avoidance of doubt: Supplier may continue to work in accordance
                                                        3/ 15                                    C.•BYTON_EDAG_V I 0_20_1 8
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 with previous agreed terms during these 48 hours as time is of essence.

2.5 Enhanc~1ent~. BYTON, at its option, may request enhancements to the Deliverables by setting forth the proposed
change in reasonable detail (including email) submitted to Supplier ("Enhancement Request"). Supplier shall respond
in writing lo Enhancement Requests within ten (10) days of receipt, in each case, setting fo11h the expected effect of
incorporating the requested change, including, as apprnpl'iate, any additional fees which Supplier would require in
order to make the requested change ("Enhancement Request Response"). BYTON shall respond promptly within 48
hours, informing Supplier whether it agrees with Supplier's additional terms, if any, proposed in the Enhancement
Request Response. Once an authorized representative ofBYTON agrees in writing to the Enhancement Request
Response, Supplier shaJl promptly begin to implement the agreed changes. Tn the light of the tight schedule, BYTON
agrees to commit to the new terms after the Enhancement Response within 48 hours. Should BYTON not agree within
that time.frame, Supplier is entitled to pe1fonn service or deliver/ conduct task as previously agreed. For the avoidance
of doubt: Supplier may continue to work in accordance with previous agreed terms during these 48 homs as time is of
essence.

2.6 BYTON's and Supplier's Obligations. ln fl.1rtherance of this Agreement, BYTON and Supplier shall (a) cooperate
and work together in all matters relating to the services provided hereunder; (b) respond promptly to a Party's request
to provide direction, information, approvals, authorizations or decisions that are reasonably necessary for or related to
a Statement of Work in a timely manner.

3.0 TRANSFER AND DELIVERY

3.1 Background Teclrnology. lf required under a Statement of Work in accordance with l .5, Supplier will deliver to
BYTON the Background Technology (including without limitation Documentation thereto) within five (5) days if
feasible, or as otherwise agreed to by the parties if not feasible, after payment pursuant to the agreed payment
schedule.

3.2 Deliverables and the Developed Technology. Supplier will deliver to BYTON each Deliverable (including the
Foreground Technology therein and related Documentation), in the form(s) set fo1ih in a Statement of Work, not later
than the date set f011h therein for testing in accordance with the Acceptance Requirements. Tn addition, Supplier will
provide to B YTON such teclmical documentation as may be reasonably required to enable BYTON to install and test
each Deliverable as anticipated by the Acceptance Requirements.

3.3 DelID'.~· T™E IS OP THE ESSENCE. Supplier's delivery to BYTON of the Deliverables in accordance with this
Section 3.0 ("Transfer and Delivery") and Supplier's completion of all Deliverables, Foreground Technology and
Documentation thereto in accordance with the schedule set forth in the Statement of Work are key to the success of the
BYTON Product(s). EYTON will provide all necessary information and perfol'm all duties in a timely fashion to
enable Supplier performing in accordance wilh the master timing,

3.4 Means ofDelive1:y. All deliveries to EYTON shall be made DDP Destination (INCO Terms, 2010) and pursuant
to BYTON's written instructions with respect to form (physical or electronic) and location. For the delivery of any
physical items, taxes or duties, fees, charges, stamp taxes, etc. of any kind are borne by B YTON. Supplier agrees to
suppmt BYTON where possible and is entitled to charge these services in accordance with its offer.

4.0 TESTING AND ACCEPTANCE

4.1 Test Method. The Deliverables requiring machine execution will be tested in the test enviromnent described in the
Acceptance Requirements. The Foreground Technology and Deliverables not requiring machine execution will be
compared to the requirements of the Acceptance Requirements.

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 4.2 Acceptance Procedure.

     a. BYTON may, in BYTON's sole discretion, reject the Deliverables or any component thereof, if it contains any
        Error. BYTON will promptly notify Supplier in writing of BYTON's acceptance or rejection ("Error N otice").
        fn each Error Notice, BYTON will set forth, in reasonable detail, the reason for ihe rejection.

     b.      Upon rejection of the Deliverables, Supplier shall either (i) create and implement an Error Correction for
          each iclentificcl Error and resubmit the relevant portion of the Deliverable to BYTON for retesting within tluee
          (3) workdays of B YTON's Error Notice, or (ii) if it is impracticable to provide an Error Correction in such
          three (3) workday period, within three (3)workdays ofBYTON's Error Notice, provide to BYTON a written
          plan to correct tbe identified Error(s), including a schedule therefor ("Correction Plan").

  Failure of the Deliverables to pass BYTON's acceptance tests following implementation of Error Correction(s) as
  contemplated above, or failure of Supplier and BYTON to agree upon a Correction Plan within tlu·ee (3) clays after
  Supplier provides such Correction Plan to BYTON or Supplier's failure to fully comply with an agreed upon
· Correction Plan, will entitle EYTON, in BYTON's sole discretion, to (i) require Supplier to again undertake creation
  and implementation of an Error Correction for resubmission and testing pursuant to this Section; (ii) accept the
  relevant portion of the Deliverables and correct the Error itself offi;ctting its reasonable costs against any associated
  fees; (iii) accept the relevant portion of the Deliverables, reserving BYTON's rights lo require Supplier to correct the
  Error; or (iv) deem such event a material breach of this Agreement which cannot be cured, immediately terminate this
  Agreement in accordance with Section 9.2 {"I3reach and Termination"), and Supplier shall refund any fees that have
 been paid (for any noncompliant Deliverables) under the Statement of Work in Question for this particular item.

5.0 LICENSE GRANTS AND RESTRICTIONS

5.1 Supplier's License Grants and Restrictions.

    a. Background Technology License. Supplier hereby grants to BYTON, a royalty-free, folly paid up, non-
       exclusive, perpetual, in-evocable and worldwide license under Supplier's lntellectual Property Rights lo, in any
       fashion BYTON may choose (including, but not limited to, community source and/or open source licensing),
       (i) use, reproduce, modify, prepare Derivative Maller of, compile, publicly perform, publicly display,
       demonstrate, Background Technology and Derivative Matter thereof (including in Source Code or object code
       form) on any media or via any electronic or other method now known or later discovered; (ii) make, have
       made, use, sell, offer to sell, import and otherwise exploit the Background Technology and Derivative Matter
       thereof(including in Source Code or object code form) in any manner and on any media or via any electronic
       or other method now known or later discovered; (iii) disclose, distribute and otherwise exploit the Background
       Technology and Derivative Matter and (iv) sublicense the foregoing rights to third parties through multiple
       tiers of sublicensees or other licensing mechanisms at BYTON's option for Background Technology and
       Derivative Matters necessary for the Project.

    b. Third Party Licenses. Supplier shall not incorporate any third-patty materials, information or intellectual
       property, incl uding without limitation, any open source software (Source Code or object code form) made
       generally available to the public under open source licenses (collectively, "Third Party Materials") into any of
       the Deliverables unless Supplier has obtained for BYTON license rights consistent with the rights mentioned
       under Section 5. l (a) herein. Supplier shall identify and disclose to BYTON, all Third Party Materials to be
       incorporated into the Deliverables, prior to doi ng so, and the Parties shall discuss the same if necessary.

5.2 BYTON's License Grant and Restrictions.


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     a. License GrnnJ Subject to the terms and conditions of this Agreement, BYTON gmnts Supplier a personal,
        non-exclusive, non-transferable, limited license to internally use the Foreground Technology and prepare and
        use Derivative Maller thereo( solely for the purpose of performing maintenance and support services to
        BYTON in accordance with the terms of this Agreement.

     b. Restrictions. Supplier shall have no right to use the Foreground Teclmology for productive or commercial
        uses. Supplier may not sell, rent, loan or otherwise encumber or transfer the Foreground Technology, in whole
        or in part, to any third party. No right, title or interest in or to any trademark, service mark, logo or trade name
        of B YTON or its Suppliers is granted under this Agreement.

6.0 OWNERSHIP AND PROPRIETARY NOTICES

6.1 Background Technology. Supplier asse1is that Supplier and/or Supplier's suppliers own the Background
Technology and associated Tntellectual Property Rights or owns the proper non-exclusive licenses. BYTON agrees
that, to the extent Supplier owns the Background Technology and associated Intellectual Property Rights, Supplier will
retain such ownership. Except as expressly stated in this Agreement, nothing herein shall be deemed a transfer or
license by BYTON ofany Intellectual Properly Rights that EYTON may now possess or acquire in the future which
may cover any aspect of the Deliverables.

6.2 Deliverables; Foreground Technology.

a.   Foreground Technology; Deliverables. BYTON retains all right, title and interest in and to: (i) the BYTON
     Products; (ii) Deliverables except to the extent such Deliverables constitutes Background Technology; and (iii)
     Foreground Technology.

b.    Assignment of Rights. Subject to Supplier's underlying Intellectual Property Rights in the Background
     Technology and in exchange for the fees set forth in section 4 of SOW, Supplier shall and does hereby assign to
      BYTON, Supplier's entire right, title and interest in and to the Deliverables created for BYTON, the Foreground
     Technology, and all associated Intellectual Prope11y Rights therein. The Parties hereby agree that all development
     work pe1forrned by Supplier hereunder shall be deemed works made for hire. Defore any employee or contractor
     of Supplier C'Pers01mel") performs development work hereunder, such Personnel and Supplier must enter into a
     written agreement expressly for the benefit ofBYTON and containing provisions substantially equivalent to this
     Section 6.2 ("Deliverables; Foreground Technology") and Section 10 ("Confidential Information") or enter into an
     agreement as close as legally possible to it under the laws of the country in which task is performed. Supplier (i)
     may only use the Foreground Teclmology in accordance with Section 5.2 ("BYTON's License Grant and
     Restrictions"), and (ii) agrees not to challenge the validity ofBYTON's ownership in the Foreground Technology.
     In addition, BYTON shall own all Derivative Matter and associated Intellectual Property Rights. EYTON may
     register the copyright in the Deliverables and Foreground Technology in its own name, identifying Supplier's
     interest in the Background Technology as required by applicable Copyright Office rules and regulations.

c.   Cooperation in Perfecting Rights. Supplier agrees to cooperate with BYTON and cause Supplier's employees to
     cooperate with BYTON and to perform all acts, at BYTON's request on reasonable notice, as reasonably
     necessary to facilitate the preparation, filing, prosecution and enforcement oflhe Intellectual Property Rights
     associated with the Deliverables and Foreground Technology. In addition, Supplier shall, upon B YTON's request
     and at BYTON's costs, enter into any assignments, waivers or licenses of the Deliverables, Foreground
     Technology or the Intellectual Property Rights related to any of the foregoing as BYTON deems necessary and
     appropriate. In the event that B YTON is unable for any reason to secure Supplier's signature to any document
     required to apply for or execute any patent, copyright, trademark registration or other application with respect to
     the Deliverables and Foreground Technology, Supplier hereby irrevocably designates and appoints BYTON and
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     its duly authorized officers and agents as Supplier's agents and attorneys-in-fact to act for and on Supplier's behalf
     and instead of Supplier, to execute and file any such application and to do all other lawfully permitted acts to
     further the prosecution and issuance of patents, copyrights, trademarks or other rights thereon with the same legal
     force and effect as if executed by Supplier.

6.3 Moral Rights. Supplier agrees that with respect to any "moral" or equivalent rights (including, without limitation,
rights of attribution, integrity, disclosure, and withdrawal) Supplier hereby: (i) assigns such rights to EYTON as
described above, (ii) waives such rights and (iii) agrees and covenants never to assert, either during or following the
term of this Agreement, such rights or to institute or maintain any action against BYTON relative to any such rights in
the Foreground Technology or Derivative Matter. To the extent that such rights carmot be assigned or waived by
operation of law, Supplier grants to BYTON, a royalty-free, fully paid-up, perpetual, irrevocable and worldwide
license to fully exercise all such rights, with rights to sublicense through multiple levels ofsublicensees and forther,
Supplier consents to 13YTON's use sufficient to allow BYTON to exercise the rights granted in this Agreement.

7.0 PAYMENTS, INSURANCE AND ACCOUNTING

7.1 Fees. BYTON shall pay Supplier the fees set forth in Section 4 in SOW accordance with the schedule and
requirements set fo1th therein and, in the case of fees due in connection with the Deliverables, upon acceptance of
Deliverable by BYTON in accordance with Section 4.2 ("Acceptance Procedure"). Pol lowing such acceptance,
Supplier shall provide a correct invoice to BYTON, and such invoice will be due, in Euro, within either sixty (60) days
following BYTON's receipt of such rnvoice. BYTON sent per the agreed payment schedule highlighted in the
Statement Work lo this Agreement.

7.2 Taxes. All prices quoted by Supplier are exclusive of any taxes. Supplier shall include on its invoices the actual
taxes payable for the services provided to BYTON. However, Supplier shall pay all taxes, levies or duties associated
with fees and royalties payable by BYTON hereunder, whether based on gross revenue or otherwise; and any business,
occupational or similar taxes relating to its general business activities. Supplier shall also be responsible for all
employer related tax.es relating to its Personnel including employee taxes, workers compensation, and unemployment
insurance.

7 .3 Insurance. Supplier will be insured pursuant to laws in Germany and provide a copy of the ce1tificate of insurance
and will maintain such insurance for the time of the Agreement.

8.0 MAINTENANCE AND SUPPORT SERVICES

8. 1 Supplier shall provide to BYTON the maintenance and suppmt services, as set forth in a Statement of Work, or if
thereafter subsequently requested by BYTON as subsequently, mutually agreed by the parties.

9.0 TERM AND TERMINATION

9.1 Jenn of Agreement. The tenn of this Agreement begins on the Effective Date and continues for a period of seven
(7) years (but in no event earlier than the expiration or earlier termination of the last Statement of Work created
hereunder), unless this Agreement is earlier terminated sooner in accordance herewith.

9.2 Breach and Termination. If either Party fails to comply with any material tenn of this Agreement, the other Party
may terminate this Agreement following thirty (30) clays' written notice Lo the breaching Party specifying any such
breach unless, within the period of such notice, all breaches specified therein arc remedied. If the breach is one which,
by its nature, cannot be fully remedied in thirty (30) days, the Patties shall cooperate to prepare a mutually acceptable
plan to cure the breach within such thirly (30) day period and then pursuant to which, the breaching Party shall
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undertake reasonable, diligent and good faith efforts to promptly remedy tbe breach. lfthc Parties are unable to agree
upon a plan to remedy the breach within such thirty (30) day period, the non-breaching Party may terminate this
Agreement. Jf, after the Parties have agreed upon a remedial plan, the breaching Party fails to comply with such plan,
the non-breaching Party may therearler tenninatc this Agreement effective on written notice. Notwithstanding
anythrng to the contrary herein, BYTON may immediately terminate this Ag1·ee111ent, without a cure period, if Supplier
fails to comply with any of its obligations under Sections 3.3 ("Delays") or 4.2 ("Acceptance P rocedure").

9.3 Supplier's Insolvency. In the event Supplier becomes insolvent, enters into voluntary or involuntary banl<rnptcy,
ceases to conduct business or assigns its interests in this Ag!'eement to a third party creditor, (i) BYTON may
immediately terminate this Agreement; or (ii) BYTON may (a) continue to exercise the license rights granted to
BYTON hereunder, and (b) reserve all rrghts in the Background Technology and related materials to protect BYTON's
interests therein pursuant to Section 365(n) (and any amendment thereto) of the U.S. Bankruptcy Code, or equivalent
legislation in other applicable jmisdictions. The parties acknowledge that the Background Technology and
Foreground Technology are "intellectual property" for purposes of Section 365(n) of the U.S. Bankruptcy Code and
that B YTON will have the right to exercise all rights provided by Section 365(n) with respect to the Background
Technology and Foreground Technology. Tn the event that the Supplier materially breaches any provision under this
Agreement, BYTON will have the right to require the delivery by Supplie1· (or in the event of a filing of bankruptcy by
or against Supplier, by the trustee) to BYTON of all Background Technology and Deliverables (including all
embodiments thereof).

9.4 I3YTON Tennination. BYTON, at BYTON's sole option, prior to acceptance of the final deliverable, shall be
permitted to terminate this Agreement, a Statement of Work or any part thereof, without cause upon 30 (30) clays prior
written notice to Supplier. In such an event, BYTON shall pay the applicable fees tlu-ough the next milestone following
notice of such termination or as otherwise agreed between the Parties. if B YTON terminates this Agreement or a
Statement of Work (in whole or in part) pursuant to this Section 9.4, then the Parties shall promptly discuss what
transition of work, if any, may occur, the plans for accomplishing such, and the proposed timetable, among other
things ("Transition Plan"), which will include a transition period for employees of the Supplier allocated for on this
project. Based on BYTON's plans and objectives and under consideration of Supplier's allocations with respect to
this Agreement, the Parties shall cooperate and mutually agree on a Transition Plan, which shall be completed within
sixty (60) days after the Pat1ies reach agreement.

9.5 Effect of Termination or Expiration. Neither party will be liable for any damages arising out of the expiration of
this Agreement Termination as a result of a breach of this Agreement will not affect any right to recover damages
sustained by reason of breach; or any payments which may be owing in respect of this Agreement. Subject to Supplier
making best effmts to mitigate any costs and payments, Supplier is entitled to all payments in accordance with agreed
payment plans/fee schedule for already initiated work at the time Supplier received the notice from BYTON to
tenninate for convenience. This includes payments for costs incurred with respect to subsequent milestones (such as
e.g. visa fees, contrachial obligations to employees traveling abroad, testing facilities rented, etc.).

9.6 Survival. Sections LO ("Definitions"), 3.0 ("Transfer and Delivery"), 5.1 ("Supplier's License Grants and
Restrictions"), 5.2(b) ("Restrictions"), 6.0 ("Ownership and Proprietary Notices"), 8.0 ("Maintenance and Suppo1t
Services"), 9.0 ("Term and Termination"), I 0.0 ("Confidential Infonnation"), 11.0 ("Warranties and Disclaimer of
Warranty"), 12.0 ("hldemnification"), and 13.0 ("Miscellaneous") of this Agreement shall survive any termination or
expiration of the Agreement.

10.0 CONFIDENTIAL INFORMATION

10.1 Obligation. Except as provided in this Agreement, neither Party may use, reproduce, distribute or disclose
Confidential Infonnation it receives from the other Party under this Agreement, without the prior written authorization
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of the disclosing Party. Each Party must hold in confidence Confidential Information received from the other Party
and musl protect the confidentiality thereof with the same degree of care that it exercises with respect to its own
information of like importance, but 111 no event less than reasonable care, during the term of this Agreement and for a
period of lhree (3) years after the expiration or earlier termination of this Agreement. Neither Party shall be liable for
any inadvertent or unauthorized disclosure of Confidential lnformation, provided that it exerdses at least the standard
of care set forth above to prevent disclosure and takes reasonable steps to mitigate any damage and prevent fu1ther
disclosure. For purposes of this Section, use, reproduction, distribution or disclosure by BYTON of the Background
Technology or Foreground Technology thereof under a community source or open source licensing model, pursuant to
the license granted by Supplier herein, will not be a breach ofthis Agreement,

10.2 Exceptions. Section 10.1 ("Obligation") does nol apply lo any porlion of the Confidential Information which the
receiving Parly can demonstrate:

    a.   is now, or hereafter becomes, through no act or failure to act on the part of1he receiving Patty, generally
         known in the automobile industry;

    b. was possessed by the receiving Party without an obligation of confidentiality at the lime of receiving such
       Confidential Information;

    c.   is rightfully obtained by the receiving Party without restriction on disclosure; or

    d. is independently developed by the receiving Party not in breach of this Agreement.

l 0.3 Employee Access. Each Pa1ty must inform its employees and contractors having access to the other Party's
Confidential Tnformation ofrestrictions under this Agreement and shall contractually require such contractors to
comply with the requirements of this Section 10.0 ("Confidential Information") and Section 6.0 ("Ownership and
Proprietary Notices").

10.4 Legally Compelled Disclosme. 1n the event that either Party is requested or becomes legally compelled
(including without limitation, pursuant to securities laws and regulations) to disclose the existence or any of the tenns
of this Agreement, in contravention of the provisions of this Section l 0, such Party (the "Disclosing Party") shall
provide the other Party (the "Non-Disclosing Party") with prompt written notice ofthat fact before such disclosure and
will use reasonable effo1is to fully cooperate with the Non-Disclosing Pmty to seek a protective order, confidential
treatment, or other appropriate remedy with respect to the disclosure. In the case of disclosure in connection with rules
or regulations of any entity regulating securities ("SEC"), if confidential treatment is requested by the Non-Disclosing
Party, the Disclosing Party agrees to use reasonable efforts to file such a request on the Non-Disclosing Party's behalf
and to respond to any SEC comments to pursue assurance that confidential treatment will be granted, in both cases
ft.illy informing the Non-Disclosing Party of any such comments and cooperating with the reasonable requests of the
Non-Disclosing Party.

10.5 lndependent Development. Each Patty understands thal the other Party may develop or receive information
similar to the Confidential Information. Subject to copyrights and patent rights of each Pa1ty, (i) either Party may
develop or acquire technology or products, for itself or others, that are similar to or competitive with the teclmology or
products of the disclosing Party, and (ii) each Pa1ty is free to use and disclose information which may be retained in
the unaided memory of the receiving Party's employees or contractors who have had access to the Confidential
Information of the other Party disclosed hereunder.

10.6 Publicity. Neither Party shall disclose the existence or the terms and conditions of this Agreement to any third
Party, except as may be required (i) to implement or enforce the terms ofthis Agreement; or (ii) by an existing or
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potential investo1·, acquiring company, bank or other financial institution, under appropriate non-disclosure terms in
connection with a merger, acquisition, financing, loan agreement or similar corporate transaction. Supplier shall not,
without fil'sl obtaining the prior written consent ofBYTON, announce this Agreement. Once the written consent is
obtained, Supplier may mention 13YTON publicly as reference.

11.0 WARRANTIES AND DISCLAIMER OF WARRANTY

11. l Ownership. Supplier represents and warrants that (i) the Background Teclmology, Foreground Technology and
Deliverables will not infringe or misappropriate any Intellectual .Property Rights or trademarks of any third Party; (ii)
Supplier has the right and power to enter into this Agreement and grant the assignment and the licenses set forth
herein; (iii) the Deliverables will be free from defects in design, material and workmanship and in accordance with the
Specifications agreed upon by the parties; (iv) the Deliverables will conform to all applicable laws of the United
States, European Union, and China, including those applicable to the design and engineering ofvchiclcs in such
countries and regions to achieve homologalion; (v) and all services provided will be provided in a professional and
workmanlike manner, using qualified personnel with appropriate training, education and experience to perform the
services as required hereunder.

11.2 Conformance. Supplier represents and warrants that following the date of acceptance, the Background
Technology, Foreground Teclmology and Deliverables will continue to conform lo the Acceptance Requirements
without degradation.

11.3 Virus. Supplier represents and warrnnts that the Background Technology, Foreground Technology and
Deliverables and associated media contain no computer instructions designed to (i) disrupt, damage or interfere with
use of computer or telecommunications equipment or facilities, or (ii) disrupt or corrupt tbe use, operation or results of
any computer program to the (technical) extent it can be reasonably expected.

11.4 Additional Remedies. in the event of a material breach by Supplier of any representation or warranty herein,
BYTON shall have, in addition to and without limitation of any other right or remedy available to BYTON at law or in
equity, the right, in BYTON's sole discretion, to take any and all actions reasonably necessaiy to mitigate BYTON's
damages and/or any damages to BYTON's customers arising from such breach, including but not limited to: (i)
modifying any form of the Background Technology, Foreground Technology and Deliverables; (ii) requiring Supplier
to fix any necessary form of the Background Technology, Foreground Technology and Deliverables; (iii) contracting
with others to modify any necessary form ofLhe Background Technology, Foreground Technology and Deliverables;
and (iv) distributing to BYTON's customers any such modification, up to an amount equal to greater of: a.
EUR15,000,000.00; orb, amounts payable under insurance coverage available to Supplier. Any additional insurance
requests by BYTON will be charged to EYTON. This includes BYTON's right to charge to Supplier and Supplier
shall be obligated to pay to BYTON all direct costs and expenses, excluding legal fees of any kind, incurred by
BYTON in c01mection with any such mitigation effoiis.

11.5 Disclaimer. EXCEPT AS PROVIDED lN THIS AGREEMENT, ALL EXPRESS OR IMPLIED COND1TIONS,
REPRESENTATfONS AND WARRANTrES lNCLUDTNG, BUT NOT LIMITED TO, ANY WARRANTIES OF
DESIGN, MERCHANTABTLITY, SATISFACTORY QUALITY, FITNESS FOR A PARTICULAR PURPOSE OR
NON-INFRINGEMENT, ARE DISCLAlMED, EXCEPT TO THE EXTENT THAT SUCH DISCLAIMERS ARE
HELD TO BE LEGALLY INVALID.

12.0 INDEMNIFICATION

12. l Obligation to Indemnify.


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 a.     Supplier's Obligation to lndemnify BYTON. Supplier will indemnify, defend and hold harmless BYTON from
       and against any and all claims, clemands, or actions ("Claims"), and all liabililies, settlements, costs, damages and
       fees (including reasonable altorneys' fees and costs) ("Losses") incurred or suffered by BYTON arising out of any
       Claim which arises from: (a) any gross negligent or intentional acl or omission of Supplier or its employees,
       agents or representatives in providing the services under a Statement of Work; (b) Supplier's breach of its
       obligations under the Agreement; (c) any Claim by or on behalf of Supplier Personnel and their family and
       relatives against l3YTON arising out of the services performed by Supplier Personnel under the Agreement unless
       they are related to local, hazardous work conditions at a BYTON facility; (cl) a Claim that Background
       Technology, Foreground Teclmology or Deliverable provided by Supplier hereunder infringes or misappropriates
       the Intellectual Property Rights ofunaffil.iated third party, Supplier is not responsible for background technology,
       foreground technology or deliverables provided by BYTON for the purpose of this Agreement.

 b.     ln the event of any third person or Governmental Body claim ("Third Patty Claim"), action or suit against
        BYTON as to which BYTON seeks indemnification against Supplier hereunder, and BYTON fails to notify
       Supplier within a reasonable timeframe of the claim or acknowledges its obligation in writing and elects to
       defend against, wmpromise, or, settle any Third Parly Claim which relates to any Losses indemnified by this
       agreement without sceldng permission of Supplier beforehand, EYTON accepts to be solely liable for all claims,
       losses, expenses including legal expenses regardless of actual liability for this claim. Neither Party shall, without
       the written consent of the other party, settle or compromise any Third Party Claim or consent to entry of any
       judgment unless the claimant or claimants and such patty provide to such other party an unqualified release from
       all liability in respect of the Third Party Claim.

12.2 Remedies. Should the Deliverables become, or in Supplier's reasonable opinion be likely to become, the subject
of a claim of infringement or misappropriation of any Intell ectua I Property Rights in accordance with 12.l, Supplier
shall, at its sole expense, either (i) procure for BYTON the right to continue to use the Deliverables, or (ii) replace or
modify the Deliverables to make it non-infi"inging, provided that the same functions arc performed by the replaced or
modified Deliverables.

13.0 SUPPLIER PERSONNEL

13.1      General Requirements for Supplier Personnel.

a.     Supplier will manage, supervise and provide direction to its Personnel and cause them to comply with the
       obligations and restrictions applicable to Supplier under the Agreement. Supplier is responsible for the acts and
       omissions of Personnel under or relating to each Agreement. Supplier is responsible for validating the identity of
       ancl ensuring that Personnel assigned to perform Services (i) have the legal right to work in the country(ies) in
       which they are assigned to work, and (ii) be subject and conform to all applicable BYTON policies, rules and
       procedures with respect to personal and professional conduct (including the wearing of an identification badge;
       use of computer systems; and adhering to general safety, dress, behavior, and security practices).

b.     Supplier is the employer of the Personnel and shall be responsible for all compensation and benefits payable to
       them; Personnel are not employees ofBYTON and are not entitled to any compensation or benefits which are
       provided to its employees, including without limitation health insurance; paid vacation; sick leave; or retirement
       benefits. Supplier shall also be responsible for complying with all tax laws applicable to Personnel, including
       withholding taxes for all compensation payable; and for complying with all applicable labor and employment
       requirements including worker's compensation insurance requirements, and immigration and work visa
       requirements.

 13.2   Key Supplier Positions. "Key Supplier Positions" means those positions designated as such in the applicable
SOW. Supplier will cause each of the Supplier Personnel filling the Key Supplier Positions to devote substantially foll
time and effotito the provision of the Services during the period of assignment.

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13.3 ARJ)roval and Removal of Supplier .Personnel. BYTON may approve all Persotmcl assigned to perform
Services, and may require Supplier to replace any Personnel whose performance, in BYTON's reasonable judgment,
has been unsatisfactory.

14.0 MISCELLANEOUS

14.1 Force Majeure. Neither Parly shall be liable for any failure or delay in performance of lhis Agreement a. to the
extent the failme or delay is caused by fire, flood, earthquake or other acts of God or nature; civil disorder, war, riots;
or any other similar cause or event beyond the reasonable control of a party; and b. provided the non-performing Party
is without fault in causing such failure or delay, and ii could not have been prevented by reasonable precautions 01·
other alternative means. If the foregoing failures or delays occur which prevent performance of a Party's obligations
under this Agreement, the affected Patiy shall promptly discuss the impact of such failure or delay, the period of time
such may continue for, and the plans for a work around solution, among other things; the affected Party shall update
the non-affected Party and keep them apprised of the situation. The affected Party's obligations of the Parties shall be
suspended for so long as the events mean that performance of the agreement is impossible. lfthe failure or delay
continues for more than twenty (20) woJ'k days, then the non-affected Party may terminate the specific SOW under this
Agreement.

14.2 Severability. Tn the event that any part of this Agreement is found to be unenforceable, the remainder shall
continue in effect, to the extent permissible by law and consistent with the intent of the parties as of the Effective Date
of this Agreement.

14.3 Relationship of the Parties. This Agreement does not create a partnership, franchise, joint venture, agency, or
fiduciary or employment relationship. Neither Parly may bind the other Party by contract or otherwise to any
obligation or act in a manner which expresses or implies a relationship other than that of independent contractor.

14.4 Governing Law.
a. Disputes: Governing Law & amicable settlement. If there is a dispute between the Paities which cannot be
     resolved through good faith negotiations, then a Party may request escalation to discussions with senior
     management of both Parties. Within five (5) days of a Party's request, a meeting or telephone call shall be held
     with such senior management in an attempt to resolve such dispute. Tfthe Pmiies cannot resolve such dispute
     within a reasonable time period, then the Parties 1·etain all rights hereunder, including pursuing arbitration as
     below slated. Any action related to this Agreement will be governed by the laws of the State of California (except
     that body of law controlling conflict of laws) and the United Nations Convention on the International Sale of
     Goods will not apply).

b.   Arbitration. Any dispute between the Parties that is not resolved through negotiation will be resolved exclusively
     by final and binding arbitration conducted in accordance with the then-current Comprehensive Arbitration Rules
     & Procedures ofthe Judicial Arbitration and Mediation Services ("JAMS"). The arbitration will be conducted by
     a single arbitrator selected by agreement ofthe Pa1ties or, if the Parties cannot agree, an arbitrator appointed in
     accordance with the JAMS rules who shall be experienced in the type of dispute at issue. The Parties, their
     representatives, the arbitrator, and other participants shall keep confidential the existence, content, and result of
     the arbitration. Any demand for arbitration and any counterclaim must specify in reasonable detail the facts and
     legal grounds forming the basis for the claimant's claims and include a statement of the total amount of damages
     claimed, if any, and any other remedy sought by the claimant The arbitration will be conductect in the English
     language; the location of such arbitration shall be in San Francisco, California. Each Pmty will bear its own costs
     in the arbitration, The arbitrator will have full power and authority to determine issues ofarbitrability and to
     interpret or construe the provisions of the agreement documents and to fashion appropriate remedies (including
     temporary, preliminary, interim, or permanent injunctive relief); provided thal the arbitrator will not have any
     right or authority: ( l) in excess of the authority that a comi having jurisdiction over the Parties and the dispute
     would have absent this arbitration agreement; (2) to award damages in excess of the types and limitation of
                                                         12/]5                                    C_BYTON_EDAG_V10_20_18
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     damages found in the Agreement; or (3) to modify the terms of this Agreement. The arbitrator shall issue an
     award within 30 days after completion of the hearing and any post-hearing briefing. The award must be in writing
     and must state the reasoning on which the award is based. Judgment upon the award may be entered in any court
     of competent jurisdiction. Notwithstanding the agreement to arbitrnte, each Party may apply at any time to a court
     of competent j ul'isdiction for appropriate injunctive relief or for other interim or conservatory measures, and by
     doing so will not breach 01· waive the agreement to arbitrate or impair the powers of the arbitrator.

14.5 Import and Export Laws. The Background Technology, Foreground Teclmology and Deliverables, including
without limitation, technical data, may be subject to U.S. export controls or to expoit or import regulations of other
countries. The Parties agree to comply with all such regulations and acknowledge that they have the responsibility to
obtain such licenses to export, re-expott or import the Background Technology, Foreground Technology and
Deliverables as may be required.

l4.6 Notices. All notices required hereunder must be in writing, sent to the Party's address set forth below and receipt
must be confirmed. Notices required with respect to Sections 9.0 ("Tenn and Termination") and 12.0
("Indemnification") must be provided by express courier.

BYTON:

B YTON North America Corporation
4201 Brnton Drive
Santa Clara, California, 95054

Attn: General Counsel

Supplier:
Supplier's Name:      EDAG Engineering GmbH
Supplier's Address:   Kreuzberger Ring 40
                      65205 Wiesbaden
                      Gennany


14.7 No Exclusive Remedy. Unless specifically designated, nothing in this Agreement shall be construed as an
exclusive remedy.

14.8 Counterparts. This Agreement may be executed in counterparts, each of which will be deemed an original, and
all of which will constitute one agreement.

14.9 Construction; Order ofPrecedence. This Agreement has been negotiated by the pa11ies and their respective
counsel. This Agreement will be interpreted without any strict construction in favor of or against either Party. The
original of this Agreement has been written in English, and such version shall be the governing version of the
Agreement. To the extent pennitted under applicable law, Supplier waives any right it may have, if any, under any law
or regulation to have this Agreement written in a language other than English. In the event of a conflict between this
Agreement and any other document that references this Agreement, the order of precedence shall be: (i) the most
recent written document signed by the Parties amending the subject Statement of Work; (ii) the Statement of Work;
(iii) any other exhibits or attachments to, or documents referenced by the Statement of Work; and (iv) this Agreement.

14.10 Amendment and Waiver. Unless otherwise provided herein, this Agreement may not be modified unless in
writing and signed by an authorized representative of each Pm1y. Any express waiver or failure to exercise promptly
any right under this Agreement will not create a continuing waiver or any expectation of non-enforcement.
                                                        13/15                                  C_8YTON_EDAG_Vl0_20_18
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 14.1 l Assignment. Neither .Party may assign or otherwise transfor any of its 1·ights or obligations under this
 Agreement (whether by operation of law, merger, change of conlrol, or otherwise), without the prior written con1;ent of
 the olhet· Party, (i) lo an Affiliate, or (ii) in the event of a merger, acquisition or sale of all or substantially all of the
 assets of a Patty or a business unit. Any assignment or transfer in breach of this Section shall be void.

 14. l 2 No Rights in Third Parties. This Agreement is made for the benefit of the Parties and not for the benefit of any
 third party.

14.13 Entire Agreement. Tl1is Agreement, including all Attachments hereto, constitutes the Parties' entire agreement
with respect to its subject matter, and supersedes and replaces all prior or contemporaneous understandings or
agreements, writlen or oral, regarding such subject matter. No term:, in any Supplier or BYTON documents (including
purchase orders, acknowledgments, emails, or documents incorporated by reference (including but not limited lo
EDAG's or BYTON's General Terms and Conditions) which vary from, add to, modif'.y or eliminate any terms herein,
arc expressly rejected and arc not parl of this Agreement or any Statement of Work.

        IN W1TNESS WHEREOF, the Parties have caused this Agreement to be signed by their duly authorized
represcntati ves.

BYTON NORTH AMERICA CORPORATION                                     EDAG Engineering GmbH



By~::,~·-                                                           By:


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                                                                                     ATTACHMENT 1
                                                                                 STATEMENT OF WORK No.1

      I) Jntroduction. This Statement of Work ("SOW") is issued under the Technology Development and License
         Agreement by and between BYTON and Supplier. The term of th.is SOW shall be from June Pt, 2017 ("SOW
         Effective Date") until terminated by either Parly pursuant to section 9.0 of this Agreement.

      2) Scope and nature of development work to be performeg,

                             0              EDAG_ 19161 0D000_project Description FMC_ SAV_ CTC-PS (Exhibit A)
                             0              RFQ for CTC Gateway to SOP plus 90 days (Exhibit B)
                             0              Timing Overview for RFQ 20170706 (Exhibit C)
                             °              FPDP_Gate_Deliverables_Full_Checklisl 2017070 I (Exhibit D)

      3) Description of Deliverables.

                             0              EDAG_l9610D000_project Description_BYTON_SAV_CTC-PS
                             o              R.FQ for CTC Gateway to SOP plus 90 days
                             o              Timing Overview for RFQ 20170706
                             °              FPDP_ Gate_Deliverables_Full_Check! ist 2017070 l

    4) Development fees and Charges.

                             •              Per page 74 of the 196 l 0D000 Project Description
                             o              Travel will be bi !led at cost+ 6%

    5) Schedule for Development and Deliverables. Supplier shall perform the following development work and
       deliver the following deliverables by the dates set forth below.

                            o               Per EDAG_ 1961 0D000_Project Descriplion_BYTON_ SAV_ CTC-PS
                            •               Per the following PO's agreed to by the Parties:

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     6) Acceptance Criteria and Acceptance Test Plan for the Foreground Technology and Deliverables .

                 .,      As agreed between the parties in the Proposal or otherwise as agreed in writing.

BYTON NORTH AMERICA CORPORATION




Name:      7>A\/ I .l) ·r::wo H f C-                                Name:     Co~),·1,'-"0      Y(?_ Ca.1.,..(0
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                       Exhibit B
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r::J
j__)   B'r TO N

                                                                       BYTON North America Corporation
                                                                                     4201 Burton Drive
                                                                                  Santa Clara, CA 95054

                                                                                              July 28, 2019
        To:
        EDAG Engineering GmbH
        Att. Mr. Holger Merz
        Kreuzberger Ring 40
        65205 Wiesbaden
        Germany

        Via Email to: holger.merz@edag.com



        Letter of Confirmation

        Dear Mr. Merz:

        Byton North America Corporation, Inc. (''Byton") herewith confirms the maturity and legality of
        the (over-) due receivables as attached hereto.

        Byton herewith confirms that these dues are to be paid in full as soon as the "bridging loan" is
        accomplished and the funds have been received by Byton. Byton confirms it will fulfill this
        payment amounting to EUR 19,779,825.21 (overdues until August 17th, 2019, interests included)
        before other creditors are paid . Byton plans on fulfilling this payment latest August 18th, 2019.




        Best regards,


                                                   7on1~A.J~
        Teresa Shi                                   Tom Wessner
        Vice president of Finance                    Senior Vice President Global Supply Chain



        Attachment: Overdues to EDAG Enginee ring GmbH
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                       Exhibit C
3   Case 3:21-cv-04736-EMC
    BYTON                           Document 143-1 Filed 03/22/22 Page 489 of 611




    To:
    EDAG Engineering GmbH
    Att. Mr. Cosimo De Carlo
    Kreuzberger Ring 40
    65205 Wiesbaden
    Germany

    Via Email to: cosimo.de.carlo@edag.com
                                                                          Santa Clara, August 26, 2019

    Payment Plan Confirmation

    Dear Mr. De Carlo,

    Thank you for taking the time to discuss our payment plan and investment status with me today.
    Below is a record of what we discussed:

       1.) Byton and FAW have signed C-round SPA (share purchasing agreement) today. FAW's
           new investment in Byton is 150M USD.

       2.) Byton is also in advanced stage of finalizing agreements with other C-round investors,
           including Jiangsu provincial government, Nanjing city government, and some other co-
           investors. We will close C-round for more than 400M USD in total.

       3.) The money will hit Byton account in the second half of September.


    I also look forward to meeting you at the IAA in Frankfurt and staying in close contact on these
    matters.


    Best regards


    __________________________
    Dr. Daniel Kirchert
    Chief Executive Officer, Byton
r:::J
j_)     BYTON
        Case 3:21-cv-04736-EMC           Document 143-1 Filed 03/22/22 Page 490 of 611




        To:
        EDAG Engineering GmbH
        Att. Mr. Helger M erz
        Kreuzberger Ring 40
        65205 Wiesbaden
        Germany

        Via Email to: holger.merz@edag.com
                                                                                 Sant a Cla ra, August 23, 2019

        Payment Plan Confirmation


        Dear Mr. Merz,
        Byto n North America Corporation, Inc. (" Byton" ) herewith confirms t he attached payment plan.
        Basis for the payment plan is t he signed letter of confirmation abo ut the maturity and legality of
        the (over-) d ue receivables from July 28, 2019.

        Payment Plan:

        Payment Date                          EUR                 USO
        Sep 20th                     1,769,911.50        2,000,000.00
        Oct 4t h                     5,309,734.51        6,000,000.00
        Oct 18th                    12,700,179.19       14,351,202.49
        Total                      19,779,825.21        22,351,202.49

        Byto n com mit s to do everything in its power to pay whatever more it can pr ior t o t hese dat es;
        but for plan ning purposes, this is t he most-likely proposal.



        Best r egards




        Dr . Daniel Kirchert                           Tom \Messner
        Chief Executive Officer                        Senior Vice President Global Supply Chain
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 491 of 611



 1
                                         PROOF OF SERVICE
 2
              I, the undersigned, am employed in the City and County of San Francisco, State of
 3     California. I am over the age of 18 years and not a party to this action. My business address
       is Lewis & Llewellyn LLP, 505 Montgomery Street, Suite 1300, San Francisco, CA 94111.
 4     I am familiar with the office practice of Lewis & Llewellyn LLP for collecting and
       processing documents for delivery.
 5
              On the date provided below, in accordance with the office practices of Lewis &
 6     Llewellyn LLP, I served a true copy of the following document(s):

 7                                  DEMAND FOR ARBITRATION

 8            The foregoing document(s) were served by the following means:

 9            (By Overnight Mail Delivery) I deposited the document(s) listed above in a
              collection box, or else they were picked up at of the offices of Lewis & Llewellyn
10            LLP, for overnight mail delivery, with delivery fees thereon fully prepaid.

11                   C T Corporation System
                     818 West Seventh Street, Suite 930
12                   Los Angeles, CA 90017

13            (By Electronic Mail) I emailed courtesy copies of the document(s) listed above to
              the electronic mail address(es) shown below.
14
                    Matt Barter                       Jonathan Ye
15                  matt.barter@byton.com             jonathan.ye@byton.com

16            (By Hand Delivery) I caused a copy of the document(s) to be hand delivered to the
              address(es) shown below.
17
                     JAMS San Francisco Resolution Center
18                   Two Embarcadero Center
                     Suite 1500
19                   San Francisco, CA 94111
                     Tel: (415) 982-5267
20                   Fax: (415) 982-5287

21            I declare under penalty of perjury under the laws of the State of California the
       foregoing is true and correct. Executed on October 22, 2019 at San Francisco, California.
22

23
                                                                     Charlotte Hayward
24

25

26

27

28

                                            PROOF OF SERVICE
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                   Exhibit 2
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 493 of 611




 1 VAN ETTEN SIPPRELLE LLP
   KEITH A. SIPPRELLE #143358
 2 2945 Townsgate Road, Suite 200
   Westlake Village, California 91361
 3
   Telephone: (805) 719-4900
 4 Facsimile: (805) 719-4950
   ksipprelle@vstriallaw.com
 5
   Attorneys for Respondent and Cross-Claimant
 6 BYTON NORTH AMERICA CORPORATION

 7

 8
                  JUDICIAL ARBITRATION AND MEDIATION SERVICES
 9
                             SAN FRANCISCO, CALIFORNIA OFFICE
10

11

12 EDAG ENGINEERING GMBH,                            JAMS Reference No. 1100107291

13               Claimant,                           RESPONDENT BYTON NORTH
                                                     AMERICA CORPORATION’S
14         vs.                                       RESPONSE TO DEMAND FOR
                                                     ARBITRATION
15
   BYTON NORTH AMERICA
16 CORPORATION,                                      CROSS-CLAIMS OF BYTON NORTH
                                                     AMERICA CORPORATION AGAINST
17               Respondent.                         EDAG ENGINEERING GMBH FOR:
18                                                   1.     BREACH OF CONTRACT
19                                                   2.     NEGLIGENCE

20

21 BYTON NORTH AMERICA
   CORPORATION,
22

23               Cross-Claimant,

24         vs.

25 EDAG ENGINEERING GMBH,

26               Cross-Respondent.
27

28
                                                 1
         BYTON NORTH AMERICA CORPORATION’S RESPONSE TO DEMAND FOR
                        ARBITRATION; CROSS-CLAIMS
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 494 of 611




 1          BYTON NORTH AMERICA CORPORATION (“BYTON”) hereby responds to the

 2 October 22, 2019 Demand for Arbitration before JAMS (“Demand”) by Claimant EDAG

 3 ENGINEERING GMBH (“EDAG”) as follows:

 4                                         GENERAL DENIAL

 5          BYTON denies, generally and specifically, each and every allegation, statement, matter

 6 and purported cause of action contained in the Demand, and the whole thereof, and without

 7 limiting the generality of the foregoing, denies that EDAG has been damaged in the manner or

 8 sums alleged, or in any way at all, as the result of any alleged wrongful act or omission on the part

 9 of BYTON.
10          BYTON further alleges, on information and belief, the following additional and
11 affirmative defenses to the Demand:

12                                 FIRST AFFIRMATIVE DEFENSE

13                                  (Failure to State a Cause of Action)

14          1.     The Demand, and each of every purported cause of action therein, fails to state a

15 cause of action against BYTON.

16                               SECOND AFFIRMATIVE DEFENSE

17                                          (Comparative Fault)

18          2.     At all times herein mentioned, EDAG was guilty of fault or negligence which

19 proximately caused or contributed to the damages alleged by EDAG.

20                                THIRD AFFIRMATIVE DEFENSE

21                                              (Damages)

22          3.     EDAG has not suffered damages in the amounts claimed in the Demand.

23                               FOURTH AFFIRMATIVE DEFENSE

24                                          (Failure to Mitigate)

25          4.     EDAG has failed to mitigate or minimize its alleged damages (if any were in fact

26 suffered), and to the extent of such failure to mitigate, any damages awarded should be reduced

27 accordingly.

28
                                                      2
         BYTON NORTH AMERICA CORPORATION’S RESPONSE TO DEMAND FOR
                        ARBITRATION; CROSS-CLAIMS
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 495 of 611




 1                                  FIFTH AFFIRMATIVE DEFENSE

 2                                                (Laches)

 3         5.     The Demand is barred in whole or part by the doctrine of laches.

 4                                  SIXTH AFFIRMATIVE DEFENSE

 5                                         (Waiver and Estoppel)

 6         6.     EDAG’s claims are barred by the doctrines of waiver and estoppel.

 7                                SEVENTH AFFIRMATIVE DEFENSE

 8                                            (Unclean Hands)

 9         7.     EDAG’s claims are barred by the doctrine of unclean hands.
10                              EIGHTH AFFIRMATIVE DEFENSE

11                             (Material Breach Excusing Performance)

12         8.     The Demand is barred on the ground that as to each and every contract alleged

13 therein, EDAG materially breached the terms thereof, which breach has excused further

14 performance by BYTON.

15                               NINTH AFFIRMATIVE DEFENSE

16                                 (Condition Precedent/Subsequent)

17         9.     The Demand is barred by the failure of a condition precedent and/or a condition

18 subsequent.

19                                 TENTH AFFIRMATIVE DEFENSE

20                                  (Performance/Satisfaction/Discharge)

21         10.    Any duty or obligation, contractual or otherwise, which EDAG claims is owed to

22 it by BYTON, has been fully performed, satisfied and/or discharged.

23                               ELEVENTH AFFIRMATIVE DEFENSE

24                                 (Failure of Consideration/Performance)

25         11.    The Demand is barred due to a failure of EDAG’s consideration and/or

26 performance.

27

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                                                   3
         BYTON NORTH AMERICA CORPORATION’S RESPONSE TO DEMAND FOR
                        ARBITRATION; CROSS-CLAIMS
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 496 of 611




 1                                   TWELFTH AFFIRMATIVE DEFENSE

 2                                         (Reservation of Rights)

 3          12.     BYTON presently has insufficient knowledge or information on which to form a

 4 belief as to whether it may have additional defenses to the Demand available. As such, BYTON

 5
     reserves the right to assert additional defenses in the event discovery or investigation indicates
 6
     they would be appropriate.
 7
            WHEREFORE, BYTON prays for an award in its favor as follows:
 8
            1.      That EDAG takes nothing by way of its Demand;
 9
10          2.      That the Demand be dismissed in its entirety with prejudice;

11          3.      That EDAG be denied each and every request, demand and prayer for relief made
12 in the Demand;

13
            4.      That BYTON recover its costs incurred in the arbitration;
14
            5.      For such other and further relief as the arbitrator deems just and proper.
15
     Dated: November 19, 2019
16                                              VAN ETTEN SIPPRELLE LLP
17

18
                                                By:
19                                                    Keith A. Sipprelle
                                                      Attorneys for Respondent and Cross-Claimant
20
                                                      BYTON NORTH AMERICA CORPORATION
21

22

23

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                                                       4
          BYTON NORTH AMERICA CORPORATION’S RESPONSE TO DEMAND FOR
                         ARBITRATION; CROSS-CLAIMS
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 497 of 611




 1                                          CROSS-CLAIM

 2          BYTON hereby cross-claims against EDAG as follows:

 3                                   GENERAL ALLEGATIONS
 4          1.     BYTON is in the business of designing, developing, manufacturing and delivering
 5 electric automobiles for the consumer market.

 6          2.     EDAG is an engineering company based in Wiesbaden, Germany. EDAG is part of
 7 the EDAG Group, one of the world’s largest independent development partners to the automotive

 8 industry. EDAG represents on its website that:

 9          We are experts in the development of vehicles, production plants and the
10          optimisation of your processes. When it comes to automobile development, you
11          need someone with a fully integrated approach to the question of mobility and
12          a passion for development. That's us. Our expertise includes the integrated
13          development and optimisation of vehicles, production facilities, derivatives
14          and modules. This has made us what we are today: the acknowledged,
15          independent engineering experts for the automotive industry and your
16          business contact for the mobility of the future!
17          3.     In or around early 2017, and in reliance on EDAG’s claimed expertise in the area of
18 automobile development, BYTON hired EDAG to lead and manage all engineering aspects of

19 BYTON’s electric automobile development. At the time, BYTON, was a start-up company with

20 limited internal engineering resources, and therefore selected EDAG as a well-known and

21 reputable global “ESS” (engineering services supplier) that claimed to have “full-vehicle”

22 development capabilities suitable to support a start-up car company (i.e., that EDAG would

23 provide a “turn key” solution for BYTON with respect to all engineering aspects of BYTON’s

24 electric vehicle development). EDAG agreed to exercise reasonable care, skill and diligence in its

25 role as leader and manager of the engineering aspects of BYTON’s electric automobile

26 development (hereafter, the “Agreement”).

27          4.     EDAG failed to exercise reasonable care, skill and diligence in designing an
28 electric vehicle for BYTON. Specifically, EDAG made the following engineering errors in its
                                                    5
         BYTON NORTH AMERICA CORPORATION’S RESPONSE TO DEMAND FOR
                        ARBITRATION; CROSS-CLAIMS
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 1 design of an electric vehicle for BYTON:

 2          (a)     The initial EDAG design of the “under hood” area of the vehicle was inadequate,

 3          with fundamental items not correctly packaged (most notably, the design lacked a front

 4          motor that was required for the all-wheel drive version of the vehicle).

 5          (b)     The EDAG design contained some fundamental errors in the high-voltage

 6          battery/floor systems interfaces.

 7          (c)     The A-pillar in the EDAG design did not meet basic legal vision requirements.

 8          (d)     The front door in the EDAG design lacked adequate system engineering for the

 9          door swing (creating interference with the front fender).
10          (e)     The front of the vehicle in the EDAG design lacked adequate system engineering
11          to achieve the documented targets between pedestrian protection/safety and other system
12          performance requirements.
13          (f)    The front and rear bumper systems in the EDAG design lacked adequate system
14          engineering to achieve the documented targets between low speed bumper compliance and
15          other system performance requirements (such as component variation complexity).
16          (g)     The design of the lift gate system in the EDAG design was inefficient and
17          inadequate to meet the entry-level luxury vehicle appearance requirements.
18          (h)     The front and rear center console systems in the EDAG design were inefficient and
19          not feasible to manufacture by the sourced supplier, leading to a late design “freeze” and a
20          need to retool.
21          5.     As a result of the foregoing deficiencies in the EDAG design, BYTON was
22 required to extensively redesign the vehicle, resulting in substantial engineering and retooling

23 expense for BYTON in an amount according to proof but presently believed to run into the

24 multiple millions of dollars. Additionally, the need for BYTON to re-engineer and re-tool due to

25 the deficiencies in the EDAG design have caused delays in BYTON getting its vehicle to the

26 market, thereby causing BYTON to incur additional substantial losses in an amount according to

27 proof.

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         BYTON NORTH AMERICA CORPORATION’S RESPONSE TO DEMAND FOR
                        ARBITRATION; CROSS-CLAIMS
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 1                                      FIRST CAUSE OF ACTION

 2                                          (Breach of Contract)

 3          6.     BYTON repeats, realleges, and incorporates herein by reference each and every

 4 paragraph of this Cross-Claim set forth above as though fully set forth herein.

 5          7.      EDAG has materially breached the Agreement by failing to exercise reasonable

 6 care, skill and diligence in designing an electric vehicle for BYTON. Specifically, EDAG

 7 provided BYTON with a vehicle design that was rife with engineering defects.

 8          8.      BYTON has performed all of its obligations under the Agreement, except for any

 9 obligations that were excused or prevented.
10          9.     As a direct and proximate result of EDAG’s material breaches of the Agreement,
11 BYTON has been damaged in an amount according to proof but presently believed to run into the

12 multiple millions of dollars.

13                                   SECOND CAUSE OF ACTION

14                                      (Negligence Against EDAG)

15          10.    BYTON repeats, realleges, and incorporates herein by reference each and every

16 paragraph of this Cross-Claim set forth above as though fully set forth herein.

17          11.    EDAG failed to exercise reasonable care, skill and diligence in designing an

18 electric vehicle for BYTON. Specifically, EDAG provided BYTON with a vehicle design that

19 was rife with engineering defects.

20          12.    As a direct and proximate result of EDAG’s negligence, BYTON has been

21 damaged in an amount according to proof but presently believed to run into the multiple millions

22 of dollars.

23          WHEREFORE, BYTON prays for judgment on its Cross-Claims as follows:

24          1.     For an award of damages against EDAG for breach of contract in an amount

25 according to proof.

26          2.     For an award of damages against EDAG for negligence in an amount according to

27 proof.

28          3.     For an award of its costs incurred in the arbitration;
                                                      7
         BYTON NORTH AMERICA CORPORATION’S RESPONSE TO DEMAND FOR
                        ARBITRATION; CROSS-CLAIMS
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 1         4.    For such other and further relief as the arbitrator deems just and proper.

 2 Dated: November 19, 2019
                                             VAN ETTEN SIPPRELLE LLP
 3

 4

 5                                           By:
                                                   Keith A. Sipprelle
 6                                                 Attorneys for Respondent and Cross-Claimant
                                                   BYTON NORTH AMERICA CORPORATION
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         BYTON NORTH AMERICA CORPORATION’S RESPONSE TO DEMAND FOR
                        ARBITRATION; CROSS-CLAIMS
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 501 of 611




 1                                         PROOF OF SERVICE

 2 STATE OF CALIFORNIA, COUNTY OF VENTURA

 3        I am employed in the County of Ventura, State of California. I am over the age of eighteen
   years and not a party to the within action; my business address is 2945 Townsgate Road, Suite
 4 200, Westlake Village, California 91361.

 5      On November 19, 2019, I served the following document described as RESPONDENT
   BYTON NORTH AMERICA CORPORATION’S RESPONSE TO DEMAND FOR
 6 ARBITRATION; CROSS-CLAIMS OF BYTON NORTH AMERICA CORPORATION
   AGAINST EDAG ENGINEERING GMBH on the interested parties in this action as follows:
 7

 8                                  SEE ATTACHED SERVICE LIST
            BY MAIL: I am “readily familiar” with the firm’s practice of collection and processing
 9   □      correspondence for mailing with the United States Postal Service. Under that practice, it
10          would be deposited with the United States Postal Service that same day in the ordinary
            course of business. Such envelope(s) were placed for collection and mailing with postage
11          thereon fully prepaid at Westlake Village, California, on that same day following ordinary
            business practices. (C.C.P. § 1013 (a) and 1013a(3))
12
            BY E-MAIL OR ELECTRONIC TRANSMISSION: Based on an agreement of the
13          parties to accept service by e-mail or electronic transmission, I personally sent the
            document from e-mail address scervantes@vstriallaw.com to the persons at the e-mail
14          addresses listed in the Service List. I did not receive, within a reasonable time after the
            transmission, any electronic message or other indication that the transmission was
15          unsuccessful.

16          I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.
17
            Executed on November 19, 2019 at Westlake Village, California.
18

19

20                                                     Keith A. Sipprelle

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         BYTON NORTH AMERICA CORPORATION’S RESPONSE TO DEMAND FOR
                        ARBITRATION; CROSS-CLAIMS
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 502 of 611




 1                                         SERVICE LIST

 2    Marc Lewis, Esq.                               Attorneys for EDAG Engineering GmbH
      Evangeline Burbidge, Esq.
 3
      Lewis & Llewellyn LLP
 4    505 Montgomery Street, Suite 1300
      San Francisco, Ca 94111
 5    Email #1: mlewis@lewisllewellyn.com
      Email #2: eburbidge@lewisllewellyn.com
 6    Email #3: ymehta@lewisllewellyn.com
 7    Email #4: chayward@lewisllewellyn.com

 8
      Ms. Darcy English                              JAMS Case Manager
 9    ADR Specialist
      JAMS
10
      Two Embarcadero Center, Suite 1500
11    San Francisco, CA 94111
      Email: denglish@jamsadr.com
12

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         BYTON NORTH AMERICA CORPORATION’S RESPONSE TO DEMAND FOR
                        ARBITRATION; CROSS-CLAIMS
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                   Exhibit 3
                            Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 504 of 611




                   1        LEWIS & LLEWELLYN LLP
                            Marc R. Lewis (Bar No. 233306)
                   2        mlewis@lewisllewellyn.com
                            Evangeline A.Z. Burbidge (Bar No. 266966)
                   3        eburbidge@lewisllewellyn.com
                            Nathalie Fayad (Bar No. 312619)
                   4        nfayad@lewisllewellyn.com
                            601 Montgomery Street, Suite 2000
                   5        San Francisco, California 94111
                            Telephone: (415) 800-0590
                   6        Facsimile: (415) 390-2127

                   7        Attorneys for Claimant and Cross-Respondent
                            EDAG ENGINEERING GMBH
                   8

                   9
                                              JUDICIAL ARBITRATION AND MEDIATION SERVICES
                 10
                                                      SAN FRANCISCO, CALIFORNIA OFFICE
                 11

                 12

                 13
                            EDAG ENGINEERING GMBH,                        JAMS Reference No. 1100107291
                 14
                                        Claimant,                         CLAIMANT EDAG ENGINEERING
                 15         v.                                            GMBH’S RESPONSE AND
                                                                          AFFIRMATIVE DEFENSES TO BYTON
                 16         BYTON NORTH AMERICA CORPORATION,              NORTH AMERICA CORPORATION’S
                                                                          CROSS-CLAIMS
                 17                     Respondent.
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    LE WIS +            I          EDAG ENGINEERING GMBH’S RESPONSE TO BYTON NORTH AMERICA
I   L L E W E L LY,~.             CORPORATION’S CROSS-CLAIMS; JAMS REFERENCE NUMBER 1100107291
              Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 505 of 611




          1          EDAG ENGINEERING GMBH (“EDAG”) hereby responds to the Cross-Claims asserted by
          2   Respondent and Cross-Claimant BYTON NORTH AMERICA CORPORATION (“BYTON”) as
          3   follows:
          4                BYTON’S CROSS-CLAIMS ARE CONTRACTUALLY PROHIBITED
          5                                      AND MUST BE DISMISSED
          6          In responding to EDAG’s arbitration demand, BYTON raises—for the first time—a litany of
          7   complaints regarding the quality of EDAG’s work and alleges that, as a result, EDAG materially
          8   breached the Agreement between the parties. Specifically, it alleges that EDAG provided BYTON
          9   with “a vehicle design that was rife with engineering defects.” (Answer at 6-7.) BYTON also
         10   claims that it has performed all of its obligations under the Agreement (id.), although it does not
         11   deny that it conceded in writing—multiple times—that it owed EDAG money and has yet to pay the
         12   overdue funds.
         13          BYTON’s counterclaims are a sham. BYTON never raised any complaints about EDAG’s
         14   work to EDAG’s management. BYTON only raises them now to try to avoid liability under the
         15   Agreement.
         16          But BYTON cannot do so. As a simple matter of common sense, BYTON’s failure to raise
         17   any of these “complaints” until arbitration proves that the complaints are not legitimate. And
         18   legally, under the Agreement, BYTON cannot raise these allegations for the first time now. Under
         19   Section 9.2, in the event of a material breach “which, by its nature, cannot be fully remedied in thirty
         20   (30) days the Parties shall cooperate to prepare a mutually acceptable plan to cure the breach within
         21   such thirty (30) day period and then pursuant to which, the breaching Party shall undertake
         22   reasonable, diligent and good faith efforts to promptly remedy the breach” (emphasis added). By
         23   failing to provide EDAG with notice of any of the allegedly “material” complaints detailed in the
         24   counter-claims—making it clear that BYTON only raises them as a last-ditch attempt to minimize
         25   the money it indisputably owes—BYTON is estopped from now arguing that EDAG has violated
         26   the terms of the Agreement.
         27          Further, pursuant to Section 9.4 of the Agreement, at its “sole option,” BYTON “shall be
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L E W I S+            EDAG ENGINEERING GMBH’S RESPONSE TO BYTON NORTH AMERICA
L L EWELLYN          CORPORATION’S CROSS-CLAIMS; JAMS REFERENCE NUMBER 1100107291
              Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 506 of 611




          1   permitted to terminate this Agreement, a Statement of Work or any part thereof, without cause upon
          2   30 (30) [sic] days prior written notice to Supplier.” However, “[i]n such an event, BYTON shall
          3   pay the applicable fees through the next milestone following notice of such termination or as
          4   otherwise agreed between the Parties.” Agreement at Section 9.4 (emphasis added). Therefore,
          5   even if EDAG’s design contained defects, which it did not, EDAG would still be entitled to payment
          6   under the Agreement, nullifying any claims for damages by BYTON.
          7          Therefore, BYTON’s counterclaims should be dismissed and EDAG formally requests the
          8   opportunity to brief the Arbitrator on this issue.
          9                                            GENERAL DENIAL
         10          EDAG denies, generally and specifically, each and every allegation, statement, matter and
         11   purported cause of action contained in the Cross-Complaint, and without limiting the generality of
         12   the foregoing, denies that BYTON has been damaged in the manner or amounts alleged, or in any
         13   way at all, as the result of any alleged wrongful act or omission on the part of EDAG.
         14          EDAG further alleges, on information and belief, the following additional and affirmative
         15   defenses to the Cross-Complaint:
         16                                    FIRST AFFIRMATIVE DEFENSE
         17                                     (Failure to State a Cause of Action)
         18          1.      The Cross-Complaint, and each of every purported cause of action therein, fails to
         19   state a cause of action against EDAG.
         20                                  SECOND AFFIRMATIVE DEFENSE
         21                                             (Comparative Fault)
         22          2.      At all times herein mentioned, BYTON was guilty of fault or negligence which
         23   proximately caused or contributed to the damages alleged by BYTON.
         24                                   THIRD AFFIRMATIVE DEFENSE
         25                                                  (Damages)
         26          3.      BYTON has not suffered damages, at all or in the amounts claimed in the Cross-
         27   Complaint.
         28   //
                                                   2
L E W I S+            EDAG ENGINEERING GMBH’S RESPONSE TO BYTON NORTH AMERICA
L L EWELLYN          CORPORATION’S CROSS-CLAIMS; JAMS REFERENCE NUMBER 1100107291
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          1                                FOURTH AFFIRMATIVE DEFENSE
          2                                           (Failure to Mitigate)
          3          4.      BYTON has failed to mitigate or minimize its alleged damages (if any were in fact
          4   suffered) and, to the extent of such failure to mitigate, any damages awarded should be reduced
          5   accordingly.
          6                                  FIFTH AFFIRMATIVE DEFENSE
          7                                                 (Laches)
          8          5.      The Cross-Complaint is barred in whole or part by the doctrine of laches.
          9                                  SIXTH AFFIRMATIVE DEFENSE
         10                                          (Waiver and Estoppel)
         11          6.      BYTON’s claims are barred by the doctrines of waiver and estoppel.
         12                                SEVENTH AFFIRMATIVE DEFENSE
         13                                             (Unclean Hands)
         14          7.      BYTON’s claims are barred by the doctrine of unclean hands.
         15                                 EIGHTH AFFIRMATIVE DEFENSE
         16                                (Material Breach Excusing Performance)
         17          8.      The Cross-Complaint is barred on the ground that as to the contract alleged therein,
         18   BYTON materially breached the terms thereof, which breach has excused further performance by
         19   EDAG.
         20                                  NINTH AFFIRMATIVE DEFENSE
         21                                    (Condition Precedent/Subsequent)
         22          9.      The Cross-Complaint is barred by the failure of a condition precedent and/or a
         23   condition subsequent.
         24                                 TENTH AFFIRMATIVE DEFENSE
         25                                  (Performance/Satisfaction/Discharge)
         26          10.     Any duty or obligation, contractual or otherwise, which BYTON claims is owed to it
         27   by EDAG, has been fully performed, satisfied and/or discharged.
         28   //
                                                   3
L E W I S+            EDAG ENGINEERING GMBH’S RESPONSE TO BYTON NORTH AMERICA
L L EWELLYN          CORPORATION’S CROSS-CLAIMS; JAMS REFERENCE NUMBER 1100107291
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          1                                  ELEVENTH AFFIRMATIVE DEFENSE
          2                                     (Failure of Consideration/Performance)
          3               11.     The Cross-Complaint is barred due to a failure of BYTON’s consideration and/or
          4                                                  performance.
          5                                   TWELFTH AFFIRMATIVE DEFENSE
          6                                             (Reservation of Rights)
          7          12.        EDAG presently has insufficient knowledge or information on which to form a belief
          8   as to whether it may have additional defenses to the Cross-Complaint available. As such, EDAG
          9   reserves the right to assert additional defenses in the event discovery or investigation indicates they
         10   would be appropriate.
         11          WHEREFORE, EDAG prays for an award in its favor as follows:
         12          1.         That BYTON takes nothing by way of its Cross-Claims;
         13          2.         That the Cross-Claims be dismissed in their entirety with prejudice;
         14          3.         That BYTON be denied each and every request, demand and prayer for relief in the
         15   Cross-Claim;
         16          4.         That EDAG recover its costs incurred in the arbitration;
         17          5.         For such other and further relief as the arbitrator deems just and proper.
         18

         19   Dated: December 16, 2019                          Respectfully submitted,
         20                                                     LEWIS & LLEWELLYN LLP
         21

         22                                                     By:
                                                                      Evangeline A.Z. Burbidge
         23
                                                                      Attorneys for Claimant and Cross-Respondent
         24                                                           EDAG ENGINEERING GMBH

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L E W I S+            EDAG ENGINEERING GMBH’S RESPONSE TO BYTON NORTH AMERICA
L L EWELLYN          CORPORATION’S CROSS-CLAIMS; JAMS REFERENCE NUMBER 1100107291
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                  Exhibit 4
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Hon. William J. Cahill (Ret.)
JAMS
Two Embarcadero Center, Suite 1500
San Francisco, CA 94111
Phone: 415-774-2615
Fax: 415-982-5287
Email: sschreiber@jamsadr.com


                       JAMS REFERENCE NO. 1100107291


                                          SCHEDULING ORDER NO. 7
EDAG Engineering GmbH,

         Claimant,

             v.

BYTON North America Corporation,

       Respondent.


BYTON North America Corporation,

       Counter-Claimant

              v.

EDAG Engineering GmbH,

        Counter-Respondent.
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       The following Scheduling Order No. 7 is made respecting the conduct of this arbitration.
This Scheduling Order No. 6 supersedes Scheduling Order No. 1 dated February 3, 2020,
Scheduling Order No. 2 dated April 8, 2020, Scheduling Oder No. 3 dated June 26, 2020,
Scheduling Order No. 4 dated September 28, 2020, Scheduling Order No. 5 dated October 14,
2020, and Scheduling Order No. 6 dated October 30, 2020.

   1. Parties and Counsel. The parties to this arbitration are identified in the caption and are
      represented as follows:

 Evangeline Burbidge, Esq.                          Keith A. Sipprelle, Esq.
 Marc R. Lewis, Esq.                                David B. Van Etten, Esq.
 Brad Estes, Esq.                                   Van Etten Sipprelle LLP
 Lewis & Llewellyn                                  2945 Townsgate Rd.
 505 Montgomery St.                                 Suite 200
 Suite 1300                                         Westlake Village, CA 91361
 San Francisco, CA 94111                            805-719-4900
 415-800-0590
                                                    Counsel for Respondent and Counter-
 Counsel for Claimant and                           Claimant BYTON North America
 Counter-Respondent                                 Corporation
 EDAG Engineering GmbH
                                                    Lillian Xu, Esq.
                                                    Evelyn Shimazaki, Esq.
                                                    BYTON North America Corporation
                                                    4201 Burton Dr.
                                                    Santa Clara, CA 95054

   2.    Arbitrator. The arbitrator in this matter is:

        Hon. William Cahill (Ret.)
        JAMS
        Two Embarcadero Center
        Suite 1500
        San Francisco, CA 94111

   3.   Arbitrator’s Staff:

        (a)      JAMS Case Manager:

                 Scott Schreiber
                 JAMS
                 Two Embarcadero Center, Suite 1500
                 San Francisco, CA 94111
                 Tel: 415-774-2615
                 Email: sschreiber@jamsadr.com
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   (b)    The Arbitrator works with a staff attorney, Jayli Miller. The Arbitrator’s case
   manager will provide Ms. Miller’s resume to the parties upon request.

4. Agreement to Arbitrate. The Technology Development and License Agreement
   (“Agreement”), which is at issue in this arbitration, provides in paragraph 14.4b that any
   dispute between the parties shall be submitted to JAMS, Inc. for confidential, final and
   binding arbitration under and in accordance with its JAMS Comprehensive Arbitration
   Rules. Pursuant to this section, the parties selected Judge Cahill as arbitrator for this
   matter.

5. Pleadings and Arbitrability. The claims in this matter are set forth in EDAG’s Demand
   for Arbitration dated October 22, 2019 and BYTON’s Cross-Claim dated November 19,
   2019. The claims are arbitrable.

6. Applicable Law and Rules. The substantive law of California and the California
   Arbitration Act together with the JAMS Comprehensive Arbitration Rules ("Rules") shall
   apply in this proceeding.

7. Motions Challenging the Parties’ Claims. Each party may, but shall not be required to,
   file a motion challenging as a matter of law the claims asserted by the opposing
   party/parties no later than June 1, 2020. The parties shall agree to a briefing schedule for
   any such motions; in the absence of agreement the Arbitrator shall set a briefing
   schedule.

8. Discovery and Exchange of Information.

   (a)    During the preliminary hearing in this matter held on January 23, 2020, the parties
   agreed to meet and confer regarding discovery deadlines and other procedural issues.

   (b)     The parties shall attempt to resolve any discovery disputes informally. Any
   discovery disputes not resolved informally between the parties may be presented, via
   short letter brief, to the Arbitrator. A hearing on the issue will be conducted telephonic,
   unless otherwise requested or ordered. The parties may agree to forgo a hearing on any
   dispute and submit on the filings.

   (c)     The parties have completed their Rule 17 disclosures.

   (d)     The parties have agreed to complete document production by July 30, 2020.

   (e)     The parties have agreed to a total of five non-expert depositions per side, unless
   the parties agree otherwise. Any deposition conducted in this arbitration shall commence
   at 9:30 a.m. and conclude at 5:30 p.m., with an hour for lunch, unless otherwise agreed to
   by the parties. The Arbitrator may resolve any disputes over the depositions as would be
   resolved in civil litigation. Non-expert depositions shall be completed by November 18,
   2020.
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   (f)     The parties have further agreed that experts shall be disclosed on or before
   November 30, 2020. Rebuttal experts shall be disclosed on or before December 4, 2020.
   Expert reports of no more than 10 pages, not including exhibits, shall be exchanged
   before December 14, 2020. Rebuttal expert reports of no more than 10 pages, not
   including exhibits, shall be exchanged before December 30, 2020. Expert depositions
   shall be completed by January 8, 2021.

   (g)     The parties shall electronically exchange exhibit lists and all documentary
   evidence they intend to offer at the hearing, including reports of any experts intended to
   be offered during the hearing, no later than February 1, 2021. Documents not so
   exchanged shall not be admitted without a showing of good cause.

   (h)      Counsel shall identify all non-rebuttal percipient and expert witnesses expected to
   testify at the hearing and shall indicate the manner in which each witness is expected to
   testify (e.g., in-person, telephonically or by affidavit or declaration), no later than
   February 1, 2021. Counsel may supplement the designation of witnesses no later than
   February 3, 2021. Witnesses not so identified shall not be permitted to testify at the
   hearing without a showing of good cause.

9. Dispositive Motions: Any party that wants to file a dispositive motion must request leave
   from the arbitrator by summarizing, in less than five pages, the undisputed material facts
   and the grounds to be asserted. Within three court days, the opposing party may file a
   letter brief of less than five pages identifying the disputed material facts. If the arbitrator
   is convinced that the facts supporting an issue subject to summary judgment may be
   undisputed, the arbitrator will issue an order permitting the filing of a summary judgment
   motion. All motions for leave for dispositive motions must be filed no later than
   December 4, 2020. All pre-hearing dispositive motions must be heard no later than 31
   days before the arbitration. The parties shall agree to a briefing schedule for any such
   motions; in the absence of agreement the Arbitrator shall set a briefing schedule.

10. Hearing Procedure

   (a)     The hearing in this matter shall be conducted on the following days: February 8-
   19, 2021 beginning at 8:30 am each day and concluding by 1:00 p.m. (PST) unless the
   parties agree or the arbitrator orders otherwise. The hearing shall be conducted remotely.

   (b)    Prehearing arbitration briefs shall be submitted to the Arbitrator no later than
   February 3, 2021 in electronic format.

   (c)     Trial exhibits shall be pre-marked with consecutive Arabic numerals (without any
   indication of the party offering same) and a joint exhibit list shall be prepared and
   delivered electronically to the Arbitrator no later than February 3, 2021. The parties shall
   indicate any objection to the introduction of any exhibit. Exhibits not objected to shall be
   deemed admitted at the commencement of the hearing unless otherwise ordered by the
   arbitrator. One set of exhibits shall be prepared for the arbitrator and one for the
   witnesses, in addition to copies for counsel. Hard copies of exhibits shall be delivered to
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         the heating location on the first day of heai·ing. Electronic copies of exhibits (on thumb
         drives) shall be delivered to the Arbitrator's Case Manager, Scott Schreiber, at 2
         Embai·cadero Center, Suite 1500, San Francisco, CA, 94111. All exhibits will be
         discarded 60 days after the issuance of the final award unless a patty requests, in writing,
         that the exhibits be retained or returned.

         (d)    The patties ai·e encouraged to execute a stipulation of undisputed facts and to
         submit that document to the Arbitrator at the heai·ing no later than Febmaiy 3, 2021

         (e)     If either pa1ty intends to use the services of a court repo1ter during the hearing,
         that patty shall notify the other patty within five court days of the strut of the heai·ing.

         (f)     The Arbitrator shall prepare an futerim Arbitration Awai·d in writing, within 30
         days after the matter is submitted for decision. The futerim Awai·d shall specify the
         reasoning for the decision and any calculations necessaiy to explain the award. The
         futerim Awai·d will set deadlines for fmther submissions, if any. After th e filing of
         fmther submissions, if any, the record will be closed and, within 30 days, a Final Award
         in writing shall be issued.

   11. Miscellaneous.

         (a)   Documents shall be served by email if less than 50 pages in length. Any
         document more than 50 pages shall be served by hai·d copy on the Arbitrator through the
         Case Manager, with an additional copy for the Arbitrator's staff attorney.

         (b)     Cancellation fee of the Arbitrator: The patties will be requested to deposit fees
         sufficient to compensate the Arbitrator for the scheduled heai·ing dates 60 days in
         advance of the commencement of the heai·ing. If the heai·ing is cancelled or continued for
         any reason within 60 days of the commencement of the heai·ing, the deposit for the
         cancelled day(s) shall be deemed a cancellation fee and shall be immediately payable to
         JAMS . The Arbitrators m ay refund fees for any heai·ing day which is rebooked to the
         extent of fees earned on that day.

         (c)     All deadlines herein shall be strictly enforced unless othe1wise stated. This Order
         shall continue in effect unless and until amended by subsequent order of the ai·bitrator.




Dated:   ~ 1/r1 I) '2- (
                                                         Hon . William J. Cahill (Ret.)
                                                         Arbitrator
        Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 515 of 611




                                      PROOF OF SERVICE BY E-Mail

                    Re: EDAG Engineering GmbH vs. BYTON North America Corporation
                                       Reference No. 1100107291

           I, Scott Schreiber, not a party to the within action, hereby declare that on January 29, 2021, I served

the attached Scheduling Order No 7 on the parties in the within action by electronic mail at San Francisco,

CALIFORNIA, addressed as follows:


Evangeline Burbidge Esq.                                Keith A. Sipprelle Esq.
Marc R. Lewis Esq.                                      Van Etten Sipprelle LLP
Mr. Brad Estes                                          2945 Townsgate Road
Lewis & Llewellyn LLP                                   Suite 200
601 Montgomery Street                                   Westlake Village, CA 91361
Suite 2000                                              Phone: 805-719-4900
San Francisco, CA 94111                                 ksipprelle@vstriallaw.com
Phone: 415-800-0590                                        Parties Represented:
eburbidge@lewisllewellyn.com                               BYTON North America Corporation
mlewis@lewisllewellyn.com
bestes@lewisllewellyn.com
   Parties Represented:
   EDAG Engineering GmbH

Ms. Lillian Xu
Evelyn Shimazaki Esq.
BYTON North America Corporation
4201 Burton Drive
Santa Clara, CA 95054
lillian.xu@byton.com
evelyn.shimazaki@byton.com
    Parties Represented:
    BYTON North America Corporation

           I declare under penalty of perjury the foregoing to be true and correct. Executed at San Francisco,

CALIFORNIA on January 29, 2021.


//s// Scott Schreiber
_________________________________
Scott Schreiber
JAMS
sschreiber@jamsadr.com
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                   Exhibit 5
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              LEWIS & LLEWELLYN LLP
              Evangeline A.Z. Burbidge (Bar No. 266966)
         2    eburbidge@lewisllewellyn.com
              Marc R . Lewis (Bar No. 233306)
         3    mJewis@lewisllewellyn.com
              Bradley E. Estes (Bar No. 298766)
         4    bestes@lewisllewellyn.com
              601 Montgomery Street, Suite 2000
         5    San Francisco, California 94111
              Telephone: (415) 800-0590
                                                                 FILE%1
         6    Facsimile: (4 15) 390-2 127                       JUN 2 3 2D71( y
         7    Attorneys for Petitioner                         SUSAN y SOOI\JG    \> 7~
                                                          Ng~f~i U.S. DISTRICT GOURT
              EDAG Engineering GmbH
         8                                                      IST-RICT OF CALIFORNIA

         9                                 UNITED STATES DISTRICT COURT

        10                NORTHERN DISTRICT OF CALIFORNIA - SAN FRANCISCO DIVISION
        11



  /:    14
                EDAG Engineering GmbH,



                     V.
                             Petitioner,
                                                     cv2isENO: 4 736
                                                            PETITION TO CONFIRM
                                                            ARBITRATION AW ARD AND FOR
                                                            ENTRY OF JUDGMENT;
                                                                                          le

                                                            MEMORANDUM OF POINTS AND
        15      BYTON North America Corporation,            AUTHORITIES IN SUPPORT THEREOF
        16                                                  [9 U.S.C. § 1 et seq.]
                             Respondent.
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        1                                                   PETITION

        2            Petitioner EDAG Engineering GmbH ("EDAG" or "Petitioner") by its undersigned counsel,

        3    respectfully submit this Petition for an order (a) confirming, in its entirety, the final arbitration

        4    award dated June 2, 2021 (the "Award"), and (b) entering final judgment on the Award. The Award

        5    was in favor of Petitioner as the prevailing party and was issued by Hon. William J. Cahill (Ret.) of

        6    JAMS San Francisco. Notice was provided to both parties on or about the date ofthe issuance of the

        7    Award and was also conveyed to the parties with the issuance of an Interim Award on May 4, 2021.

        8            This Petition is made based on the following facts:

        9            1.      On October 20, 2018, Petitioner EDAG and Respondent BYTON North America

       10    Corporation ("BYTON" or "Respondent") entered into a Technology Development and License

       11    Agreement (the "TOLA") without exhibits. Declaration of Bradley E. Estes ("Estes Deel."), ,r 3.

       12            2.      The TOLA, in paragraph 14.4b, contained the following arbitration provision:

       13           Arbitration. Any dispute between the Parties that is not resolved through
                    negotiation will be resolved exclusively by final and binding arbitration
       14
                    conducted in accordance with the then-current Comprehensive Arbitration Rules
       15           & Procedures of the Judicial Arbitration and Mediation Services ("JAMS"). The
                    arbitration will be conducted by a single arbitrator selected by agreement of the
       16           Parties or, if the Parties cannot agree, an arbitrator appointed in accordance with
                    the JAMS rules who shall be experienced in the type of dispute at issue. The
       17           Parties, their representatives, the arbitrator, and other participants shalt keep
       18           confidential the existence, content, and result of the arbitration. Any demand for
                    arbitration and any counterclaim must specify in reasonable detail the facts and
       19           legal grounds forming the basis for the claimant's claims and include a statement
                    of the total amount of damages claimed, if any, and any other remedy sought by
       20           the claimant. Thcglrbitration will be ·conducted in the English language; the
                    location of such arffl'tration shall be in San Francisco, California. Each Party will
       21
                    bear its own costs in the arbitration, The arbitrator will have full power and
       22           authority to determine issues of arbitrability and to interpret or construe the
                    provisions of the agreement documents and to fashion appropriate remedies
       23           (including temporary, preliminary, interim, or permanent injunctive relief);
                    provided that the arbitrator will not have any right or authority: ( 1) in excess of
       24           the authority that a court having jurisdiction over the Parties and the dispute
                    would have absent this arbitration agreement; (2) to award damages in excess of
       25
                    the types and limitation of damages found in the Agreement; or (3) to modify the
       26           terms of this Agreement. The arbitrator shall issue an award within 30 days after
                    completion of the hearing and any post-hearing briefing. The award must be in
       27           writing and must state the reasoning on which the award is based. Judgment upon
                    the award may be entered in any court of competent jurisdiction.
       28           Notwithstanding the agreement to arbitrate, each Party may apply at any time to

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                       a court of competent jurisdiction for appropriate injunctive relief or for other
            1
                       interim or conservatory measures, and by doing so will not breach or waive the
            2          agreement to arbitrate or impair the powers of the arbitrator.

            3   (See Estes Deel. 14 & Ex. A.)

            4           3.     On October 22, 2019, EDAG initiated arbitration proceedings against BYTON 1 with

            5   JAMS in San Francisco, California. BYTON brought counterclaims. The parties agreed to have the

            6   matter arbitrated by Hon. William J. Cahill (Ret.) (the "Arbitrator").

            7           4.     On February 3, 2020, JAMS San Francisco confirmed the selection of the Arbitrator

            8   and set the evidentiary hearing to commence on November 30, 2020. A copy of the confirmation is

            9   attached as Exhibit B to the Estes Declaration. There were ultimately six total scheduling orders.

          10    The hearing was moved to February 8-19, 2021. Copies of Scheduling Orders Nos. 1-7 are attached

          11    as Exhibits C-1 to the Estes Declaration.

          12            5.     Between February 8-12, 2021 and February 16-19, 2021, the evidentiary hearing was

          13    held virtually over Zoom due to the COVID-19 pandemic.

          14            6.     The Arbitrator rendered a written Final Arbitration Award (the "Award") on June 2,

          15    2021 in favor ofEDAG as the prevailing party, a copy of which is attached as Exhibit J to the Estes

          16    Declaration.

          17            7.     The Award provides that BYTON is required to pay EDAG €23,446,649 on its

          18    breach of contract claim, as well as simple interest of 10% starting on June 2, 2021, the date of the

          19    Final Award. Interest will continue to accrue per day until the amount is paid in full. The Award also

          20    provides that BYTON is required to pay EDAG $89,442.85 in costs. The Award provides that

          21    BYTON is not entitled to any recovery based on any of the causes of action it asserted against

          22    EDAG.

          23            8.     JAMS served a signed copy of the Award on both parties on June 2, 2021.

          24            9.     The Arbitrator's Award was made in accordance with the terms and provisions of the

          25    TDLA and is in all respects proper.

          26            10.    As of the date of this Petition, no application has been made to the Arbitrator to

          27    1
                 In the underlying arbitration proceedings, EDAG was the "Claimant" and "Cross-Respondent" and
          28    BYTON was the "Respondent" and "Cross-Claimant." In this Petition to Confirm the Award, the
                Petitioner is EDAG and the Respondent is BYTON. This is stated for clarity of the record.
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          1   modify, correct or vacate the Award.

          2          11.    BYTON has not voluntarily made any payment on the Award to date.

          3          WHEREFORE EDAG prays for an order confirming the Award for entry of judgment in

          4   conformity therewith, and for costs and such other relief as the Court may deem proper.

          5                                                  Respectfully submitted,

          6   Dated: June 21 , 2021                          LEWIS & LLEWELLYN LLP
                                                                Evangeline A.Z. Burbidge
          7                                                     Marc R . Lewis
                                                                Bradley E. Estes
          8
          9                                                   By Evangerrfe
                                                                 ;fg               @A
                                                                             A.Z. Burbidge
                                                                                                 •
         10                                                       Attorneys for Petitioner EDAG Engineering
                                                                  GmbH
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        1                          MEMORANDUM OF POINTS AND AUTHORITIES
        2           I.      INTRODUCTION
        3           Petitioner EDAG Engineering GmbH ("EDAG" or "Petitioner") requests that the Court enter

        4    an order confirming the Arbitrator's Final Award in the arbitration between EDAG and BYTON

        5    North America Corporation ("BYTON"), JAMS ref. no. 1100107291 (the "Arbitration"). A true

        6    and correct copy of the Arbitrator's Final Award is attached as Exhibit J to the Declaration of

        7    Bradley E. Estes ("Estes Deel.") filed concurrently with this Petition.

        8           After proper submittal of proof, the Final Arbitration Award (the "Award") was issued on

        9    June 2, 2021 and served on all parties by the duly appointed Arbitrator Hon. William J. Cahill (Ret.).

       10    (Estes Deel., Exhibit J). BYTON has not paid any portion of the Award. (Id.      ,r 10.)   Accordingly,

       11    EDAG seeks an order confirming the Award and entering judgment.

       12           II.     THE PARTIES
       13           Founded in 1969 in Germany, EDAG, the claimant and cross-respondent in the underlying

       14    arbitration, is a leading global independent engineering services provider for the automotive

       15    industries. Some of the most well-known car makers in the world-BMW, Audi, GM-hire EDAG

       16    to engineer and design vehicles and have done so for over 50 years. EDAG is headquartered in

       17    Arbon, Switzerland.

       18           BYTON, the respondent and cross-claimant in the underlying arbitration, is a start-up formed

       19    in 2016 to design and manufacture all-electric vehicles. BYTON is headquartered in Santa Clara,

       20    California. 2 BYTON's parent company is located in China.

       21           III.    JURISDICTION AND VENUE
       22           This Court has original jurisdiction over this action pursuant to 28 U .S.C. section 1332

       23    because Petitioner is a subject of a foreign state and Respondent is a citizen of the state of California

       24    and the amount in controversy exceeds $75,000.00, exclusive of interest and costs. In the

       25    underlying proceedings, EDAG filed its arbitration seeking over €23,000,000 (approximately

       26    II I

       27    2
              In the underlying arbitration proceedings, EDAG was the "Claimant" and "Cross-Respondent" and
       28    BYTON was the "Respondent" and "Cross-Claimant." In this Petition to Confirm the Award, the
             Petitioner is EDAG and the Respondent is BYTON.
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            1   $28,000,000 USD) for unpaid invoices, and BYTON filed cross-claims alleging approximately

            2   $31,000,000 USD in damages. (Estes Deel. ,I 5.)

            3          The Court has personal jurisdiction over both Petitioner and Respondent because they agreed

            4   to conduct arbitration proceedings in this Judicial District.

            5          Venue is proper in this district under 28 U.S.C. section 1391(a) and 9 U.S.C. section 9 of the

            6   Federal Arbitration Act because the subject arbitration agreement states that "U]udgment upon the

            7   award may be entered in any court of competent jurisdiction."

            8          IV.     INTRADISTRICT ASSIGNMENT

            9          This case is appropriate for assignment to the San Francisco Division pursuant to Civil Local

          10    Rule 3-2(d) because the subject arbitration agreement required the location of the arbitration to be in

          11    the County of San Francisco. The arbitration was conducted by JAMS-San Francisco and would

          12    have been held in San Francisco but for the COVID-19 pandemic, which required the proceedings to

          13    be held over Zoom. (Estes Deel. ,I 8.)

          14           v.      BACKGROUND OF ARBITRATED DISPUTE

          15           As noted, EDAG is an engineering services provider for the automotive industry. EDAG

          16    does not manufacture or sell the actual vehicles. B YTON was one such automobile manufacturer

          17    that sought out EDAG's expertise to assist with BYTON's ambitious goal of building an all-electric

          18    vehicle from scratch (called the M-BYTE) in in three years.

          19           In 2016, BYTON and EDAG began working together on smaller projects connected to the

          20    M-BYTE electric vehicle, focused on feasibility and preliminary designs. After some initial

          21    contracts were completed, the parties embarked on a larger arrangement. After negotiations, the

          22    parties executed the Technology and License Development Agreement ("TDLA" or "Agreement"),

          23    which took effect June 1, 2017. This agreement contains the subject arbitration clause. Under the

          24    TDLA, EDAG would provide select engineering services and BYTON would pay EDAG just over

          25    €50,000,000.

          26           At first, the project proceeded smoothly. EDAG provided services and deliverables to

          27    BYTON, invoiced BYTON for the services and deliverables, BYTON approved the invoices, and

          28    BYTON paid EDAG. However, plan to simultaneously grow the company and develop the car

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        1   proved to be too ambitious. BYTON lacked institutional knowledge, a clear chain of command, and

        2   it did not have suppliers lined up, as a more established car manufacturer would. By late 2018,

        3   BYTON owed EDAG millions of dollars in unpaid invoices. EDAG continued to work on the

        4   project in reliance ofBYTON's approval ofEDAG's invoices and assurances that payment was

        5   forthcoming. By July 2019, BYTON owed EDAG over€19,000,000 and its senior executives

        6   subsequently executed two letter agreements promising to pay EDAG those overdue amounts.

        7   Despite these two written promises to pay, first in July 2019 and then again in August 2019,

        8   BYTON failed to make further payments.

        9          On October 22, 2019, EDAG initiated the underlying arbitration pursuant to section 14.4b of

       10   the TOLA, asserting claims for breach contract and breached the covenant of good faith and fair

       11   dealing.

       12          In response, on November 19, 2019, BYTON filed its crossclaims, alleging for the first time

       13   in the entirety of the parties' relationship that EDAG committed approximately $31,000,000 in

       14   engineering errors, bringing claims for breach of contract and negligence.

       15          VI.     THE ARBITRATION PROCEEDINGS
       16          On October 22, 2019, EDAG submitted a Demand for Arbitration to JAMS ADR Services

       17   pursuant to the terms of the Arbitration clause in the Settlement Agreement. (Estes Deel. ,r 5.) On

       18   November 19, 2019, BYTON submitted its Response to EDAG's Arbitration Demand and Cross-

       19   Claims. (Id.) The parties agreed to the appointment of Arbitrator William J. Cahill (the

       20   "Arbitrator") of JAMS-San Francisco. (Id., Ex. B.) The parties agreed that JAMS Comprehensive

       21   Rules and Procedures would apply to this proceeding, as was required by the TOLA. (Id.     ,r 4.)
       22          On February 3, 2020, the Arbitrator issued Scheduling Order No. 1 in the Arbitration setting

       23   out the timing and location of the arbitration hearing, the schedule for pre-hearing submissions, and

       24   other procedural matters. The hearing was ultimately set in Scheduling Order No. 3 to occur

       25   February 8-19, 2021. (Estes Deel. ,r 7.) There were a total of7 scheduling orders in this matter.

       26          From February 8-12 and 16-19, 2021, the parties presented testimony and other evidence

       27   virtually over Zoom via JAMS-San Francisco.

       28          The Arbitrator actively participated in the hearing, questioning the respective counsel for the

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        1    parties as well as some of the witnesses. The Arbitrator considered all of the evidence and

        2    argument. On June 2, 2021, the Arbitrator found in favor ofEDAG's breach of contract claim, and

        3    awarded EDAG €23,446,649 on its breach of contract claim, as well as simple interest of 10% as of

        4    the date of the Arbitrator's Final Award, June 2, 2021. (See Estes Deel., Ex. J, p. 28.) Interest will

        5    continue to accrue per day until the amount is paid in full. The Final Award also provides that BYTON

        6    is required to pay EDAG $89,442.85 (€73,235.77) in costs. (See id) The Arbitrator found that

        7    B YTON was not entitled to any recovery based on any of the causes of action it asserted against

        8    EDAG. (See id)

        9            Paragraph 14.4b of the TOLA provides that "Ll]udgment upon the award may be entered in

       10    any court of competent jurisdiction." (See Estes Deel. ,r 4.) BYTON has failed to voluntarily satisfy

       11    the Award in the time since it was made. (See id.       ,r 10.)   BYTON's witnesses testified, and counsel

       12    represented, over and over that BYTON had no money to pay what it owed, including the basic

       13    costs of the arbitration. (See id.   ,r 11.)   A judgment on the Award is needed to permit EDAG to

       14    enforce it. A confirmation order and a conforming judgment are therefore authorized by the terms

       15    of the arbitration agreement and section 9 of the Federal Arbitration Act.

       16            VII.    LEGAL ARGUMENT

       17                    A.      Confirmation of the Arbitration Award is Mandatory Under 9 U.S.C. § 9

       18            Pursuant to 9 U.S.C. § 9, "[i]f no court is specified in the agreement of the parties, then such

       19    application may be made to the United States court in and for the district within such award was

       20    made." Paragraph 14.4b of the TDLA provides that "Ll]udgment upon the award may be entered in

       21    any court of competent jurisdiction." (See Estes Deel. ,r 4.) The Award in this case should be

       22    confirmed because no application to modify, correct, or vacate has been filed and none of the

       23    grounds for refusal of recognition or enforcement exist.

       24                    B.      Entry of Judgment for EDAG is Mandatory

       25            As there are no grounds to refuse or defer recognition or enforcement of the Award, it must

       26    be confirmed. 9 U.S.C. § 9. Upon confirmation of the Award, entry of judgment is warranted and

       27    suchjudgment shall have the same force and effect as any other civil judgment and may be enforced

       28    accordingly. 9 U.S.C. § 13.

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                PETITION TO CONFIRM ARBITRATION AWARD AND FOR ENTRY OF JUDGMENT
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                      VIII. CONCLUSION

           2          Petitioner requests that the Court:

           3          A.      Enter an Order confirming the Arbitrator's June 2, 2021 Award;

           4          B.     Enter judgment against Respondent in conformity therewith and ordering

           5                 Respondent's compliance with the Award;

           6          C.     Award Petitioner its costs incurred and interest;

           7          D.     Retain jurisdiction for the purposes of further proceedings necessary to enforce this

           8                 Court's judgment; and

           9          E.     Grant such other and fmther relief as this Court deems appropriate.

          10                                                   Respectfully submitted,

          11   Dated: June 21 , 2021                        LEWlS & LLEWELLYN LLP
                                                                     Evangeline A.Z. Burbidge
          12                                                         Marc R. Lewis
                                                                     Bradley E. Estes
          13
                                                                                                   •
          14                                                   By~
                                                                  Evangeline A.Z. Burbidge
                                                                                                          •
          15
                                                                     Attorney for Petitioner
          16                                                         EDAG Engineering GmbH
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EDAG Engineering GMBH v BYTON North America Corporation         Reporter's Transcript of Proceedings                                                          4/7/2021


                                                                Page 1                                                                                  Page 2
   1             JUDICIAL ARBITRATION AND MEDIATION SERVICES                        1     REMOTE APPEARANCES:
   2                  SAN FRANCISCO, CALIFORNIA OFFICE                              2     BEFORE:
   3                                                                                          JAMS
   4    EDAG ENGINEERING GMBH,            )                                         3         BY: HON. WILLIAM J. CAHILL (Ret.)
                                          )                                                   Two Embarcadero Center
   5
                                                                                    4         Suite 1500
                     Claimant,            )
                                          )
                                                                                              San Francisco, California 94111
                                                                                    5         415.774.2615
   6             vs.                      ) JAMS Reference
                                                                                              sschreiber@jamsadr.com
                                          ) No. 1100107291                          6
   7    BYTON NORTH AMERICA               )                                         7     FOR CLAIMANT / CROSS-RESPONDENT:
        CORPORATION,                      )                                                   LEWIS & LLEWELLYN
   8                                      )                                         8         BY: EVANGELINE A.Z. BURBIDGE
                     Respondent.          )                                                        BRADLEY E. ESTES
   9    __________________________________)                                         9              Attorneys at Law
                                          )                                                   601 Montgomery Street
  10    BYTON NORTH AMERICA               )                                        10         Suite 2000
        CORPORATION,                      )                                                   San Francisco, California 94111
  11                                                                               11         415.800.0590
                                          )
                     Cross-Claimant,      )                                                   eburbidge@lewisllewellyn.com
                                                                                   12         bestes@lewisllewellyn.com
  12                                      )                                        13
                 vs.                      )
                                                                                          FOR RESPONDENT / CROSS-CLAIMANT:
  13                                      )                                        14         VAN ETTEN SIPPRELLE, LLP
        EDAG ENGINEERING GMBH,            )                                                   BY: KEITH A. SIPPRELLE
  14                                      )                                        15              Attorney at Law
                     Cross-Respondent.    )                                                   2945 Townsgate Road
  15                                      )                                        16         Suite 200
        __________________________________)                                                   Westlake Village, California                 91361
  16                                                                               17         805.719.4900
  17                                                                                          ksipprelle@vstriallaw.com
  18                                                                               18
  19                                                                               19     ALSO PRESENT:
            Reporter's Transcript of Remote Proceedings, taken on
                                                                                   20         RICHARD CHEN, BYTON North America
  20    behalf of the Respondent/Cross-Respondent, commencing at
  21
                                                                                              SADHA KAMESWARAN, BYTON North America
        10:37 a.m., on Wednesday, April 7, 2021, before Jean Kim,                  21         LILLIAN XU, BYTON North America
  22    CSR No. 13555, RPR.                                                        22
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   1                       Wednesday, April 7, 2021;                                1     so if there are any additional questions that you have,
   2                                 10:37 a.m.                                     2     please let us know.       But otherwise, everything is covered
   3                                                                                3     pretty thoroughly in our post-hearing briefing.                So --
   4                THE ARBITRATOR:     All right.     Well, thank you.             4                  THE ARBITRATOR:     Yeah.     You guys did a good job
   5    This is our last time together before I do what I've got                    5     on that.      Yeah.   So those are my questions.
   6    to do.                                                                      6                  MS. BURBIDGE:     Yeah.     So --
   7                So you guys got my questions I sent out                         7                  THE ARBITRATOR:     I know you want to focus on
   8    yesterday?                                                                  8     those, which is a good idea, but if you have anything
   9                MS. BURBIDGE:     Yes, Your Honor.                              9     else to do, go ahead and do it.            I didn't want to -- mean
  10                MR. SIPPRELLE:     Yes, we did.     Thank you.                 10     to limit you to that.        But if you think I got something
  11                THE ARBITRATOR:     Yeah.     I got them in a little           11     plain wrong, that's fine.         Okay.
  12    late.     I thought you'd be able to have enough time to do                12                  MS. BURBIDGE:     Thank you, Your Honor.         No.
  13    them, but I should have got them out earlier.           But okay.          13                  What I'm going to do is I'm going to address
  14                There's enough questions there to last us                      14     your questions, and then I will reserve the remainder of
  15    forever, I think.     So why don't we -- who wants to go                   15     my time for rebuttal.        So if there are issues that are
  16    first?     Everybody's got a complaint here.        So we can, I           16     addressed by BYTON that EDAG needs clarification, we'll
  17    guess -- Ms. Burbidge, is your -- you started all this.                    17     address them at that point.            But there were, I think,
  18    So -- why don't you start with your oral argument here.                    18     three questions that were addressed to EDAG.              So I'll go
  19                MS. BURBIDGE:     Sure, Your Honor.     And I'm happy          19     ahead and answer those for Your Honor.
  20    to do that.     Let me -- give me just a moment.        And while          20                  THE ARBITRATOR:     Oh, okay.       All right.
  21    I'm getting all of this ready, what we will be doing                       21                  MS. BURBIDGE:     Thank you, Your Honor.
  22    here --                                                                    22                  So the first question that you had that was
  23                As you know, we're obviously prepared to answer                23     directed at EDAG was question number 2, and that question
  24    any questions that Your Honor has.           But our intent today          24     was:    Is it undisputed that, in December 2018, BYTON had
  25    is to focus on the questions that Your Honor asked.             And        25     paid EDAG all existing invoices?



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    1             So the facts actually are that BYTON had paid                   1        on some of these, and we can get them out of the way, if
    2      all of the past due invoices through December 2018.                    2        Your Honor would prefer to do that.
    3      There were a couple invoices that were issued in November              3              THE ARBITRATOR: Whatever works best for you
    4      and December of 2018 that weren't yet due. And so those                4        guys is okay with me.
    5      ones weren't yet paid.                                                 5              What do you think, Ms. Burbidge?
    6             If Your Honor cares to later -- Mr. Zoltowski's                 6              MS. BURBIDGE: I mean, with regard to number 2,
    7      report -- expert report in Schedule 3.1A sets out the                  7        if Mr. Sipprelle wants to jump in, that's just fine with
    8      date the invoices were issued, when they were paid, as                 8        me. On some of these -- we can take that approach and
    9      well as the corresponding purchase orders. So that has a               9        see how it goes.
   10      table that outlines all of that.                                      10              Some of the media questions, I may want a moment
   11             And Mr. Metz's correspondence -- that's the COO                11        to process what Mr. Sipprelle has said, and then I'll
   12      of EDAG -- which is contained in Exhibit 147, also has a              12        perhaps let Your Honor know that I'll save a response for
   13      column that lays that out as well. The dates that the                 13        a rebuttal.
   14      invoices were issued, when they were due, and then when               14              But at this point, Mr. Sipprelle, if you want to
   15      they were paid.                                                       15        jump in, that's just fine.
   16             THE ARBITRATOR: Okay.                                          16              MR. SIPPRELLE: Okay. So, Your Honor, yes.
   17             MR. SIPPRELLE: Your Honor. Mr. Sipprelle.                      17              On number 2, I think the evidence is that all of
   18             If I could just make a suggestion. On some of                  18        the invoices --
   19      these -- for example, number 2 -- it might be more                    19              THE ARBITRATOR: Can you hold on one second. I
   20      productive, after Ms. Burbidge says what she's going to               20        thought I had something here organized, and I don't quite
   21      say, if I can just -- some of these are not going to be               21        have it yet. So let me -- do this right here. Sorry.
   22      disputed, and we can just put them to rest, I think. And              22              MS. BURBIDGE: Oh, no problem.
   23      if --                                                                 23              MR. SIPPRELLE: No worries, Your Honor.
   24             THE ARBITRATOR: Okay.                                          24              THE ARBITRATOR: One more second here.
   25             MR. SIPPRELLE: I can just respond very quickly                 25              Okay. Number 2. Let's go.


                                                             Page 7                                                                       Page 8
    1             MR. SIPPRELLE: Yes. So just to follow up on                      1        about the compound interest. So --
    2      what Ms. Burbidge said. I think the evidence is that                    2               THE ARBITRATOR: Right. Right. I don't see the
    3      BYTON was current on its invoices -- on its payments as                 3        statute saying compound interest. And I've done it other
    4      of the end of December 2018. There were a few invoices                  4        times -- you know, this has been in my life for a long
    5      that had been issued in 2018 that had not yet been paid,                5        time, and I always thought it was going to be a simple
    6      but those were not due yet because there was a 60-day --                6        interest, but I could be wrong.
    7             MS. BURBIDGE: That's right.                                      7               MS. BURBIDGE: Yes, Your Honor. So there are
    8             MR. SIPPRELLE: -- payment period. So I think                     8        cases that go both ways. In particular, there's a case
    9      we're in agreement that BYTON was basically current as of               9        that is called Michelson -- hold on just a moment. Let
   10      the end of 2018.                                                      10         me see if I can pull this up here. Just a second --
   11             MS. BURBIDGE: Yes. So just to -- so that the                   11         Michelson v. Hamada, 29 Cal.App.4th 1566, that does
   12      question -- it's correct that BYTON had paid EDAG all due             12         state -- the Court of Appeal held it was proper to award
   13      invoices for question number 2, but not all existing                  13         compound interest for a matter that included contract
   14      invoices, I think, is the clarification.                              14         damages.
   15             MR. SIPPRELLE: Right.                                          15                That said, Your Honor, we recognize that there
   16             THE ARBITRATOR: Okay. Okay. Good.                              16         are a large number of cases that speak towards simple
   17             MS. BURBIDGE: Okay. So then the next question                  17         interest. And our expert, Mr. Zoltowski, felt that
   18      has to do with EDAG's damages. So -- and it's number 5,               18         compound interest, in this case, made sense. But
   19      which is regard to the interest calculation here. So                  19         recognizing the split, he included both calculations in
   20      this is just a side of EDAG's damages that it's seeking.              20         his report.
   21      This is outlined in our post-hearing briefing,                        21                And Schedule 5 of his report does a comparison.
   22      Your Honor.                                                           22         And Schedule 11 sets out the simple-interest-only
   23             And with regard to this statutory interest,                    23         calculation. And there's actually -- given the date of
   24      right, under California Civil Code Section 3289(b),                   24         the breaches, there is actually not a very large
   25      right, it's set at 10 percent. And your question was                  25         difference between a simple-interest calculation and a

                                                                                                                          2 (Pages 5 to 8)
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    1       compound-interest calculation. So EDAG defers to                      1        BYTON does not have cash, but does have assets, namely,
    2       Your Honor, obviously, on whatever you're comfortable                 2        the IP that EDAG created. And given, you know, the
    3       with --                                                               3        recent articles that we cited in our brief, we're very
    4              THE ARBITRATOR: Well --                                        4        concerned that BYTON might transfer those assets to avoid
    5              MS. BURBIDGE: -- in this instance.                             5        paying any judgment. So we would request an injunction
    6              THE ARBITRATOR: Good. I'm comfortable with                     6        be issued.
    7       simple interest.                                                      7               THE ARBITRATOR: Let me hear what Mr. Sipprelle
    8              MS. BURBIDGE: Okay. We understand.                             8        says about that in this current time here.
    9              THE ARBITRATOR: All right. Good.                               9               Can you tell me about that, Mr. Sipprelle?
   10              MS. BURBIDGE: So then, your next question,                    10               MR. SIPPRELLE: Yes, I can, Your Honor.
   11       Your Honor, was with regard to Question 12, with regard              11        Thank you.
   12       to EDAG's request for an injunction. And you had asked               12               We certainly -- BYTON certainly objects to this
   13       if you had authority to issue an injunction.                         13        request for -- basically to freeze -- it's essentially a
   14              So the TDLA here, which you see on the screen,                14        request to freeze BYTON's assets, which would put BYTON
   15       explicitly provides you that authorization under                     15        essentially out of business.
   16       Section 14.4. It states that you have full power and                 16               I mean, as they phrased it, that would even
   17       authority to fashion appropriate remedies, including                 17        preclude BYTON from making payroll because that would be
   18       temporary, preliminary, interim, or permanent injunctive             18        a transfer of BYTON asset to somebody else. And I think
   19       relief.                                                              19        it's very clear that there is no authority, either under
   20              And JAMS 24C also provides that authorization in              20        the arbitration agreement or under applicable law, for
   21       conjunction with the agreement between the parties. So,              21        that kind of request.
   22       as we set out in our brief, EDAG is asking for temporary             22               If we look at Section 14.4B of the TDLA -- and I
   23       injunctive relief. It's not interested in the permanent              23        think it's up there, but I can't -- I don't know if you
   24       injunction.                                                          24        can make that a little larger. I can barely see that.
   25              But as the evidence in the case made clear,                   25               MS. BURBIDGE: I can try. If you want to share


                                                           Page 11                                                                       Page 12
    1       your screen, Keith --                                                  1       detailed, very specific. That's in Code of Civil
    2             MR. SIPPRELLE: Okay. I guess --                                  2       Procedures sections 481.010 and following. And that's a
    3             MS. BURBIDGE: There you go. Is that --                           3       very specific prejudgment attachment remedy.
    4             MR. SIPPRELLE: I can put mine. Okay.                             4             You have to go through a lot of hoops. And even
    5             So what they've highlighted is -- it says the                    5       if you get the attachment, all the attachment allows you
    6       arbitrator will have full power and authority to                       6       to do is to try to attach assets, specific assets, that
    7       determine issues of arbitrability and to fashion                       7       you can locate. It is not a prophylactic asset freeze.
    8       appropriate remedies.                                                  8       That doesn't exist under California law, what they're
    9             They didn't read the next portion, which says                    9       asking for.
   10       "provided that the arbitrator will not have any right or             10              What they're asking for also doesn't exist under
   11       authority; one, in excess of the authority that a court              11        federal law. And, in fact, this issue was addressed by
   12       having jurisdiction over the parties in the dispute would            12        the US Supreme Court in 1999. There's a case called
   13       have absent this arbitration agreement. Or to award                  13        Grupo Mexicano de Desarrollo SA. It's 527 U.S. 308. And
   14       damages," et cetera.                                                 14        in that case, the Supreme Court held that federal courts
   15             But I think the key provision is that, one --                  15        lack the inherent power to issue injunctions or asset
   16       sub-1, which is: Your Honor doesn't have authority in                16        freezes in money damages cases like this one.
   17       excess of the authority that a court would have if there             17              So what they are asking for is not authorized
   18       was not an arbitration agreement.                                    18        under California law, under federal law. And the
   19             And this -- the TDLA is governed by California                 19        arbitration agreement is very clear that Your Honor can't
   20       law. That's in Section 14.4A. There is no authority                  20        issue orders in excess of what a court could do if this
   21       under California law or under federal law for an asset               21        case was pending in court.
   22       freeze -- a prejudgment or even a post-judgment asset                22              So it's not authorized.
   23       freeze.                                                              23              THE ARBITRATOR: Okay. I certainly can't do
   24             California has, as Your Honor, I'm sure, is                    24        more than a court can do. Well, maybe I could, but I'm
   25       aware, prejudgment writ of attachment process that's very            25        not inclined to do that. That's the first time I've

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    1      heard about this.                                                       1       these talks about selling the actual car on the market
    2             Mr. Sipprelle, did you know that they were                       2       but doing it without using BYTON North America so as to
    3      asking for this before you saw their brief?                             3       avoid those creditors that BYTON owes money to.
    4             MR. SIPPRELLE: I did not. I was, I have to                       4              So there's a real concern that the IP that EDAG
    5      say, quite surprised at what they -- and there's no                     5       created, which has great value, would be shifted to
    6      authority in their brief. They cite no legal authority                  6       another entity that would make money. And that's
    7      for this, and there isn't any.                                          7       something that obviously came to light at the -- after
    8             It's not authorized by law, and that basically                   8       the conclusion of the hearing. So that's why it was
    9      would -- number 1, it would -- they're trying to jump to                9       something we raised in our briefing.
   10      the head of the line of BYTON's creditors. And,                       10               THE ARBITRATOR: Okay. I understand that. I'm
   11      number 2, it would essentially put BYTON out of business              11        worried that I don't have jurisdiction to do this even if
   12      because we couldn't even pay our employees if that kind               12        I wanted to. But I understand your concern. But
   13      of an order was in place.                                             13        Mr. Sipprelle says you'd be ahead of other creditors. If
   14             They have their remedies. If they get a                        14        they go into bankruptcy, this will be an issue, whether
   15      judgment and the remedies are what the law provides, they             15        it's even enforceable or not.
   16      can try to collect if they get a judgment. But they                   16               MS. BURBIDGE: Yes, Your Honor.
   17      can't get an asset freeze.                                            17               THE ARBITRATOR: I understand your concern. I
   18             THE ARBITRATOR: I bet Ms. Burbidge would say                   18        understand you, but this is a concern of everybody's got
   19      you can pay your employees -- I could exclude that from               19        owed money, I think.
   20      the injunction.                                                       20               MS. BURBIDGE: I don't have a sense of how many
   21             MS. BURBIDGE: Yeah. I think, Your Honor, that,                 21        other folks BYTON owes money to, Your Honor.
   22      as we indicated in our briefing -- and this is something              22               If you are interested in some sort of brief,
   23      that was a concern that came to light subsequently,                   23        additional submission on this point today to try to keep
   24      right, was the concern that there would be an asset                   24        things expedited, we'd be happy to provide that to you.
   25      transfer to avoid any relief. Right? And that there are               25        But I simultaneously do not want to draw this out.


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    1      Obviously, you know, EDAG is very interested in a                      1        her response. But I'll just start at the beginning.
    2      resolution, and an expedited one, if possible.                         2              Question number 1, Your Honor asked about the
    3             THE ARBITRATOR: Well, let me do this. Let me                    3        amount of the -- I guess undisputed amounts owed. And
    4      just tell you where I'm going to come out on that. I'm                 4        there's a figure, Your Honor, put out of $26,407,397.
    5      going to not give you an injunction. Okay?                             5              I guess I wouldn't couch -- I guess what I would
    6             MS. BURBIDGE: Okay, Your Honor. Understood.                     6        say is that BYTON doesn't dispute that the base amount of
    7             THE ARBITRATOR: Just so we don't have to worry                  7        the unpaid EDAG invoices is actually 23,446,649 euro.
    8      about it anymore.                                                      8        I mean, the TDLA was in terms of euro. So I think that
    9             MS. BURBIDGE: Okay.                                             9        is the amount of the undisputed unpaid invoices. I
   10             THE ARBITRATOR: Okay. Great.                                   10        wouldn't characterize that as we owe any money. We don't
   11             MS. BURBIDGE: Those were the only questions                    11        think we owe money for reasons I'll discuss --
   12      directed to EDAG, Your Honor. So I'm happy to turn it                 12              THE ARBITRATOR: I know you're saying you don't
   13      over to Mr. Sipprelle. And then I can jump in and                     13        owe money --
   14      respond, or I will let Your Honor know that I'm going to              14              MS. BURBIDGE: I'm sorry, Your Honor. Someone
   15      save a sort of a joint rebuttal response.                             15        has called in, and there's some typing noise in the
   16             THE ARBITRATOR: No problem. All right.                         16        background. And I don't see a name associated.
   17      Thank you.                                                            17              THE ARBITRATOR: Who just came in? Who is that?
   18             So we're clear on that. No injunction.                         18              MR. CHEN: This is Chen from BYTON. I'm the
   19             Okay. Next.                                                    19        IP director. Just listening in.
   20             Mr. Sipprelle, you're on there with your --                    20              MR. SIPPRELLE: Hi, Richard. You'll need to
   21             MR. SIPPRELLE: Yes, Your Honor. Yes.                           21        mute yourself so we can't hear you.
   22      Thank you.                                                            22              MR. CHEN: Yup.
   23             So what I plan to do is I plan to address the                  23              MS. XU: Chen, can you please mute yourself on
   24      questions that Your Honor directed to BYTON, and, as                  24        mute.
   25      appropriate, I guess, Ms. Burbidge can respond or defer               25              MR. CHEN: I thought I did.


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    1             THE ARBITRATOR: Well, you're not now. So -- I                   1              MR. SIPPRELLE: Yes. So the way I would respond
    2      can mute you. You're muted. All right. You're gone.                    2        to that -- and I think this came out in the hearing -- is
    3      You're muted.                                                          3        BYTON never put anything in writing to EDAG stating
    4             MS. XU: Thank you, Your Honor.                                  4        expressly it was rejecting or accepting a deliverable.
    5             MS. BURBIDGE: Keith, I'm sorry. Could you                       5              There was nothing ever expressed in writing
    6      repeat that number in euros again?                                     6        saying either acceptance or rejection. But BYTON
    7             MR. SIPPRELLE: Yeah. 23,446,649.                                7        certainly made EDAG aware on many, many occasions during
    8             MS. BURBIDGE: Your Honor, just to jump in, that                 8        the course of the relationship that it was unhappy,
    9      is the same number that we have in our briefs, and the                 9        concerned, dissatisfied with EDAG's work product. And
   10      number that you've provided is the US equivalent of that              10        the references to the evidence are in Footnote 12 in our
   11      number.                                                               11        brief. I mean, I don't want to have to go through all
   12             THE ARBITRATOR: Okay. Good. That's where I                     12        those, but it's in Footnote 12.
   13      got it from.                                                          13              What I would say, Your Honor, is with respect to
   14             So you're saying you want -- you say you owe no                14        rejection, BYTON actually, in effect, did reject two of
   15      money because errors exceed the amount of owed. But just              15        EDAG's deliverables. The key one was the front-end
   16      starting from there -- so I got the 26 million is the                 16        packaging work, which EDAG -- basically, BYTON took that
   17      right number. Okay. Got it.                                           17        over in 2018 because EDAG was not able to fix the
   18             MR. SIPPRELLE: Yes, Your Honor.                                18        problems with the initial design in a timely manner. And
   19             And number 2, we dealt with. That was directed                 19        that was testified to by David Twohig during day five.
   20      to EDAG.                                                              20              So the references there would be page 518, 2
   21             Number 3, Your Honor asked: Does BYTON contend                 21        through 17; 519, 19 through 520, 19. And then
   22      that it ever promptly rejected any EDAG deliverable? If               22        Mr. Kameswaran testified to that at page 823, line 1,
   23      so, when?                                                             23        through 825, line 17. So, effectively, BYTON rejected
   24             THE ARBITRATOR: I got that promptly from the                   24        the EDAG design of the front end by taking it over in
   25      contracts. So --                                                      25        2018. And that front-end design or redesign, that's the


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    1      engineering error on which BYTON's $31 million                         1              THE ARBITRATOR: I know you took it over. I
    2      counterclaim is premised.                                              2        don't remember if you gave them an opportunity to fix
    3             THE ARBITRATOR: Sure. But when you do a                         3        it --
    4      rejection, you follow the contract. They get a chance to               4              MR. SIPPRELLE: So that's -- the evidence I just
    5      fix it because they have a fixed-price contract. They're               5        referenced from Mr. Twohig and Mr. Kameswaran --
    6      going to build it until it works for whatever total                    6        basically, EDAG was given multiple chances to redesign
    7      amount of the contract was.                                            7        the front-end. They couldn't do it, and so BYTON had to
    8             So you didn't formally object it and set in that                8        take it over.
    9      process. You are saying, "I did reject -- you had design               9              THE ARBITRATOR: Okay.
   10      defects, and I did reject it."                                        10              MR. SIPPRELLE: So we view that, essentially, as
   11             Okay. I got it. All right.                                     11        a rejection of the design. And then --
   12             MR. SIPPRELLE: Yes. And the reason we did that                 12              THE ARBITRATOR: That's in your brief. I saw
   13      is they couldn't fix it, and we were on a schedule, and               13        that. I just didn't see where -- okay. I understand
   14      we were trying to get, you know, the vehicle out and                  14        what happened there. You didn't use the formal process.
   15      so -- BYTON made a decision. "We're going to have to                  15        You didn't really reject anything in writing, but when
   16      take this over. We don't have time" --                                16        you took it over, that was the implied rejection.
   17             THE ARBITRATOR: I understand your argument                     17              MR. SIPPRELLE: Right.
   18      there. But you did not -- the evidence will have some                 18              THE ARBITRATOR: Okay.
   19      reference to they tried to fix it?                                    19              MR. SIPPRELLE: Correct. And then the other one
   20             MR. SIPPRELLE: Yes.                                            20        was the center console. And Mr. Slovesko testified about
   21             THE ARBITRATOR: You went back to them and told                 21        this at page 686, 14, through and 689, 9. And that one
   22      them --                                                               22        was another one. We had to take away the design of the
   23             Yes? Okay --                                                   23        center console from EDAG to another supplier because EDAG
   24             MR. SIPPRELLE: Yes. There were two -- there                    24        couldn't correct the design. And we had to stay on
   25      were basically two --                                                 25        schedule if we were going to get this vehicle out.


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    1             So those two, I -- BYTON's position is,                          1       They did accept in writing. And they tooled that car as
    2      effectively, they were rejections of the EDAG design.                   2       well. And then there are no written rejections.
    3             THE ARBITRATOR: Okay. I got it. All right.                       3              And then to address these two constructive
    4             So I'm going to ask you, Ms. Burbidge, to --                     4       rejections that BYTON now claims it made -- Mr. Twohig's
    5      when you get a chance to talk: Do you agree with him                    5       "inheritive" about the front-end packaging has been
    6      that you got a chance to fix these problems before they                 6       disputed completely by all of EDAG' witnesses, and, in
    7      went to someone else? And you don't have to do that now.                7       fact, by Mr. Slovesko himself. He said that some of
    8      I just wanted to make sure --                                           8       Mr. Twohig's claims about the lack of a front engine, for
    9             MS. BURBIDGE: No. I'm happy to just briefly                      9       example, were untrue.
   10      address these, Your Honor. I think, Your Honor, that                  10               And so I think the idea that they took it over
   11      they are addressed in detail in our brief, with multiple              11        because EDAG wasn't doing a good job actually is not
   12      citations.                                                            12        supported by any facts. And there are no documents,
   13             So I will just say at a high level that, here,                 13        internal to BYTON or otherwise, that have been introduced
   14      BYTON concedes that it never formally followed the                    14        into this case to indicate that's why they started
   15      contract and issued a rejection notice. This was a                    15        working on a front-engine packaging as opposed to what
   16      provision, Section 4.2, that explicitly required them to              16        EDAG's witnesses explained, which was: This was always
   17      promptly accept and reject.                                           17        intended to become BYTON's project.
   18             We would very clearly argue that the acceptance                18               And the center console story here -- I think
   19      could be seen in multiple places. This is in our                      19        there are two important things to keep in mind. The
   20      briefing, right, in the signing of the invoices, the                  20        first is that there are no damages associated with the
   21      signing of the performance documentation, the engineering             21        center console rework. So taking their allegations at
   22      authorization releases that BYTON signed off on. You                  22        face value -- okay. They're saying that they did this,
   23      know, almost a dozen BYTON individuals approving the                  23        but there are no damages that they can substantiate.
   24      designs.                                                              24               And, additionally, Kai-Uwe Salzmann testified
   25             So we would argue that this was done in writing.               25        extensively that that story that Mr. Sipprelle just


                                                           Page 23                                                                       Page 24
    1      conveyed is not actually what happened with regard to the               1       all that else happened -- and it goes into the car and
    2      center console. BYTON had control of it. It was unable                  2       the car doesn't work because of that problem, it's under
    3      to design the center console; so it brought in EDAG to                  3       your obligation to fix it at that time still; right?
    4      help, under BYTON's control.                                            4               MS. BURBIDGE: So --
    5            EDAG created a design that the first                              5               THE ARBITRATOR: Because you're supposed to
    6      manufacturer could tool, and it was at a price that BYTON               6       design everything until the end until you get a car.
    7      did not want. So BYTON picked a different manufacturer.                 7               MS. BURBIDGE: Yes. So, Your Honor, I think --
    8            Regardless, there's no evidence, right, of any                    8       so this is an argument that --
    9      written rejection, under the contract or otherwise.                     9               THE ARBITRATOR: Because they still could reject
   10      Instead, there's, you know, I think -- conveniently,                  10        it if it doesn't work.
   11      after EDAG finally tried to get paid for its overdue                  11                MS. BURBIDGE: Yeah. So, Your Honor, I think
   12      invoices, which BYTON admits it owes, they raise these                12        there's a bit of a conflation here that BYTON is making
   13      issues. They didn't follow the terms of the contract                  13        in what is called the validation phase of the program and
   14      with regard to either of those alleged rejections would               14        the validation process for EDAG's work. So I'm happy to
   15      be --                                                                 15        explain that now if Your Honor would like.
   16            THE ARBITRATOR: I think Mr. Sipprelle agrees                    16                THE ARBITRATOR: Well, if it's in response to my
   17      with that. He's just making his argument.                             17        question, sure. I don't want to -- if it's something
   18            I have a question that I thought about last                     18        new --
   19      night after I sent all these questions.                               19                MS. BURBIDGE: I'm just making sure. I don't --
   20            BYTON says that you're not going to get a                       20        I know Mr. Sipprelle's plan --
   21      rejection -- the only time -- let's see. There's no                   21                THE ARBITRATOR: No, no.
   22      formal rejection at all until such time as it doesn't                 22                MS. BURBIDGE: So the validation phase, right,
   23      work in the eventual automobile.                                      23        is the final phase of the program that's confirming the
   24            Now, if it turns out that one of your designs --                24        vehicle passes, you know, supplier readiness; it's ready
   25      even though everybody paid for it, put it on the invoice,             25        to be sent out from a delivery point of view.

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    1             The way that the virtual data works for a car --                 1        BYTON that he had seen before the part was tooled.
    2      and Mr. Amelung testified about this at length, and it's                2               So it was a very comprehensive review before
    3      also in our briefing. So, from a pure engineering                       3        they built those parts.
    4      standpoint, the engineering designs have already been                   4               THE ARBITRATOR: But they still -- BYTON still
    5      validated and tested before you tool that car. And                      5        has the ability to reject your design if it doesn't work
    6      Mr. Slovesko even talked about this in detail; right? So                6        in a car. And you have to fix it, then, under this
    7      the reason -- and Mr. Twohig as well.                                   7        contract.
    8             The reason that there's so many signature on                     8               MS. BURBIDGE: So they could -- so the way that
    9      that authorization release, the engineering authorization               9        it would -- I think the way that Mr. Amelung would
   10      release, is because it's his job -- all of these                      10         explain it, Your Honor, is that they wouldn't actually be
   11      individuals at BYTON's job -- to look at the design, to               11         able, at that point, to reject the entire design. Right?
   12      review the design, to make sure it passes the necessary               12         They couldn't say at the end, "We're not going to pay
   13      validation testing before you build that tool and before              13         for" --
   14      you build that car.                                                   14                THE ARBITRATOR: Oh, I don't mean the design.
   15             So the only adjustments that would need to be                  15         You're not going to pay for the doorknobs or something.
   16      made after the tooling of the car are minor ones. And                 16         I mean, they could reject part of it, couldn't they?
   17      EDAG was certainly on board to help assist with those,                17                MS. BURBIDGE: So what I think what happened,
   18      but it's just not the case in the current engineering                 18         given the nature of the contract, right, is that there
   19      world, given how advanced CAD data is and so on, that you             19         are parts that -- EDAG is creating this virtual data
   20      have no idea if the car's going to work, right, before                20         that's being tested and put into place. Right? And so
   21      you build those tools.                                                21         that is tested in a very sophisticated virtual world
   22             That's why Mr. Kattola, for example -- who is                  22         before the part is tooled. And what Mr. Amelung, I
   23      not an EDAG employee, who's worked for a number of other              23         think, explained is that, when it is tooled, there are
   24      automotive companies -- you know, he testified that this              24         minor adjustments that are made.
   25      was the most comprehensive process, review process, at                25                And one of the reasons why Mr. Slovesko sent

                                                           Page 27                                                                        Page 28
    1      that e-mail in August praising EDAG's work on these                    1        just there's so many things that are done before that
    2      early-level versions of the tool, right, was because you               2        that you're never going to get there. Right?
    3      make -- and Mr. Salzmann testified about this as well --               3               MS. BURBIDGE: Yes, Your Honor.
    4      you make different versions of the tool to kind of refine              4               And I would actually, for example, direct your
    5      it along the way.                                                      5        attention later, if you would like, to trial Exhibit 7 or
    6             So there isn't all of a sudden a car that's                     6        8. Those are examples of presentations that were given
    7      going to consumers that has some giant problem. This is                7        during the course of this relationship where they show
    8      part of the iterative process. Of course, if there were                8        the progress of the various components.
    9      an element, a minor element, that needed adjustment, the               9               BYTON and EDAG have meetings where they show
   10      contract allows BYTON to say formally that there's an                 10        where things are going, and it's indicated by color
   11      error.                                                                11        lights -- is it red, yellow, or green -- right, along the
   12             But what EDAG's witnesses would explain and, I                 12        process. And these are very frequent meetings because of
   13      think, did explain, is that that would happen much                    13        the complexity of the design and the complexity of the
   14      earlier in the process. And the reason there's a formal               14        vehicle.
   15      error notice is because BYTON can ask EDAG to reduce the              15               It isn't the case that EDAG goes off and does
   16      amount of money it receives. Right?                                   16        its own thing. It's a constant communication with BYTON.
   17             Under the error notice process, one of the                     17        And obviously had 18 to -- you know, employees embedded
   18      options for BYTON is to ask EDAG to write off costs. So               18        in the BYTON facility in Santa Clara. So they're
   19      that's why it's formal and written.                                   19        constantly approving the design along the way.
   20             THE ARBITRATOR: So the answer to my question                   20               THE ARBITRATOR: Okay. And so this is -- their
   21      is: Yes, you would have to fix it, but there's so many                21        argument that you can't reject it until the validation
   22      checks and balances before you can do that procedure,                 22        phase is -- you just addressed that in a different way;
   23      it's really unlikely that it's going to happen. And if                23        right?
   24      it does happen, you guys will -- yeah. If it does                     24               That can't make any sense because of all this
   25      happen, you're under the obligation to fix it, but it's               25        stuff that's happened; right?


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    1             MS. BURBIDGE: Yes, Your Honor. That's right.                    1        subject of our counterclaim or cross-complaint, the
    2      And -- go ahead.                                                       2        front-end, the front-end packaging, we did effectively
    3             THE ARBITRATOR: No. I'm fine.                                   3        reject that before we got to the validation testing.
    4             MR. SIPPRELLE: And, Your Honor, just to respond                 4              THE ARBITRATOR: All right. So we'll -- okay.
    5      to that -- our position is you cannot fully and finally                5        That makes sense to me.
    6      either accept or reject until after validation for all of              6              MS. BURBIDGE: The one other point that I would
    7      the reasons that were discussed at the hearing.                        7        simply add -- and then we can, I think, move on to the
    8             And Mr. Salzmann, their own witness, basically                  8        next question that Mr. Sipprelle's going to address -- is
    9      conceded that. And this is -- that was on day nine of                  9        the testimony regarding the validation testing process.
   10      the hearing at page 1144, 7 through 1145, 10. I asked                 10              I would just mention to Your Honor that BYTON's
   11      him that, if BYTON found an error in EDAG's virtual data              11        only witness who put forward this position was
   12      during the validation testing, what would happen? Would               12        Mr. Kameswaran, who is a finance expert. And he is not
   13      BYTON have no remedy?                                                 13        an engineer. And he testified that he would defer to
   14             And he said, "Well, yeah. Basically, BYTON                     14        Mr. Amelung, you know -- Mr. Kattola, Mr. Twohig,
   15      would have a remedy." So --                                           15        Mr. Slovesko regarding engineering issues and that EDAG's
   16             THE ARBITRATOR: I think she's agreeing with                    16        witnesses, who are engineers and who are body engineering
   17      that too. I think she's just saying it's really                       17        experts, testified that this is not how it's done in the
   18      unlikely.                                                             18        field. And that this is not -- it is not the case that
   19             MR. SIPPRELLE: Well, it may or it may not be,                  19        you wait until the very end to reject a part.
   20      but I think that just makes our point that you cannot                 20              THE ARBITRATOR: Okay. Well, I think I
   21      really accept or reject something definitively until                  21        understand the difference now.
   22      after the validation testing.                                         22              Mr. Sipprelle, you want to go ahead?
   23             But, you know, I think it's probably not that                  23              MR. SIPPRELLE: Yes. I'll go ahead. I just
   24      significant anyway, at least with respect to the                      24        want to respond to that.
   25      cross-complaint, because the one error that is the                    25              Mr. Kameswaran is an engineer. That was the


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    1      testimony.                                                             1        the evidence from our side, I think, was pretty clear on
    2            THE ARBITRATOR: Okay. Well, he's listening to                    2        this -- is that simply accepting an invoice is an
    3      us. He'll --                                                           3        acceptance or an acknowledgment that the work reflected
    4            MR. SIPPRELLE: Yes. He would be offended if I                    4        in the invoice was actually performed, not that any
    5      didn't make that point. Okay.                                          5        particular deliverable was adequate.
    6            THE ARBITRATOR: You don't want to offend a                       6               We wouldn't know if the deliverable actually was
    7      client. That's not a good move.                                        7        adequate until validation tested. With those two
    8            MR. SIPPRELLE: Not a good move at all.                           8        exceptions of the deliverables, we effectively rejected,
    9            Moving on to question number 4, which was "Does                  9        when we took over the work, the front end design and the
   10      BYTON believe that EDAG ever issued an invoice before the             10        center console. Those, we did effectively reject. But
   11      deliverable was accepted." And Your Honor referenced                  11        the others, we wouldn't know until validation testing
   12      TDLA Section 7.1.                                                     12        whether they actually were acceptable.
   13            And BYTON's position is: Of course. Every --                    13               THE ARBITRATOR: I think Ms. Burbidge's argument
   14      as we just discussed, you can't really have full and                  14        is that this latest argument about acceptance is
   15      final acceptance until after the validation testing.                  15        something that's developed as a defense in this case
   16            So every invoice that EDAG issued before was                    16        that, all during the process itself, it never was
   17      before BYTON actually accepted, made full acceptance of               17        discussed at all. This was kind of a surprise to them
   18      the deliverable.                                                      18        when this case happened.
   19            THE ARBITRATOR: But in the contract, you never                  19               Is she correct about -- not your motives, but is
   20      objected if they were issuing -- I guess what you're                  20        it a fact that it never was brought up -- this whole
   21      saying is they issued all these invoices prematurely and              21        issue was never brought up during the contract? They
   22      you never objected to that during the project; right?                 22        would issue an invoice after the work was performed, and
   23      You just -- if everything worked out the way everybody                23        you weren't guaranteed the work was done right? Is
   24      thought it was going to work out; right?                              24        that --
   25            MR. SIPPRELLE: Okay. Well, our position -- and                  25               MR. SIPPRELLE: We wouldn't know. Yeah,


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    1      Your Honor, I understand what --                                       1        that we couldn't really have accepted anything until
    2            THE ARBITRATOR: This was a new issue that came                   2        right at the end of the process when things went through
    3      up during the arbitration; right?                                      3        the validation process. That's why we needed EDAG around
    4            MR. SIPPRELLE: Well, I don't know if it was a                    4        for startup production plus 90 days. And both sides
    5      new issue.                                                             5        agree.
    6            We were certainly making them aware throughout                   6               THE ARBITRATOR: Yeah. That's -- yeah. I think
    7      the relationship when we had issues or concerns or                     7        that's probably right. But --
    8      disappointments with their work product. You know, that                8               MR. SIPPRELLE: The other point I wanted to make
    9      was communicated on a regular basis. And there is a                    9        on this question.
   10      mountain of evidence in the record about that.                        10               Your Honor referenced TDLA Section 7.1. And I
   11            THE ARBITRATOR: Well, yeah. But they fixed                      11        think what Your Honor was referring to there was -- let
   12      that. They worked on stuff. I understand that.                        12        me see if I can share my screen here. Bear with me for a
   13            MR. SIPPRELLE: Well, except for those two items                 13        moment.
   14      where we had to take it over, you know.                               14               7.1, I think Your Honor was referencing the
   15            But we wouldn't -- you know, even though certain                15        second portion of the first sentence, where it says:
   16      things were addressed when we raised them, we wouldn't                16               "And in the case of fees due in connection with
   17      definitively know if this CAD design would work in the                17               the deliverables upon acceptance of the
   18      real world until the end of the process.                              18               deliverable by BYTON in accordance with
   19            And that's why the evidence is -- it's                          19               Section 4.2."
   20      undisputed from both sides that BYTON and EDAG were to                20               But the reality is that there were no fees due
   21      maintain this relationship for 90 days after the start of             21        in connection with the deliverables.
   22      production. It was for that very reason. We wanted to                 22               Actually, all of the fees were due under this
   23      make sure this actually worked in the real world and that             23        arrangement in the first part of the sentence. It says:
   24      EDAG was around to fix it if it didn't.                               24               "BYTON shall pay supplier the fees set forth in
   25            So I think that testimony simply underscores                    25               Section 4 in SOW in accordance with the schedule

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    1             and requirements set forth therein."                            1        Mr. Kameswaran, that this was a way of leveling out the
    2             So if we look at Section 4 of the SOW, which is                 2        payments so that things were paid over time. We didn't
    3       the statement of work -- and that's Attachment 1 to the               3        have to pay in a lump sum.
    4       TDLA.                                                                 4               And it also provided EDAG with a monthly cash
    5             So Section 4, if you can see that, says                         5        flow to cover expenses for its employees, engineers who
    6       "Development Fees and Charges."                                       6        were on site and so forth. That was the payment
    7             And then the first bullet point per page 74 of                  7        arrangement. There was no payment tied to any
    8       the project description. Okay?                                        8        deliverable.
    9             What that is -- that, page 74 of the project                    9               THE ARBITRATOR: Okay.
   10       description, is page -- so there were these attachments              10               MR. SIPPRELLE: So this second part of
   11       to the TDLA. And that was page, I believe, 93. Let me                11        Section 7.1 that talks about payments due in connection
   12       find that.                                                           12        with deliverables, that was not the arrangement. That
   13             Right here. Page 91. Which is actually                         13        language is in there, but that was not the payment
   14       page 4 -- 74 of the attachment. So that's what's                     14        arrangement between the parties.
   15       referenced as page 4 in the statement of work.                       15               And that would not have made any sense anyway
   16             This is the payment schedule that was agreed                   16        because invoices generally were not tied to any
   17       upon. There's no reference to payments tied to any                   17        deliverable. You could have work on a deliverable over
   18       deliverables. It was simply a flat 31-month agreed-upon              18        many, many, many invoices over many months. Mr. Amelung
   19       payment schedule. You know, over 31 months.                          19        testified to that. Page 326 through page 329.
   20             So there was no payment tied to the completion                 20               So it wouldn't have made sense to tie payments
   21       and delivery of the deliverable.                                     21        to completion and deliverables. And that was not the
   22             THE ARBITRATOR: Wasn't it because there was a                  22        arrangement.
   23       cash-flow issue and everybody agreed on a payment                    23               THE ARBITRATOR: But the invoice was issued
   24       schedule?                                                            24        after you guys confirmed the work listed in the invoice
   25             MR. SIPPRELLE: I think the testimony was, from                 25        was completed.


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    1             MR. SIPPRELLE: Correct. Yes. So what we did                     1              I think that there are a couple key points.
    2      is we looked at the work described in the invoice.                     2              The first is, no, there are no documents to show
    3      Confirmed that the work was actually done. Sometimes                   3        or suggest that the contract's terms were not to be taken
    4      there were some adjustments where you had some question.               4        at face value. Right? There's no correspondence from
    5      "Was this work actually done or not?"                                  5        BYTON. They have produced no documents to suggest that,
    6             Once we confirmed the work was done, then the                   6        when they were approving the invoices and the performance
    7      invoice was approved. But it wasn't tied to delivery of                7        documentation, that they weren't performing EDAG's
    8      a deliverable or acceptance of a deliverable.                          8        underlying work as well.
    9             THE ARBITRATOR: Okay. I understand your                         9              And I think, as our brief cites -- numerous
   10      argument.                                                             10        examples.
   11             MR. SIPPRELLE: Okay.                                           11              BYTON'S Mr. Slovesko would review these invoices
   12             MS. BURBIDGE: Let me -- Keith, that's questions                12        and the performance documentation in detail. He would
   13      4 and 5. Can I just jump in and respond?                              13        review them with numerous other individuals to make sure
   14             Do you mind not sharing your screen anymore,                   14        the work was done. He would reject them if the work
   15      Mr. Sipprelle.                                                        15        hadn't been done appropriately. So the idea that this is
   16             MR. SIPPRELLE: I can take that down.                           16        just some sort of cash advance really is a trial-borne
   17             MS. BURBIDGE: Thank you.                                       17        understanding of the contract.
   18             THE ARBITRATOR: You guys get along well for                    18              I'd also just note that there's testimony from
   19      opposing counsel. Geez.                                               19        Mr. Amelung, who helped negotiate this contract regarding
   20             MR. SIPPRELLE: Go ahead.                                       20        the meaning of these provision. Mr. Kameswaran did not
   21             MS. BURBIDGE: We're still seeing your                          21        help negotiate those parts of the contract.
   22      background there. You have to stop the share screen --                22              Those are the main things that I would point to
   23      all right.                                                            23        is that the weight of the evidence very clearly supports
   24             Your Honor, our brief really deals with this in                24        EDAG's interpretation of the contract and what the
   25      detail; so I don't want to rehash that too much here.                 25        approval of the invoices meant.

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    1             THE ARBITRATOR: Okay. All right. So number 5.                   1        of what it believed the engineering errors was on
    2      What evidence or record supports BYTON's position --                   2        November 20, 2019," which I think Your Honor was
    3             I think you've explained that, Mr. Sipprelle,                   3        indicating -- I mean, that's when BYTON, I believe, filed
    4      haven't you?                                                           4        its counterclaim.
    5             MR. SIPPRELLE: Yeah. I think we just covered                    5              And the evidence is absolutely not. I mean, we
    6      that. It would be the payment schedule. We talked about                6        put in a mountain of evidence that BYTON made EDAG aware
    7      Exhibit 3-091, which shows it's not tied -- payments are               7        on many, many occasions during the relationship of
    8      not tied to completion and delivery of a deliverable.                  8        unhappiness, concern, dissatisfaction with EDAG's work
    9             There's Mr. Amelung's testimony that work on a                  9        product, and all of that evidence is referenced in
   10      particular deliverable could carry through multiple                   10        Footnote 12 in our closing brief.
   11      invoices.                                                             11              But I just want to highlight one aspect of this.
   12             There's a mountain of evidence from the BYTON                  12              David Twohig, he joined BYTON in early 2018 --
   13      side that explains that all we were doing was approving               13        so this is a year and a half before the litigation. And
   14      that the work had been done, not acceptance of the                    14        his testimony is that, virtually, from day one after he
   15      deliverable.                                                          15        joined, he was raising issues about problems with EDAG's
   16             And then all of the testimony we've talked about               16        engineering work.
   17      about how we can't really accept the deliverable until                17              And Your Honor can look at, for example,
   18      validation testing. So --                                             18        page 515, line 6 through 21; page 548, line 4, through
   19             THE ARBITRATOR: Okay.                                          19        549, line 11 -- Mr. Twohig essentially testified in those
   20             MR. SIPPRELLE: That would be the evidence. And                 20        areas that, within a couple of weeks of him joining the
   21      I think we've talked about that.                                      21        company, he was raising engineering concerns with EDAG.
   22             THE ARBITRATOR: Good job. I'm glad I asked the                 22              And there is lots of other --
   23      question, and I'm glad I got the answer. Right.                       23              So the answer is absolutely not. This was not
   24             MR. SIPPRELLE: On number 6, Your Honor asked                   24        some Johnny-come-lately, you know, raising it only after
   25      "Is it undisputed that the first time BYTON notified EDAG             25        we got sued. We were raising engineering errors very


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    1      early on with EDAG.                                                     1       $31 million because we had to redesign the front." No.
    2             THE ARBITRATOR: I may have asked the question                    2              We're trying to work with EDAG to get the
    3      badly. And I also see now I've got some typos in my                     3       vehicle to completion. No. Of course we're not going to
    4      numbers. Great. But -- all right.                                       4       tell them, while we're working with them, trying to get
    5             So I think this came about where you say that                    5       this vehicle done, "Hey, you owe us $31 million." No.
    6      all these design errors were -- what I meant by this                    6              Yes. We did not tell them that. We're trying
    7      question was: So you're saying that you got design                      7       to maintain this relationship.
    8      errors that are so massive that it's over $31 million.                  8              But once they sue us, once the relationship is
    9             When did that first come up, the 31 -- let me                    9       sunder by them pulling out and them initiating the
   10      just say this.                                                        10        arbitration, then okay. Now we're going to have to go
   11             When did they know there was a $31 million                     11        back and figure out the damage that was done, and we did.
   12      counterclaim? The first time anybody discussed that was               12        Mr. Twohig did the calculation, and he calculated it was
   13      at the cross-complaint? I think that's what                           13        $31 million to get a redesign.
   14      Ms. Burbidge's client is saying.                                      14               THE ARBITRATOR: That makes sense.
   15             MR. SIPPRELLE: Okay. So let me break that out.                 15               Okay. And you can argue that Ms. Burbidge's
   16             So the $31 million issue is the front engine                   16        argument that this is all made up for arbitration is just
   17      compartment design or redesign issue. And our evidence                17        not right. It's just, when the relationship got severed,
   18      is we made them aware of that in 2018, and, in fact, we               18        then -- I guess you would have worked this out in the
   19      had to take that over in 2018. So --                                  19        future or sometime. I don't know.
   20             THE ARBITRATOR: Did you ever say you were going                20               MR. SIPPRELLE: Right. We would have --
   21      to backcharge them for it or --                                       21               THE ARBITRATOR: We weren't arguing about it
   22             MR. SIPPRELLE: No. Well, we didn't -- so the                   22        because they wanted to stay friends. Okay.
   23      evidence is no.                                                       23               MR. SIPPRELLE: Right. Right. The hope was we
   24             During the course of the relationship, we were                 24        were going to get the vehicle to production and EDAG
   25      not telling them, "Okay. We're going to backcharge you                25        would still be part of the relationship. That was the


                                                           Page 43                                                                       Page 44
    1      contemplation. You know, start of production plus                       1        say, "Hey, you actually owe us money," at any point --
    2      90 days.                                                                2               Even after the litigation was filed, right, they
    3            And then, at the end, the vehicle's in                            3        continued to promise EDAG at the CES meeting in
    4      production. We'll sit down with EDAG and figure out, you                4        January 2020, that CEO-to-CEO meeting in February --
    5      know, what an appropriate offset might be or                            5        their outside auditors called EDAG and said, "Hey,
    6      reimbursement or whatever. That was what we were                        6        BYTON's told us they owe you 24 million euro. Is that
    7      planning.                                                               7        true?"
    8            But once the relationship is over and they're                     8               That they would never approach EDAG and try to
    9      suing us, well, okay. Now we have to figure out what the                9        write down a single invoice even after Mr. Twohig
   10      damage is. And that's what we did.                                    10         allegedly finds these egregious errors just does not
   11            THE ARBITRATOR: All right. I understand.                        11         comport with the way that the relationship worked.
   12            Ms. Burbidge, did you want to say anything about                12                And, additionally, the contract itself was
   13      that?                                                                 13         written to allow BYTON these write-offs. That's what the
   14            MS. BURBIDGE: I will try to be brief about                      14         error notice process was all about.
   15      this, Your Honor, again, because I think we address it                15                And I won't go, at this point, into great detail
   16      pretty thoroughly in our post-hearing briefing.                       16         about Mr. Twohig's credibility. I think we address it,
   17            THE ARBITRATOR: Oh, you did. That's why I'm                     17         again, pretty thoroughly.
   18      asking a number of questions.                                         18                So, you know, he didn't read the agreement. He
   19            MS. BURBIDGE: So, Your Honor, I think we set it                 19         didn't do his research before writing that declaration,
   20      out very, very clearly here.                                          20         and we provided a lot of evidence that proved that quite
   21            This theory that is offered, right, just simply                 21         definitively beyond the testimony of Mr. Amelung.
   22      does not comport with the way business is done in the                 22                And BYTON has not produced any documents to
   23      real world.                                                           23         substantiate these serious claims, and the e-mails they
   24            The idea that EDAG would accumulate, you know,                  24         have produced are minor errors or issues or parts of the
   25      24 million euro worth of invoices and BYTON would never               25         iterative process, I should say, as opposed to --

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    1             So, you know, that's our position on it. I                      1               MR. SIPPRELLE: Right. In 2020. Yeah.
    2      don't want to rehash it.                                               2               MS. BURBIDGE: Which one do you mean?
    3             THE ARBITRATOR: And that's why you're arguing                   3               MR. SIPPRELLE: I'm talking about the one in
    4      there's a breach of the covenant of the good faith and                 4        2020.
    5      fair dealing and why you should get attorneys' fees and                5               MS. BURBIDGE: There were two.
    6      all that stuff because you were misrepresented.                        6               MR. SIPPRELLE: There was a call, and then there
    7             MS. BURBIDGE: That's right, Your Honor.                         7        was a meeting. Okay?
    8             THE ARBITRATOR: Okay.                                           8               MS. BURBIDGE: Yeah.
    9             MR. SIPPRELLE: Your Honor, if I can just                        9               MR. SIPPRELLE: And these were settlement --
   10      briefly --                                                            10               THE ARBITRATOR: Okay. Hold on. You were
   11             THE ARBITRATOR: This one doesn't deal with the                 11        talking about a February 2019 meeting. That's how it
   12      breach of contract case, though. Their offset case --                 12        started. Did you change your meeting, Mr. Sipprelle?
   13             MS. BURBIDGE: Yes, Your Honor. It has to do                    13               MR. SIPPRELLE: I'm sorry. So -- I mean,
   14      with the --                                                           14        they're both the same. There was a call, and then there
   15             THE ARBITRATOR: Okay. I got it. I got it.                      15        was a meeting at CES in February 2020.
   16      All right.                                                            16               THE ARBITRATOR: 2020.
   17             Mr. Sipprelle? Sorry.                                          17               MR. SIPPRELLE: These were settlement
   18             MR. SIPPRELLE: Yeah. I just wanted to make one                 18        discussions where EDAG and BYTON are trying to resolve
   19      response.                                                             19        their dispute. And for counsel to take a settlement
   20             The CES meeting in February "2019," that was a                 20        discussion and twist that into, well, this was -- first
   21      settlement discussion between -- at a senior level.                   21        of all, I don't think, you know, what was said should
   22             MS. BURBIDGE: I think you're conflating two                    22        probably even be admissible because it was a settlement
   23      different meetings, Mr. Sipprelle. There was a CES                    23        discussion. But to then twist that into, well, this was
   24      meeting with the -- in January, and then there was a                  24        an acknowledgement that money was owed and that, because
   25      CEO-to-CEO call in February of 2020.                                  25        we weren't talking about our counterclaim, that that

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    1      somehow is an admission that it wasn't valid -- I just                  1        number 6. Your Honor asked about the simple interest.
    2      think that's inappropriate.                                             2        6 percent simple instead of 10 percent simple.
    3             These were settlement discussions, and the                       3              And the reason we think that's appropriate is
    4      parties are trying to work things out, and I think it's                 4        the evidence is that that's what was agreed upon between
    5      just inappropriate to try to use those as evidence of                   5        EDAG and BYTON. Mr. "Keller" testified to that at
    6      anything. And that's why settlement discussions are not                 6        page 185, 16, through 188, 2.
    7      admissible.                                                             7              THE ARBITRATOR: 185, 16? Okay.
    8             THE ARBITRATOR: No. I understand why they're                     8              MS. BURBIDGE: I'm sorry. Who's Mr. Keller,
    9      not admissible, and I never admit them.                                 9        Mr. Sipprelle?
   10             But if these are not settlement discussions,                   10               MR. SIPPRELLE: Oh, I'm sorry. Mr. Mertz. I'm
   11      this is the basis for their claim of breach of the                    11         not sure where I got Mr. Keller. Mr. Mertz.
   12      covenant of the good faith and fair dealings. These                   12               MS. BURBIDGE: Thank you.
   13      meetings that you say are settlement discussions are not              13               MR. SIPPRELLE: Mr. Mertz.
   14      admissible; right?                                                    14               So it's at 185, 16, through 188, 2.
   15             MR. SIPPRELLE: Well, I'm going to address                      15               EDAG's own exhibit, which is 175, page 001,
   16      their -- and that's one of the issues I'm going to                    16         references a 6 percent interest rate.
   17      address at the end, the covenant of good faith and fair               17               And Mr. Zoltowski, their accountant, testified
   18      dealing claim.                                                        18         that he was told by Mr. Amelung that that was the
   19             I don't know if they're relying on those for                   19         agreed-upon interest rate on unpaid invoices. And that
   20      that claim or not. But these were simply settlement                   20         was at 422, 14, through 22; 443, 4, through 444, 24.
   21      discussions. And I think it's inappropriate to use them               21               So that's why we think 6 percent is -- if there
   22      for anything.                                                         22         is going to be interest awarded, if there is going to be
   23             THE ARBITRATOR: Okay. I got it.                                23         an award for EDAG, it should be 6 percent simple interest
   24             Let's keep going.                                              24         rather than 10 percent.
   25             MR. SIPPRELLE: All right. Your Honor,                          25               THE ARBITRATOR: Okay.

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    1             MS. BURBIDGE: And may I briefly --                              1        the timing of when the payment plan expired?
    2             THE ARBITRATOR: Ms. Burbidge. Sure.                             2              MS. BURBIDGE: Yes.
    3             MS. BURBIDGE: So, Your Honor, I think the                       3              THE ARBITRATOR: So it would have the 6 percent
    4       testimony actually does not exactly say that.                         4        for some times, and --
    5             What the testimony indicates is that there was a                5              MS. BURBIDGE: Yes, Your Honor.
    6       payment plan that was entered into for the overdue                    6              THE ARBITRATOR: You think it should be
    7       invoices, right, that the CEOs of the companies entered               7        10 percent all along, but it would 6 percent and then
    8       into and that they negotiated between themselves an                   8        10 percent. Okay.
    9       interest rate for those invoices that had not yet been                9              MS. BURBIDGE: Yes, Your Honor. That's right.
   10       paid. Right?                                                         10              And if you look at Mr. Zoltowski's report as
   11             And when that payment plan was breached, that's                11        well. That's set out in detail there too.
   12       when the statutory interest kicks in. And then that's                12              MR. SIPPRELLE: And our position is there was an
   13       the statutory interest that kicks in on the additional               13        agreement, which is in the record, an agreement on
   14       invoices that were issued after the payment plan as well.            14        6 percent on unpaid invoices without any duration or time
   15       Right?                                                               15        limit. It was just 6 percent simple interest on unpaid
   16             So there's nothing in writing that explicitly                  16        invoices. So that should apply, you know --
   17       says the TDLA is modified to require a 6 percent interest            17              MS. BURBIDGE: And our argument would be --
   18       rate. So the statutory interest under California law                 18              MR. SIPPRELLE: For time immemorial.
   19       would apply here.                                                    19              MS. BURBIDGE: Your Honor, our argument would be
   20             And particularly with regard to those invoices                 20        that the contract that this lawsuit is moving forward
   21       that were issued after the payment plan, there's nothing             21        under is the TDLA, and that's what controls under
   22       that would cover them.                                               22        Section 3289.
   23             So that would be our argument, and I think that                23              THE ARBITRATOR: Okay. I have enough
   24       we addressed that in our briefing as well.                           24        information so I can figure this out now. Okay. Good.
   25             THE ARBITRATOR: Do you have, in your briefs,                   25        But it's -- okay. So it's going to be simple interest,


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    1      6 percent or 10 percent. Is it 10 percent for all the                  1        happens, you know, I believe BYTON would have a remedy
    2      unpaid invoices or 10 percent for all invoices issued                  2        against EDAG for any work that it's found not to perform
    3      after the agreement was made and --                                    3        in the real world, and I think Mr. Salzmann of EDAG
    4             Okay. I got it. I think I do. I've got enough                   4        basically confirmed that in his testimony.
    5      to -- for good work.                                                   5              But, for purposes of our counterclaim, our
    6             All right. Let's go. What's next?                               6        position is we rejected the front end design. We didn't
    7             MR. SIPPRELLE: Question number 7, Your Honor.                   7        need to wait until final validation testing. We actually
    8             THE ARBITRATOR: We've talked about that a lot.                  8        rejected that, took that work over, and we believe that
    9             MR. SIPPRELLE: And I think we've more or less                   9        cost us $31 million.
   10      talked about this. So --                                              10              So, on that one, which is the basis of our
   11             MS. BURBIDGE: Yeah. I think so too.                            11        counterclaim, we did reject that. And we're asking for
   12             MR. SIPPRELLE: We can probably move on. I                      12        an offset.
   13      think we've beaten that one to death.                                 13              THE ARBITRATOR: Okay. I know you're asking for
   14             THE ARBITRATOR: It's not dead yet.                             14        an offset.
   15             MR. SIPPRELLE: Oh, okay. As far as counsel is                  15              But absent an offset, you're going to have to
   16      concerned, maybe you've heard enough.                                 16        pay all the outstanding invoices because, even under your
   17             THE ARBITRATOR: Okay.                                          17        theory, there's no way you can reject this work product
   18             MR. SIPPRELLE: Number 8. Your Honor asked "if                  18        unless you build the car and the car's -- and you got
   19      there will not be final testing, does it mean" --                     19        four employees left; so you're probably not going to
   20             THE ARBITRATOR: So you're not going to build a                 20        build a car.
   21      car anymore; right?                                                   21              MR. SIPPRELLE: Hard to say. But absent --
   22             MR. SIPPRELLE: Well, we don't know. There's no                 22              Yeah. We're not disputing the amount of the
   23      evidence in the record one way or the other about whether             23        unpaid invoices.
   24      that's going to happen.                                               24              But we do believe we're entitled to an offset
   25             I think, with respect to -- you know, if it                    25        because we did reject the front end design and had to


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    1      rework it. And that's the offset.                                       1       brief, and I said okay. It could be a parrot, but is it
    2            THE ARBITRATOR: I have to distinguish in my                       2       wrong? You know, a parrot can say things that are right.
    3      mind the two things. There's the actual -- what invoices                3       It's not always wrong.
    4      are due. You're not going to argue about that.                          4              MR. SIPPRELLE: I guess what I was getting at
    5            And there's no way to reject them now, under                      5       with the parrot comment is Mr. McLellan's testimony
    6      your theory, because the car's not going to be built.                   6       doesn't add anything to what Mr. Amelung at EDAG
    7      And you're saying, "That may be right, Judge, but we've                 7       testified to about the engineering errors. I mean, he
    8      got a $31 million counterclaim. So we don't owe                         8       basically just --
    9      anything."                                                              9              THE ARBITRATOR: It doesn't add anything. Okay.
   10            MR. SIPPRELLE: Correct. That's right.                           10               MR. SIPPRELLE: It doesn't add anything, and,
   11            THE ARBITRATOR: All right.                                      11        yes, we believe both Mr. McLellan and Mr. Amelung are
   12            MR. SIPPRELLE: On number 10, with respect to --                 12        wrong with respect to their opinions about no engineering
   13            THE ARBITRATOR: You're skipping number 9?                       13        errors on most of these issues, particularly the front
   14            MR. SIPPRELLE: I'm sorry. Number 9 -- oh,                       14        end packaging.
   15      okay. So that was the "as of the date of the                          15               And we have Mr. Twohig, who provided tremendous
   16      arbitration, no timely error notice."                                 16        detail regarding the engineering errors, particularly the
   17            THE ARBITRATOR: Yeah. That answers that. Yes.                   17        front end redesign.
   18            MS. BURBIDGE: Yeah. I think you answered that                   18               We have Mr. Slovesko, who testified -- he was
   19      one already.                                                          19        the head of body engineering for BYTON. He testified
   20            MR. SIPPRELLE: We effectively issued an error                   20        that he agreed with Mr. Twohig's opinions regarding the
   21      notice with respect to the front end design and the                   21        engineering errors. That's at page 709, 24, through
   22      center console by taking that work over. But, yes, there              22        710, 12.
   23      was no written formal document saying, "Here's an error               23               And we have Mr. Kameswaran, who, although,
   24      notice."                                                              24        you know, he doesn't have the level of engineering
   25            THE ARBITRATOR: Okay. On 10, I read your                        25        expertise of Mr. Twohig and Mr. Slovesko, also testified


                                                           Page 55                                                                       Page 56
    1      about the engineering errors.                                          1              MS. BURBIDGE: I'll just briefly --
    2             So, yes, we believe Mr. McLellan's opinions are                 2              THE ARBITRATOR: Briefly.
    3      wrong with respect to, you know -- or highly disputed by               3              MS. BURBIDGE: Yes, Your Honor.
    4      the BYTON people who testified regarding these errors.                 4              You know, Mr. McLellan may have spoken
    5             THE ARBITRATOR: Okay. So they're disputed, and                  5        extensively with Mr. Amelung, but he absolutely came to
    6      that's why you think they're wrong, not that you can't --              6        his own conclusions, as I think the testimony makes
    7             MR. SIPPRELLE: Correct.                                         7        clear. And his report speaks for itself, and he is
    8             THE ARBITRATOR: You can't say just -- other                     8        someone who has spent many, many decades working in the
    9      then conflicting expert testimony, you think they're                   9        industry.
   10      wrong.                                                                10              And he looked closely at the declaration of
   11             All right. I got that.                                         11        Mr. Twohig. There's no dispute about that. And he found
   12             MR. SIPPRELLE: Yeah. And I would also point                    12        the allegations regarding the engineering errors in that
   13      out -- I mean, you know, Mr. McLellan really didn't do                13        declaration to be inaccurate. And his conclusions,
   14      any independent work. He didn't read any of the                       14        therefore, should be given weight.
   15      depositions of the BYTON people. He couldn't correctly                15              THE ARBITRATOR: Okay. So it's just a normal
   16      even identify who Mr. Slovesko was. He thought                        16        dispute among experts.
   17      Mr. Slovesko worked for EDAG. So --                                   17              MS. BURBIDGE: Yeah. Normal. Yup.
   18             THE ARBITRATOR: Well, okay. All right.                         18              THE ARBITRATOR: All right.
   19             MR. SIPPRELLE: He's simply restated what                       19              Now, how do you get to 31 million,
   20      Mr. Amelung --                                                        20        Mr. Sipprelle?
   21             THE ARBITRATOR: That's what you say he said.                   21              MR. SIPPRELLE: Okay. So that's question 11.
   22             Okay. You understand my question and --                        22        Your Honor asked about the standard of care and then the
   23             MR. SIPPRELLE: Yes, I do. I do, Your Honor.                    23        31 million.
   24             Ms. Burbidge, do you have anything else to say                 24              The standard of care was testified to by
   25      about that?                                                           25        Mr. Twohig. And I'll focus just specifically on the


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    1      front-end redesign, the front-end bay, the front                        1       engineering. So that addresses the standard of care.
    2      packaging, which is the subject of the 31 million.                      2              With respect to the 31 million, Mr. Twohig
    3             And Mr. Twohig testified --                                      3       testified extensively about -- in his deposition, which
    4             THE ARBITRATOR: Just so I'm clear -- so the                      4       was read into the record -- how he calculated the
    5      control panel is interesting, but it's not really a                     5       31 million. And the record references are 521, line 22,
    6      damage issue; right?                                                    6       through 525, 15. 526, 24 through 528, 25, and then trial
    7             MR. SIPPRELLE: It is not because we didn't                       7       Exhibit 206, which was -- let me pull that up.
    8      quantify that, the damage caused by the control panel.                  8              That was the top-down estimate of the -- so this
    9             THE ARBITRATOR: All right. Even when I was                       9       is the document that Mr. Twohig testified to in his
   10      sitting in the arbitration listening to you guys, I was               10        deposition, which was read into the record -- and this is
   11      thinking, "Where's the expert who's going to tell me how              11        trial Exhibit 206 -- and you'll see highlighted
   12      you made the 31 million up?" Not "made it up." That was               12        31 million. That's 31 million caused by poor engineering
   13      the wrong saying. "How did you calculate the                          13        of the initial engine.
   14      31 million?"                                                          14               THE ARBITRATOR: That's an approximation of
   15             So that's the purpose of this question.                        15        rework costs. Approximation of rework costs.
   16             How can I -- where is the evidence that supports               16               MR. SIPPRELLE: Right.
   17      that 31 million?                                                      17               THE ARBITRATOR: Usually, when I have a
   18             MR. SIPPRELLE: Okay. So let me start with the                  18        $31 million number, I have more detail than that.
   19      standard of care.                                                     19               So you got more detail than that?
   20             So Mr. Twohig testified, through his deposition,               20               MR. SIPPRELLE: I mean, he testified to how he
   21      which was read into the record -- and that's page 583, 5,             21        calculated that number. I mean, our position is damages
   22      through 584, 3 -- that, in his opinion, EDAG failed to                22        don't have to be calculated with precision. This was --
   23      meet the engineering standard of care with respect to the             23        what he testified to and what Mr. Kameswaran testified to
   24      design of the front-end engine bay. And Mr. Slovesko                  24        is this was a conservative figure. That the real figure
   25      testified that he agreed with Mr. Twohig regarding the                25        was probably higher, but we went with 31 million. And he


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    1       explained how he calculated that 31 million.                           1              I want the judge to keep looking at that.
    2             THE ARBITRATOR: Okay. So Exhibit 206.                            2              MS. BURBIDGE: I know you do --
    3             What page is this on?                                            3              MR. SIPPRELLE: It's an important exhibit.
    4             MR. SIPPRELLE: So that was --                                    4       Very, very important.
    5             THE ARBITRATOR: It looks like the first page.                    5              MS. BURBIDGE: I figured that was what was going
    6             MS. BURBIDGE: It's one page, Your Honor.                         6       on.
    7             MR. SIPPRELLE: It's a one-page exhibit that was                  7              THE ARBITRATOR: You leave that exhibit up so
    8       introduced into the record as part of Mr. Twohig's                     8       the jury can watch it for hours.
    9       testimony. And the testimony on this is as I referenced                9              MS. BURBIDGE: I know that trick, Keith. I'm
   10       during day five of the deposition.                                   10        just joking.
   11             THE ARBITRATOR: So I didn't write that down,                   11               So, Your Honor, with regard to the standard of
   12       but I -- we see we have a court reporter here. I'm going             12        care, I think that there is a substantial amount of
   13       to get a copy of that so I won't need to write it down.              13        evidence speaking to Mr. Twohig's lack of body
   14       I could look it up when I get my record. Okay. Good.                 14        engineering expertise, which goes to the weight of his
   15             MR. SIPPRELLE: Correct. Yes, Your Honor.                       15        testimony on this issue.
   16             THE ARBITRATOR: This is the extent of your                     16               THE ARBITRATOR: In your brief, you go so far as
   17       $31 million written calculation; right?                              17        there is no evidence to the breach of standard of care.
   18             MR. SIPPRELLE: That's correct. It's                            18        You go further than that.
   19       Mr. Twohig's testimony and this exhibit.                             19               MS. BURBIDGE: Yes, Your Honor. Yes. That's
   20             THE ARBITRATOR: All right.                                     20        correct.
   21             MR. SIPPRELLE: Okay. I don't know if                           21               THE ARBITRATOR: There is some evidence; right?
   22       Ms. Burbidge has anything on that.                                   22               MS. BURBIDGE: Well, I think, Your Honor, what
   23             MS. BURBIDGE: Yeah. I do briefly, Keith, if                    23        our -- what our experts in this field, Mr. Amelung and
   24       you want to stop sharing your screen.                                24        Mr. McLellan, say is that there are -- I believe it's two
   25             MR. SIPPRELLE: Sure. All right.                                25        instances of minor errors, but they were corrected

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    1       without any cost incurred by -- to BYTON and that they                1        what it did. And then it was asked to assist with
    2       are also not considered substantial enough to be a breach             2        additional parts of the front engine design after that,
    3       of the standard of care in the industry, given the scale              3        and that's all outlined, I think, in Mr. Amelung's
    4       of the project and the way that car design works. That                4        testimony as well.
    5       would be my response to that.                                         5              And there was -- all EDAG received throughout
    6              But --                                                         6        the course of this relationship, obviously, was -- the
    7              THE ARBITRATOR: So you don't think there is a                  7        majority of the feedback it received was high praise as
    8       breach of the standard of care that caused the                        8        well. So there's no written indication that it was below
    9       $31 million damage?                                                   9        the standard of care -- or any attempt to offset any of
   10              MS. BURBIDGE: No, Your Honor.                                 10        EDAG's work or invoices, excuse me, for the work
   11              THE ARBITRATOR: Okay. There is evidence that                  11        performed.
   12       there is some breach of standard of care presented by                12              And then, you know, with regard to the damages
   13       Mr. Sipprelle.                                                       13        calculation, obviously, BYTON has produced no document
   14              MS. BURBIDGE: Which piece of evidence are you                 14        beyond the one that Your Honor just looked at to support
   15       referring to specifically, Your Honor? The allegation                15        that $31 million number. And Mr. Kameswaran testified
   16       that they took over the front engine design?                         16        that he was unaware of a single thing specifically that
   17              THE ARBITRATOR: I don't think an allegation                   17        Mr. Twohig looked at.
   18       makes a difference. But they did take it over. So they               18              And Mr. Twohig testified that he's not an
   19       must -- and I guess they're implying that the reason they            19        accountant. He's not a financial expert. And
   20       took it over is because you guys couldn't do it.                     20        Mr. Amelung, I think, explained in detail why this
   21              MS. BURBIDGE: Yes, Your Honor.                                21        approach is not an appropriate way to estimate damages
   22              And the weight of the evidence which, I think,                22        and what would be needed to actually figure out this
   23       is outlined in our brief, is that that's not what                    23        number. And, again, you know, EDAG was not afforded the
   24       happened. EDAG continued to work on the front engine                 24        opportunity to check any documentation, to even
   25       until it was meant to hand it over to BYTON, which is                25        understand how this number was, you know, arrived upon

                                                           Page 63                                                                       Page 64
    1      beyond Mr. Twohig's deposition.                                        1        that.
    2            THE ARBITRATOR: Okay. Anything else,                             2               So as I understand it, what EDAG is suggesting
    3      Mr. Sipprelle?                                                         3        is that BYTON acted in bad faith by making false promises
    4            MR. SIPPRELLE: You know, I would just refer                      4        in pay and that EDAG relied on those to allegedly
    5      Your Honor to those record references and the testimony                5        continue working. But I think that allegation is
    6      of Mr. Twohig regarding how he calculated his 31 million.              6        directly contradicted by the evidence in the record.
    7      And it's very extensive. He discusses what he did, what                7               So the evidence of the record is BYTON was
    8      he looked at, how he made that calculation.                            8        basically current up through the end of 2018. So what
    9            THE ARBITRATOR: Okay. I can do that.                             9        we're talking about is the work that EDAG did in 2019,
   10            MR. SIPPRELLE: I would rely on that.                            10        which is the money it's seeking to recover in this
   11            THE ARBITRATOR: All right.                                      11        lawsuit.
   12            So anything else anybody wants to talk about?                   12               And Mr. Amelung, EDAG's own witness, basically
   13            MR. SIPPRELLE: Your Honor, I want to -- I                       13        testified that EDAG was made well aware by BYTON in 2019
   14      simply -- the next question related to the asset freeze.              14        that it could not pay until it got its next round of
   15      We talked about that --                                               15        financing -- C round of financing. And Mr. "EDAG"
   16            MS. BURBIDGE: I think we finished all the                       16        testified that BYTON was very transparent about that and
   17      questions, Your Honor.                                                17        that he understood that EDAG was not going to get paid on
   18            Is that --                                                      18        this work it was doing in 2019 until BYTON got the
   19            THE ARBITRATOR: Yeah. We did.                                   19        financing. And BYTON never got the financing.
   20            Because I said there's no injunction. So we're                  20               So there was no bad faith. There was no false
   21      not going to be doing an injunction. I guess -- okay.                 21        promise.
   22            MR. SIPPRELLE: The one remaining issue I did                    22               Mr. Amelung testified -- and I would refer
   23      want to address is this breach of the covenant claim --               23        Your Honor to the testimony that's at page 283,19 --
   24            THE ARBITRATOR: Okay.                                           24        line 19 -- through 288, line 19. So those five pages.
   25            MR. SIPPRELLE: -- and Your Honor has referenced                 25        Mr. Amelung testified in detail on those pages that he


                                                                                                                    16 (Pages 61 to 64)
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                                                           Page 65                                                                       Page 66
    1      had no doubt that BYTON intended to pay if it had the                  1               And in the course of this action, you know, it
    2      money, and he didn't think that BYTON was lying about its              2               was said, yes, we understand that you can only
    3      intention to pay.                                                      3               pay us when funds are there, and we will
    4            So where is the bad faith? Where is the false                    4               continue working on this until we could not do
    5      promise? And I would direct Your Honor's attention                     5               it anymore."
    6      particularly to page 284 -- 283, line 24 -- starting at                6               So it is very clear that EDAG understood in 2019
    7      line 24. And let me read this into the record.                         7        that it was not going to get paid until the funding came
    8            "Question: Isn't it true, Mr. Amelung, that you                  8        through. It continued to work kind of -- you know, on
    9            were told in 2018 and 2019 that BYTON would pay                  9        spec, on the hope that the funding would come through.
   10            the invoices when its next level of C funding                   10        BYTON certainly hoped the funding would come through.
   11            came through?                                                   11        But the funding never came through.
   12            "Answer: There were actually two elements that                  12               There was no bad faith. There was no false
   13            counsel asked. And to the one is: Any                           13        promise. BYTON intended to pay, and Mr. Amelung
   14            agreement to the TDLA, was it ever mentioned                    14        testified that he knew that BYTON intended to pay if the
   15            that BYTON would make payments based on their                   15        money came through. The money simply never came through.
   16            financial ability? And that answer was clearly                  16        So there was no breach of the covenant. There was no bad
   17            said no.                                                        17        faith.
   18            "It was not mentioned and no conditions made in                 18               It's simply: EDAG continued to work, hoping the
   19            the contract that there is such a thing. And                    19        money would come through, and it never came through. So
   20            later in the process, when it became clear that                 20        I think that claim is directly undermined by the evidence
   21            BYTON failed on making payments -- which is                     21        and the lack of -- by EDAG's own witness.
   22            their obligation of the contract, you know --                   22               THE ARBITRATOR: Okay.
   23            then it came, well, how are we handling this?                   23               Ms. Burbidge, why is he wrong?
   24            Are we stopping the program right away, or do we                24               MS. BURBIDGE: Well, Your Honor, Mr. Amelung's
   25            trust going forward with the payments?                          25        subjective belief at the time does not indicate whether


                                                           Page 67                                                                       Page 68
    1      or not BYTON was acting in bad faith. What indicates                   1        EDAG trusted BYTON, they continued to sort of drag EDAG
    2      that is BYTON's actions. We've cited dozens of examples                2        along.
    3      in our post-hearing brief of BYTON promising to pay --                 3              And I think, you know, there were some -- I
    4      promising to pay and failing to do so.                                 4        think Mr. Kameswaran testified -- token payments that
    5             The most egregious -- or one of the most                        5        were made, but they were very small even though they had
    6      egregious is Exhibit 172, which is this e-mail from                    6        the ability to pay more. And that may simply be because
    7      Teresa Shi in September 23, 2019. And BYTON, at this                   7        EDAG was too trusting. So maybe there were other
    8      point, had promised to make payments under the payment                 8        creditors who were loud or were knocking down their door.
    9      plan to EDAG. And two days after it had -- a payment                   9        But EDAG wasn't.
   10      plan deadline had come and gone, Ms. Xi admits that BYTON             10              THE ARBITRATOR: We don't know that.
   11      has money to pay EDAG, but doesn't -- but they didn't do              11              MS. BURBIDGE: I understand that, Your Honor.
   12      so. Right?                                                            12        And, you know, I think, in addition to that, right, there
   13             So it's very clear that they had money. They                   13        was -- you know, BYTON had the ability to tell EDAG that
   14      had the ability to pay EDAG, but they just chose not to.              14        it was going to write down what EDAG was owed. I mean,
   15      And then they continued to tell EDAG, "Hey, we'll get you             15        it was well aware of EDAG's publicly-traded company.
   16      the money. We'll get you the money."                                  16              And it could have said at any time, "You made
   17             So that is a very clear example of bad faith.                  17        very serious engineering errors, and we do not owe you
   18      Of leaving -- leading EDAG on.                                        18        this full amount."
   19             THE ARBITRATOR: But isn't Mr. Sipprelle right                  19              But it never did so, which also, you know -- is
   20      that everybody knew that they couldn't pay all these --               20        improper under the contract and is a sign of, you know,
   21      all this money until the Chinese loan came through?                   21        leading EDAG along in bad faith. So I think our brief
   22             MS. BURBIDGE: Well, I think the indication here                22        details this and --
   23      was that they were waiting on funding but that they would             23              THE ARBITRATOR: Okay. All right.
   24      be paying EDAG as they could, right, throughout this                  24              MS. BURBIDGE: -- with the necessary
   25      period of time. And instead what happened is, because                 25        specificity.


                                                                                                                    17 (Pages 65 to 68)
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                                                           Page 69                                                                      Page 70
    1            THE ARBITRATOR: Now, in order for you to get                     1        attorneys' fees. Was there another theory that you could
    2      attorneys' fees here, it would be -- you would need to --              2        get it? By the attorney general or something?
    3      so, what? There's no contract, these attorneys' fees.                  3               MS. BURBIDGE: I don't think that was mentioned.
    4            And you sure you can get attorneys' fees if                      4               THE ARBITRATOR: Just one theory. That was just
    5      there's a finding in the breach of the covenant in good                5        for attorneys' fees. Okay.
    6      faith and fair dealing? That's new to me. It doesn't                   6               MS. BURBIDGE: Yes, Your Honor.
    7      mean I don't know it. I don't know all law, but it -- I                7               THE ARBITRATOR: Okay. So in my interim ruling,
    8      was kind of surprised when I read that.                                8        I'll say whether there's -- I think there's any right to
    9            MS. BURBIDGE: Understood, Your Honor.                            9        attorneys' fees at all. If there's no right, then we
   10            I believe the -- what the case law says is it's                 10        don't worry about it.
   11      foreseeable costs. So our position is this is                         11               But we're going to have to have another -- you
   12      foreseeable as a result of that breach.                               12        don't have -- neither one of you provided me with costs
   13            THE ARBITRATOR: Okay.                                           13        that might be awarded if you win.
   14            MR. SIPPRELLE: And, Your Honor, the breach of a                 14               MS. BURBIDGE: We did, Your Honor.
   15      covenant claim is a contract-based claim. You can't get               15               THE ARBITRATOR: You did?
   16      attorneys' fees for breach of a contract or a contractual             16               MS. BURBIDGE: Yes, Your Honor. We advanced --
   17      theory unless there's an attorneys' fees provision in a               17        EDAG --
   18      contract. And there is no contract --                                 18               THE ARBITRATOR: You advanced a lot of money. I
   19            MS. BURBIDGE: I would argue the contract is                     19        understand that.
   20      silent. Which is distinct --                                          20               MS. BURBIDGE: Yes. No. On behalf of -- we
   21            THE ARBITRATOR: Well, the contract is silent,                   21        advanced BYTON's costs to proceed with our arbitration.
   22      but if I remember my law right, unless you have -- it's               22               THE ARBITRATOR: Yeah. I know.
   23      the American rule. I've heard that since law school,                  23               MR. SIPPRELLE: Not all of the costs.
   24      that everybody is responsible for your own fees.                      24               MS. BURBIDGE: Well, we didn't pay for you,
   25            Okay. That would be the one theory you get                      25        Mr. Sipprelle. But -- we had to advance a number of

                                                           Page 71                                                                      Page 72
    1      costs, which are all detailed in our brief.                             1                MS. BURBIDGE: -- at the most, it's 30 days from
    2            THE ARBITRATOR: We'll deal with that. That's                      2        the final hearing.
    3      what the costs are.                                                     3                THE ARBITRATOR: Yeah. No. Well, I can get
    4            MS. BURBIDGE: Yes, Your Honor.                                    4        it -- I got time to do it now.
    5            THE ARBITRATOR: So you've given me enough                         5                Okay. So, Mr. Sipprelle, you want to add
    6      stuff. You think I can rule on the costs now?                           6        anything?
    7            MS. BURBIDGE: Yes.                                                7                MR. SIPPRELLE: No. Other than to thank
    8            THE ARBITRATOR: Except I haven't got                              8        Your Honor for your hard work and --
    9      Mr. Sipprelle's opposition to your costs. So maybe I                    9                MS. BURBIDGE: Yes.
   10      won't be able to.                                                     10                 MR. SIPPRELLE: -- I appreciate your efforts.
   11            MR. SIPPRELLE: I guess it depends how you rule,                 11                 THE ARBITRATOR: One of you will hate me, and
   12      Your Honor.                                                           12         the other one like me. And hate will last forever and
   13            THE ARBITRATOR: I know, I know. Well, I mean,                   13         the liking will only go to the next case.
   14      to do due process. So if I rule, you get costs. You get               14                 MS. BURBIDGE: Yes. Thank you very much,
   15      a turn, as the opposition.                                            15         Your Honor.
   16            Anything else? I think that's it. Attorneys'                    16                 And, Keith, as always, it's nice to see you and
   17      fees, costs -- that's all it would be. Okay.                          17         that sunset behind you. I will miss seeing that.
   18            MS. BURBIDGE: I think that -- oh, go ahead,                     18                 MR. SIPPRELLE: Ah, yes. All right.
   19      Your Honor.                                                           19                 THE ARBITRATOR: Well, this has been fun. I
   20            THE ARBITRATOR: No. I'm done. Go ahead.                         20         hope to see you again in another case someday. I love
   21            MS. BURBIDGE: I was just going to say, as I                     21         professional lawyers. They're just joys compared to the
   22      mentioned earlier, EDAG would just request a ruling from              22         next arbitration I have, where the lawyers are bozos.
   23      Your Honor as soon as possible. I think that the                      23                 (Ending time: 12:03 p m.)
   24      contract requires a minimum --                                        24
   25            THE ARBITRATOR: Yes. I understand.                              25


                                                                                                                    18 (Pages 69 to 72)
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                                                           Page 73
    1                    CERTIFICATE
    2
    3
    4                I, Jean Kim, CSR 13555, a Certified Shorthand
    5       Reporter in and for the State of California, do hereby
    6       certify:
    7                That said proceedings were taken by me in
    8       shorthand at the time and place herein named and were
    9       thereafter transcribed into typewriting under my
   10       direction, said transcript being a true and correct
   11       transcription of my shorthand notes.
   12             I further certify that I have no interest in the
   13       outcome of this action.
   14
   15
   16
   17
   18
   19                    __________________________________
                         Jean Kim
   20                    CSR No. 13555
   21
   22
   23
   24
   25




                                                                                                    19 (Page 73)
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                  Exhibit 7
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From:          William Cahill
To:            From: Kristin Orrantia; Scott Schreiber; jaylimiller@gmail.com; Keith A. Sipprelle; David B. Van Etten; Evangeline
               A.Z. Burbidge; Marc R. Lewis; Brad Estes; Kenneth M. Walczak
Subject:       EDAG v. Byton Response to EDAG"s Request to File TRO
Date:          Sunday, September 19, 2021 4:49:42 PM



Counsel,

On Sept 17, 2021, Claimant EDAG, delivered a "letter brief" to the Arbitrator asking if
the Arbitrator believed he still retained jurisdiction over the parties in this arbitration
so that he can hear, on shortened time, a EDAG motion for issuance of a TR0 and
Preliminary Injunction against Byton.

The answer to EDAG's question is "I don't know". This is an issue of first impression
to me and before I opine, I want to at least get briefing from Byton on the
jurisdictional question.

The question is when does an arbitrator's jurisdiction end? Does it end when the
Final Award is issued (June 3, 2021) or a party files in Federal Court a motion to
approve the Award (June 23, 2021), or does the arbitrator's jurisdiction to issue
interim rulings extend until the Trial court grants the motion (indefinite)? And does
the Arbitrator still have jurisdiction if the trial court's decision is appealed. What
about overturned?

In order to resolve the TRO issue jurisdiction must exist and if so we can decide the
TRO motion. I believe that both issues can be briefed and decided by the arbitrator
in one hearing.

ARBITRATOR PROPOSED STIPULATION FOR RESOLUTION.


   1. EDAG agrees that its TRO motion is filed and served by the close of business,
      September 24, 2021.
  2. In those moving papers, EDAG is to add, if it chooses, any futher argument or
      legal authority supporting its statement in its "letter brief" that it "believes Your
      Honor has full authority to grant the relief sought."
  3. Byton files its opposition to the TRO and the Jurisdictional argruments by
      October 4, 2021.
  4. EDAG files its Reply by October 6, and hearing on October 8.

The arbitrator will initially decide the jurisdictional issues. Then he will rule on the
TRO.
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Obviously, all this is very tentative. If you all can meet and confer and get a schedule
that works better for everyone, its going to be approved.

But if the parties can't agree, my office will set up a call either Tues or Wednesday to
sort stuff out.

EDAG has asked me a jurisdictional question that I can answer only after briefing,


Bill
           ​__________________________

Hon. Willia​m Cahill (Ret.)
JAMS San Francisco​, Ca
Cell: 415-845-6564

Scott Schreiber, Sr. Case Mgr.
Direct: 415.774.2615


       •   Chambers USA ranked as a National Mediator, 2017-2021
       •   California SuperLawyers in the ADR Category, 2006-2021
       •   Top 500 Leading Judges in America by Lawdragon Magazine, 2006
       •   Mediation Article, Learning from My Mediator mistakes: https://abtl.org/report/nc/abtlnorcalvol25no3.pdf
       •   https://www.jamsadr.com/cahill/
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 6 BYTON NORTH AMERICA CORPORATION

 7

 8
                  JUDICIAL ARBITRATION AND MEDIATION SERVICES
 9
                             SAN FRANCISCO, CALIFORNIA OFFICE
10

11
     EDAG ENGINEERING GMBH,                      JAMS Reference No. 1100107291
12

13               Claimant,                       BYTON NORTH AMERICA
                                                 CORPORATION’S EVIDENTIARY
14         vs.                                   OBJECTIONS IN OPPOSITION TO
                                                 CLAIMANT EDAG ENGINEERING
15 BYTON NORTH AMERICA                           GMBH’S MOTION FOR
16 CORPORATION,                                  PRELIMINARY INJUNCTION

17               Respondent.
                                                 Arbitrator: Hon. William J. Cahill (Ret.)
18
                                                 Final Award Issued: June 2, 2021
19                                               Final Award Served: June 3, 2021
20

21                                               Hearing Date: October 14, 2021
                                                 Hearing Time: 10:00 a.m. (Zoom)
22
     AND RELATED CROSS-CLAIM.
23

24

25

26

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          BYTON NORTH AMERICA CORPORATION’S EVIDENTIARY OBJECTIONS IN
       OPPOSITION TO EDAG’S MOTION FOR PRELIMINARY INJUNCTION, JAMS Reference
                                   No. 1100107291
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 1        BYTON NORTH AMERICA CORPORATION (“Byton”) hereby respectfully submits the

 2 following evidentiary objections in opposition to the Motion for Preliminary Injunction

 3 (“Motion”) of EDAG ENGINEERING GMBH (“EDAG”).

 4

 5      A. OBJECTIONS TO THE DECLARATION OF VOLKER AMELUNG.

 6                                           Objection No. 1

 7    Material Objected to:                            Grounds for Objection:
 8
      ¶ 11, page 2, line 2-3: “To the best of my       Lacks foundation; lacks personal knowledge.
 9    knowledge, BYTON’s parent company or
      companies are based in China and may retain
10    the “FMC” name.”
11
                                             Objection No. 2
12

13    Material Objected to:                            Grounds for Objection:

14    ¶ 16, page 2, lines 22-23: “To the best of my    Lacks foundation; lacks personal knowledge.
      knowledge, BYTON still uses Jama Software
15    for this purpose with regard to the M-BYTE.”
16

17      B. OBJECTIONS TO THE DECLARATION OF EVANGELINE A.Z. BURBIDGE.

18                                           Objection No. 3

19    Material Objected to:                            Grounds for Objection:
20    ¶ 7 in its entirety, page 3, lines 10-14: “On    Hearsay (Evidence Code § 1200).
21    August 20, 2021, automotive journalists
      reported that BYTON’s M-BYTE was
22    photographed undergoing road tests in Hainan,
      China, despite BYTON’s efforts to hide the
23    tests. See Byton is alive! M-Byte EV was
      spotted in the wild for the first time [Spy
24
      Photos], China Car News,
25    https://carnewschina.com/2021/08/20/byton-is-
      alive-m-byte-ev-was-spotted-in-the-wild-for-
26    the-first-time-spy-photos/ (Accessed Sept. 14,
      2021).”
27

28
                                          2
          BYTON NORTH AMERICA CORPORATION’S EVIDENTIARY OBJECTIONS IN
       OPPOSITION TO EDAG’S MOTION FOR PRELIMINARY INJUNCTION, JAMS Reference
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 1                                             Objection No. 4

 2    Material Objected to:                              Grounds for Objection:
 3
      ¶ 8, page 3, lines 15-17: “Jama Software      Lacks foundation; lacks personal knowledge;
 4    (“Jama”) is a company that provides solutions hearsay (Evidence Code § 1200).
      for requirements, risk, and test management.
 5    See Jama Connect,
      https://www.jamasoftware.com/platform/jama-
 6    connect/ (Accessed Sept. 15, 2021).”
 7
                                               Objection No. 5
 8
      Material Objected to:                              Grounds for Objection:
 9
      ¶ 8, page 3, lines 17-18: “BYTON used Jama’s       Lacks foundation; lacks personal knowledge.
10    browser-based database to store all BYTON
      build BYTON’s product, i.e. the M-BYTE
11    vehicle.”
12

13                                             Objection No. 6

14

15    Material Objected to:                              Grounds for Objection:

16    ¶ 8(e), page 4, lines 2-8: “She stated that Jama   Hearsay (Evidence Code § 1200).
      holds design and intellectual property
17    information for BYTON. She further informed
      me that a non-U.S. company claiming to be a
18    related entity to BYTON wanted to obtain
19    access to Jama’s system and the data held by
      BYTON North America. She further stated
20    that Jama asked for documentation permitting
      this request and did not receive it. She
21    informed me that Jama would institute a
      litigation hold, preserving the BYTON data
22    which was the subject of the third-party
23    subpoena.”

24
                                               Objection No. 7
25

26
      Material Objected to:                              Grounds for Objection:
27
      ¶ 8(f), page 4, lines 2-8: “She informed me that Hearsay (Evidence Code § 1200).
28    BYTON North America, in coordination with a
                                                      3
           BYTON NORTH AMERICA CORPORATION’S EVIDENTIARY OBJECTIONS IN
      OPPOSITION TO EDAG’S MOTION FOR PRELIMINARY INJUNCTION, JAMS Reference
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 1    China-based BYTON entity, had paid all past
      due invoices to Jama in May 2021, so Jama
 2    reinstated BYTON North America’s account
      on the cloud. She also explained that BYTON
 3
      now had active access to the requirements
 4    database and the intellectual property for the
      M-BYTE vehicle.”
 5

 6                                            Objection No. 8
 7    Material Objected to:                              Grounds for Objection:
 8    ¶ 8(g), page 3, lines 15-22: “On September 15,     Hearsay (Evidence Code § 1200).
      2021, Jama’s Counsel stated that from August
 9
      2020 to May 2021, a Chinese company
10    claiming to be a related entity to BYTON,
      referred to as
11    “BYTON China,” had repeatedly asked for
      access to Jama’s system and, specifically,
12    BYTON North America’s data. She stated that
13    BYTON China asked to open a new account,
      held on the ground in China instead of in the
14    cloud, and wanted Jama to migrate the data
      from BYTON North America to this Chinese-
15    only based account. She explained that this
      would mean no one in the United States—
16    including Jama itself—could access the data.
17    This migration ultimately did not happen.”

18
     Dated: October 3, 2021
19                                             Respectfully Submitted,

20                                             VAN ETTEN SIPPRELLE LLP
21
                                               By:
22
                                                       Keith A. Sipprelle
23                                                     Attorneys for Respondent and Cross-Claimant
                                                       BYTON NORTH AMERICA CORPORATION
24

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                                          4
          BYTON NORTH AMERICA CORPORATION’S EVIDENTIARY OBJECTIONS IN
       OPPOSITION TO EDAG’S MOTION FOR PRELIMINARY INJUNCTION, JAMS Reference
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                   EXHIBIT F
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       11                             JAMS REFERENCE NO. 1100107291
       12                 IN THE MATTER OF THE JAMS ARBITRATION BETWEEN
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       14   EDAG Engineering GmbH,                      CLAIMANT EDAG’S REPLY IN
                                                        SUPPORT OF ITS MOTION
       15          Claimant,                            FOR PRELIMINARY
                                                        INJUNCTION
       16          v.
       17   BYTON North America Corporation,            Hon. William J. Cahill (ret.)
                                                        Arbitration: February 8, 2021
       18                                               Final Judgment: June 3, 2021
                   Respondent.
       19
       20   AND RELATED CROSS-CLAIM
       21

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          1                                             INTRODUCTION
          2            BYTON North America Corporation (“BYTON”) does not dispute that it has accessed and
          3   attempted to transfer intellectual property created by EDAG Engineering GmbH (“EDAG”).
          4            BYTON does not contend that it has paid EDAG the sum of more than 23 million Euros,
          5   which BYTON owes EDAG for the creation of said intellectual property, namely proprietary
          6   technology for BYTON’s prototype automobile. Your Honor ordered BYTON to pay EDAG that
          7   sum in a thorough and well-reasoned Final Award.
          8            Nor does BYTON dispute that its plan to access and transfer EDAG’s valuable intellectual
          9   property is part of a larger scheme to move anything of value in BYTON’s possession away from
         10   the reach of United States courts, leaving BYTON’s North American subsidiary with nothing but
         11   debt, defeating any effort by EDAG to collect the money BYTON owes, and eviscerating the Final
         12   Award.
         13            Because these facts are not in dispute, EDAG has established that a preliminary injunction is
         14   necessary to maintain the status quo pending confirmation of the Final Award, and that EDAG will
         15   suffer irreparable harm in the absence of injunctive relief.
         16            The tangential arguments in BYTON’s Opposition Brief (“Opp.”) are unavailing. Because
         17   Your Honor’s jurisdiction and authority to enter injunctive relief are procedural questions, federal
         18   law applies—and federal law explicitly allows an Arbitrator to grant such relief where necessary to
         19   preserve the enforceability of an award. EDAG properly raises the issue now because new facts
         20   have emerged; facts demonstrating the urgent need for an injunction to protect the enforceability of
         21   the Final Award and eventual judgment—namely, BYTON’s efforts to empty its North American
         22   subsidiary of all valuable assets and its use of EDAG’s property in a vehicle prototype spotted in
         23   China.
         24            Applicable law explicitly supports EDAG’s request for an order impeding BYTON’s ability
         25   to fraudulently transfer assets with the aim of both defeating the Court and the Arbitrator’s
         26   jurisdiction and preventing meaningful relief for EDAG. And BYTON’s efforts to challenge
         27   EDAG’s evidence (instead of producing any contrary evidence of its own) are a red herring: a party
         28   seeking a preliminary injunction need not prove its entire case or limit itself to admissible evidence,
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          1   as would be required at trial, and any evidentiary issues go to weight, not admissibility. EDAG’s
          2   showing more than meets that standard. A preliminary injunction should issue.
          3                                               ARGUMENT
          4   I.     BYTON’S PROCEDURAL OBJECTIONS FAIL.
          5          A.      Federal Law Sets the “Rules for Arbitration.”
          6          BYTON insists that Your Honor look to California law to answer the question: “when does
          7   an arbitrator’s jurisdiction end?” Opp. 4:14-15, 5:1-10. BYTON cites no authority for the
          8   proposition that California law applies.
          9          In fact, federal courts and California courts have reached the same conclusion: the Federal
         10   Arbitration Act applies to an arbitration clause in a contract that evidences a transaction involving
         11   interstate commerce. See Johnson v. Gruma Corp., 614 F.3d 1062 (9th Cir. 2010) (“Johnson”) at
         12   1066 (FAA governed agreement between food company and delivery drivers that specified
         13   arbitration be “conducted and subject to enforcement pursuant to the provisions of California Code
         14   of Civil Procedure sections 1280 through 1295, or other applicable law”); Warren-Guthrie v. Health
         15   Net, 84 Cal.App.4th 804, 810 (2000) (FAA controlled arbitrability analysis where agreements
         16   specified arbitration “shall be conducted in accordance with the California Code of Civil Procedure,
         17   commencing with Section 1280”) disapproved on other grounds by Cronus Investments, Inc. v.
         18   Concierge Services, 35 Cal.4th 376, 393 n. 8 (2005). See also Mitsubishi Motors Corp. v. Soler
         19   Chrysler–Plymouth, Inc. 473 U.S. 614, 631 (1985) (FAA’s presumption in favor of arbitration
         20   “applies with special force in the field of international commerce”).
         21          Where, as here, the parties agree to be “governed by the laws of the State of California,”
         22   TDLA ¶ 14.4a, the Arbitrator must apply California substantive law and federal procedural rules. In
         23   other words: “the FAA, not state law, supplies the rules for arbitration.” Johnson, 614 F.3d at 1066,
         24   quoting Sovak v. Chugai Pharm. Co., 280 F.3d 1266 (9th Cir.2002) (“Sovak”) at 1269. “Rules for
         25   arbitration include principles that affect the allocation of power between alternative tribunals.”
         26   Sovak, 280 F.3d at 1270, quoting Mastrobuono v. Shearson Lehman Hutton, Inc., 514 U.S. 52, 60
         27   (1995) (quotation marks omitted).
         28          To overcome the “strong default presumption” in favor of federal procedural rules, Sovak,
                                                             7
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          1   280 F.3d at 1269, BYTON would need to “evidence a clear intent” by the parties “to incorporate
          2   state law rules for arbitration.” Fidelity Federal Bank, FSB v. Durga Ma Corp., 386 F.3d 1306 (9th
          3   Cir. 2004) (“Fidelity Federal Bank”) at 1311, quoting Sovak, 280 F.3d at 1269.
          4          BYTON makes no such attempt; again, it cites nothing at all for its argument that California
          5   procedural law applies. Whereas EDAG’s papers cite Johnson, in which the Ninth Circuit listed
          6   several choice-of-law provisions just like the one in Section 14.4a of TDLA ¶ 14.4a and all of which
          7   were insufficient to overcome the presumption that federal law applies. See 614 F.3d at 1066-67.
          8   For example, in Fidelity Federal Bank, the parties agreed that any disputes would be resolved “by
          9   binding arbitration in accordance with the laws of the State of California and the rules of [AAA],”
         10   federal procedural law applied. 386 F.3d 1306. The same is true here.
         11          B.      The Parties’ Agreement Confers Jurisdiction to Enter an Injunction.
         12          Again citing no authority, BYTON argues that “the issue of an arbitrator’s authority … is
         13   distinct from whether an arbitrator has jurisdiction to order the provisional remedy sought by EDAG
         14   … [while] confirmation of the award is pending in a federal district court.” Opp. 5:4-8.
         15          BYTON is wrong. Because an arbitrator’s jurisdiction derives from the parties’ agreement
         16   to confer arbitral authority, courts use the terms “jurisdiction” and “authority” interchangeably. For
         17   example, in DHL Info. Servs. (Americas), Inc. v. Infinite Software Corp., 502 F.Supp.2d 1082 (C.D.
         18   Cal. 2007) (“DHL”), cited on pages 7-8 of EDAG’s MPAs, the court held that an arbitrator should
         19   decide whether to issue injunctive relief. 502 F.Supp.2d at 1083-84. The court based that decision
         20   on the parties’ agreement to give the arbitrator authority to grant interim relief, id. at 1083, and on
         21   the Ninth Circuit’s decision in Simula, Inc. v. Autoliv, Inc., 175 F.3d 716 (9th Cir. 1999) (“Simula”)
         22   to defer to an arbitral tribunal “authorized to grant the equivalent of an injunction pendente lite[.]”
         23   502 F.Supp.2d at 1084, quoting 175 F.3d at 726 (emphasis added). Neither the DHL court nor the
         24   Simula Court used the term “jurisdiction”—yet when the Central District faced the same issue again
         25   in 2018, it summarized the state of the law as follows:
         26                 Moreover, whether interim relief is appropriate is properly for the
         27                 arbitrator to decide pursuant to the parties’ adoption of the AAA rules
                            in Section 10.2(a) of the Interparty Agreement. AAA Commercial
         28                 Arbitration Rule 37(a) states that “[t]he arbitrator may take whatever
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                             interim measures he or she deems necessary, including injunctive relief
          1                  and measures for the protection or conservation of property and
          2                  disposition of perishable goods.” …. Just as the incorporation of the
                             AAA rules into the Interparty Agreement by reference constitutes “clear
          3                  and unmistakable evidence” of an intent for the arbitrator to decide
                             questions of arbitrability, so too does the Interparty Agreement provide
          4                  the arbitrator with jurisdiction to impose interim relief measures such
                             as Plaintiff’s writ of attachment. See Bank of Hemet v. Open Sols., Inc.,
          5
                             No. CV 10-692 CAS (OPx), 2011 WL 486572, at *3 (C.D. Cal. Feb. 3,
          6                  2011) (“[B]y incorporating the rules of the American Arbitration
                             Association into the arbitration provision of the Master Services
          7                  Agreement, the parties have agreed that requests for injunctive relief
                             could be decided in arbitration.”).
          8
                             Plaintiff correctly notes that AAA Commercial Arbitration Rule 37(c)
          9
                             authorizes parties to seek interim relief in court without being
         10                  incompatible with the arbitration agreement. … However, the Ninth
                             Circuit has cautioned that, where the district court concludes that all of
         11                  a plaintiff’s claims are arbitrable and that the arbitrator is authorized to
                             grant interim relief, “it would [be] inappropriate for the court to grant
         12                  preliminary injunctive relief.” Simula, Inc. v. Autoliv, Inc., 175 F.3d
                             716, 726 (9th Cir. 1999). Courts accordingly decline requests for
         13
                             injunctive relief when the arbitrator has jurisdiction over interim relief
         14                  measures under a binding arbitration agreement, even if the court has
                             authority to issue such relief on its own. See, e.g., DHL Info. Servs.
         15                  (Americas), Inc. v. Infinite Software Corp., 502 F. Supp. 2d 1082, 1083-
                             84 (C.D. Cal. 2007) (denying motion for preliminary injunction because
         16                  “it is best not to carve out interim relief from the issues the arbitrator
         17                  will decide, even though Rule [37(c) ] of the AAA Rules would allow
                             this Court to do so”); Bank of Hemet, 2011 WL 486572, at *3 (granting
         18                  motion to compel arbitration, including arbitration of the plaintiff’s
                             requests for injunctive relief, because the arbitration agreement adopted
         19                  the AAA rules).
         20   Bank Leumi, USA v. Miramax Distribution Servs., LLC, No. 2:18-CV-07574-SVW-KS, 2018 WL
         21   7568361, at *8 (C.D. Cal. Dec. 27, 2018) (“Bank Leumi”) (emphasis added). 1
         22          Bank Leumi also models the correct approach here. The parties in Bank Leumi incorporated
         23   AAA rules into their arbitration agreement; EDAG and BYTON incorporated the JAMS Rules &
         24   Procedures. TLDA ¶ 14.4b. The AAA rules specified that an arbitrator may grant injunctive relief;
         25
              1
                BYTON remarks in passing that “unpublished District Court orders” like the opinion in Bank
         26   Leumi are “uncitable”—again citing no authority. This, too, is wrong. See Fed. R. App. P. 32.1
              (federal courts may not “prohibit or restrict” the citation of written “unpublished” decisions issued
         27
              on or after January 1, 2007); Ninth Circuit Court of Appeals Rule 36-3(b) (adopting same rule for
         28   courts of the Ninth Circuit).
                                                      9
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          1   EDAG and BYTON explicitly conferred “full power and authority to … fashion appropriate
          2   remedies (including temporary, preliminary, interim, or permanent injunctive relief).” TDLA ¶
          3   14.4b.
          4            C.     Your Honor Can and Should Prevent BYTON’s Fraudulent Asset Transfer.
          5            Citing Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308 (1998)
          6   (“Grupo Mexicano”), BYTON contends that “federal law does not permit the issuance of a pre-
          7   judgment preliminary injunction freezing all or any portion of a defendant’s assets in suits for
          8   money damages.” Opp. 12:9-11. BYTON is wrong for substantive and procedural reasons.
          9            Substantively: by its own terms, Grupo Mexicano does not prevent a party from acting to
         10   prevent a fraudulent conveyance, as EDAG seeks to do here. Compare 527 U.S. at 1970 (Court’s
         11   decision does not affect “[t]he law of fraudulent conveyances”) with National Conference of
         12   Commissioners on Uniform State Laws, UNIFORM FRAUDULENT TRANSFER ACT (1984), § 4
         13   (defining a “fraudulent conveyance” as one made “with actual intent to hinder, delay, or defraud any
         14   creditor of the debtor”). See also Fed. R. Civ. P. 18 (b) (“a plaintiff may state a claim for money and
         15   a claim to set aside a conveyance that is fraudulent as to that plaintiff, without first obtaining a
         16   judgment for the money.”) Grupo Mexicano also does not apply because EDAG has demonstrated a
         17   “nexus between the assets sought to be frozen through an interim order and the ultimate relief
         18   requested in the lawsuit[.]” In re Focus Media Inc., 387 F.3d 1077 (9th Cir. 2004) (“Focus Media”)
         19   at 1085, quoting United States v. Oncology Assocs., P.C., 198 F.3d 489 (4th Cir.1999) (“Oncology
         20   Assocs.”) at 496-97. In Focus Media, the Ninth Circuit specifically distinguished Grupo Mexicano
         21   and endorsed the Fourth Circuit’s approach:
         22                   [W]hen the plaintiff creditor asserts a cognizable claim to specific assets
         23                   of the defendant or seeks a remedy involving those assets, a court may
                              in the interim invoke equity to preserve the status quo pending judgment
         24                   where the legal remedy might prove inadequate and the preliminary
                              relief furthers the court’s ability to grant the final relief requested.
         25

         26   Focus Media, 387 F.3d at 1085, quoting Oncology Assocs., 198 F.3d at 496-97. Finally, Grupo

         27   Mexicano does not preclude an order prohibiting EDAG from liquidating specific assets, i.e., those

         28   necessary to effectuate the entry and enforcement of the Final Arbitration Award. See Walczak v.
                                                               10
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          1   EPL Prolong, Inc., 198 F.3d 725, 730 (9th Cir. 1999) (distinguishing Grupo Mexicano and
          2   upholding injunction that “appropriately preserved the status quo and prevented the irreparable loss
          3   of rights before judgment”).
          4          Procedurally: Grupo Mexicano turned on the effect of a general “asset freeze” entered at the
          5   beginning of a breach of contract action, when litigation was likely to continue for months or even
          6   years after the injunction was entered. See, e.g., 527 U.S. at 312 (plaintiff filed suit on December
          7   12, 1997; district court entered injunction on December 23). BYTON will not suffer comparable
          8   harm from a targeted restriction on its ability to conduct fraudulent asset transfers during the short
          9   time between now and the entry of judgment in the Northern District of California.
         10                  [U]nlike the pending litigation in Grupo Mexicano, the Petitioner in this
         11                  case has … received an arbitration award[.] … This is not the
                             beginning stage of a breach of contract claim, but instead the end
         12                  stages of a protracted arbitration in which the merits of all claims
                             and defenses have been fully presented and adjudicated.
         13

         14   Smagin v. Yegiazaryan, No. CV 14-9764-R, 2015 WL 13757706, at *1 (C.D. Cal. Sept. 28, 2015),

         15   citing Toyo Tire Holdings Of Americas Inc. v. Cont’l Tire N. Am., Inc., 609 F.3d 975 (9th Cir.

         16   2010); Focus Media, 387 F.3d at 1085.

         17          D.      New Facts Necessitated EDAG’s Motion.

         18          BYTON would have Your Honor deny an order preserving the status quo because EDAG

         19   sought an injunction during its closing arguments. Opp. 4 n.7, 5:16-25, 8:5-11:24. That amounts to

         20   an issue preclusion (or collateral estoppel) argument: BYTON argues that EDAG is precluded from

         21   raising an issue Your Honor has heard and resolved.

         22          But “issue preclusion does not apply where there are changed conditions or new facts which

         23   did not exist at the time of the prior judgment[.]” S. California Stroke Rehab. Assocs., Inc., v.

         24   Nautilus, Inc., 782 F.Supp.2d 1096, 1108 (S.D. Cal. 2011) (applying California law), quoting U.S.

         25   Golf Ass’n v. Arroyo Software Corp., 69 Cal.App.4th 607, 81 Cal.Rptr.2d 708, 713 (1999)

         26   (quotation marks omitted).

         27   ///

         28   ///
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          1                  Collateral estoppel does not bar a later claim if new facts or changed
          2                  circumstances have occurred since the prior decision. Neither res
                             judicata nor collateral estoppel was ever intended to operate so as to
          3                  prevent a re-examination of the same question between the same parties
                             where, in the interval between the first and second actions, the facts
          4                  have materially changed or new facts have occurred which have altered
                             the legal rights or relations of the litigants.
          5

          6   NextEngine, Inc. v. Bigfoot Ventures Ltd., No. CV 17-1960 PA (PLAX), 2017 WL 5643168, at *3

          7   (C.D. Cal. Mar. 20, 2017), quoting Union Pac. R.R. Co. v. Santa Fe Pac. Pipelines, Inc., 231

          8   Cal.App.4th 134, 179-80 (2014) (internal citation and quotations omitted).

          9          Here, the long swath of hearing testimony BYTON quotes makes it clear that EDAG’s

         10   previous request stemmed from its “concern[ ] that BYTON might transfer [its] assets to avoid

         11   paying any judgment.” Opp. 8:19-21.

         12          That concern has now ripened into certainty. There is no longer any question that BYTON is

         13   attempting to transfer assets, including EDAG’s valuable intellectual property, to eviscerate the

         14   Final Award and avoid paying an eventual judgment. See Burbidge Decl. ¶ 6; Amelung Decl. ¶¶ 16-

         15   20.

         16          With this Reply, EDAG submits the sworn declaration of Allyson Keo, Corporate Counsel

         17   for Jama Software. 2 Ms. Keo testifies that, “a Chinese company claiming to be a related entity to

         18   BYTON,” repeatedly asked Jama to “open a new account, held on the ground in China instead of in

         19   the cloud[.]” Id. ¶ 5. That entity, “BYTON China … wanted to migrate the data from BYTON

         20   North America to this Chinese-only based account. This would mean no one in the United States—

         21   including Jama—could access the data.” Id.

         22          In light of these new facts, EDAG had no choice but to seek an injunction.

         23   II.    BYTON’S SCANT ARGUMENTS ON THE MERITS FAIL.

         24          EDAG demonstrated the need for a preliminary injunction under the well-known standard,

         25   beginning with a showing that EDAG is extremely likely to prevail on the merits. Memorandum of

         26   Points and Authorities in Support of Motion for Preliminary Injunction (“MPAs”), 10:20-11:23.

         27   2
               This declaration bolsters the statements in Ms. Burbidge’s declaration and undercuts BYTON’s
         28   procedurally improper hearsay objections. See Argument III, below.
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          1           BYTON does not engage with EDAG’s argument, address any of the cases EDAG cites, or
          2   even argue that the district court is unlikely to confirm the Final Award or that EDAG is otherwise
          3   unlikely to prevail.
          4           Thus, BYTON concedes a key element of the analysis. “[W]hen considering a request for a
          5   preliminary injunction, the trial court weighs two interrelated factors. The first is the likelihood the
          6   party seeking relief will prevail on the merits, and the second is the relative interim harm to the
          7   parties if the preliminary injunction is granted or denied.” People v. Uber Techs., Inc., 56
          8   Cal.App.5th 266, 283 (2020), as modified on denial of reh’g (Nov. 20, 2020), review denied (Feb.
          9   10, 2021), citing Butt v. State of California, 4 Cal.4th 668, 677-678 (1992). “The goal is to
         10   minimize the harm that an erroneous interim decision would cause.” Ibid. (citation omitted).
         11           Instead of arguing that it will ultimately prevail, BYTON focuses on relitigating the
         12   interpretation of the TDLA, to contend that it (BYTON) owns the intellectual property EDAG
         13   created. Opp. 14:1-17:7.
         14           A.      BYTON Does Not Own EDAG’s Intellectual Property.
         15           BYTON’s tortured reading of TDLA ¶ 6.2b (under which BYTON asserts permission to
         16   access and control EDAG’s intellectual property, and even remove it from U.S. jurisdiction—see
         17   Opp. 16:2-17:7) runs afoul of the law governing conditions precedent in contracts.
         18           BYTON does not have the right to access EDAG’s property because payment is a condition
         19   precedent to delivery. “Performance of a duty subject to a condition cannot become due unless the
         20   condition occurs or its non-occurrence is excused.” Impex Enterprises Ltd. v. Sony Pictures
         21   Worldwide Acquisitions, Inc., No. CV2171044SJOSKX, 2018 WL 1413089, at *4 (C.D. Cal. Jan. 9,
         22   2018), aff’d, 777 F. App’x 236 (9th Cir. 2019), quoting R.J. Kuhl Corp. v. Sullivan, 13 Cal.App.4th
         23   1589, 1601 (1993). The condition, BYTON’s payment, did not occur and its non-occurrence was
         24   not excused (hence Your Honor’s Final Award). Therefore, EDAG’s has no duty to transfer the
         25   rights to the intellectual property.
         26           Moreover, by focusing solely on the intellectual property, BYTON ignores EDAG’s
         27   assertion that simply being unable to collect on a judgment of more than 20 million Euros imperils
         28   EDAG’s continued viability as a business. See MPAs 12:23-13:4; Optinrealbig.com, LLC v.
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          1   Ironport Sys., Inc., 323 F. Supp. 2d 1037, 1051 (N.D. Cal. 2004) (irreparable harm exists “where the
          2   conduct of [Respondent] threatens the existence of the [Petitioner’s] business itself”); Am. Passage
          3   Media Corp. v. Cass Commc’ns, Inc., 750 F.2d 1470, 1474 (9th Cir. 1985) (“threat of being driven
          4   out of business is sufficient to establish irreparable harm”); Doran v. Salem Inn, Inc., 422 U.S. 922,
          5   932 (1975) (“substantial loss of business and perhaps even bankruptcy” constitutes irreparable
          6   harm); Bullock v. City & Cty. of San Francisco, 221 Cal.App.3d (1990) (plaintiff who filed for
          7   bankruptcy during pending proceeding suffered irreparable harm).
          8          B.      BYTON May Not Transfer Its Few Remaining Assets to Avoid a Judgment.
          9          The purpose of EDAG’s motion is twofold: to stop BYTON from accessing and transferring
         10   the intellectual property in question, and to prevent BYTON from draining the assets from its North
         11   American division, thereby preserving the status quo pending entry of judgment.
         12          Even assuming (purely arguendo) that BYTON’s interpretation of the contract is correct, and
         13   that BYTON owns the information on the Jama servers, EDAG has still demonstrated the need for
         14   BYTON to preserve that information, as one of its few assets (if not its only asset) of value. See
         15   MPAs 5:13-22, Burbidge Decl. ¶¶ 6, 8 & Exh.D (BYTON repeatedly asserted that it has no money);
         16   Amelung Decl. ¶¶ 16-20; Toyo Tire Holdings of Americas Inc. v. Cont’l Tire N. Am., Inc., 609 F.3d
         17   975, 981 (9th Cir. 2010) (an injunction should issue where necessary “to preserve the status quo and
         18   the meaningfulness of the arbitration process”).
         19          C.      BYTON Does Not Dispute or Contradict EDAG’s Factual Showing.
         20          Most importantly, BYTON offers no substantive evidence to contradict the EDAG’s factual
         21   assertions and sworn declarations.
         22          BYTON is the party with the most direct knowledge concerning its efforts to access the Jama
         23   servers and EDAG’s intellectual property. BYTON offers no declaration, testimony, or statement
         24   denying that it has accessed those servers for the improper purpose of transferring EDAG’s property
         25   to a China-only server.
         26          BYTON is the party with the most direct knowledge concerning its use of EDAG’s
         27   technology in an M-BYTE prototype. BYTON offers no declaration, testimony, or statement
         28   refuting the BBC news article supplied by EDAG or the conclusions of EDAG’s expert that the
                                                            14
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          1   prototype photographed makes use of EDAG’s technology.
          2             BYTON is the party with the most direct knowledge concerning the scheme to pauper its
          3   North American division in an effort to avoid a judgment. BYTON offers no declaration, testimony,
          4   or statement denying that it is engaging in that scheme. BYTON does not even assert that it has, or
          5   intends to retain, the funds necessary to pay the €23,446,649, plus 10% statutory interest and costs,
          6   Your Honor ordered it to pay.
          7             “[I]t is settled that an opponent’s failure to file counteraffidavits [or declarations] admits the
          8   truth of the movant’s affidavit[s or declarations].” Tresemer v. Barke, 86 Cal.App.3d 656, 668
          9   (1978).
         10   III.      BYTON’S EVIDENTIARY CHALLENGES FAIL.
         11             BYTON proffers a set of “Evidentiary Objections” to EDAG’s declarations in support of its
         12   motion. Those Objections are misplaced.
         13             BYTON’s approach assumes that EDAG is required to support its motion with evidence
         14   sufficient to prove the merits of its claims at trial. Not so.
         15
                               The purpose of a preliminary injunction is merely to preserve the
         16                    relative positions of the parties until a trial on the merits can be held.
                               Given this limited purpose, and given the haste that is often necessary
         17                    if those positions are to be preserved, a preliminary injunction is
                               customarily granted on the basis of procedures that are less formal and
         18                    evidence that is less complete than in a trial on the merits. A party thus
         19                    is not required to prove his case in full at a preliminary-injunction
                               hearing.
         20

         21   Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981) (citation omitted). Under federal procedural

         22   law, which applies here (see Argument I-A, above), Your Honor “is permitted to consider

         23   inadmissible evidence in deciding a motion for a preliminary injunction. … This flexibility exists

         24   because the urgency of obtaining a preliminary injunction necessitates a prompt determination and

         25   makes it difficult for a party to procure supporting evidence in a form that would be admissible at

         26   trial.” Disney Enterprises, Inc. v. VidAngel, Inc., 224 F. Supp. 3d 957, 966 (C.D. Cal. 2016), aff’d,

         27   869 F.3d 848 (9th Cir. 2017) (citation, quotation marks, and alteration omitted). See also JAMS

         28   Rule 22(d) (“Strict conformity to the rules of evidence is not required, except that the Arbitrator
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          1   shall apply applicable law relating to privileges and work product. The Arbitrator shall consider
          2   evidence that he or she finds relevant and material to the dispute, giving the evidence such weight as
          3   is appropriate.”).
          4           For example, hearsay is admissible in support of a motion to preserve the status quo.
          5   Johnson v. Couturier, 572 F.3d 1067, 1083 (9th Cir. 2009) (“A district court may ... consider
          6   hearsay in deciding whether to issue a preliminary injunction.”). At most, BYTON’s cavils about
          7   the admissibility of EDAG’s evidence “go to weight rather than admissibility.” Am. Hotel &
          8   Lodging Ass’n v. City of Los Angeles, 119 F.Supp.3d 1177, 1185 (C.D. Cal. 2015). Since BYTON
          9   offers no evidence of its own, even with diminished weight EDAG’s evidence would suffice to
         10   demonstrate the need for injunctive relief.
         11                                                 CONCLUSION
         12         BYTON fails to refute EDAG’s showing that the Arbitrator has both jurisdiction and authority
         13   to issue a preliminary injunction, and that injunctive relief is necessary to preserve the status quo
         14   pending entry of judgment. Indeed, BYTON supplies no counter-narrative and no fact evidence of
         15   its own.
         16         For the foregoing reasons, EDAG respectfully request that this Court issue a preliminary
         17   injunction, and order BYTON to pay its portion of the costs associated with this hearing, in
         18   accordance with the [Proposed] Order submitted with EDAG’s motion papers.
         19                                                           Respectfully submitted,
         20   Dated: October 6, 2021                                  LEWIS & LLEWELLYN LLP
         21

         22                                                     By:     /s/ Evangeline A.Z. Burbidge
         23                                                           Evangeline A.Z. Burbidge
                                                                      Marc R. Lewis
         24                                                           Kenneth M. Walczak
         25                                                           Attorneys for Petitioner EDAG
         26                                                           ENGINEERING GMBH

         27

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        8   Attorneys for Claimant
            EDAG Engineering GmbH
        9

       10                               JAMS REFERENCE NO. 1100107291
       11                     IN THE MATTER OF THE JAMS ARBITRATION BETWEEN
       12

       13

       14 EDAG Engineering GmbH,                         DECLARATION OF ALLYSON KEO ON
                                                         BEHALF OF JAMA SOFTWARE
       15         Claimant,                              REGARDING EDAG’S REQUEST FOR
                                                         A PRELIMINARY INJUNCTION
       16         v.

       17 BYTON North America Corporation,               Hon. William J. Cahill (ret.)

       18                                                Arbitration: February 8, 2021
                  Respondent.
       19

       20 AND RELATED CROSS-CLAIM

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          1          I, Allyson Keo, declare as follows:
          2          1.      I am over 18 years of age. I am employed by Jama Software (“Jama”) and my
          3   official title is Corporate Counsel. I have worked at the company for 3 years. I am authorized to
          4   submit this declaration on behalf of Jama and have personal knowledge concerning the contents of
          5   this declaration.
          6          2.      Jama is a company that provides solutions for requirements, risk, and test
          7   management. See Jama Connect®, https://www.jamasoftware.com/platform/jama-connect/
          8   (Accessed Oct. 5, 2021).
          9          3.      BYTON North America Corporation (“BYTON North America”) is a Jama customer
         10   and has been for a few years. It uses Jama’s browser-based software in connection with its design
         11   and intellectual property information.
         12          4.      On or around November 2020, EDAG Engineering GmbH (“EDAG”) issued a
         13   subpoena to Jama requesting documents related EDAG’s claims against BYTON North America.
         14   Following the issuance of this subpoena, I spoke with EDAG’s counsel regarding Jama’s discovery
         15   obligations. During that call, I explained that Jama holds product requirements and intellectual
         16   property information for BYTON.
         17          5.      From August 2020 to May 2021, a Chinese company claiming to be a related entity
         18   to BYTON, referred to as “BYTON China” and “Shengteng” contacted us through an authorized
         19   reseller and repeatedly asked for access to Jama’s system and, specifically, the data held by Jama for
         20   BYTON North America. “BYTON China” asked to open a new account, held on the ground in
         21   China instead of in the cloud, and wanted to migrate the data from BYTON North America to this
         22   Chinese-only based account. This would mean no one in the United States—including Jama—could
         23   access the data. This migration ultimately did not happen.
         24          6.      Because “BYTON China” was not a customer of Jama’s, I instructed our sales
         25   director that Jama had to deal with someone authorized to act on behalf of BYTON North America.
         26   I directed BYTON China to BYTON North America’s attorney, Keith Sipprelle, regarding a contact
         27   at BYTON North America.
         28
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          1          7.     I negotiated with Mr. Sipprelle, who represented BYTON North America, on or
          2   around May 2021, and Jama and BYTON resolved the unpaid invoices. Jama then reinstated
          3   BYTON North America’s access to Jama Connect and BYTON’s intellectual property.
          4          8.     BYTON North America’s Jama Connect account remains active.
          5          I declare under penalty of perjury under the laws of the United States that the foregoing is
          6   true and correct. Executed on this 6th day of October, 2021 at Portland, Oregon.
          7

          8                                                               Allyson Keo
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       10

       11                             JAMS REFERENCE NO. 1100107291
       12                 IN THE MATTER OF THE JAMS ARBITRATION BETWEEN
       13

       14   EDAG Engineering GmbH,                      CLAIMANT EDAG ENGINEERING
                                                        GMBH’S RESPONSES TO BYTON
       15          Claimant,                            NORTH AMERICA CORPORATION’S
                                                        EVIDENTIARY OBJECTIONS
       16          v.
       17   BYTON North America Corporation,            Hon. William J. Cahill (ret.)
       18                                               Arbitration: February 8, 2021
                   Respondent.
       19
       20   AND RELATED CROSS-CLAIM
       21

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          1         A. EDAG’S GENERAL RESPONSE TO BYTON’S OBJECTIONS.
          2            BYTON’s “Evidentiary Objections” to EDAG’s declarations in support of its motion are

          3   misplaced. BYTON assumes that EDAG is required to support its motion with evidence sufficient

          4   to prove the merits of its claims at trial. That assumption is erroneous.

          5            The purpose of a preliminary injunction is to preserve the relative positions of the parties

          6   until a decisionmaker can determine the merits (of, in this case, EDAG’s petition to confirm its

          7   arbitration award). Thus aparty is not required to prove his case in full at a preliminary injunction

          8   hearing. Univ. of Texas v. Camenisch, 451 U.S. 390, 395 (1981) (citation omitted).

          9            Under federal procedural law, which applies here, 1 the arbitrator “is permitted to consider

         10   inadmissible evidence in deciding a motion for a preliminary injunction. … This flexibility exists

         11   because the urgency of obtaining a preliminary injunction necessitates a prompt determination and

         12   makes it difficult for a party to procure supporting evidence in a form that would be admissible at

         13   trial.” Disney Enterprises, Inc. v. VidAngel, Inc., 224 F. Supp. 3d 957, 966 (C.D. Cal. 2016), aff’d,

         14   869 F.3d 848 (9th Cir. 2017) (citation, quotation marks, and alteration omitted).

         15                    The urgency of obtaining a preliminary injunction necessitates a prompt
                               determination and makes it difficult to obtain affidavits from persons
         16
                               who would be competent to testify at trial. The trial court may give even
         17                    inadmissible evidence some weight, when to do so serves the purpose
                               of preventing irreparable harm before trial.
         18

         19   Flynt Distributing Co. v. Harvey, 734 F.2d 1389, 1394 (9th Cir.1984). “Indeed, district courts have

         20   considerable discretion to consider otherwise inadmissible evidence when ruling on the merits of an

         21   application for a preliminary injunction.” Garcia v. Green Fleet Sys., LLC, No. CV 14–6220 PSG

         22   (JEMx), 2014 WL 5343814, *5 (C.D.Cal. Oct. 10, 2014) (citing Flynt, 734 F.2d at 1394; Republic of

         23   the Philippines v. Marcos, 862 F.2d 1355, 1363 (9th Cir.1988) (rules of evidence do not strictly

         24   apply to preliminary injunction proceedings)). The JAMS Rules also support this position. See

         25   JAMS Rule 22(d) (“Strict conformity to the rules of evidence is not required, except that the

         26   Arbitrator shall apply applicable law relating to privileges and work product. The Arbitrator shall

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              1
         28       See EDAG’s Reply in Support of Its Motion for a Preliminary Injunction (“Reply”) (2:5-3:10).
                                                         1
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          1   consider evidence that he or she finds relevant and material to the dispute, giving the evidence such
          2   weight as is appropriate.”).
          3          Hearsay is specifically admissible in support of a motion to preserve the status quo. “A
          4   district court may … consider hearsay in deciding whether to issue a preliminary injunction.”
          5   Johnson v. Couturier, 572 F.3d 1067, 1083 (9th Cir. 2009).
          6          Given the guidance from the courts and JAMS, at most BYTON’s evidentiary objections
          7   regarding EDAG’s evidence “go to weight rather than admissibility.” Am. Hotel & Lodging Ass’n v.
          8   City of Los Angeles, 119 F.Supp.3d 1177, 1185 (C.D. Cal. 2015).
          9       Therefore, the Arbitrator need not rule on any of the evidentiary objections made below and
         10   may, instead, evaluate EDAG’s proffered evidence when coming to a decision.
         11            B. OBJECTIONS TO THE DECLARATION OF VOLKER AMELUNG.
         12                                             Objection No. 1
         13   Material Objected to:                            Grounds for Objection:
         14   ¶ 11, page 2, line 2-3: “To the best of my       Lacks foundation; lacks personal knowledge.
         15   knowledge, BYTON’s parent company or
              companies are based in China and may retain
         16   the “FMC” name.”

         17   EDAG’S Response to Objection No. 1
              EDAG incorporates by references the General Response stated above. Further, Mr. Amelung’s
         18
              declaration establishes his foundation and personal knowledge of BYTON’s corporate structure
         19   based on his many years working with the company.

         20                                             Objection No. 2
         21
              Material Objected to:                             Grounds for Objection:
         22
              ¶ 16, page 2, lines 22-23: “To the best of my     Lacks foundation; lacks personal knowledge.
         23   knowledge, BYTON still uses Jama Software
              for this purpose with regard to the M-BYTE.”
         24

         25   EDAG’S Response to Objection No. 2

         26   EDAG incorporates by references the General Response stated above. Further, Mr. Amelung’s
              declaration establishes his foundation and personal knowledge of BYTON’s use of the Jama
         27   Software system.
         28
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          1         C. OBJECTIONS TO THE DECLARATION OF EVANGELINE A.Z. BURBIDGE.
          2                                              Objection No. 3
          3
                  Material Objected to:                            Grounds for Objection:
          4

          5       ¶ 7 in its entirety, page 3, lines 10-14: “On    Hearsay (Evidence Code § 1200).
                  August 20, 2021, automotive journalists
          6       reported that BYTON’s M-BYTE was
                  photographed undergoing road tests in Hainan,
          7       China, despite BYTON’s efforts to hide the
                  tests. See Byton is alive! M-Byte EV was
          8       spotted in the wild for the first time [Spy
          9       Photos], China Car News,
                  https://carnewschina.com/2021/08/20/byton-is-
         10       alive-m-byte-ev-was-spotted-in-the-wild-for-
                  the-first-time-spy-photos/ (Accessed Sept. 14,
         11       2021).”
         12
              EDAG’S Response to Objection No. 3
         13
              EDAG incorporates by references the General Response stated above. This document has already
         14   been introduced without objection through Mr. Amelung’s declaration as Exhibit D, so this
              objection has been waived.
         15

         16   Even if hearsay, as an expert, Mr. Amelung is permitted to rely on it to form his opinions. Fed. R.
              Evid. 703; Cal. Evid. Code § 802. 2
         17
                                                         Objection No. 4
         18
              Material Objected to:                                Grounds for Objection:
         19
              ¶ 8, page 3, lines 15-17: “Jama Software             Lacks foundation; lacks personal knowledge;
         20
              (“Jama”) is a company that provides solutions        hearsay (Evidence Code § 1200).
         21   for requirements, risk, and test management.
              See Jama Connect,
         22   https://www.jamasoftware.com/platform/jama-
              connect/ (Accessed Sept. 15, 2021).”
         23

         24   ///
         25   ///
         26   ///
         27   2
               EDAG cites both rules of evidence but maintains that the Federal Rules govern this procedural
         28   question.
                                                         3
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          1   EDAG’S Response to Objection No. 4
          2   EDAG incorporates by references the General Response stated above. EDAG does not offer this
              website for the truth of the matter, but rather as a representation of what Jama purports to do.
          3   Jama Systems also offers sworn testimony regarding this fact. See, e.g., Keo Decl.
          4                                                Objection No. 5

          5    Material Objected to:                              Grounds for Objection:
          6    ¶ 8, page 3, lines 17-18: “BYTON used Jama’s       Lacks foundation; lacks personal knowledge.
               browser-based database to store all BYTON
          7    build BYTON’s product, i.e. the M-BYTE
               vehicle.”
          8

          9
              EDAG’S Response to Objection No. 5
         10
              EDAG incorporates by references the General Response stated above. Mr. Amelung offered
         11   sworn testimony regarding this fact without objection. See, e.g., Amelung Decl. ⁋⁋ 16-17. Jama
              Systems also offers sworn testimony regarding this facs. See, e.g., Keo Decl.
         12
                                                        Objection No. 6
         13
               Material Objected to:                              Grounds for Objection:
         14
               ¶ 8(e), page 4, lines 2-8: “She stated that Jama   Hearsay (Evidence Code § 1200).
         15    holds design and intellectual property
               information for BYTON. She further informed
         16    me that a non-U.S. company claiming to be a
               related entity to BYTON wanted to obtain
         17    access to Jama’s system and the data held by
               BYTON North America. She further stated
         18
               that Jama asked for documentation permitting
         19    this request and did not receive it. She
               informed me that Jama would institute a
         20    litigation hold, preserving the BYTON data
               which was the subject of the third-party
         21    subpoena.”
         22
              EDAG’S Response to Objection No. 6
         23
              EDAG incorporates by references the General Response stated above. Jama Systems also offers
         24   sworn testimony regarding these facts. See, e.g., Keo Decl.
         25   ///

         26   ///

         27   ///

         28   ///
                                                       4
LEW I S +
LLE WE LLYN                      EDAG’S RESPONSES TO EVIDENTIARY OBJECTIONS
                                            JAMS REF. NO. 1100107291
              Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 578 of 611



          1                                             Objection No. 7
          2
               Material Objected to:                              Grounds for Objection:
          3
               ¶ 8(f), page 4, lines 2-8: “She informed me that
          4                                                       Hearsay (Evidence Code § 1200).
               BYTON North America, in coordination with a
               China-based BYTON entity, had paid all past
          5    due invoices to Jama in May 2021, so Jama
          6    reinstated BYTON North America’s account
               on the cloud. She also explained that BYTON
          7    now had active access to the requirements
               database and the intellectual property for the
          8    M-BYTE vehicle.”
          9   EDAG’S Response to Objection No. 7
         10   EDAG incorporates by references the General Response stated above. Jama Systems also offers
              sworn testimony regarding these facts. See, e.g., Keo Decl.
         11
                                                        Objection No. 8
         12
               Material Objected to:                              Grounds for Objection:
         13
               ¶ 8(g), page 3, lines 15-22: “On September 15,
         14                                                       Hearsay (Evidence Code § 1200).
               2021, Jama’s Counsel stated that from August
               2020 to May 2021, a Chinese company
         15    claiming to be a related entity to BYTON,
         16    referred to as “BYTON China,” had
               repeatedly asked for access to Jama’s system
         17    and, specifically, BYTON North America’s
               data. She stated thatBYTON China asked to
         18    open a new account, held on the ground in
               China instead of in the cloud, and wanted
         19    Jama to migrate the data from BYTON North
         20    America to this Chinese- only based account.
               She explained that this would mean no one in
         21    the United States— including Jama itself—
               could access the data. This migration
         22    ultimately did not happen.”
         23

         24   ///

         25   ///

         26   ///

         27   ///

         28   ///
                                                       5
LEW I S +
LLE WE LLYN                      EDAG’S RESPONSES TO EVIDENTIARY OBJECTIONS
                                            JAMS REF. NO. 1100107291
              Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 579 of 611



          1   EDAG’S Response to Objection No. 8
          2   EDAG incorporates by references the General Response stated above. Jama Systems also offers
              sworn testimony regarding these facts. See, e.g., Keo Decl.
          3

          4                                                       Respectfully submitted,
          5   Dated: October 6, 2021                              LEWIS & LLEWELLYN LLP
          6
                                                                                             •
          7                                                 By:                                   •
          8                                                       Evangeline A.Z. Burbidge
                                                                  Marc R. Lewis
          9                                                       Kenneth M. Walczak
         10                                                       Attorneys for Petitioner EDAG
         11                                                       ENGINEERING GMBH

         12

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LLE WE LLYN                     EDAG’S RESPONSES TO EVIDENTIARY OBJECTIONS
                                           JAMS REF. NO. 1100107291
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 580 of 611



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 9

10                             JAMS REFERENCE NO. 1100107291
11                 IN THE MATTER OF THE JAMS ARBITRATION BETWEEN
12

13   EDAG Engineering GmbH,
                                                  PROOF OF SERVICE
14               Claimant,
15        v.                                      Hon. William J. Cahill (ret.)

16   BYTON North America Corporation,             Arbitration: February 8, 2021

17               Respondent,
18

19
20   AND RELATED CROSS-CLAIM.

21

22

23

24

25

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                                        PROOF OF SERVICE
                                  JAMS REFERENCE NO. 1100107291
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 581 of 611



 1
                                       PROOF OF SERVICE
 2

 3          I, the undersigned, am employed in the City and County of San Francisco, State of
     California. I am over the age of 18 years and not a party to this action. My business address
 4   is Lewis & Llewellyn LLP, 601 Montgomery Street, Suite 2000, San Francisco, CA 94111. I
     am familiar with the office practice of Lewis & Llewellyn LLP for collecting and processing
 5   documents for delivery.
 6
            On the date provided below, in accordance with the office practices of Lewis &
 7   Llewellyn LLP, I served a true copy of the following document(s):

 8          1. CLAIMANT EDAG’S REPLY IN SUPPORT OF ITS MOTION FOR
               PRELIMINARY INJUNCTION
 9          2. DECLARATION OF ALLYSON KEO ON BEHALF OF JAMA
               SOFTWARE REGARDING EDAG’S REQUEST FOR A PRELIMINARY
10
               INJUNCTION
11          3. CLAIMANT EDAG ENGINEERING GMBH’S RESPONSES TO BYTON
               NORTH AMERICA CORPORATION’S EVIDENTIARY OBJECTIONS
12
            The foregoing document(s) were served by the following means:
13

14          (By Electronic Mail) I emailed the document(s) listed above to the electronic mail
            address(es) shown below.
15
            The document(s) listed above were sent to the following address(es):
16
      Keith Sipprelle                               Attorneys for Respondent and Cross-
17    David Van Etten                               Claimant BYTON North America Corp.
      VAN ETTEN SIPPRELLE
18    2945 Townsgate Road, Suite 200                805.719.4904 Direct
      Westlake Village, CA 91361                    805.719.4900 Main
19                                                  805.719.4950 Fax
                                                    ksipprelle@vstriallaw.com
20                                                  dvanetten@vstriallaw.com
21          I declare under penalty of perjury under the laws of the State of California the
22   foregoing is true and correct. Executed on October 6, 2021 at San Francisco, California.

23
                                                            /;~ 0 ~
24                                                              Kristin Orrantia
25

26

27

28
                                                    2
                                         PROOF OF SERVICE
                                   JAMS REFERENCE NO. 1100107291
Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 582 of 611




                  EXHIBIT G
 Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 583 of 611


                                            Pages 1 - 28

                   UNITED STATES DISTRICT COURT

                 NORTHERN DISTRICT OF CALIFORNIA

           BEFORE THE HONORABLE EDWARD M. CHEN, JUDGE

EDAG ENGINEERING GmbH,             )
                                   )
             Plaintiff,            )
                                   )
  VS.                              ) NO. 21-cv-04736-EMC
                                   )
BYTON NORTH AMERICA CORPORATION,   )
                                   ) San Francisco, California
             Defendant.            )
                                   ) Thursday,
___________________________________) December 9, 2021

                    TRANSCRIPT OF PROCEEDINGS

APPEARANCES: (By Zoom Webinar)

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Reported By:   BELLE BALL, CSR 8785, CRR, RDR
               Official Reporter, U.S. District Court
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 584 of 611    2


1    Thursday - December 9, 2021                                  1:36 p.m.

2                             P R O C E E D I N G S

3                THE COURTROOM DEPUTY:     Calling Civil Action 21-4736,

4     EDAG Engineering versus Byton North America Corporation.

5         Counsel, please state your appearances for the record,

6    beginning with counsel for plaintiff.

7                MR. WALCZYK:    Good afternoon, Your Honor this is

8     Kenneth Walczyk.   I'm here on behalf of petitioner EDAG.

9                MS. BURBIDGE:    And this is Evangeline Burbidge.      I'm

10    also from Lewis & Llewellyn with Mr. Walczyk, on behalf of

11    EDAG.

12               THE COURT:    Good afternoon, Ms. Burbidge.

13               MR. COOK:    David Cook on behalf of EDAG likewise, the

14    petitioner.

15               THE COURT:   All right, thank you.

16               MR. SIPPRELLE:    Good afternoon --

17               THE COURT:    Is that Mr. Sipprelle?    I think we have

18    lost contact.

19               MR. SIPPRELLE:    Good afternoon.

20               THE COURT:    Okay can you hear us?    Is that

21    Mr. Sipprelle?

22               MR. SIPPRELLE:    Yes, it is, Your Honor.     Can you hear

23    me okay?   I'm having -- I am have an issue with my connection

24    here.

25               THE COURT:    Okay.   We can't see you, but that's okay
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 585 of 611   3


1     -- oh, now we can see you.     The main thing, your audio was

2     cutting out.   But now I can hear and see you, so I hope you're

3     okay.

4                MR. SIPPRELLE:   Thank you, Your Honor.     Hopefully

5     this will work.   I'm having a little connection problem.

6                THE COURT:   All right.   So as I understand it, you

7     had the original final arbitration award, which was rendered

8     in June.   There's been -- there was a petition to confirm the

9     award.   There's been, no, as I see it, opposition to that

10    award.

11        But then there was, after that, a -- I guess what's called

12   a preliminary injunction, signed off by the arbitrator in

13   November that is now complicating things because, as I

14   understand it, EDAG wants that preliminary -- the terms of the

15   preliminary injunction to be sort of incorporated now into the

16   confirmation of the initial award, or the final arbitration

17   award.

18        And as I understand it, Byton is saying:        Well, if you do

19   that, that starts the clock again, and we get our 90 days or

20   three months to file an opposition.

21        And I frankly don't see why -- seems like we're

22   conflating, or the parties are wanting to conflate these two

23   orders.   One is a final arbitration order that was issued, and

24   then there was a followup injunction.       And it seems to me that

25   those are two separate matters.
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 586 of 611       4


1         The -- the June 20th, 2021, final arbitration award is

2    subject to confirmation.    The clock has run.      That's the basis,

3    that's the meat of the matter.

4         I understand that there's -- now seeking some preliminary

5    injunctive relief, but that wasn't issued until November.          And

6    if we treat that as a separate order of the arbitrator, that is

7    subject to the 90-day objection or the three-month objection

8    rule.

9         So why aren't we treating these two things separately?             I

10   guess that's my question.

11        And I'll let anybody answer that, because you're both kind

12   of in the middle here.

13             MR. WALCZYK:    So Your Honor, this --

14             MR. SIPPRELLE:    I'm happy to address this --

15             MR. WALCZYK:    I'm not sure --

16             MR. SIPPRELLE:    This is Mr. Sipprelle.      I mean, I

17    guess that would solve the problem.      I mean, if it would

18    simply -- we were simply dealing with the original award and

19    the motion to confirm the final arbitration award in June, I'm

20    not sure Byton would have much to talk about, because yes, we

21    agree that time has run on that, and probably would be

22    appropriate for the award to be conferred.

23        But as Your Honor noted, this preliminary injunction from

24   November, which they now -- EDAG wants to now weave into the

25   final judgment, which includes, you know, not just an
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 587 of 611   5


1    injunction, but findings on ownership of intellectual property,

2    things that were never part of the underlying arbitration

3    proceeding, I mean, we need a chance to contest all of that.

4    We think that was an inappropriate ruling.       And we need our 90

5    days to contest it.

6         So if -- you know, what EDAG is trying to do is weave

7    those two together, conflate them, as Your Honor has indicated.

8    And that is not fair -- that doesn't give Byton an opportunity

9    to respond and contest the November 8th arbitrator's ruling.

10   So I think we -- we are entitled to do that.        And we would

11   respectfully ask that we be entitled to do that.

12        The original award, I agree, the time has run on that.

13   But this thing from November, we need our 90 days to -- and we

14   intend to move to contest that, that rule.

15             THE COURT:    All right.    So let me hear from EDAG.

16        And I should roll into this discussion, because I think I

17   know what you're going to say, is that you're concerned about

18   dissipation, the transfer and all sort of stuff.        But tied with

19   that is a question about relief from the automatic stay.

20        If I were to, based on your showing, grant that relief so

21   you can commence enforcement without the aid of this special

22   preliminary injunction, wouldn't that -- would that still

23   present a problem if I treated the two as two separate awards,

24   two separate clocks, but enforced -- gave final confirmation to

25   the FAA, the final arbitration award, give relief from the
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 588 of 611   6


1    automatic stay?

2         Why wouldn't that be enough?

3               MS. BURBIDGE:    Um --

4               MR. WALCZYK:    I'm happy to address that, Your Honor.

5               THE COURT:   I'll toss it to one of you, so --

6               MS. BURBIDGE:    Many faces in the crowd.      Your Honor,

7     my colleague Mr. Walczyk will take this one.

8               THE COURT:   All right.    Mr. Walczyk?

9               MR. WALCZYK:    Sorry about that.    I didn't realize I

10    was talking over people.     I'm happy to address that,

11    Your Honor.

12        I think that the two prongs that you've suggested

13   confirming the arbitrator's final award and granting relief

14   from the Rule 62(a) stay would be almost enough.

15        I think it's really three things that the judgment would

16   need to include, in order for us to preserve any ability to

17   collect any amount of the assets that are still remaining from

18   Byton towards the more than $30 million that is concededly owed

19   to EDAG.   Right?

20        And so those three components are confirming the judgment

21   -- confirming judgment, including our interest in the

22   intellectual property; granting relief from the Rule 62(a)

23   stay; and granting the relief that our colleague Mr. Cook just

24   asked the Court for, which allows us to proceed with collection

25   in other states.
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 589 of 611    7


1         That particular element of the relief is necessary because

2    the intellectual property is on a server in Portland.         And so

3    we need the ability to collect in other jurisdictions besides

4    California.

5         As far as decoupling the two orders, I would just like to

6    point out that it simply isn't true that there's anything new

7    or different in the injunctive relief order.        The injunctive

8    relief order from the arbitrator just confirms what he found in

9    his original analysis, which is that the intellectual property

10   belongs to EDAG, until Byton has fully paid for it.         That isn't

11   a new finding; it's simply confirmation of something the

12   arbitrator believed and ruled on, all along.

13        You know, the arbitrator, Judge Cahill, Your Honor, sat

14   with this case for more than 18 months.       And he presided over a

15   full trial-like proceeding.     And he issued a very thorough

16   final award after a two-week trial-like hearing.

17        So at the conclusion of that proceeding, he made this

18   decision.   We simply asked him to reaffirm it, once it became

19   clear that Byton was transferring assets out of the

20   jurisdiction.

21        And so, you know, if Mr. Sipprelle and Byton were to be

22   given a new clock to challenge these provisions, right, it

23   would be rewarding them for their effort to make themselves

24   judgment-proof.   Right?

25        In other words, we went to the arbitrator, and we did what
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 590 of 611   8


1    the law asks us to do.    We said, with eyes wide open:       Please

2    rule on the best way for us to pursue relief, now that we know

3    Byton is trying to transfer assets, including impermissibly

4    trying to access our intellectual property.

5         The arbitrator had us brief jurisdiction on the matter.

6    Relied on the cases saying that the way to preserve the

7    status quo, pending entry of judgment by Your Honor, was to

8    issue this sort of injunctive relief.       And found that

9    injunctive relief was proper.

10        So it's simply an order preserving the status quo and

11   reflecting the original findings.      There's nothing new or

12   different in it for Byton to challenge, if we were to start a

13   new clock.

14        And I would just suggest that the rule cannot be that once

15   you catch a party trying to dissipate assets, that they will be

16   rewarded for those actions by getting a new 90-day clock in

17   which to dissipate more assets.

18             MS. BURBIDGE:    And Your Honor, if I may, just

19    briefly -- and I want to make sure that our co-counsel

20    Mr. Cook has a moment to chime in.

21        But, to come back to your initial question, yes,

22   confirmation of the arbitration award, we absolutely would ask

23   Your Honor to do that, today.     And there's just no dispute

24   about that.

25        I think that the second question here is how to insure
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 591 of 611   9


1    that our client is able to collect, particularly in light of

2    the evidence that there is a dissipation of assets.

3         And, you know, if the injunction is giving Your Honor

4    heartburn, we'll, you know, forego the injunction.         What we're

5    seeking here is the confirmation that this is EDAG's -- our

6    client's -- IP that they were not paid for.        That they've not

7    been paid for by Byton.

8         And in terms of the collection piece, I would ask Mr. Cook

9    to respond to your question of:      Is this enough, with regard to

10   the Rule 62 motion and the additional motion he filed, because

11   he is the expert there.

12             THE COURT:    Let me ask you an additional question.

13    Obviously, you are seeking some form of ancillary relief.

14    Because otherwise, you won't have asked for it, and the

15    arbitrator wouldn't have gone through that.

16             MS. BURBIDGE:    Yes.   That's right.

17             THE COURT:    So the question is, you know, under the

18    arbitration laws, when -- when either ancillary relief is

19    awarded or there is, in effect, kind of an amendment of an

20    order, an arbitration order, under what circumstances does the

21    clock run?

22        Is it -- is it -- is the test one of materiality?         Is it

23   one that's looking at it, mechanically?       I didn't see much --

24   didn't hear much case law on when the clock runs and when it

25   doesn't run.
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1         And then another question I ask is:       Does this Court have

2    power, other than to just confirm the award, to -- to issue

3    some kind of -- I don't know, injunctive relief, without having

4    -- having to go through the confirmation of an arbitrator going

5    through?

6         Does this Court have sort of almost like, you know, the

7    great writ, the ancillary powers to enforce, you know, inherent

8    -- protect its orders.      Like the All Writs Act kind of a thing.

9    Does that exist?

10               MS. BURBIDGE:    So I want to turn it over to my

11    colleague, Mr. Walczyk, Your Honor, briefly.

12        I would say that, you know, I think, you know, he's going

13   to point out what the arbitrator is allowed to do -- and the

14   case law is clear -- is to preserve the status quo so that the

15   arbitrator's order can be enforced.      And that doesn't restart

16   the clock, right?

17        It's the idea that if you were to catch someone

18   dissipating assets, they're not rewarded by getting 90 more

19   days to dissipate more assets.     Right?

20               THE COURT:   What is the effect of the preliminary

21    injunction order issued by -- as we sit here right now.          The

22    finding?

23               MS. BURBIDGE:    So the effect of the preliminary

24    injunction -- as a practical matter, right, what happened was

25    EDAG saw the car that it helped design, that it was not paid
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 593 of 611   11


1     for, in the news.    Right?    In China.

2         And it discovered then by speaking to -- we have a

3    declaration from counsel for this third party, JAMA.         JAMA had

4    the IP for this car.    And in speaking with this counsel at

5    JAMA, EDAG learned that Byton had been trying to move that IP

6    to a server located solely in China, outside the reach --

7              THE COURT:    Yeah, no, I understand the basis.        I'm

8     asking a more simple question.

9         Is the arbitrator's order of November enforceable as --

10   does it have force and effect, as we sit here right now, of its

11   own accord?

12             MS. BURBIDGE:    So, Mr. Walczyk, do you want me to

13    turn it over to you to talk about the case law as regards to

14    that?

15             MR. WALCZYK:    Mr. Sipprelle would say no, Your Honor,

16    that that -- it has to be confirmed by Your Honor; it has to

17    be an order of this Court.     And as I indicated before, we need

18    an opportunity to contest that.

19        That entire ruling was based on the premise that EDAG owns

20   this intellectual property, which we contest.        That was not an

21   issue in the arbitration.      And it was a ruling made by the

22   arbitrator months after the arbitration was closed, and the

23   final award was issued.

24             THE COURT:    All right.    But what about the transfer

25    of assets to liquefy -- I'm not saying this happened, but what
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 594 of 611   12


1     is a creditor to do who has the benefit of a judgment or an

2     order that's been confirmed, but then has since learned that

3     there's been some dissipation.      Your typical, you know,

4     fraudulent-transfer situation.

5         What can a creditor do in an arbitration situation?          You

6    go back to the arbitrator, get an ancillary award saying:

7    Don't transfer the stuff, keep it status quo.        But, under your

8    theory, that's -- that order is only like a tentative ruling,

9    has no force and effect until it is confirmed by a court at

10   least 90 days thereafter.

11        What can a creditor do to get expedited relief, if there's

12   something like -- I'm not saying there's something ongoing.

13   But if there were fraudulent transfers going on, what could a

14   creditor do in that situation?

15             MR. SIPPRELLE:    Well, the creditor could have -- and

16    should have in this case, in my view -- simply gotten their

17    judgment, the order or ruling confirmed, and moved to enforce

18    and collect on the judgment.     That's what they should have

19    done, months ago.

20        You know, we, of course, dispute that there's any kind of

21   fraudulent transfer going on.     I mean, if they want to pursue

22   that at a later date, you know, a fraudulent transfer, that's a

23   separate action.   I suppose they can pursue a fraudulent

24   conveyance action, if they think they have some basis for that.

25        But I think what the -- the approach that        have would have
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 595 of 611     13


1    taken is simply get this final arbitration award confirmed, and

2    then move to collect on the monetary award.

3                THE COURT:   Is that the only remedy?     There's no

4     ancillary remedy -- other than going through the mechanics of

5     the rather elongated process of getting an ancillary award

6     from the arbitrator, and then seeking enforcement of that

7     through the confirmation proceeding, there's no -- like, like

8     an injunction pending appeal kind of thing.        There's no --

9                MR. SIPPRELLE:   Oh, there is, Your Honor, under

10    California law, and federal courts do this all the time.          You

11    can get a pre-judgment writ of attachment.        You get the

12    attachment from the court.     And then you go and you start

13    serving the attachment notice on banks or where -- wherever.

14        So they could have done that.      They could have done that

15   at the beginning of this arbitration proceeding.

16               THE COURT:   So enforcement of the Court's judgment

17    can proceed without going back to the arbitrator.         In other

18    words, getting, for instance, provisional remedies like a writ

19    of attachment.

20               MR. SIPPRELLE:   Sure.   Sure.   Absolutely, that could

21    be done.

22               THE COURT:   Let me now turn the ball back to you,

23    Mr. Walczyk.

24        Why isn't that enough?     If I confirm today the final

25   arbitration award, I also waive the -- the automatic stay.          And
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1    if you want to seek enforcement mechanisms like garnishment,

2    attachments, et cetera, like any other judgment, you can do

3    that.

4                MR. WALCZYK:   Sure, Your Honor.    I'll just respond to

5     Mr. Sipprelle's contentions.

6         You know I think, first of all, it's not up to the party

7    who -- first of all, there's no question that the asset

8    dissipation's going on.    We know that that's happening.        We

9    supplied proof, and they haven't controverted it.         To the

10   contrary, they've put in a sworn declaration saying that they

11   are, as a matter of course, transferring patents from North

12   America to China, without consideration.       The hallmarks of a

13   fraudulent transfer.

14        More to the point, it shouldn't be up to the party who has

15   been caught dissipating assets to choose the remedy that the

16   other party which has the benefit of a judgment in its favor

17   can seek.   It isn't Byton's call as to which remedy we choose.

18        Secondly, we did exactly what the statutes require,

19   exactly what the case law requires.      We went to the arbitrator

20   first.   And we asked the arbitrator for an order preserving the

21   status quo.   And the arbitrator said:      Quite frankly, I don't

22   know what the right procedure is; please brief the issue to me.

23        So we briefed the issue.     Byton, which now says that it

24   should have an opportunity to start some new clock based on

25   this order, argued that the arbitrator had no jurisdiction to
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1    enter an order at all.

2         The arbitrator disagreed with that.       The arbitrator cited

3    the case law that we provided, saying that the Northern

4    District and the Ninth Circuit have a preference in favor of

5    pursuing provisional relief in front of the arbitrator, instead

6    of front of Your Honor.

7         That just flows from the principle that the arbitrator is

8    the person best acquainted with the facts and the case, and

9    that the idea of the FAA is to keep these sorts of complicated

10   matters off of Your Honor's docket.

11        So the arbitrator said:     The appropriate thing to do is

12   for me to issue an order preserving the status quo until the

13   Court rules on it and confirms the award.       So we did that.     We

14   did everything in lockstep with the law, and with the statute.

15        On the other side of things, Mr. Sipprelle and Byton have

16   supplied no cases, whatsoever, in which an order along these

17   lines has been held to restart a clock.       There simply isn't any

18   of those cases.   In fact, the cases that Mr. Sipprelle points

19   to support us.

20        And because Your Honor asked a few minutes ago about case

21   law, I would direct the Court to the Fradella case -- Fradella

22   with a D -- which Mr. Sipprelle cited in his opposition.          It's

23   a case from the First Circuit.     And that's a case in which the

24   arbitrator, like in this case, issued a final award, and then

25   went back and decided there were some errors of law in it.
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1         The arbitrator went back and decided:       Well, you know,

2    New York law doesn't apply, so I'm going to delete some

3    references to New York law.     Did that some time later.

4         And just like Mr. Sipprelle, with the provisional relief

5    that the arbitrator ordered here, the party against whom the

6    arbitrator ruled went to the court and said:        That's a new

7    order.   That's a new order.    It's a whole new finding.      We get

8    a new clock.    We get a new 90-day clock.     Just as Byton is

9    arguing here.

10        And the First Circuit rejected that.       The First Circuit

11   said: Look, if that were the case, if the limitations period in

12   FAA Section 12 were subject to suspension just because an

13   arbitrator later takes some action to correct it, even though

14   the arbitrator originally intended to resolve all submitted

15   claims, then an unsuccessful party could preclude the

16   commencement or suspend the running of the limitations period

17   simply by alleging error.

18        Right?    The idea is you can't preclude the running of the

19   period, or suspend it, or restart a clock just by alleging that

20   the arbitrator did something new that you don't like.         Whether

21   that's the leading reference as to New York law or whether

22   that's just issuing an order protecting the enforceability of

23   the arbitrator's award and the Court's eventual judgment.

24        So the case that Mr. Sipprelle dug up from federal

25   appellate law supports us here.      And it discusses this exact
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1    principle.    That a final award is final; provisional relief is

2    different.

3         And all we're asking Your Honor to do is to exercise the

4    inherent powers of the Court to protect our ability to recover

5    on the judgment, so we all agree --

6               THE COURT:   Let me ask you about the inherent powers.

7         Do you agree that if -- once I -- if I confirm the final

8    arbitration award, you've got a judgment.       Right?

9               MR. WALCZYK:   (Nods head)

10              THE COURT:   And enforcement of the judgment would

11    then, under the Federal Rules of Civil Procedure, default to

12    state procedures.    Correct?

13        Do you --

14              MR. WALCZYK:   That's correct.     Of course Mister --

15              THE COURT:   You would have the entire panoply of

16    enforcement mechanisms at your disposal.

17              MR. WALCZYK:   That's correct, Your Honor.       And, and

18    obviously, we've started down that path already.         You've seen

19    our ex parte motions to that effect, and the Court has already

20    granted a couple of those, and we appreciate that.

21        That's why we're asking, certainly, for relief from

22   Rule 62(a).    I think everybody agrees that Your Honor has the

23   power to do that today, to suspend the post-judgment today.

24   Right?   And then it's just a question of how best to allow us

25   to proceed with collections.
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1         So my point is just that -- and Mr. Cook can speak in more

2    detail to what is necessary to allow collection in other

3    states.   We certainly need that component of the relief.         And

4    then, there's also our interest in the intellectual property.

5         And all we're asking the Court to do along those lines is

6    to --

7                THE COURT:   Well, the interest in the intellectual

8     property is either covered by the final arbitration order, or

9     not.   Right?

10        I mean, if I confirm it's in there, if it's fairly

11   inferred from there, you know, I'm not going to opine on that.

12   I just confirm it.    I don't elaborate on it.

13               MR. WALCZYK:   I think that's right, Your Honor.       I

14    think it (Inaudible) --

15        (Reporter interruption)

16               THE COURT:   Hold on, the court reporter.

17        (Reporter interruption)

18               MR. WALCZYK:   Certainly.   I apologize.

19        I agree with you, Your Honor, that if you confirm the

20   final award, its provisions regarding the intellectual property

21   will be confirmed along with the rest of the arbitrator's

22   findings.   So, so we believe that it flows from the final award

23   that this property remains in the hands of EDAG until Byton

24   makes full payment for it.

25        And as Ms. Burbidge pointed out earlier, if it is
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 601 of 611   19


1    essential to getting this concluded today, to take the

2    provisions that look like injunctive relief provisions out of

3    our proposed order and remove the writ of possession for that

4    intellectual property, we would accept that.

5         But the arguments we would make is that those provisions

6    follow directly from the first order, and not from the

7    injunctive relief order, which is simply a provisional measure

8    intended to preserve the status quo.

9              MS. BURBIDGE:    If I may, Your Honor, I'd actually

10    like to turn it over just briefly to our co-counsel, Mr. Cook,

11    who really is the collections expert on this.        And I would

12    like to offer his opinion as to that piece that you've asked

13    about, because he is going to be able to articulate that, I

14    think, most succinctly for Your Honor

15             THE COURT:    All right.    Mr. Cook?

16             MR. COOK:    Thank Your Honor.

17        So, to make it simple, we need -- we need the Court to

18   lift the stay under 62(a).     That follows the ex parte under

19   Section 1963, so I would be able to cross lines and go to

20   Oregon or whatever it would be, and enforce my judgment,

21   notwithstanding the 30 days from the date of entry.

22        I don't think there's -- we've gotten no meaningful

23   opposition to it.   And both of those would follow the 4.1(a)

24   order which the Court granted, and the 1702(a) relief.

25        So, that being said, we've got pictures of the premises
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 602 of 611    20


1    here.   And as the Court knows, the debtor has fled California.

2    The place is empty.      Its agent for service of process has

3    resigned, and there's no replacement.       And the only officer we

4    found is now in Hong Kong, we believe, and certainly not here.

5         The only person that we know of locally is a Mr. Gong

6    Chen, who is an attorney, California attorney.        But we have

7    determined, we think, that he has sold his home in

8    San Francisco.   We say with a little uncertainty here, so if

9    that's not the case, it's my best judgment here.

10        The appropriate remedy here, I will tell you, because

11   counsel -- counsel will learn this really quickly, is there are

12   20 patents which have been transferred by the debtor, being --

13   we call BNA -- over the period of time of the arbitration, and

14   has been transferred to Byton, Ltd., who is in the -- we don't

15   call it "China," we call it "The People's Republic of China,"

16   "PRC" -- which is now in the hands of the PRC.

17        That is an absolute fraudulent conveyance of which

18   Mr. Chen, on behalf of the debtor and the assignee, admit as

19   such, saying that there was a transfer without any

20   consideration --

21               THE COURT:    All right, but that raises an issue that

22    -- you're presenting that to me, almost de novo.         And you want

23    me to make -- you say it is absolutely clear.        And maybe it

24    will be.

25        But unless that's been adjudicated by the arbitrator, that
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1    feels like a substantive finding that is subject to the FAA

2    framework.

3              MR. COOK:    No, absolutely not.     Zero.   What I'm

4     saying is that -- that's our remedy here.       I think I have a

5     winner on this remedy, working with some experience, is I'm

6     preparing, sitting here literally, to file a motion for

7     appointment of a receiver here --

8              MS. BURBIDGE:    Mr. Cook, if I may, just briefly, I

9     think what Mr. Chen (sic) wants to know is if it will be

10    sufficient for him to issue the Rule 62 order in addition to

11    the other order that we filed, in addition to -- while

12    confirming the arbitration award.

13             MR. COOK:    What -- I need six -- if you're going to

14    confirm the award under 62(a), we need the stay lifted, as we

15    will promptly enforce this judgment.       That's what we're asking

16    for.

17             THE COURT:    Okay.   Well, and that's what I assume,

18    that once I confirm the award, lift the stay, you then have,

19    like any other judgment, a judgment of the Court --

20             MR. COOK:    That's correct.

21             THE COURT:    -- and you can then enforce whatever

22    remedies are available under the law.       And some of those may

23    be expedited, some of those -- you know, whatever it is.

24    Seems to me that's a proper thing.

25        And frankly, I think there's been enough of a showing here
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1    for me to left the automatic stay.      I haven't heard any good

2    reason why I should not, or any unfair prejudice in that

3    regard.   And I've heard some evidence suggesting it's

4    necessary.   So my intent at this point is to enforce the award.

5         But I would not include, you know, sort of language that's

6    not already -- I'm not going to embellish it; I'm just going to

7    enforce -- declare that the arbitration award that was issued

8    in -- in June be confirmed by this Court.       It will be a

9    judgment, as such.    And the stay is lifted.

10        If you then seek, pursuant to judgment enforcement law --

11   I guess we're governed by California law at that point, as I

12   understand it, as I recall.     You know, if you need some court

13   orders, if there's other stuff, you know, you can seek that, as

14   any creditor would, at that point.      And some of that may be

15   expedited type stuff.

16        But I am a little hesitant to say that the gist of the --

17   even though one could say it's sort of folded in and ancillary,

18   you know, really not a big deal, to -- I am inclined to treat

19   that injunction, the preliminary injunction, as a separate FAA

20   -- or a separate arbitration order.      But it may be that that is

21   largely mooted by the relief that I'm granting.        So that's what

22   I intend to do.

23              MR. SIPPRELLE:   Your Honor, Mr. Sipprelle.       Just to

24    clarify, I just want to make sure.      And I appreciate what

25    Your Honor just indicated.
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1         The original proposed order that was submitted by EDAG

2    just prior to the arbitrator's November 8 ruling -- and that's

3    Document 19-5 -- was simply an order and judgment confirming

4    the arbitration award of June.        And entering a judgment on the

5    money award.

6         And, and as I indicated at the outset, if that's all they

7    were seeking to confirm, then I'm not sure Byton would have

8    much of an argument.     But we do have all of this concern about

9    all this intellectual property findings and the -- the

10   injunction and all of that.

11        So, as I understand what Your Honor is saying, you are

12   looking then at the original proposed order --

13               THE COURT:   I'm looking at the original proposal, a

14    clean confirmation of the award.        So you have it in hand, it

15    becomes a judgment, and it will be fully enforceable

16    immediately, because I'm going to lift the stay, under

17    Rule 62.

18               MR. SIPPRELLE:    Okay.

19               MS. BURBIDGE:    And --

20               THE COURT:   And there are a lot of self-help remedies

21    that a creditor has.    And if you need help on some of those,

22    unless I'm convinced otherwise, those are the kinds of things

23    that any judgment creditor can seek and employ at that point.

24               MS. BURBIDGE:    Your Honor, if I may, Proposed Order

25    31-1 contains some of the language that I know would be
     Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 606 of 611   24


1    stricken.   But I did want to point you to Section 3, because

2    it has the updated calculation of interest --

3             THE COURT:    Okay.

4             MS. BURBIDGE:    -- in it.    So that would actually be

5    the more accurate order, given time that has passed.

6             THE COURT:    All right.    That's fair.

7             MR. SIPPRELLE:    Except the 31-1 has all of this

8    objectionable language.

9             THE COURT:    Yeah, no, I know.     She's just talking

10   about Section 3 that has --

11            MS. BURBIDGE:    Yes.

12            THE COURT:    -- calculates the interest.

13            MS. BURBIDGE:    Yes.

14            THE COURT:    This is a straight kind of monetary, --

15            MS. BURBIDGE:    Yes.

16            THE COURT:    -- you know, thing that you can now take

17   -- I won't say "to the bank," but to wherever we take it.

18            MS. BURBIDGE:    Yes, Your Honor.     It sets out the

19   interest quite clearly, as of the date of today's hearing.

20            THE COURT:    Yeah.   All right.    Well, that's what I'm

21   going to do.   I'll issue that order, and I'm going to lift the

22   stay, so it's immediately gong to be enforceable.

23            UNIDENTIFIED MAN:     (Inaudible) Your Honor --

24            THE COURT:    Back to the preliminary injunction, I'm

25   going to treat that as a separate order, subject to the
      Case 3:21-cv-04736-EMC Document 143-1 Filed 03/22/22 Page 607 of 611   25


1     confirmation process.    But that does not preclude whatever

2     rights that the judgment creditor -- to have.        And it may be

3     that, you know, there are rights that are going to moot out

4     that -- largely moot out that injunction order, that

5     preliminary injunction order.

6         I don't know.    I mean, you guys are the experts.       But I'm

7    going to leave it to the law on that.

8              MR. WALCZYK:    Let me --

9              MR. COOK:    Your Honor --

10             MR. WALCZYK:    Let me add the following.

11             THE COURT:    One at a time.    I guess Mr. Walczyk has

12    something to say.

13             MR. WALCZYK:    (Nods head)    Sorry, David.

14        Docket No. 31-1 includes language on lifting the

15   Rule 62(a) stay.   So we would propose, I think, Your Honor,

16   that you start from Docket 31-1.      And if we're striking the

17   injunctive relief language that Your Honor is finding, part of

18   a separate order, that would just be in Roman numeral II of the

19   proposed judgment.    So you can strike that --

20             THE COURT:    I'll look at that.     I understand.

21             MS. BURBIDGE:    Thank you, Your Honor.

22             THE COURT:    Okay.

23             MR. COOK:    Let me have my two cents, as we say.

24        We're looking for the Court to rule favorably for us on

25   the 1963, since we may end up being in Oregon.        That's the 28
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1    -- because I may need to take my California -- or this judgment

2    here, and then register it potentially in the District of

3    Oregon.   That's what --

4                THE COURT:    So what are you asking the Court to do,

5     specifically?

6                MR. COOK:    I'm asking the Court to, for good cause,

7     raise -- lift the implicit stay in attempting to take a

8     judgment in this district and then move it into another

9     district, which would be Oregon.      That's called a 1963.

10               THE COURT:    Is that addressed in your 31-1,

11    somewhere?

12               MS. BURBIDGE:    No, Your Honor.    It's Docket Item 42.

13               MR. COOK:    1963 --

14               THE COURT:    You want me to look -- okay, I'm -- I'm

15    sorry --

16               MR. SIPPRELLE:    They filed an ex parte on that,

17    Your Honor -- this is Mr. Sipprelle -- which we objected to,

18    but Your Honor has --

19               THE COURT:    All right, so that's a pure enforcement

20    mechanism.

21               MS. BURBIDGE:    Yes, Your Honor.    Yes, Your Honor.

22               MR. COOK:    And the issue here, as I've had with a

23    much larger case, is once judgment is entered and I have to go

24    to another district, I'm stuck by the 30 days.        Either the 30

25    days for --
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1               THE COURT:    Okay, I understand.    I understand.

2     That's -- yeah.

3               MR. COOK:    Wait.    I got one more here.

4               THE COURT:    Okay.

5               MR. COOK:    Seeing how the Court is going to rule

6     here -- we are proceeding with our receivership, and time

7     doesn't help us -- is we'd like the Court to consider

8     providing us for an order shortening time for my hearing on

9     the appointment of a receiver.

10              THE COURT:    Okay, what --

11              MR. COOK:    Instead of, like, 35 days, it would be a

12    much shorter period of time as we can get a motion out, and

13    it -- many of these facts we have here are not in dispute, so

14    this is something that the Court would be able to --

15              THE COURT:    Have you already filed your motion for

16    appointment of receiver?       Is that in the --

17              MR. COOK:    No, but it will be filed -- as soon as

18    this Court grants it, we're talking about getting it filed by

19    Monday.

20              THE COURT:    Then you should ask when you file that

21    for an order shortening time, that an accelerated briefing

22    schedule -- consistent with due process, got to give

23    Mr. Sipprelle's client at least a fair chance to respond.

24        If you want to save time, skip the reply stuff, and ask

25   for the Court for an expedited hearing.
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1             MR. COOK:    I'll file the motion; I'll file them

2    together.

3             THE COURT:    All right, thank you.

4             MR. COOK:    Thank you.

5             THE COURT:    Thank you very much, everyone.       I

6    appreciate it.

7             MS. BURBIDGE:    Thank Your Honor.

8             MR. COOK:    Thank you very much.

9       (Proceedings concluded)

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                      CERTIFICATE OF REPORTER

         I, BELLE BALL, Official Reporter for the United States

Court, Northern District of California, hereby certify that the

foregoing is a correct transcript from the record of

proceedings in the above-entitled matter.




                          /s/ Belle Ball

                 Belle Ball, CSR 8785, CRR, RDR

                      Monday, March 14, 2022
